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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

BOARD OF TRUSTEES OF THE IUOE LOCAL                              )
4 PENSION FUND, et al.                                           )
                                                                 )
                    Plaintiffs,                                  )         Civil Action No. 1:21-cv-10163-FDS
                                                                 )
v.                                                               )
                                                                 )
GINA ALONGI,                                                     )
                                                                 )
                    Defendant.                                   )




               APPENDIX OF EXHIBITS IN SUPPORT OF
DEFENDANT’S OPPOSITION TO MOTION FOR PARTIAL SUMMARY JUDGMENT



                                                           GINA ALONGI
                                                           By Her Attorneys,


                                                           /s/ Jacob A. Tosti
                                                           Timothy P. Van Dyck (BBO #548347)
                                                           Jacob A. Tosti (BBO #704007)
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December 13, 2022                                          jtosti@bowditch.com

                                             CERTIFICATE OF SERVICE

                    I hereby certify that this document filed through the ECF system will be sent
                    electronically to the registered participants as identified on the Notice of
                    Electronic Filing (NEF).


                                                    /s/ Jacob A. Tosti
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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS

BOARD OF TRUSTEES OF THE IUOE LOCAL                      )
4 PENSION FUND, et al.                                   )
                                                         )
                          Plaintiffs,                    )      Civil Action No. 1:21-cv-10163-FDS
                                                         )
v.                                                       )
                                                         )
GINA ALONGI,                                             )
                                                         )
                          Defendant.                     )
                                                         )

                                   AFFIDAVIT OF GINA ALONGI

I, Gina Alongi, under oath, do hereby depose and state as follows:

        1.         I am the defendant in this matter. I make the following statements based on my

own personal knowledge.

        2.         Following my graduation from Framingham North High School, I began my

employment with the IUOE Local 4 Fringe Benefit Funds (the “Funds”) in 1978 in a clerical

position, and was promoted throughout the years.

        3.         Throughout my employment, I was an exemplary employee, and in 1996, the Funds

ultimately promoted me to the position of Administrator.

        4.         As the Funds’ Administrator, I worked under the direction and control of the Boards

of Trustees of the Funds. On a day-to-day basis, I reported directly to the Business Manager of

the IUOE Local 4 Union and Chairman of the Boards of Trustees of the Funds (these two positions

– Business Manager and Chairman – were always held simultaneously by one person during my

tenure as Administrator).

        5.         Accordingly, from 1996 to around 2004, I reported directly to William Ryan, who

held the position of Business Manager of the IUOE Local 4 Union and Chairman of the Boards of

Trustees of the Funds during that time.

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       6.      From around 2004 to August 2017, I reported directly to Louis Rasetta, who was

Mr. Ryan’s successor as Business Manager and Chairman.

       7.      From August 2017 through my termination in July 2020, I reported directly to

William McLaughlin, who was Mr. Rasetta’s successor as Business Manager and Chairman.

       8.      From 2015 until the time of my termination in 2020, I only had two direct reports

while serving in the position of Administrator: Assistant Administrator (and in-house counsel)

Gregory Geiman and Associate Administrator Laura-Jean Hickey. During that time, I did not

directly supervise the work of any other Fund Office employees.

       9.      During the entirety of my tenure as Administrator, the employees in the Fund Office

performed administrative functions for the Funds, within a framework of policies, interpretations,

rules, and practices approved by the Trustees, not myself.

       10.     In my role as Administrator, I presented information to the Trustees at quarterly

board meetings and made recommendations to the Trustees for decisions with respect to plan

administration, subject to the Trustees’ review and approval.

       11.     I had no authority to make -- and never made -- any decisions on such essential

matters as benefit changes and beneficiary appeals for the Health & Welfare, Pension Funds, and

Annuity and Savings Funds, and decisions regarding the Funds’ engagement or termination of

investment managers or healthcare providers: these decisions were all made solely by the Trustees.

       12.     During my tenure as Administrator, employee compensation was set exclusively

by the Trustees. In particular, the Trustees established a subcommittee consisting of the Chairman

and the Senior Management Trustee (the “Subcommittee”) and the Subcommittee made decisions

on behalf of the Trustees concerning Funds’ office employee compensation.




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        13.     From 2013 through August 2017, the Trustees’ Subcommittee consisted of

Business Manager/Chairman Louis Rasetta and Senior Management Trustee John Shaughnessy.

        14.     From August 2017 until Mr. Shaughnessy’s retirement as a Trustee in 2019, the

Subcommittee consisted of Business Manager/Chairman Mr. McLaughlin and Mr. Shaughnessy.

        15.     After Mr. Shaughnessy’s retirement in 2019 through my termination in July 2020,

the Subcommittee consisted of Mr. McLaughlin and Senior Management Trustee James Reger.

        16.     During my tenure as Administrator, I made recommendations regarding employee

compensation to the Business Manager/Chairman, but had no authority to (and never did) make

any binding decision regarding employee compensation.

        17.     Once Mr. McLaughlin became Business Manager of the Union ad Chairman of the

Boards of Trustees of the Funds in August 2017, he took it upon himself to assume even greater

control and authority over the day-to-day operations of the Funds. For example, in a meeting he

had with me in early 2020: (1) he stated that there would be no delays for inclement weather in

the office “unless he deems necessary” ; he told me that he was “the only person authorized to

make that decision;” (3) he demanded that I work in the Funds office between the hours of 8:00

am to 4:00 pm and notify him directly if I would be out of the office, (4) he informed me that he

required “weekly updates” from me regarding various matters relating to the Funds operations so

that, to use his own words, he could “properly manage the business of. . . the Fund;” and (5) he

exercised complete control over matters of compensation in the Funds office, by proclaiming,

unilaterally, that there would be “a 3% maximum increase—across the board” for the year 2020.

        18.     In 2013, Messrs. Rasetta and Shaughnessy jointly granted two additional weeks of

vacation time for me to use each year or cash out annually, in addition to the four weeks of vacation

time that I received prior to that grant.




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       19.     Neither the Subcommittee nor any of the other Trustees ever revoked this grant of

vacation time to me.

       20.     During my entire tenure as Administrator, from 1996 to 2020, the Funds were a

member of the Massachusetts Coalition of Taft-Hartley Funds, Inc. (the “Coalition”).

       21.     The Coalition is a voluntary, non-profit business league exempt from taxation under

Section 501(c)(6), and its membership is comprised solely of multi-employer trust funds.

       22.     A true copy of the By-Laws of the Coalition, which were adopted in, 2013, are

attached to the appendix filed with my Opposition to the Plaintiffs’ Motion for Partial Summary

Judgment at Exhibit 8.

       23.     At all times during my employment as Administrator of the Funds, the Trustees of

the Funds knew that the Funds were a dues-paying Coalition member and never took any action

to remove the Funds as a member.

       24.     The Coalition is governed by a Board of Directors referred to as the “Executive

Board,” made up of 5 directors who are elected by the Coalition’s member funds; each Board

member is required to be either an officer, director, or duly authorized representatives

       25.     In 2007, the Executive Director position at the Coalition became vacant; I applied

and was hired for the position (which was a part-time position). I held the position for 14 years,

between 2007 and 2021.

       26.     The Coalition is an entity separate from the Funds that used its own assets to

compensate its employees and accomplish its mission.

       27.     The Trustees of the Funds were well aware of my work as Executive Director for

the Coalition, from the beginning of that part-time work in 2007 through the entire remaining 13

years of my employment with the Funds.




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       28.     During my 13 years working part-time for the Coalition in addition to working for

the Funds, neither Mr. McLaughlin nor any other Trustee ever once told me that they had any issue

with me working part-time for the Coalition.

       29.     In 2015, the Labor Guild, (an agency of the Archdiocese of Boston) honored me

with their prestigious “Boyle Award” for excellence in labor-management relations, expressly in

connection with my work for both the Funds and the Coalition.

       30.     The Trustees were well aware of this award: Mr. McLaughlin, among others, even

attended the award ceremony.

       31.     During my entire 13-year tenure as Executive Director of the Coalition – from 2007

through 2020 - the Coalition rented office space at the Funds’ office. The Funds were, of course,

aware of this use of their own office space.

       32.     In my role as Executive Director of the Coalition, I developed better methods of

providing and paying for health care, and personally negotiated favorable discounts which directly

and positively impacted the Funds’ financial position.

       33.     For example, during my tenure as Executive Director, I personally negotiated with

Blue Cross/Blue Shield regarding how benefits were paid out to plan participants, and redesigned

the way the Funds were run to help contain healthcare costs for the benefit of the Funds and its

members.

       34.     This new way of doing business with Blue Cross Blue Shield wound up saving the

Funds millions of dollars (and, in turn, savings for its members on healthcare costs).

       35.     Furthermore, that was far from the only benefit I personally had a hand in obtaining

for the Funds through the Coalition. For example, from 2015 through my termination in 2020 (and




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earlier), the Trustees repeatedly chose to use Coalition-negotiated providers for vision and hearing

insurance.

       36.     As Executive Director of the Coalition, I led projects that involved collecting and

analyzing prescription coverage and pricing for each of the Coalition’s members. At around the

same time, I also served on an committee for the International Union of Operating Engineers that

was also reviewing prescription drug pricing for the Union. My work for the Coalition benefitted

the Funds, because I and the committee were able to use the Coalition data to verify that the Union

was getting the best pricing for prescription drugs.

       37.     Moreover, the benefit that inured to the Funds through my work as Executive

Director for the Coalition was not just limited to the millions in dollars of savings I provided to

the Funds; as noted in my Answers to Interrogatories (Answer No. 8), I personally worked to

choose and facilitate dozens of presentations and educational sessions held by the Coalition that

were available to – and actually attended by – employees of the Funds (including Mr. Geiman and

Ms. Hickey, who were regular attendees) for educational purposes.

       38.     While working for the Coalition, I was not motivated by personal greed or any

desire to enrich myself at the expense of the Funds (or the Coalition), or to harm the Funds in any

way. My motivation was to use my position of influence in the Coalition to advance and promote

the common interest of the Funds and the Coalition’s other multi-employer fund

       39.     I did not personally benefit from service providers signing up as “associate

members” of the Coalition. I never solicited any service provider to become an “associate

member” of the Coalition, and in any event, the Coalition used the dues paid by its “associate

members” to pay for expenses for those associate members’ attendance at Coalition events; the

dues were not used in any way to enhance the compensation paid to me by the Coalition.




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       40.     From the beginning of his tenure as Chairman, Mr. McLaughlin routinely made

highly inappropriate and sexually charged comments in the workplace to me and other female

employees.

       41.     For example, he routinely visited my office to discuss his sexual desires and

fantasies, how he felt about the women in the office, and what he would like to do to them sexually.

       42.     On more than one occasion, Mr. McLaughlin also stated to me that he could not

concentrate during a Trustees meeting because he could not take his eyes off her and that I “looked

so good” and that he “wanted” me and had “such a crush” on me.

       43.     When Mr. McLaughlin engaged in this conduct, I told him to stop and stated that

he was going to get in trouble. I informed him several times that if his wife ever found out about

his behavior that she would divorce him. He laughed and stated that he was “the boss” and that

therefore he could “get away with it.”

       44.     Mr. McLaughlin also frequently told me about his “need for sex,” and stated that

his wife was not “taking care of” him. Mr. McLaughlin made statements to the effect that he was

a “pig” and that “all men are pigs,” and that “all men think about is sex.”

       45.      In a May 17, 2017 letter from the then Assistant Administrator (and in-house

counsel), Mr. Greg Geiman, to myself, Mr. Geiman references “recent concerns [he has] about

Laura-Jean’s association with [Mr. McLaughlin] and the resulting lack of deference and

communication with you,…”

       46.     I was deeply disturbed by this unlawful and highly sexually-charged workplace

behavior by my boss, and decided to confront Mr. McLaughlin about it.         On May 1, 2018, I

requested that Mr. McLaughlin meet with me in my office to discuss, among other things, his




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inappropriate conduct and comments in the workplace as well as ways in which he had been

passing me up in favor of male employees.

       47.       As I began providing Mr. McLaughlin some examples of how his behavior had

made me uncomfortable, Mr. McLaughlin started to pace in front of me and yell obscenities and

words to the effect of “you do not respect me, I am the manager!”

       48.       Mr. McLaughlin continued to yell and swear at me for approximately 10 minutes.

He McLaughlin only stopped when my sister, Rosemarie, and Mr. Geiman, the Funds’ own in-

house lawyer, entered my office and physically extricated Mr. McLaughlin from me.

       49.       Immediately following this verbal assault, Mr. McLaughlin attempted to apologize

to me by hugging me and trying to kiss me on the lips. While doing so, he also told me that the

fight had gotten him “excited” and that he had come close to getting an erection as a result of his

assault on me.

       50.       Shortly after the altercation, in mid-May 2018, I interviewed several female Funds

staff members regarding their experiences with Mr. McLaughlin.                Each reported feeling

uncomfortable with the way that Mr. McLaughlin looked at, talked to, or touched them.

       51.       One employee, in particular, reported that Mr. McLaughlin regularly entered her

office to give her unprompted massages which made her uncomfortable, but she did not feel she

could ask him to stop as he was the boss.

       52.       Another employee stated that Mr. McLaughlin called her “sexy” on more than one

occasion and would make comments to the effect that he wanted her sexually.

       53.       In response to learning of these events, I requested to meet with Ms. Shea, a partner

at Segal Roitman and outside counsel to the Funds, and did so on or about May 21, 2018.




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       54.     I informed Attorney Shea about the May 1st incident and about how severe Mr.

McLaughlin’s constant bullying and sexual harassment was. Attorney Shea informed me at this

time that this conduct did not rise to the level of sexual harassment and that in order to claim sexual

harassment, the conduct would have to be pervasive or “widespread.” Attorney Shea told me that

I had “no case.”

       55.     Shortly following my one-on-one meeting with Attorney Shea, I was instructed to

meet with Attorney Shea and Mr. McLaughlin in his office. Attorney Shea, on behalf of the Funds,

informed me at this time that I could be terminated for insubordination. Attorney Shea stated again

to me that Mr. McLaughlin’s conduct did not rise to the level of sexual harassment and that if I

kept quiet about my allegations of sexual harassment, Mr. McLaughlin would apologize, and I

would not be terminated.

       56.     Although I continued to feel that Mr. McLaughlin’s actions were wrong, the

combination of Attorney Shea’s purported legal assessment that I did not have a viable sexual

harassment claim, the specter of an apology from Mr. McLaughlin, and my newly found fear that

I would be fired if I did make any further complaints about Mr. McLaughlin induced me not to file

a complaint at that time.

       57.     Following these meetings with Attorney Shea, Mr. McLaughlin continued to

subject me, to frequent sexual comments well into 2020. Mr. McLaughlin continued to visit my

office, each time to make statements about sex and women’s bodies. On one such occasion in the

last quarter of 2019, Mr. McLaughlin entered my office and told me that he knew about one of my

younger employees who was struggling with breast cancer. Mr. McLaughlin asked me “are her

boobs any good?” and “do you think she will show me them?” or words to that effect.




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       58.     Mr. McLaughlin also specifically began to retaliate against me because of my prior

attempt to get him to stop harassing me and other female employees. For example, on or around

November 9, 2018, Mr. McLaughlin informed me that my service animal, who was trained to

detect my low blood sugar levels, would no longer be permitted in the office. When I requested an

ADA accommodation in order to bring my service dog with me to the office on days that I felt ill,

Mr. McLaughlin stated “no dogs in the office, including yours. I do not care what the law says” or

words to that effect, and he provided me with no explanation for the change in the policy.

       59.     In or around early January 2020, I was once again called into a meeting with Mr.

McLaughlin, this time with Attorney Shea present. At that meeting, Mr. McLaughlin instructed

me that from that point forward, he expected me to report to work by 8 am every day. Prior to Mr.

McLaughlin’s request, I would take the first of her two types of daily insulin shots at 8:30 am and

be at work by 9:15 am. I would then skip lunch or stay later during the day and often worked on

weekends.

       60.     I reminded Mr. McLaughlin of my Type 1 Diabetes and explained that my current

work schedule allowed me to take insulin and change my continuous glucose monitor at specific

and uniform times of the day as required.       I requested that Mr. McLaughlin grant me an

accommodation and permit me to continue working on my usual work schedule to allow me to

manage my health condition. Mr. McLaughlin replied “no accommodation is granted” or words

to that effect. Attorney Shea said nothing at this meeting and kept her head down. Following this

meeting, I immediately began reporting to work beginning at 8 am which caused me to be off my

insulin schedule, thereby causing me to experience serious health issues.

       61.     Mr. McLaughlin’s inappropriate behavior continued throughout my employment.




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        62.     In March 2020, the Funds permitted its employees over the age of 65 or affected

with a health condition to work from home due to the global COVID-19 pandemic.

        63.     Although I was permitted to work remotely due to my diabetes, Mr. McLaughlin

continued to alter the terms and conditions of my employment. By June 2020, Mr. McLaughlin

required that I account for my time in 15-minute increments for the purpose of finding a pretext to

terminate my employment due to my opposition to Mr. McLaughlin’s inappropriate conduct. I

began tracking my time in this manner on June 15, 2020 and submitted these timesheets directly

to Mr. McLaughlin at his request. No such requirement had ever been imposed on me prior to that

time.

        64.    Shortly thereafter, after 42 years of loyal and dedicated service to the Funds, I was

summarily and without any warning terminated on July 22, 2020. My termination letter provided

me with no explanation whatsoever for why I was fired – and did not even suggest any alleged or

suspected breach of fiduciary duty – but simply stated, in part: “As you were an employee at will,

it is not necessary to detail reasons for the Trustees’ decision…. We …. trust that our separation

will be courteous and respectful.”

        65.    Thereafter, I filed a complaint with the MCAD, alleging that my termination had

been unlawful. It was not until after I filed that complaint that the Funds ever raised any allegations

that I breached any fiduciary duty.

        66.    I regularly worked more than 40 hours per week for the Funds for my entire career

at the Funds (including but not limited to my tenfg including work on early mornings, late nights,

and weekends. Indeed, my position as Administrator required me to perform many tasks that I

regularly completed outside the hours of 8:00am to 4:00pm. For example, I was responsible for

preparing and presenting separate reports to each individual Board of Trustees on a quarterly basis




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for Trustee board meetings, and in conenction with that duty I routinely analyzed reports prepared

by the Funds’ consultants and in-house accounts, including financial statements, expense reports,

payroll reports, investment reports, and other general healthcare and pension-related material. I

performed much of this work after ‘business hours,’ when I had time to read, process, and prepare

the information undisturbed. I often spent time during business hours communicating with

members, Union employers, and my direct reports at the Funds’ office.

         67.   Further, I primarily only performed Coalition work during Funds’ work hours

during the one-hour lunch break afforded to her each day pursuant to the Funds’ policy.

         68.   Regarding Coalition work performed by other Funds’ office employees, I never

instructed Taylor Ryan to perform any “comprehensive, time-consuming projects” for the Funds.

In particular, I never asked Ms. Ryan to “review the zip codes for thousands of participants and

beneficiaries of other New England multiemployer fringe benefit funds for purposes of advising

the appropriate members of Congress regarding a lobbying effort undertaken by the Coalition,”

and I was never aware of Ms. Ryan ever performing such work during my employment at the

Funds.

         69.   Regarding “DOL time sheets,” I did initially fill out daily time sheets, but in or

around 2008, the Funds’ own accountants at Manzi & Asssociates (“Manzi”) determined and

informed me that since 2004, based on the data Manzi reviewed from my and other employees’

time sheets, there was no significant change in fund percentage allocations from year to year.

Accordingly, since that time, in lieu of recording my time on a daily basis, a representative of

Manzi would meet and interview me at the end of each calendar year to estimate my time

allocation.




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       70.     With respect to my time allocation, my job duties and time allocation did not

generally vary over the course of a typical year unless there was some significant change to the

Funds’ operations in that given year. In the event that there was a significant change – such as in

2015 when the Trustees dismantled the Health & Welfare Fund claims adjudication system –

Manzi did alter my allocation after conferring with her, as demonstrated by the relevant data,

However, absent any such significant changes, my allocation -- as determined and approved by

the Funds’ own outside accounting firm -- would remain static for the simple reason that my job

duties with respect to each Fund remained largely unchanged.


SIGNED UNDER THE PAINS AND PENALTIES OF PERJURY THIS 12th DAY OF
December 2022.



/s/ Gina Alongi
___________________________________
Gina Alongi




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                      In the
                      In the Matter
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                                    of:

                Ginamarie Alongi,
                Ginamarie Along, et
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                                    Fund, et
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                         May 24,
                         May 24, 2022
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Ginamarie Alongi,
Ginamarie   Alongi, et
                    et al.
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                    COMMONWEALTH OF
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                                    MASSACHUSETTS                                           APPEARANCES (Continued):
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  ·4· ·**************************************************                                4 · · · ·O'DONOGHUE
                                                                                        ·4·       O'DONOGHUE &
                                                                                                             & O'DONOGHUE
                                                                                                               O'DONOGHUE LLP
                                                                                                                          LLP
       GINAMARIE ALONGI
  ·5· ·GINAMARIE ALONGI AND
                        AND ROSEMARIE
                             ROSEMARIE ALONGI,·
                                       ALONG, · · · · ·*                                 5 · · · ·5301
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                                                                                                                 Avenue, NW, Suite 800
                                                                                                                                   800

         Plaintiffs · · · · · · · · · · · · · · · · · ·*
  ·6· · ·Plaintiffs·                                   *                                 6 · · · ·Washington,
                                                                                        ·6·       Washington, DC
                                                                                                              DC 20015
                                                                                                                 20015
         vs. · · · · · · · · · · · · · · · · · · · · · **
  ·7· · ·vs.·                                                                            7 · · · ·BY:·
                                                                                        ·7·       BY: CHARLES
                                                                                                       CHARLESW.  GILLIGAN, ESQ.
                                                                                                               W. GILLIGAN, ESQ.

       IUOE LOCAL
  ·8· ·IUOE LOCAL 4
                  4 HEALTH
                    HEALTH &
                           & WELFARE
                             WELFARE FUND;
                                     FUND; IUOE
                                           IUOE LOCAL
                                                LOCAL 4
                                                      4 *
                                                        *                               ·8·            DANIEL KEENAN,
                                                                                         8 · · · · · · DANIEL KEENAN, ESQ.
                                                                                                                      ESQ.
       PENSION FUND;
  ·9· ·PENSION FUND; IUOE
                     IUOE LOCAL
                          LOCAL 44 ANNUITY
                                   ANNUITY &
                                           & SAVINGS·
                                             SAVINGS · ·**                                        (202) 362-0041
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       FUND; HOISTING
  10· ·FUND; HOISTING AND
                      AND PORTABLE
                          PORTABLE ENGINEERS
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  11· ·APPRENTICESHIP & TRAINING
                        TRAINING FUND;
                                 FUND; JOINT
                                       JOINT LABOR-·
                                             LABOR- · ·**                               11
       MANAGEMENT COOPERATION
  12· ·MANAGEMENT COOPERATION TRUST;
                              TRUST; AND
                                     AND WILLIAM
                                         WILLIAM D.·   *
                                                 D. · ·*                                     In Attendance:
                                                                                        12· ·In              William D.
                                                                                                Attendance:· William D. McLaughlin
                                                                                                                        McLaughlin

       MCLAUGHIAN, INDIVIDUALLY
  13· ·MCLAUGHIAN, INDIVIDUALLY AND
                                AND IN
                                    IN HIS
                                       HISCAPACITY
                                           CAPACITY· · ·**                                                   Greg Geiman
                                                                                        13· · · · · · · · · ·Greg Geiman
       AS CHAIRMAN
  14· ·AS CHAIRMAN OF
                   OF THE
                      THE BOARDS
                          BOARDS OF
                                 OF TRUSTEES,
                                    TRUSTEES,· · · · · ·**                                                   Rosemarie Alongi
                                                                                        14· · · · · · · · · ·Rosemarie Alongi
         Defendants · · · · · · · · · · · · · · · · · ·*
  15· · ·Defendants·                                   *                                15
       Sek RR
  16· ·**************************************************                               16
                  DEPOSITION OF:·
  17· · · · · · · DEPOSITION OF: GINA
                                  GINA MARIE
                                       MARIE ALONGI
                                             ALONGI                                     17
                        BOWDITCH &
  18· · · · · · · · · · BOWDITCH & DEWEY,
                                   DEWEY, LLP
                                          LLP                                           18
                       200 Crossing
  19· · · · · · · · · ·200 Crossing Boulevard
                                    Boulevard                                           19
                      Framingham, Massachusetts
  20· · · · · · · · · Framingham, Massachusetts                                         20
                       May 24,
  21· · · · · · · · · ·May 24, 2022·
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  22· · · · · · · · · · · · · Volume                                                    22
                         Kristen M.
  23· · · · · · · · · · ·Kristen M. Edwards
                                    Edwards                                             23
                           Court Reporter
  24· · · · · · · · · · · ·Court Reporter                                               24


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  ·1· ·APPEARANCES:                                                                     ·1· · · · · · · · · · · · · I N D E X
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                        Plaintiffs:                                                          WITNESS: · · · · · · · · · · · · · · GINA
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                                                                                                                                       MARIE ALONGI
                                                                                                                                             ALONGI

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  ·4· · · · ·BOWDITCH & DEWEY,
                        DEWEY, LLP
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  ·6· · · · ·Framingham, MA 01702
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                                                                                        ·6· ·Ms. Markowski · · · · · · · · · · · · · · · · · · · 5

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                        Defendants:                                                     12
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  21                                                                                    21
  22                                                                                    22
  23                                                                                    23
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                                                            O'Brien & Levine,     Magna Legal
                                                                       Levine, AA Magna  Legal Services
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           Case 1:21-cv-10163-FDS Document 64 Filed 12/13/22 Page 21 of 271
Ginamarie Alongi,
Ginamarie   Along, et
                    et al.
                       al. vs
                           vs                 Confidential
                                              Confidential          Gina Marie
                                                                    Gina  Marie Alongi
                                                                                 Alongi
luoe Local
Iuoe Local 44 Health
              Health && Welfare
                         Welfare Fund,
                                 Fund, et
                                       et al.
                                          al.                            May 24,
                                                                         May   24, 2022
                                                                                   2022
                                                                        Page 109
                                                                        Page 109                                                                                            Page 111
                                                                                                                                                                            Page 111

              Q. · ·What
  ·1· · · · · Q.·   What about
                         about Lou
                               Lou Rasetta,
                                   Rasetta, did
                                            did he
                                                he call
                                                   call you
                                                        you                                               Q. · ·Pre-2017.·
                                                                                              ·1· · · · · Q.·     Pre-2017. Does   Doesthat        describe the
                                                                                                                                           that describe               extent
                                                                                                                                                                 the extent
  BE




                                                                                              WNP
       to talk
  ·2· ·to talk about
               about work stuff after
                     work stuff after hours?
                                      hours?                                                       of your
                                                                                              ·2· ·of  your traveling?
                                                                                                                traveling?
  WN




              A. · ·Not
  ·3· · · · · A.·   Not typically.
                        typically.                                                                        A. · ·Yes.
                                                                                              ·3· · · · · A.·     Yes
              Q. · ·You
  ·4· · · · · Q.·   You mentioned
                        mentioned Greg
                                  Greg and
                                       and Laura-Jean.·
                                           Laura-Jean. Did
                                                        Did                                               Q. · ·And
                                                                                              ·4· · · · · Q.·     And we we covered
                                                                                                                               covered post-2017,
                                                                                                                                            post-2017, okay.·okay. So   Sothe the
  Uhh




                                                                                              Ooh
       anybody else
  ·5· ·anybody else call
                    call you
                         you to
                             to talk
                                talk about
                                     about work stuff after
                                           work stuff after                                        reasons you
                                                                                              ·5· ·reasons      you would
                                                                                                                       would comecomeinin at  at different
                                                                                                                                                  different hours,
                                                                                                                                                                 hours, other other
       hours, any
  ·6· ·hours, any Fund
                  Fund employees
                       employees call you?
                                 call you?                                                         than the
                                                                                              ·6· ·than          start time
                                                                                                            the start    time youyou mentioned,
                                                                                                                                        mentioned, the    the traveling
                                                                                                                                                                traveling that    that
  NO




                                                                                              NO
              A. · ·No.
  ·7· · · · · A.·   No.                                                                            you were
                                                                                              ·7· ·you    wer e doing,
                                                                                                                   doing, waswas there      any other
                                                                                                                                    there any      other reason
                                                                                                                                                             reason why  why you   you
              Q. · ·What
  ·8· · · · · Q.·   What about
                         about your
                               your sister,
                                    sister, Rose?
                                            Rose?                                                  would come
                                                                                              ·8· ·would      comeinin after
                                                                                                                          after the thetypical       eight a.m.
                                                                                                                                         typical eight       am. startstart time?
                                                                                                                                                                                time?
  0




                                                                                              0
              A. · ·She
  ·9· · · · · A.·   Shewould  call.
                        would call.                                                                       A. · ·Well,
                                                                                              ·9· · · · · A.·     Wadll, there
                                                                                                                          there waswas aa number
                                                                                                                                            number of   of reasons.
                                                                                                                                                            reasons.
  ©




                                                                                              ©
              Q. · ·About
  10· · · · · Q.·   About work stuff?
                          work stuff?                                                               That being
                                                                                              10· ·That      being one.·
                                                                                                                     one. Number
                                                                                                                             Number two,  two, I| wasworking.
                                                                                                                                                   was working.· I| was      wasaa
              A. · ·Yes.
  11· · · · · A.·   Yes                                                                             dedicated employee
                                                                                              11· ·dedicated        employee working
                                                                                                                                  working on   on mymy assignments
                                                                                                                                                         assignments           that
                                                                                                                                                                               that I|
              Q. · ·So,
  12· · · · · Q.·   So, II think,
                           think, I| was
                                     wasasking  -- I| had
                                         asking --    had asked
                                                          asked                                     couldn't do
                                                                                              12· ·couldn't      do during
                                                                                                                     during the      course of
                                                                                                                                the course      of the
                                                                                                                                                    the day
                                                                                                                                                         day because
                                                                                                                                                                because of    of all
                                                                                                                                                                                   all
       you why
  13· ·you why you might not
               you might not come
                             comeinto  the office
                                  into the office at
                                                  at 8:00,
                                                     8:00, and
                                                           and                                      the distractions
                                                                                              13· ·the    distractions and and interruptions.·
                                                                                                                                  interruptions. So,   So, you      know, in
                                                                                                                                                             you know,          in
       then you
  14· ·then you talked about how
                talked about how I| would
                                    would work every night.
                                          work every night. I|                                      addition to,
                                                                                              14· ·addition      to, you
                                                                                                                      you know,
                                                                                                                            know, I| was       diagnosed with
                                                                                                                                        was diagnosed          with aa medical
                                                                                                                                                                          medical
       would work
  15· ·would work on
                  on the
                     the weekends.·
                         weekends. So
                                    Soisthat
                                       is that your
                                               your way of
                                                    way of                                          condition, you
                                                                                              15· ·condition,       you know,
                                                                                                                          know, where         sometimes I| had
                                                                                                                                     where sometimes              had toto take
                                                                                                                                                                            take care care
       saying that
  16· ·saying that you
                   you were
                       were ---- you
                                 you had
                                     had sort
                                         sort of
                                              of flexible hours
                                                 flexible hours                                     of the
                                                                                              16· ·of         issue at
                                                                                                        the issue     at hand
                                                                                                                         hand before
                                                                                                                                 before I| went
                                                                                                                                             went intointo the
                                                                                                                                                            the office.
                                                                                                                                                                   office.
       you would
  17· ·you would come
                 come in
                      in when
                         when you
                              you wanted
                                  wanted to comein?
                                         to come in?                                                       Q. · ·And
                                                                                              17· · · · · Q.·      And in intermsof         logging onto
                                                                                                                              terms of logging          onto the the system
                                                                                                                                                                       system
              A. · ·Iwould
  18· · · · · A.·           comein--if
                      would come in -- if I| was
                                             wastraveling,
                                                  traveling,                                        at night,
                                                                                              18· ·at    night, howhow often
                                                                                                                         often did did you
                                                                                                                                        you do do that,
                                                                                                                                                    that, like
                                                                                                                                                            like once
                                                                                                                                                                    once    aa week
                                                                                                                                                                                 week
       traveling was
  19· ·traveling     always aa problem,
                 was always    problem, you
                                        you know.·
                                            know. As  people
                                                   As people                                        or...
                                                                                              19· ·or...
       travel you
  20· ·travel you get
                  get stuck
                      stuck in
                            in airports.·
                               airports. You
                                          You have
                                              have aalot  of
                                                      lot of                                               A. · ·I| didn't
                                                                                              20· · · · · A.·        didn't need
                                                                                                                              need the     computer to
                                                                                                                                      the computer        to work.·
                                                                                                                                                              work. So |I
       time that's
  21· ·time that's wasted,
                   wasted, and
                           and I| was
                                  was doing
                                      doing aalot  of traveling.
                                               lot of traveling.                                    very seldom
                                                                                              21· ·very     seldom wentwent through
                                                                                                                               through the the VPN.·
                                                                                                                                                  VPN. I| hadhad bagsbags of of
       And at
  22· ·And at some
              some points,
                   points, you
                           you know,
                               know, I| wouldn't
                                        wouldn't get
                                                 get home
                                                     home until
                                                          until                                     briefcases with
                                                                                              22· ·briefcases       with work
                                                                                                                          work in   init.
                                                                                                                                       it.
       10, 11:00
  23· ·10, 11:00 at
                 at night.·
                    night. I| think
                              think it
                                    it justified me going
                                       justified me going in
                                                          in                                               Q. · ·So
                                                                                              23· · · · · Q.·      Soyouyou would
                                                                                                                              would bringbring briefcases
                                                                                                                                                  briefcases and    and bags
                                                                                                                                                                           bags
       late in
  24· ·late in the
               the morning.·
                   morning. I| had
                               had meetings
                                   meetings off
                                            off site,
                                                site, whatever
                                                      whatever                                      back and forth to the office?
                                                                                              24· ·back      and    forth   to  the   office?

                                                                        Page 110
                                                                        Page 110                                                                                            Page 112
                                                                                                                                                                            Page 112

       the case
  ·1· ·the   case may
                    may havehave been,
                                    been, you you know.·
                                                     know. I| was,  was, you      know,
                                                                          you know,           ·1· · · · · A.          Yes.
                                                                                                             A.· · ·Yes.
                                                                                              BE




       longtime employee
  ·2· ·longtime       employee and   and I| didn't
                                               didn't feel
                                                         feel itit was
                                                                    was necessary
                                                                          necessary           ·2· · · · · Q.· Q.   ·  Butrarely
                                                                                                                     ·But    rarely did did you
                                                                                                                                              you log  log into
                                                                                                                                                             intothe      VPN?
                                                                                                                                                                   the VPN?
                                                                                              WN




       for me
  ·3· ·for   metoto gogoinin at
                              at 8:00
                                   8:00 in in the    morning when
                                               the morning          when I| was
                                                                              was             ·3· · · · · A. A.· · ·I|did     occasionally if
                                                                                                                        did occasionally           if I| had
                                                                                                                                                         had gotten
                                                                                                                                                               gotten aa call
                                                                                                                                                                            call
       working and
  ·4· ·working       and onon call
                                call all
                                      all the
                                            the time.
                                                  time.                                            after hours,
                                                                                              ·4· ·after       hours, because
                                                                                                                         because I| was was checking
                                                                                                                                                checking my    my voice
                                                                                                                                                                     voice mail.·
                                                                                                                                                                              mail. If    If
                                                                                              Oh




              Q. · ·You
  ·5· · · · · Q.·      You said
                              said you
                                     you wereweretraveling
                                                      traveling aalot.           Was
                                                                         lot.· Was            ·5· ·itit was
                                                                                                          was from
                                                                                                                 from aa member
                                                                                                                            member on    on eligibility
                                                                                                                                              dligibility and  and I| needed
                                                                                                                                                                        needed to   to gogo
       that throughout
  ·6· ·that    throughout the     the time
                                        time thatthat youyou were
                                                                were administrator?
                                                                         administrator?             into the
                                                                                              ·6· ·into       the VPN
                                                                                                                   VPN at   at some
                                                                                                                                some point
                                                                                                                                         point to to check
                                                                                                                                                       check eligibility,
                                                                                                                                                                eligibility, maybemaybe
                                                                                              NO




              A. · ·Yes.
  ·7· · · · · A.·     Yes                                                                     ·7· ·I| went
                                                                                                         went in in for
                                                                                                                     for aaquick      second.
                                                                                                                              quick second.
              Q. · ·And
  ·8· · · · · Q.·     And how how often
                                      often did did you
                                                      you travel?
                                                              travel?                         ·8· · · · · Q.· Q. · ·And
                                                                                                                      And whatwhat about
                                                                                                                                       about on   on thethe weekends?
                                                                                                                                                              weekends?
                                                                                              0




              A. · ·Well,
  ·9· · · · · A.·     Wadl, it it was     prior to
                                   was prior       to 2017.·
                                                       2017. Two, Two, three
                                                                           three              ·9· · · · · A.          Samething.
                                                                                                             A.· · ·Same                  You know,
                                                                                                                                thing.· You       know, I| would
                                                                                                                                                               would work work out out
                                                                                              ©




        times aa year.
  10· ·times        year.                                                                     10· ·of of my my briefcases.
                                                                                                                  briefcases.
                                                                                             = Oo
                                                                                             Boe




               Q. · ·I'm
  11· · · · · Q.·       I'msorry,
                             sorry, you  you said
                                                said prior
                                                        prior to   to 2017
                                                                       2017 it it was
                                                                                  was         11· · · · · Q.·  Q. · ·And
                                                                                                                       And what         things did
                                                                                                                                what things         did youyou bring
                                                                                                                                                                 bring home home with  with
        two to
  12· ·two     to three
                   threetimes
                            times aa year?
                                         year?                                                12· ·youyou in   in the
                                                                                                                   the briefcases?
                                                                                                                         briefcases?
               A. · ·Yes.
  13· · · · · A.·      Yes                                                                    13· · · · · A.·  A. · ·I1 would
                                                                                                                         would bringbring allal mymy financial
                                                                                                                                                         financial reports
                                                                                                                                                                       reportsto   to
               Q. · ·And
  14· · · · · Q.·       And then
                               then what
                                       what aboutabout from from 2017 2017 on?on?                      review every
                                                                                              14· ·review          every aspect
                                                                                                                             aspect of of the        financial condition
                                                                                                                                           the financial        condition of    of the
                                                                                                                                                                                     the
               A. · ·I| only
  15· · · · · A.·         only remember
                                 remember going    going awayaway onceonce in in 2019
                                                                                  2019                plan. I| would
                                                                                              15· ·plan.·          would bringbring reading
                                                                                                                                       reading material
                                                                                                                                                     material that
                                                                                                                                                                 that sometimes
                                                                                                                                                                         sometimesisis
        to thetraining
  16· ·to                     center in
            the training center          in Texas.
                                             Texas.                                                    hours to
                                                                                              16· ·hours         to read.·
                                                                                                                     read. I| would
                                                                                                                                 would bringbring investment
                                                                                                                                                      investment managers'
                                                                                                                                                                       managers
               Q. · ·Just
  17· · · · · Q.·       Justsol'm
                               so I'm clearclear on onit.it.· So
                                                               Soprior
                                                                     prior toto                       reports to look at the performance of the pension
                                                                                              17· ·reports         to  look    at  the  performance           of the   pension fund  fund
        2017, you
  18· ·2017,      you were
                         wer etraveling
                                 traveling two    two to to three
                                                             three times
                                                                       times per per year
                                                                                      year    18· ·as as farfar as
                                                                                                                 asreading        material. Asfar
                                                                                                                     reading material.·          As far as   aswork,
                                                                                                                                                                work, you you know,
                                                                                                                                                                                  know,
        and then
  19· ·and     then after
                        after 2017
                                2017 you you cancan recall
                                                       recall one onetrip,
                                                                        trip, thethe one
                                                                                      one     19· ·if if I1 had
                                                                                                             had aa number
                                                                                                                      number of    of distractions
                                                                                                                                       distractions all    all day
                                                                                                                                                               day long,
                                                                                                                                                                      long, which
                                                                                                                                                                               which
        that you
  20· ·that     you discussed
                      discussed in    in Texas;
                                            Texas; is   isthat      right?
                                                           that right?                        20· ·waswas aatypical
                                                                                                                 typical day day ofof people
                                                                                                                                       people in   in and
                                                                                                                                                        and out
                                                                                                                                                              out of
                                                                                                                                                                   of mymy office,
                                                                                                                                                                             office, I|
               A.
  21· · · · · A.·   ·   Mm-hmm.
                      ·Mm-hmm.                                                                        could not
                                                                                              21· ·could         not get
                                                                                                                       get much
                                                                                                                             much donedone in  in the     course of
                                                                                                                                                   the course       of the
                                                                                                                                                                        the day.·
                                                                                                                                                                              day. So   Soll I
               Q. · ·Was
  22· · · · · Q.·       Wasthere
                               there somesome otherother traveling
                                                             traveling that  that you
                                                                                    you               would have
                                                                                              22· ·would          have to to take
                                                                                                                               take all
                                                                                                                                     all that
                                                                                                                                          that work
                                                                                                                                                 work home  home with
                                                                                                                                                                    with me me to to do.do.
        were doing
  23· ·were       doing or or was
                               wasthatthat it? it?                                            23· ·If  If it
                                                                                                           it was    memos to
                                                                                                               was memos             employees or
                                                                                                                                 to employees           or the   office staff
                                                                                                                                                            the office     staff in in
               A. · ·Pre
  24· · · · · A.·       Preoror post-2017?
                                 post-2017?                                                           general, whatever
                                                                                              24· ·general,          whatever was   was in in my
                                                                                                                                               my briefcase
                                                                                                                                                      briefcase I| gotgot done
                                                                                                                                                                            done by    by thethe


                                           O'Brien &
                                           O'Brien & Levine,
                                                      Levine, AA Magna
                                                                 Magna Legal
                                                                        Legal Services
                                                                              Services Company
                                                                                        Company                                                                       Pages 109–112
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Ginamarie Alongi,
Ginamarie  Along, et
                   et al.
                      al. vs
                          vs                 Confidentid
                                             Confidential           Gina Marie
                                                                    Gina  Marie Alongi
                                                                                  Alongi
luoe Local
Iuoe Local 4
           4 Health
             Health && Welfare
                        Welfare Fund,
                                Fund, et
                                      et al.
                                         al.                             May 24,
                                                                         May   24, 2022
                                                                                    2022
                                                                           Page 113
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                                                                                                                                                                           Page 115
        end of
   1 ·end
  ·1·          of the
                   the night.
                            night.                                                                     work stuff.·
                                                                                                  ·1· ·work      stuff. That's
                                                                                                                           That'san        hour. Then
                                                                                                                                      an hour.·      Then I| would
                                                                                                                                                                would have  have




                                                                                                  BE
               Q. · ·And
   2 · · · · Q.·
  ·2·                      And doesdoesthat        adequately summarize
                                           that adequately           summarize          the
                                                                                        the            Laura-Jean come
                                                                                                  ·2· ·Laura-Jean         come in   in and
                                                                                                                                         and sit
                                                                                                                                               sit right
                                                                                                                                                    right there
                                                                                                                                                            there forfor another
                                                                                                                                                                           another




                                                                                                  WN
        kinds of
   3 ·kinds
  ·3·             of workwork you'dyou'd bring
                                             bring home?
                                                       home?                                           hour, you
                                                                                                  ·3· ·hour,            know. It's
                                                                                                                 you know.·         It's giving
                                                                                                                                          giving me  me ---- it
                                                                                                                                                              it always
                                                                                                                                                                 always startsstarts
   4 · · · · A.·
  ·4·          A. · ·It's  It'san    example.
                                an example.                                                            personal but
                                                                                                  ·4· ·personal       but the
                                                                                                                            the personal
                                                                                                                                  personal is    is half
                                                                                                                                                     half an
                                                                                                                                                           an hour
                                                                                                                                                                hour to to anan hour,
                                                                                                                                                                                  hour,




                                                                                                  Oh
   5
  ·5· ·  · · · Q.
               Q.·    ·    Can you think
                          ·Can     you   think of   of anything
                                                        anything else else    as you
                                                                             as   you sitsit           then it gets into the work, which might be another
                                                                                                  ·5· ·then    it  gets   into  the    work,      which     might     be    another
        heretoday?
   6 ·here
  ·6·            today?                                                                                hour. So
                                                                                                  ·6· ·hour.·     So between
                                                                                                                       between Greg   Greg and and Laura-Jean,
                                                                                                                                                      Laura-Jean, it     it could
                                                                                                                                                                             could have
                                                                                                                                                                                      have




                                                                                                  NO
               A. · ·Reviewing
   7 · · · · A.·
  ·7·                      Reviewing auditors'
                                            auditors reports.·
                                                           reports. I| would
                                                                         would                         been three
                                                                                                  ·7· ·been     three hours
                                                                                                                         hours of  of mymy dayday being
                                                                                                                                                     being wasted
                                                                                                                                                             wasted and    and then
                                                                                                                                                                                 then ofof
        always get
   8 ·always
  ·8·               get drafts
                             drafts ofof auditors'
                                          auditors reports
                                                         reports that
                                                                   that I| would
                                                                            would                      course Billy.
                                                                                                  ·8· ·course      Billy.




                                                                                                  0
        physically have
   9 ·physically
  ·9·                        have toto go
                                        go through,
                                             through, you  you know,
                                                                 know, management
                                                                           management                         Q. · ·And
                                                                                                  ·9· · · · · Q.·      And you          didn't talk
                                                                                                                               you didn't          talk about
                                                                                                                                                          about your          personal
                                                                                                                                                                    your personal




                                                                                                  ©
         letters that
  10· ·letters      that I| would
                                would havehave to  to review
                                                       review from
                                                                 from thethe                            stuff during
                                                                                                  10· ·stuff      during those
                                                                                                                             those      inter actions?
                                                                                                                                        interactions?




                                                                                                 = Oo
                                                                                                 Boe
         accountants for
  11· ·accountants             for the
                                     the annuity
                                          annuity fund fund because
                                                               because it  it was
                                                                               was                             A. · ·Of
                                                                                                  11· · · · · A.·       Of course
                                                                                                                             coursel I did. did.
         participant directed.·
  12· ·participant            directed. I| would
                                               would go   go through
                                                              through all al of of the
                                                                                    the                        Q. · ·So
                                                                                                  12· · · · · Q.·       Soitwasn't
                                                                                                                             it wasn't just   just them
                                                                                                                                                      them sharing
                                                                                                                                                              sharing their  their
         reports, the
  13· ·reports,         the investment
                               investment reports,
                                                reports, the the funds
                                                                  funds in in the
                                                                                the                     personal information.·
                                                                                                  13· ·personal         information. You        You werewere talking
                                                                                                                                                                 talking aboutabout youryour
         lineup, you
  14· ·lineup,       you know, know, looklook at at their
                                                     their performance.·
                                                             performance. I| mean,   mean,              personal stuff
                                                                                                  14· ·personal         stuff too.
                                                                                                                                too.
         these were
  15· ·these      were things things that
                                        that I| just    couldn't do
                                                 just couldn't      do during
                                                                        during the  the                        A. · ·Someone
                                                                                                  15· · · · · A.·       Someone would    would say, say, "How
                                                                                                                                                          "How was   was youryour
         course of
  16· ·course        of the the day.
                                 day.                                                                   weekend?" I| would
                                                                                                  16· ·weekend?"·                         respond.
                                                                                                                              would respond.
                Q. · ·Why
  17· · · · · Q.·           Why couldn't
                                     couldn't you   you dodoitit during
                                                                 during the   the day?
                                                                                    day?                       Q. · ·Did
                                                                                                  17· · · · · Q.·        Did you
                                                                                                                               you feltfelt you
                                                                                                                                              you couldn't
                                                                                                                                                     couldn't refocus
                                                                                                                                                                    refocus the  the
                A. · ·Because
  18· · · · · A.·           Because of   of the     distractions and
                                             the distractions        and                                conver sation and
                                                                                                  18· ·conversation           and talk talk about
                                                                                                                                               about work          stuff?
                                                                                                                                                         work stuff?
         interruptions all
  19· ·interruptions             all day
                                      day long.
                                            long.                                                 19· · · · · A.        When we
                                                                                                               A.· · ·When        we werewere donedone discussing
                                                                                                                                                          discussing what   what we we were
                                                                                                                                                                                         were
                Q.
  20· · · · · Q.·       ·   What kind of
                           ·What      kind    of distractions
                                                   distractions and   and                               talking about personally, we would get into the work
                                                                                                  20· ·talking      about     personally,        we    would      get  into    the  work
         interruptions?
  21· ·interruptions?                                                                                   stuff.
                                                                                                  21· ·stuff.
                A. · ·Greg,
  22· · · · · A.·           Greg, Billy,
                                     Billy, office
                                               office employees.
                                                         employees.                                            Q. · ·Who
                                                                                                  22· · · · · Q.·       Whoesein else in the  the office
                                                                                                                                                    office distracted
                                                                                                                                                              distracted you    you
                Q. · ·And
  23· · · · · Q.·           And whatwhat do do youyou mean
                                                         mean by  by distractions;
                                                                       distractions;                    from your
                                                                                                  23· ·from       your work?
                                                                                                                           work?
         wer
  24· ·were     e they
                  they coming coming in   in to
                                              to talk
                                                   talk toto you
                                                              you about
                                                                    about work work stuff;
                                                                                        stuff;                 A. · ·I| had
                                                                                                  24· · · · · A.·          had anan open-door
                                                                                                                                       open-door policy,policy, so so anyone
                                                                                                                                                                        anyone and   and

                                                                           Page 114
                                                                           Page 114                                                                                        Page 116
                                                                                                                                                                           Page 116

       what were
  ·1· ·what      were -- -- why
                            why did did you
                                          you view       those as
                                                view those             distractions?
                                                                  as distractions?                     everyone was
                                                                                                  ·1· ·everyone      was able
                                                                                                                           ableto to come
                                                                                                                                      come into
                                                                                                                                              into my my office.
                                                                                                                                                           office.
                                                                                                  BRP




  ·2· · · · · A.      Wel, Greg would be waiting at my door
              A.· · ·Well,      Greg    would    be   waiting      at my     door                             Q. · ·Did,
                                                                                                  ·2· · · · · Q.·     Did, generally
                                                                                                                            generally speaking,
                                                                                                                                           speaking, all    all the   Funds
                                                                                                                                                                 the Funds
                                                                                                  WN




       before I got
  ·3· ·before       got inin in
                              in the
                                  the morning.·
                                       morning. Hi    Hi boss,
                                                           boss, andand then
                                                                          then it it                   employees distract
                                                                                                  ·3· ·employees        distract you      from the
                                                                                                                                    you from        the work
                                                                                                                                                          work youyou were
                                                                                                                                                                        were doing?
                                                                                                                                                                              doing?
       was all
  ·4· ·was    all over.
                   over.                                                                          ·4· · · · · A.     Yes. Because
                                                                                                              A.· · ·Yes.·   Becauseeven  even if if they
                                                                                                                                                     they werewere walking
                                                                                                                                                                     waking
                                                                                                  OB




              Q. · ·Did
  ·5· · · · · Q.·      Did Greg
                             Gregtypically          arriveat
                                      typically arrive          at the    office
                                                                    the office                         by, they'd
                                                                                                  ·5· ·by,            come in
                                                                                                             they'd come      intoto say
                                                                                                                                     say hi.·
                                                                                                                                           hi. The
                                                                                                                                                 The hi hi always
                                                                                                                                                            always turned
                                                                                                                                                                      turned
       before you?
  ·6· ·before     you?                                                                                 into something.·
                                                                                                  ·6· ·into   something. I| nevernever had
                                                                                                                                         had my my door
                                                                                                                                                      door shut.
                                                                                                                                                              shut.
                                                                                                  NO




  ·7· · · · · A.      Not necessarily.·
              A.· · ·Not     necessarily. Greg  Greg waswas latelate every
                                                                      every                                   Q. · ·And
                                                                                                  ·7· · · · · Q.·    And so sooneone of    thereasonsthat
                                                                                                                                       of the    reasons that you   you would
                                                                                                                                                                          would
       morning too.
  ·8· ·morning       too.                                                                              comeinin later
                                                                                                  ·8· ·come         later to
                                                                                                                           to the    office, if
                                                                                                                               the office,     if I'm
                                                                                                                                                   I'm hearing
                                                                                                                                                          hearing you you
                                                                                                  0




              Q. · ·But
  ·9· · · · · Q.·      But did
                             did he hetypically       arrive before
                                        typically arrive          beforeyou? you?                      correctly, is
                                                                                                  ·9· ·correctly,      isyou
                                                                                                                          you felt    distracted at
                                                                                                                                felt distracted        at the
                                                                                                                                                           the office?
                                                                                                                                                                 office?
                                                                                                  ©




               A. · ·Yes,
  10· · · · · A.·      Yes, somesome days
                                        days hehe was      late.
                                                   was late.                                                   A. · ·Yes.
                                                                                                  10· · · · · A.·     Yes
                                                                                                 = Oo
                                                                                                 ll




               Q. · ·Most
  11· · · · · Q.·       Most daysdaysdid      hearrive
                                         did he                beforeyou?
                                                   arrive before          you?                                 Q. · ·And
                                                                                                  11· · · · · Q.·     And at at the
                                                                                                                                 the point
                                                                                                                                       point youyou took       over as
                                                                                                                                                       took over      as
               A. · ·Yes.
  12· · · · · A.·      Yes                                                                              administrator, what
                                                                                                  12· ·administrator,         what was was your
                                                                                                                                              your typical        arrival time
                                                                                                                                                       typical arrival     time at
                                                                                                                                                                                 at
               Q. · ·So
  13· · · · · Q.·       Sohewould
                            he would be    beatat your
                                                    your office
                                                             office wanting
                                                                        wanting to   to                 the office?
                                                                                                  13· ·the    office?
                                                                                                 w
                                                                                                 =




        talk to
  14· ·talk     to you
                   you about
                           about work        stuff?
                                     work stuff?                                                               A. · ·I| don't
                                                                                                  14· · · · · A.·       don'trecall.
                                                                                                                               recall.
               A. · ·Not
  15· · · · · A.·       Not necessarily.
                              necessarily.                                                                     Q. · ·Was
                                                                                                  15· · · · · Q.·     Wasitit before
                                                                                                                                 beforenoon?
                                                                                                                                           noon?
               Q. · ·How
  16· · · · · Q.·       How aboutabout most
                                          most of of the
                                                      thetime,
                                                             time, waswas he hethere
                                                                                 there                         A. · ·I| don't
                                                                                                  16· · · · · A.·       don't remember.
                                                                                                                                remember.
        to talk about work stuff?
  17· ·to   talk   about     work      stuff?                                                                  Q. · ·Did
                                                                                                  17· · · · · Q.·      Did you
                                                                                                                            you have
                                                                                                                                   have anyany kind
                                                                                                                                                  kind of of aa morning
                                                                                                                                                                 morning
               A. · ·Eventually.
  18· · · · · A.·       Eventually.                                                                     routine?
                                                                                                  18· ·routine?
               Q. · ·Are
  19· · · · · Q.·      Arethosethekinds
                               those the kinds of      of conversations
                                                           conversations           that
                                                                                   that           19· · · · · A.       Excuse me?
                                                                                                               A.· · ·Excuse     me?
        you viewed
  20· ·you     viewed as        distracting?
                           as distracting?                                                                     Q. · ·Did
                                                                                                  20· · · · · Q.·      Did you
                                                                                                                            you have
                                                                                                                                   haveany        kind of
                                                                                                                                           any kind       of aa regular
                                                                                                                                                                 regular
               A. · ·Yes,
  21· · · · · A.·      Yes, because
                                because they
                                           they took
                                                  took hours.
                                                           hours.                                       mor ning routine?
                                                                                                  21· ·morning        routine?
               Q. · ·Even
  22· · · · · Q.·       Even though
                                 though you you were
                                                   were talking
                                                            talking aboutabout workwork                        A. · ·Yes.
                                                                                                  22· · · · · A.·     Yes
        stuff.
  23· ·stuff.                                                                                                  Q. · ·What
                                                                                                  23· · · · · Q.·     What was  was your
                                                                                                                                      your morning
                                                                                                                                              morning routine?routine?
               A. · ·Eventually
  24· · · · · A.·       Eventually work work stuff,
                                                stuff, personal
                                                          personal stuff,
                                                                        stuff,                    24· · · · · A.      What period
                                                                                                               A.· · ·What    period of of time?
                                                                                                                                            time?


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                                                        Levine, AA Magna
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                      al. vs
                          vs                 Confidential
                                             Confidential           Gina Marie
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                                                                                  Alongi
luoe Local
Iuoe Local 4
           4 Health
             Health && Welfare
                        Welfare Fund,
                                Fund, et
                                      et al.
                                         al.                             May 24,
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                                                                                    2022
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              Q. · ·At
  ·1· · · · · Q.·   Atthepoint   you took
                       the point you took over
                                          over as
                                               as                                                       A. · ·Not
                                                                                            ·1· · · · · A.·     Not coming
                                                                                                                       coming in   in that
                                                                                                                                       that late?
                                                                                                                                             late?




                                                                                            BP
  WDNR


       administrator.
  ·2· ·administrator.                                                                                   Q. · ·Yes.·
                                                                                            ·2· · · · · Q.·     Yes You  You were
                                                                                                                                werecomingin             earlier, before
                                                                                                                                         coming in earlier,          before




                                                                                            WN
              A. · ·In
  ·3· · · · · A.·   In1996?
                       1996?                                                                     9:30; is
                                                                                            ·3· ·9:30;     isthat
                                                                                                             that fair
                                                                                                                     fair toto say?
                                                                                                                               say?
              Q. · ·Yes,
  ·4· · · · · Q.·   Yes, if
                         if you recall that.
                            you recall that.                                                            A. · ·I| don't
                                                                                            ·4· · · · · A.·       don'trecall.
                                                                                                                           recall.




                                                                                            dh
  bh




              A. · ·I| don't
                       don't recall
                             recall that.                                                               Q. · ·But
                                                                                                                But youyou specifically
                                                                                                                              specifically recall
                                                                                                                                                recall the
                                                                                                                                                         the 2018
                                                                                                                                                                2018 toto




                                                                                            Ul
  ·5· · · · · A.·                   that.                                                   ·5· · · · · Q.·
  Oo




              Q. · ·Let's
  ·6· · · · · Q.·   Let'swork  backwards. Pre-pandemic
                          work backwards.· Pre-pandemicinin                                      2019 period?
                                                                                            ·6· ·2019     period?
  NO




                                                                                            NO
       2019 what
  ·7· ·2019 what was
                 was your
                     your regular
                          regular morning
                                  morning routine?
                                          routine?                                                      A. · ·Well,
                                                                                            ·7· · · · · A.·    Wall, there
                                                                                                                         there was was aa period
                                                                                                                                           period with
                                                                                                                                                     with my my
              A. · ·I| would
  ·8· · · · · A.·      would get
                               get up
                                    up at
                                       at 4:00
                                          4:00 in
                                               in the
                                                  the morning.
                                                      morning. I|                                medication that
                                                                                            ·8· ·medication        that it
                                                                                                                         it was
                                                                                                                             was pretty
                                                                                                                                    pretty consistent
                                                                                                                                            consistent on   on what
                                                                                                                                                                 what I| was
                                                                                                                                                                           was
  00




                                                                                            00
       would do
  ·9· ·would     do my
                     my thing,
                         thing, housework,
                                  housework, whatever,
                                               whatever, walk
                                                          walk my
                                                               my dog.
                                                                  dog.                           doing and
                                                                                            ·9· ·doing     and when
                                                                                                                 when I| was was leaving.·
                                                                                                                                    leaving. So So |I knew
                                                                                                                                                       knew whenwhen I| waswas
  ©




                                                                                            ©
       Do you
  10· ·Do you want me to
              want me to be
                         be this
                            this specific;
                                 specific; is
                                           is that
                                              that what your
                                                   what your                                      taking this
                                                                                            10· ·taking     this medication,
                                                                                                                   medication, what          time I| would
                                                                                                                                      what time        would taketake itit and
                                                                                                                                                                           and




                                                                                           = oO
                                                                                           [SY
       question is?
  11· ·question is?                                                                               then how
                                                                                            11· ·then     how long
                                                                                                                 long itit would
                                                                                                                            would taketake meme toto get
                                                                                                                                                      get to
                                                                                                                                                           to the
                                                                                                                                                               the office.
                                                                                                                                                                    office.
              Q. · ·I| just
  12· · · · · Q.·      just want to know
                            want to know what
                                         what your -- aalot
                                              your --        of
                                                         lot of                                   So I| knew
                                                                                            12· ·So       knew there
                                                                                                                  there     was aa period
                                                                                                                           was       period ofof time
                                                                                                                                                   time where
                                                                                                                                                         where I| waswasinin atat
       people have
  13· ·people have morning
                   morning routines.·
                           routines. What
                                      What was
                                           was your
                                               your morning
                                                    morning                                 13· ·aa certain
                                                                                                     certain hour.
                                                                                                                hour.
       routine?
  14· ·routine?                                                                                          Q. · ·And
                                                                                            14· · · · · Q.·      And the the medication
                                                                                                                               medication you    you weretaking
                                                                                                                                                        were taking at     at
              A. · ·Have
  15· · · · · A.·   Have my
                         my breakfast,
                            breakfast, walk
                                       walk my
                                            my dog
                                               dog and
                                                   and then
                                                       then                                       that point
                                                                                            15· ·that     point in in time,
                                                                                                                       time, what
                                                                                                                               what was  was that
                                                                                                                                               that for?
                                                                                                                                                      for?
       be home
  16· ·be home at
               at aa certain
                     certain time
                             time to
                                  to take
                                     take some
                                          some medication
                                               medication                                                A. · ·My
                                                                                            16· · · · · A.·      My diabetes.
                                                                                                                       diabetes.
       before work.
  17· ·before work.                                                                                      Q. · ·When
                                                                                            17· · · · · Q.·      When wereyou              diagnosed with
                                                                                                                            were you diagnosed             with diabetes?
                                                                                                                                                                   diabetes?
              Q. · ·Then
  18· · · · · Q.·   Then you
                         you would
                             would head
                                   head to
                                        to the
                                           the office?
                                               office?                                                   A. · ·In
                                                                                            18· · · · · A.·      In2012
                                                                                                                     2012 I1 was       diagnosed as
                                                                                                                               was diagnosed          as aa type   two
                                                                                                                                                            type two
              A. · ·Yes.
  19· · · · · A.·   Yes                                                                           diabetic from
                                                                                            19· ·diabetic      from Mass.
                                                                                                                       Mass. General.
                                                                                                                                 General.
              Q. · ·But
  20· · · · · Q.·   But you
                        you don't
                            don't recall
                                  recall what
                                         what time you would
                                              time you would                                             Q. · ·Was
                                                                                            20· · · · · Q.·      Wasthat        the first
                                                                                                                         that the             time you
                                                                                                                                       first time    you hadhad been
                                                                                                                                                                   been
       get into
  21· ·get into the
                the office?
                    office?                                                                       diagnosed as
                                                                                            21· ·diagnosed         as aa type
                                                                                                                          type two       diabetic?
                                                                                                                                  two diabetic?
              A. · ·Before
  22· · · · · A.·   Before9:30.
                           9:30.                                                                         A. · ·Yes.
                                                                                            22· · · · · A.·      Yes
              Q. · ·Was
  23· · · · · Q.·   Wasthereever
                        there ever aatime when you
                                     time when you were
                                                   were                                                  Q. · ·And
                                                                                            23· · · · · Q.·      And had had youyou previously
                                                                                                                                       previously been  been diagnosed
                                                                                                                                                                diagnosed
       routinely in
  24· ·routinely in the
                    the office
                        office after
                               after 9:30?
                                     9:30?                                                        with type
                                                                                            24· ·with     type oneone diabetes?
                                                                                                                        diabetes?

                                                                       Page 118
                                                                       Page 118                                                                                   Page 120
                                                                                                                                                                  Page 120
                      After 9:30?
  ·1· · · · · A.· · ·After     9:30?                                                        ·1· · · · · A.      No, subsequently.
                                                                                                        A.· · ·No,     subsequently.
                                                                                            BP




                       Yes.
  ·2· · · · · Q.· · ·Yes.                                                                               Q. · ·And
                                                                                            ·2· · · · · Q.·     And when when wasthat?
                                                                                                                                 was that?
                                                                                            WN




  ·3· · · · · A.· · ·I| don't
                         don't recall.
                                recall.                                                     ·3· · · · · A.
                                                                                                        A.· · ·I| was
                                                                                                                   wasgetting        sicker and
                                                                                                                          getting sicker      and sicker,
                                                                                                                                                    sicker, andand itit
  ·4· · · · · Q.· · ·SoSo there
                           there could
                                    could havehave been been aa time
                                                                  time whenwhen youyou           was tough
                                                                                            ·4· ·was    tough for for meme to   go into
                                                                                                                             to go    into Boston.·
                                                                                                                                            Boston. So   So I| started
                                                                                                                                                                started going
                                                                                                                                                                           going
                                                                                            Oh




       wer routinely
  ·5· ·were     eroutinely in  in the
                                   the office
                                         office after
                                                   after 9:30?
                                                             9:30?                               to UMass,
                                                                                            ·5· ·to  UMass, which which was  was closer
                                                                                                                                   closer toto mymy home.·
                                                                                                                                                     home. They  They did did what
                                                                                                                                                                                what
              A. · ·Depends
  ·6· · · · · A.·      Dependsonif  on if I| was
                                              was off off site
                                                           siteatat aa                           was called
                                                                                            ·6· ·was    called aa Peptide-C
                                                                                                                     Peptide-C test  test on
                                                                                                                                           on meme and
                                                                                                                                                    and determined
                                                                                                                                                           determined I| was    was
                                                                                            NO




       meeting, if
  ·7· ·meeting,      if I| was
                           was traveling.
                                 traveling.                                                      not aatype
                                                                                            ·7· ·not      type two      diabetic as
                                                                                                                 two diabetic        as Mass.
                                                                                                                                         Mass. General
                                                                                                                                                  General diagnosed.
                                                                                                                                                               diagnosed. I|
              Q. · ·Regular
  ·8· · · · · Q.·      Regular routine.·
                                    routine. Were   Were you you more
                                                                    more often
                                                                             often               was aatype
                                                                                            ·8· ·was               one.
                                                                                                           type one.
                                                                                            0




       than not
  ·9· ·than     not you
                      you werein
                            were in the  the office
                                               office after
                                                          after 9:30?
                                                                  9:30?                                 Q. · ·When
                                                                                            ·9· · · · · Q.·     When did    did that
                                                                                                                                 that diagnosis
                                                                                                                                         diagnosis occur?
                                                                                                                                                        occur?
                                                                                            ©




               A. · ·Yes,
  10· · · · · A.·       Yes, I| would
                                 would say say yes.
                                                 yes.                                                    A. · ·2015.
                                                                                            10· · · · · A.·      2015.
                                                                                           = Oo
                                                                                           ra




  11· · · · · Q.· · ·YouYou would
                               would say say that
                                               that occurred?
                                                        occurred?                                        Q. · ·And
                                                                                            11· · · · · Q.·      And as   asaresult
                                                                                                                              a result of of that    diagnosis, did
                                                                                                                                              that diagnosis,         did
                        During the
  12· · · · · A.· · ·During       the period
                                        period of  of time.
                                                        time.                                     the treatment
                                                                                            12· ·the    treatment that   that you
                                                                                                                                you werewer e receiving
                                                                                                                                                receiving change
                                                                                                                                                               change in    in any
                                                                                                                                                                                any
  13· · · · · Q.· · ·AndAnd when
                               when was was that?
                                               that?                                              way?
                                                                                            13· ·way?
  14· · · · · A.·. · ·Maybe
                        Maybe 20182018 andand '19.
                                                 '19.                                                    A. · ·Yes.·
                                                                                            14· · · · · A.·      Yes. I| wentwent from
                                                                                                                                    from being
                                                                                                                                             being onon pills,
                                                                                                                                                          pills,
               Q. · ·So
  15· · · · · Q.·       Soinin 2018
                                2018 andand '19,'19, you
                                                       you wereroutinely
                                                              were routinely                      Metformin, to
                                                                                            15· ·Metformin,          to being
                                                                                                                         being onon insulin.
                                                                                                                                       insulin.
        coming into
  16· ·coming        into the
                            the office
                                  office after
                                           after 9:30?
                                                     9:30?                                               Q. · ·That
                                                                                            16· · · · · Q.·      That started
                                                                                                                           started in  in 2015?
                                                                                                                                          2015?
                     MR. VAN
  17· · · · · · · · ·MR.     VAN DYCK:·
                                      DYCK: Objection
                                                    Objection as     astoto form.·
                                                                            form. YouYou                 A. · ·Yes.
                                                                                            17· · · · · A.·      Yes
               may answer.
  18· · · · · may     answer.                                                                            Q. · ·Did
                                                                                            18· · · · · Q.·       Did you      havearoutinewith
                                                                                                                         you have       a routine with regard  regard to   tothe
                                                                                                                                                                               the
                     THE WITNESS:·
  19· · · · · · · · ·THE     WITNESS: To         To thethe best
                                                            best ofof my
                                                                       my                         insulin?
                                                                                            19· ·insulin?
               knowledge, as
  20· · · · · knowledge,         as |I recall,
                                       recall, that's
                                                  that'swhat
                                                           what I| believe
                                                                      believe I                          A. · ·Idid.
                                                                                            20· · · · · A.·         did.
               was doing.
  21· · · · · was     doing.                                                                             Q. · ·What
                                                                                            21· · · · · Q.·      What wasthat             routine?
                                                                                                                            was that routine?
               Q. · ·(By
  22· · · · · Q.·       (By Ms.
                              Ms. Markowski)·
                                     Markowski) But        But prior
                                                                 prior to  tothe
                                                                              the ----                   A. · ·I| take
                                                                                            22· · · · · A.·                two different
                                                                                                                    take two     different types
                                                                                                                                               types ofof insulin.
                                                                                                                                                            insulin.
        prior to
  23· ·prior     to 2018,
                      2018, though,
                               though, you  you were
                                                   were not not coming
                                                                  coming in   in that
                                                                                 that             Onethat's
                                                                                            23· ·One               called Basal,
                                                                                                          that's called      Basal, which
                                                                                                                                       which is  isalong      acting all
                                                                                                                                                   a long acting        al day
                                                                                                                                                                             day
        late?
  24· ·late?                                                                                      insulin and
                                                                                            24· ·insulin     and thethe other
                                                                                                                          other one
                                                                                                                                  oneis is
                                                                                                                                         called
                                                                                                                                            called aa Bolus,
                                                                                                                                                        Bolus, which
                                                                                                                                                                  which is    isaa



                                          O'Brien &
                                          O'Brien & Levine,
                                                     Levine, AA Magna
                                                                Magna Legal
                                                                       Legal Services
                                                                             Services Company
                                                                                       Company                                                              Pages 117–120
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                      In the
                      In the Matter
                             Matter of:
                                    of:

                Ginamarie Alongi,
                Ginamarie Along, et
                                  et al.
                                     al. vs
                                         vs
      luoe Local
      Iuoe Local 4
                 4 Health
                   Health &
                          & Welfare
                            Welfare Fund,
                                    Fund, et
                                          et al.
                                             al.




                     Gina Alongi
                     Gina        Vol III
                          Alongi Vol 111
                         June 22,
                         June 22, 2022
                                  2022


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Ginamarie   Alongi, et
                    et al.
                       al. vs
                           vs                                              Gina Alongi
                                                                           Gina  Alongi
luoe Local
Iuoe Local 44 Health
              Health && Welfare
                         Welfare Fund,
                                 Fund, et
                                       et al.
                                          al.                            June 22,
                                                                         June  22, 2022
                                                                                   2022
                                                                                                                                                     Page 2

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  ·1· · · · · · · · COMMONWEALTH OF MASSACHUSETTS
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                        AND ROSEMARIE
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  20· · · · · ·June 22, 2022·
                        2022 · · · · · · · 10:00
                                           10:00 a.m.
                                                 am.                                           BY: CHARLES
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       APPEARANCES CONT'D:
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                                                                                   Oo




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                         McLaughlin                                                ·7
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  ·8· · · · · Gregory Geiman, Esq.
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                                                       O'Brien &
                                                       O'Brien & Levine,
                                                                  Levine, AA Magna
                                                                             Magna Legal
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Iuoe Local 44 Health
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                                 Fund, et
                                       et al.
                                          al.                            June 22,
                                                                         June  22, 2022
                                                                                   2022
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              Q. · ·Did
  ·1· · · · · Q.·      Didyou        ever try
                              you ever       try and
                                                  and create
                                                         createa ajob job                                                                                        Page
                                                                                                    · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · ·Page
  BRE


       description at
  ·2· ·description         at any
                               any point?
                                      point?                                                                      Q.
                                                                                                    ·1· · · · · Q.·    ·   Noonedse?
                                                                                                                          ·No   one    else?




                                                                                                     BRP
  WN




              A. · ·Well,
  ·3· · · · · A.·     Wid, recently,
                                recently, whenwhen we  we were
                                                             were talking
                                                                    talking                                       A. · ·No
                                                                                                    ·2· · · · · A.·        Noonedse
                                                                                                                                one else.




                                                                                                     WN
       about --
  ·4· ·about     -- and
                    and this
                           thisisis going
                                     going backback toto --
                                                          -- prior
                                                              prior to
                                                                     to my
                                                                         my                                       Q. · ·Would
                                                                                                    ·3· · · · · Q.·        Would you   you say,
                                                                                                                                              say, though,
                                                                                                                                                      though, that that you,   asthe
                                                                                                                                                                         you, as   the
  Uhh




       termination. All
  ·5· ·termination.·        All ofof aa sudden
                                         sudden aa couple
                                                      couple of  of job
                                                                     job                                  administrator, were
                                                                                                    ·4· ·administrator,             were ultimately
                                                                                                                                             ultimately responsible
                                                                                                                                                                responsible    for the
                                                                                                                                                                               for  the work
                                                                                                                                                                                         work




                                                                                                     Ooh
       descriptions appeared.
  ·6· ·descriptions        appeared.                                                                      of all
                                                                                                    ·5· ·of    all the
                                                                                                                    the employees?
                                                                                                                           employees?
  NO




              Q. · ·When
  ·7· · · · · Q.·     When you    you saysay they
                                               they appeared,
                                                      appeared, do     do you   know
                                                                           you know                               A. · ·Ultimately,
                                                                                                    ·6· · · · · A.·        Ultimately, yes.  yes.




                                                                                                     NO
       their origins?
  ·8· ·their    origins?                                                                                          Q. · ·Okay.·
                                                                                                    ·7· · · · · Q.·        Okay. And  And how  how manymany employees,
                                                                                                                                                                 employees,
  00




              A. · ·I1think       fund counsel
                                          counsel created
                                                     created them.·
                                                                 them. You You
                                                                                                          approximately, did
                                                                                                    ·8· ·approximately,              did thethe fund
                                                                                                                                                  fund office
                                                                                                                                                            office have
                                                                                                                                                                    have between
                                                                                                                                                                           between 20152015




                                                                                                     0
  ·9· · · · · A.·       think fund
  ©




                                                                                                          and 2020?
                                                                                                    ·9· ·and      20207?
        know, sent sent them
                          them to  to me,
                                       me, you
                                             you know,
                                                   know, when when we we were
                                                                           were talking




                                                                                                     ©
  10· ·know,                                                                     talking
                                                                                                    10· · · · · A.·A. · ·It It fluctuated.
                                                                                                                               fluctuated.
        about the
  11· ·about      the employment
                       employment agreement.agreement.
                                                                                                    11· · · · · Q.· · ·Can  Can youyou givegive me me a  a ballpark?
                                                                                                                                                             ballpark?
               Q. · ·You
  12· · · · · Q.·      You think
                               think that that you're
                                                you're not  not sure,
                                                                 sure, though?
                                                                         though?
                                                                                                    12· · · · · A.· · ·Ten  Ten toto 15.
                                                                                                                                      15.
  13· · · · · A.       I'mnot
               A.· · ·I'm           sure.
                             not sure.
                                                                                                    13· · · · · Q.· · ·Okay.Okay.
               Q. · ·Okay.·
  14· · · · · Q.·      Okay. Is     Isitit correct
                                           correct to  to say
                                                           say the
                                                                 the
                                                                                                    14· · · · · A.·. · ·I'm I'mnot      really sure.
                                                                                                                                 not really      sure.
        administrator is
  15· ·administrator            isinin charge
                                        charge of  of the
                                                       the day-to-day
                                                              day-to-day operations
                                                                              operations
                                                                                                    15· · · · · Q.·Q. · ·Okay.·
                                                                                                                            Okay. All   Allright.
                                                                                                                                              right.· And And as asthe
                                                                                                                                                                     the
        of the
  16· ·of    the fund?
                   fund?
                                                                                                           administrator, what were your responsibilitieswith
                                                                                                    16· ·administrator,              what     were     your     responsibilities     with
  17· · · · · A.       Yes
               A.· · ·Yes.
                                                                                                           respect to
                                                                                                    17· ·respect         to the    board of
                                                                                                                              the board       of the
                                                                                                                                                  the boards
                                                                                                                                                          boards of  of trustees?
                                                                                                                                                                        trustees?
               Q. · ·Okay.·
  18· · · · · Q.·      Okay. And    And did did all
                                                 all of
                                                      of the
                                                          thefund's
                                                                fund's                              18· · · · · A.·A. · ·My My responsibilities?
                                                                                                                                  responsibilities?
        employees, ultimately,
  19· ·employees,           ultimately, reportreport to to you?
                                                             you?                                   19· · · · · Q.·Q. · ·Yes.
                                                                                                                            Yes
  20· · · · · A.       Could you
               A.· · ·Could       you specify
                                         specify thethe time     period?
                                                         time period?                               20· · · · · A.·A. · ·To To report
                                                                                                                                 report to     them. You
                                                                                                                                           to them.·       You know,
                                                                                                                                                                  know, financial
                                                                                                                                                                          financial
               Q. · ·Let's
  21· · · · · Q.·       Let'ssay,inthelast
                                 say, in the last five  fiveyearsthat
                                                               years that                                  status of
                                                                                                    21· ·status      of the     plan, any
                                                                                                                          the plan,      any issues
                                                                                                                                               issues withwith service
                                                                                                                                                                 service providers,
                                                                                                                                                                           providers,
        you wer
  22· ·you     weree thethe administrator,
                              administrator, so       so 2015
                                                           2015 to to 2020?
                                                                       2020?                               any recommendations
                                                                                                    22· ·any       recommendations             that I| had.
                                                                                                                                               that      had.
  23· · · · · A.       Theonly
               A.· · ·The              employees that
                              only employees           that reported
                                                              reported directly
                                                                          directly                                        What we
                                                                                                    23· · · · · · · · ·What              would do
                                                                                                                                   we would         do is,
                                                                                                                                                         is, we
                                                                                                                                                              we would     have, you
                                                                                                                                                                  would have,     you
        to me
  24· ·to   me waswas Greg
                         Greg and and Laura-Jean.
                                         Laura-Jean.                                                       know, service
                                                                                                    24· ·know,        service providers
                                                                                                                                   providerscomein.
                                                                                                                                                  come in.· You   You know,
                                                                                                                                                                        know, ifif there
                                                                                                                                                                                   there

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        were particular
  ·1· ·were      particular issuesissues with
                                            with themthem they       would go
                                                             they would         go inin front
                                                                                        front             annuity/401K ?
                                                                                                    ·1· ·annuity/401K?
  BP




                                                                                                     WNP




        of board,
  ·2· ·of    board, you         know, if
                        you know,         if there
                                             there was was aa need
                                                                 need to     terminate
                                                                        to terminate                             A. · ·Yes.·
                                                                                                    ·2· · · · · A.·       Yes. WhenWhenitwasastraight
                                                                                                                                              it was a straight DC       DC plan,
                                                                                                                                                                              plan,
  WN




        them.
  ·3· ·them.                                                                                              KPMG was
                                                                                                    ·3· ·KPMG          was the      recordkeeper. They
                                                                                                                              the recordkeeper.·            They werewere -- -- I| think
                                                                                                                                                                                   think wewe
  ·4· · · · · · · · ·II would,       basically, review
                         would, basically,            review any  any and
                                                                       and allal                          were the
                                                                                                    ·4· ·were      the first    multiemployer plan
                                                                                                                         first multiemployer             plan that      KPMG
                                                                                                                                                                 that KPMG
  Oh




                                                                                                     Oh




        negotiations |I did
  ·5· ·negotiations             did on
                                     on behalf
                                           behalf of  of the
                                                          the funds.·
                                                                funds. You You know,know,                 administered aaDC
                                                                                                    ·5· ·administered             DC plan plan for.
                                                                                                                                                 for.
        specifically for
  ·6· ·specifically          for the
                                  the health
                                        health &   & welfare
                                                       welfare fund,fund, the
                                                                            the pension
                                                                                   pension                              And then,
                                                                                                    ·6· · · · · · · · ·And      then, they
                                                                                                                                         they went
                                                                                                                                                 went out out ofof business.·
                                                                                                                                                                     business. You  You
  NO




                                                                                                     NO




        fund. You
  ·7· ·fund.·      You know,know, investment
                                      investment managers.·
                                                         managers. We     We had had aawhole
                                                                                          whole           know, they
                                                                                                    ·7· ·know,       they didn't
                                                                                                                             didn't do do the     recordkeeping anymore,
                                                                                                                                            the recordkeeping             anymore, so  so we we
        roster full
  ·8· ·roster     full of of investment
                               investment managers
                                                managers that    that constantly
                                                                       constantly                         had to
                                                                                                    ·8· ·had     to find
                                                                                                                     find someone
                                                                                                                            someone else.·  else. So So that's
                                                                                                                                                          that's when
                                                                                                                                                                    when we  we went
                                                                                                                                                                                   went toto
                                                                                                     00
  0




        changed.
  ·9· ·changed.                                                                                           Putnam Investments.
                                                                                                    ·9· ·Putnam         Investments.
  ©




                                                                                                     ©




  10· · · · · · · · ·ForFor thethe annuity
                                    annuity plan,plan, youyou know,
                                                                  know, it it was
                                                                              was aa                              Q. · ·So
                                                                                                    10· · · · · Q.·        Soyouyou had had Putnam
                                                                                                                                               Putnam asas recordkeeper?
                                                                                                                                                                   recor dkeeper?
                                                                                                  Ww NPR Oo




  11· ·DCDC plan,
                plan, aa defined
                             defined contribution
                                         contribution plan,  plan, which,         ultimately
                                                                      which, ultimately             11· · · · · A.         And then,
                                                                                                                  A.· · ·And                MassMutual. Putnam
                                                                                                                                   then, MassMutual.·              Putnam had  had some
                                                                                                                                                                                     some
                                                                                                  SY




         was converted
  12· ·was      converted to      to aa profit-sharing
                                         profit-sharing plan    plan that
                                                                       that allowed
                                                                              allowed aa                   issues, you
                                                                                                    12· ·issues,       you know,
                                                                                                                              know, in   in the    press. And
                                                                                                                                             the press.·      And we       felt obligated
                                                                                                                                                                      we felt     obligated
         401K component.
  13· ·401K        component.                                                                       13· ·toto terminate
                                                                                                               terminate them. them.
                Q. · ·Okay.
  14· · · · · Q.·         Okay.                                                                                   Q. · ·All
                                                                                                    14· · · · · Q.·        Allright.
                                                                                                                                 right.· I| take
                                                                                                                                               takeit,it, being
                                                                                                                                                            being the  the
                A. · ·First
  15· · · · · A.·         First 401K
                                  401K plan plan in in the
                                                        the multiemployer
                                                              multiemployer                                administrator's
                                                                                                    15· ·administrator's              aa full-time
                                                                                                                                          full-time job? job?
                                                                                                  No oo
                                                                                                  [NE




         environment.
  16· ·environment.                                                                                 16· · · · · A.         It'smorethan
                                                                                                                  A.· · ·It's    more than aafull-time
                                                                                                                                                    full-time job.  job.
                Q. · ·And
  17· · · · · Q.·         Andyou         said it
                                  you said       it was
                                                     was -- -- became
                                                                becameaa                                          Q. · ·And
                                                                                                    17· · · · · Q.·        And at   at the
                                                                                                                                        thetime
                                                                                                                                              time of      your termination,
                                                                                                                                                       of your      termination, do      do
         self-directed plan
  18· ·self-directed            plan as aswell?
                                             well?                                                         you recall
                                                                                                    18· ·you       recall your
                                                                                                                             your annual
                                                                                                                                      annual compensation?
                                                                                                                                                   compensation?
                A. · ·It
  19· · · · · A.·         It was
                              was participant-directed
                                    participant-directed before      before we we                   19· · · · · A.         Approximately, 258.
                                                                                                                  A.· · ·Approximately,               258.
         added the
  20· ·added        the profit-sharing
                           profit-sharing feature.·
                                                feature. You   You know,
                                                                       know, it   it wasn't
                                                                                     wasn't                       Q. · ·And
                                                                                                    20· · · · · Q.·        Andinin addition
                                                                                                                                        addition to    to that      salary, did
                                                                                                                                                           that salary,        did you
                                                                                                                                                                                     you
         easy to
  21· ·easy      to convert
                     convert that  that toto aa profit-sharing
                                                profit-sharing plan    plan andand addadd                  receive any
                                                                                                    21· ·receive        any benefits?
                                                                                                                               benefits?
         the 401K
  22· ·the     401K feature,
                          feature, and and toto monitor
                                                 monitor all   all the
                                                                    the various
                                                                         various                    22· · · · · A.         Yes
                                                                                                                  A.· · ·Yes.
         selections by
  23· ·selections          by the
                                the membership
                                     membership and       and thethe employers.
                                                                      employers.                                  Q. · ·Can
                                                                                                    23· · · · · Q.·        Can you         detail those
                                                                                                                                   you detail                  benefitsfor
                                                                                                                                                     those benefits                me?
                                                                                                                                                                             for me?
                Q.
  24· · · · · Q.·     ·    Did you have arecordkeeper for
                         ·Did    you    have     a  recordkeeper           for thethe               24· · · · · A.         Health &
                                                                                                                  A.· · ·Health        & welfare,
                                                                                                                                           welfare, pension,
                                                                                                                                                         pension, contributions
                                                                                                                                                                        contributions


                                              O'Brien &
                                              O'Brien & Levine,
                                                         Levine, AA Magna
                                                                    Magna Legal
                                                                           Legal Services
                                                                                 Services Company
                                                                                           Company                                                                            Pages 9–12
                                                                                                                                                                              Pages 9-12
                                                                                                                                                                          D. App. 023
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                                                 888.825.3376    production@court-reporting.com                                                                                                   YVer1f
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Ginamarie Alongi,
Ginamarie   Along, et
                    et al.
                       al. vs
                           vs                                              Gina Alongi
                                                                           Gina  Alongi
luoe Local
Iuoe Local 44 Health
              Health && Welfare
                         Welfare Fund,
                                 Fund, et
                                       et al.
                                          al.                            June 22,
                                                                         June  22, 2022
                                                                                   2022
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        testimony?
  ·1· ·testimony?                                                                                       sheet?
                                                                                                  ·1· ·sheet?
  WNP




                                                                                                  WNP
               A. · ·Some
  ·2· · · · · A.·       Someform  form of  of it
                                               it was.·
                                                  was. I| don'tdon't know
                                                                       know if  if it
                                                                                   it             ·2· · · · · A.
                                                                                                               A.· · ·I| don't
                                                                                                                          don'trecall.
                                                                                                                                   recall.
        was adopted
  ·3· ·was     adopted verbatim
                             verbatim what'swhat's on   on here.·
                                                             here. But But yes.
                                                                           yes.                                Q. · ·Do
                                                                                                  ·3· · · · · Q.·       Doyou        recall when
                                                                                                                              you recall        when you  you --  -- the
                                                                                                                                                                      the way
                                                                                                                                                                            way you've
                                                                                                                                                                                 you've
               Q. · ·Okay.·
  ·4· · · · · Q.·       Okay. So     Sowhether
                                          whether it     it was
                                                              wasthis     specific
                                                                    this specific                       indicated that,
                                                                                                  ·4· ·indicated         that, or or the
                                                                                                                                       the wayway you've
                                                                                                                                                     you've testified,
                                                                                                                                                                  testified, makes
                                                                                                                                                                               makes me  me
  Uh




                                                                                                  Oh
        method or
  ·5· ·method         or time
                           time sheet,
                                   sheet, at  at some
                                                  some point,
                                                            point, timetime sheets
                                                                               sheetswere were          believe at
                                                                                                  ·5· ·believe       at some
                                                                                                                         some pointpoint you        ceased filling
                                                                                                                                             you ceased          filling out
                                                                                                                                                                           out aatime
                                                                                                                                                                                  time
        implemented for
  ·6· ·implemented             for the
                                     the fund
                                            fund office
                                                     office employees?
                                                                employees?                              sheet; is
                                                                                                  ·6· ·sheet;      isthat      correct?
                                                                                                                       that correct?
  NO




                                                                                                  NO
               A. · ·Yes.
  ·7· · · · · A.·       Yes.                                                                      ·7· · · · · A.        Yes
                                                                                                               A.· · ·Yes.
               Q.
  ·8· · · · · Q.·    ·  And would
                       ·And     would it    it have
                                                have beenbeen right
                                                                  right around
                                                                          around this   this                   Q. · ·Do
                                                                                                  ·8· · · · · Q.·       Doyou        have any
                                                                                                                              you have         any sense
                                                                                                                                                      sense of  of when
                                                                                                                                                                     when that
                                                                                                                                                                             that may
                                                                                                                                                                                    may




                                                                                                  00
  0




        time, the
  ·9· ·time,      the beginning
                        beginning of      of 2004?
                                              2004?                                                     have occurred?
                                                                                                  ·9· ·have      occurred?
  ©




                                                                                                  ©
                A. · ·I| don't
  10· · · · · A.·          dontrecal.
                                    recall.                                                                     A. · ·My
                                                                                                  10· · · · · A.·        My bestbest estimate
                                                                                                                                       estimate is    is sometime
                                                                                                                                                         sometimein      in 2008.
                                                                                                                                                                             2008.
                Q. · ·So
  11· · · · · Q.·        Sosometime
                              sometime around   around the    the beginning
                                                                    beginning of     of 2004,
                                                                                         2004,           And that's
                                                                                                  11· ·And       that's just
                                                                                                                          just anan estimate.
                                                                                                                                      estimate.
  12· ·isisitit fair
                fair toto say,
                            say, all
                                   all fund
                                         fund employees
                                                  employees          were instructed
                                                                    were    instructed                          Q. · ·What
                                                                                                  12· · · · · Q.·        What are   areyou        basing that
                                                                                                                                          you basing                  estimate on?
                                                                                                                                                              that estimate       on?
  13· ·toto begin
              begin filling
                        filling outout daily
                                          daily time
                                                   time sheets?
                                                            sheets?                                             A. · ·That,
                                                                                                  13· · · · · A.·        That, you       know, Manzi
                                                                                                                                   you know,        Manzi &     & Associates
                                                                                                                                                                    Associates
                A. · ·Yes.
  14· · · · · A.·        Yes                                                                             determined, around
                                                                                                  14· ·determined,           around that that time,
                                                                                                                                                time, that
                                                                                                                                                         that thethe numbers
                                                                                                                                                                       numbers or  or the
                                                                                                                                                                                      the
                Q. · ·Okay.·
  15· · · · · Q.·        Okay. Did    Did everyone
                                             everyonein      in the
                                                                  the officefill
                                                                        office fill                      percentages to the funds allocation, based on time
                                                                                                  15· ·percentages           to  the   funds     allocation,        based   on  time
         out those
  16· ·out      those timetime sheets?
                                  sheets?                                                                sheets, did
                                                                                                  16· ·sheets,       did not
                                                                                                                           not change
                                                                                                                                 change significantly.
                                                                                                                                             significantly.
                A. · ·Yes.
  17· · · · · A.·        Yes                                                                                    Q. · ·And
                                                                                                  17· · · · · Q.·        And so,  so, what
                                                                                                                                       what was  was thethe consequence
                                                                                                                                                               consequence of     of that
                                                                                                                                                                                      that
                Q. · ·How
  18· · · · · Q.·        How aboutabout you? you?                                                        finding by
                                                                                                  18· ·finding         by Manzi?
                                                                                                                            Manzi?
                A. · ·I| did
  19· · · · · A.·          did for
                                 for period
                                       period of  of time.
                                                       time.                                                    A. · ·Could
                                                                                                  19· · · · · A.·        Could you  you further        explain your
                                                                                                                                           further explain                 question?
                                                                                                                                                                    your question?
                Q. · ·Do
  20· · · · · Q.·        Do youyou knowknow what what time time period
                                                                   period you you would
                                                                                      would                     Q. · ·Yeah,
                                                                                                  20· · · · · Q.·        Yeah, sure.·
                                                                                                                                    sure. So   Soyou       said Manzi
                                                                                                                                                    you said        Manzi was was
         have done
  21· ·have        done that?
                           that?                                                                         finding there
                                                                                                  21· ·finding        there wasn't
                                                                                                                                 wasn't significant
                                                                                                                                            significant change  change from from year
                                                                                                                                                                                   year toto
                A. · ·I| don't
  22· · · · · A.·          don'trecal.
                                    recall.                                                              year; isthat what you're saying?
                                                                                                  22· ·year;       is  that   what      you're      saying?
                Q. · ·Do
  23· · · · · Q.·        Doyou you havehavea a senseof
                                                  sense of for   for how
                                                                       how long
                                                                              long aa                           A. · ·Right.
                                                                                                  23· · · · · A.·        Right.
         period of
  24· ·period        of time
                          time youyou may may havehave filled
                                                           filled outout aa daily
                                                                             daily timetime                     Q. · ·Did
                                                                                                  24· · · · · Q.·        Did anyone
                                                                                                                                 anyone else  else cease
                                                                                                                                                     ceasefilling        out a
                                                                                                                                                               filling out     atime
                                                                                                                                                                                 time

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        sheet, as
  ·1· ·sheet,      asof of 2008,
                             2008, other
                                      other thanthan yourself?
                                                         your self?                                            Q. · ·Okay.·
                                                                                                  ·1· · · · · Q.·       Okay. In      Inthe     absence of
                                                                                                                                          the absence         of time
                                                                                                                                                                  time sheets,
                                                                                                                                                                           sheets, how  how
                                                                                                  WNP




  ·2· · · · · A.· · ·No. No.                                                                            was your
                                                                                                  ·2· ·was     your costscoststoto the the various
                                                                                                                                             various fundsfunds goinggoing to  to bebe
  ·3· · · · · Q.· · ·Why Why not? not?                                                                  allocated?
                                                                                                  ·3· ·allocated?
  ·4· · · · · A.· · ·TheyThey were        required to
                                  were required         to dodo it.
                                                                 it.                                           A. · ·Because
                                                                                                  ·4· · · · · A.·       Because my     my job      consisted of,
                                                                                                                                             job consisted        of, basically,
                                                                                                                                                                        basicaly,
                                                                                                  Oar




                         Weren't you
  ·5· · · · · Q.· · ·Weren't                   required to
                                       you required           tododo it?it?                             doing the
                                                                                                  ·5· ·doing      the same
                                                                                                                         same thing,
                                                                                                                                  thing, youyou know,
                                                                                                                                                   know, every
                                                                                                                                                             every day.·
                                                                                                                                                                       day. WithWith
  ·6· · · · · A.· · ·My  My time
                               time hadhad been
                                              been consistent,
                                                      consistent, unlessunless there
                                                                                   there                respect to
                                                                                                  ·6· ·respect      to these
                                                                                                                         these funds,
                                                                                                                                   funds, youyou know,
                                                                                                                                                    know, I| knewknew --   -- okay,
                                                                                                                                                                               okay, with
                                                                                                                                                                                        with
                                                                                                  NO




        was aa specific
  ·7· ·was        specific project
                                project thatthat wewe were
                                                        were working
                                                                 working on.·   on. AndAnd wewe         the health
                                                                                                  ·7· ·the    health &   & welfare
                                                                                                                              welfare fund,fund, howhow much
                                                                                                                                                           much time,time, you        know, was
                                                                                                                                                                               you know,      was
        did make
  ·8· ·did    make an    an adjustment
                              adjustment for   for that
                                                     that year,
                                                            year, when
                                                                     when we   we                       allocated.
                                                                                                  ·8· ·allocated.
                                                                                                  00




        dismantled the
  ·9· ·dismantled           the claims
                                 claims operation,
                                            operation, I| believe,
                                                               believe, in    in 2015.
                                                                                  2015.           ·9· · · · · · · · ·I| had
                                                                                                                         had aawhole         claims operation
                                                                                                                                   whole claims         operation that  that waswas
                                                                                                  ©




         Y ou know
  10· ·You       know there there was
                                    was aa increase,
                                              increase, at   at some
                                                                 some point,
                                                                          point, in  in that
                                                                                        that             doing the majority of the work. So my role was
                                                                                                  10· ·doing       the   majority       of  the   work.·     So   my    role     was
         allocation to
  11· ·allocation          to the
                               the health
                                    health &   & welfare
                                                   welfare fund.fund.                                    somewhat limited
                                                                                                  11· ·somewhat            limited to, to, you
                                                                                                                                            you know,
                                                                                                                                                   know, the  the trustees
                                                                                                                                                                   trustees and  and
  12· · · · · · · · ·So So when
                             when I| stopped
                                        stopped doing doing timetime sheets,
                                                                        sheets, the the                  preparing for
                                                                                                  12· ·preparing          for trustees
                                                                                                                                trustees meetings.
                                                                                                                                             meetings.
         allocation was
  13· ·allocation                 reviewed by
                           was reviewed          by Manzi
                                                      Manzi and  and thethe trustees.·
                                                                              trustees. And And                        Y ou know,
                                                                                                  13· · · · · · · · ·You        know, for for the     pension fund,
                                                                                                                                                the pension       fund, you        know,
                                                                                                                                                                             you know,
  14· ·nono one
              one made
                     made aa comment
                                  comment with            respect to
                                                 with respect         to me
                                                                          me doing
                                                                                doing time
                                                                                         time            was aalittle
                                                                                                  14· ·was                  bit more
                                                                                                                   little bit    more involved
                                                                                                                                           involved with         respect, you
                                                                                                                                                         with respect,         you know,
                                                                                                                                                                                      know,
         sheets.
  15· ·sheets.                                                                                           there was
                                                                                                  15· ·there      was aawhole
                                                                                                                            whole host  host ofof investment
                                                                                                                                                   investment managers.·
                                                                                                                                                                      managers. And     And the
                                                                                                                                                                                              the
                Q. · ·Back
  16· · · · · Q.·         Back up  up for
                                        for aaminute.
                                                 minute.· As    Asthe the                                annuity fund
                                                                                                  16· ·annuity        fund somewhat
                                                                                                                               somewhat limited.·
                                                                                                                                                limited. And  And the the dues
                                                                                                                                                                             dues andand the
                                                                                                                                                                                          the
         administrator, you provide servicestoto all
  17· ·administrator,              you    provide       services           all ofof the
                                                                                     the funds
                                                                                          funds          SAC, same
                                                                                                  17· ·SAC,        same thing,         issuing aa check
                                                                                                                            thing, issuing            check monthly.
                                                                                                                                                                monthly.
  18· ·inin the
             the Local
                    Local 4    4 fund
                                  fund office?
                                          office?                                                               Q. · ·Well,
                                                                                                  18· · · · · Q.·        Wall, didn't
                                                                                                                                    didn't you you testify       earlier, that
                                                                                                                                                      testify earlier,         that
                A. · ·Yes.
  19· · · · · A.·         Yes                                                                            things like
                                                                                                  19· ·things        like HIPAA
                                                                                                                            HIPAA could   could skewskew the        amount of
                                                                                                                                                             the amount           of effort
                                                                                                                                                                                       effort
                Q. · ·And,
  20· · · · · Q.·         And, also,
                                   also, toto some
                                                some degree,
                                                         degree, to    to the
                                                                           the various
                                                                                  various                you're putting
                                                                                                  20· ·you're        putting in    in for
                                                                                                                                       for aa given
                                                                                                                                                given fundfund in  in any
                                                                                                                                                                       any given
                                                                                                                                                                               given year?
                                                                                                                                                                                         year?
         non-ERI SA entities?
  21· ·non-ERISA               entities?                                                                        A. · ·Absolutely.
                                                                                                  21· · · · · A.·        Absolutely.
                A. · ·To
  22· · · · · A.·         To some
                               some degree.
                                        degree.                                                                 Q. · ·And
                                                                                                  22· · · · · Q.·        And how  how about
                                                                                                                                          about something
                                                                                                                                                     something like    like thethe Pension
                                                                                                                                                                                     Pension
                Q. · ·Is
  23· · · · · Q.·         Isthat
                              that aafairly        small part
                                        fairly small         part of of your
                                                                         your time?time?                 Protection Act
                                                                                                  23· ·Protection           Act of  of 2006?
                                                                                                                                        2006?
                A.
  24· · · · · A.·     ·   Fairly small.
                         ·Fairly    small.                                                                      A. · ·As
                                                                                                  24· · · · · A.·        Asthe       administrator, I| would
                                                                                                                               the administrator,             would --   -- you
                                                                                                                                                                              you


                                              O'Brien &
                                              O'Brien & Levine,
                                                         Levine, AA Magna
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                       al. vs
                           vs                                              Gina Alongi
                                                                           Gina  Alongi
luoe Local
Iuoe Local 44 Health
              Health && Welfare
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        know, if there was amailing or whatever the
  ·1· ·know,       if there    was     a mailing       or    whatever     the                                memoranda and
                                                                                                       ·1· ·memoranda              and --  -- from      counsel --
                                                                                                                                              from counsel           -- about
                                                                                                                                                                         about whatwhat steps
                                                                                                                                                                                            steps the the
  WDNR




                                                                                                       WNP
        responsibility was
  ·2· ·responsibility          was forfor the
                                            the administration,
                                                  administration, I| had     had aa                          fund had
                                                                                                       ·2· ·fund      had to  to take
                                                                                                                                  taketo   to comply
                                                                                                                                               comply with  with thethe ---- with
                                                                                                                                                                              with the the new
                                                                                                                                                                                             new
        staff. The
  ·3· ·staff.·    The staff
                          staff recorded
                                  recorded their their time
                                                          time involved,
                                                                  involved, if  if                           statute?
                                                                                                       ·3· ·statute?
        there was
  ·4· ·there      was aa specific
                           specific mailing.
                                         mailing.                                                                   A. · ·Well,
                                                                                                       ·4· · · · · A.·       Wél, you  you know,
                                                                                                                                              know, we   we hadhad aa fund      counsel. I|
                                                                                                                                                                        fund counsel.




                                                                                                       Uhh
  Oh




               Q. · ·Okay.·
  ·5· · · · · Q.·       Okay. You're You'rereferencing                mailings. But
                                                  referencing mailings.·               But                   had compliance
                                                                                                       ·5· ·had     compliance attorneyattorney working.
                                                                                                                                                     working.· You    Y ou know,
                                                                                                                                                                             know, so   so that
                                                                                                                                                                                            that waswas
        with respect
  ·6· ·with      respect to   to aa statute
                                     statute like like the the Pension
                                                                 Pension Protection
                                                                             Protection                      some something
                                                                                                       ·6· ·some       something that   that they
                                                                                                                                               they would         review.
                                                                                                                                                       would review.
  NO




                                                                                                       NO
        Act, isn't
  ·7· ·Act,     isn't there
                         theremoretoit
                                  more to it than   than mailings;
                                                              mailings; therethere was,was,                         Q. · ·Right.·
                                                                                                       ·7· · · · · Q.·        Right. II understand
                                                                                                                                             understand counsel  counsel is   is playing
                                                                                                                                                                                  playing a     a
        kind of,
  ·8· ·kind      of, aa host
                          host ofof change
                                      change as    astoto howhow pension
                                                                    pension plansplans                       role. But
                                                                                                       ·8· ·role.·     But aren't
                                                                                                                               aren't you,you, as asthe     administrator,
                                                                                                                                                      the administrator,
  00




                                                                                                       00
        oper ated following
  ·9· ·operated         following that   that legislation,
                                                 legislation, correct?
                                                                    correct?                                 interacting with
                                                                                                       ·9· ·interacting          with counsel
                                                                                                                                         counsel and   and working
                                                                                                                                                               working with  with themthem to   to make
                                                                                                                                                                                                    make




                                                                                                       ©
  ©




  10· · · · · A.         Correct. And
                A.· · ·Correct.·        And that's
                                                that's why why we we had
                                                                       had plan
                                                                             plan                             sure
                                                                                                       10· ·sure      the
                                                                                                                      the fund
                                                                                                                             fund is  isinin compliance
                                                                                                                                              compliance with     with thethe newnew statute?
                                                                                                                                                                                        statute?




                                                                                                      N BO
                                                                                                      Boe
         professionals.
  11· ·professionals.                                                                                                A. · ·Well,
                                                                                                       11· · · · · A.·        Well, can can you      give me
                                                                                                                                              you give       me an an example?
                                                                                                                                                                        example?
                Q. · ·But
  12· · · · · Q.·         But wouldn't
                                wouldn't you,    you, as  asthe     administrator,
                                                              the administrator,                                     Q. · ·Sure.·
                                                                                                       12· · · · · Q.·         Sure. Weren't
                                                                                                                                         Weren't there   thereavariety
                                                                                                                                                                  a variety of    of new
                                                                                                                                                                                      new
         have to,
  13· ·have       to, kind
                        kind of,of, amp
                                      amp up  up your
                                                    your levellevel of
                                                                     of interaction
                                                                          interaction with  with              notices that
                                                                                                       13· ·notices        that would
                                                                                                                                   would go   go out
                                                                                                                                                   out with
                                                                                                                                                          with thethe Pension
                                                                                                                                                                         Pension Protection
                                                                                                                                                                                       Protection
         the professionals
  14· ·the      professionalsinin order    order to   to implement
                                                            implement policies
                                                                             policies that
                                                                                         that                 Act?
                                                                                                       14· ·Act?
         comply with
  15· ·comply         with thisthis newnew statute.
                                              statute.                                                               A. · ·To
                                                                                                       15· · · · · A.·        Towhom?
                                                                                                                                   whom?
                       MR. VAN
  16· · · · · · · · ·MR.       VAN DYCK:·DYCK: Objection.·
                                                        Objection. You    You may may                                Q.
                                                                                                       16· · · · · Q.·     ·   Totheparticipants.
                                                                                                                             ·To    the participants.
                answer.
  17· · · · · answer.                                                                                                A. · ·So
                                                                                                       17· · · · · A.·         So that
                                                                                                                                   that would
                                                                                                                                           would be   be aamailing.
                                                                                                                                                             mailing.
                       THE WITNESS:·
  18· · · · · · · · ·THE        WITNESS: It          It would
                                                         would be  be the
                                                                        the same
                                                                             same as  as                             Q. · ·Yeah,
                                                                                                       18· · · · · Q.·         Yeah, that's
                                                                                                                                         that'samailing.
                                                                                                                                                    a mailing.· But    But that's
                                                                                                                                                                             that's not not
  19· · · · · with
                with thethe health
                              health &   & welfare
                                             welfare fund   fund and
                                                                   and any
                                                                         any ofof the
                                                                                    the                       just a mailing
                                                                                                       19· ·just         amailing thatthat -- -- let
                                                                                                                                                  let me me ask
                                                                                                                                                              ask you
                                                                                                                                                                    you this,
                                                                                                                                                                           this, I| mean,
                                                                                                                                                                                      mean, the   the
                other funds.·
  20· · · · · other      funds. You  You know,
                                             know, it    it would
                                                             would be be limited
                                                                           limited timetime                   mailings's not
                                                                                                       20· ·mailings's           not creating
                                                                                                                                       creating itself,
                                                                                                                                                      itself, right;
                                                                                                                                                                right; there's
                                                                                                                                                                          there's got  got toto
                that |I spent.
  21· · · · · that        spent.                                                                       21· ·bebe some
                                                                                                                   some discussion
                                                                                                                             discussion of     of what
                                                                                                                                                   what has  hastoto go go in
                                                                                                                                                                            in the
                                                                                                                                                                                 the mailing?
                                                                                                                                                                                       mailing?
                Q. · ·(By
  22· · · · · Q.·         (By Mr.
                                Mr. Gilligan)·
                                        Gilligan) I| mean,   mean, wouldn't
                                                                      wouldn't you     you                           A. · ·Okay.·
                                                                                                       22· · · · · A.·         Okay. So   So that
                                                                                                                                               that would
                                                                                                                                                      would be   be aa draft
                                                                                                                                                                        draft of of the
                                                                                                                                                                                     the
  23· ·bebe given
              given --  -- and
                            and again,
                                   again, let'slet's useuse thethe example
                                                                    example the    the                        correspondence that
                                                                                                       23· ·correspondence              that was
                                                                                                                                               was being
                                                                                                                                                       being mailed?
                                                                                                                                                                mailed?
         Pension Protection
  24· ·Pension          Protection Act.            Wouldn't you
                                          Act.· Wouldn't            you be be reviewing
                                                                                reviewing                            Q. · ·Yep.
                                                                                                       24· · · · · Q.·         Yep.

                                                                                  Page 87
                                                                                  Page 87                                                                                               Page 88
                                                                                                                                                                                        Page 88

                                                                Page
  · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · ·Page                                                                                                 Page
                                                                                                       · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · ·Page
               A. · ·Okay.·
  ·1· · · · · A.·       Okay. So    Soifif the
                                             the consultants/actuary,
                                                    consultants/actuary,                                            A. · ·Well,
                                                                                                       ·1· · · · · A.·        Well, again,
                                                                                                                                       again, mailings,
                                                                                                                                                  mailings, correspondence
                                                                                                                                                                  correspondence
                                                                                                       WDNR
  WNP




        whomever sent
  ·2· ·whomever           sent that     to legal
                                  that to    legal counsel,
                                                       counsel, you you know,
                                                                            know, so so itit                 from the
                                                                                                       ·2· ·from      the consultants.
                                                                                                                            consultants.
        would be
  ·3· ·would       be aa document
                           document that   that I| would
                                                       would review,
                                                                review, or    or in-house
                                                                                  in-house                          Q.
                                                                                                       ·3· · · · · Q.·    ·   Changestoto benefits?
                                                                                                                             ·Changes             benefits?
        counsel, or
  ·4· ·counsel,       or our
                           our compliance
                                 compliance attorney  attorney at  at the    time would
                                                                       the time      would                          A. · ·Which
                                                                                                       ·4· · · · · A.·        Which wouldwould be   be aamailing,        right?
                                                                                                                                                           mailing, right?
                                                                                                       h~
  Ohh




        review. So    So what
                           what would           it be,
                                                    be, you
                                                          you know,
                                                                know, aa few-minute
                                                                             few-minute                             Q. · ·But Butdidn't         the Affordable            Care Act
                                                                                                                                                                                 Act impose
                                                                                                                                                                                        impose
                                                                                                       OO




  ·5· ·review.·                      would it                                                          ·5· · · · · Q.·              didn't the        Affordable Care
        review of
  ·6· ·review       of aa document
                           document and     and thenthen turned       over to,
                                                            turned over        to, you    know,
                                                                                    you know,          ·6· ·aanumber
                                                                                                                number of      of requirements
                                                                                                                                   requirements            on    funds, in
                                                                                                                                                           on funds,       in terms
                                                                                                                                                                              terms of  of changes
                                                                                                                                                                                           changes
  NO




                                                                                                       NO




        the clerical
  ·7· ·the    clerical staff
                           staff toto send
                                       send out. out.                                                        to eligibility,
                                                                                                       ·7· ·to   eligibility, changes
                                                                                                                                    changestoto benefits?·
                                                                                                                                                      benefits? Things Things of  of that
                                                                                                                                                                                      that
               Q. · ·And
  ·8· · · · · Q.·       And some some of  of these
                                                these statutes,
                                                          statutes, I| think,
                                                                           think, areare                     sort.
                                                                                                       ·8· ·sort.
  0




                                                                                                       0




        pretty complex,
  ·9· ·pretty       complex, we'd   we'd all all agree.·
                                                    agree. And And wouldn't
                                                                       wouldn't review review of of                 A. · ·Well,
                                                                                                       ·9· · · · · A.·        Well, that's      why we
                                                                                                                                       that's why       we paidpaid the
                                                                                                                                                                     the consultants,
                                                                                                                                                                           consultants,
                                                                                                       ©
  ©




         what hoops
  10· ·what        hoops      the    fund was
                              the fund       was jumpingjumping through,
                                                                    through, you           know,
                                                                                    you know,          10· ·toto advise
                                                                                                                  advise the  the trustees.·
                                                                                                                                   trustees. The   The trustees,        probably, were
                                                                                                                                                          trustees, probably,        were
         entail a
  11· ·entail       a couple
                       couple minutes
                                   minutes of      of your
                                                        your time?
                                                               time?                                          advised at
                                                                                                       11· ·advised         at the
                                                                                                                                the time
                                                                                                                                     time and,and, you      know, it
                                                                                                                                                     you know,        it was
                                                                                                                                                                         was onon the
                                                                                                                                                                                    the
                A. · ·Well,
  12· · · · · A.·        Wall, I'm I'm not
                                         not suresure what
                                                         what I| would
                                                                  would do    do versus
                                                                                   versus                     agenda.
                                                                                                       12· ·agenda.
         the paid
  13· ·the     paid professionals,
                       professionals, the             actuaries and
                                               the actuaries        and consultants,
                                                                           consultants,                              Q. · ·Okay.·
                                                                                                       13· · · · · Q.·         Okay. But   But the      consultantsdon't
                                                                                                                                                  the consultants           don't
         were doing
  14· ·were       doing withwith respect
                                     respect to   to the
                                                      the Pension
                                                            Pension Protection
                                                                         Protection Act. Act.                 administer the
                                                                                                       14· ·administer            the fund,
                                                                                                                                        fund, right?
                                                                                                                                                  right?
                Q. · ·Let's
  15· · · · · Q.·        Let'smovetoadifferent
                                   move to a different legislative   legislative                                     A. · ·No.·
                                                                                                       15· · · · · A.·         No. ButBut at at the   end of
                                                                                                                                                 the end      of the
                                                                                                                                                                  the day,
                                                                                                                                                                       day, whatever
                                                                                                                                                                              whatever
         example, then.·
  16· ·example,          then. The   The Affordable
                                           Affordable Care       Care Act,Act, you're
                                                                                  you're                      was decided
                                                                                                       16· ·was      decided with  with respect
                                                                                                                                           respect to       communication material,
                                                                                                                                                       to communication            material, you
                                                                                                                                                                                              you
         familiar with
  17· ·familiar         with it? it?                                                                          know, would
                                                                                                       17· ·know,        would go   go out.
                                                                                                                                         out.
                A. · ·Mm-hmm.
  18· · · · · A.·        Mm-hmm.                                                                                     Q. · ·And
                                                                                                       18· · · · · Q.·         And wouldn't
                                                                                                                                      wouldn't you     you be  be involved
                                                                                                                                                                   involved in  in that
                                                                                                                                                                                    that
                Q. · ·That
  19· · · · · Q.·        That wasarather
                                   was a rather substantialsubstantial piece pieceof  of                      process?
                                                                                                       19· ·process?
         legislation, in
  20· ·legislation,          in terms
                                 terms of   of the
                                                 the operation
                                                        operation of    of your
                                                                             your health
                                                                                     health &  &                     A. · ·Reviewing
                                                                                                       20· · · · · A.·         Reviewing the          documents.
                                                                                                                                                the documents.
         welfare fund,
  21· ·welfare         fund, correct?
                                 correct?                                                                            Q. · ·Okay.·
                                                                                                       21· · · · · Q.·         Okay. And  And wouldwould you   you also
                                                                                                                                                                     also be bereviewing
                                                                                                                                                                                reviewing
                A. · ·Mm-hmm.
  22· · · · · A.·        Mm-hmm.                                                                              implementation steps?
                                                                                                       22· ·implementation                steps?
                Q. · ·And
  23· · · · · Q.·        And again,
                                  again, didn't
                                              didn't that        entail aa host
                                                          that entail          host ofof                             A. · ·With
                                                                                                       23· · · · · A.·         With the      change in
                                                                                                                                       the change        in the    digibility rules
                                                                                                                                                              the eligibility     rules
         compliance steps
  24· ·compliance             steps that
                                       that the the fund
                                                       fund hadhad to      take?
                                                                      to take?                         24 ·or
                                                                                                       24·    or aa benefits
                                                                                                                     benefits change?
                                                                                                                                   change?


                                                O'Brien &
                                                O'Brien & Levine,
                                                           Levine, AA Magna
                                                                      Magna Legal
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                    et al.
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                           vs                                              Gina Alongi
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                                 Fund, et
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               Q.
  ·1· · · · · Q.·    ·  Sure So, for instance, all
                       ·Sure.·     So,   for    instance,       all the
                                                                     the children
                                                                          children                              time allotment to the pension fund would
                                                                                                          ·1· ·time      allotment        to  the    pension       fund    would be    be greater;
                                                                                                                                                                                           greater;




                                                                                                            BRE
  BRE




        of the
  ·2· ·of   the members
                   member up        sup to
                                         to the
                                             the age age ofof 26
                                                               26 are
                                                                    are now
                                                                          now eligible
                                                                                eligible for
                                                                                           for                  and in
                                                                                                          ·2· ·and      in the
                                                                                                                            the year
                                                                                                                                   year in in which
                                                                                                                                               which the  the Affordable
                                                                                                                                                                 Affordable Care    Care Act Act was
                                                                                                                                                                                                  was




                                                                                                            WN
  WN




        benefits, correct?
  ·3· ·benefits,        correct?                                                                                passed, your
                                                                                                          ·3· ·passed,       your allotment
                                                                                                                                       allotment of     of time
                                                                                                                                                             time forfor the    health &
                                                                                                                                                                          the health       & welfare
                                                                                                                                                                                               welfare
               A. · ·Right.
  ·4· · · · · A.·       Right.                                                                                  fund would
                                                                                                          ·4· ·fund      would have  have beenbeen increased?
                                                                                                                                                       increased?




                                                                                                            Ohh
  Oh




               Q. · ·So
  ·5· · · · · Q.·       Sothat'sabig
                              that's a big change,change, correct?
                                                               correct?                                                       MR. VAN
                                                                                                          ·5· · · · · · · · ·MR.      VAN DYCK:·DYCK: ObjectionObjection as   astoto form.·
                                                                                                                                                                                       form. You You
  ·6· · · · · A.        Butwhat
               A.· · ·But      what did did I| specifically
                                                 specifically have  haveto to do
                                                                              do                                       can answer.
                                                                                                          ·6· · · · · can     answer.
  NO




                                                                                                            NO
        with that,
  ·7· ·with     that, though?
                        though?                                                                                               THE WITNESS:
                                                                                                          ·7· · · · · · · · ·THE       WITNESS:· No.        No.
               Q. · ·Well,
  ·8· · · · · Q.·       Waéll, wouldn't
                                  wouldn't you,    you, as asthe      administrator,
                                                               the administrator,                                      Q. · ·(By
                                                                                                          ·8· · · · · Q.·        (By Mr.Mr. Gilligan)·
                                                                                                                                               Gilligan) No?    No?




                                                                                                            00
  0




        be assuring
  ·9· ·be    assuring that   that plan
                                     plan documents
                                             documents were      wer e updated,
                                                                         updated, notices
                                                                                     notices              ·9· · · · · A.         Because of
                                                                                                                       A.· · ·Because         of the
                                                                                                                                                   the professional
                                                                                                                                                         professional people people thatthat I|
  ©




                                                                                                            ©
         given, all
  10· ·given,       all the
                         the other
                                other steps
                                          stepstoto actually
                                                         actually implement
                                                                       implement thisthis                        had working
                                                                                                          10· ·had      working under under me  me andand thethe outside
                                                                                                                                                                   outside actuaries,
                                                                                                                                                                               actuaries,
         legal change?
  11· ·legal      change?                                                                                        consultants and
                                                                                                          11· ·consultants          and counsel.
                                                                                                                                           counsel.
                A. · ·That's
  12· · · · · A.·        That'swhy why II had had two two in-house
                                                            in-house attorneys.
                                                                          attorneys.                                    Q. · ·So
                                                                                                          12· · · · · Q.·         Soifif you
                                                                                                                                          you cease
                                                                                                                                                 ceasefilling
                                                                                                                                                           filling outout these
                                                                                                                                                                            thesetimetime
                Q. · ·And
  13· · · · · Q.·        And who who were werethose?
                                                   those?                                                        sheets, how
                                                                                                          13· ·sheets,        how was was thethe allocation
                                                                                                                                                    allocation to        the various
                                                                                                                                                                     to the    various fundsfunds forfor
                A. · ·Greg
  14· · · · · A.·        Greg Geiman
                                  Geiman and     and Alice
                                                        Alice Kurtz.
                                                                 Kurtz.                                          your time
                                                                                                          14· ·your       time determined?
                                                                                                                                   deter mined?
                Q. · ·And
  15· · · · · Q.·        And are  areyou        testifying that
                                        you testifying          that your
                                                                        your                                            A. · ·The
                                                                                                          15· · · · · A.·         Theaccounting
                                                                                                                                        accounting firm,            whether it
                                                                                                                                                           firm, whether         it was
                                                                                                                                                                                    was
         activities, vis-a-vis,
  16· ·activities,        vis-a-vis, each each fund,fund, wouldn't
                                                             wouldn't changechange in in                  16· ·EdEd Manzi
                                                                                                                       Manzi or   or Jeannie,
                                                                                                                                      Jeannie, would would meetmeet withwith meme at at the   end of
                                                                                                                                                                                         the end    of
         any respect
  17· ·any      respect with  with thethe passage
                                             passage of    of something
                                                               something as    as                                theyear.
                                                                                                          17· ·the     year.· AndAnd we  we would
                                                                                                                                              would determine
                                                                                                                                                          determine whether
                                                                                                                                                                          whether there there were
                                                                                                                                                                                                were
         significant as
  18· ·significant          asthe      Affordable Care
                                the Affordable              Care Act?Act?                                        any significant
                                                                                                          18· ·any      significant changes
                                                                                                                                          changes in    in the    allocation.
                                                                                                                                                            the allocation.
                A. · ·I| understand
  19· · · · · A.·          understand that    that it it was
                                                         was significant.
                                                               significant.                               19· · · · · · · · ·YouY ou know,
                                                                                                                                       know, as   as I| mentioned
                                                                                                                                                         mentioned earlier,
                                                                                                                                                                          earlier, youyou
         But so
  20· ·But      so was
                     was thethe Pension
                                  Pension Protection
                                                Protection Act.  Act.                                            know, we
                                                                                                          20· ·know,        we hadhad oneone change,
                                                                                                                                               change, which which was        significant, when
                                                                                                                                                                       was significant,         when I|
                Q. · ·Okay.
  21· · · · · Q.·        Okay.                                                                                   made the
                                                                                                          21· ·made        the recommendation
                                                                                                                                 recommendation in           in 2015
                                                                                                                                                                 2015 to to the
                                                                                                                                                                             the board
                                                                                                                                                                                   board of of
                A. · ·You
  22· · · · · A.·        Youknow know so...so...                                                                 trustees of
                                                                                                          22· ·trustees        of the
                                                                                                                                   the health
                                                                                                                                         health &   & welfare
                                                                                                                                                       welfare fund  fund toto dismantle
                                                                                                                                                                                dismantle       the
                                                                                                                                                                                                the
                Q. · ·So
  23· · · · · Q.·        Sowouldn't
                               wouldn't it     it be
                                                   befair     to say,
                                                        fair to    say, that
                                                                         that the
                                                                                the                              the health & welfare fund claims adjudication --
                                                                                                          23· ·the     health     &   welfare      fund    claims      adjudication       --
         year that
  24· ·year       that the
                         the Pension
                                Pension Protection
                                               Protection Act    Act was      passed, your
                                                                        was passed,      your                           Q. · ·Okay.
                                                                                                          24· · · · · Q.·         Okay.

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               A. · ·--
  ·1· · · · · A.·       --inhouse.
                            in house.                                                                           question me.
                                                                                                          ·1· ·question        me.
                                                                                                            WNP
  WNP




               Q. · ·What
  ·2· · · · · Q.·        What was  wasthe        process you
                                          the process         you went        through
                                                                    went through                                       Q. · ·And
                                                                                                          ·2· · · · · Q.·       And whenwhen they  they questioned
                                                                                                                                                            questioned you,   you, howhow longlong
        with Manzi
  ·3· ·with      Manzi to    to allocate
                                 allocate your          time?
                                               your time?                                                       did that processtake?
                                                                                                          ·3· ·did     that   process       take?
               A. · ·They
  ·4· · · · · A.·       They would
                                 would do   do the
                                                 the spreadsheet,
                                                       spreadsheet, you    you know,
                                                                                  know,                   ·4· · · · · A.
                                                                                                                       A.· · ·I| don't
                                                                                                                                  don'trecdl.
                                                                                                                                           recall.
  hr




                                                                                                            Ohh




        which was          consistent with with thethe prior
                                                         prior year.·
                                                                 year. Asked
                                                                           Asked me   meifif                           Q. · ·WasWasitit aaday-longinterview?
                                                                                                                                                day-long interview?· What                   it,
  OO




  ·5· ·which       was consistent                                                                         ·5· · · · · Q.·                                                         What it,
        there were
  ·6· ·there     were any  any adjustments
                                 adjustments and     and whether
                                                            whether itit waswas -- --                           you know,
                                                                                                          ·6· ·you      know, 15   15 minutes?·
                                                                                                                                        minutes? An      An hour?·
                                                                                                                                                               hour? Best  Best estimate
                                                                                                                                                                                   estimate of    of that?
                                                                                                                                                                                                      that?
  NO




                                                                                                            NO




        whether any
  ·7· ·whether         any changes
                             changes had   had toto bebe made
                                                           made to    it.
                                                                   to it.                                 ·7· · · · · A.
                                                                                                                       A.· · ·I| can't
                                                                                                                                  can't remember.
                                                                                                                                           remember.
               Q. · ·And
  ·8· · · · · Q.·        And you you said
                                        said they
                                                they diddid this
                                                              this once
                                                                     once     aa year?
                                                                                 year?                                 Q. · ·And
                                                                                                          ·8· · · · · Q.·       And who who wouldwould conduct
                                                                                                                                                             conduct that that conversation
                                                                                                                                                                                  conversation
  00




                                                                                                            0




               A. · ·Well,
  ·9· · · · · A.·       Wall, for for aaperiod
                                          period of  of time
                                                          time wewe were
                                                                      were                                      with you,
                                                                                                          ·9· ·with      you, waswasitit Ms.Ms. Mikal?
                                                                                                                                                    Mikal?
  ©




                                                                                                            ©




         resetting the
  10· ·resetting        the admin.
                              admin. allocation
                                          allocation every every six
                                                                   six months.
                                                                         months.                          10· · · · · A.         Yes.
                                                                                                                        A.· · ·Yes.
                                                                                                                          RB BB
                                                                                                   EAE WONRPOOO®®NO®OD™MWNELRO




                Q. · ·Okay.
                          Okay.                                                                                         Q. · ·ButBut you        have no  no idea
                                                                                                                                                              idea thethe amount
                                                                                                                                                                            amount of    of the
                                                                                                                                                                                             the
                                                                                                   NNNRNRNRRRERRRR




  11· · · · · Q.·                                                                                         11· · · · · Q.·               you have
                A. · ·And
  12· · · · · A.·        And thenthen we      went to
                                         we went       to annually.
                                                            annually.                                            amount of
                                                                                                          12· ·amount          of time
                                                                                                                                    timeinin youryour day day it it would
                                                                                                                                                                    would take take forfor you
                                                                                                                                                                                            you to  to
                Q. · ·And
  13· · · · · Q.·         And whenwhen you're
                                            you're having
                                                        having these
                                                                   these discussions
                                                                             discussions                         have that
                                                                                                          13· ·have       that conversation?
                                                                                                                                  conversation?
  14· ·---- let's
             let's back
                      back up up one
                                   one second.·
                                          second. So     So atat this   point, Manzi
                                                                  this point,       Manzi                 14· · · · · A.         No.
                                                                                                                        A.· · ·No.
         has become
  15· ·has       become the   the funds
                                     funds auditors;
                                               auditors; is    isthat     correct? This
                                                                  that correct?·         This                           Q. · ·Particularly
                                                                                                          15· · · · · Q.·        Particularly at       at the
                                                                                                                                                            the point
                                                                                                                                                                  point wherethisis
                                                                                                                                                                           where this is
  16· ·isis 2008.
             2008.                                                                                        16· ·bebe done
                                                                                                                      done onceonce aa year,
                                                                                                                                           year, how how can can youyou recall
                                                                                                                                                                           recall the     volume of
                                                                                                                                                                                     the volume        of
  17· · · · · A.· · ·Yes. Yes. I| don't
                                    don't know
                                             know what         period of
                                                      what period         of time.
                                                                              time.                              day-to-day work
                                                                                                          17· ·day-to-day            work you  you were        doing for
                                                                                                                                                      were doing         for each
                                                                                                                                                                               each specific
                                                                                                                                                                                       specific fund?fund?
  18· · · · · Q.· · ·II mean,
                            mean, you're
                                       you're confident
                                                   confident Manzi Manzi was    was ----                  18· · · · · A.         Because my
                                                                                                                        A.· · ·Because          my job      didn't change.·
                                                                                                                                                     job didn't       change. You  You know,
                                                                                                                                                                                          know,
  19· · · · · A.· · ·Oh   Oh definitely.
                               definitely.                                                                       unless, of
                                                                                                          19· ·unless,       of course,
                                                                                                                                 course, you  you know,
                                                                                                                                                     know, it   it was
                                                                                                                                                                   was oneone ofof those
                                                                                                                                                                                     those
                          Okay. And
  20· · · · · Q.· · ·Okay.·           And whenwhen you  you hadhad these
                                                                     these either
                                                                                either                           legislative changes.·
                                                                                                          20· ·legislative         changes. But,   But, basically,
                                                                                                                                                           basically, I| would
                                                                                                                                                                            would do   do the
                                                                                                                                                                                           the
         twice
  21· ·twice       aa year
                       year or or annual
                                   annual discussions
                                                discussions with   with them,
                                                                            them, did did those
                                                                                           those                 same thing,
                                                                                                          21· ·same       thing, samesame timetime of of month
                                                                                                                                                           month every
                                                                                                                                                                     every day.day.
         occur in
  22· ·occur         in person
                         person or   or over
                                         over the the phone?
                                                        phone?                                                          Q. · ·How
                                                                                                          22· · · · · Q.·        How can  can thatthat be,
                                                                                                                                                         be, that      your months
                                                                                                                                                               that your        monthsare   are
                A. · ·I| believe
  23· · · · · A.·           believe both.·
                                        both. If  If they
                                                      they happened
                                                              happened to        be
                                                                             to be                               static year
                                                                                                          23· ·static      year after
                                                                                                                                    after year;
                                                                                                                                             year; thatthat donedone seem
                                                                                                                                                                        seem possible
                                                                                                                                                                                 possibleto     to me?
                                                                                                                                                                                                    me?
         doing the
  24· ·doing        the audit
                          audit atat the
                                      the time,
                                            time, in in the    office, they
                                                         the office,     they would
                                                                                 would                                         MR. VAN
                                                                                                          24· · · · · · · · ·MR.       VAN DYCK:· DYCK: Objection
                                                                                                                                                                Objection as    astoto form.·
                                                                                                                                                                                        form. You  You


                                              O'Brien &
                                              O'Brien & Levine,
                                                         Levine, AA Magna
                                                                    Magna Legal
                                                                           Legal Services
                                                                                 Services Company
                                                                                           Company                                                                                    Pages 89–92
                                                                                                                                                                                      Pages 89-92
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Ginamarie Alongi,
Ginamarie   Along, et
                    et al.
                       al. vs
                           vs                                              Gina Alongi
                                                                           Gina  Alongi
luoe Local
Iuoe Local 44 Health
              Health && Welfare
                         Welfare Fund,
                                 Fund, et
                                       et al.
                                          al.                            June 22,
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                                                                                   2022
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               may answer.
  ·1· · · · · may      answer.                                                                                      lines of,
                                                                                                       ·1· · · · · lines     of, you
                                                                                                                                  you know,
                                                                                                                                         know, whether
                                                                                                                                                    whether it    it was  necessary
                                                                                                                                                                     was necessary




                                                                                                       BE
  WNP




                      THE WITNESS:·
  ·2· · · · · · · · ·THE       WITNESS: Well,      Well, you       know, I| know
                                                             you know,         know my my                          because it
                                                                                                       ·2· · · · · because     it was
                                                                                                                                  was time-consuming.
                                                                                                                                      time-consuming.




                                                                                                       WN
  ·3· · · · · job.     You know,
               job.· You       know, I| obviously
                                             obviously did   did it
                                                                  it well.    And,
                                                                      well.· And,                                         Y ou know,
                                                                                                       ·3· · · · · · · · ·You    know, these
                                                                                                                                        these time
                                                                                                                                              time sheets
                                                                                                                                                   sheets that the
                                                                                                                                                          that the
               you know,
  ·4· · · · · you     know, my   my responsibilities
                                        responsibilities didn't didn't change.
                                                                         change.                                   employees were
                                                                                                       ·4· · · · · employees       completing weren't
                                                                                                                              were completing  weren't very  accurate,
                                                                                                                                                       very accurate,
  Ohh




                                                                                                       Oh
               Q. · ·(By
  ·5· · · · · Q.·       (By Mr.Mr. Gilligan)·
                                       Gilligan) So     So you
                                                             you wereinvolved
                                                                   were involved                                   okay, because
                                                                                                       ·5· · · · · okay, because things
                                                                                                                                 things were
                                                                                                                                        were getting
                                                                                                                                             getting allocated
                                                                                                                                                     allocated to
                                                                                                                                                                to
        in this
  ·6· ·in   this Department
                    Department of         of Labor
                                              Labor process,
                                                         process, the  the end
                                                                            end product
                                                                                   product of of                   certain buckets,
                                                                                                       ·6· · · · · certain buckets, which   isaway
                                                                                                                                     which is        of just
                                                                                                                                              a way of  just




                                                                                                       NO
  NO




        which is
  ·7· ·which        isthe    administrator shared
                       the administrator              shared services
                                                                  services agreement
                                                                               agreement                           recording time.
                                                                                                       ·7· · · · · recording         You know,
                                                                                                                              time.· You  know, so
                                                                                                                                                 so we  had to
                                                                                                                                                    we had   to change
                                                                                                                                                                change
        and agreement
  ·8· ·and      agreement for      for people
                                         peopleto        maintain time
                                                     to maintain        time sheets
                                                                                sheetstoto                         the time
                                                                                                       ·8· · · · · the   time sheet
                                                                                                                              sheet form   to make
                                                                                                                                     form to  make itit more
                                                                                                                                                        more specific,
                                                                                                                                                              specific,




                                                                                                       00
  0




        allocation expenses, correct?
  ·9· ·allocation         expenses,        correct?                                                                you know,
                                                                                                       ·9· · · · · you  know, in in the
                                                                                                                                    the later
                                                                                                                                        later years.   So when,
                                                                                                                                              years.· So  when, you
                                                                                                                                                                  you




                                                                                                       ©
  ©




                A. · ·Right.
  10· · · · · A.·        Right.                                                                                    know, we
                                                                                                       10· · · · · know,     we first  -- or
                                                                                                                                 first -- or when
                                                                                                                                             when I| first
                                                                                                                                                     first started
                                                                                                                                                           started doing
                                                                                                                                                                   doing




                                                                                                      = Oo
                                                                                                      =e
                Q. · ·Was
  11· · · · · Q.·        Wasitit the  the essence
                                            essence of   of the    dispute with
                                                             the dispute       with                    11· · · · · itit the
                                                                                                                        the numbers
                                                                                                                            numbers weren't     changing.
                                                                                                                                       weren't changing.
         the Department
  12· ·the      Department of        of Labor
                                          Labor and  and the the resolution
                                                                  resolution that that                             Q. · ·(By
                                                                                                       12· · · · · Q.·   (By Mr.
                                                                                                                              Mr. Gilligan)·
                                                                                                                                   Gilligan) You
                                                                                                                                              You indicate
                                                                                                                                                  indicate you
                                                                                                                                                           you must
                                                                                                                                                                must
         specific data
  13· ·specific        data waswas needed
                                       needed regarding
                                                    regarding the    the work
                                                                           work for     each
                                                                                   for each                 have had
                                                                                                       13· ·have     had aa discussion
                                                                                                                            discussion with  someone about
                                                                                                                                        with someone  about this.·
                                                                                                                                                            this. Do
                                                                                                                                                                   Do you
                                                                                                                                                                      you
         specific fund
  14· ·specific        fund so  so nono fund
                                          fund was was subsidizing
                                                          subsidizing the   the other
                                                                                  other                     recall such
                                                                                                       14· ·recall   such a  a conversation?
                                                                                                                               conver sation?
         fund?
  15· ·fund?                                                                                                       A. · ·I|don't.
                                                                                                       15· · · · · A.·      don't.
                A. · ·Right.
  16· · · · · A.·        Right.                                                                                    Q. · ·So
                                                                                                       16· · · · · Q.·   Soyou  probably, then,
                                                                                                                            you probably,       don't recall
                                                                                                                                          then, don't recall with
                                                                                                                                                             with
                       MR. VAN
  17· · · · · · · · ·MR.       VAN DYCK:·DYCK: Objection.
                                                       Objection.                                           whom that
                                                                                                       17· ·whom      that conversation
                                                                                                                            conver sation would have occurred,
                                                                                                                                          would have occurred, or
                                                                                                                                                               or do
                                                                                                                                                                  do you?
                                                                                                                                                                     you?
                Q. · ·(By
  18· · · · · Q.·        (By Mr. Mr. Gilligan)·
                                        Gilligan) Okay.· Okay. So    So you
                                                                         you concur
                                                                               concur                              A. · ·Idon't.
                                                                                                       18· · · · · A.·     don't.
  19· ·onon that.
              that.· AndAnd my   my question
                                       question is,   is, given
                                                           given that
                                                                    that framework,
                                                                           framework, why    why                   Q. · ·Okay.·
                                                                                                       19· · · · · Q.·   Okay. Did
                                                                                                                                 Did you ever have
                                                                                                                                     you ever  have aa conversation
                                                                                                                                                       conver sation
         would you
  20· ·would                have ceased
                     you have        ceased keeping
                                                 keeping time  time sheets?
                                                                       sheets?                              with the
                                                                                                       20· ·with    the trustees
                                                                                                                        trustees regarding
                                                                                                                                 regarding your
                                                                                                                                            your ceasing
                                                                                                                                                  ceasing to  keep time
                                                                                                                                                           to keep  time
                       MR. VAN
  21· · · · · · · · ·MR.       VAN DYCK:·DYCK: Objection.·
                                                       Objection. Asked  Asked and and                      sheets?
                                                                                                       21· ·sheets?
                answered. You
  22· · · · · answered.·          You can  can answer.
                                                 answer.                                                           A. · ·I| don't
                                                                                                       22· · · · · A.·      don'trecall.
                                                                                                                                  recall.
                       THE WITNESS:·
  23· · · · · · · · ·THE        WITNESS: Basically,  Basically, you        know, I| must
                                                                    you know,         must                         Q. · ·Do
                                                                                                       23· · · · · Q.·    Doyou  ever recall
                                                                                                                             you ever  recall bringing
                                                                                                                                               bringing it
                                                                                                                                                        it up
                                                                                                                                                           up in
                                                                                                                                                               in any
                                                                                                                                                                  any
                have had
  24· · · · · have       had aa discussion
                                      discussion with       someone along
                                                    with someone          along the
                                                                                  the                       trustees meeting,
                                                                                                       24· ·trustees'    meeting, or
                                                                                                                                  or have
                                                                                                                                      have the
                                                                                                                                             the board
                                                                                                                                                 board act
                                                                                                                                                       act on
                                                                                                                                                            on or
                                                                                                                                                                or approve
                                                                                                                                                                   approve

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        such aa change?
  ·1· ·such         change?                                                                                         significant. I| think,
                                                                                                       ·1· · · · · significant.·          think, in  in one
                                                                                                                                                         one ofof last
                                                                                                                                                                    last e-mails
                                                                                                                                                                         e-mails
  BR




                                                                                                       WDNR




  ·2· · · · · A.
               A.· · ·WeWewould would have have thethe change
                                                        change in     in the
                                                                         the admin.
                                                                                admin.                              you showed
                                                                                                       ·2· · · · · you     showed me     me from
                                                                                                                                              from Attorney
                                                                                                                                                       Attorney Mader, Mader, sheshe said,
                                                                                                                                                                                       said, mymy
  WN




        allocation brought
  ·3· ·allocation         brought to   to the
                                           the board
                                                 board everyevery sixsix months,
                                                                            months, so  so                          recommendation would be. It was her
                                                                                                       ·3· · · · · recommendation               would      be.·   It  was  her
        annually, for
  ·4· ·annually,        for them
                               them to to approve
                                            approveit.it.                                                           recommendation that
                                                                                                       ·4· · · · · recommendation               that wewe implement
                                                                                                                                                             implement aa time    time sheet
                                                                                                                                                                                       sheet
                                                                                                       h~
  OOP




               Q. · ·So  Soyou       would bring bring the  the new
                                                                  new allocation
                                                                          allocation to    to                       system.
                                                                                                       OO




  ·5· · · · · Q.·              you would                                                               ·5· · · · · system.
        the board
  ·6· ·the     board for  for their
                                their approval.·
                                          approval. Was      Wastherethere aa discussion
                                                                                  discussion                        Q. · ·(By
                                                                                                       ·6· · · · · Q.·       (By Mr.Mr. Gilligan)·
                                                                                                                                            Gilligan) And    And such such aatime      sheet
                                                                                                                                                                               time sheet
  NO




                                                                                                       NO




        with the
  ·7· ·with      the board
                       board regarding
                                   regarding the     the method
                                                            method by    by which
                                                                               which those
                                                                                         those               system was,
                                                                                                       ·7· ·system        was, in in fact,
                                                                                                                                       fact, adopted,
                                                                                                                                               adopted, correct?
                                                                                                                                                               correct?
        numberswerearrived
  ·8· ·numbers          were arrived at?        at?                                                                 A. · ·Yes.
                                                                                                       ·8· · · · · A.·       Yes.
  00




                                                                                                       0




  ·9· · · · · A.        They never
               A.· · ·They        never asked,
                                            asked, no. no.                                                          Q. · ·Okay.·
                                                                                                       ·9· · · · · Q.·       Okay. And,   And, in  in fact,
                                                                                                                                                       fact, you       produced, at
                                                                                                                                                                you produced,          at
                                                                                                       ©
  ©




                Q.
  10· · · · · Q.·     ·   Okay. And totheboard'sknowledge,
                        ·Okay.·       And      to  the   board's knowledge,                                   some point, or circulated a proposed time sheet in
                                                                                                       10· ·some        point,     or   circulated        a proposed        time    sheet    in aa
                                                                                                      = Oo
                                                                                                      Bo




         everyone
  11· ·everyone           was filling
                          was     filling outout time
                                                    time sheets
                                                            sheetsinin accordance
                                                                             accordance with   with           proposed manner
                                                                                                       11· ·proposed           manner in     in which
                                                                                                                                                 which time  time would
                                                                                                                                                                      would be be kept
                                                                                                                                                                                    kept in in the
                                                                                                                                                                                                the
         the agreement
  12· ·the      agreement with              Department of
                                   with Department                of Labor,
                                                                       Labor, correct?
                                                                                   correct?                   office, correct?
                                                                                                       12· ·office,      correct?
  13· · · · · · · · ·MR.MR. VAN VAN DYCK:·DYCK: Objection
                                                        Objection as     astoto form.
                                                                                  form.                13· · · · · A.         Yes.
                                                                                                                     A.· · ·Yes.
                       THE WITNESS:
  14· · · · · · · · ·THE         WITNESS:· I'm       I'm notnot sure
                                                                  sure board
                                                                         board new  new that
                                                                                          that                       Q. · ·And
                                                                                                       14· · · · · Q.·        Andisn'tittruethat
                                                                                                                                       isn't it true that the      the Administrative
                                                                                                                                                                        Administrative
                time sheets
  15· · · · · time       sheets werewere being
                                             being done.·
                                                      done. The  The accounting
                                                                         accounting                           Shared Service
                                                                                                       15· ·Shared          Service Agreement
                                                                                                                                          Agreement requires requires that        each employee
                                                                                                                                                                          that each       employee
                firm, typically,
  16· · · · · firm,       typically, calculated
                                          calculated the   the admin.
                                                                 admin.                                       account for
                                                                                                       16· ·account                their time
                                                                                                                            for their       time across
                                                                                                                                                    across funds?
                                                                                                                                                                funds?
                allocation for this fund and other funds
  17· · · · · allocation          for  this   fund    and    other     funds thatthat                                       MR. VAN
                                                                                                       17· · · · · · · · ·MR.       VAN DYCK:·DYCK: Objection
                                                                                                                                                            Objection as    astoto form.
                                                                                                                                                                                    form.
                they service.·
  18· · · · · they      service. So    So I'mI'm not
                                                   not sure
                                                        sure if if the
                                                                    the board
                                                                          board knewknew                                    THE WITNESS:·
                                                                                                       18· · · · · · · · ·THE         WITNESS: Yes.       Yes.
                that there
  19· · · · · that     there werewere timetime sheets.
                                                  sheets.                                                            Q. · ·(By
                                                                                                       19· · · · · Q.·        (By Mr.Mr. Gilligan)·
                                                                                                                                             Gilligan) *      * Okay.·
                                                                                                                                                                 Okay. And  And is  isthat
                                                                                                                                                                                       that
                Q. · ·(By
  20· · · · · Q.·         (By Mr.Mr. Gilligan)·
                                         Gilligan) I| mean,  mean, weren't
                                                                        weren't the   the                     also truethat
                                                                                                       20· ·also      true that that  that is isrequired
                                                                                                                                                 required as     as per
                                                                                                                                                                      per the    employee
                                                                                                                                                                           the employee
         time sheets
  21· ·time       sheets     aa significant
                                 significant aspect aspect of  of the
                                                                    the resolution
                                                                          resolution                          handbook for
                                                                                                       21· ·handbook            for Local
                                                                                                                                       Local 44 fundfund employees?
                                                                                                                                                             employees?
         reached for
  22· ·reached          for thethe Department
                                     Department of         of Labor
                                                               Labor and   and the      audit?
                                                                                  the audit?                                MR. VAN
                                                                                                       22· · · · · · · · ·MR.       VAN DYCK:·DYCK: Objection
                                                                                                                                                            Objection as    astoto form.
                                                                                                                                                                                    form.
  23· · · · · · · · ·MR.MR. VAN VAN DYCK:·DYCK: Objection
                                                        Objection as     astoto form.
                                                                                  form.                                     Y ou can
                                                                                                       23· · · · · · · · ·You       can answer,
                                                                                                                                           answer, if   if you
                                                                                                                                                           you know.
                                                                                                                                                                   know.
                       THE WITNESS:
  24· · · · · · · · ·THE         WITNESS:· I| don't    don't know
                                                                know if    if it
                                                                              it was
                                                                                 was                                        THE WITNESS:·
                                                                                                       24· · · · · · · · ·THE        WITNESS: What        What was was the    question?
                                                                                                                                                                         the question?


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                                                O'Brien & Levine,
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Ginamarie   Along, et
                    et al.
                       al. vs
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luoe Local
Iuoe Local 44 Health
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                         Welfare Fund,
                                 Fund, et
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                                                                                                         · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · ·Page
                      MR. GILLIGAN:·
  ·1· · · · · · · · ·MR.       GILLIGAN: Can         Can youyou read
                                                                   read the
                                                                          the question
                                                                               question                        correct?
                                                                                                         ·1· ·correct?




                                                                                                          WNP
               back, please?
  ·2· · · · · back,      please?                                                                                      A. · ·Yes.
                                                                                                         ·2· · · · · A.·       Yes.
  ·3                                                                                                                  Q. · ·Okay.·
                                                                                                         ·3· · · · · Q.·        Okay. And  And you  you werewere an  an employee
                                                                                                                                                                          employee of    of the
                                                                                                                                                                                             the
  ·4· · · · · · · · ·** (Question
                         (Question read)   read)                                                               Local 4
                                                                                                         ·4· ·Local       4 funds,
                                                                                                                             funds, correct?
                                                                                                                                        correct?




                                                                                                          OTA
  ·5                                                                                                                  A. · ·Yes.
                                                                                                         ·5· · · · · A.·       Yes.
                      (Exhibit 105,
  ·6· · · · · · · · ·(Exhibit         105, Handbook,
                                             Handbook, marked) marked)                                                Q. · ·And
                                                                                                         ·6· · · · · Q.·        And you        were an
                                                                                                                                        you were        an employee
                                                                                                                                                              employee         who worked
                                                                                                                                                                              who    worked for  for




                                                                                                          ~NO
  ·7                                                                                                           mor
                                                                                                         ·7· ·more    e than
                                                                                                                         than one  one fund,
                                                                                                                                         fund, correct?
                                                                                                                                                   correct?
               Q. · ·(By
  ·8· · · · · Q.·       (By Mr.  Mr. Gilligan)·
                                        Gilligan) Ms.    Ms. Alongi,
                                                               Alongi, you've
                                                                           you've                                     A. · ·Yes.
                                                                                                         ·8· · · · · A.·       Yes.




                                                                                                          00
        been handed what's been marked Exhibit 105.·
  ·9· ·been      handed        what's       been    marked        Exhibit     105. I| was
                                                                                        was                           Q. · ·So
                                                                                                         ·9· · · · · Q.·        Sobased
                                                                                                                                     based on  on that,
                                                                                                                                                    that, why why would
                                                                                                                                                                      would you  you not
                                                                                                                                                                                       not then
                                                                                                                                                                                            then




                                                                                                          ©
         wondering if
  10· ·wondering             if you
                                 you could
                                        could identify
                                                  identify thatthat document
                                                                       document for       me?
                                                                                     for me?             10· ·bebefilling
                                                                                                                     filling out out such
                                                                                                                                       such aatime          sheet?
                                                                                                                                                  time sheet?
                A. · ·This
  11· · · · · A.·        Thisistheis the fund      office employee
                                           fund office        employee                                                 A. · ·Because
                                                                                                         11· · · · · A.·         Because my   my job        duties didn't
                                                                                                                                                    job duties        didn't change.
                                                                                                                                                                               change.




                                                                                                   EONPQOQOWOWNOUN™WNLER
         handbook.
  12· ·handbook.                                                                                                And, you
                                                                                                         12· ·And,       you know,
                                                                                                                                 know, in  in the    job descriptions
                                                                                                                                               the job      descriptions that  that were
                                                                                                                                                                                     were




                                                                                                                  RB
                Q. · ·AndAnd if    if you
                                      you would,
                                             would, please,
                                                          please, would
                                                                     would you you turn
                                                                                    turn                        prepared, nothingnothing saidsaid anything
                                                                                                                                                     anything about about time
                                                                                                                                                                             time sheets
                                                                                                                                                                                     sheetsinin




                                                                                                   NNNNNE
  13· · · · · Q.·                                                                                        13· ·prepared,
  14· ·toto page
              page four
                      four of   of Exhibit
                                     Exhibit 105.·
                                                 105. And  And if if you
                                                                     you look
                                                                            look at
                                                                                  at --
                                                                                     --                         those two
                                                                                                         14· ·those       two job      descriptions. You
                                                                                                                                 job descriptions.·           You know,
                                                                                                                                                                     know, this this employee
                                                                                                                                                                                      employee
         toward the
  15· ·toward         thetop         third of
                             top third       of the
                                                 the -- -- page
                                                            page four
                                                                    four ---- there's
                                                                              there'saa                         handbook was prepared for my office staff. We
                                                                                                         15· ·handbook            was   prepared       for    my   office    staff.·  We hadhad
         heading Weekly
  16· ·heading          Weekly Time    Time Sheet.
                                               Sheet.                                                           nothing, you
                                                                                                         16· ·nothing,         you know,
                                                                                                                                      know, for for the
                                                                                                                                                      the thethe employees.·
                                                                                                                                                                  employees. So      So this
                                                                                                                                                                                         thisisis



                                                                                                             RRR
  17· · · · · A.         Mm-hmm.
                A.· · ·Mm-hmm.                                                                                  basically --
                                                                                                         17· ·basically         -- was
                                                                                                                                    was done
                                                                                                                                          done for       the benefit
                                                                                                                                                   for the     benefit of  of the
                                                                                                                                                                               the employees.
                                                                                                                                                                                    employees.
                Q. · ·And
  18· · · · · Q.·        Andam|            correct, that
                                  am I correct,          that itit indicates
                                                                    indicates                                          Q. · ·But
                                                                                                         18· · · · · Q.·         But weren't
                                                                                                                                       weren't you   you one  one ofof the
                                                                                                                                                                        the employees?
                                                                                                                                                                              employees?
         there, under
  19· ·there,       under all   all employees,
                                      employees, exempt  exempt or   or nonexempt,
                                                                          nonexempt, that that                         A. · ·Ilwas
                                                                                                         19· · · · · A.·           was.
         work under
  20· ·work        under the   thejurisdiction
                                      jurisdiction of     of more
                                                               more than
                                                                       than oneone fund
                                                                                    fund must
                                                                                            must                       Q. · ·Okay.·
                                                                                                         20· · · · · Q.·         Okay. And   And you         referencejob
                                                                                                                                                     you reference           job
         complete
  21· ·complete          aa weekly
                              weekly time time sheet        located in
                                                  sheet located         in the
                                                                            the fund's
                                                                                 fund's                         descriptions. What
                                                                                                         21· ·descriptions.·            What are  are you        alluding it
                                                                                                                                                         you alluding          it there?
                                                                                                                                                                                  there?
         public drive."
  22· ·public        drive."                                                                                           A.
                                                                                                         22· · · · · A.·     ·   There were two job descriptions that
                                                                                                                               ·There     were     two     job   descriptions             were
                                                                                                                                                                                    that were
                A. · ·I| see
  23· · · · · A.·          seethat.
                                  that.                                                                         prepared. One,
                                                                                                         23· ·prepared.·          One, thethe content
                                                                                                                                                content was  was pretty
                                                                                                                                                                    pretty involved
                                                                                                                                                                              involved withwith
                Q. · ·And
  24· · · · · Q.·        And that  that indicates
                                          indicatesall    all employees,
                                                               employees,                                       respect to
                                                                                                         24· ·respect       to my my roles.·
                                                                                                                                       roles. AndAnd the  the other
                                                                                                                                                                other one,
                                                                                                                                                                         one, aa summary
                                                                                                                                                                                   summary of   of

                                                                               Page 99
                                                                               Page 99                                                                                            Page 100
                                                                                                                                                                                  Page 100

                                                               Page
  · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · ·Page                                                  Q. · ·Okay.·
                                                                                                         ·1· · · · · Q.·      Okay. Were  Werethose
                                                                                                                                                  those --  -- well,
                                                                                                                                                                well, number
                                                                                                                                                                          number one,  one,
                                                                                                          BE




        my job
  ·1· ·my           responsibilities and
              job responsibilities             and duties.·
                                                     duties. And       nowhere, in
                                                                And nowhere,        in my
                                                                                        my                    what that
                                                                                                         ·2· ·what     that employment
                                                                                                                               employment contract contract ever   ever entered
                                                                                                                                                                            entered into?
                                                                                                                                                                                        into?
  WDNR




                                                                                                          WN




        specific
  ·2· ·specific       job responsibility,
                     job    responsibility, was     was there
                                                           there aa creation
                                                                     creation ofof aa                                A. · ·No.
                                                                                                         ·3· · · · · A.·      No.
        time sheet.
  ·3· ·time     sheet.                                                                                               Q. · ·And
                                                                                                         ·4· · · · · Q.·      And werethosejob                descriptions ever
                                                                                                                                      were those job descriptions                   ever
                                                                                                          Uhh




               Q. · ·Okay.
  ·4· · · · · Q.·       Okay.                                                                                 officially adopted
                                                                                                         ·5· ·officially      adopted by    by the
                                                                                                                                                the funds?
                                                                                                                                                     funds?
  Oh




  ·5· · · · · A.
               A.· · ·A A time
                            timesheet.
                                    sheet.                                                                                  MR. VAN
                                                                                                         ·6· · · · · · · · ·MR.     VAN DYCK:·
                                                                                                                                             DYCK: Objection
                                                                                                                                                         Objection as       astoto form.
                                                                                                                                                                                   form.
                                                                                                          NO




               Q. · ·Those
  ·6· · · · · Q.·       Thosejob          descriptions, am
                                   job descriptions,            am |I right
                                                                       right that
                                                                               that                                         THE WITNESS:·
                                                                                                         ·7· · · · · · · · ·THE     WITNESS: Adopted  Adopted by      by thethe funds
                                                                                                                                                                                 funds or or the
                                                                                                                                                                                               the
  NO




        those were
  ·7· ·those       were circulated
                           circulated in      in conjunction
                                                   conjunction with  with discussions
                                                                            discussions                              trustees or
                                                                                                         ·8· · · · · trustees     or --
                                                                                                                                      --
                                                                                                          00




        of your
  ·8· ·of            getting an
            your getting          an employment
                                        employment contract   contract with
                                                                          with the
                                                                                 the Local
                                                                                       Local 44
                                                                                                                     Q. · ·(By(By Mr.Mr. Gilligan)·
                                                                                                                                            Gilligan) The  Thetrustees.
  0




                                                                                                         ·9· · · · · Q.·                                            trustees.
                                                                                                          ©




        funds?
  ·9· ·funds?
                                                                                                                      A. · ·No,No, because
                                                                                                                                      because we we didn't
                                                                                                                                                      didn't enter
                                                                                                                                                                 enter intointo an
                                                                                                                                                                                 an
  ©




                                                                                                         10· · · · · A.·
  10· · · · · A.         Yes.
                A.· · ·Yes.
                                                                                                               agreement. But
                                                                                                         11· ·agreement.·          But those
                                                                                                                                         those two
                                                                                                                                                 two job      description documents
                                                                                                                                                      job description            documents
  11· · · · · Q.· · ·And And whenwhen did   did that
                                                   that take
                                                          take place?
                                                                  place?
                                                                                                               have been
                                                                                                         12· ·have      been around
                                                                                                                                around for for aawhile.
                                                                                                                                                  while.
  12· · · · · A.· · ·I'm I'm not
                               not sure.
                                     sure.
                                                                                                                      Q. · ·You're
                                                                                                         13· · · · · Q.·       You'resaying,         they were
                                                                                                                                           saying, they        werenot         created in
                                                                                                                                                                        not created         in
  13· · · · · Q.·. · ·Well,
                         Wdll, would
                                   would it     it have
                                                   have beenbeen onon or
                                                                       or after
                                                                           after
                                                                                                               conjunction with
                                                                                                         14· ·conjunction           with thethe discussions
                                                                                                                                                 discussions about   about an   an employment
                                                                                                                                                                                     employment
         May 1st
  14· ·May        1st ofof 2018?
                            2018?
                                                                                                               contract for
                                                                                                         15· ·contract        for you?
                                                                                                                                    you?
  15· · · · · A.         Possibly.
                A.· · ·Possibly.
                                                                                                                      A. · ·Ithink
                                                                                                         16· · · · · A.·                  they were
                                                                                                                                 think they             edited.
                                                                                                                                                were edited.
                Q. · ·Well,
  16· · · · · Q.·        Wadl, let let memeseeif
                                               see if I| can
                                                           can refresh
                                                                 refresh your
                                                                            your
         recollection. Those
  17· ·recollection.·           Those discussions
                                           discussions occurredoccurred after
                                                                            after you     and
                                                                                    you and                           Q. · ·Do
                                                                                                         17· · · · · Q.·       Doyou       know when
                                                                                                                                     you know       when thosethose job         descriptions
                                                                                                                                                                         job descriptions
                                                                                                               were created,
                                                                                                         18· ·were      created, initially?
                                                                                                                                       initially?
         Mr. McLaughlin
  18· ·Mr.       McLaughlin had        had the the blowup
                                                     blowup on   on May
                                                                      May 1, 1, 2018;
                                                                                2018; does
                                                                                         does
         that --
  19· ·that      --                                                                                                   A. · ·My
                                                                                                         19· · · · · A.·       My best
                                                                                                                                     best estimate
                                                                                                                                            estimate    is,
                                                                                                                                                        is, when
                                                                                                                                                             when we     we did
                                                                                                                                                                              did aa series
                                                                                                                                                                                      series
  20· · · · · A.         Yes.
                A.· · ·Yes.                                                                                    of compensation
                                                                                                         20· ·of    compensation studies, studies, the
                                                                                                                                                    the staff
                                                                                                                                                           staff or or I| had
                                                                                                                                                                           had to    do job
                                                                                                                                                                                 to do   job
                Q. · ·--
  21· · · · · Q.·        --ringabell?
                             ring a bell?· And     And following
                                                           following that,      you
                                                                         that, you                             descriptions. And
                                                                                                         21· ·descriptions.·         And I| think,     one or
                                                                                                                                              think, one      or both
                                                                                                                                                                   both of  of them,
                                                                                                                                                                                them,
         were looking
  22· ·were        looking for  for the
                                      the security
                                             security of   of an
                                                               an employment
                                                                   employment                                  documents, in
                                                                                                         22· ·documents,          in part,
                                                                                                                                      part, were    created at
                                                                                                                                             were created         at some
                                                                                                                                                                      some pointpoint and
                                                                                                                                                                                        and then
                                                                                                                                                                                               then
         contract; is
  23· ·contract;          isthat     correct?
                             that correct?                                                                     edited later.
                                                                                                         23· ·edited      later.
  24· · · · · A.         Yes.
                A.· · ·Yes.                                                                                           Q. · ·You
                                                                                                         24· · · · · Q.·       You saidsaid aajob    study.
                                                                                                                                                job study.


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                                              O'Brien & Levine,
                                                         Levine, AA Magna
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                      In the
                      In the Matter
                             Matter of:
                                    of:

                Ginamarie Alongi,
                Ginamarie Along, et
                                  et al.
                                     al. vs
                                         vs
      luoe Local
      Iuoe Local 4
                 4 Health
                   Health &
                          & Welfare
                            Welfare Fund,
                                    Fund, et
                                          et al.
                                             al.




             William Dennis
             William Dennis McLaughlin
                            McLaughlin Vol
                                       Val I|
                         June 08,
                         June 08, 2022
                                  2022



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Ginamarie Alongi,
Ginamarie   Alongi, et
                    et al.
                       al. vs
                           vs                                William Dennis McLaughlin
                                                             William Dennis  McLaughlin
luoe Local
Iuoe Local 44 Health
              Health && Welfare
                         Welfare Fund,
                                 Fund, et
                                       et al.
                                          al.                              June 08,
                                                                           June 08, 2022
                                                                                    2022
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                    COMMONWEALTH OF
  ·1· · · · · · · · COMMONWEALTH OF MASSACHUSETTS
                                    MASSACHUSETTS                                           APPEARANCES (Continued):
                                                                                         1 ·APPEARANCES
                                                                                        ·1·             (Continued):
       Norfolk, ss.·
  ·2· ·Norfolk, ss. · · · · · · ·Superior
                                 Superior Court
                                          Court                                         ·22
                                  Civil Action
  ·3· · · · · · · · · · · · · · · Civil Action No.
                                               No. 2182CV00125
                                                   2182CVv00125                             Representing the
                                                                                         3 ·Representing
                                                                                        ·3·              the Defendants:
                                                                                                             Defendants:
       FE —
  ·4· ·**************************************************                                4 · · · ·O'DONOGHUE
                                                                                        ·4·       O'DONOGHUE &
                                                                                                             & O'DONOGHUE
                                                                                                               O'DONOGHUE LLP
                                                                                                                          LLP
       GINAMARIE ALONGI
  ·5· ·GINAMARIE ALONGI AND
                        AND ROSEMARIE
                             ROSEMARIE ALONGI,·
                                       ALONG, · · · · ·*                                ·5·       5301 Wisconsin
                                                                                         5 · · · ·5301 Wisconsin Avenue, NW, Suite
                                                                                                                 Avenue, NW, Suite 800
                                                                                                                                   800

         Plaintiffs · · · · · · · · · · · · · · · · · ·*
  ·6· · ·Plaintiffs·                                   *                                ·6·       Washington, DC
                                                                                         6 · · · ·Washington, DC 20015
                                                                                                                 20015

         vs. · · · · · · · · · · · · · · · · · · · · · **
  ·7· · ·vs.·                                                                           ·7·       BY: CHARLES
                                                                                         7 · · · ·BY:· CHARLESW.  GILLIGAN, ESQ.
                                                                                                               W. GILLIGAN, ESQ.

       IUOE LOCAL
  ·8· ·IUOE LOCAL 4
                  4 HEALTH
                    HEALTH &
                           & WELFARE
                             WELFARE FUND;
                                     FUND; IUOE
                                           IUOE LOCAL
                                                LOCAL 4
                                                      4 *
                                                        *                                8 · · · · · · DANIEL
                                                                                        ·8·            DANIEL KEENAN,
                                                                                                              KEENAN, ESQ.
                                                                                                                      ESQ.

       PENSION FUND;
  ·9· ·PENSION FUND; IUOE
                     IUOE LOCAL
                          LOCAL 44 ANNUITY
                                   ANNUITY &
                                           & SAVINGS·
                                             SAVINGS · ·**                                        (202) 362-0041
                                                                                         9 · · · ·(202)
                                                                                        ·9·             362-0041
       FUND; HOISTING
  10· ·FUND; HOISTING AND
                      AND PORTABLE
                          PORTABLE ENGINEERS
                                   ENGINEERSLOCAL  4 ·*
                                             LOCAL 4· *                                 10 · · · ·E-mail:·
                                                                                        10·       E-mail: cgilligan@odonoghuelaw.com
                                                                                                           cgilligan@odonoghuel
                                                                                                                              aw.com

       APPRENTICESHIP&
  11· ·APPRENTICESHIP & TRAINING
                        TRAINING FUND;
                                 FUND; JOINT
                                       JOINT LABOR-·
                                             LABOR- · ·**                               11
       MANAGEMENT COOPERATION
  12· ·MANAGEMENT COOPERATION TRUST;
                              TRUST; AND
                                     AND WILLIAM
                                         WILLIAM D.·   *
                                                 D. · ·*                                     In Attendance:
                                                                                        12· ·In              Gina Marie
                                                                                                Attendance:· Gina Marie Alongi
                                                                                                                        Alongi
       MCLAUGHIAN, INDIVIDUALLY
  13· ·MCLAUGHIAN, INDIVIDUALLY AND
                                AND IN
                                    IN HIS
                                       HISCAPACITY
                                           CAPACITY· · ·**                                                   Greg Geiman
                                                                                        13· · · · · · · · · ·Greg Geiman
       AS CHAIRMAN
  14· ·AS CHAIRMAN OF
                   OF THE
                      THE BOARDS
                          BOARDS OF
                                 OF TRUSTEES,
                                    TRUSTEES,· · · · · ·**                                                   Rosemarie Alongi
                                                                                        14· · · · · · · · · ·Rosemarie Alongi
         Defendants · · · · · · · · · · · · · · · · · ·*
  15· · ·Defendants·                                   *                                15
       Sek RR
  16· ·**************************************************                               16
              DEPOSITION OF:·
  17· · · · · DEPOSITION OF: WILLIAM
                              WILLIAM DENNIS
                                      DENNISMCLAUGHLIN
                                             MCLAUGHLIN                                 17
                        BOWDITCH &
  18· · · · · · · · · · BOWDITCH & DEWEY,
                                   DEWEY, LLP
                                          LLP                                           18
                       200 Crossing
  19· · · · · · · · · ·200 Crossing Boulevard
                                    Boulevard                                           19
                      Framingham, Massachusetts
  20· · · · · · · · · Framingham, Massachusetts                                         20
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  21· · · · · · · · · June 8, 2022·
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                                          am.                                           21
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  23· · · · · · · · · · ·Kristen M. Edwards
                                    Edwards                                             23
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       APPEARANCES:
  ·1· ·APPEARANCES:                                                                     ·1· · · · · · · · · · · · · I N D E X
                                                                                        PP




  ·2                                                                                    ·2
                                                                                        WN




       Representing the
  ·3· ·Representing the Plaintiffs:
                        Plaintiffs:                                                          WITNESS: · · · · · · · · · · WILLIAM
                                                                                        ·3· ·WITNESS:·                            DENNIS MCLAUGHLIN
                                                                                                                          WILLIAM DENNIS MCLAUGHLIN

             BOWDITCH &
  ·4· · · · ·BOWDITCH & DEWEY,
                        DEWEY, LLP
                               LLP                                                      ·4
                                                                                        bh




             200 Crossing
  ·5· · · · ·200 Crossing Boulevard,
                          Boulevard, Suite
                                     Suite 300
                                           300                                               EXAMINATION BY:·
                                                                                        ·5· ·EXAMINATION BY: · · · · · · · · · · · · · · · · ·PAGE:
                                                                                        uO




             Framingham, MA
  ·6· · · · ·Framingham, MA 01702
                            01702                                                            Mr. Van
                                                                                        ·6· ·Mr. Van Dyck·
                                                                                                     Dyck · · · · · · · · · · · · · · · · · · · ·5
                                                                                        Oo




             BY: TIMOTHY
                  TIMOTHY P.
                          P. VAN
                             VAN DYCK,
                                 DYCK, ESQ.
                                       ESQ.
                                                                                        NN




  ·7· · · · ·BY:·                                                                       ·7
                  JACOB A.
  ·8· · · · · · · JACOB    TOSTI, ESQ.
                        A. TOSTI, ESQ.                                                  ·8
                                                                                        00




             (617) 757-6537·
  ·9· · · · ·(617) 757-6537 fax
                             fax (508)
                                 (508) 929-3137
                                       929-3137                                              EXHIBIT: · · · · · · · · · · · · · · · · · · · · PAGE:
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             E-mail: tvandyck@bowditch.com
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  16· · · · ·BY:· JENNIFER L.
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                                         ESQ.                                                Exhibit 26,
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  17· · · · · · · CHRISTOPHER REDD, ESQ.
                                    ESQ.                                                17
             (617) 963-5975
  18· · · · ·(617) 963-5975                                                                  (Exhibits retained
                                                                                        18· ·(Exhibits retained by
                                                                                                                by Attorney
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                                                                                                                                Dyck)
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                      jmarkowski@fmglaw.com                                             19
  20                                                                                    20
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                                                            O'Brien &
                                                            O'Brien & Levine,
                                                                       Levine, AA Magna
                                                                                  Magna Legal
                                                                                         Lega Services
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                                                                                                       Company                                                      ·
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                           vs                                William Dennis McLaughlin
                                                             William Dennis  McLaughlin
luoe Local
Iuoe Local 44 Health
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                                          al.                              June 08,
                                                                           June 08, 2022
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       business representatives
  ·1· ·business representatives are
                                are all
                                    all members
                                        members so
                                                so we
                                                   we did
                                                      did not
                                                          not                                    we're all
                                                                                            ·1· ·we're     all in in that
                                                                                                                      that building
                                                                                                                               building earlyearly inin the
                                                                                                                                                         the morning.·
                                                                                                                                                               morning. We     We
  PF




                                                                                            PP
       appreciate that.
  ·2· ·appreciate that.                                                                          have to
                                                                                            ·2· ·have    to wait
                                                                                                               wait until until Gina
                                                                                                                                  Gina Alongi
                                                                                                                                           Alongi getsgets into
                                                                                                                                                             into work
                                                                                                                                                                     work to      bring
                                                                                                                                                                             to bring
  WN




                                                                                            WN
              Q. · ·Anything
  ·3· · · · · Q.·   Anything else
                             elseyou  can recall?
                                  you can recall?                                                up concerns,
                                                                                            ·3· ·up   concerns, issues,    issues, items
                                                                                                                                      items that     our Fund
                                                                                                                                               that our     Fund administrators
                                                                                                                                                                      administrators
              A. · ·Yes.·
  ·4· · · · · A.·   Yes. I| recall
                            recall her
                                   her the
                                       the way
                                           way she
                                               she thought
                                                   thought                                       should be
                                                                                            ·4· ·should       be addressing,
                                                                                                                    addressing, we      we have
                                                                                                                                              have to to wait?
                                                                                                                                                          wait?· ThoseThose aren't
                                                                                                                                                                               aren't
  OA




                                                                                            OB
       certain things
  ·5· ·certain things were funny in
                      were funny in the
                                    the workplace,
                                        workplace, like
                                                   like dirty
                                                        dirty                                    acceptable. That's
                                                                                            ·5· ·acceptable.·           That's country
                                                                                                                                   country club club style
                                                                                                                                                        styleto  to me.
                                                                                                                                                                     me.
       jokes, things
  ·6· ·jokes,        like that,
              things like that, lewd
                                lewd behavior,
                                     behavior, comments
                                               comments like
                                                        like                                            Q. · ·So
                                                                                            ·6· · · · · Q.·         Soyou        also testified
                                                                                                                           you also      testified aa few few minutes
                                                                                                                                                                  minutes ago  ago
  NO




                                                                                            NO
       that. She
  ·7· ·that.· She had
                  had aa tendency
                         tendency to
                                  to think
                                     think that
                                           that was
                                                was fun
                                                    fun when
                                                        when                                     about the
                                                                                            ·7· ·about      the way way she   sheranran thethe Funds
                                                                                                                                                  Funds office
                                                                                                                                                            officeinin aa
       certain people
  ·8· ·certain people would
                      would engage
                            engage in
                                   in that
                                      that stuff,
                                           stuff, and
                                                  and then
                                                      then she
                                                           she                                   disrespectful manner.·
                                                                                            ·8· ·disrespectful              manner. What   What did   did you
                                                                                                                                                            you mean mean by  by that?
                                                                                                                                                                                   that?
  00




                                                                                            0
       would find
  ·9· ·would find it
                  it insulting
                     insulting if
                               if anyone
                                  anyone else
                                         else did.·
                                              did. So
                                                    So this
                                                       this                                             A.
                                                                                            ·9· · · · · A.·    ·   Talking down to people, coworkers. It's
                                                                                                                  ·Talking        down      to  people,     coworkers.·        It's
   ©




                                                                                            ©
       bipolar personality
  10· ·bipolar personality was
                           was concerning
                               concerning to
                                          to us
                                             us because
                                                because here
                                                        here                                      lousy.
                                                                                            10· ·lousy.




                                                                                           = Oo
                                                                                           l
       we have
  11· ·we have aa Fund
                  Fund administrator
                       administrator with this type
                                     with this type of
                                                    of                                                   Q. · ·Do
                                                                                            11· · · · · Q.·          Doyou         recall anything
                                                                                                                            you recall        anything specific?
                                                                                                                                                             specific?
       behavior. It
  12· ·behavior.· It was offensive to
                     was offensive to us.
                                      us.                                                   12· · · · · A.
                                                                                                         A.· · ·Yes,Yes, just        dismissive with
                                                                                                                              just dismissive         with people,
                                                                                                                                                              people, one one
              Q. · ·Anything
  13· · · · · Q.·   Anything else?
                             else?                                                                being Laura-Jean
                                                                                            13· ·being       Laura-Jean Hickey.·  Hickey. I| remember
                                                                                                                                                   remember her      her mistreating
                                                                                                                                                                          mistreating
              A. · ·I'm
  14· · · · · A.·   I'msurethere   were others.·
                        sure there were others. I| can't
                                                   can't                                          her before.
                                                                                            14· ·her    before.
       remember anymore
  15· ·remember anymore right
                        right now.
                              now.                                                                       Q. · ·Anything
                                                                                            15· · · · · Q.·         Anything else      else you
                                                                                                                                              you recall?
                                                                                                                                                    recall?
              Q. · ·Are
  16· · · · · Q.·   Areyou  aware of
                        you aware of any
                                     any documents
                                         documents or
                                                   or                                       16· · · · · A.          Yes. I| recall
                                                                                                         A.· · ·Yes.·            recal her her thinking
                                                                                                                                                 thinking it   it was
                                                                                                                                                                    was funny
                                                                                                                                                                         funny
       anything else
  17· ·anything else that
                     that would
                          would refresh
                                refresh your
                                        your memory
                                             memory about
                                                    about                                         when Mr.
                                                                                            17· ·when        Mr. Lou Lou Rasetta,
                                                                                                                              Rasetta, my  my predecessor,
                                                                                                                                                 predecessor, would              engage in
                                                                                                                                                                       would engage      in
       those discussions
  18· ·those discussions you had
                         you had with
                                 with these
                                      these folks?
                                            folks?                                                sexual banter,
                                                                                            18· ·sexual       banter, dirty  dirty jokes,
                                                                                                                                      jokes, things
                                                                                                                                                things    like that.·
                                                                                                                                                          like    that. I| felt
                                                                                                                                                                            felt
              A. · ·No.
  19· · · · · A.·   No.                                                                           it was
                                                                                            19· ·it  was unacceptable
                                                                                                             unacceptable and         and so so didn't
                                                                                                                                                 didn't others
                                                                                                                                                           others thatthat were
                                                                                                                                                                            were
              Q. · ·Again,
  20· · · · · Q.·   Again, all
                           all of
                               of what
                                  what you
                                       you just described to
                                           just described to                                      witness to
                                                                                            20· ·witness              it.
                                                                                                                 to it.
       me occurred
  21· ·me occurred before
                   before you
                          you became
                              became the
                                     the business
                                         business manager
                                                  manager in
                                                          in                                21· · · · · Q.· · ·How   How many  many timestimes did did you
                                                                                                                                                         you witness
                                                                                                                                                                 witnessit?   it?
       2017?
  22· ·2017?                                                                                                        Several.
                                                                                            22· · · · · A.· · ·Several.
              A. · ·Not
  23· · · · · A.·   Not exclusively
                        exclusively to me being
                                    to me being prior
                                                prior to
                                                      to                                                             Several being
                                                                                            23· · · · · Q.· · ·Several              being more more than
                                                                                                                                                       than 10?  10?
       business manager.
  24· ·business manager.                                                                    24· · · · · A.· · ·Yes. Yes.

                                                                       Page 146
                                                                       Page 146                                                                                         Page 148
                                                                                                                                                                        Page 148

              Q. · ·I'm
  ·1· · · · · Q.·      I'm only
                              only looking
                                     looking for  for things
                                                       thingsthat      you said
                                                                 that you    said                              Morethan
                                                                                            ·1· · · · · Q.· · ·More      20?
                                                                                                                    than 20?
  BRP




                                                                                            BE




       about Gina's
  ·2· ·about       Gina's performance,
                             performance, work      work ethic
                                                            ethic prior
                                                                    prior to
                                                                           to your
                                                                               your                            No, several.
                                                                                            ·2· · · · · A.· · ·No, several.
                                                                                            WN
  WN




       becoming business
  ·3· ·becoming          business manager.
                                       manager.                                                                Between 10
                                                                                            ·3· · · · · Q.· · ·Between    10 and
                                                                                                                             and 20?
                                                                                                                                 20?
  ·4· · · · · A.       Yes
              A.· · ·Yes.                                                                                      Possibly.
                                                                                            ·4· · · · · A.· · ·Possibly.
                                                                                            Uh
  OB




                       Havel I got
  ·5· · · · · Q.· · ·Have          got itit all?
                                            all?                                                               Anything specific
                                                                                            ·5· · · · · Q.· · ·Anything    specific you can recall?
                                                                                                                                    you can recall?
                       Yes. Well,
  ·6· · · · · A.· · ·Yes.·     Well, to  to the
                                             the best
                                                  best of
                                                        of my
                                                            my knowledge,
                                                                 knowledge,                                    Not specifically.
                                                                                            ·6· · · · · A.· · ·Not specifically.
  NO




                                                                                            NO




  ·7· ·yes.                                                                                             Q. · ·How
                                                                                            ·7· · · · · Q.·   How would you describe
                                                                                                                  would you describe your
                                                                                                                                     your relationship
                                                                                                                                          relationship
              Q. · ·So
  ·8· · · · · Q.·      Sohowhow doesdoesthatthat jive    with the
                                                   jive with    the                              with Rose
                                                                                            ·8· ·with Rose Alongi
                                                                                                           Alongi prior
                                                                                                                  prior to
                                                                                                                        to your becoming business
                                                                                                                           your becoming business
                                                                                            00
  0




       representation you
  ·9· ·representation           you made
                                       made underunder oath
                                                          oath that
                                                                 that generally
                                                                        generally                manager ?
                                                                                            ·9· ·manager?
                                                                                            ©
  ©




        speaking you
  10· ·speaking                wer e pleased
                        you were        pleased withwith her
                                                           her performance
                                                                 performance until until                A. · ·Okay.
                                                                                            10· · · · · A.·   Okay.
  11· ·2020?                                                                                            Q. · ·Fair
                                                                                            11· · · · · Q.·   Fair to
                                                                                                                    tomedium.    Did you
                                                                                                                       medium.· Did  you have
                                                                                                                                         have any
                                                                                                                                               any issues
                                                                                                                                                   issues
                        Generally.
  12· · · · · A.· · ·Generally.                                                                  with Rose,
                                                                                            12· ·with    Rose, again,
                                                                                                                again, prior
                                                                                                                       prior to becoming business
                                                                                                                             to becoming  business manager?
                                                                                                                                                    manager ?
  13· · · · · Q.· · ·Oh,Oh, I| see.·
                                 see. TheTheword         "generally"?
                                                word "generally"?                                       A. · ·No.
                                                                                            13· · · · · A.·   No.
                        Yes.
  14· · · · · A.· · ·Yes.                                                                               Q. · ·So
                                                                                            14· · · · · Q.·   Soyou  became business
                                                                                                                 you became business manager
                                                                                                                                     manager when
                                                                                                                                             when in
                                                                                                                                                  in
                        Fair enough.
  15· · · · · Q.· · ·Fair       enough.                                                          2017?
                                                                                            15· ·2017?
                        Yes.
  16· · · · · A.· · ·Yes.                                                                   16· · · · · A.     August.
                                                                                                        A.· · ·August.
  17· · · · · Q.·. · ·Now,
                        Now, you you mentioned
                                        mentioned the    the phrase
                                                              phrase" "country
                                                                          country                       Q. · ·August.·
                                                                                            17· · · · · Q.·   August. And
                                                                                                                       And as of that
                                                                                                                           as of that time,
                                                                                                                                      time, how
                                                                                                                                            how would
                                                                                                                                                would
        club style."
  18· ·club      style."                                                                         you describe
                                                                                            18· ·you    describe your
                                                                                                                   your relationship
                                                                                                                          relationship with
                                                                                                                                        with Gina?
                                                                                                                                             Gina?
  19· · · · · A.        Yes
               A.· · ·Yes.                                                                              A. · ·As
                                                                                            19· · · · · A.·   Asofof that,
                                                                                                                     that, you
                                                                                                                           you mean
                                                                                                                                mean leading
                                                                                                                                      leading up
                                                                                                                                              up to
                                                                                                                                                 to that?
                                                                                                                                                    that?
               Q. · ·What
  20· · · · · Q.·       What do   do you      mean by
                                       you mean        by that?
                                                           that?                                        Q. · ·As
                                                                                            20· · · · · Q.·   Asofof the
                                                                                                                     thetimeyou   became business
                                                                                                                         time you became business
  21· · · · · A.        All of which | described. The
               A.· · ·All    of  which      I described.·    Theterrible
                                                                    terrible                     manager. Was
                                                                                            21· ·manager.·  Wasitit the
                                                                                                                     the same
                                                                                                                          same as
                                                                                                                               asyou've  already just
                                                                                                                                  you've already just
        work ethic,
  22· ·work       ethic, not
                           not responding
                                responding to     to phone
                                                      phone calls,
                                                              calls, getting
                                                                      getting back
                                                                                back             described or
                                                                                            22· ·described or did
                                                                                                              did it
                                                                                                                   it change?
                                                                                                                       change?
        to people
  23· ·to   people two  two days
                              days later,
                                      later, doing
                                               doing what     she wanted,
                                                       what she                you
                                                                     wanted, you            23· · · · · A.     Yes, it
                                                                                                        A.· · ·Yes, it wasn't great.
                                                                                                                       wasn't great.
        know, just
  24· ·know,              not being
                    just not   being where
                                         where she she should
                                                        should be.·
                                                                  be. You
                                                                       You know,
                                                                             know,                      Q. · ·Didn't
                                                                                            24· · · · · Q.·   Didn't change?
                                                                                                                     change?


                                          O'Brien &
                                          O'Brien & Levine,
                                                     Levine, AA Magna
                                                                Magna Legal
                                                                       Legal Services
                                                                             Services Company
                                                                                       Company                                                                   Pages 145–148
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                             Matter of:
                                    of:

                Ginamarie Alongi,
                Ginamarie Along, et
                                  et al.
                                     al. vs
                                         vs
      luoe Local
      Iuoe Local 4
                 4 Health
                   Health &
                          & Welfare
                            Welfare Fund,
                                    Fund, et
                                          et al.
                                             al.




             William Dennis
             William Dennis McLaughlin
                            McLaughlin Vol
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                       al. vs
                           vs                                William Dennis McLaughlin
                                                             William Dennis  McLaughlin
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Iuoe Local 44 Health
              Health && Welfare
                         Welfare Fund,
                                 Fund, et
                                       et al.
                                          al.                              June 09,
                                                                           June 09, 2022
                                                                                    2022
                                                                                                                                                          Page 3

                    COMMONWEALTH OF
  ·1· · · · · · · · COMMONWEALTH OF MASSACHUSETTS
                                    MASSACHUSETTS                                           APPEARANCES (Continued):
                                                                                         1 ·APPEARANCES
                                                                                        ·1·             (Continued):
       Norfolk, ss.·
  ·2· ·Norfolk, ss. · · · · · · ·Superior
                                 Superior Court
                                          Court                                         ·22
                                  Civil Action
  ·3· · · · · · · · · · · · · · · Civil Action No.
                                               No. 2182CV00125
                                                   2182CVv00125                             Representing the
                                                                                         3 ·Representing
                                                                                        ·3·              the Defendants:
                                                                                                             Defendants:
       FE —
  ·4· ·**************************************************                                4 · · · ·O'DONOGHUE
                                                                                        ·4·       O'DONOGHUE &
                                                                                                             & O'DONOGHUE
                                                                                                               O'DONOGHUE LLP
                                                                                                                          LLP
       GINAMARIE ALONGI
  ·5· ·GINAMARIE ALONGI AND
                        AND ROSEMARIE
                             ROSEMARIE ALONGI,·
                                       ALONG, · · · · ·*                                ·5·       5301 Wisconsin
                                                                                         5 · · · ·5301 Wisconsin Avenue, NW, Suite
                                                                                                                 Avenue, NW, Suite 800
                                                                                                                                   800

         Plaintiffs · · · · · · · · · · · · · · · · · ·*
  ·6· · ·Plaintiffs·                                   *                                ·6·       Washington, DC
                                                                                         6 · · · ·Washington, DC 20015
                                                                                                                 20015

         vs. · · · · · · · · · · · · · · · · · · · · · **
  ·7· · ·vs.·                                                                           ·7·       BY: CHARLES
                                                                                         7 · · · ·BY:· CHARLESW.  GILLIGAN, ESQ.
                                                                                                               W. GILLIGAN, ESQ.

       IUOE LOCAL
  ·8· ·IUOE LOCAL 4
                  4 HEALTH
                    HEALTH &
                           & WELFARE
                             WELFARE FUND;
                                     FUND; IUOE
                                           IUOE LOCAL
                                                LOCAL 4
                                                      4 *
                                                        *                                8 · · · · · · DANIEL
                                                                                        ·8·            DANIEL KEENAN,
                                                                                                              KEENAN, ESQ.
                                                                                                                      ESQ.

       PENSION FUND;
  ·9· ·PENSION FUND; IUOE
                     IUOE LOCAL
                          LOCAL 44 ANNUITY
                                   ANNUITY &
                                           & SAVINGS·
                                             SAVINGS · ·**                                        (202) 362-0041
                                                                                         9 · · · ·(202)
                                                                                        ·9·             362-0041
       FUND; HOISTING
  10· ·FUND; HOISTING AND
                      AND PORTABLE
                          PORTABLE ENGINEERS
                                   ENGINEERSLOCAL  4 ·*
                                             LOCAL 4· *                                 10 · · · ·E-mail:·
                                                                                        10·       E-mail: cgilligan@odonoghuelaw.com
                                                                                                           cgilligan@odonoghuel
                                                                                                                              aw.com

       APPRENTICESHIP&
  11· ·APPRENTICESHIP & TRAINING
                        TRAINING FUND;
                                 FUND; JOINT
                                       JOINT LABOR-·
                                             LABOR- · ·**                               11
       MANAGEMENT COOPERATION
  12· ·MANAGEMENT COOPERATION TRUST;
                              TRUST; AND
                                     AND WILLIAM
                                         WILLIAM D.·   *
                                                 D. · ·*                                     In Attendance:
                                                                                        12· ·In              Gina Marie
                                                                                                Attendance:· Gina Marie Alongi
                                                                                                                        Alongi
       MCLAUGHIAN, INDIVIDUALLY
  13· ·MCLAUGHIAN, INDIVIDUALLY AND
                                AND IN
                                    IN HIS
                                       HISCAPACITY
                                           CAPACITY· · ·**                                                   Greg Geiman
                                                                                        13· · · · · · · · · ·Greg Geiman
       AS CHAIRMAN
  14· ·AS CHAIRMAN OF
                   OF THE
                      THE BOARDS
                          BOARDS OF
                                 OF TRUSTEES,
                                    TRUSTEES,· · · · · ·**                                                   Rosemarie Alongi
                                                                                        14· · · · · · · · · ·Rosemarie Alongi
         Defendants · · · · · · · · · · · · · · · · · ·*
  15· · ·Defendants·                                   *                                15
       Sek RR
  16· ·**************************************************                               16
              DEPOSITION OF:·
  17· · · · · DEPOSITION OF: WILLIAM
                              WILLIAM DENNIS
                                      DENNISMCLAUGHLIN
                                             MCLAUGHLIN                                 17
                        BOWDITCH &
  18· · · · · · · · · · BOWDITCH & DEWEY,
                                   DEWEY, LLP
                                          LLP                                           18
                       200 Crossing
  19· · · · · · · · · ·200 Crossing Boulevard
                                    Boulevard                                           19
                      Framingham, Massachusetts
  20· · · · · · · · · Framingham, Massachusetts                                         20
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  21· · · · · · · · · June 9, 2022·
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                                          am.                                           21
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                         Kristen M.
  23· · · · · · · · · · ·Kristen M. Edwards
                                    Edwards                                             23
                           Court Reporter
  24· · · · · · · · · · · ·Court Reporter                                               24


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       APPEARANCES:
  ·1· ·APPEARANCES:                                                                     ·1· · · · · · · · · · · · · I N D E X
                                                                                        PP




  ·2                                                                                    ·2
                                                                                        WN




       Representing the
  ·3· ·Representing the Plaintiffs:
                        Plaintiffs:                                                          WITNESS: · · · · · · · · · · WILLIAM
                                                                                        ·3· ·WITNESS:·                            DENNIS MCLAUGHLIN
                                                                                                                          WILLIAM DENNIS MCLAUGHLIN

             BOWDITCH &
  ·4· · · · ·BOWDITCH & DEWEY,
                        DEWEY, LLP
                               LLP                                                      ·4
                                                                                        bh




             200 Crossing
  ·5· · · · ·200 Crossing Boulevard,
                          Boulevard, Suite
                                     Suite 300
                                           300                                               EXAMINATION BY:·
                                                                                        ·5· ·EXAMINATION BY: · · · · · · · · · · · · · · · · ·PAGE:
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             Framingham, MA
  ·6· · · · ·Framingham, MA 01702
                            01702                                                            Mr. Van
                                                                                        ·6· ·Mr. Van Dyck·
                                                                                                     Dyck · · · · · · · · · · · · · · · · · · · ·5
                                                                                        Oo




             BY: TIMOTHY
                  TIMOTHY P.
                          P. VAN
                             VAN DYCK,
                                 DYCK, ESQ.
                                       ESQ.
                                                                                        NN




  ·7· · · · ·BY:·                                                                       ·7
                  JACOB A.
  ·8· · · · · · · JACOB    TOSTI, ESQ.
                        A. TOSTI, ESQ.                                                  ·8
                                                                                        00




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  ·9· · · · ·(617) 757-6537 fax
                             fax (508)
                                 (508) 929-3137
                                       929-3137                                              EXHIBIT: · · · · · · · · · · · · · · · · · · · · PAGE:
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                                                                                        ©




             E-mail: tvandyck@bowditch.com
  10· · · · ·E-mail:· tvandyck@bowditch.com                                                  Exhibit 27,
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       Representing the
  12· ·Representing the Defendants:
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                                                                                                                   of Jennifer
                                                                                                                      Jennifer Dow...............37
                                                                                                                               Dow.

             FREEMAN, MATHIS
  13· · · · ·FREEMAN, MATHIS&& GARY
                               GARY LLP
                                    LLP                                                      Exhibit 30,
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                                                                                                         e-mail
             60 State
  14· · · · ·60 State Street,
                      Street, Suite
                              Suite 600
                                    600                                                      Exhibit 31,
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             Boston, MA
  15· · · · ·Boston, MA 02109-1800
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             BY: JENNIFER
  16· · · · ·BY:· JENNIFER L.
                           L. MARKOWSKI,
                              MARKOWSKI, ESQ.
                                         ESQ.                                                Exhibit 33,
                                                                                        16· ·Exhibit 33, July
                                                                                                         July 21,
                                                                                                              21, 2020
                                                                                                                  2020 minutes..................144
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                  CHRISTOPHER REDD,
  17· · · · · · · CHRISTOPHER REDD, ESQ.
                                    ESQ.                                                     Exhibit 34,
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                                                                                                         e-mail
             (617) 963-5975
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             E-mail: jmarkowski
  19· · · · ·E-mail:·           @fmglaw.com
                      jmarkowski@fmglaw.com                                                  Exhibit 36,
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  22                                                                                         Page 177,
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                                                                                                       Line33
  23                                                                                    23
  24                                                                                         (Exhibits retained
                                                                                        24· ·(Exhibits retained by
                                                                                                                by Attorney
                                                                                                                   Attorney Van
                                                                                                                            Van Dyck)
                                                                                                                                Dyck)



                                                            O'Brien &
                                                            O'Brien & Levine,
                                                                       Levine, AA Magna
                                                                                  Magna Legal
                                                                                         Lega Services
                                                                                              Services Company
                                                                                                       Company                                                      ·
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           Case 1:21-cv-10163-FDS Document 64 Filed 12/13/22 Page 48 of 271
Ginamarie Alongi,
Ginamarie   Along, et
                    et al.
                       al. vs
                           vs                                William Dennis McLaughlin
                                                             William Dennis  McLaughlin
luoe Local
Iuoe Local 44 Health
              Health && Welfare
                         Welfare Fund,
                                 Fund, et
                                       et al.
                                          al.                              June 09,
                                                                           June 09, 2022
                                                                                    2022
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  ·1· · · · · WILLIAM DENNIS MCLAUGHLIN,
              WILLIAM DENNIS MCLAUGHLIN, Deponent,
                                         Deponent, having
                                                   having                              Q. · ·Fair
                                                                           ·1· · · · · Q.·     Fair enough.·
                                                                                                       enough. Yesterday
                                                                                                                     Yesterday at    at the
                                                                                                                                         the beginning
                                                                                                                                              beginning




                                                                           BE
       first been
  ·2· ·first been satisfactorily
                  satisfactorily identified
                                 identified and
                                            and duly
                                                duly sworn,
                                                     sworn,                     of your
                                                                           ·2· ·of  your deposition
                                                                                             deposition you   you indicated
                                                                                                                     indicated thatthat you     had not
                                                                                                                                          you had       not




                                                                           WN
       deposes and
  ·3· ·deposes and states
                   states as follows:
                          as follows:                                           reviewed any
                                                                           ·3· ·reviewed       any documents
                                                                                                      documentsinin preparation
                                                                                                                             preparation for  for your
                                                                                                                                                   your
  ·4                                                                            deposition. Do
                                                                           ·4· ·deposition.·        Do you      recall that?
                                                                                                        you recall        that?




                                                                           OBA
  ·5                                                                                   A.
                                                                           ·5· · · · · A.·  ·  don't.
                                                                                              ·I  don't.
              EXAMINATION BY
  ·6· · · · · EXAMINATION BY MR.
                             MR. VAN
                                 VAN DYCK:
                                     DYCK:                                             Q. · ·Okay.·
                                                                           ·6· · · · · Q.·     Okay. Well, Well, thetherecord       will speak
                                                                                                                           record will    speak for for




                                                                           NO
  ·7                                                                            itself. Did
                                                                           ·7· ·itself.·   Did you,
                                                                                                  you, inin fact,
                                                                                                             fact, review
                                                                                                                     review any any documents
                                                                                                                                      documentsinin
              Q. · ·Good
  ·8· · · · · Q.·   Good morning.
                         morning.                                               preparation for
                                                                           ·8· ·preparation         for your
                                                                                                          your deposition?
                                                                                                                   deposition?




                                                                           0
  ·9· · · · · A.     Morning.
              A.· · ·Morning.                                                          A. · ·Today,
                                                                           ·9· · · · · A.·     Today, yesterday?
                                                                                                          yesterday?




                                                                           ©
              Q. · ·Yesterday
  10· · · · · Q.·   Yesterday at
                              at the
                                 the end
                                     end of
                                         of your
                                            your deposition,
                                                 deposition,                                     Either, both.
                                                                           10· · · · · Q.· · ·Either,       both.




                                                                          = Oo
                                                                          Boe
       at the
  11· ·at the end
              end of
                  of yesterday's
                     yesterday's deposition,
                                 deposition, we were
                                             we were                                            Yes.
                                                                           11· · · · · A.· · ·Yes.
       discussing
  12· ·discussing this letter
                  this        that Mr.
                       letter that Mr. Geiman
                                       Geiman had
                                              had written to
                                                  written to                                    What documents
                                                                           12· · · · · Q.· · ·What        documents did     did you     review?
                                                                                                                                 you review?
       Ginaon
  13· ·Gina    May 17,
            on May 17, 2017.·
                       2017. Do
                              Do you
                                 you recall
                                     recall that?
                                            that?                          13· · · · · A.·. · ·Any
                                                                                                Any documents
                                                                                                       documents that    that were    given to
                                                                                                                               were given     to me,
                                                                                                                                                  me, my my
              A. · ·Ildo.
  14· · · · · A.·     do.                                                        own. I| have
                                                                           14· ·own.·         have some
                                                                                                     some of of mymy own.
                                                                                                                       own.
              Q. · ·And,
  15· · · · · Q.·   And, I| think,
                            think, you
                                   you indicated
                                       indicated in
                                                 in your
                                                    your                                Q. · ·Do
                                                                           15· · · · · Q.·       Doyou      recall --
                                                                                                      you recall      --
       testimony yesterday
  16· ·testimony yesterday that
                           that you had had
                                you had had aa discussion
                                               discussion with
                                                          with                          A. · ·Any
                                                                           16· · · · · A.·      Any prepared
                                                                                                       prepared by   by my my legal
                                                                                                                               legal team.
                                                                                                                                      team.
       Mr. Geiman
  17· ·Mr. Geiman about
                  about this
                        this letter?
                             letter?                                                    Q. · ·Do
                                                                           17· · · · · Q.·       Doyou      recall what
                                                                                                      you recall      what any any of
                                                                                                                                    of those     documents
                                                                                                                                        those documents
              A. · ·Yes.
  18· · · · · A.·   Yes                                                          were?
                                                                           18· ·were?
              Q. · ·And
  19· · · · · Q.·   And as
                        asaresult   of that
                           a result of that discussion,
                                            discussion, you
                                                        you                19· · · · · A.       Therewereseveral.
                                                                                        A.· · ·There     were several.· No,    No, I| can't.
                                                                                                                                      can't. I|
       were led
  20· ·were led to
                to believe
                   believe that
                           that Gina
                                Gina had
                                     had actually
                                         actually had
                                                  had                            don't recall.
                                                                           20· ·don't     recall.
       Mr. Geiman
  21· ·Mr. Geiman prepare
                  preparethisletter,    correct?
                           this letter, correct?                                        Q. · ·Did
                                                                           21· · · · · Q.·       Did you      review them
                                                                                                       you review         them onon Tuesday
                                                                                                                                      Tuesday when when you you
              A. · ·I| said
  22· · · · · A.·      said that,
                            that, but
                                  but I| was confusing it
                                         was confusing it with
                                                          with                   met with
                                                                           22· ·met             your counsel?
                                                                                        with your       counsel?
  23· ·aa previous
          previous piece.
                   piece.                                                  23· · · · · A.       Perhaps, yes,
                                                                                        A.· · ·Perhaps,      yes, maybe
                                                                                                                    maybe aa couple
                                                                                                                                 couple of of them.
                                                                                                                                               them.
              Q. · ·Okay.·
  24· · · · · Q.·   Okay. That's
                           That'swhat
                                 what I| thought.·
                                         thought. So
                                                   So when
                                                      when                              Q. · ·Today
                                                                           24· · · · · Q.·      Today is   is Thursday.
                                                                                                               Thursday.

                                                                 Page 6
                                                                 Page 6                                                                           Page 8
                                                                                                                                                  Page 8

       you say
  ·1· ·you say the
               the" "previous
                     previous piece,"
                              piece," do
                                      do you
                                         you mean
                                             mean another
                                                  another                              A. · ·I| don't
                                                                           ·1· · · · · A.·       don't remember
                                                                                                        remember which           ones.
                                                                                                                         which ones.
                                                                           WDNR




       letter?
  ·2· ·letter?                                                                         Q. · ·You
                                                                           ·2· · · · · Q.·    You havehavenoideasitting
                                                                                                              no idea sitting here  here today
                                                                                                                                           today which
                                                                                                                                                   which
                     Y es, there
  ·3· · · · · A.· · ·Yes,  there was another letter
                                 was another letter somewhere.
                                                    somewhere.                  documents
                                                                           ·3· ·documents         you   reviewed in
                                                                                                  you reviewed          in preparation
                                                                                                                            preparation for  for your
                                                                                                                                                 your
                     So it
  ·4· · · · · Q.· · ·So it wasn't
                           wasn't this letter, correct?
                                  this letter, correct?                         deposition today?
                                                                           ·4· ·deposition       today?
                                                                           Ob




                     Correct.
  ·5· · · · · A.· · ·Correct.                                                          A. · ·No,
                                                                           ·5· · · · · A.·    No, notnot to
                                                                                                          to the
                                                                                                              the best
                                                                                                                    best ofof my
                                                                                                                               my knowledge.
                                                                                                                                   knowledge.
                     Have you
  ·6· · · · · Q.· · ·Have you had
                              had any
                                  any discussions
                                      discussions with just
                                                  with just                            Q.
                                                                           ·6· · · · · Q.· ·  You alsotestified yesterday that
                                                                                             ·You     also   testified     yesterday     that you
                                                                                                                                               you
                                                                           NO




       Mr. Geiman
  ·7· ·Mr. Geiman between
                  between yesterday
                          yesterday and
                                    and today?
                                        today?                                  thought Gina
                                                                           ·7· ·thought      Gina Alongi
                                                                                                      Alongi was  was bipolar.·
                                                                                                                         bipolar. DoDo youyou recall
                                                                                                                                               recall that?
                                                                                                                                                        that?
              A. · ·About
  ·8· · · · · A.·   About this letter?
                          this letter?                                                 A. · ·Yes.
                                                                           ·8· · · · · A.·    Yes
                                                                           0




              Q. · ·About
  ·9· · · · · Q.·   About thisletter.
                          this letter.                                                 Q. · ·When
                                                                           ·9· · · · · Q.·    When did   did you
                                                                                                               you come
                                                                                                                      cometoto the     conclusion that
                                                                                                                                  the conclusion      that
                                                                           ©




  10· · · · · A.     No.
              A.· · ·No.                                                         you thought
                                                                           10· ·you     thought Ms.  Ms. Alongi
                                                                                                           Alongi was         bipolar?
                                                                                                                       was bipolar?
              Q. · ·So
  11· · · · · Q.·   Sodoyou   recall any
                       do you recall any discussions
                                         discussionswith
                                                     with                  11· · · · · A.       Many years
                                                                                        A.· · ·Many     years ago.ago.
                                                                          =o
                                                                          NP




       Mr. Geiman
  12· ·Mr. Geiman about
                  about this
                        this letter?·
                             letter? And  by this
                                      And by thisletter,  I'm
                                                  letter, I'm                           Q. · ·Can
                                                                           12· · · · · Q.·      Can youyou be beany       more specific?
                                                                                                                   any more      specific?
       referring to
  13· ·referring to Exhibit
                    Exhibit 26.
                            26.                                            13· · · · · A.
                                                                                        A.· · ·Irealy      cant.
                                                                                                  really can't.
  14· · · · · A.· · ·I| don't
                        don't remember.
                              remember.                                                 Q. · ·Was
                                                                           14· · · · · Q.·      Wasitit before
                                                                                                          beforeyou          became business
                                                                                                                      you became       business
                     You don't
  15· · · · · Q.· · ·You don't remember
                               remember or
                                        or --
                                           --                                    manager ?
                                                                           15· ·manager?
                     Could you
  16· · · · · A.· · ·Could     repeat the
                           you repeat     question?
                                      the question?                        16· · · · · A.       Maybe.
                                                                                        A.· · ·Maybe.
                     Do you
  17· · · · · Q.· · ·Do you recall
                            recall ever
                                   ever having
                                        having any
                                               any discussions
                                                   discussions                          Q. · ·Maybe,
                                                                           17· · · · · Q.·      Maybe, maybemaybe not?  not?
       with Mr.
  18· ·with Mr. Geiman
                Geiman about
                       about Exhibit
                             Exhibit 26,
                                     26, the
                                         the May
                                             May 17th
                                                 17th letter?
                                                      letter?              18· · · · · A.      Could have
                                                                                        A.· · ·Could     have been.
                                                                                                                  been.
       You're making
  19· ·You're making me
                     mereach  today.
                        reach today.                                                    Q. · ·Did
                                                                           19· · · · · Q.·      Did you      ever have
                                                                                                      you ever       have anyany discussions
                                                                                                                                   discussions    with
                                                                                                                                                  with
  20· · · · · A.     Itwasalongtimeago,
              A.· · ·It                      sol I don't
                        was a long time ago, so    don't                         anybody about
                                                                           20· ·anybody        about thisthisissue?
                                                                                                                issue?
       recall.
  21· ·recall.                                                             21· · · · · A.       No, my
                                                                                        A.· · ·No,    my own
                                                                                                           own assessment.
                                                                                                                   assessment.
              Q. · ·It's
  22· · · · · Q.·   It'spossiblethat
                         possible that you may have
                                       you may have but
                                                    but you
                                                        you                             Q. · ·Your
                                                                           22· · · · · Q.·      Your ownown assessment.·
                                                                                                                 assessment. And   And I| take
                                                                                                                                            takeitit you
                                                                                                                                                     you
       just don't
  23· ·just don't recall?
                  recall?                                                        never raised
                                                                           23· ·never     raised the theissue
                                                                                                          issue withwith Ms.Ms. Alongi?
                                                                                                                                 Alongi?
  24· · · · · A.     May have,
              A.· · ·May have, may
                               may not
                                   not have.·
                                       have. I| don't
                                                don't recall.
                                                      recall.              24· · · · · A.       No. And
                                                                                        A.· · ·No.·   And I say say that
                                                                                                                      that because
                                                                                                                             because ofof these
                                                                                                                                           these


                                     O'Brien &
                                     O'Brien & Levine,
                                                Levine, AA Magna
                                                           Magna Legal
                                                                  Legal Services
                                                                        Services Company
                                                                                  Company                                                        Pages 5–8
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Ginamarie Alongi,
Ginamarie   Along, et
                    et al.
                       al. vs
                           vs                                William Dennis McLaughlin
                                                             William Dennis  McLaughlin
luoe Local
Iuoe Local 44 Health
              Health && Welfare
                         Welfare Fund,
                                 Fund, et
                                       et al.
                                          al.                              June 09,
                                                                           June 09, 2022
                                                                                    2022
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                                                                                                                                                                Page 11

       frequent mood
  ·1· ·frequent mood swings,
                     swings, disposition,
                             disposition, sometimes
                                          sometimes nice,
                                                    nice,                                            A. · ·Several.
                                                                                         ·1· · · · · A.·    Severd.




                                                                                         BRP
  BE


       sometimes not.
  ·2· ·sometimes     not.                                                                            Q. · ·Beyond
                                                                                         ·2· · · · · Q.·    Beyond several   several you      can't give
                                                                                                                                        you can't     give me
                                                                                                                                                            me any any kind
                                                                                                                                                                        kind
  WN




                                                                                         WN
              Q. · ·Any
  ·3· · · · · Q.·   Any other
                          other basis
                                basisfor  your conclusion
                                      for your conclusion that
                                                          that                                of further
                                                                                         ·3· ·of  further estimate
                                                                                                               estimateor      or range?
                                                                                                                                   range?
       you thought
  ·4· ·you thought Ms.
                   Ms. Alongi
                       Alongi was
                              was bipolar?
                                  bipolar?                                                           A. · ·Roughly
                                                                                         ·4· · · · · A.·    Roughly six,     six, 10,
                                                                                                                                   10, 12,
                                                                                                                                         12, somewhere
                                                                                                                                             somewhere in    in there.
                                                                                                                                                                  there.
  Uh




                                                                                         Os
  ·5· · · · · A.     No, no,
              A.· · ·No, no, just   the frequent
                               just the  frequent mood
                                                  mood swings.
                                                       swings.                                       Q. · ·Any
                                                                                         ·5· · · · · Q.·    Any other,other, besides
                                                                                                                                 besides what       you described
                                                                                                                                             what you     described for  for
              Q. · ·Got
  ·6· · · · · Q.·    Got it,
                          it, thank
                              thank you.
                                       you.                                                   me, any
                                                                                         ·6· ·me,    any other
                                                                                                           other inappropriate
                                                                                                                      inappropriate behavior,behavior, dirty
                                                                                                                                                           dirty jokes,
                                                                                                                                                                    jokes,




                                                                                         NO
  NO




  ·7· · · · · A.     You're welcome.
              A.· · ·You're welcome.                                                          sexual dialogue
                                                                                         ·7· ·sexual    dialogue that     that you
                                                                                                                                 you observed
                                                                                                                                        observed Ms. Ms. Alongi
                                                                                                                                                           Alongi engaging
                                                                                                                                                                      engaging
                     MR. VAN
  ·8· · · · · · · · ·MR.  VAN DYCK:·
                                DYCK: Next
                                         Next exhibit.
                                              exhibit.                                        in?
                                                                                         ·8· ·in?
  00




                                                                                         0
              Q. · ·(By
  ·9· · · · · Q.·     (By Mr.
                           Mr. Van
                               Van Dyck)·
                                    Dyck) While
                                            While   we are
                                                   we  are waiting
                                                           waiting                                   A. · ·Not
                                                                                         ·9· · · · · A.·    Not to  to thethe best
                                                                                                                               best ofof my
                                                                                                                                          my knowledge.
                                                                                                                                              knowledge.
  ©




                                                                                         ©
       for the
  10· ·for the exhibit,
               exhibit, you
                        you also testified yesterday
                            also testified yesterday that
                                                     that you
                                                          you                                         Q. · ·Did
                                                                                         10· · · · · Q.·       Did youyou everever raise
                                                                                                                                     raisethisissuewith
                                                                                                                                             this issue with




                                                                                        = Oo
                                                                                        Boe
       witnessed Gina
  11· ·witnessed   Gina Alongi
                         Alongi engaging
                                engaging in
                                         in lewd
                                            lewd behavior.·
                                                 behavior. Do
                                                            Do                                 anybody?
                                                                                         11· ·anybody?
       you recall
  12· ·you  recall that?
                   that?                                                                 12· · · · · A.       No.
                                                                                                      A.· · ·No.
              A. · ·Yes.
  13· · · · · A.·   Yes.                                                                              Q. · ·Did
                                                                                         13· · · · · Q.·       Did youyou everever participate
                                                                                                                                     participateinin the the sexual
                                                                                                                                                               sexual




                                                                                        w
                                                                                        =
              Q. · ·Please
  14· · · · · Q.·   Please provide
                             provide me
                                      me with
                                         with as
                                              as many
                                                 many examples
                                                       examples                                dialogue?
                                                                                         14· ·dialogue?
       as you
  15· ·as        can recall
            you can   recall about
                              about what
                                    what kind
                                          kind of
                                               of lewd
                                                  lewd behavior
                                                       behavior Ms.
                                                                Ms.                      15· · · · · A.       No.
                                                                                                      A.· · ·No.
       Alongi engaged
  16· ·Alongi engaged in.
                      in.                                                                             Q. · ·So
                                                                                         16· · · · · Q.·      Soyouwerejusta--
                                                                                                                    you were just a --
              A. · ·Well,
  17· · · · · A.·   Well, in
                          inthe  presence of
                             the presence of my
                                             my predecessor,
                                                predecessor,                             17· · · · · A.      Observer.
                                                                                                      A.· · ·Observer.
       Mr. Lou
  18· ·Mr.  Lou Rasetta,
                Rasetta, Gina
                          Gina and
                               and Lou
                                   Lou would    often engage
                                        would often    engage in
                                                              in                                      Q. · ·An
                                                                                         18· · · · · Q.·      An observer,
                                                                                                                     observer, aa passivepassive observer
                                                                                                                                                   observer who  who
       inappropriate behavior
  19· ·inappropriate  behavior such
                               such as
                                    as dirty
                                       dirty jokes,
                                             jokes, aalot  of
                                                       lot of                                  overheard this
                                                                                         19· ·overheard                   dialogue?
                                                                                                                 this dialogue?
       sexual dialogue
  20· ·sexual dialogue to
                       to their
                          their relationship
                                relationship out
                                             out in
                                                 in public,
                                                    public,                              20· · · · · A.
                                                                                                      A.· · ·I| didn't
                                                                                                                didn't overheard.·
                                                                                                                            overheard. I| was wasinthe
                                                                                                                                                    in the
       amongst me
  21· ·amongst  me anyways,
                    anyways, I| can
                                can say
                                     say that,
                                         that, all
                                               al in
                                                   in the
                                                      the                                      accompany of
                                                                                         21· ·accompany           of it.
                                                                                                                      it.
       workplace, all
  22· ·workplace, al within  the Fund
                      within the  Fund office,
                                        office, very
                                                very                                                  Q. · ·And
                                                                                         22· · · · · Q.·      And you          never complained
                                                                                                                       you never         complained to   to anybody
                                                                                                                                                             anybody aboutabout
       unprofessional as
  23· ·unprofessional as |I see
                            seeit.it.· So
                                       So there
                                          there were
                                                were times where
                                                     times where                               it?
                                                                                         23· ·it?
       she would
  24· ·she       engage in
           would engage in this
                           this type
                                type of
                                     of behavior.·
                                        behavior. That
                                                   That is
                                                        isthe
                                                           the                           24· · · · · A.       No, it
                                                                                                      A.· · ·No,     it waswas none
                                                                                                                                 noneof  of my
                                                                                                                                            my business.·
                                                                                                                                                business. It   It was
                                                                                                                                                                   was

                                                                      Page 10
                                                                      Page 10                                                                                   Page 12
                                                                                                                                                                Page 12

       environment that
  ·1· ·environment          that was
                                  was fostered
                                         fostered between
                                                      between thethe two.
                                                                      two.                    between them
                                                                                         ·1· ·between them two.
                                                                                                           two.
                                                                                         BE




              Q.
  ·2· · · · · Q.·  ·   Areyou finished?
                      ·Are    you    finished?                                                              MR. VAN
                                                                                         ·2· · · · · · · · ·MR.     DYCK: So
                                                                                                                VAN DYCK:· So why don't we
                                                                                                                              why don't we mark
                                                                                                                                           mark this
                                                                                                                                                this
                                                                                         WN




  ·3· · · · · A.       Now I'm
              A.· · ·Now       I'm finished.
                                     finished.                                                       as 27.
                                                                                         ·3· · · · · as  27.
              Q. · ·Okay.·
  ·4· · · · · Q.·      Okay. I'm   I'mreally
                                         really notnot interested
                                                         interested in  in your
                                                                           your          ·4
                                                                                         Uh




       opinions. I'm
  ·5· ·opinions.·        I'm really
                               really interested
                                         interested in   in what    you actually
                                                             what you      actually                         (Exhibit 27,
                                                                                         ·5· · · · · · · · ·(Exhibit 27, affidavit
                                                                                                                         affidavit of
                                                                                                                                   of John
                                                                                                                                       John
       observed, witnessed.
  ·6· ·observed,        witnessed.· You   You mentioned
                                                 mentioned inappropriate
                                                                 inappropriate                              Shaughnessy, marked
                                                                                         ·6· · · · · · · · ·Shaughnessy,   marked for
                                                                                                                                    for identification)
                                                                                                                                         identification)
                                                                                         NO




       behavior, dirty
  ·7· ·behavior,        dirty jokes,       sexual dialogue.·
                                jokes, sexual        dialogue. What What exactly
                                                                             exactly     ·7
       did you
  ·8· ·did    you observe?
                    observe?                                                                         Q. · ·(By
                                                                                         ·8· · · · · Q.·   (By Mr.
                                                                                                               Mr. Van
                                                                                                                   Van Dyck)·
                                                                                                                        Dyck) Mr.
                                                                                                                               Mr. McLaughlin,
                                                                                                                                   McLaughlin, I'mI'm
                                                                                         00




  ·9· · · · · A.       Her referencing,
              A.· · ·Her      referencing, you  you know,
                                                       know, Lou
                                                               Lou having
                                                                     having aa                showing you
                                                                                         ·9· ·showing     you what  has been
                                                                                                               what has been marked
                                                                                                                             marked for  identification as
                                                                                                                                     for identification as
                                                                                         ©




        big cock.
  10· ·big     cock.                                                                          Exhibit 27,
                                                                                         10· ·Exhibit 27, which isthe
                                                                                                          which is     affidavit of
                                                                                                                   the affidavit of John Shaughnessy.
                                                                                                                                    John Shaughnessy.
                Q. · ·Anything
  11· · · · · Q.·       Anything else?  else?                                                               Have you
                                                                                         11· · · · · · · · ·Have you reviewed
                                                                                                                     reviewed this
                                                                                                                              this document
                                                                                                                                   document before
                                                                                                                                            before
                A. · ·There
  12· · · · · A.·       There waswas aacommon
                                           common banterbanter between
                                                                 between the the two
                                                                                 two          today?
                                                                                         12· ·today?
        about him
  13· ·about      him bragging
                         bragging aboutabout hishis --
                                                     -- the
                                                        the size
                                                             size of
                                                                   of his
                                                                       his                           A. · ·I| have,
                                                                                         13· · · · · A.·      have, yes.
                                                                                                                    yes.
        genitalia
  14· ·genitalia       and her
                       and   her liking
                                   liking the
                                            the discussion,
                                                 discussion, so  so they
                                                                     they would
                                                                            would                    Q. · ·Do
                                                                                         14· · · · · Q.·   Doyou   recall when
                                                                                                              you recall       the last
                                                                                                                          when the last time was that
                                                                                                                                        time was that
        engage in
  15· ·engage       in that
                        that type
                               type ofof behavior.
                                          behavior.                                           you reviewed
                                                                                         15· ·you    reviewed it?
                                                                                                               it?
                Q. · ·Anything
  16· · · · · Q.·       Anything else   elseyou
                                              you can      recall?
                                                     can recall?                         16· · · · · A.     Week ago.
                                                                                                     A.· · ·Week ago.
                A. · ·A
  17· · · · · A.·       Alot    of that
                           lot of   that particular.
                                           particular.                                                      So he
                                                                                         17· · · · · Q.· · ·So hewas
                                                                                                                  was aa trustee with you,
                                                                                                                         trustee with you, correct?
                                                                                                                                           correct?
                Q. · ·When
  18· · · · · Q.·       When you  you saysay "a"alot,"      how many
                                                    lot," how     many times
                                                                           timesdid
                                                                                  did                       Yes.
                                                                                         18· · · · · A.· · ·Yes.
        you, your
  19· ·you,             self, observe?
                 yourself,     observe?                                                                     And he
                                                                                         19· · · · · Q.· · ·And  he was
                                                                                                                    was on
                                                                                                                        on the management side?
                                                                                                                           the management side?
                A. · ·Several.
  20· · · · · A.·       Several.                                                                            Yes.
                                                                                         20· · · · · A.· · ·Yes.
                Q. · ·More
  21· · · · · Q.·       Morethan than 10? 10?                                                        Q. · ·And
                                                                                         21· · · · · Q.·   And during
                                                                                                                during the
                                                                                                                        thetimethat
                                                                                                                            time that you  and he
                                                                                                                                      you and  hewere
                                                                                                                                                  were
                A. · ·Could
  22· · · · · A.·       Could be.·be. I| don't
                                          don't have
                                                   have the
                                                          the exact
                                                              exact number.
                                                                      number.                 both trustees,
                                                                                         22· ·both    trustees, how
                                                                                                                how would
                                                                                                                     would you  describe your
                                                                                                                            you describe  your
                Q. · ·I'm
  23· · · · · Q.·       I'mnot       asking for
                               not asking      for anan exact
                                                          exact number.·
                                                                  number. I'm  I'm            relationship?
                                                                                         23· ·relationship?
        asking for
  24· ·asking      for an an estimate
                               estimate or   or aarange.
                                                    range.                                           A. · ·Not
                                                                                         24· · · · · A.·   Not aaclose  relationship whatsoever.
                                                                                                                  close relationship whatsoever.


                                         O'Brien &
                                         O'Brien & Levine,
                                                    Levine, AA Magna
                                                               Magna Legal
                                                                      Legal Services
                                                                            Services Company
                                                                                     Company                                                                   Pages 9–12
                                                                                                                                                               Pages 9-12
                                                                                                                                                           D. App. 046
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Ginamarie Alongi,
Ginamarie   Along, et
                    et al.
                       al. vs
                           vs                                William Dennis McLaughlin
                                                             William Dennis  McLaughlin
luoe Local
Iuoe Local 44 Health
              Health && Welfare
                         Welfare Fund,
                                 Fund, et
                                       et al.
                                          al.                              June 09,
                                                                           June 09, 2022
                                                                                    2022
                                                                          Page 37
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       That'san
  ·1· ·That's     an extreme
                     extreme issue.·
                                   issue. YouYou can't
                                                    can't steal
                                                             steal money
                                                                      money from
                                                                               from          ·1· ·work?




                                                                                             BE
  BE


       the organization
  ·2· ·the   organization like like that.
                                       that.                                                 ·2· · · · · A.· · ·No.




                                                                                             WN
  WN




              Q. · ·I| guess
  ·3· · · · · Q.·        guessmy        question for
                                  my question          for the      moment is
                                                             the moment          is                      Q. · ·Have
                                                                                             ·3· · · · · Q.·      Haveyou          ever had
                                                                                                                            you ever       had sexual
                                                                                                                                                   sexual relations,
                                                                                                                                                             relations, anyany
       whether you
  ·4· ·whether       you have
                            have any any reason
                                           reason to   to believe
                                                            believe thatthat paragraph
                                                                               paragraph          kind of
                                                                                             ·4· ·kind     of sexual
                                                                                                               sexual relations
                                                                                                                           relations with with any any Fund
                                                                                                                                                         Fund employee?
                                                                                                                                                                  employee?




                                                                                             Uhh
  ohh




       17 is
  ·5· ·17    isinaccurate?
                inaccurate?                                                                  ·5· · · · · A.      No.
                                                                                                         A.· · ·No.
              A. · ·Again,
  ·6· · · · · A.·     Again, I| don't
                                   don't know
                                            know if  if she
                                                         she waswas written
                                                                      written up up                      Q. · ·In
                                                                                             ·6· · · · · Q.·      In paragraph
                                                                                                                       paragraph nine,   nine, Ms. Ms. Dow
                                                                                                                                                         Dow states,
                                                                                                                                                                 states, quote,
                                                                                                                                                                           quote,
  No




                                                                                             NO
       or penalized
  ·7· ·or   penalized overover this
                                  this issue.
                                         issue.                                                   "In addition,
                                                                                             ·7· ·"In    addition, just          before the
                                                                                                                         just before        the Funds
                                                                                                                                                   Funds 20192019 Christmas
                                                                                                                                                                     Christmas
              Q. · ·Again,
  ·8· · · · · Q.·     Again, you you don't
                                         don't know
                                                  know one  one wayway or  or the
                                                                              the                 party, Mr.
                                                                                             ·8· ·party,      Mr. McLaughlin
                                                                                                                     McLaughlin came       came to      my office
                                                                                                                                                    to my     office doorway
                                                                                                                                                                       doorway andand




                                                                                             00
  00




       other, correct?
  ·9· ·other,     correct?                                                                        told me
                                                                                             ·9· ·told    methat,       quote, Gina
                                                                                                                that, quote,        Gina is  is aa selfish
                                                                                                                                                    selfish fucking
                                                                                                                                                              fucking bitch,"
                                                                                                                                                                          bitch,"
  ©




                                                                                             ©
               A. · ·Correct.
  10· · · · · A.·      Correct.                                                                    end quote.·
                                                                                             10· ·end     quote. Do    Do you       recall making
                                                                                                                            you recall        making that         statement?
                                                                                                                                                          that statement?
               Q. · ·Fair
  11· · · · · Q.·      Fair enough.·
                              enough. And     And with
                                                     with respect
                                                               respect to  to this
                                                                              this                        A. · ·Not
                                                                                             11· · · · · A.·       Not particularly,
                                                                                                                          particularly, no.   no.
        purported check
  12· ·purported         check that        she cut
                                    that she     cut for
                                                       for herher boyfriend,
                                                                     boyfriend, when when                 Q. · ·I| don't
                                                                                             12· · · · · Q.·         don't knowknow what what you        mean by
                                                                                                                                                   you mean       by "not
                                                                                                                                                                       " not
        did you
  13· ·did    you become
                     become aware awar    e of
                                             of that?
                                                that?                                              particularly." Is
                                                                                             13· ·particularly."·           lIsitit that
                                                                                                                                    that you       don't --
                                                                                                                                           you don't       -- that
                                                                                                                                                               that you
                                                                                                                                                                      you could
                                                                                                                                                                            could
               A. · ·I| believe
  14· · · · · A.·        believeinin and and around
                                               around the  the time
                                                                  time inin which
                                                                             which                 have made
                                                                                             14· ·have        made that      statement but
                                                                                                                      that statement           but youyou just     don't recall
                                                                                                                                                            just don't     recall or
                                                                                                                                                                                  or
  15· ·itit happened
            happened somewhere
                          somewhere in       in early
                                                early September.
                                                         September.                                that --
                                                                                             15· ·that     --
               Q. · ·And
  16· · · · · Q.·      And do do you       have any
                                    you have       any reason
                                                           reason to   to believe
                                                                           believe                        A. · ·I| don't
                                                                                             16· · · · · A.·         don'trecal.
                                                                                                                             recall.
        that that
  17· ·that     that played
                       played any any roleroleinin her
                                                    her termination?
                                                           termination?                                   Q. · ·So
                                                                                             17· · · · · Q.·       Soit'spossible
                                                                                                                        it's possible you    you maymay have
                                                                                                                                                          have made made that
                                                                                                                                                                            that
               A. · ·Idon't
  18· · · · · A.·                believeso.
                         don't believe             Several years
                                              so.· Several       yearslater,
                                                                          later,                   statement.
                                                                                             18· ·statement.
        four years
  19· ·four     years later,
                        later, I| don't
                                   don't believe
                                           believe so. so.                                                A. · ·Irealy
                                                                                             19· · · · · A.·                   don't recall
                                                                                                                     really don't      recall that.
                                                                                                                                                  that.
                     MR. VAN
  20· · · · · · · · ·MR.    VAN DYCK:·DYCK: Why    Why don't don't wewe go go to
                                                                              to the
                                                                                   the Dow
                                                                                       Dow                Q. · ·Do
                                                                                             20· · · · · Q.·       Doyou        recall saying
                                                                                                                         you recall       saying any  any wordsto
                                                                                                                                                            words to that that
               affidavit.
  21· · · · · affidavit.                                                                           effect?
                                                                                             21· ·effect?
  22                                                                                                      A. · ·No.
                                                                                             22· · · · · A.·       No.
                     (Exhibit 29,
  23· · · · · · · · ·(Exhibit     29, affidavit
                                        affidavit of  of Jennifer
                                                          Jennifer Dow, Dow,                              Q. · ·If
                                                                                             23· · · · · Q.·       Ifyou     had said
                                                                                                                       you had       said those
                                                                                                                                             those words,
                                                                                                                                                       words, would
                                                                                                                                                                 would you you
                     marked for
  24· · · · · · · · ·marked      for identification)
                                       identification)                                             agree they
                                                                                             24· ·agree       they would
                                                                                                                     would have   have been
                                                                                                                                         been inappropriate?
                                                                                                                                                   inappropriate?

                                                                          Page 38
                                                                          Page 38                                                                                    Page 40
                                                                                                                                                                     Page 40

              Q. · ·(By
  ·1· · · · · Q.·     (By Mr.
                            Mr.Van        Dyck) Why
                                  Van Dyck)·        Why don't
                                                            don't I| take
                                                                      take those
                                                                            those            ·1· · · · · A.     If I| had
                                                                                                         A.· · ·If    had said
                                                                                                                          said those,
                                                                                                                               those, do
                                                                                                                                      do |I feel
                                                                                                                                            feel they
                                                                                                                                                 they would
                                                                                                                                                      would
                                                                                             BE




       from you
  ·2· ·from     you soso we
                          we can
                               can keep
                                     keep thethe table
                                                   table clean,
                                                           clean, thanks.
                                                                   thanks.                        have been
                                                                                             ·2· ·have    been inappropriate?
                                                                                                                  inappropriate?
                                                                                             WN




              A. · ·You're
  ·3· · · · · A.·     You'rewelcome.
                               welcome.                                                                  Q. · ·Yes.
                                                                                             ·3· · · · · Q.·   Yes
              Q. · ·I'm
  ·4· · · · · Q.·     I'm showing
                            showing you you what
                                               what has has been
                                                             been marked
                                                                    marked for  for          ·4· · · · · A.     Yes
                                                                                                         A.· · ·Yes.
                                                                                             Ohh




       identification as
  ·5· ·identification       as Exhibit
                                 Exhibit 29,29, the
                                                  the affidavit
                                                       affidavit ofof Jennifer
                                                                       Jennifer                          Q. · ·Now,
                                                                                             ·5· · · · · Q.·    Now, as
                                                                                                                     as of
                                                                                                                        of December
                                                                                                                           December 2019,
                                                                                                                                    2019, did
                                                                                                                                          did you
                                                                                                                                              you believe
                                                                                                                                                  believe
       Dow. Have
  ·6· ·Dow.·      Have youyou seen
                                seen this
                                       this document
                                              document beforebefore today?
                                                                      today?                      that Gina
                                                                                             ·6· ·that Gina was
                                                                                                            was aa selfish
                                                                                                                   selfish fucking bitch?
                                                                                                                           fucking bitch?
                                                                                             NO




              A. · ·I| have.
  ·7· · · · · A.·       have                                                                 ·7· · · · · A.     Yes
                                                                                                         A.· · ·Yes.
              Q. · ·And
  ·8· · · · · Q.·     And when
                             when is isthelast       timeyou
                                         the last time            reviewed
                                                            you reviewed                                 Q. · ·And
                                                                                             ·8· · · · · Q.·    And why  so?
                                                                                                                     why so?
                                                                                             0




       this document?
  ·9· ·this   document?                                                                      ·9· · · · · A.     Again, as
                                                                                                         A.· · ·Again, asl I explained
                                                                                                                             explained yesterday, that the
                                                                                                                                       yesterday, that the
                                                                                             ©




               A. · ·Approximately
  10· · · · · A.·     Approximately aaweek             ago.
                                               week ago.                                          way she
                                                                                             10· ·way she took
                                                                                                          took advantage
                                                                                                               advantage of
                                                                                                                         of the operating engineers
                                                                                                                            the operating engineers Local
                                                                                                                                                    Local
               Q. · ·You
  11· · · · · Q.·      You worked
                              worked with         Jennifer Dow?
                                          with Jennifer       Dow?                           11· ·44 with  her need
                                                                                                     with her  need to
                                                                                                                    to take
                                                                                                                       take care
                                                                                                                            care of
                                                                                                                                  of her
                                                                                                                                     her first.·
                                                                                                                                         first. See,
                                                                                                                                                 See, Gina
                                                                                                                                                        Gina
               A. · ·Yes.
  12· · · · · A.·      Yes.                                                                        isnot
                                                                                             12· ·is not aamember.    She doesn't
                                                                                                            member.· She   doesn't know
                                                                                                                                    know what     it's like
                                                                                                                                           what it's   like to be
                                                                                                                                                            to be
               Q. · ·And
  13· · · · · Q.·      And do doyou     recall approximately
                                  you recall       approximately for       how
                                                                       for how               13· ·aamember of Local
                                                                                                    member of Local 4
                                                                                                                    4 where
                                                                                                                      where this temple, this
                                                                                                                            this temple, this temple
                                                                                                                                              temple of
                                                                                                                                                     of
        long you
  14· ·long     you worked
                      worked with         her?
                                  with her?                                                       organized labor
                                                                                             14· ·organized   labor is
                                                                                                                     is very
                                                                                                                        very near
                                                                                                                              near and
                                                                                                                                   and dear
                                                                                                                                       dear to
                                                                                                                                            to us.·
                                                                                                                                                us. She
                                                                                                                                                    She used
                                                                                                                                                        used
               A. · ·Well,
  15· · · · · A.·     Well, I| became
                                 became business
                                            business representative,
                                                         representative,                          this as
                                                                                             15· ·this as her
                                                                                                          her little
                                                                                                              little cash
                                                                                                                     cash cow,
                                                                                                                           cow, coming
                                                                                                                                 coming and
                                                                                                                                         and going
                                                                                                                                              going whenever
                                                                                                                                                     whenever
        as |I stated
  16· ·as      stated yesterday,
                        yesterday, in in 2014.·
                                          2014. So  So from
                                                        from that
                                                               that point
                                                                     point                        she wanted
                                                                                             16· ·she        to, her
                                                                                                      wanted to, her lavish
                                                                                                                     lavish spending,
                                                                                                                            spending, you
                                                                                                                                      you know,
                                                                                                                                          know, the
                                                                                                                                                the way
                                                                                                                                                    way
        forward --
  17· ·forward      -- I'm
                        I'm sorry,
                             sorry, 2004,
                                     2004, my  my bad.
                                                    bad.                                          she --
                                                                                             17· ·she -- you know, it's
                                                                                                         you know,  it's not
                                                                                                                         not necessary
                                                                                                                             necessary to  have two
                                                                                                                                        to have two cell
                                                                                                                                                     cell
               Q. · ·That's
  18· · · · · Q.·      That'sall     right. How
                                 all right.·    How would
                                                       would youyou describe
                                                                      describe                    phones. Why
                                                                                             18· ·phones.·       do you
                                                                                                            Why do  you have
                                                                                                                          have two  cell phones
                                                                                                                                two cell phones paid
                                                                                                                                                 paid for  by
                                                                                                                                                       for by
        your working
  19· ·your      working relationship
                              relationship with  with Ms.
                                                        Ms. Dow
                                                              Dow during
                                                                     during that
                                                                              that                the local
                                                                                             19· ·the local union?·
                                                                                                            union? Why
                                                                                                                    Why do
                                                                                                                        do you drive around
                                                                                                                           you drive around in
                                                                                                                                            in aa Cadillac
                                                                                                                                                  Cadillac
        time?
  20· ·time?                                                                                      Escalade on
                                                                                             20· ·Escalade on the
                                                                                                               the backs
                                                                                                                    backs of
                                                                                                                          of the members? It's
                                                                                                                             the members?·   It's their
                                                                                                                                                  their
                       Good, friendly.
  21· · · · · A.· · ·Good,      friendly.                                                         money. So
                                                                                             21· ·money.· So her
                                                                                                              her behavior
                                                                                                                   behavior would   indicate such.·
                                                                                                                             would indicate  such. So So that's
                                                                                                                                                         that's
                       Professional?
  22· · · · · Q.· · ·Professional?                                                                my opinion,
                                                                                             22· ·my opinion, yes.
                                                                                                              yes.
                       Pretty much.
  23· · · · · A.· · ·Pretty    much.                                                                     Q. · ·So,
                                                                                             23· · · · · Q.·   So, again,
                                                                                                                    again, just
                                                                                                                           just to be clear,
                                                                                                                                to be         as of
                                                                                                                                      clear, as  of
                       Did you
  24· · · · · Q.· · ·Did     you and
                                   and sheshe ever
                                                ever socialize
                                                      socialize outside
                                                                   outside ofof                   December 2019,
                                                                                             24· ·December       2019, you
                                                                                                                        you thought
                                                                                                                             thought Gina
                                                                                                                                      Gina was
                                                                                                                                             was aa selfish
                                                                                                                                                    selfish fucking
                                                                                                                                                            fucking


                                           O'Brien &
                                           O'Brien & Levine,
                                                      Levine, AA Magna
                                                                 Magna Legal
                                                                        Legal Services
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Ginamarie   Along, et
                    et al.
                       al. vs
                           vs                                William Dennis McLaughlin
                                                             William Dennis  McLaughlin
luoe Local
Iuoe Local 44 Health
              Health && Welfare
                         Welfare Fund,
                                 Fund, et
                                       et al.
                                          al.                              June 09,
                                                                           June 09, 2022
                                                                                    2022
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       bitch.
  ·1· ·bitch.                                                                                    and you
                                                                                            ·1· ·and     think it
                                                                                                     you think it was
                                                                                                                  was just one conversation
                                                                                                                      just one conversation or
                                                                                                                                            or could
                                                                                                                                               could it
                                                                                                                                                     it




                                                                                            WNP
              A. · ·No,
  ·2· · · · · A.·       No, I| thought
                                thought she  she was
                                                 was selfish.
                                                       selfish.                                  have been
                                                                                            ·2· ·have been more?
                                                                                                           more?
              Q. · ·The
  ·3· · · · · Q.·       Therecordisgoing
                               record is going to    to speak
                                                         speak for  for itself.
                                                                          itself.                       A. · ·Could
                                                                                            ·3· · · · · A.·   Could have
                                                                                                                    have been
                                                                                                                         been more.·
                                                                                                                              more. Thiswasan
                                                                                                                                     This was an
       You just
  ·4· ·You             said it.
               just said      it.                                                                annual. So
                                                                                            ·4· ·annual.· So this
                                                                                                             this was
                                                                                                                  was her
                                                                                                                      her bragging
                                                                                                                          bragging about,
                                                                                                                                   about, you
                                                                                                                                          you know,
                                                                                                                                              know, my
                                                                                                                                                    my




                                                                                            bh
              A. · ·That's
  ·5· · · · · A.·      That'sfine,        good.
                                  fine, good.                                                    trip and,
                                                                                            ·5· ·trip and, you
                                                                                                           you know,
                                                                                                               know, I| gotta
                                                                                                                        gotta get
                                                                                                                              get ready
                                                                                                                                  ready for my trip.
                                                                                                                                        for my trip.




                                                                                            Oo
                      MS. MARKOWSKI:·
  ·6· · · · · · · · ·MS.     MARKOWSKI: Objection.   Objection.                                         Q. · ·In
                                                                                            ·6· · · · · Q.·   In paragraph
                                                                                                                 paragraph 12
                                                                                                                           12 of
                                                                                                                              of Ms.
                                                                                                                                 Ms. Dow's
                                                                                                                                     Dow's affidavit,
                                                                                                                                           affidavit,




                                                                                            No
              Q. · ·(By
  ·7· · · · · Q.·       (By Mr.
                              Mr. Van  Van Dyck)·
                                             Dyck) Good
                                                      Good thatthat you you just
                                                                               just              she states,
                                                                                            ·7· ·she states, on
                                                                                                             on many
                                                                                                                many occasions
                                                                                                                     occasions Mr.
                                                                                                                               Mr. --
                                                                                                                                   -- I'm
                                                                                                                                      I'm sorry,
                                                                                                                                          sorry, strike
                                                                                                                                                 strike
       said it?
  ·8· ·said    it?                                                                               that.
                                                                                            ·8· ·that.




                                                                                            00
                      MR. VAN
  ·9· · · · · · · · ·MR.     VAN DYCK:· DYCK: That's
                                                  That's   aa question.
                                                              question.                                        In paragraph
                                                                                            ·9· · · · · · · · ·In paragraph 12
                                                                                                                            12 of
                                                                                                                               of her
                                                                                                                                  her affidavit,
                                                                                                                                      affidavit, Ms.
                                                                                                                                                 Ms. Dow
                                                                                                                                                     Dow




                                                                                            ©
                       MS. MARKOWSKI:·
  10· · · · · · · · ·MS.      MARKOWSKI: Objection.   Objection.                                 states, "Mr.
                                                                                            10· ·states, "Mr. McLaughlin
                                                                                                              McLaughlin also
                                                                                                                         also told
                                                                                                                              told me
                                                                                                                                   me that
                                                                                                                                      that when he
                                                                                                                                           when he




                                                                                           N PO
                                                                                           Or
                       MR. VAN
  11· · · · · · · · ·MR.      VAN DYCK:· DYCK: Objection
                                                   Objection noted.noted.                        worked with
                                                                                            11· ·worked      my husband
                                                                                                        with my husband on
                                                                                                                        on a
                                                                                                                           a job around 2004
                                                                                                                             job around 2004 he
                                                                                                                                             he saw
                                                                                                                                                saw my
                                                                                                                                                    my
                       MS. MARKOWSKI:·
  12· · · · · · · · ·MS.      MARKOWSKI: That's       That'sfine.        I'm just
                                                                fine.· I'm     just              husband, aa member
                                                                                            12· ·husband,    member of
                                                                                                                    of the carpenter'sunion,
                                                                                                                       the carpenter's union,
               objecting to
  13· · · · · objecting        to it.
                                   it.                                                           quote/unquote, checking
                                                                                            13· ·quote/unquote, checking out
                                                                                                                         out women on the
                                                                                                                             women on thejob  site” Do
                                                                                                                                          job site."· Do
               Q. · ·(By
  14· · · · · Q.·        (By Mr.Mr. Van       Dyck) Do
                                        Van Dyck)·     Do you       feel good
                                                             you feel      good that
                                                                                  that           you recall
                                                                                            14· ·you recall that?
                                                                                                            that?
        you said
  15· ·you     said it? it?                                                                 15· · · · · A.     Yes
                                                                                                        A.· · ·Yes.
               A. · ·Come
  16· · · · · A.·        Comeagain?again?                                                                      Do you
                                                                                            16· · · · · Q.· · ·Do you think it might
                                                                                                                      think it might have
                                                                                                                                     have happened?
                                                                                                                                          happened?
               Q. · ·Do
  17· · · · · Q.·        Doyouyou feelfeel good
                                            good that
                                                  that you
                                                         you just       called
                                                               just called                  17· · · · · A.· · ·I| don't
                                                                                                                  don't think
                                                                                                                        think so.
                                                                                                                              so.
        Gina aa selfish
  18· ·Gina          selfish fucking
                                 fucking bitch?
                                             bitch?                                                            So you
                                                                                            18· · · · · Q.· · ·So     think she's
                                                                                                                  you think she'slying  here.
                                                                                                                                  lying here.
                       MS. MARKOWSKI:·
  19· · · · · · · · ·MS.      MARKOWSKI: Objection.   Objection.                                               That's correct.
                                                                                            19· · · · · A.· · ·That's correct.
                      THE WITNESS:·
  20· · · · · · · · ·THE       WITNESS: I| speak  speak the
                                                          the truth.
                                                                 truth.                                 Q. · ·In
                                                                                            20· · · · · Q.·   In paragraph
                                                                                                                 paragraph 13
                                                                                                                           13 Ms.
                                                                                                                              Ms. Dow
                                                                                                                                  Dow states
                                                                                                                                      states under
                                                                                                                                             under
               Q. · ·(By
  21· · · · · Q.·        (By Mr.Mr. Van Van Dyck)·
                                              Dyck) So,So, I| guess,
                                                               guess, is  isitit                 oath, "On
                                                                                            21· ·oath, " On many
                                                                                                            many occasions
                                                                                                                 occasions Mr.
                                                                                                                           Mr. McLaughlin
                                                                                                                               McLaughlin would talk to
                                                                                                                                          would talk to
        fair to
  22· ·fair    to say
                    say that
                           that asasof  of December
                                           December 2019 2019 you you wanted
                                                                         wanted GinaGina         me about
                                                                                            22· ·me about other
                                                                                                          other peoples'
                                                                                                                peoples sexual
                                                                                                                         sexual activity
                                                                                                                                activity in
                                                                                                                                         in graphic
                                                                                                                                            graphic
        gone?
  23· ·gone?                                                                                     detail." Is
                                                                                            23· ·detail."· Isthat  statement true?
                                                                                                              that statement true?
                       MS. MARKOWSKI:·
  24· · · · · · · · ·MS.      MARKOWSKI: Objection.   Objection.                            24· · · · · A.     It'snot.
                                                                                                        A.· · ·It's not.

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                                                                         Page 42                                                                        Page 44
                                                                                                                                                        Page 44

                     THE WITNESS:·
  ·1· · · · · · · · ·THE WITNESS: Not
                                   Not necessarily.
                                       necessarily.                                                     Q. · ·Do
                                                                                            ·1· · · · · Q.·   Doyou  ever recall
                                                                                                                 you ever recall talking to Ms.
                                                                                                                                 talking to Ms. Dow
                                                                                                                                                Dow
                                                                                            BP




              Q. · ·(By
  ·2· · · · · Q.·   (By Mr.
                        Mr. Van
                            Van Dyck)·
                                Dyck) Even
                                       Even though
                                            though you
                                                   you                                           about other
                                                                                            ·2· ·about other peoples'
                                                                                                             peoples sexual
                                                                                                                      sexual activity?
                                                                                                                             activity?
                                                                                            WN




       thought she
  ·3· ·thought she was
                   was --
                       --                                                                               A. · ·I|don't.
                                                                                            ·3· · · · · A.·      don't.
              A. · ·I| put
  ·4· · · · · A.·      put up
                           up with
                              with aalot  of stuff.·
                                      lot of stuff. None
                                                     None rose
                                                          rose                                          Q. · ·Do
                                                                                            ·4· · · · · Q.·   Doyou  think she's
                                                                                                                 you think she'slying  in paragraph
                                                                                                                                 lying in paragraph --
                                                                                                                                                    --
                                                                                            BA




       to the
  ·5· ·to the level
              level of
                    of termination
                       termination at
                                   at that
                                      that point.·
                                           point. Selfish,
                                                   Selfish,                                             A. · ·Yes.
                                                                                            ·5· · · · · A.·   Yes
                                                                                            UO




       yes. Coming
  ·6· ·yes.· Coming and
                    and going,
                        going, didn't
                               didn't think
                                      think itit was right.
                                                 was right.                                             Q. · ·I'm
                                                                                            ·6· · · · · Q.·   I'm sorry,
                                                                                                                  sorry, you need to
                                                                                                                         you need to let
                                                                                                                                     let me
                                                                                                                                         me finish.
                                                                                                                                            finish.
                                                                                            NO




       Again, nothing
  ·7· ·Again, nothing --
                      -- at
                         at that
                            that point
                                 point I| tolerated
                                          tolerated an
                                                    an awful
                                                       awful                                                   Do you
                                                                                            ·7· · · · · · · · ·Do     believe she's
                                                                                                                  you believe she's lying
                                                                                                                                    lying in
                                                                                                                                          in paragraph
                                                                                                                                             paragraph
       lot. But
  ·8· ·lot.· But at
                 at that
                    that point,
                         point, nothing
                                nothing rose
                                        rose to
                                             to the
                                                the level
                                                    level of
                                                          of                                     13 of
                                                                                            ·8· ·13 of her
                                                                                                       her affidavit?
                                                                                                           affidavit?
                                                                                            00




       termination. I| dealt
  ·9· ·termination.·   dealt with
                             with it.
                                  it.                                                                   A. · ·Yes.
                                                                                            ·9· · · · · A.·   Yes.
                                                                                            ©




              Q. · ·So
  10· · · · · Q.·   Soinin paragraph
                           paragraph 11
                                     11 of
                                        of Ms.
                                           Ms. Dow's
                                               Dow's affidavit
                                                     affidavit                                          Q. · ·And,
                                                                                            10· · · · · Q.·   And, |I believe,
                                                                                                                      believe, we
                                                                                                                               we went
                                                                                                                                  went over
                                                                                                                                       over this
                                                                                                                                            this
       she states,
  11· ·she states, "On
                   " On multiple
                        multiple occasions
                                 occasions around
                                           around the
                                                  the time
                                                      time of
                                                           of                                    yesterday but
                                                                                            11· ·yesterday but I'm
                                                                                                               I'm going
                                                                                                                   going to
                                                                                                                         to just make sure
                                                                                                                            just make sure I| covered
                                                                                                                                              covered my
                                                                                                                                                      my
       when she
  12· ·when she would
                would go
                      go to
                         to Aruba, Mr. McLaughlin
                            Aruba, Mr. McLaughlin asked
                                                  asked me
                                                        me                                  12· ·--
       whether I| wore
  13· ·whether    wore aa one-piece
                          one-piece bathing
                                    bathing suit
                                            suit or
                                                 or aa two-piece
                                                       two-piece                                        A. · ·I| will
                                                                                            13· · · · · A.·           grab aaglass
                                                                                                                 will grab          of water.
                                                                                                                              glass of water.
       bathing suit."·
  14· ·bathing suit." Does
                       Does that
                            that refresh
                                 refresh your
                                         your recollection
                                              recollection at
                                                           at                                           Q. · ·Please,
                                                                                            14· · · · · Q.·   Please, take
                                                                                                                      takeyour  time.
                                                                                                                           your time.
       all about
  15· ·all about whether
                 whether you
                         you have
                             have made
                                  made those
                                       those statements
                                             statementsto
                                                        to                                                     MS. MARKOWSKI:·
                                                                                            15· · · · · · · · ·MS. MARKOWSKI: Tim,
                                                                                                                               Tim, at
                                                                                                                                    at some
                                                                                                                                       some point
                                                                                                                                            point in
                                                                                                                                                  in the
                                                                                                                                                     the
       her?
  16· ·her?                                                                                             next five
                                                                                            16· · · · · next five or
                                                                                                                  or ten minutes.
                                                                                                                     ten minutes.
              A. · ·So,
  17· · · · · A.·   So, again,
                        again, she
                               she made
                                   made aa comment
                                           comment about
                                                   about her
                                                         her                                                   MR. VAN
                                                                                            17· · · · · · · · ·MR. VAN DYCK:·
                                                                                                                       DYCK: That's
                                                                                                                              That'sfine.
                                                                                                                                     fine.
       annual trip
  18· ·annual trip to
                   to Aruba
                      Aruba and
                            and mentioned
                                mentioned she
                                          she wasn't
                                              wasn't eating
                                                     eating                                                    THE WITNESS:
                                                                                            18· · · · · · · · ·THE           Thank you.
                                                                                                                   WITNESS:· Thank you.
       the sugary
  19· ·the sugary sweets,
                  sweets, cookies,
                          cookies, chocolates
                                   chocolates that
                                              that were
                                                   were                                                 Q. · ·(By
                                                                                            19· · · · · Q.·   (By Mr.
                                                                                                                  Mr. Van
                                                                                                                      Van Dyck)·
                                                                                                                          Dyck) In
                                                                                                                                 In paragraph
                                                                                                                                    paragraph 15
                                                                                                                                              15 of
                                                                                                                                                 of her
                                                                                                                                                    her
       available in
  20· ·available in the
                    the common
                        common area
                               area and
                                    and she
                                        she said,
                                            said, "I'm
                                                  "I'm not
                                                       not                                       affidavit Ms.
                                                                                            20· ·affidavit Ms. Dow
                                                                                                               Dow states,
                                                                                                                   states, "I
                                                                                                                           "| frequently overheard
                                                                                                                              frequently overheard
       having any
  21· ·having any of
                  of those
                     those because
                           because I| am
                                      am preparing
                                         preparing to
                                                   to go
                                                      go to
                                                         to                                      Mr. McLaughlin
                                                                                            21· ·Mr. McLaughlin refer
                                                                                                                refer to
                                                                                                                      to Ms.
                                                                                                                         Ms. Hickey
                                                                                                                             Hickey as a, quote/unquote,
                                                                                                                                    as a, quote/unquote,
       Aruba, and
  22· ·Aruba, and I| have
                     have to
                          to get
                             get into
                                 into my
                                      my two-piece
                                         two-piece bathing
                                                   bathing                                       fire crotch
                                                                                            22· ·fire crotch because
                                                                                                             because she
                                                                                                                     she has
                                                                                                                         hasred  hair." Does
                                                                                                                             red hair."· Doesthat
                                                                                                                                              that
       suit.”
  23· ·suit."                                                                                    refresh your
                                                                                            23· ·refresh your recollection
                                                                                                              recollection at
                                                                                                                           at all
                                                                                                                              all as
                                                                                                                                  astoto whether you may
                                                                                                                                         whether you may
              Q. · ·And
  24· · · · · Q.·   And so
                        soyou  testified already
                           you testified already about
                                                 about that,
                                                       that,                                     have done
                                                                                            24· ·have done that?
                                                                                                           that?



                                          O'Brien &
                                          O'Brien & Levine,
                                                     Levine, AA Magna
                                                                Magna Legal
                                                                       Legal Services
                                                                             Services Company
                                                                                      Company                                                          Pages 41–44
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                       al. vs
                           vs                                William Dennis McLaughlin
                                                             William Dennis  McLaughlin
luoe Local
Iuoe Local 44 Health
              Health && Welfare
                         Welfare Fund,
                                 Fund, et
                                       et al.
                                          al.                              June 09,
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       isthat
  ·1· ·is         correct?
           that correct?                                                                                          THE WITNESS:·
                                                                                               ·1· · · · · · · · ·THE WITNESS: Please.
                                                                                                                                Please.
   BP




                                                                                               WDNR
                     Yes.
  ·2· · · · · A.· · ·Yes.                                                                      ·2
   WN




                     Have you
  ·3· · · · · Q.· · ·Have      you reviewed
                                     reviewed this         document?
                                                   this document?                                                 * ·(Question
                                                                                               ·3· · · · · · · · ·*· (Question read)
                                                                                                                               read)
                     Yes.
  ·4· · · · · A.· · ·Yes.                                                                      ·4
   Bh




                                                                                               bh
                     And havehave you      reviewed it     it in
                                                              in preparation
                                                                  preparation                                     THE WITNESS:
                                                                                                                      WITNESS:· I| know
                                                                                                                                   know Gina
                                                                                                                                        Gina worked
                                                                                                                                             worked for
                                                                                                                                                    for the
                                                                                                                                                        the
   Ol




  ·5· · · · · Q.· · ·And             you reviewed                                              ·5· · · · · · · · ·THE




                                                                                               Oo
       for today's
  ·6· ·for   today's deposition?
                        deposition?                                                                        coalition. I| know
                                                                                               ·6· · · · · coalition.·   know she
                                                                                                                              she was paid by
                                                                                                                                  was paid by the
                                                                                                                                              the
   NO




                                                                                               NO
              A. · ·Idid.
  ·7· · · · · A.·      did.                                                                                coalition, but
                                                                                               ·7· · · · · coalition, but I| was unaware that
                                                                                                                             was unaware      Gina was
                                                                                                                                         that Gina     doing
                                                                                                                                                   was doing
              Q. · ·And
  ·8· · · · · Q.·    And did did you     believe the
                                   you believe       the statements
                                                           statements                          ·8· · · · · itit during
                                                                                                                during work hours.
                                                                                                                       work hours.




                                                                                               00
   00




       contained in this document were true and
  ·9· ·contained       in  this   document       were     true    and accurate?
                                                                         accur ate?                        Q. · ·(By
                                                                                               ·9· · · · · Q.·   (By Mr.
                                                                                                                     Mr. Van Dyck) You're
                                                                                                                         Van Dyck)· You'rerepeating
                                                                                                                                           repeating




                                                                                               ©
   ©




               A. · ·Yes.
  10· · · · · A.·     Yes                                                                           yourself, and
                                                                                               10· ·yourself, and that
                                                                                                                  that really
                                                                                                                       really wasn't my question.·
                                                                                                                              wasn't my question. My
                                                                                                                                                   My




                                                                                              = Oo
                                                                                              Boe
               Q. · ·So
  11· · · · · Q.·     Sowe'regoing
                           we're going to    to spend
                                                 spend aalot        of time
                                                               lot of   time onon                   question --
                                                                                               11· ·question -- I| think
                                                                                                                   think you
                                                                                                                         you testified
                                                                                                                             testified --
                                                                                                                                       -- I| don't
                                                                                                                                             don't want
                                                                                                                                                   want to
                                                                                                                                                        to
        thisdocument.
  12· ·this    document.· But    But right
                                       right now
                                               now I'd I'd just    like to
                                                             just like    to draw
                                                                              draw                  beat a
                                                                                               12· ·beat a dead
                                                                                                           dead horse,
                                                                                                                horse, but
                                                                                                                       but I| just
                                                                                                                              just want
                                                                                                                                   want to make sure
                                                                                                                                        to make surel've
                                                                                                                                                     I've
        your attention
  13· ·your      attention to  to page
                                   page two,
                                          two, okay.·
                                                  okay. At   At the
                                                                  thevery
                                                                       very toptop                  got this
                                                                                               13· ·got thisclear.   You testified
                                                                                                             clear.· You testified to me now
                                                                                                                                   to me now repeatedly
                                                                                                                                             repeatedly
        paragraph, it
  14· ·paragraph,         it states
                              statesinin the
                                          the third
                                                third sentence,
                                                          sentence, "Although
                                                                         " Although                 that you
                                                                                               14· ·that you were not aware
                                                                                                             were not aware of
                                                                                                                            of the
                                                                                                                               the fact
                                                                                                                                   fact that Gina was
                                                                                                                                        that Gina was doing
                                                                                                                                                      doing
        the trustees
  15· ·the    trustees werewere aware
                                   aware thatthat administrator
                                                    administrator Alongi   Alongi                   any coalition
                                                                                               15· ·any coalition work until you
                                                                                                                  work until you got
                                                                                                                                 got her
                                                                                                                                     her time sheets. Are
                                                                                                                                         time sheets.· Are
        served as
  16· ·served      as director
                       director for for the
                                         the coalition
                                               coalition and  and waswas paid
                                                                            paid byby               you now
                                                                                               16· ·you now changing
                                                                                                            changing that
                                                                                                                     that testimony?
                                                                                                                          testimony?
        the coalition,
  17· ·the    coalition, theythey were
                                    were unaware
                                            unaware of     of the
                                                               the magnitude
                                                                     magnitude of     of                          MS. MARKOWSKI:·
                                                                                               17· · · · · · · · ·MS. MARKOWSKI: Objection.
                                                                                                                                  Objection.
        coalition work
  18· ·coalition      work thatthat was
                                      was performed
                                            performed by       by administrator
                                                                   administrator                                  THE WITNESS:
                                                                                               18· · · · · · · · ·THE WITNESS:· I| was not aware
                                                                                                                                   was not aware that
                                                                                                                                                 that Gina
                                                                                                                                                      Gina
        Alongi and
  19· ·Alongi      and herher staff
                                staff during
                                        during regular
                                                   regular business
                                                                business hourshoursat  at                  Alongi was
                                                                                               19· · · · · Alongi     doing coalition
                                                                                                                  was doing coalition and
                                                                                                                                      and being
                                                                                                                                          being paid
                                                                                                                                                paid by
                                                                                                                                                     by the
                                                                                                                                                        the
        the office
  20· ·the    office Fund."·
                       Fund." Have  Havel I read
                                               read that
                                                       that correctly?
                                                               correctly?                                  coalition to
                                                                                               20· · · · · coalition to perform
                                                                                                                        perform those
                                                                                                                                those duties
                                                                                                                                      duties of
                                                                                                                                             of the
                                                                                                                                                the
               A. · ·Yes.
  21· · · · · A.·     Yes                                                                                  coalition during
                                                                                               21· · · · · coalition during the
                                                                                                                            the work hours from
                                                                                                                                work hours      eight to
                                                                                                                                           from eight to
               Q. · ·Does
  22· · · · · Q.·     Doesthisrefresh
                               this refresh your your recollection
                                                          recollection as    astoto                        four.
                                                                                               22· · · · · four.
        whether you
  23· ·whether       you were       awar e of
                            were aware        of the
                                                  the fact
                                                        fact that
                                                                that Gina
                                                                       Gina Alongi
                                                                               Alongi                      Q. · ·(By
                                                                                               23· · · · · Q.·   (By Mr.
                                                                                                                     Mr. Van
                                                                                                                         Van Dyck)·
                                                                                                                             Dyck) So
                                                                                                                                    Soam
                                                                                                                                      am I| correct
                                                                                                                                            correct then
                                                                                                                                                    then
        served as
  24· ·served      as director
                       director of  of the
                                        the coalition?
                                             coalition?                                             that --
                                                                                               24· ·that -- please.
                                                                                                            please.

                                                                         Page 146
                                                                         Page 146                                                                                      Page 148
                                                                                                                                                                       Page 148

  ·1· · · · · A.
              A.· · ·I| was     aware she
                         was aware        she was      director of
                                                was director       of                                      A. · ·Those
                                                                                               ·1· · · · · A.·      Those were        supposed to
                                                                                                                               were supposed          to bebe coalition
                                                                                                                                                               coalition
                                                                                               PP




       coalition.
  ·2· ·coalition.                                                                                   hours, to
                                                                                               ·2· ·hours,     to the
                                                                                                                   the best
                                                                                                                         best ofof my
                                                                                                                                    my knowledge,
                                                                                                                                          knowledge, that    that were
                                                                                                                                                                    were supposed
                                                                                                                                                                            supposed
                                                                                               WN




              Q. · ·And
  ·3· · · · · Q.·      And thatthat sheshewas       getting paid
                                             was getting        paid by by the
                                                                            the                     to be
                                                                                               ·3· ·to  be done
                                                                                                             done nights,
                                                                                                                      nights, weekends,
                                                                                                                                 weekends, away  away from  from thethe Local
                                                                                                                                                                         Local 4  4
       coalition?
  ·4· ·coalition?                                                                                   office.
                                                                                               ·4· ·office.
                                                                                               OB




  ·5· · · · · A.
              A.· · ·I| wasaware
                         was aware of     of that,
                                              that, but
                                                      but she
                                                            she wasn't
                                                                 wasn't                                    Q. · ·So
                                                                                               ·5· · · · · Q.·      Sothen
                                                                                                                         then are areyou
                                                                                                                                       you nownow saying
                                                                                                                                                       saying thatthat you
                                                                                                                                                                         you were
                                                                                                                                                                                were
       supposed to be doing them during Local 4
  ·6· ·supposed       to  be   doing     them    during      Local    4 work
                                                                         work hours
                                                                                 hours              aware of the fact that she was doing coalition work,
                                                                                               ·6· ·aware      of   the   fact   that   she   was     doing      coalition     work,
                                                                                               NO




       between eight
  ·7· ·between       eight toto four.
                                  four.                                                             putting aside
                                                                                               ·7· ·putting      aside when,
                                                                                                                           when, but but that      she was
                                                                                                                                            that she      was doing
                                                                                                                                                                  doing coalition
                                                                                                                                                                           coalition
              Q. · ·I| get
  ·8· · · · · Q.·        get all
                               all that.·
                                     that. Believe
                                              Believe me,  me, you
                                                                 you cancan say
                                                                              say                   work prior
                                                                                               ·8· ·work      prior to to when
                                                                                                                           when you  you sawsaw herher timetime sheets?
                                                                                                                                                                   sheets?
                                                                                               0




       that until
  ·9· ·that    until you
                       you arearebluein
                                     blue in the the face.·
                                                        face. But
                                                                But you      said
                                                                       you said                            A. · ·Yes.
                                                                                               ·9· · · · · A.·      Yes
                                                                                               ©




        earlier, literally
  10· ·earlier,      literally two two minutes
                                          minutes ago,   ago, that
                                                               that youyou weren't
                                                                             weren't                        Q. · ·Okay.·
                                                                                               10· · · · · Q.·       Okay. Got   Got it,
                                                                                                                                       it, thank
                                                                                                                                            thank you. you.
                                                                                              N PO
                                                                                              ll




        aware of   of the
                       the fact
                             fact that
                                     that sheshe was      doing anyany work        for the
                                                                                        the    11· · · · · A.        You'rewelcome.
                                                                                                ar




  11· ·aware                                       was doing              work for                          A.· · ·You're       welcome.
        coalition up
  12· ·coalition       up until
                            until the thetime
                                           time you you gotgot her
                                                                her time
                                                                       time sheets.
                                                                              sheets.                       Q. · ·Appreciate
                                                                                               12· · · · · Q.·       Appreciateit.it.· I'm   I'm about
                                                                                                                                                    about to   to show
                                                                                                                                                                   show you you
        Are you
  13· ·Are     you nownow changing
                              changing that   that testimony?
                                                      testimony?                                     another exhibit.·
                                                                                               13· ·another        exhibit. BeforeBefore     we get
                                                                                                                                             we   get to to that,
                                                                                                                                                             that, I| dodo have
                                                                                                                                                                             haveaa
                      MS. MARKOWSKI:·
  14· · · · · · · · ·MS.     MARKOWSKI: Objection.       Objection.                                  couple of
                                                                                               14· ·couple       of more
                                                                                                                     more questions
                                                                                                                               questions       for you
                                                                                                                                               for           about Exhibit
                                                                                                                                                     you about         Exhibit 33. 33.
                     THE WITNESS:·
  15· · · · · · · · ·THE      WITNESS: No.        No.                                                Therewasa
                                                                                               15· ·There       was a job  job description
                                                                                                                                 description that   that waswas partpart ofof Exhibit
                                                                                                                                                                               Exhibit
               Q. · ·*·
  16· · · · · Q.·       * (By
                           (By Mr. Mr. VanVan Dyck)·
                                                  Dyck) So   So even      though
                                                                  even though                        33. It
                                                                                               16· ·33.·    It was
                                                                                                                wasatat thetheend,end, thelast
                                                                                                                                         the last fourfour pages.·
                                                                                                                                                              pages. I| thinkthink
        Exhibit 33
  17· ·Exhibit       33 states
                          states thatthat the     trustees
                                            the trustees        wer e aware
                                                               were     awar    e that
                                                                                  that               you are
                                                                                               17· ·you     are on on the
                                                                                                                        the wrong
                                                                                                                               wrong exhibit.
                                                                                                                                         exhibit.
        Gina did
  18· ·Gina       did serve
                        serve as  asdirector
                                      director of   of the
                                                         the coalition
                                                              coalition and and waswas         18· · · · · A.        It's32
                                                                                                            A.· · ·It's   32.
        paid by
  19· ·paid      by the
                     the coalition,
                           coalition, you   you didn't
                                                   didn't knowknow any any ofof that
                                                                                 that                       Q. · ·Then
                                                                                               19· · · · · Q.·       ThenI'mwrong.
                                                                                                                               I'm wrong.· It     It happens
                                                                                                                                                       happensso      so
        until you
  20· ·until     you gotgot her
                              her time
                                     time sheets?·
                                             sheets? I'm   I'm pretty
                                                                 pretty sure
                                                                           surethere's
                                                                                   there's           infrequently. It
                                                                                               20· ·infrequently.·           It was    32, the
                                                                                                                                 was 32,     the employment
                                                                                                                                                   employment agreement. agreement.
  21· ·aa question
           question pending. Areyou waiting to haveit
                          pending.·       Are    you     waiting    to   have    it                                MS. MARKOWSKI: Do you need the
                                                                                               21· · · · · · · · ·MS.      MARKOWSKI:·               Do     you    need   the question
                                                                                                                                                                               question
        repeated or
  22· ·repeated        or are
                            are youyou waiting
                                         waiting to    to give
                                                           giveareply?
                                                                  a reply?                                  back?
                                                                                               22· · · · · back?
                      MS. MARKOWSKI:·
  23· · · · · · · · ·MS.     MARKOWSKI: Do               Do you
                                                              you know
                                                                    know whatwhat thethe                    Q. · ·(By
                                                                                               23· · · · · Q.·       (By Mr.Mr. VanVan Dyck)·
                                                                                                                                           Dyck) I| don't don't think
                                                                                                                                                                   think there
                                                                                                                                                                            there
               question is?·
  24· · · · · question       is? SheShe can
                                          can read
                                                read backback the
                                                               the question.
                                                                     question.                 24 ·was
                                                                                               24·   wasaquestion.
                                                                                                            a question.· I'm     I'm just     really asking
                                                                                                                                      just really        asking you  you toto focus
                                                                                                                                                                               focus onon


                                            O'Brien &
                                            O'Brien & Levine,
                                                       Levine, AA Magna
                                                                  Magna Legal
                                                                         Lega Services
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Case 1:21-cv-10163-FDS Document 64 Filed 12/13/22 Page 53 of 271




                      In the
                      In the Matter
                             Matter of:
                                    of:

                Ginamarie Alongi,
                Ginamarie Along, et
                                  et al.
                                     al. vs
                                         vs
      luoe Local
      Iuoe Local 4
                 4 Health
                   Health &
                          & Welfare
                            Welfare Fund,
                                    Fund, et
                                          et al.
                                             al.




               William Dennis
               William Dennis McLaughlin
                              McLaughlin
                         July 13,
                         July 13, 2022
                                  2022


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           Case 1:21-cv-10163-FDS Document 64 Filed 12/13/22 Page 54 of 271
Ginamarie Alongi,
Ginamarie   Alongi, et
                    et al.
                       al. vs
                           vs                                William Dennis McLaughlin
                                                             William Dennis  McLaughlin
luoe Local
Iuoe Local 44 Health
              Health && Welfare
                         Welfare Fund,
                                 Fund, et
                                       et al.
                                          al.                              July 13,
                                                                           July 13, 2022
                                                                                    2022
                                                                                                                                                          Page 3

                    COMMONWEALTH OF
  ·1· · · · · · · · COMMONWEALTH OF MASSACHUSETTS
                                    MASSACHUSETTS                                           APPEARANCES (Continued):
                                                                                         1 ·APPEARANCES
                                                                                        ·1·             (Continued):
       Norfolk, ss.·
  ·2· ·Norfolk, ss. · · · · · · ·Superior
                                 Superior Court
                                          Court                                         ·22
                                  Civil Action
  ·3· · · · · · · · · · · · · · · Civil Action No.
                                               No. 2182CV00125
                                                   2182CVv00125                             Representing the
                                                                                         3 ·Representing
                                                                                        ·3·              the Defendants:
                                                                                                             Defendants:
       FE —
  ·4· ·**************************************************                                4 · · · ·O'DONOGHUE
                                                                                        ·4·       O'DONOGHUE &
                                                                                                             & O'DONOGHUE
                                                                                                               O'DONOGHUE LLP
                                                                                                                          LLP
       GINAMARIE ALONGI
  ·5· ·GINAMARIE ALONGI AND
                        AND ROSEMARIE
                             ROSEMARIE ALONGI,·
                                       ALONG, · · · · ·*                                ·5·       5301 Wisconsin
                                                                                         5 · · · ·5301 Wisconsin Avenue, NW, Suite
                                                                                                                 Avenue, NW, Suite 800
                                                                                                                                   800

         Plaintiffs · · · · · · · · · · · · · · · · · ·*
  ·6· · ·Plaintiffs·                                   *                                ·6·       Washington, DC
                                                                                         6 · · · ·Washington, DC 20015
                                                                                                                 20015

         vs. · · · · · · · · · · · · · · · · · · · · · **
  ·7· · ·vs.·                                                                           ·7·       BY: ·CHARLES
                                                                                         7 · · · ·BY:· CHARLESW.  GILLIGAN, ESQ.
                                                                                                               W. GILLIGAN, ESQ.

       IUOE LOCAL
  ·8· ·IUOE LOCAL 4
                  4 HEALTH
                    HEALTH &
                           & WELFARE
                             WELFARE FUND;
                                     FUND; IUOE
                                           IUOE LOCAL
                                                LOCAL 4
                                                      4 *
                                                        *                                8 · · · · · · ·DANIEL
                                                                                        ·8·             DANIEL KEENAN,
                                                                                                               KEENAN, ESQ.
                                                                                                                       ESQ.

       PENSION FUND;
  ·9· ·PENSION FUND; IUOE
                     IUOE LOCAL
                          LOCAL 44 ANNUITY
                                   ANNUITY &
                                           & SAVINGS·
                                             SAVINGS · ·**                                        (202) 362-0041
                                                                                         9 · · · ·(202)
                                                                                        ·9·             362-0041
       FUND; HOISTING
  10· ·FUND; HOISTING AND
                      AND PORTABLE
                          PORTABLE ENGINEERS
                                   ENGINEERSLOCAL  4 ·*
                                             LOCAL 4· *                                 10 · · · ·E-mail:·
                                                                                        10·       E-mail: cgilligan@odonoghuelaw.com
                                                                                                           cgilligan@odonoghuel
                                                                                                                              aw.com

       APPRENTICESHIP&
  11· ·APPRENTICESHIP & TRAINING
                        TRAINING FUND;
                                 FUND; JOINT
                                       JOINT LABOR-·
                                             LABOR- · ·**                               11
       MANAGEMENT COOPERATION
  12· ·MANAGEMENT COOPERATION TRUST;
                              TRUST; AND
                                     AND WILLIAM
                                         WILLIAM D.·   *
                                                 D. · ·*                                     In Attendance:
                                                                                        12· ·In              Rosemarie Alongi
                                                                                                Attendance:· Rosemarie Alongi

       MCLAUGHIAN, INDIVIDUALLY
  13· ·MCLAUGHIAN, INDIVIDUALLY AND
                                AND IN
                                    IN HIS
                                       HISCAPACITY
                                           CAPACITY· · ·**                                                   Gina Marie
                                                                                        13· · · · · · · · · ·Gina Marie Alongi
                                                                                                                        Alongi
       AS CHAIRMAN
  14· ·AS CHAIRMAN OF
                   OF THE
                      THE BOARDS
                          BOARDS OF
                                 OF TRUSTEES,
                                    TRUSTEES,· · · · · ·**                                                   Greg Geiman
                                                                                        14· · · · · · · · · ·Greg Gelman

         Defendants · · · · · · · · · · · · · · · · · ·*
  15· · ·Defendants·                                   *                                15
       Sek RR
  16· ·**************************************************                               16
              DEPOSITION OF:·
  17· · · · · DEPOSITION OF: WILLIAM
                              WILLIAM DENNIS
                                      DENNISMCLAUGHLIN
                                             MCLAUGHLIN                                 17
                        BOWDITCH &
  18· · · · · · · · · · BOWDITCH & DEWEY,
                                   DEWEY, LLP
                                          LLP                                           18
                       200 Crossing
  19· · · · · · · · · ·200 Crossing Boulevard
                                    Boulevard                                           19
                      Framingham, Massachusetts
  20· · · · · · · · · Framingham, Massachusetts                                         20
                      July 13,
  21· · · · · · · · · July 13,2022   10:10 a.m.
                               2022· 10:10 am.                                          21
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  22· · · · · · · · · · · · ·Volume ll                                                  22
                         Kristen M.
  23· · · · · · · · · · ·Kristen M. Edwards
                                    Edwards                                             23
                           Court Reporter
  24· · · · · · · · · · · ·Court Reporter                                               24


                                                                           Page 2                                                                         Page 4

       APPEARANCES:
  ·1· ·APPEARANCES:                                                                     ·1· · · · · · · · · · · · · I N D E X
                                                                                        PP




  ·2                                                                                    ·2
                                                                                        WN




       Representing the
  ·3· ·Representing the Plaintiffs:
                        Plaintiffs:                                                          WITNESS: · · · · · · · · · · WILLIAM
                                                                                        ·3· ·WITNESS:·                            DENNIS MCLAUGHLIN
                                                                                                                          WILLIAM DENNIS MCLAUGHLIN

             BOWDITCH &
  ·4· · · · ·BOWDITCH & DEWEY,
                        DEWEY, LLP
                               LLP                                                      ·4
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  ·5· · · · ·200 Crossing Boulevard,
                          Boulevard, Suite
                                     Suite 300
                                           300                                               EXAMINATION BY:·
                                                                                        ·5· ·EXAMINATION BY: · · · · · · · · · · · · · · · · ·PAGE:
                                                                                        uO




             Framingham, MA
  ·6· · · · ·Framingham, MA 01702
                            01702                                                            Mr. Van
                                                                                        ·6· ·Mr. Van Dyck·
                                                                                                     Dyck · · · · · · · · · · · · · · · · · · · ·5
                                                                                        Oo




             BY: TIMOTHY
                  TIMOTHY P.
                          P. VAN
                             VAN DYCK,
                                 DYCK, ESQ.
                                       ESQ.
                                                                                        NN




  ·7· · · · ·BY:·                                                                       ·7
                  JACOB A.
  ·8· · · · · · · JACOB    TOSTI, ESQ.
                        A. TOSTI, ESQ.                                                       EXHIBITS: · · · · · · · · · · · · · · · · · · · ·PAGE:
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                             fax (508)
                                 (508) 929-3137
                                       929-3137                                              Exhibit 156,
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                                                                                        ©




             E-mail: tvandyck@bowditch.com
  10· · · · ·E-mail:· tvandyck@bowditch.com                                                  Exhibit 157,
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  11                                                                                         Exhibit 158,
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       Representing the
  12· ·Representing the Defendants:
                        Defendants:                                                          Exhibit 159,
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             FREEMAN, MATHIS
  13· · · · ·FREEMAN, MATHIS&& GARY
                               GARY LLP
                                    LLP                                                      Exhibit 160,
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                                                                                                          memorandum
             60 State
  14· · · · ·60 State Street,
                      Street, Suite
                              Suite 600
                                    600                                                      Exhibit 161,
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             Boston, MA
  15· · · · ·Boston, MA 02109-1800
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             BY: JENNIFER
  16· · · · ·BY:· JENNIFER L.
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             (617) 963-5975
  18· · · · ·(617) 963-5975                                                                  Exhibit 165,
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             E-mail: jmarkowski
  19· · · · ·E-mail:·           @fmglaw.com
                      jmarkowski@fmglaw.com                                                  Exhibit 166,
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                                                                                        24· ·(Exhibits retained by
                                                                                                                by Attorney
                                                                                                                   Attorney Van
                                                                                                                            Van Dyck)
                                                                                                                                Dyck)



                                                            O'Brien &
                                                            O'Brien & Levine,
                                                                       Levine, AA Magna
                                                                                  Magna Legal
                                                                                         Lega Services
                                                                                              Services Company
                                                                                                       Company                                                      ·
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Ginamarie   Along, et
                    et al.
                       al. vs
                           vs                                William Dennis McLaughlin
                                                             William Dennis  McLaughlin
luoe Local
Iuoe Local 44 Health
              Health && Welfare
                         Welfare Fund,
                                 Fund, et
                                       et al.
                                          al.                              July 13,
                                                                           July 13, 2022
                                                                                    2022
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              Q. · ·You
  ·1· · · · · Q.·   You may.
                        may.                                                                     (Exhibit 156,
                                                                             ·1· · · · · · · · ·(Exhibit      156, notes,
                                                                                                                     notes, marked
                                                                                                                              marked for for
  BE




                                                                             WNP
              A. · ·I'm
  ·2· · · · · A.·   I'mnot  sure.
                        not sure.                                                                identification)
                                                                             ·2· · · · · · · · ·identification)
  WN




              Q. · ·Did
  ·3· · · · · Q.·   Did you have any
                        you have any discussion
                                     discussion with the
                                                with the                     ·3
       building committee
  ·4· ·building committee about
                          about what
                                what the
                                     the effective
                                         effective date
                                                   date should
                                                        should                           Q. · ·Mr.
                                                                             ·4· · · · · Q.·       Mr. McLaughlin,
                                                                                                          McLaughlin, I'm      I'm showing
                                                                                                                                    showing whatwhat has   has been
                                                                                                                                                                been
  Uhh




                                                                             OB
       be?
  ·5· ·be?                                                                        marked as
                                                                             ·5· ·marked              identification as
                                                                                                 as identification         as Exhibit
                                                                                                                               Exhibit 156,
                                                                                                                                          156, which
                                                                                                                                                which appear appear
              A. · ·I|cantrecal.
  ·6· · · · · A.·     can't recall.                                               to be
                                                                             ·6· ·to   be nine
                                                                                            nine handwritten
                                                                                                     handwritten pages  pages of of notes.·
                                                                                                                                     notes. AreAre those
                                                                                                                                                      those your
                                                                                                                                                               your
  NO




                                                                             NO
              Q. · ·Do
  ·7· · · · · Q.·   Doyou  ever recall
                       you ever recall having
                                       having a
                                              a conversation
                                                conversation                      notes?
                                                                             ·7· ·notes?
       with Gina
  ·8· ·with Gina in
                 in November
                    November of
                             of 2018
                                2018 about
                                     about her
                                           her dog?
                                               dog?                                      A. · ·Yes.
                                                                             ·8· · · · · A.·       Yes
  0




                                                                             0
              A. · ·What
  ·9· · · · · A.·   What I| remember
                            remember about
                                     about that
                                           that conversation
                                                conversation                             Q.
                                                                             ·9· · · · · Q.·   ·   And the
                                                                                                  ·And     thedocument
                                                                                                                document is     isnot   dated. But
                                                                                                                                   not dated.·      But do do
  ©




                                                                             ©
       was that
  10· ·was that there
                there was the building
                      was the building --
                                       -- we
                                          we met
                                             met with the
                                                 with the                          you think
                                                                             10· ·you     think thesethese areare notes
                                                                                                                   notes that
                                                                                                                            that you
                                                                                                                                   you prepared
                                                                                                                                         prepared in    in
       building committee,
  11· ·building committee, and
                           and they
                               they were
                                    were going
                                         going to draft up
                                               to draft up aa                      anticipation of
                                                                             11· ·anticipation           of aa conversation
                                                                                                               conversation you    you were      going to
                                                                                                                                         were going         to have
                                                                                                                                                               have




                                                                            [EEN
                                                                            [EN
       no animal
  12· ·no animal policy.·
                 policy. That's
                          That'swhat
                                what I| remember.
                                        remember.                                  with Gina
                                                                             12· ·with      Gina in   in January
                                                                                                          January of   of 2020?
                                                                                                                           2020?
              Q. · ·Are
  13· · · · · Q.·   Areyou  telling me
                        you telling me now
                                       now about
                                           about a
                                                 a                                        A. · ·Correct.
                                                                             13· · · · · A.·        Correct.
       conver sation that
  14· ·conversation  that you
                          you had
                              had with
                                  with Gina?
                                       Gina?                                              Q. · ·And
                                                                             14· · · · · Q.·        And did did anyone
                                                                                                                 anyone help help you     preparethese
                                                                                                                                    you prepare        these
              A. · ·I| had
  15· · · · · A.·      had aaconversation  -- let's
                              conversation -- let's see.·
                                                    see. So
                                                          So                       notes?
                                                                             15· ·notes?
       the building
  16· ·the building committee,
                    committee, I| believe,
                                  believe, we
                                           we met
                                              met after
                                                  after someone
                                                        someone                           A. · ·No.
                                                                             16· · · · · A.·        No.
       got startled
  17· ·got startled by
                    by one
                       one of
                           of these
                              these dogs
                                    dogs that
                                         that had
                                              had aa muzzle
                                                     muzzle on.
                                                            on.                           Q. · ·Did
                                                                             17· · · · · Q.·        Did youyou discuss
                                                                                                                 discuss withwith anybody
                                                                                                                                    anybody the  the fact
                                                                                                                                                       fact
  18· ·I| remember
          remember that.  Called James
                   that.· Called James Shaw,
                                       Shaw, asked
                                             asked him
                                                   him for
                                                       for some
                                                           some                    that you
                                                                             18· ·that     you wer weree going
                                                                                                            going toto have
                                                                                                                         have this
                                                                                                                                this conversation
                                                                                                                                      conver sation with   with
       help. I| believe
  19· ·help.·   believe |I did
                           did have
                               have aa discussion
                                       discussion with
                                                  with Gina
                                                       Gina                        Gina?
                                                                             19· ·Gina?
       about the
  20· ·about the implementation
                 implementation of
                                of this
                                   this pet
                                        pet policy.·
                                            policy. I| believe
                                                       believe               20· · · · · A.· · ·Yes.Yes.
       SO.
  21· ·so.                                                                                Q · ·Who?
                                                                             21· · · · · Q.·        Who?
              Q. · ·And
  22· · · · · Q.·   And do
                        do you
                           you recall
                               recall what
                                      what you
                                           you or
                                               or she
                                                  she said?
                                                      said?                               A. · ·Kate
                                                                             22· · · · · A.·        Kate Shea.
                                                                                                            Shea
              A. · ·Idont.
  23· · · · · A.·     don't.                                                              Q. · ·And
                                                                             23· · · · · Q.·        And whatwhat did
                                                                                                                   did you      and Kate
                                                                                                                          you and     Kate Shea
                                                                                                                                             Shea discuss?
                                                                                                                                                      discuss?
              Q. · ·Do
  24· · · · · Q.·   Doyou  ever recall
                       you ever recall her
                                       her telling
                                           telling you that
                                                   you that                               A · ·I| just
                                                                             24· · · · · A.·                 informed Kate
                                                                                                      just informed       Kate Shea
                                                                                                                                  Shea that
                                                                                                                                        that I| would
                                                                                                                                                would be    be

                                                                  Page 26
                                                                  Page 26                                                                            Page 28
                                                                                                                                                     Page 28

       her dog,
  ·1· ·her    dog, Drambuie,
                   Drambuie, could
                              could detect
                                    detect low
                                           low blood
                                               blood sugar
                                                     sugar levels?
                                                           levels?                having aa scheduled
                                                                             ·1· ·having         scheduled meetingmeeting with with Gina
                                                                                                                                      Ginatoto reestablish
                                                                                                                                                 reestablish
                                                                             WNP




              A. · ·I|don't.
  ·2· · · · · A.·      don't.                                                     some guidelines,
                                                                             ·2· ·some     guidelines, becausebecause I| didn't
                                                                                                                             didn't like
                                                                                                                                      like what
                                                                                                                                            what was        going
                                                                                                                                                    was going
              Q. · ·Do
  ·3· · · · · Q.·   Doyou  recall her
                       you recall her asking
                                      asking if
                                             if she
                                                she could
                                                    could                         on with
                                                                             ·3· ·on   with Gina's
                                                                                               Gina's performance.·
                                                                                                          performance. I| described
                                                                                                                                  described in  in that
                                                                                                                                                     that
       continuetoto bring
  ·4· ·continue     bring her
                          her dog
                              dog into
                                  into the
                                       the building
                                           building when she
                                                    when she                      meeting that
                                                                             ·4· ·meeting       that wewe hadhad toto lead
                                                                                                                       lead by by example
                                                                                                                                   example as  as department
                                                                                                                                                    department
                                                                             Ooh




       felt ill?
  ·5· ·felt ill?                                                                  heads. It
                                                                             ·5· ·heads.·     It was     unacceptable
                                                                                                  was unacceptable           that   she could
                                                                                                                              that she    could make
                                                                                                                                                  make her   her own
                                                                                                                                                                 own
              A. · ·No.·
  ·6· · · · · A.·   No. But
                         But! I do
                                do think
                                   think if
                                         if she
                                            she asked
                                                asked for
                                                      for an
                                                          an                      hours and come in whenever she wanted to. So there was
                                                                             ·6· ·hours     and    come     in   whenever       she  wanted     to.·   So   there was
                                                                             NO




       accommodation, I| would
  ·7· ·accommodation,    would have
                               have remembered
                                    remembered that,
                                               that, so
                                                     so the
                                                        the                       an hours
                                                                             ·7· ·an   hours of  of operation
                                                                                                     operation discussion
                                                                                                                     discussion asas stated
                                                                                                                                         stated inin this
                                                                                                                                                      this
       answer is
  ·8· ·answer is no.
                 no.                                                              exhibit.
                                                                             ·8· ·exhibit.
                                                                             0




              Q. · ·Well,
  ·9· · · · · Q.·   Well, do
                          doyou  recall saying
                             you recall sayingwordstothe
                                               words to the                              Q. · ·Right.·
                                                                             ·9· · · · · Q.·       Right. For  For nownow |I just
                                                                                                                                just want
                                                                                                                                      want to to hear
                                                                                                                                                  hear
                                                                             ©




       effect that
  10· ·effect that there
                   there are
                         are no
                             no dogs
                                dogs allowed
                                     allowed in
                                             in the
                                                the office,
                                                    office,                        everything you
                                                                             10· ·everything           you andand Kate
                                                                                                                     Kate Shea
                                                                                                                             Shea talked
                                                                                                                                     talked about.
                                                                                                                                               about.
       including yours,
  11· ·including      yours, I| don't
                                don't care
                                         carewhat   the law
                                               what the law says?
                                                              says?                       A. · ·Okay.
                                                                             11· · · · · A.·       Okay.
              A. · ·IIdontrecal.
  12· · · · · A.·      don't recall.· I| don't
                                         don't remember
                                               remember that.
                                                          that.                           Q. · ·You
                                                                             12· · · · · Q.·        You maymay be  bedoingthat.
                                                                                                                        doing that.· I| just just want
                                                                                                                                                   want to    to
              Q. · ·Do
  13· · · · · Q.·   Doyou  think anyone
                       you think anyone else
                                        elsewasin
                                             was in this
                                                    this                           make sure.
                                                                             13· ·make       sure.
       meeting besides
  14· ·meeting     besides you
                             you and
                                 and Gina?
                                         Gina?                                            A. · ·Okay,
                                                                             14· · · · · A.·       Okay, yes.·yes. I| asked
                                                                                                                        asked Kate
                                                                                                                                 Kate toto be
                                                                                                                                            be there
                                                                                                                                                there withwith
              A. · ·I|dontthink
  15· · · · · A.·     don't think itit was
                                       wasameeting.
                                           a meeting.· I| think
                                                          think                    me when
                                                                             15· ·me     when I| did did this.
                                                                                                           this.
  16· ·itit was
            was aa conversation
                   conversation over
                                over the telephone.
                                     the telephone.                                       Q. · ·So
                                                                             16· · · · · Q.·        Sothiswas--
                                                                                                        this was -- do    do you     recall anything
                                                                                                                               you recall     anything
              Q. · ·Do
  17· · · · · Q.·    Doyou   recall when
                        you recall  when it
                                         it occurred?
                                            occurred?                              else about
                                                                             17· ·else    about your           meeting with
                                                                                                     your meeting                   Kate Shea?
                                                                                                                            with Kate       Shea?
              A. · ·Idont.
  18· · · · · A.·     don't.                                                              A. · ·I|don't.
                                                                             18· · · · · A.·          don't.
              Q. · ·Do
  19· · · · · Q.·   Doyou  recall anything
                       you recall anything else
                                           else about
                                                about this
                                                      this                                Q. · ·Did
                                                                             19· · · · · Q.·        Did you
                                                                                                          you show
                                                                                                                 show her  her your
                                                                                                                                 your notes
                                                                                                                                         notes before
                                                                                                                                                 beforethe    the
       conver sation that
  20· ·conversation   that you
                           you had
                               had with  Gina about
                                   with Gina  about the pet
                                                    the pet                        meeting?
                                                                             20· ·meeting?
       policy other
  21· ·policy other than
                     than what
                           what you
                                you said?
                                    said?                                                 A. · ·Not
                                                                             21· · · · · A.·        Not sure.
                                                                                                          sure.
              A. · ·Idont.
  22· · · · · A.·     don't.                                                              Q. · ·But
                                                                             22· · · · · Q.·        But asasfarfar asasyou      know, she
                                                                                                                         you know,        shedidn't
                                                                                                                                               didn't help help
  23                                                                               to draft
                                                                             23· ·to   draft these
                                                                                                 these notes
                                                                                                           notes at at all.
                                                                                                                        all.
  24                                                                                      A. · ·No.
                                                                             24· · · · · A.·        No.


                                      O'Brien &
                                      O'Brien & Levine,
                                                 Levine, AA Magna
                                                            Magna Legal
                                                                   Legal Services
                                                                         Services Company
                                                                                   Company                                                        Pages 25–28
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Ginamarie   Along, et
                    et al.
                       al. vs
                           vs                                William Dennis McLaughlin
                                                             William Dennis  McLaughlin
luoe Local
Iuoe Local 44 Health
              Health && Welfare
                         Welfare Fund,
                                 Fund, et
                                       et al.
                                          al.                              July 13,
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                                                                                    2022
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                                                                                                                                                                       Page 83

              Q. · ·Well,
  ·1· · · · · Q.·   Wadll, I| don't
                              don't think
                                    think it
                                          it is
                                             ishard  to say.
                                                hard to say.                                           A. · ·Primary,
                                                                                           ·1· · · · · A.·       Primary, you you could
                                                                                                                                     could call
                                                                                                                                              cal it  it primary.
                                                                                                                                                         primary.
  WDNR




                                                                                           WDNR
                     Isitit fair
  ·2· · · · · · · · ·Is     fair to
                                 to say
                                    say that
                                        that she
                                             shewasn't
                                                 wasn't                                                Q. · ·And
                                                                                           ·2· · · · · Q.·       And whatwhat waswas thethe purpose
                                                                                                                                               purpose of      of the
                                                                                                                                                                  the
       provided with
  ·3· ·provided with an
                     an opportunity
                        opportunity to
                                    to give
                                       give you
                                            you an
                                                an explanation
                                                   explanation                                  fact-finding mission?
                                                                                           ·3· ·fact-finding          mission?
       for these
  ·4· ·for these time
                 time entries
                      entries before
                              before she
                                     she was
                                         was terminated?
                                                terminated?                                            A. · ·I| believe
                                                                                           ·4· · · · · A.·         believeitit was
                                                                                                                                 wastoto -- -- atat this    point my
                                                                                                                                                    this point      my
  bh




                                                                                           Ob
                     MS. MARKOWSKI:·
  ·5· · · · · · · · ·MS. MARKOWSKI: Objection.·
                                     Objection. You
                                                You can
                                                    can                                         concerns were
                                                                                           ·5· ·concerns        were growing.·
                                                                                                                        growing. They  They were were snowballing.·
                                                                                                                                                          snowballing. And,     And, I|
              answer.
  ·6· · · · · answer.                                                                           believe, it
                                                                                           ·6· ·believe,      it started
                                                                                                                  started with
                                                                                                                            with ---- I| wanted
                                                                                                                                          wanted to    to see,
                                                                                                                                                           see, I| believe,
                                                                                                                                                                    believe,
  NO




                                                                                           NO
                     THE WITNESS:
  ·7· · · · · · · · ·THE           She could
                         WITNESS:· She could have
                                             have described
                                                  described                                     if my
                                                                                           ·7· ·if  my memory
                                                                                                          memory serves serves correct,
                                                                                                                                 correct, I| wanted
                                                                                                                                                  wanted to    to see
                                                                                                                                                                  see ifif Gina's
                                                                                                                                                                            Gina's
  ·8· · · · · it.                                                                               DOL time
                                                                                           ·8· ·DOL      time sheets
                                                                                                                  sheets said
                                                                                                                            said anything
                                                                                                                                  anything about  about Coalition
                                                                                                                                                             Coalition work.
                                                                                                                                                                           work.
  00




                                                                                           0
                     (By Mr.
  ·9· · · · · Q.· · ·(By Mr. Van
                             Van Dyck)·
                                 Dyck) You
                                        You never
                                            never asked
                                                  asked her
                                                        her                                     Then I| realized
                                                                                           ·9· ·Then        realized there
                                                                                                                         there are
                                                                                                                                are no no DOL
                                                                                                                                            DOL time  time sheets.·
                                                                                                                                                               sheets. That
                                                                                                                                                                          That
  ©




                                                                                           ©
       about them,
  10· ·about them, correct?
                   correct?                                                                       raised another
                                                                                           10· ·raised      another concern.·
                                                                                                                         concern. And  And all all these      concerns kept
                                                                                                                                                    these concerns           kept
              A. · ·Correct.
  11· · · · · A.·   Correct.                                                                      building up
                                                                                           11· ·building        up and
                                                                                                                     and building
                                                                                                                           building up.· up. SoSo that's
                                                                                                                                                     that'swhy,why, as as| I
              Q. · ·In
  12· · · · · Q.·   Infact,  thefirst
                       fact, the       time she
                                 first time she became
                                                became aware
                                                       aware                                      peeled back
                                                                                           12· ·peeled       back the the onion,
                                                                                                                           onion, there
                                                                                                                                     there were
                                                                                                                                              were concerns
                                                                                                                                                        concerns growing
                                                                                                                                                                      growing and  and
       of this
  13· ·of thisissue  was after
               issue was after she
                               she was
                                   was terminated,
                                       terminated, correct?
                                                   correct?                                      growing and
                                                                                           13· ·growing         and growing.
                                                                                                                       growing.
                     MS. MARKOWSKI:·
  14· · · · · · · · ·MS. MARKOWSKI: Objection.·
                                     Objection. You
                                                You can
                                                    can                                                 Q. · ·So
                                                                                           14· · · · · Q.·       Sothiswasa
                                                                                                                       this was a fact-finding
                                                                                                                                      fact-finding mission   mission to   to
              answer.
  15· · · · · answer.                                                                            find out
                                                                                           15· ·find     out -- -- to
                                                                                                                    to get
                                                                                                                        get information
                                                                                                                             information about    about these these growing
                                                                                                                                                                      growing
                     THE WITNESS:
  16· · · · · · · · ·THE           Could you
                         WITNESS:· Could you repeat
                                             repeat that,
                                                    that,                                        concerns that
                                                                                           16· ·concerns          that you
                                                                                                                         you had?
                                                                                                                               had?
              please?
  17· · · · · please?                                                                      17· · · · · A.         Thiswasafact-finding
                                                                                                        A.· · ·This      was a fact-finding mission    mission stemming
                                                                                                                                                                    stemming
              Q. · ·(By
  18· · · · · Q.·   (By Mr.
                        Mr. Van
                            Van Dyck)·
                                Dyck) Is
                                       Isitit fair
                                              fair to
                                                   to say
                                                      say that
                                                          that                                   from me
                                                                                           18· ·from      me noticing
                                                                                                                noticing Coalition
                                                                                                                             Coalition work work on   on these
                                                                                                                                                            these time
                                                                                                                                                                    time sheets.
                                                                                                                                                                             sheets.
       the first
  19· ·the        time Gina
            first time Gina became
                            became aware
                                   aware that the time
                                         that the time entries
                                                       entries                             19· ·I| wanted
                                                                                                    wanted to        compare with
                                                                                                                to compare       with themthem withwith DOL DOL timetime sheets.
                                                                                                                                                                             sheets.
       werean
  20· ·were an issue
               issue was
                     was after
                         after she
                               she was
                                   waster minated?
                                       terminated?                                                      Q. · ·Understood.·
                                                                                           20· · · · · Q.·        Understood. Would    Would it     it be
                                                                                                                                                        be fair
                                                                                                                                                             fair to    say that
                                                                                                                                                                   to say     that
                     MS. MARKOWSKI:·
  21· · · · · · · · ·MS. MARKOWSKI: Objection.·
                                     Objection. You
                                                You can
                                                    can                                          your decision
                                                                                           21· ·your      decision to    to have
                                                                                                                             have this
                                                                                                                                     this fact-finding
                                                                                                                                            fact-finding mission  mission take take
              answer.
  22· · · · · answer.                                                                             place started
                                                                                           22· ·place      started because
                                                                                                                        because you  you sawsaw references
                                                                                                                                                    references to          Coalition
                                                                                                                                                                      to Coalition
                     THE WITNESS:·
  23· · · · · · · · ·THE WITNESS: |I believe
                                     believe so.
                                             so.                                                 work in
                                                                                           23· ·work       in her
                                                                                                                her time
                                                                                                                       time sheets?
                                                                                                                              sheets?
              Q. · ·(By
  24· · · · · Q.·   (By Mr.
                        Mr. Van
                            Van Dyck)·
                                Dyck) And
                                       And you
                                           you knew
                                               knew that
                                                    that the
                                                         the                               24· · · · · A.         Correct.
                                                                                                        A.· · ·Correct.

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                                                                         Page 82                                                                                       Page 84
                                                                                                                                                                       Page 84

       Coalition was
  ·1· ·Coalition       was renting
                              renting spacespace in   in the
                                                           the Fund
                                                                Fund office,
                                                                         office,                       Q. · ·And
                                                                                           ·1· · · · · Q.·     And did did you
                                                                                                                            you exchange
                                                                                                                                   exchange any  any e-mails
                                                                                                                                                        e-mails withwith
                                                                                           WNP




       correct?
  ·2· ·correct?                                                                                 Mr. Geiman
                                                                                           ·2· ·Mr.     Geiman about about this
                                                                                                                              this fact-finding
                                                                                                                                     fact-finding mission?
                                                                                                                                                       mission?
  ·3· · · · · A.
              A.· · ·I| don't
                         don'tthink
                                think I| knew.
                                            knew.                                          ·3· · · · · A.
                                                                                                       A.· · ·I| don't
                                                                                                                  don't remember.
                                                                                                                         remember.
              Q. · ·When
  ·4· · · · · Q.·     When did   did you
                                       you become
                                               become aware  aware of  of that?
                                                                           that?                       Q. · ·Do
                                                                                           ·4· · · · · Q.·      Doyou      think you
                                                                                                                     you think            may have
                                                                                                                                    you may      have exchanged
                                                                                                                                                         exchanged any   any
                                                                                           Oh




  ·5· · · · · A.     When all
              A.· · ·When       al these
                                     these concerns
                                              concerns came   came up,
                                                                     up, I| went
                                                                             went               text messages
                                                                                           ·5· ·text     messages with with Mr.
                                                                                                                              Mr. Geiman
                                                                                                                                     Geiman aboutabout this
                                                                                                                                                          this fact-finding
                                                                                                                                                                 fact-finding
       on aa fact-finding
  ·6· ·on      fact-finding mission.·
                                 mission. That's That's when when I| found
                                                                      found out.
                                                                               out.             mission?
                                                                                           ·6· ·mission?
                                                                                           NO




              Q. · ·Do
  ·7· · · · · Q.·      Doyou       recall when
                            you recall       when that  that was?
                                                               was?                        ·7· · · · · A.
                                                                                                       A.· · ·I| don't
                                                                                                                  don't think
                                                                                                                         think so.
                                                                                                                                 so.
  ·8· · · · · A.
              A.· · ·I|don't.
                         don't.                                                                        Q. · ·Besides
                                                                                           ·8· · · · · Q.·      Besidesyou,you, diddid anyone
                                                                                                                                        anyone elseelse raise
                                                                                                                                                          raise anyany
                                                                                           00




              Q. · ·When
  ·9· · · · · Q.·     When you   you say
                                       say you you went
                                                      went on  on aa fact-finding
                                                                      fact-finding              concer ns about
                                                                                           ·9· ·concerns       about the the fact
                                                                                                                              fact that
                                                                                                                                     that Gina
                                                                                                                                           Gina was       doing some
                                                                                                                                                   was doing        some
                                                                                           ©




        mission, did
  10· ·mission,      did you       personally --
                            you personally            --                                         Coalition work
                                                                                           10· ·Coalition                 during business
                                                                                                                 work during         business hours
                                                                                                                                                  hours at at the
                                                                                                                                                               the time
                                                                                                                                                                     time that
                                                                                                                                                                           that
               A. · ·No.
  11· · · · · A.·      No.                                                                       this fact-finding
                                                                                           11· ·this    fact-finding mission
                                                                                                                           mission was was taking
                                                                                                                                            taking place?
                                                                                                                                                        place?
               Q. · ·--
  12· · · · · Q.·      --goon
                           go on aafact-finding
                                       fact-finding mission  mission or  or did
                                                                             did                              MS. MARKOWSKI:·
                                                                                           12· · · · · · · · ·MS.     MARKOWSKI: Object      Object to  to form.·
                                                                                                                                                            form. YouYou can
                                                                                                                                                                           can
        you delegate
  13· ·you     delegate that that toto Mr.
                                        Mr. Geiman?
                                                Geiman?                                                 answer.
                                                                                           13· · · · · answer.
  14· · · · · A.· · ·I| delegated
                          delegated that.
                                        that.                                                                 THE WITNESS:·
                                                                                           14· · · · · · · · ·THE     WITNESS: Hard     Hard toto say.·
                                                                                                                                                   say. Don't
                                                                                                                                                           Don't
  15· · · · · Q.· · ·ToTo Mr.Mr. Geiman?
                                    Geiman?                                                             remember.
                                                                                           15· · · · · remember.
                       Y es, and
  16· · · · · A.· · ·Yes,      and other
                                     other FundFund employees.
                                                         employees.                                     Q. · ·(By
                                                                                           16· · · · · Q.·       (By Mr.
                                                                                                                       Mr. Van       Dyck) You
                                                                                                                             Van Dyck)·       You did did clearly,
                                                                                                                                                            clearly,
                       Who else?
  17· · · · · Q.· · ·Who        else?                                                            right?
                                                                                           17· ·right?
                       Well, I| delegated
  18· · · · · A.· · ·Well,        delegated it     it to
                                                       to Greg.·
                                                           Greg. I| believe
                                                                      believe                           A. · ·Yes.
                                                                                           18· · · · · A.·      Yes.
        he used
  19· ·he    used the
                   the resources
                           resources of  of some
                                              some otherother Fund
                                                                 Fund employees.
                                                                         employees.                     Q. · ·But
                                                                                           19· · · · · Q.·       But you     don't remember
                                                                                                                       you don't      remember anyone anyone else else
               Q. · ·Do
  20· · · · · Q.·       Doyou       know who
                             you know         who he   he used?
                                                            used?                                raising aa concern
                                                                                           20· ·raising         concern about
                                                                                                                            about it? it?
               A. · ·Ildon't,
  21· · · · · A.·        don't, I| don't
                                     don't recall.
                                              recall.                                                   A. · ·Again,
                                                                                           21· · · · · A.·      Again, I| don't
                                                                                                                            don't remember.·
                                                                                                                                     remember. ExcuseExcuse me  me one
                                                                                                                                                                     one
               Q. · ·But
  22· · · · · Q.·       But would
                              would it   it be
                                             be fair
                                                  fair to to say
                                                              say that
                                                                   that                          second.
                                                                                           22· ·second.
        Mr. Geiman
  23· ·Mr.      Geiman was   was your
                                    your primary
                                             primary point   point person
                                                                     person for for this
                                                                                    this                      MR. VAN
                                                                                           23· · · · · · · · ·MR.     VAN DYCK:·
                                                                                                                              DYCK: Off   Off the    record.
                                                                                                                                                the record.
        fact-finding mission?
  24· ·fact-finding         mission?                                                       24


                                          O'Brien &
                                          O'Brien & Levine,
                                                     Levine, AA Magna
                                                                Magna Legal
                                                                       Legal Services
                                                                             Services Company
                                                                                       Company                                                                     Pages 81–84
                                                                                                                                                                   Pages 81-84
                                                                                                                                                                 D. App. 053
                                             888.825.3376 -- production@court-reporting.com
                                             888.825.3376    production@court-reporting.com                                                                                               YVer1f
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                       TAB
                        5




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                                AFFIDAVIT OF
                                AFFIDAVIT OF LOUIS
                                             LOUIS G.
                                                   G. RASETTA
                                                      RASETTA

        I, Louis
        I, Louis G.
                 G. Rasetta,
                    Rasetta, on
                             on oath,
                                oath, depose
                                      depose and
                                             and state
                                                 state as
                                                       as follows
                                                          follows to
                                                                  to the
                                                                     the best
                                                                         best of
                                                                              of my
                                                                                 my knowledge
                                                                                    knowledge and
                                                                                              and
understanding:
understanding:

     1. II have
     1.     have been
                  been aa member
                           member of of the
                                        the lUOE
                                              IUOE Local
                                                     Local 44 Union
                                                              Union (the
                                                                       (the "Union")
                                                                             “Union”) for
                                                                                       for approximately
                                                                                           approximately 51
                                                                                                         51
years. In
years.  In oror around
                around 1992,
                         1992, II became
                                  became aa Business
                                               Business Agent
                                                         Agent and
                                                                and was
                                                                      was elected
                                                                            elected as
                                                                                    as Business
                                                                                       Business Manager
                                                                                                 Manager in
                                                                                                          in
2004. I served
2004.1    served as
                  as Business
                     Business Manager
                                Manager until
                                           until 2017
                                                  2017 when
                                                       when II retired.
                                                               retired.

    2. By
    2.  By virtue
            virtue of
                    of serving
                       serving asas Business
                                     Business Manager,
                                                Manager, II also
                                                            also served
                                                                 served as
                                                                        as Chairman
                                                                           Chairman of of the
                                                                                          the various
                                                                                               various Boards
                                                                                                       Boards
of Trustees
of Trustees of
             of the
                 the lUOE
                     [IUOE Local
                             Local 44 Benefit
                                        Benefit Funds
                                                 Funds (the
                                                        (the "Funds").
                                                              “Funds”). In
                                                                        In that
                                                                           that capacity,
                                                                                capacity, II attended
                                                                                              attended trustee
                                                                                                       trustee
meetings to
meetings  to act
              act on
                  on behalf
                      behalf of
                              of plan
                                  plan participants.
                                        participants.

    3. The
    3.  The Business
             Business Manager
                        Manager of  of aa Union
                                           Union hashas significant
                                                           significant sway
                                                                         sway withwith the
                                                                                         the other
                                                                                               other Labor
                                                                                                      Labor andand
Management Trustees
Management    Trustees on
                       on the
                           the various
                                various Boards
                                         Boards ofof Trustees.
                                                      Trustees. Trustees
                                                                   Trustees rarely
                                                                              rarely vote
                                                                                      vote in
                                                                                            in opposition
                                                                                                opposition to
                                                                                                            to the
                                                                                                                the
Business Manager
Business  Manager onon matters
                       matters requiring
                                 requiring aa vote.
                                              vote. ToTo the
                                                           the best
                                                                best of
                                                                      of my
                                                                         my knowledge,
                                                                              knowledge, in   in my
                                                                                                 my 1313 years
                                                                                                         years asas
Business Manager
Business  Manager II cannot
                     cannot remember
                              remember an an instance
                                             instance in in which
                                                             which any
                                                                     any trustee
                                                                          trustee voted
                                                                                   voted inin opposition
                                                                                               opposition to
                                                                                                           to me.
                                                                                                              me.

   4. In
   4.  In oror around
                 around 2017,
                          2017, II selected
                                    selected William
                                              William McLaughlin
                                                        McLaughlin as
                                                                    as my
                                                                        my replacement
                                                                             replacement for
                                                                                           for Business
                                                                                                Business
Manager in
Manager   in anticipation
              anticipation ofmy
                            of my retirement.
                                   retirement. The
                                               The Executive
                                                    Executive Board
                                                              Board ofthe
                                                                    of the Union
                                                                           Union then
                                                                                  then voted
                                                                                       voted to
                                                                                              to approve
                                                                                                 approve
my selection.
my selection.

    5. As
    5. As Chairman,
           Chairman, II worked
                        worked closely
                                closely with
                                        with Gina
                                             Gina Alongi,
                                                   Alongi, the
                                                           the Administrator
                                                               Administrator of
                                                                             of the
                                                                                the Local
                                                                                    Local 44 Benefit
                                                                                             Benefit
Funds, on
Funds, on the
          the smooth
              smooth operation
                       operation of
                                 of the
                                    the Union
                                        Union and
                                               and Funds.
                                                   Funds.

    6. For
    6.   For example,
              example, when
                        when the
                               the Union
                                    Union went
                                            went through
                                                  through its
                                                           its collective
                                                                collective bargaining
                                                                           bargaining processes,
                                                                                      processes, Ms.
                                                                                                 Ms. Alongi
                                                                                                      Alongi
and II regularly
and    regularly collaborated
                  collaborated inin the
                                    the allocation
                                        allocation process
                                                    process toto designate
                                                                  designate as
                                                                             as much
                                                                                much money
                                                                                     money from
                                                                                             from the
                                                                                                  the hourly
                                                                                                      hourly
wage increase
wage   increase to
                 to the
                    the various
                        various Benefit
                                  Benefit Funds.
                                           Funds.

    7. ITalso
    7.         requested that
          also requested that Ms.
                              Ms. Alongi
                                  Alongi attend
                                         attend negotiations
                                                negotiations with
                                                             with the
                                                                  the various
                                                                      various employer
                                                                              employer associations
                                                                                       associations
with me.
with me.

    8. IIwas
    8.          fully aware
           was fully  aware ofof the
                                 the fact
                                      fact that
                                           that Ms.
                                                  Ms. Alongi
                                                       Alongi took
                                                                took on
                                                                     on the
                                                                         the role
                                                                             role of
                                                                                   of Executive
                                                                                      Executive Director
                                                                                                  Director ofof the
                                                                                                                the
Massachusetts Coalition
Massachusetts     Coalition ofof Taft-Hartley
                                 Taft-Hartley FundsFunds (the
                                                           (the "Coalition")
                                                                “Coalition”) inin 2007.
                                                                                  2007. In
                                                                                         In fact,
                                                                                            fact, II recall
                                                                                                     recall telling
                                                                                                            telling
her that
her that II was
            was proud
                 proud of
                        of her
                           her for
                                for getting
                                    getting this
                                              this position.
                                                    position.

    9. The
    9.  The Union
              Union had
                     had been
                          been aa dues
                                   dues paying
                                          paying member
                                                  member of of the
                                                               the Coalition
                                                                   Coalition since
                                                                              since well
                                                                                    well before
                                                                                          before II became
                                                                                                    became
Business Manager
Business   Manager andand II believed
                              believed that
                                         that Ms.
                                              Ms. Alongi's
                                                   Alongi’s increased
                                                              increased involvement
                                                                         involvement with
                                                                                       with the
                                                                                             the Coalition
                                                                                                 Coalition
would be
would  be aa great
             great benefit
                   benefit to
                            to both
                               both the
                                     the Union
                                          Union and
                                                 and Funds.
                                                     Funds.

    10. Indeed,
    10. Indeed, Ms.
                Ms. Alongi
                    Alongi was
                           was able
                               able to
                                    to negotiate
                                       negotiate significant
                                                 significant savings
                                                             savings to
                                                                     to the
                                                                        the Health
                                                                            Health &
                                                                                   & Welfare
                                                                                     Welfare Fund
                                                                                             Fund
as aa result
as    result of
             of her
                her work
                    work with
                         with the
                              the Coalition.
                                  Coalition.




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    11. For example, as Director of the Coalition, Ms. Alongi consistently negotiated reduced
administrative fees from Blue Cross Blue Shield which ultimately saved the Health & Welfare
Fund millions of dollars in costs throughout the years.

     12. Similarly, the Funds were able to increase benefits for its members’ medical, hearing,
vision, and dental benefits and secure significant discounts on stop-loss insurance premiums due
to Ms. Alongi’s zealous negotiations.

    13. On more than one occasion, I told Union members that I was proud of Ms. Alongi for her
work with the Coalition and discussed the savings that Ms. Alongi had secured through the
Coalition at monthly Union Body Meetings.

    14. As part of my role as Business Manager, I oversaw annual compensation for Funds staff.
Towards the beginning of my tenure as Business Manager, the Trustees commissioned a
Compensation Study to determine average pay rates for administrative staff. I used these rates to
determine a baseline for pay raises, taking into account inflation and performance.

    15. To the best of my memory, during my tenure as Business Manager, Mr. McLaughlin and I
attended almost every one of Ms. Alongi’s Coalition holiday networking events together.

    16. I was well aware of the fact that Ms. Alongi was being compensated for her work with the
Coalition. This did not seem unusual or inappropriate to me as the Coalitions prior Executive
Director had also been compensated by the Coalition while he served as the Administrator of
another Taft-Hartley Fund (IUOE Local 877).

    17. T also knew how much Ms. Alongi was being paid by the Coalition and took that into
account in determining her annual compensation from the Funds at the end of each year.

    18.    Twas also aware that other Funds employees, such as Laura Jean Hickey, also performed
paid work for the Coalition.

     19. A Compensation Study commissioned by the Funds in or around 2005 showed that Ms.
Alongi was paid less than or the same as Administrators of comparable multi-employer Funds in
relation to the number of Funds she managed and administered, taking into account the
compensation she received from both the Coalition and the Funds.

    20. In or around 2013, I suggested giving Ms. Alongi an additional two weeks of vacation
time to use or cash out annually because of her dedication, work ethic and her performance as
Administrator for the Funds.

    21. In my 13 years as Business Manager, I had no concerns about Ms. Alongi’s management
of the Funds. To the contrary, she was an excellent Administrator who worked extremely hard to
provide premium benefits for the members and their families.




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    22. For example, prior to Ms. Alongi’s tenure as Administrator, the Health & Welfare Fund
was on the verge of bankruptcy; indeed, it was in such dire straits that, in or around 2004, the
Union transferred $1 million to the Health & Welfare Fund to cover the costs of its medical claims.
By the time I retired in 2017, the Health & Welfare Fund had almost 3 years of costs in reserves.
This financial performance is extraordinary in the industry and was due in large part to Ms.
Alongi’s excellent management of the Fund throughout her years of service.

    23. Similarly, through Ms. Alongi’s management, the Pension Fund was able to stay in the
“green zone” every year under the Pension Protection Act since the enactment of the Act. This is
extraordinarily rare in multiemployer pension funds and attributable primarily to Ms. Alongi’s
diligence.

    24. In or around 2005,     Ms. Alongi played a key role in establishing a claims sharing
mechanism    with Blue Cross Blue     Shield, called “Union   Blue”,   which allowed the Health &
Welfare Fund to continue to self-administer its plan while taking advantage of hospital discounts.
The Funds were then able to sell the product to other members of the Coalition, reducing the per
member per month administrative fee and saving millions of dollars for the Health & Welfare
Fund.

    25. In or around 2015, Ms. Alongi decided to dismantle the Health & Welfare Fund’s internal
claims operations to continue to build the reserves. By taking this action, the Health & Welfare
Fund saved millions of dollars per year in administrative fees, wages, fringe benefits, and software
development costs.

    26.   I personally nominated Ms. Alongi for the 2015 Cushing Gavin Boyle Award based on
her exemplary work for both the Funds and the Coalition. I also served on the selection committee
for the award which was composed of past recipients of Cushing Gavin Awards.

     27. Typically, voting for Cushing Gavin Awards takes several rounds of negotiations, but Ms.
Alongi was selected by a unanimous vote in the first round due to her stellar reputation in the labor
community. She was the first Taft-Hartley Fund Administrator to win the award. It is my belief
that Ms. Alongi was widely known in the labor community as the best Administrator in the country.

    28. All statements contained in this affidavit are made      to the best of my knowledge      and
understanding.




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   Sworn to under the pains and penalties of perjury this b day of May, 2021.




                 Wg,               by)     Th ao it
                      AN        Louis G. Rasetta




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                       TAB
                        6




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                        AFFIDAVIT OF JOHN J. SHAUGHNESSY, JR.


         I, John J. Shaughnessy, Jr., on oath, depose and state as follows:

    1. Iam the former Senior Management Trustee of the Health & Welfare, Pension, and
Annuity & Savings Funds of the IUOE Local 4 Benefit Funds (the “Funds”). I served as Trustee
for approximately 30 years until 2019. I was the sole Management Trustee who served on all of
the aforementioned Funds.

    2.   All statements contained in this affidavit are made of my own personal knowledge.

    3. As Senior Management Trustee, 1 worked closely with both the Business Managers and
Administrators of the Funds to support the operation of the Funds including William
McLaughlin and Gina Alongi.

    4. My duties as Trustee included attending Trustee meetings, approving extraordinary Fund
expenses, employee compensation, and in general terms assisting in the implementation of all
policy changes to the Funds.

    5. As Senior Trustee, I was at the Funds’ Medway office more than any other Trustee and
regularly approved Funds matters jointly with the Business Manager.

    6. In or around 2013, I specifically recall that then-Business Manager Lou Rasetta and I
approved an additional two weeks of vacation time for Ms. Alongi to use or cash out annually.
Additionally, we gave her a generous car “allowance”

    7.   Throughout her tenure as Administrator, Ms. Alongi was an exemplary employee and
consistently went above and beyond in service of her duties at the Funds.

    8.   Ms. Alongi was appointed to the Massachusetts Coalition of Taft Hartley Funds (the
“Coalition”) as the Executive Director in or around 2007. As a direct result of Ms. Alongi’s
work, coordinating and overseeing the work of the Coalition, and by utilizing the Coalition’s
collective bargaining power, the Funds were able to reap significant benefits by negotiating more
favorable contract terms with third party vendors. In short, the Funds would not have received
the same benefits if not for Ms. Alongi’s work at the Coalition.




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   9.    For example, approximately 10-15 years ago, Ms. Alongi negotiated with Blue Cross
Blue Shield over how they paid out benefits to plan participants; she redesigned the way the
Funds was run to help to contain healthcare costs for the benefit of the Funds and its members.
This revolutionary new way of doing business with Blue Cross Blue Shield not only wound up
saving the Funds millions of dollars (and, in turn, savings its members on healthcare costs), but it
also wound up helping to secure more favorable terms for other Taft Hartley funds and their
members. In short, Ms. Alongi’s work on behalf of the Coalition (of which I was fully aware)
had a direct and positive financial impact on the Funds.

    10. In 2004, the DOL identified a number of       issues, including the administrative allocation,
and minor “improper” expenses from which Ms.          Alongi would, for example, purchase bagels
and birthdays cakes to the office for all staff and   host office Christmas parties Ms. Alongi made
me aware of her efforts to improve office morale      by doing so and I took no issue with her use of
funds for this purpose.

     11. Around 2012, Ms. Alongi discovered an error with a notice requirement for the pension
fund. She immediately informed the Trustees and spent a significant amount of time fixing the
problem. This was the direct result from not getting the proper advice from the Plan’s outside
consultants and attorneys; this was not caused in any way by Ms. Alongi. In fact, Ms. Alongi
took it upon herself to negotiate a $500,000 settlement from one of the outside consultants,
which was then paid directly to the pension fund.

    12.   Ms Alongi’s oversight and direction of the Pension Fund garnered a consistent “green
zone” rating for the Fund over the last decade, which was very unusual in the Taft Hartley world;
another testament to her diligence and professionalism.

    13.   During my time as a Trustee, | observed Mr. McLaughlin’s behavior around women in
the Funds office.   In particular, I observed that Mr. McLaughlin and Laura-Jean Hickey were
flirtatious with each other and interacted with each other in a manner that did not appear to be
completely professional. Both Ms. Alongi and Mr. Greg Geiman informed me separately that
Mr. McLaughlin was having an inappropriate relationship with Ms. Hickey.

    14.   In or around May 2018, I received a telephone call from Ms. Alongi. She informed me
that she had been assaulted by Mr. McLaughlin in her office. She was distraught and told me that
at one point she was worried Mr. McLaughlin would physically assault her. I specifically
remember being so astounded by what she was telling me that [ could not focus on driving and
had to pull my car off to the side of the road to continue the discussion.




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     15. During this call, I recall Ms. Alongi also telling me that she was very concerned about
retaliation if she reported this incident. At some point later, I also recall her telling me that Ms.
Kate Shea, the Funds’ outside counsel, had counseled her that Mr. McLaughlin’s behavior was
not illegal. Given this, I decided not to discuss this incident with any of the other Trustees. Ms
Alongi informed me that her intent was to attempt to co-exist with Mr. McLaughlin until she
reached retirement age.

                                                                       2
           Sworn to under the pains and penalties of perjury this 3l_ “day of March 2021.




                                                               John J. Shaughnessy, Jr.




4839-5007-7664.3

                                                                                           D. App. 062
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                       TAB
                        7




                                                              D. App. 063
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                      In the
                      In the Matter
                             Matter of:
                                    of:

                Ginamarie Alongi,
                Ginamarie Along, et
                                  et al.
                                     al. vs
                                         vs
      luoe Local
      Iuoe Local 4
                 4 Health
                   Health &
                          & Welfare
                            Welfare Fund,
                                    Fund, et
                                          et al.
                                             al.




                  John J.
                  John J. Shaughnessy,
                          Shaughnessy, Jr.
                                       Jr.
                         July 25,
                         July 25, 2022
                                  2022


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                                                              D. App. 064
           Case 1:21-cv-10163-FDS Document 64 Filed 12/13/22 Page 68 of 271
Ginamarie Alongi,
Ginamarie  Alongi, et
                   et al.
                      al. vs
                          vs                                    John J.
                                                                John J. Shaughnessy,
                                                                        Shaughnessy, Jr.
                                                                                       Jr.
luoe Local
Iuoe Local 4
           4 Health
             Health && Welfare
                        Welfare Fund,
                                Fund, et
                                      et al.
                                         al.                               July 25,
                                                                           July 25, 2022
                                                                                    2022
                                                                                                                                                      Page 3

                    COMMONWEALTH OF
  ·1· · · · · · · · COMMONWEALTH OF MASSACHUSETTS
                                    MASSACHUSETTS                                    1 ·REMOTE
                                                                                    ·1· REMOTE APPEARANCES
                                                                                               APPEARANCES CONT'D:
                                                                                                           CONT'D:

       NORFOLK, SS.·
  ·2· ·NORFOLK, SS. · · · · · SUPERIOR
                              SUPERIOR COURT
                                       COURT                                         2 ·Representing
                                                                                    ·2· Representing IUOE
                                                                                                     IUOE LOCAL
                                                                                                          LOCAL 4:
                                                                                                                4:

                               CIVIL ACTION
  ·3· · · · · · · · · · · · · ·CIVIL ACTION NO.:
                                            NO.: 2182CV00125
                                                 2182CV 00125                                   O'DONOGHUE &
                                                                                    ·3· · · · · O'DONOGHUE & O'DONOGHUE
                                                                                                             O'DONOGHUE LLP
                                                                                                                        LLP

  ·4                                                                                            5301 Wisconsin
                                                                                    ·4· · · · · 5301           Avenue, NW,
                                                                                                     Wisconsin Avenue, NW, Suite
                                                                                                                           Suite 800
                                                                                                                                 800
       A
  ·5· ·**********************************************                               ·5· · · · · Washington, DC 20015
                                                                                                Washington, DC· 20015

       GINAMARIE ALONGI
  ·6· ·GINAMARIE ALONGI AND
                        AND ROSEMARIE
                             ROSEMARIE ALONGI,·
                                       ALONG, · · ·*                                            BY: CHARLES
                                                                                    ·6· · · · · BY:· CHARLESW.  GILLIGAN, ESQ.
                                                                                                             W. GILLIGAN, ESQ.

                               Plaintiffs · · · · ·*
  ·7· · · · · · · · · · · · · ·Plaintiffs·         *                                            and DANIEL
                                                                                    ·7· · · · · and DANIEL KEENAN,
                                                                                                           KEENAN, ESQ.
                                                                                                                   ESQ.

       Vs. · · · · · · · · · · · · · · · · · · · · **
  ·8· ·vs.·                                                                                     (202) 362-0041
                                                                                    ·8· · · · · (202) 362-0041
       IUOE LOCAL
  ·9· ·IUOE LOCAL 4
                  4 HEALTH
                    HEALTH &
                           & WELFARE
                             WELFARE FUND,
                                     FUND, et
                                           eta,
                                              al,· ·**                                          E-mail: cgilligan@odonoghuelaw.com
                                                                                    ·9· · · · · E-mail: cgilligan@odonoghuelaw.com
                               Defendants · · · · ·*
  10· · · · · · · · · · · · · ·Defendants·         *                                     Representing the
                                                                                    10· ·Representing the John
                                                                                                          John J.
                                                                                                               J. Shaughnessy,
                                                                                                                  Shaughnessy, Jr.:
                                                                                                                               Jr.:
       I                                          —
  11· ·**********************************************                                           LAW OFFICES
                                                                                    11· · · · · LAW OFFICES OF
                                                                                                            OF ROBERT
                                                                                                               ROBERT PHILIP
                                                                                                                      PHILIP HILSON
                                                                                                                             HILSON

  12                                                                                            175 Derby
                                                                                    12· · · · · 175 Derby Street,
                                                                                                          Street, Suite
                                                                                                                  Suite 12
                                                                                                                        12
  13                                                                                            Hingham, Massachusetts·
                                                                                    13· · · · · Hingham, Massachusetts 02043
                                                                                                                        02043
  14                                                                                            BY: ROBERT
                                                                                    14· · · · · BY:· ROBERT P.
                                                                                                            P. HILSON,
                                                                                                               HILSON, ESQ.
                                                                                                                       ESQ.

              DEPOSITION OF:
  15· · · · · DEPOSITION OF: JOHN
                             JOHN J.
                                  J. SHAUGHNESSY,
                                     SHAUGHNESSY, JR.
                                                  JR.                                           (781) 740-4118
                                                                                    15· · · · · (781) 740-4118

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  16· · · · · · · · · APPEARING REMOTELY FROM:
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                                                                                    16· · · · · E-mail: hilsonrp@yahoo.com
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  17· · · · · · · · · ·HINGHAM, MASSACHUSETTS                                            Also present:
                                                                                    17· ·Also present:

                    July 25,
  18· · · · · · · · July 25,2022      10:01 a.m.
                             2022· · ·10:01 am.                                                 Gina Marie
                                                                                    18· · · · · Gina Marie Alongi
                                                                                                           Alongi
  19                                                                                            Rose Marie
                                                                                    19· · · · · Rose Marie Alongi
                                                                                                           Alongi
  20                                                                                            Gregory Geiman,
                                                                                    20· · · · · Gregory Geiman, Esq.
                                                                                                                Esq.
  21                                                                                21
  22                                                                                22
                          Brenda M.
  23· · · · · · · · · · · Brenda M. Ginisi
                                    Ginisi                                          23
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  24· · · · · · · · · · · ·Court Reporter                                           24


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  ·1· ·REMOTE APPEARANCES:                                                          ·1· · · · · · · · · · · · · I N D E X
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       Representing the
  ·2· ·Representing the Plaintiffs:
                        Plaintiffs:                                                 ·2
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              BOWDITCH &
  ·3· · · · · BOWDITCH & DEWEY,
                         DEWEY, LLP
                                LLP                                                      WITNESS: · · · · · · · · · · ·JOHN
                                                                                    ·3· ·WITNESS:·                     JOHN J.
                                                                                                                            J. SHAUGHNESSY,
                                                                                                                               SHAUGHNESSY, JR.
                                                                                                                                            JR.

              200 Crossing
  ·4· · · · · 200 Crossing Boulevard
                           Boulevard                                                ·4
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              Framingham, Massachusetts·
  ·5· · · · · Framingham, Massachusetts 010702
                                         010702                                     ·5
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              BY: TIMOTHY
  ·6· · · · · BY:· TIMOTHY P.
                           P. VAN DYCK, ESQ.
                              VAN DYCK, ESQ.                                             EXAMINATION BY:·
                                                                                    ·6· ·EXAMINATION BY: · · · · · · · · · · · · · · · · ·PAGE:
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              and JACOB
                  JACOB TOSTI,
                        TOSTI, ESQ.
                               ESQ.                                                      Mr. Gilligan·
                                                                                             Gilligan · · · · · · · · · · · · · · · · · · · ·6
                                                                                    NN




  ·7· · · · · and                                                                   ·7· ·Mr.
              (617) 757-6536
  ·8· · · · · (617) 757-6536                                                        ·8
                                                                                    00




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       Representing the
  10· ·Representing the Defendants:
                        Defendants:                                                      EXHIBITS: · · · · · · · · · · · · · · · · · · · ·PAGE:
                                                                                    10· ·EXHIBITS:·
              FREEMAN MATHIS
  11· · · · · FREEMAN MATHIS&& GARY
                               GARY LLP
                                    LLP                                             11
              60 State
  12· · · · · 60 State Street,
                       Street, Suite
                               Suite 600
                                     600                                                 (none offered)
                                                                                    12· ·(none offered)
              Boston, Massachusetts·
  13· · · · · Boston, Massachusetts 02109
                                     02109                                          13
              BY: JENNIFER
  14· · · · · BY:· JENNIFER L.
                            L. MARKOWSKI,
                               MARKOWSKI, ESQ.
                                          ESQ.                                      14
              and CHRISTOPHER
  15· · · · · and CHRISTOPHER J.
                              J. REDD,
                                 REDD, ESQ.
                                       ESQ.                                         15
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  16· · · · · (617) 963-5975                                                        16
              E-mail: jmarkowski@fmglaw.com
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  24                                                                                24



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                                                        O'Brien & Levine,
                                                                   Levine, AA Magna
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           Case 1:21-cv-10163-FDS Document 64 Filed 12/13/22 Page 69 of 271
Ginamarie Alongi,
Ginamarie   Along, et
                    et al.
                       al. vs
                           vs                                   John J.
                                                                John J. Shaughnessy,
                                                                        Shaughnessy, Jr.
                                                                                       Jr.
luoe Local
Iuoe Local 44 Health
              Health && Welfare
                         Welfare Fund,
                                 Fund, et
                                       et al.
                                          al.                              July 25,
                                                                           July 25, 2022
                                                                                    2022
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  · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · ·Page                                                                                        Page
                                                                                             · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · ·Page
               Q. · ·Would
  ·1· · · · · Q.·       Would it     it have
                                        have beenbeen counsel?
                                                          counsel?                                        Q. · ·I'm
                                                                                             ·1· · · · · Q.·        I'mgoingto
                                                                                                                          going to ask    ask you
                                                                                                                                                you to totakea
                                                                                                                                                            take a look   look at at --
                                                                                                                                                                                      --
   BE




                                                                                             WNP
              A. · ·I| don't
  ·2· · · · · A.·      don't know.
                             know.                                                                 first at
                                                                                             ·2· ·first    at Section
                                                                                                                Section 6.3   6.3 of
                                                                                                                                   of that
                                                                                                                                        that document.
                                                                                                                                               document.
   WN




              Q. · ·Are
  ·3· · · · · Q.·    Areyouyou familiar with the
                               familiar with the welfare
                                                 welfare funds
                                                         funds                                                   MR. KEENAN:·
                                                                                             ·3· · · · · · · · ·MR.       KEENAN: And        And Mr. Mr. Shaughnessy,
                                                                                                                                                             Shaughnessy, please      please
       trust document?
  ·4· ·trust    document?                                                                                 don't hesitate
                                                                                             ·4· · · · · don't     hesitate to   to let
                                                                                                                                     let us
                                                                                                                                          us know
                                                                                                                                              know if   if you
                                                                                                                                                            you need need the the




                                                                                              Ohh
   Oh




              A. · ·I| know
  ·5· · · · · A.·      know that
                            that there
                                 thereisis one,
                                           one, yes.·
                                                yes. I'm
                                                      I'm sure,
                                                          sure,                              ·5· · · · · text
                                                                                                          text toto bebe larger
                                                                                                                          larger or  or smaller,
                                                                                                                                         smaller, et  et cetera,
                                                                                                                                                           cetera, just  just
       that, over
  ·6· ·that,  over the
                   the years
                       years---- I've
                                 I've read
                                      read it
                                           it or
                                              or referred
                                                  referred to
                                                           to it
                                                              it                                          let us
                                                                                             ·6· · · · · let   us know.
                                                                                                                    know.
   NO




                                                                                              NO
       On numerous
  ·7· ·on   numerous occasions,
                       occasions, soso yes
                                       yes I'm
                                            I'm familiar
                                                 familiar with   it.
                                                           with it.                                              THE WITNESS:
                                                                                             ·7· · · · · · · · ·THE       WITNESS:· Smaller?· Smaller? You       You shittin'
                                                                                                                                                                          shittin' me?
                                                                                                                                                                                     me?
              Q. · ·Can
  ·8· · · · · Q.·   Can you
                        you explain
                             explain to
                                     to me,
                                         me, as
                                             as best
                                                best you can,
                                                     you can,                                                    MR. KEENAN:·
                                                                                             ·8· · · · · · · · ·MR.       KEENAN: You        You needneed it   it to
                                                                                                                                                                   to bebe larger?
                                                                                                                                                                             larger?
   00




                                                                                              0
       what the purpose of the trust document is?
  ·9· ·what     the purpose of the trust  document   is?                                                         THE WITNESS:
                                                                                             ·9· · · · · · · · ·THE       WITNESS:· Get       Get to to 6-3
                                                                                                                                                          6-3 for for me,me, please.
                                                                                                                                                                               please.
   ©




                                                                                              ©
              A. · ·The
  10· · · · · A.·   Thetrust  document would
                        trust document   would be
                                                be the
                                                   the                                       10· · · · · · · · ·MR.MR. KEENAN:·
                                                                                                                           KEENAN: 6-3.·      6-3. YouYou got   got this,
                                                                                                                                                                       this, sir?
                                                                                                                                                                               sir?




                                                                                             = o
                                                                                             Boe
       guidelines by
  11· ·guidelines    by which
                        which the  trustees and
                               the trustees and the
                                                the administrator
                                                    administrator                                                 THE WITNESS:·
                                                                                             11· · · · · · · · ·THE        WITNESS: Okay.·     Okay. I| can    can seeseeit.it.
       and the
  12· ·and the administrative
               administrative staff
                              staff operate.
                                    operate.                                                               Q. · ·(By
                                                                                             12· · · · · Q.·         (By Mr.Mr. Gilligan)·
                                                                                                                                   Gilligan) Okay.  Okay.
              Q. · ·I'll
  13· · · · · Q.·   I'll tell
                         tell you
                              you what,
                                  what, I| would
                                           would like
                                                  liketo  get
                                                       to get                                       Mr. Shaughnessy,
                                                                                             13· ·Mr.       Shaughnessy, if         if you
                                                                                                                                        you would
                                                                                                                                              would take  take aa minuteminutetoto reviewreview
       the trust
  14· ·the   trust document
                    document up  up on
                                    on the  screen for
                                       the screen  for Mr.
                                                        Mr. Shaughnessy
                                                              Shaughnessy                           Section 6.3.·
                                                                                             14· ·Section         6.3. I| have
                                                                                                                             haveaa question
                                                                                                                                         question thereto
                                                                                                                                                        thereto and     and I'm I'm going
                                                                                                                                                                                      going
       tolook
  15· ·to       at. And
          look at.·      specifically a
                     And specifically a couple
                                        couple of
                                               of sections
                                                   sections of
                                                             of                              15· ·toto ask
                                                                                                         ask you
                                                                                                               you about
                                                                                                                       about that.that.· AndAnd just
                                                                                                                                                   just let let me me knowknow when when
       it 6.3
  16· ·it 6.3and   6.4. And
              and 6.4.· And I'd
                             I'd ask
                                 ask why
                                     why don't
                                          don't we
                                                 we do
                                                     do this,
                                                        this, why
                                                               why                                  you've had a chancetoread it.
                                                                                             16· ·you've        had     a  chance       to  read    it.
       don't we
  17· ·don't      we take
                      take aa five-minute
                              five-minute break.
                                             break.                                                        A. · ·Okay.
                                                                                             17· · · · · A.·         Okay.
                     And would
  18· · · · · · · · ·And  would it it be
                                      be best
                                         best if
                                               if my
                                                  my colleague
                                                     colleague                                             Q. · ·Mr.
                                                                                             18· · · · · Q.·         Mr. Shaughnessy,
                                                                                                                            Shaughnessy, is         isitit your       testimony
                                                                                                                                                           your testimony
       shared it
  19· ·shared  it with
                   with you,
                        you, Brenda,
                              Brenda, and
                                      and you  can put
                                          you can   put it
                                                         it on
                                                            on the
                                                               the                                  that you
                                                                                             19· ·that      you and and Mr.Mr. Rasetta
                                                                                                                                   Rasetta had  had the the authority,
                                                                                                                                                                authority, between  between the
                                                                                                                                                                                              the
       screen, or
  20· ·scree,n,  or how
                     how do
                          do you
                             you propose
                                  propose we handle
                                          we  handle this?
                                                      this?                                         two of
                                                                                             20· ·two      of you,
                                                                                                                you, to to grant
                                                                                                                             grant additional
                                                                                                                                       additional vacation
                                                                                                                                                         vacation to        to Ms.
                                                                                                                                                                                Ms. Alongi?
                                                                                                                                                                                       Alongi?
                     THE COURT
  21· · · · · · · · ·THE   COURT REPORTER:·
                                   REPORTER: Can
                                             Can we go off
                                                 we go off the
                                                           the                                             A. · ·Yes.
                                                                                             21· · · · · A.·         Yes
              record for
  22· · · · · record   for aamoment?
                             moment?                                                         22· · · · · · · · ·MR.MR. VANVAN DYCK:· DYCK: Objection
                                                                                                                                                  Objection as        astoto form.
                                                                                                                                                                               form.
                     MR. GILLIGAN:·
  23· · · · · · · · ·MR. GILLIGAN: Yeah,
                                    Yeah, let's
                                          let's go off
                                                go off the
                                                       the                                                 Q. · ·(By
                                                                                             23· · · · · Q.·         (By Mr.Mr. Gilligan)·
                                                                                                                                   Gilligan) And    And what what is     isthe     basis
                                                                                                                                                                             the basis
              record.
  24· · · · · record.                                                                        24· ·ofof your      contention?
                                                                                                        your contention?

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  · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · ·Page                                                                                        Page
                                                                                             · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · ·Page
  ·1                                                                                                      A. · ·Was
                                                                                             ·1· · · · · A.·       Wasthat that to to me
                                                                                                                                       me or  or whoever
                                                                                                                                                  whoever just         objected?
                                                                                                                                                                 just objected?
                                                                                              WNP
   WNP




                      (Off record
  ·2· · · · · · · · ·(Off     record discussion)
                                         discussion)                                                      Q. · ·That
                                                                                             ·2· · · · · Q.·       That is   istoyou.
                                                                                                                                 to you.
  ·3                                                                                                      A. · ·It's
                                                                                             ·3· · · · · A.·       It'sbecause
                                                                                                                         because that'sthat's howhow -- -- that's
                                                                                                                                                            that's how
                                                                                                                                                                     how
                      MR. GILLIGAN:·
  ·4· · · · · · · · ·MR.      GILLIGAN: Why          Why don'tdon't we    take five
                                                                      we take    five and
                                                                                       and         these items
                                                                                             ·4· ·these      items were        handled. And,
                                                                                                                      were handled.·            And, typically,
                                                                                                                                                        typically, with with the
                                                                                                                                                                               the
                                                                                              OOP
   Oh




               come back
  ·5· · · · · come       back about
                                  about 11 11 o'clock
                                                 o'clock and and we'll     resume. Is
                                                                    we'll resume.·     Is          business agent
                                                                                             ·5· ·business        agent and and thethe senior
                                                                                                                                        senior management
                                                                                                                                                    management trustee,              which
                                                                                                                                                                        trustee, which
               that good
  ·6· · · · · that    good for for everyone?
                                     everyone?                                                     was me,
                                                                                             ·6· ·was     me, because
                                                                                                                 because I| was   was thethe only
                                                                                                                                                only one
                                                                                                                                                       one to  to serve
                                                                                                                                                                   serve onon both
                                                                                                                                                                               both
   ~NO




                                                                                              NO




                      THE WITNESS:·
  ·7· · · · · · · · ·THE       WITNESS: Yes.        Yes.                                           funds. And
                                                                                             ·7· ·funds.·              then, typically,
                                                                                                               And then,        typically, these these decisions
                                                                                                                                                          decisions wouldwould have have
  ·8                                                                                               been shared
                                                                                             ·8· ·been      shared withwith the the entire
                                                                                                                                      entire board.
                                                                                                                                                 board.
                                                                                              00
   00




                      (A recess
  ·9· · · · · · · · ·(A    recess was        taken)
                                      was taken)                                                          Q. · ·Well,
                                                                                             ·9· · · · · Q.·       Wall, wouldwould they they havehave beenbeen shared
                                                                                                                                                                    shared withwith
                                                                                              ©
   ©




  10                                                                                                the entire board, or would the entire board have to
                                                                                             10· ·the     entire     board,       or   would       the   entire     board     have     to
                Q. · ·(By
  11· · · · · Q.·        (By Mr. Mr. Gilligan)·
                                        Gilligan) Mr.    Mr. Shaughnessy,
                                                                 Shaughnessy, can    can            vote upon
                                                                                             11· ·vote      upon --   --
         you see
  12· ·you       see what's
                       what's been been put put up up onon the
                                                             the screen?
                                                                    screen?                                A. · ·I| don't
                                                                                             12· · · · · A.·          don't know.
                                                                                                                                know.
                       MR. GILLIGAN:·
  13· · · · · · · · ·MR.        GILLIGAN: Someone     Someone help    help me
                                                                            me out
                                                                                 out on
                                                                                      on                            L ooking at
                                                                                             13· · · · · Q.· · ·Looking             at Section
                                                                                                                                        Section 6.3   6.3 ----
                this. But
  14· · · · · this.·     But I| believe
                                   believe thisthis has
                                                      has been
                                                            been previously
                                                                     previously              14· · · · · A.· · ·Yep.Yep.
                distributed in
  15· · · · · distributed          in this
                                      this case
                                              case asas Exhibit
                                                          Exhibit 182;182; is
                                                                            is that
                                                                                that         15· · · · · Q.· · ·It  It indicates
                                                                                                                         indicates --    --
                correct?
  16· · · · · correct?                                                                       16· · · · · A.· · ·I| seeseeit.it.
                       MR. VAN
  17· · · · · · · · ·MR.                 DYCK: Correct,
                                VAN DYCK:·              Correct, Chuck.
                                                                      Chuck.                               Q. · ·And
                                                                                             17· · · · · Q.·        And so,  so, the
                                                                                                                                   thetwotwo of  of you
                                                                                                                                                     you would
                                                                                                                                                            would not  not
                       MR. GILLIGAN:·
  18· · · · · · · · ·MR.        GILLIGAN: Okay.·      Okay. Thank Thank you.
                                                                           you.                     constitute aa quorum,
                                                                                             18· ·constitute             quorum, for     for purposes
                                                                                                                                                purposes of      of transacting
                                                                                                                                                                    transacting
                Q. · ·(By
  19· · · · · Q.·        (By Mr. Mr. Gilligan)·
                                        Gilligan) Mr.    Mr. Shaughnessy,
                                                                 Shaughnessy, do     do             businessfor
                                                                                             19· ·business         for thethe fund;
                                                                                                                                fund; isn't isn't that     true?
                                                                                                                                                    that true?
         you recognize
  20· ·you      recognize that    that document?
                                         document?                                                         A. · ·According
                                                                                             20· · · · · A.·        According to      to Section
                                                                                                                                            Section 6.3,
                                                                                                                                                       6.3, thatthat would
                                                                                                                                                                      would be  be
                A. · ·Ildo.
  21· · · · · A.·          do.                                                                      correct.
                                                                                             21· ·correct.
                Q. · ·Oak.·
  22· · · · · Q.·        Oak. And   And can can youyou tell
                                                          tell me  me what
                                                                       what itit is?
                                                                                 is?                       Q. · ·And
                                                                                             22· · · · · Q.·        And thediscussion
                                                                                                                             the discussion that      that you you had
                                                                                                                                                                     had with
                                                                                                                                                                            with
                A. · ·It's
  23· · · · · A.·        It'sthetrust        agreement for
                               the trust agreement             for the
                                                                    the health
                                                                         health & &                 Mr. Rasetta
                                                                                             23· ·Mr.       Rasetta and   and Ms. Ms. Alongi,
                                                                                                                                         Alongi, aboutabout additional
                                                                                                                                                                  additional vacation
                                                                                                                                                                                   vacation
  24 ·welfare
  24·    welfare fund.fund.                                                                         time, did
                                                                                             24· ·time,       did that
                                                                                                                    that occur
                                                                                                                             occur in  in the      course of
                                                                                                                                             the course        of aa ordinary
                                                                                                                                                                     ordinary


                                               O'Brien &
                                               O'Brien & Levine,
                                                          Levine, AA Magna
                                                                     Magna Legal
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                       al. vs
                           vs                                   John J.
                                                                John J. Shaughnessy,
                                                                        Shaughnessy, Jr.
                                                                                       Jr.
luoe Local
Iuoe Local 44 Health
              Health && Welfare
                         Welfare Fund,
                                 Fund, et
                                       et al.
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        advisers. One
  ·1· ·advisers.·        One waswas an  an actuarial
                                             actuarial matter.
                                                            matter.                                             Q.
                                                                                                   ·1· · · · · Q.·    ·  Allright. Thank you. Can you
                                                                                                                        ·All   right.·     Thank        you.·     Can     you tell
                                                                                                                                                                                tell meme




                                                                                                   PF
   WDNR




               She recovered
  ·2· · · · · She     recovered millionsmillions of   of dollars
                                                          dollars for for                                what the
                                                                                                   ·2· ·what      the Mass.
                                                                                                                         Mass. Coalition
                                                                                                                                    Coalition is?     is?




                                                                                                   WN
        that fund,
  ·3· ·that    fund, thatthat aa lesser
                                   lesser administrator
                                             administrator would   would                                        A. · ·It's
                                                                                                   ·3· · · · · A.·       It'saconsortium
                                                                                                                               a consortium of        of some
                                                                                                                                                           some number
                                                                                                                                                                    number of   of local
                                                                                                                                                                                    local
        have had
  ·4· ·have      had no no concept
                             concept aboutabout how how to   to go
                                                                 go after
                                                                     after and and                       unions that
                                                                                                   ·4· ·unions              administrators
                                                                                                                     that administrators             that meet
                                                                                                                                                    that     meet on on aa fairly
                                                                                                                                                                            fairly




                                                                                                   Oh
        resolve these
  ·5· ·resolve       these issues,
                              issues, including
                                          including bringing
                                                           bringing in   in your
                                                                              your                       regular basis,
                                                                                                   ·5· ·regular       basis, asasfar     as| I know,
                                                                                                                                    far as      know, to    to compare
                                                                                                                                                                compare notes notes on  on
        firm and
  ·6· ·firm     and Joyce
                       Joyce MaderMader at   at God
                                                 God knows
                                                         knows how  how many many                        how their
                                                                                                   ·6· ·how      their funds
                                                                                                                         funds are are being
                                                                                                                                         being run  run andand exchange
                                                                                                                                                                 exchange ideas, ideas, andand
   oN




                                                                                                   NO
        hundreds of
  ·7· ·hundreds         of thousand
                            thousand of     of dollars
                                                 dollars an  an hour
                                                                  hour to to                             get thoughts
                                                                                                   ·7· ·get    thoughts on    on who's
                                                                                                                                   who's doing
                                                                                                                                             doing what          right, who's
                                                                                                                                                        what right,       who's doing
                                                                                                                                                                                    doing
        negotiate one
  ·8· ·negotiate        one of of them
                                    them fromfrom us.us.                                                 what wrong.
                                                                                                   ·8· ·what      wrong.




                                                                                                   00
               And I| can
  ·9· · · · · And         can gogo on on and
                                          and on  on with
                                                       with thethe things
                                                                    things                                             And more
                                                                                                   ·9· · · · · · · · ·And      more importantly
                                                                                                                                        importantly and       and significantly,
                                                                                                                                                                    significantly,




                                                                                                   ©
   ©




         that she
  10· ·that     she did
                      did to to make
                                  make Local
                                           Local 4   4 aa better
                                                           better place
                                                                     place for  for                10· ·toto use
                                                                                                              use their      group purchases
                                                                                                                     their group       purchases power,   power, for  for lack
                                                                                                                                                                           lack ofof aa
         their employees.·
  11· ·their      employees. And      And my   my dad
                                                    dad waswas aa trustee
                                                                     trustee      for
                                                                                  for                     better word,
                                                                                                   11· ·better      word, to  to negotiate
                                                                                                                                   negotiate betterbetter deals
                                                                                                                                                              deals forfor each
                                                                                                                                                                            each of of
         many --
  12· ·many        -- many,
                       many, many  many years
                                            years on  on the
                                                           the teamsters
                                                                 teamsters health health                  their individual
                                                                                                   12· ·their      individual unions.
                                                                                                                                    unions.
  13· ·& & welfare
             welfarefund.  fund.· AndAnd I| had had some
                                                       some knowledge
                                                                knowledge of        of how
                                                                                       how                       Q. · ·Over
                                                                                                   13· · · · · Q.·        Over the  theyears,
                                                                                                                                          years, did   did you       attend any
                                                                                                                                                              you attend       any
         they operated. And it gave me abasisto
  14· ·they      operated.·        And    it  gave    me    a  basis   to                                 coalition meetings
                                                                                                   14· ·coalition         meetings or     or events?
                                                                                                                                               events?
         compare what
  15· ·compare          what was was going
                                         going on  on within       Local 4.·
                                                        within Local          4. AndAnd            15· · · · · A.         No.
                                                                                                                 A.· · ·No.
         it, certainly,
  16· ·it,   certainly, had   had nothing
                                     nothing to   to do
                                                      do with
                                                           with what
                                                                   what I| did  did                              Q. · ·No.·
                                                                                                   16· · · · · Q.·        No. Okay.·
                                                                                                                                  Okay. Would Would you      you consider
                                                                                                                                                                    consider
  17· ·oror the
             the other
                   other two two management
                                     management trustees, trustees, or  or the
                                                                             the                          Gina Alongi
                                                                                                   17· ·Gina        Alongi spending
                                                                                                                                spending 10      10 hours
                                                                                                                                                       hours     aa week
                                                                                                                                                                     week on on coalition
                                                                                                                                                                                   coalition
         three union
  18· ·three      union trustees.
                             trustees.                                                                    business during
                                                                                                   18· ·business         during Local Local 44 fund           office hours
                                                                                                                                                    fund office          hour reasonable?
                                                                                                                                                                                  sreasonable?
                Everything started
  19· · · · · Everything            started with        Gina and
                                                with Gina        and her
                                                                       her                         19· · · · · A.         Yes
                                                                                                                 A.· · ·Yes.
         staff. She
  20· ·staff.·     She did did all
                                 all the
                                      the work.
                                           work.· She   She came
                                                               came into
                                                                       into the the                                     MR. VAN
                                                                                                   20· · · · · · · · ·MR.       VAN DYCK:·DYCK: Objection Objection as    astoto form.
                                                                                                                                                                                  form.
         meeting. She told us what was going on. And
  21· ·meeting.·         She    told    us  what     was     going    on.·     And                               Q. · ·(By
                                                                                                   21· · · · · Q.·        (By Mr.Mr. Gilligan)·
                                                                                                                                         Gilligan) And      And what's
                                                                                                                                                                    what'syour          basis
                                                                                                                                                                               your basis
         we, basically,
  22· ·we,      basicaly, ratified
                                 ratified everything
                                              everything that   that she
                                                                      she came
                                                                             came                         for your
                                                                                                   22· ·for     your testimony
                                                                                                                         testimony there?  there?
  23· ·upup with,
              with, whether
                       whether it     it was    tweaks to
                                         was tweaks          to the   health &
                                                                 the health       &                23· · · · · A.         Because of
                                                                                                                 A.· · ·Because         of the     benefits that
                                                                                                                                             the benefits                Local 4's
                                                                                                                                                                 that Local       4's
         welfare or
  24· ·welfare        or the
                           the pension
                                 pension plan.·plan. I| could
                                                           could go go on on                              funds derived
                                                                                                   24· ·funds       derived from from her her ---- from
                                                                                                                                                    from her  her position
                                                                                                                                                                    position withwith thethe

                                                                               Page 46
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               forever but...
  ·1· · · · · forever        but...                                                                      coalition and
                                                                                                   ·1· ·coalition        and what
                                                                                                                               what thatthat brought
                                                                                                                                               brought to    to our
                                                                                                                                                                 our funds,
                                                                                                                                                                        funds, and and what
                                                                                                                                                                                         what
                                                                                                   BP
   WNP




               Q. · ·(By
  ·2· · · · · Q.·        (By Mr. Mr. Gilligan)·
                                        Gilligan) Okay.·  Okay. Yeah, Yeah, that's
                                                                               that's              ·2· ·itit saved
                                                                                                             saved us  us over
                                                                                                                            over thethe years.
                                                                                                                                         years.· It'sIt'sadrop
                                                                                                                                                          a drop in    in the   bucket
                                                                                                                                                                           the bucket
                                                                                                   WN




        fine. I| appreciate
  ·3· ·fine.·       appreciateit,             sir.
                                         it, sir.                                                        compared to
                                                                                                   ·3· ·compared              10 hours
                                                                                                                           to 10    hours aaweek.
                                                                                                                                                week.· If   If you     told me
                                                                                                                                                                you told      me it it was
                                                                                                                                                                                       was twotwo
                      You've made
  ·4· · · · · · · · ·You've          made reference
                                                reference to    to your
                                                                    your father's
                                                                             father's                    hours aaweek
                                                                                                   ·4· ·hours         week or  or 20 20 hours
                                                                                                                                         hours aaweek,
                                                                                                                                                     week, I| couldn't
                                                                                                                                                                    couldn't tell
                                                                                                                                                                                tell you
                                                                                                                                                                                       you
   pr




                                                                                                   Oh




        experience           asaa trustee          with some
                                                           some teamster
                                                                   teamster funds.·
                                                                                 funds. Did
                                                                                          Did            which one  one was        closer to    the truth.·
                                                                                                                                                       truth. But But neither
                                                                                                                                                                         neither would
   OO




  ·5· ·experience           as      trustee with                                                   ·5· ·which               was closer      to the                                   would
        you, yourself,
  ·6· ·you,     your self, serve serve as   astrustee
                                                 trustee for  for any
                                                                   any other
                                                                          other funds,
                                                                                  funds, or
                                                                                          or             surprise me,
                                                                                                   ·6· ·surprise       me, neither
                                                                                                                              neither would          bother me.·
                                                                                                                                          would bother           me. Would
                                                                                                                                                                         Would have.·have. In  In
   NO




                                                                                                   NO




        wereyou
  ·7· ·were              strictly aa Local
                 you strictly             Local 4     4 fund
                                                         fund trustee?
                                                                 trustee?                                the past.
                                                                                                   ·7· ·the     past.
               A. · ·If
  ·8· · · · · A.·       If you're
                            you'retalking
                                        talking aboutabout health-welfare
                                                               health-welfare                                    Q. · ·You've
                                                                                                   ·8· · · · · Q.·        You'vetedtified
                                                                                                                                       testified to  to benefits
                                                                                                                                                          benefitsthe          Local 4
                                                                                                                                                                         the Local       4
   0




                                                                                                   0




        pension type
  ·9· ·pension        type of  of funds,
                                   funds, this thiswasit
                                                      was it forfor me.
                                                                     me.                                 funds, by
                                                                                                   ·9· ·funds,       by virtue
                                                                                                                           virtue of  of Ms.
                                                                                                                                          Ms. Alongi
                                                                                                                                                 Alongi serving
                                                                                                                                                              serving as    asthe      executive
                                                                                                                                                                                the executive
   ©




                                                                                                   ©




                Q.
  10· · · · · Q.·     ·   Okay. Thanks.
                        ·Okay.·       Thanks.                                                              director and
                                                                                                   10· ·director          and of of the
                                                                                                                                      the Mass.
                                                                                                                                            Mass. Coalition.·
                                                                                                                                                      Coalition. Can      Can you        tell me
                                                                                                                                                                                  you tell     me
                A. · ·It's
  11· · · · · A.·         It's----                                                                 11· ·whowho those
                                                                                                                   those benefits
                                                                                                                             benefits were?were?
                Q. · ·Go
  12· · · · · Q.·         Goahead.
                                 ahead.· I'm   I'm sorry.
                                                      sorry.                                       12· · · · · A.          What benefits
                                                                                                                  A.· · ·What        benefits we we gained?
                                                                                                                                                        gained?
                A. · ·It's
  13· · · · · A.·         It'smore
                                more work work than than ---- more
                                                               more work       than
                                                                       work than                   13· · · · · Q.·Q. · ·Yes.
                                                                                                                           Yes
         should be
  14· ·should        be expected
                          expected of     of aa management
                                                   management trustee. trustee.                    14· · · · · A.          The biggest
                                                                                                                  A.· · ·The      biggest one one would
                                                                                                                                                    would have   have beenbeen through
                                                                                                                                                                                  through
                Q. · ·Ilunderstand
  15· · · · · Q.·           understand and         and I| concur.·
                                                             concur. You   You familiar
                                                                                 familiar          15· ·thethe deal
                                                                                                                 deal that
                                                                                                                        that wewe had had with
                                                                                                                                           with Blue
                                                                                                                                                   Blue CrossCross Blue Blue Shield
                                                                                                                                                                               Shield and  and
         with the
  16· ·with       the Massachusetts
                        Massachusetts Coalition     Coalition for   for Taft-Hartley
                                                                          Taft-Hartley             16· ·thethe millions,
                                                                                                                 millions, literally,
                                                                                                                               literally, millions
                                                                                                                                              millions of    of dollars
                                                                                                                                                                 dollars thatthat wewe
         Funds?
  17· ·Funds?                                                                                              saved in
                                                                                                   17· ·saved        in premiums
                                                                                                                         premiums over    over the
                                                                                                                                                 the years.
                                                                                                                                                        years.
  18· · · · · A.· · ·Yep.Yep.                                                                      18· · · · · · · · ·On On aamuch         smaller scale,
                                                                                                                                 much smaller           scale, it  it would
                                                                                                                                                                      would have have
  19· · · · · Q.· · ·Do   Dol I have
                                   haveyour            attention there?·
                                             your attention           there? Okay.
                                                                                 Okay.                     been things
                                                                                                   19· ·been       things likelike prescription
                                                                                                                                      prescription glasses
                                                                                                                                                         glasses or   or drugs,
                                                                                                                                                                           drugs, because
                                                                                                                                                                                      because
  20· · · · · A.· · ·I| said,
                            said, yeah.
                                     yeah.                                                                 when you
                                                                                                   20· ·when        you go  go to    negotiate aa deal
                                                                                                                                to negotiate           deal with
                                                                                                                                                               with an  an eyeglass
                                                                                                                                                                            eyeglass
                          Okay. I'd
  21· · · · · Q.· · ·Okay.·            I'd ask
                                             ask thatthat you
                                                            you refrain
                                                                   refrain fromfrom                        provider, and
                                                                                                   21· ·provider,         and youyou go go and
                                                                                                                                            and youyou say say I'mI'm going
                                                                                                                                                                        going to  to give
                                                                                                                                                                                      give you
                                                                                                                                                                                             you
         looking at
  22· ·looking         at your
                            your phone.·
                                     phone. We      Wewon'twon't be  be much
                                                                          much longer.·
                                                                                  longer. ButBut           6,000 bodies
                                                                                                   22· ·6,000       bodies from from Local
                                                                                                                                         Local 4, 4, oror I'm
                                                                                                                                                            I'm going
                                                                                                                                                                  going to  to give
                                                                                                                                                                                give youyou
  23· ·itit would
            would be    be helpful
                              helpful to    to have
                                                 have youryour full
                                                                  full attention.
                                                                         attention.                        60,000, and
                                                                                                   23· ·60,000,         and I'm
                                                                                                                              I'm just     picking these
                                                                                                                                     just picking       these numbers
                                                                                                                                                                  numbers out    out ofof thin
                                                                                                                                                                                           thin
                A. · ·You
  24· · · · · A.·        You have have my  my fullfull attention,
                                                         attention, Counselor.
                                                                        Counselor.                         air, don't hold meto it, you're going to get a much
                                                                                                   24· ·air,     don't    hold    me    to it, you're      going      to  get  a   much


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        better deal from that prescription glass provider
  ·1· ·better     deal    from     that   prescription        glass   provider when when                            Q.
                                                                                                       ·1· · · · · Q.·    ·    Areyou aware-- you reference
                                                                                                                             ·Are     you   aware       -- you    reference




                                                                                                       BR
   WDNR




        you go
  ·2· ·you     go with       60,000 bodies
                    with 60,000          bodies thanthan youyou dodo with
                                                                       with 6,000.
                                                                              6,000.                         prescription drug
                                                                                                       ·2· ·prescription            drug benefits
                                                                                                                                             benefitsinin your your previous
                                                                                                                                                                       previous answer.
                                                                                                                                                                                      answer.




                                                                                                       WN
        That's what
  ·3· ·That's      what the the coalition
                                 coalition did.· did. Same
                                                         Same with       dental
                                                                  with dental                                Areyou
                                                                                                       ·3· ·Are     you awareawarethat          Local 44 welfare
                                                                                                                                        that Local           welfare fundsfunds did did not
                                                                                                                                                                                         not use
                                                                                                                                                                                              use
        service. I| mean,
  ·4· ·service.·         mean, it's it's not
                                          not rocket
                                                rocket science.
                                                          science.                                           the coalition's
                                                                                                       ·4· ·the    coalition's pharmaceutical
                                                                                                                                       pharmaceutical benefit     benefit manager
                                                                                                                                                                              manager but, but, inin




                                                                                                       Or
   Oh




               Q. · ·Well,
  ·5· · · · · Q.·       Wael, wouldn't
                                  wouldn't the     the Local
                                                         Local 44 welfare
                                                                      welfare fund fund                      fact, used
                                                                                                       ·5· ·fact,     used the  the international
                                                                                                                                      inter national union'sunion's pharmaceutical
                                                                                                                                                                        pharmaceutical
        have been
  ·6· ·have      been entitled
                           entitled to  to these
                                             these benefits
                                                      benefits simply
                                                                    simply by  by virtue
                                                                                    virtue                   benefit manager?
                                                                                                       ·6· ·benefit       manager ?
   NO




                                                                                                       NO
        of them
  ·7· ·of   them beingbeing aa member
                                    member of      of the
                                                       the coalition,
                                                             coalition, as   as opposed
                                                                                  opposed to to        ·7· · · · · A.
                                                                                                                    A.· · ·Not Not aware.
                                                                                                                                     aware.
        it being dependent on Ms. Alongi being the executive
  ·8· ·it   being     dependent          on    Ms.   Alongi      being    the    executive                          Q. · ·Do
                                                                                                       ·8· · · · · Q.·         Doyou       havea a sense,
                                                                                                                                    you have          sense, as  asa a longtime
                                                                                                                                                                        longtime




                                                                                                       00
   00




        director?
  ·9· ·director?                                                                                             trustee, how
                                                                                                       ·9· ·trustee,       how much much of   of the
                                                                                                                                                  the funds
                                                                                                                                                         funds claims
                                                                                                                                                                   claims are are derived
                                                                                                                                                                                    derived from
                                                                                                                                                                                               from




                                                                                                       ©
   ©




  10· · · · · A.A.· · ·I| never
                            never saidsaid ----                                                               either the
                                                                                                       10· ·either       the medical-surgical
                                                                                                                                 medical-surgical physician  physician benefits
                                                                                                                                                                              benefits andand the
                                                                                                                                                                                               the
                       MR. VAN
  11· · · · · · · · ·MR.       VAN DYCK:· DYCK: Objection.
                                                       Objection.                                             pharmaceutical benefits?
                                                                                                       11· ·pharmaceutical                benefits?
                Q. · ·(By
  12· · · · · Q.·         (By Mr.
                                Mr. Gilligan)·
                                        Gilligan) I'm    I'm sorry.·
                                                                sorry. Go  Go ahead,
                                                                                 ahead,                12· · · · · · · · ·MR. MR. HILSON:·
                                                                                                                                      HILSON: Objection.·
                                                                                                                                                      Objection. You    You can can answer.
                                                                                                                                                                                      answer.
         Sir.
  13· ·sir.                                                                                            13· · · · · · · · ·THETHE WITNESS:
                                                                                                                                      WITNESS:· Over      Over time
                                                                                                                                                                  time in in aa specific
                                                                                                                                                                                specific
  14· · · · · A.         Me?
                A.· · ·Me?                                                                             14· · · · · year?         Specific quarter?·
                                                                                                                     year?· Specific          quarter? Could Could youyou be  be----
                Q. · ·Yes.
  15· · · · · Q.·        Yes                                                                                         Q. · ·(By
                                                                                                       15· · · · · Q.·          (By Mr.Mr. Gilligan)·
                                                                                                                                             Gilligan) Generally.
                                                                                                                                                              Generally.
                A. · ·I| never
  16· · · · · A.·           never saidsaid itit was
                                                was dependent
                                                       dependent upon   upon Gina
                                                                                Gina                   16· · · · · A.A.· · ·No. No.
          being the
  17· ·being             executive director.·
                   the executive          director. I| just      question or
                                                           just question       or                                    Q. · ·Wouldn't
                                                                                                       17· · · · · Q.·          Wouldn't you    you -- -- no
                                                                                                                                                           noidea.
                                                                                                                                                                idea.· IfIf I| told
                                                                                                                                                                               told you
                                                                                                                                                                                      you
         wonder who
  18· ·wonder         who elseelse asked
                                      asked havehave done
                                                        done that
                                                                that good
                                                                       good of of aajob   at
                                                                                      job at                  they're, roughly,
                                                                                                       18· ·they're,          roughly, 90   90 percent,
                                                                                                                                                 percent, would would that       strike you
                                                                                                                                                                          that strike      you as
                                                                                                                                                                                                as
          handling --
  19· ·handling         -- handling
                             handling negotiations
                                            negotiations of    of that
                                                                   that type,
                                                                         type,                                correct?
                                                                                                       19· ·correct?
         especially, given
  20· ·especially,          given what
                                     what I| knowknow about
                                                          about herher cohorts
                                                                         cohorts thatthat              20· · · · · A.A.· · ·I| said,
                                                                                                                                  said, I| have
                                                                                                                                           havenoidea
                                                                                                                                                    no idea.
  21· ·hadhad similar
                similar jobsjobs at at other
                                        other unions.
                                                 unions.                                                             Q. · ·Okay.
                                                                                                       21· · · · · Q.·          Okay.
                Q. · ·(By
  22· · · · · Q.·         (By Mr.
                                Mr. Gilligan)·
                                        Gilligan) Who    Who are  areyouyou                            22· · · · · A.A.· · ·I'veI'vebeen      retired three
                                                                                                                                      been retired       three plus
                                                                                                                                                                  plus years
                                                                                                                                                                        years now.now.
          referencing there,
  23· ·referencing            there, other
                                         other fundfund administrators?
                                                            administrators?                                          Q.
                                                                                                       23· · · · · Q.·      ·   Okay. You referred, both in paragraph 10
                                                                                                                               ·Okay.·     You     referred,       both    in  paragraph       10
                A. · ·Correct.
  24· · · · · A.·        Correct.                                                                      24· ·ofof your
                                                                                                                  your affidavit
                                                                                                                            affidavit and  and in in one
                                                                                                                                                       one of of your      prior answers,
                                                                                                                                                                  your prior        answers, to to

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                                                                                   Page 50                                                                                               Page 52
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  · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · ·Page                                                                                                  Page
                                                                                                       · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · ·Page
                         Okay.
               Q. · ·Okay.
  ·1· · · · · Q.·                                                                                            the Department
                                                                                                       ·1· ·the     Department of        of Labor
                                                                                                                                              Labor audit  audit that
                                                                                                                                                                    that took       placein
                                                                                                                                                                           took place          in 2003
                                                                                                                                                                                                   2003
   WDNR




                                                                                                       WNP




               A. · ·I'm
  ·2· · · · · A.·        I'm not
                               not naming
                                     naming anyoneanyone in   in particular.·
                                                                  particular. I'm   I'm                      or 2004;
                                                                                                       ·2· ·or    2004; do   do you
                                                                                                                                  you recall
                                                                                                                                         recall that?
                                                                                                                                                    that?
        saying, from what | know about how other funds were
  ·3· ·saying,       from     what     I know      about     how    other     funds   were                          A. · ·I| don't
                                                                                                       ·3· · · · · A.·          don't think
                                                                                                                                        think thatthat I| specifically
                                                                                                                                                            specifically said  said it it
        run, whether
  ·4· ·run,    whether it     it was
                                 was through
                                         through my   my late
                                                            late dad's
                                                                  dad's experience
                                                                           experience or      or             was aa Department
                                                                                                       ·4· ·was        Department of       of Labor
                                                                                                                                                Labor audit.·
                                                                                                                                                           audit. But But that
                                                                                                                                                                            that would
                                                                                                                                                                                   would have   have
   h~




                                                                                                       Uhh




        my brother's
              brother's experience
                              experience with           another Taft-Hartley
                                                                     Taft-Hartley fund,                      been whatwhat I| waswas referring
                                                                                                                                        referring to,   to, yes.
   OO




  ·5· ·my                                       with another                             fund,         ·5· ·been                                              yes.
        or talking
  ·6· ·or   talking to   to guys
                              guys that
                                      that I| know
                                               know in   in the
                                                             the industry
                                                                  industry that that may
                                                                                       may                          Q. · ·You
                                                                                                       ·6· · · · · Q.·        You referenced
                                                                                                                                     referenced the       the fund
                                                                                                                                                                 fund retaining
                                                                                                                                                                         retaining my      my
   NO




                                                                                                       NO




        have sat
  ·7· ·have      sat onon aa pipefitter
                                  pipefitter or
                                              or plumber's
                                                   plumber's fund, fund, andand knowing
                                                                                   knowing                   former partner,
                                                                                                       ·7· ·former        partner, Joyce Joyce Mader.·
                                                                                                                                                     Mader. And     And is isitit with       respect to
                                                                                                                                                                                  with respect          to
  ·8· ·aalittle     bit about
           little bit    about the the types
                                         types of of administrators
                                                      administrators          that
                                                                              that                           that audit
                                                                                                       ·8· ·that     audit you'rereferring?
                                                                                                                                you're referring?
   00




                                                                                                       00




        they employed
  ·9· ·they     employed versus   versus what
                                            what GinaGina did did for
                                                                    for ususinin the
                                                                                  the 30
                                                                                       30                           A. · ·That's
                                                                                                       ·9· · · · · A.·        That's correct.
                                                                                                                                        correct.
   ©




                                                                                                       ©




         years that
  10· ·years       that I| was
                            wasthere,
                                    there, I| can't
                                                can't imagine
                                                        imagine that  that there
                                                                             there                                   Q. · ·Okay.·
                                                                                                       10· · · · · Q.·         Okay. And  And you   you reference,
                                                                                                                                                            reference, in    in paragraph
                                                                                                                                                                                 paragraph 10        10
         would have
  11· ·would         have been
                             been somebody
                                      somebody else           that could
                                                       else that     could havehave handled
                                                                                       handled         11· ·ofof your
                                                                                                                  your affidavit,
                                                                                                                            affidavit, the  theissue
                                                                                                                                                   issue of  of Ms.
                                                                                                                                                                  Ms. Alongi
                                                                                                                                                                        Alongi providing
                                                                                                                                                                                    providing
         that type
  12· ·that     type of  of aarole
                                role asas diligently
                                           diligently and  and professionally
                                                                  professionally as       as                  bagelsto
                                                                                                       12· ·bagels        to the    staff and
                                                                                                                               the staff     and doing
                                                                                                                                                     doing other other things
                                                                                                                                                                          things geared
                                                                                                                                                                                     geared to    to
         she did.
  13· ·she     did.                                                                                           the morale
                                                                                                       13· ·the      morale of    of the
                                                                                                                                      the employees,
                                                                                                                                            employees, correct?  correct?
                Q. · ·You
  14· · · · · Q.·         You referenced
                                   referenced in     in your
                                                         your testimony,
                                                                 testimony, and     and you  you                     A. · ·That
                                                                                                       14· · · · · A.·         Thatiswhat
                                                                                                                                      is what itit says.
                                                                                                                                                       says.
         refer in
  15· ·refer       in paragraph
                        paragraph nine     nine of of your
                                                       your affidavit,
                                                                affidavit, to   to savings
                                                                                    savings                          Q. · ·And
                                                                                                       15· · · · · Q.·         And] I take
                                                                                                                                         takeitit fromfrom that        you were
                                                                                                                                                                that you      were ---- you you
         that the
  16· ·that      the Local
                        Local 4    4 welfare
                                      welfare fund fund received
                                                            received from  from BlueBlue Cross,
                                                                                              Cross,          were not
                                                                                                       16· ·were       not enamored
                                                                                                                               enamored of      of the
                                                                                                                                                     the Department
                                                                                                                                                            Department of        of Labor
                                                                                                                                                                                      Labor focus focusinin
  17· ·asasaresult
              a result of   of Ms.
                                 Ms. Alongi's
                                        Alongi'swork  work with with the the coalition.
                                                                               coalition.                     some respects?
                                                                                                       17· ·some        respects?
  18· · · · · · · · ·AreAreyou         referring there
                                you referring          theretoto the the so-called
                                                                           so-called                                 A. · ·Who,
                                                                                                       18· · · · · A.·         Who, in  in their
                                                                                                                                            their right
                                                                                                                                                     right mind,
                                                                                                                                                              mind, would
                                                                                                                                                                       would be;   be; it's
                                                                                                                                                                                          it's
         Union Blue
  19· ·Union         Blue program?
                              program?                                                                        what every
                                                                                                       19· ·what       every company
                                                                                                                                 company in      in the
                                                                                                                                                     the world       does.
                                                                                                                                                            world does.
                A. · ·Correct.
  20· · · · · A.·         Correct.                                                                                   Q. · ·You
                                                                                                       20· · · · · Q.·         You thought
                                                                                                                                      thought those   those things
                                                                                                                                                                things wereweretrivial,
                                                                                                                                                                                    trivial,
                Q. · ·Okay.·
  21· · · · · Q.·         Okay. Are   Areyou         awarethat
                                             you aware          that thethe Local
                                                                               Local 4  4                     correct?
                                                                                                       21· ·correct?
         welfare funds
  22· ·welfare          funds ceased
                                   ceased to to participate
                                                  participateinin Union   Union Blue Blueinin                        A. · ·Petty.
                                                                                                       22· · · · · A.·         Petty.
         2014?
  23· ·2014?                                                                                                         Q. · ·Yeah.·
                                                                                                       23· · · · · Q.·         Yeah. Okay.·
                                                                                                                                          Okay. But    Butisit       trueaswell,
                                                                                                                                                               is it true     as well,
                A. · ·I| don't
  24· · · · · A.·           dontrecal.
                                     recall.                                                           24 ·that
                                                                                                       24·    that thethe audit
                                                                                                                             audit focused
                                                                                                                                      focused on     on thethe failure
                                                                                                                                                                 failuretoto properly
                                                                                                                                                                                 properly


                                                O'Brien &
                                                O'Brien & Levine,
                                                           Levine, AA Magna
                                                                      Magna Legal
                                                                             Legal Services
                                                                                   Services Company
                                                                                             Company                                                                                  Pages 49–52
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                      In the
                      In the Matter
                             Matter of:
                                    of:

                Ginamarie Alongi,
                Ginamarie Along, et
                                  et al.
                                     al. vs
                                         vs
      luoe Local
      Iuoe Local 4
                 4 Health
                   Health &
                          & Welfare
                            Welfare Fund,
                                    Fund, et
                                          et al.
                                             al.




                         Louis Rasetta
                         Louis Rasetta

                         July 15,
                         July 15, 2022
                                  2022



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Ginamarie Alongi,
Ginamarie   Alongi, et
                    et al.
                       al. vs
                           vs                                            Louis Rasetta
                                                                         Louis  Rasetta
luoe Local
Iuoe Local 44 Health
              Health && Welfare
                         Welfare Fund,
                                 Fund, et
                                       et al.
                                          al.                            July 15,
                                                                         July 15, 2022
                                                                                  2022
                                                                                                                                             Page 3

   1 · · · · ·COMMONWEALTH
  ·1·         COMMONWEALTH OF
                           OF MASSACHUSETTS
                              MASSACHUSETTS                                      1 APPEARANCES
                                                                                ·1·             CONTINUED:
                                                                                    APPEARANCES CONTINUED:
   2 Norfolk,
  ·2· Norfolk, ss.·
               ss. · · · · · · · · ·Superior
                                    Superior Court
                                             Court                              ·2
  ·3· - - - - - - - - - - - - - - - - - - - - - - - - x                                 KENNEY &
                                                                                ·3· · · KENNEY & KENNEY,
                                                                                                 KENNEY, ATTORNEYS
                                                                                                         ATTORNEYSAT  LAW
                                                                                                                   AT LAW
   4 GINAMARIE
  ·4· GINAMARIE ALONGI
                ALONGI and
                       and ROSEMARIE
                           ROSEMARIE                                                    By Stephen
                                                                                ·4· · · By Stephen J.
                                                                                                   J. Kenney,
                                                                                                      Kenney, Esquire
                                                                                                              Esquire
   5 ALONG,
  ·5· ALONGI,                                                                           181 Village
                                                                                ·5· · · 181         Street
                                                                                            Village Street
   6 · · · · · · · · ·Plaintiffs,·
  ·6·                 Plaintiffs, · · · Civil
                                        Civil Action
                                              Action                                    Medway, Massachusetts
                                                                                ·6· · · Medway, Massachusetts 02053
                                                                                                              02053
   7.v.· · · · · · · · · · · · · · · No.
  ·7·                                No. 2182-CV-00125
                                         2182-CV-00125                                  (508) 570-2063
                                                                                ·7· · · (508) 570-2063
   8 IUOE
  ·8· IUOE LOCAL
           LOCAL 4
                 4 HEALTH
                   HEALTH &
                          & WELFARE
                            WELFARE FUND;
                                    FUND;                                               Counsel for
                                                                                ·8· · · Counsel     Deponent
                                                                                                for Deponent
   9 IUOE
  ·9· IUOE LOCAL
           LOCAL 44 PENSION
                    PENSION FUND;
                            FUND; IUOE
                                  IUOE LOCAL
                                       LOCAL                                    ·9
  10 44 ANNUITY
  10·           & SAVINGS
        ANNUITY & SAVINGS FUND;
                          FUND; HOISTING
                                HOISTING                                        10 ALSO
                                                                                10· ALSO PRESENT:
                                                                                         PRESENT:

  11 AND
  11· AND PORTABLE
          PORTABLE ENGINEERS
                   ENGINEERS LOCAL
                             LOCAL 4
                                   4                                            11 · · Greg
                                                                                11·    Greg Geiman
                                                                                            Geiman
  12 APPRENTICESHIP
  12· APPRENTICESHIP&
                    & TRAINING
                      TRAINING FUND;
                               FUND;                                            12 · · William
                                                                                12·    William McLaughlin
                                                                                               McLaughlin

  13 JOINT
  13· JOINT LABOR-MANAGEMENT
            LABOR-MANAGEMENT COOPERATION
                             COOPERATION                                        13
                                                                                13
  14 TRUST;
  14· TRUST; and
             and WILLIAM
                 WILLIAM D.
                         D. MCLAUGHLIN
                            MCLAUGHLIN                                          14
                                                                                14
  15 INDIVIDUALLY
  15· INDIVIDUALLY AND
                   AND IN
                       IN HIS
                          HISCAPACITY
                              CAPACITY                                          15
                                                                                15
  16 AS
  16·    CHAIRMAN OF
      AS CHAIRMAN OF THE
                     THE BOARDS
                         BOARDS OF
                                OF TRUSTEES,
                                   TRUSTEES,                                    16
                                                                                16
  17 · · · · · · · · · · ·Defendants.
  17·                     Defendants.                                           17
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  18 - - - - - - - - - - - - - - - - - - - - - - - - x
  18·                                                                           18
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  19 · · · · · · DEPOSITION
  19·            DEPOSITION OF
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  20·           July 15,
                     15, 2022
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  21 · · · · · ·Freeman,
  21·           Freeman, Mathis
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                                  Gary, LLP
                                        LLP                                     21
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  22 · · · · · · · · ·60
  22·                 60 State
                         State Street
                               Street                                           22
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  23 · · · · · · · ·Boston,
  23·               Boston, Massachusetts
                            Massachusetts                                       23
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  24 · · · · · ·Reporter:·
  24·           Reporter: Nancy
                           Nancy L.
                                 L. LaCivita
                                    LaCivita                                    24
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  ·1· APPEARANCES:                                                               1 · · · · · · · · ·IINDEX
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          BOWDITCH &
  ·2· · · BOWDITCH & DEWEY,
                     DEWEY, LLP
                            LLP                                                  2 EXAMINATION
                                                                                ·2· EXAMINATION OF:·
                                                                                                OF: · · · · · · · · · · · · ·PAGE
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          By Jacob
  ·3· · · By Jacob A. Tosti, Esquire
                   A. Tosti, Esquire                                             3 LOUIS
                                                                                ·3· LOUISRASETTA
                                                                                         RASETTA
          200 Crossing
  ·4· · · 200 Crossing Boulevard
                       Boulevard                                                ·44
  bh




          Suite 300
  ·5· · · Suite 300                                                              5 · Direct
                                                                                ·5·  Direct Examination
                                                                                            Examination by
                                                                                                        by Ms.
                                                                                                           Ms. Markowski·
                                                                                                               Markowski · · · · 5
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          Framingham, Massachusetts
  ·6· · · Framingham, Massachusetts 01702
                                    01702                                        6 · Cross-Examination
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                                                                                                       by Mr.
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                                                                                                              Tosti · · · · · ·235
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                                                                                                          Mr. Gilligan·
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  NN




  ·7· · · (617)                                                                 ·7·
          Counsel for
  ·8· · · Counsel     the Plaintiffs
                  for the Plaintiffs                                            ·8
  00




  ·9                                                                            ·9
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          FREEMAN MATHIS
  10· · · FREEMAN MATHIS&& GARY,
                           GARY, LLP
                                 LLP                                                               EXHIBITS
                                                                                10· · · · · · · · ·E XHIBITS
          By Jennifer
  11· · · By Jennifer L.
                      L. Markowski,
                         Markowski, Esquire
                                    Esquire                                     11· NO.· · · · · · · · · · · · · · · · · · · ·PAGE
          60 State
  12· · · 60 State Street
                   Street                                                       12
          Suite 600
  13· · · Suite 600                                                             13 Exhibit
                                                                                13· Exhibit No.
                                                                                            No. 185·
                                                                                                185] Affidavit of Louis
                                                                                                     Affidavit of Louis
          Boston, Massachusetts
  14· · · Boston, Massachusetts 02109
                                02109                                           14 · · · · · · · · ·G.
                                                                                14·                 G. Rasetta·
                                                                                                       Rasetta · · · · · · · · ·19
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          (617) 807-8953
  15· · · (617) 807-8953                                                        15 Exhibit
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                                                                                                186/ Article/Milford
                                                                                                     Article/Milford
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  16· · · Counsel for the
                      the Defendants
                          Defendants                                            16 · · · · · · · · ·Daily
                                                                                16·                 Daily News·
                                                                                                          News · · · · · · · · 224
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          O'DONOUGH &
  18· · · O'DONOUGH & O'DONOUGH,
                      O'DONOUGH, LLP
                                 LLP                                            18
                                                                                18
          By Charles
  19· · · By Charles W. Gilligan,
                     W. Gilligan, Esquire
                                  Esquire                                       19
                                                                                19
          By Daniel
  20· · · By Daniel Keenan,
                    Keenan, Esquire
                            Esquire                                             20
                                                                                20
          Three Park
  21· · · Three Park Place,
                     Place, Suite
                            Suite 301
                                  301                                           21
                                                                                21
          Annapolis, Maryland
  22· · · Annapolis, Maryland 21401
                              21401                                             22
                                                                                22
          (410) 263-6474
  23· · · (410) 263-6474                                                        23
                                                                                23
          Counsel for
  24· · · Counsel for the
                      the Defendants
                          Defendants                                            24 *Original
                                                                                24· *Qriginal exhibits
                                                                                              exhibits returned
                                                                                                       returned to
                                                                                                                to Jennifer
                                                                                                                   Jennifer Markowski.
                                                                                                                            Markowski.



                                                    O'Brien &
                                                    O'Brien & Levine,
                                                               Levine, AA Magna
                                                                          Magna Legal
                                                                                 Lega Services
                                                                                      Services Company
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Ginamarie   Along, et
                    et al.
                       al. vs
                           vs                                            Louis Rasetta
                                                                         Louis  Rasetta
luoe Local
Iuoe Local 44 Health
              Health && Welfare
                         Welfare Fund,
                                 Fund, et
                                       et al.
                                          al.                            July 15,
                                                                         July 15, 2022
                                                                                  2022
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                                                                                                                                                                       Page 107

   1 you
  ·1· you about
            about getting
                        getting more more involved
                                              involved in   in the
                                                                the coalition?
                                                                      coalition?             1 · · ·Q.·
                                                                                            ·1·       Q. So Soyoudon't         recall her
                                                                                                                 you don't recall       her coming
                                                                                                                                               comingtoto you   you andand
   2 · · ·A.·
  ·2·     A. II don't
                   don'trecall.
                           recall.                                                           2 seeking
                                                                                            ·2· seeking approval
                                                                                                              approval or   or your     blessing or
                                                                                                                                your blessing        or anything
                                                                                                                                                          anything
   3 · · ·Q.·
  ·3·      Q. You
                Youdon't           recall if
                         don't recall       if she
                                                shewent
                                                      went to  to you
                                                                   you oror                  3 along
                                                                                            ·3· along thosethose lines?
                                                                                                                    lines?
   4 you
  ·4· you suggested
            suggested it      it to
                                  to her?
                                      her?                                                   4 · · ·A.·
                                                                                            ·4·       A. No.·
                                                                                                            No. I| was
                                                                                                                     was happy,
                                                                                                                          happy,     as aamatter
                                                                                                                                     as    matter of  of fact,
                                                                                                                                                          fact,
   5 · · ·A.·
  ·5·     A. II don't
                   don'trecall.
                           recall.                                                           5 that
                                                                                            ·5· that sheshe got
                                                                                                              got that.·
                                                                                                                   that. I| thought
                                                                                                                             thought we      could really
                                                                                                                                        we could       really have
                                                                                                                                                                 have
   6 · · ·Q.·
  ·6·     Q. Do  Doyou       think you
                      you think         you might
                                               might havehave suggested
                                                                  suggested it    it         6 some
                                                                                            ·6· some stroke
                                                                                                          stroke with     that company
                                                                                                                    with that   company --     -- with    that
                                                                                                                                                  with that
   7 to
  ·7· toher?
          her?                                                                               7 association.
                                                                                            ·7· association.
   8 · · ·A.·
  ·8·     A. No.·
                No. I| wasn't
                          wasn't familiar
                                      familiar with,       you know
                                                   with, you      know --  --                8 · ·Q.·
                                                                                            ·8· ·     Q. Okay.·
                                                                                                            Okay. So   So shebecamethe
                                                                                                                          she became the executive executive
   9 · · ·Q.·
  ·9·     Q. What
                What do    do you
                                you recall
                                        recall herher telling
                                                        telling youyou inin                  9 director
                                                                                            ·9· director without           consulting you?
                                                                                                               without consulting          you?
  10 terms
  10·  terms of  of what
                     what she  she wanted
                                      wanted you   you toto do
                                                             do to    become more
                                                                  to become          more   10 · · ·A.·
                                                                                            10·        A. I'mI'mnot    sureifif she
                                                                                                                  not sure       shedid    or not.
                                                                                                                                      did or    not.
  11 involved
  11·  involved in    in the
                          the coalition?
                                 coalition?                                                 11 · · ·Q.·
                                                                                            11·         Q. You
                                                                                                             You said
                                                                                                                    said you
                                                                                                                          you were       happy she
                                                                                                                                were happy          she became
                                                                                                                                                           became the   the
  12 · · ·A.·
  12·      A. Anything
                 Anything that    that was     beneficial to
                                         was beneficial        to Local
                                                                   Local 4.  4.             12 executive
                                                                                            12·   executive director?
                                                                                                                  director?
  13 · · ·Q.·
  13·       Q. In In what
                      what way  way did did she
                                              she want
                                                     want to to become
                                                                 become more    more        13 · · ·A.·
                                                                                            13·        A. Yes.
                                                                                                             Yes
  14 involved
  14·  involved with  with thethe coalition?
                                     coalition?                                             14 · · ·Q.·
                                                                                            14·         Q. You
                                                                                                             You previously
                                                                                                                    previously had  had nono involvement
                                                                                                                                                involvement with     with
  15 · · ·A.·
  15·      A. I| can't
                    can'ttell      youthat.
                            tell you     that.· I| can
                                                    cantell     you
                                                          tell you                          15 the
                                                                                            15·   the coalition,
                                                                                                        coalition, did did you?
                                                                                                                            you?
  16 what
  16·  what dayday sheshe did
                            did become
                                   become involved,
                                                involved, but  but initially
                                                                    initially I|            16 · · ·A.·
                                                                                            16·        A. I| didn't.
                                                                                                               didn't.
  17 don't
  17·  don't know
               know what what she she said
                                        said toto me,
                                                    me, why
                                                          why sheshe wanted
                                                                       wanted to   to       17 · · ·Q.·
                                                                                            17·         Q. SoSoeverything
                                                                                                                  everything you  you learned
                                                                                                                                        learned aboutabout the  the
  18 bebethere
  18·               except she
           there except         she thought
                                      thought she  she could
                                                         could help
                                                                  help Local
                                                                        Local 4    4        18 coalition,
                                                                                            18·   coalition, you        learned through
                                                                                                                  you learned       through Gina?Gina?
  19 and
  19·  and that
             that was
                    was my my intention
                                  intention and  and her
                                                       her intention.
                                                            intention.                      19 · · ·A.·
                                                                                            19·        A. No.·
                                                                                                             No. Other
                                                                                                                    Other people
                                                                                                                            people werewere inin the
                                                                                                                                                  the coalition,
                                                                                                                                                        coalition,
  20 · · ·Q.·
  20·       Q. Your
                 Your memory
                           memory of      of the
                                              the conversation,
                                                     conversation, the    the               20 other
                                                                                            20·   other tradesmen,
                                                                                                          tradesmen, and   and I| would     overhear them
                                                                                                                                   would overhear          them talking
                                                                                                                                                                    talking
  21 initial
  21·  initial conversation
                 conversation anyway,   anyway, she    she wanted
                                                              wanted to to become
                                                                              become        21 about
                                                                                            21·   about thethe coalition.·
                                                                                                                 coalition. Mostly
                                                                                                                               Mostly thatthat Gina
                                                                                                                                                 Gina hadhad done
                                                                                                                                                                doneaa
  22 more
  22·  moreinvolved
                involved in     in the
                                    the coalition
                                          coalition and  and sheshe thought
                                                                      thought it     it     22 good
                                                                                            22·   good job.
                                                                                                          job.
  23 would
  23·  would benefit
                  benefit the  the fund?
                                      fund?                                                 23 · · ·Q.·
                                                                                            23·         Q. That
                                                                                                             That sheshehasdonea
                                                                                                                          has done a good  good job       before she
                                                                                                                                                   job before         she
  24 · · ·A.·
  24·      A. Yes.
                 Yes.                                                                       24 wasinvolved
                                                                                            24·   was involved in      in it?
                                                                                                                          it?

                                                                       Page 106
                                                                       Page 106                                                                                        Page 108
                                                                                                                                                                       Page 108

   1 · · ·Q.·
  ·1·      Q. DoDoyou         recall anything
                      you recall         anything else   else she
                                                               she told
                                                                    told youyou              1 · · ·A.·
                                                                                            ·1·      A. No,No,whileshewasinvolved
                                                                                                                  while she was involved init.              in it.
   2 about
  ·2· about how how they  they could
                                 could benefit?
                                            benefit?                                         2 · · ·Q.·
                                                                                            ·2·      Q. That's
                                                                                                           That'swhat   what I'm    I'm trying
                                                                                                                                          trying     toto figure
                                                                                                                                                           figure out,  out,
   3 · · ·A.·
  ·3·      A. Not
                Not    atat that   time.
                            that time.                                                       3 what
                                                                                            ·3· what you you knewknew about about the    the coalition
                                                                                                                                               coalition before before Gina   Gina got got
   4 · · ·Q.·
  ·4·       Q. Had
                 Had you  you participated
                                 participated prior    prior toto that
                                                                   that inin any
                                                                               any           4 involved
                                                                                            ·4· involved in    in it.
                                                                                                                    it.
   5 coalition
  ·5· coalition events?
                     events?                                                                 5 · · ·A.·
                                                                                            ·5·      A. I| knew
                                                                                                             knew that  that it it was
                                                                                                                                    wasan   an association
                                                                                                                                                association put       put
           A. Not
  ·6· · · ·A.·  Not that
                       that I| can
                                 can remember.
                                        remember.                                            6 together
                                                                                            ·6· together to   to help
                                                                                                                  help all al the the trades
                                                                                                                                        trades to to getget better
                                                                                                                                                             better
           Q. At
  ·7· · · ·Q.·  At some
                      some point,
                                point, theythey hadhad a  a holiday
                                                             holiday party?
                                                                         party?              7 rates,
                                                                                            ·7· rates, toto get
                                                                                                             get lower
                                                                                                                   lower co-pays
                                                                                                                               co-pays and    and to      help the
                                                                                                                                                    to help       the
           A. I| don't
  ·8· · · ·A.·     don't believe
                             believe    so.
                                        so.                                                  8 membership.·
                                                                                            ·8· membership. That        That is   is what
                                                                                                                                      what my  my understanding
                                                                                                                                                    understanding of           of itit
           Q. You
  ·9· · · ·Q.·  You didn'tdidn't go gototo anyany social
                                                     social events?
                                                              events?                        9 was.
                                                                                            ·9· was.
            A. I| don't
  10· · · ·A.·      don't recall
                             recall any.
                                       any.                                                 10 · · ·Q.·
                                                                                            10·       Q. Okay.·
                                                                                                            Okay. How     How did    did you      cometoto have
                                                                                                                                           you come               have that that
  11 · · ·Q.·
  11·        Q. What
                 What do     do you
                                  you recall
                                         recall Ms. Ms. Alongi
                                                           Alongi -- -- what
                                                                        what do  do         11 understanding?
                                                                                            11·  understanding?
  12 you
  12·  you recall
              recall her  her involvement
                               involvement being?·   being? She  She ultimately
                                                                        ultimately          12 · · ·A.·
                                                                                            12·       A. Just
                                                                                                           Just word
                                                                                                                   word of   of mouth,
                                                                                                                                    mouth, people
                                                                                                                                                peopletalking    talking about
                                                                                                                                                                           about
  13 held
  13·  held thethe position
                     position with  with the the coalition;
                                                   coalition; is  is that
                                                                     that                   13 it,
                                                                                            13·  it, hearing
                                                                                                     hearing aboutabout it.· it. GinaGina may may have
                                                                                                                                                     have mentioned
                                                                                                                                                              mentioned it.       it.
  14 right?
  14·  right?                                                                               14 I'm
                                                                                            14·  I'm not
                                                                                                       not saying
                                                                                                             saying she   she didn't.·
                                                                                                                                  didn't. I| knewknew she  she waswas aa
            A. Yes.
  15· · · ·A.·   Yes                                                                        15 member
                                                                                            15·  member of     of --
                                                                                                                   -- that
                                                                                                                        that we we had had been
                                                                                                                                              been aa member
                                                                                                                                                          member for      for many
                                                                                                                                                                               many
            Q. And
  16· · · ·Q.·   And she   she became
                                 became executive
                                               executive director?
                                                              director?                     16 years
                                                                                            16·  yearsand and I| knew
                                                                                                                   knew the   the prior
                                                                                                                                      prior director
                                                                                                                                               director of   of it.
                                                                                                                                                                  it.
            A. Yes.
  17· · · ·A.·   Yes                                                                        17 · · ·Q.·
                                                                                            17·        Q. DoDo you        recall encouraging
                                                                                                                  you recall           encouraging Gina       Ginatoto become become
            Q. At
  18· · · ·Q.·   At some
                       some point,
                                 point, did did she
                                                  shetelltell you   that is
                                                              you that      is              18 the
                                                                                            18·  the executive
                                                                                                       executive directordirector of      of the
                                                                                                                                              the coalition?
                                                                                                                                                    coalition?
  19 what
  19·  what she shewanted
                      wanted to     to do,
                                         do, she
                                               she wanted
                                                     wanted to   to become
                                                                      become the  the       19 · · ·A.·
                                                                                            19·       A. IIdon'trecal.
                                                                                                              don't recall.
  20 executive
  20·                  director?
       executive director?                                                                  20 · · ·Q.·
                                                                                            20·        Q. You
                                                                                                            You know know she    shedid,did, at at some
                                                                                                                                                    some point,point, becomebecome
  21 · · ·A.·
  21·       A. I| don't
                    don't think
                             think so.so.                                                   21 the
                                                                                            21·  the executivedirector;
                                                                                                       executive director; is               isthat      right?
                                                                                                                                               that right?
  22 · · ·Q.·
  22·       Q. DidDid you        learn about
                          you learn       about it   it after
                                                        after she
                                                                she became
                                                                       became               22 · · ·A.·
                                                                                            22·       A. Yes.
                                                                                                           Yes
  23 the
  23·  the executive
             executive director?
                              director?                                                     23 · · ·Q.·
                                                                                            23·        Q. What
                                                                                                            What did    did she
                                                                                                                              she      do ---- at
                                                                                                                                       do       at that
                                                                                                                                                   that pointpoint in   in time,
                                                                                                                                                                             time,
  24 · · ·A.·
  24·       A. Possibly.·
                 Possibly. I| don't  don't recall.
                                              recall.                                       24 you were atrustee, correct?
                                                                                            24·  you    were     a   trustee,        correct?


                                           O'Brien &
                                           O'Brien & Levine,
                                                      Levine, AA Magna
                                                                 Magna Legal
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                                                                              Services Company
                                                                                       Company                                                                   Pages 105–108
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           Case 1:21-cv-10163-FDS Document 64 Filed 12/13/22 Page 85 of 271
Ginamarie Alongi,
Ginamarie   Along, et
                    et al.
                       al. vs
                           vs                                            Louis Rasetta
                                                                         Louis  Rasetta
luoe Local
Iuoe Local 44 Health
              Health && Welfare
                         Welfare Fund,
                                 Fund, et
                                       et al.
                                          al.                            July 15,
                                                                         July 15, 2022
                                                                                  2022
                                                                       Page 149
                                                                       Page 149                                                                            Page 151
                                                                                                                                                           Page 151
   1 paragraph
  ·1· paragraph 17       17 that     you knew
                              that you      knew how  how muchmuch Ms.  Ms. Alongi
                                                                              Alongi was
                                                                                     was   ·1·     A. Yes.
                                                                                            1 · · ·A.·   Yes
   2 being
  ·2· being paidpaid by by thethe coalition
                                    coalition and and you you took
                                                                 took that
                                                                         that into
                                                                               into                Q. How
                                                                                            2 · · ·Q.·
                                                                                           ·2·           How did did you
                                                                                                                       you learn
                                                                                                                              learn that?
                                                                                                                                      that?
   3 account
  ·3· account in    in determining
                        determining our      our annual
                                                    annual compensation
                                                                 compensation                      A. She
                                                                                            3 · · ·A.·
                                                                                           ·3·           Shetold      me.
                                                                                                               told me.
   4 from
  ·4· from the the funds
                     funds at   at the
                                    the end
                                         end of of each
                                                     each year.·
                                                             year. Do   Do you
                                                                            you             4 · · ·Q.·
                                                                                           ·4·     Qo DidDid sheshe present
                                                                                                                     present that that to
                                                                                                                                        to the
                                                                                                                                            the board
                                                                                                                                                  board every
                                                                                                                                                          every
   5 see
  ·5· seethat?
           that?                                                                            5 year
                                                                                           ·5· year?
   6 · · ·A.·
  ·6·     A. Mm-hmm.
                 Mm-hmm.                                                                           A. No.
                                                                                            6 · · ·A.·
                                                                                           ·6·           No.
   7 · · ·Q.·
  ·7·     Q. Is  Isthat
                     that aayes?
                               yes?                                                                Q. She
                                                                                            7 · · ·Q.·
                                                                                           ·7·           Shejust      told you
                                                                                                               just told            separately?
                                                                                                                             you separately?
   8 · · ·A.·
  ·8·     A. Yes.Yes                                                                               A. Mm-hmm,
                                                                                            8 · · ·A.·
                                                                                           ·8·           Mm-hmm, I| believe.believe.
   9 · · ·Q.·
  ·9·      Q. WhyWhy did  did you
                                you take
                                       take into
                                              into account
                                                      account what          she
                                                                     what she               9 · · ·Q.·
                                                                                           ·9·     Q. So Soyou'reaware
                                                                                                              you're aware at          some point
                                                                                                                                   at some     point she
                                                                                                                                                      shewaswas
  10 was
  10·  was being
              being separately
                        separ ately paid  paid to to dodo for     separate work?
                                                           for separate        work?       10 earning
                                                                                           10·  earning upwards
                                                                                                             upwards of    of $40,000
                                                                                                                               $40,000 perper year     for the
                                                                                                                                                 year for   the
  11 · · ·A.·
  11·      A. I| wanted
                    wanted to   to make
                                    make suresure that
                                                    that sheshe waswas                     11 coalition
                                                                                           11·  coalition work,
                                                                                                              work, correct?
                                                                                                                        correct?
  12 adequately
  12·  adequately compensated
                        compensated for      for her
                                                   her work.
                                                         work.· I| thought
                                                                       thought             12 · · ·A.·
                                                                                           12·      A. Yes.
                                                                                                          Yes
  13 she
  13·  shedid      great work
            did great       work for for us,
                                          us, benefited
                                               benefited us.·  us. My My                   13 · · ·Q.·
                                                                                           13·       Q. You
                                                                                                          You would
                                                                                                                 would agreeagree what
                                                                                                                                     what sheshe earned
                                                                                                                                                   earned from
                                                                                                                                                            from the the
  14 intention
  14·  intention was  was to to benefit
                                 benefit Local
                                            Local 4.  4.                                   14 coalition
                                                                                           14·  coalition did did not
                                                                                                                    not impact
                                                                                                                          impact whatwhat sheshe earned
                                                                                                                                                   earned at at Local
                                                                                                                                                                 L ocal
  15 · · · · · · ·I| thought
  15·                 thought Gina Gina diddid good
                                                good work work for for us,
                                                                        us,                15 4
                                                                                           15·  4 --
                                                                                                  -- at
                                                                                                      at the
                                                                                                          the Local
                                                                                                                Local 4  4 funds,
                                                                                                                            funds, correct?
                                                                                                                                      correct?
  16 and
  16·  and I| wanted
                wanted to   to make
                                 make sure
                                         sure she
                                                she waswas compensated
                                                              compensated                  16 · · · · · · ·MR.
                                                                                           16·              MR. KENNEY:·
                                                                                                                   KENNEY: Objection.Objection.
  17 correctly.·
  17·  correctly. I| was          happy that
                          was happy        that she
                                                 she was       compensated
                                                         was compensated                   17 · · ·A.·
                                                                                           17·      A. Right.
                                                                                                          Right.
  18 correctly.
  18·  correctly.                                                                          18 · · ·Q.·
                                                                                           18·      Q. In In paragraph
                                                                                                              paragraph 19,     19, you
                                                                                                                                     you reference
                                                                                                                                          referencethe  the
  19 · · ·Q.·
  19·      Q. WhatWhat do   do you
                                 you mean
                                        mean by  by youyou took
                                                              took intointo account
                                                                             account       19 compensation
                                                                                           19·  compensation study.·  study. Is   Isthat   the study
                                                                                                                                     that the    study that
                                                                                                                                                         that you
                                                                                                                                                                you
  20 what
  20·  what she she waswas being
                              being paidpaid byby thethe coalition?
                                                           coalition?                      20 werereferencing
                                                                                           20·  were referencing earlier   earlier where
                                                                                                                                       where you     reach out
                                                                                                                                               you reach      out totoaa
  21 · · ·A.·
  21·      A. To  To see
                       seethat      she was
                             that she    was getting
                                                getting paidpaid fairly,
                                                                    fairly,                21 third-party
                                                                                           21·  third-party vendorvendor to   to obtain
                                                                                                                                  obtain information,
                                                                                                                                            information, data  data
  22 I| took
  22·    took it it into
                    into account.
                           account.                                                        22 about
                                                                                           22·  about what        other administrators
                                                                                                         what other        administrators         were ----
                                                                                                                                                  were
  23 · · ·Q.·
  23·      Q. Well,
                  Wall, sheshewasbeing             separately paid
                                  was being separately               paid for
                                                                            for            23 · · ·A.·
                                                                                           23·      A. I| believe
                                                                                                            believe    so.
                                                                                                                       so.
  24 the
  24·  the coalition?
             coalition?                                                                    24 · · ·Q.·
                                                                                           24·       Q. SoSothat
                                                                                                              that wasdonein
                                                                                                                     was done in or     or around
                                                                                                                                            around 2005;
                                                                                                                                                       2005; is is

                                                                       Page 150
                                                                       Page 150                                                                            Page 152
                                                                                                                                                           Page 152

   1 · · ·A.·
  ·1·       A. Right.
                 Right                                                                      1 that
                                                                                           ·1· that right?
                                                                                                       right?
   2
  ·2· ·  ·  Q. Sowhat
           ·Q.·  So   what did did that
                                     that havehave to   do with
                                                     to do   with howhow sheshe             2 · · ·A.·
                                                                                           ·2·      A. I| believe
                                                                                                            bdieveso.  so.
   3 got
  ·3· got paid
             paid for
                    for herher work
                                 work in  in the
                                               the funds?
                                                    funds?                                  3 · · ·Q.·
                                                                                           ·3·      Q. Paragraph
                                                                                                         Paragraph 20,     20, you
                                                                                                                                you say say "In
                                                                                                                                              "In or or around
                                                                                                                                                         around 2013,2013,
   4 · · ·A.·
  ·4·       A. All
                 All together,
                      together, she  she waswas being
                                                  being paid
                                                          paid well
                                                                 well for
                                                                        for                 4 you
                                                                                           ·4·        suggested giving
                                                                                               you suggested          giving Ms.Ms. Alongi
                                                                                                                                       Alongi an    an additional
                                                                                                                                                        additional two  two
   5 her
  ·5· her position
             position with
                         with Local
                                  Local 4  4 and
                                              and with    the coalition.
                                                    with the    coalition.                  5 weeks
                                                                                           ·5· weeks of  of vacation
                                                                                                              vacation timetimetoto use use oror cash
                                                                                                                                                   cash outout annually
                                                                                                                                                                 annually
   6 · · ·Q.·
  ·6·       Q. Well,
                 Well, you        understand those
                          you understand            those areare two
                                                                   two                      6 because
                                                                                           ·6· because of    of her
                                                                                                                 her dedication,
                                                                                                                       dedication, work  work ethicethic andand her
                                                                                                                                                                  her
   7 totally
  ·7· totally separate
                  separate positions,
                                 positions, right?
                                                 right?                                     7 performance
                                                                                           ·7· performance           as administrator
                                                                                                                     as  administrator for      for the
                                                                                                                                                      thefunds."
                                                                                                                                                            funds."· Do Do
   8 · · ·A.·
  ·8·       A. Yes.
                 Yes.                                                                       8 you
                                                                                           ·8· you seeseethat?
                                                                                                           that?
   9 · · ·Q.·
  ·9·        Q. Two
                 Two separate
                         separate organizations?
                                        organizations?                                      9 · · ·A.·
                                                                                           ·9·      A. Yes.
                                                                                                         Yes
  10 · · ·A.·
  10·        A. Right.
                  Right.                                                                             Q. Who
                                                                                           10· · · ·Q.·   Who did  did you     suggest that
                                                                                                                         you suggest        that to?to?
  11 · · ·Q.·
  11·         Q. So
                  Sothefund
                      the fund would would not   not compensate
                                                      compensate                                     A. Nobody.
                                                                                           11· · · ·A.·   Nobody.
  12 Ms.
  12·   Ms. Alongi
               Alongi for for thework
                                the work she    she did
                                                     did for
                                                          for the
                                                                the coalition?
                                                                      coalition?                     Q. Why
                                                                                           12· · · ·Q.·   Why did  did you     say I| suggested
                                                                                                                         you say        suggested it?    it?
  13 · · ·A.·
  13·        A. Right.·
                  Right. The The members
                                    memberswould   would be be benefiting.
                                                                benefiting.                          A. I| might
                                                                                           13· · · ·A.·      might have
                                                                                                                      have suggested
                                                                                                                             suggested it    it to
                                                                                                                                                 to her
                                                                                                                                                     her that    she
                                                                                                                                                          that she
  14 · · ·Q.·
  14·         Q. Okay.·
                  Okay. But   But the
                                    thefundswere
                                          funds were not    not paying
                                                                  paying --  --            14 should
                                                                                           14·  should be  be given
                                                                                                                given this
                                                                                                                        thisinin lieu
                                                                                                                                  lieu ofof cash
                                                                                                                                             cash forfor her
                                                                                                                                                           her
  15 supposed
  15·   supposed to    to bebe paying
                                paying Ms.   Ms. Alongi
                                                   Alongi for      her coalition
                                                             for her     coalition         15 dedication
                                                                                           15·  dedication and   and her
                                                                                                                       her work
                                                                                                                            work ethic
                                                                                                                                     ethic and
                                                                                                                                             and thethe benefit
                                                                                                                                                         benefit to to
  16 work,
  16·   work, right?
                  right?                                                                   16 the
                                                                                           16·  the funds.
                                                                                                      funds.
  17 · · ·A.·
  17·        A. Not
                  Not directly,
                        directly, no. no.                                                  17 · · · · · · ·I| suggested
                                                                                           17·                 suggested thatthat she
                                                                                                                                    she take
                                                                                                                                          take twotwo weeks
                                                                                                                                                        weeks
  18 · · ·Q.·
  18·         Q. They
                  They werewere not not supposed
                                          supposed to   to pay
                                                             pay her
                                                                   her any
                                                                         any               18 vacation.
                                                                                           18·  vacation.· I| knewknew also
                                                                                                                          aso she
                                                                                                                                shewasill
                                                                                                                                       was ill and and I| said
                                                                                                                                                           said
  19 money
  19·   money for  for the
                         thework
                               work she she diddid for
                                                    for the
                                                         the coalition,
                                                               coalition,                  19 maybe
                                                                                           19·  maybe get  get rejuvenated
                                                                                                                 rejuvenated and  and feel
                                                                                                                                         feel better
                                                                                                                                                better and
                                                                                                                                                         and things
                                                                                                                                                               things
  20 right?
  20·   right?                                                                             20 will
                                                                                           20·  will work
                                                                                                       work out.out.
  21 · · ·A.·
  21·        A. Right.
                  Right.                                                                   21 · · ·Q.·
                                                                                           21·        Q. Did
                                                                                                          Did GinaGina Alongi
                                                                                                                          Alongi ask ask youyou for     that two
                                                                                                                                                   for that     two
  22 · · ·Q.·
  22·        Q. And
                  And you you were
                                 were aware
                                          aware fromfrom year
                                                            year to to year,
                                                                       year, |I            22 weeks?
                                                                                           22·  weeks?
  23 gather,
  23·   gather, how how muchmuch GinaGina Alongi
                                               Alongi waswas being
                                                                being paid
                                                                         paid byby the
                                                                                   the     23 · · ·A.·
                                                                                           23·       A. No.
                                                                                                          No.
  24 coalition,
  24·   coalition, right?
                       right?                                                              24
                                                                                           24·  · ·  Q. You suggested
                                                                                                    ·Q.·  You     suggested it   it all
                                                                                                                                     all on
                                                                                                                                          on your
                                                                                                                                               your own?own?


                                          O'Brien &
                                          O'Brien & Levine,
                                                     Levine, AA Magna
                                                                Magna Legal
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                    et al.
                       al. vs
                           vs                                            Louis Rasetta
                                                                         Louis  Rasetta
luoe Local
Iuoe Local 44 Health
              Health && Welfare
                         Welfare Fund,
                                 Fund, et
                                       et al.
                                          al.                            July 15,
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   1 performance?
  ·1· performance?                                                                   1 · · ·Q.·
                                                                                    ·1·      Q. You
                                                                                                  You and and Jack
                                                                                                                 Jack Shaughnessy.
                                                                                                                          Shaughnessy.
   2 · · ·A.·
  ·2·     A. Yes.
                Yes                                                                  2 · · ·A.·
                                                                                    ·2·      A. I| don't
                                                                                                     don't remember.
                                                                                                             remember.
   3 · · ·Q.·
  ·3·      Q. You,
                You, yourself,
                        yourself, personally
                                     personally nominated
                                                      nominated Gina  Gina           3 · · ·Q.·
                                                                                    ·3·      Q. DoDoyou        remember her
                                                                                                        you remember             her saying
                                                                                                                                      saying "I've  "I've had
                                                                                                                                                            had the
                                                                                                                                                                 the
   4 Alongi
  ·4· Alongi in  in 2015
                     2015 for
                            for the
                                 the Cushing
                                       Cushing Gavin Gavin Boyle
                                                               Boyle award;
                                                                        award;       4 privilege
                                                                                    ·4· privilege of   of working
                                                                                                           working with   with aa tremendous
                                                                                                                                    tremendous group     group of of
   5 is
  ·5· isthat    right?
         that right?                                                                 5 trusteesat
                                                                                    ·5· trustees at Local Local 4." 4."
   6 · · ·A.·
  ·6·     A. Right.
                Right.                                                               6 · · · · · · ·And
                                                                                    ·6·              And thethe two
                                                                                                                  two trustees
                                                                                                                         trustees she she mentions
                                                                                                                                            mentions
   7 · · ·Q.·
  ·7·      Q. And
                And you      actually served
                       you actually      served on  on the
                                                         the selection
                                                               selection             7 she
                                                                                    ·7· shesays,       "including Local
                                                                                              says, "including            Local 4  4 business
                                                                                                                                     business manager,
                                                                                                                                                    manager, Lou    Lou
   8 committee,
  ·8· committee, right? right?                                                       8 Rasetta
                                                                                    ·8· Rasetta and   and Jack
                                                                                                            Jack Shaughnessy
                                                                                                                     Shaughnessy of      of Shaughnessy
                                                                                                                                             Shaughnessy &         &
   9 · · ·A.·
  ·9·     A. I| had
                  had been
                        been aarecipient.
                                 recipient.                                          9 Ahern
                                                                                    ·9·             Company.”
                                                                                        Ahern Company."
  10 · · ·Q.·
  10·      Q. YouYou hadhad previously
                              previoudy been   been aarecipient
                                                         recipient and and          10 · · · · · · ·Do
                                                                                    10·               Do you
                                                                                                           you recall
                                                                                                                  recall herher saying
                                                                                                                                  saying that
                                                                                                                                            that in in herher
  11 you
  11·         were able
       you were       abletoto vote
                                vote onon --
                                           --                                       11 speech?
                                                                                    11·  speech?
  12 · · ·A.·
  12·      A. Yes.
                 Yes.                                                               12 · · ·A.·
                                                                                    12·       A. No.No.
  13 · · ·Q.·
  13·       Q. And
                 And youyou nominated
                              nominated Gina    Gina Alongi,
                                                        Alongi, correct?
                                                                   correct?         13 · · ·Q.·
                                                                                    13·        Q. You're
                                                                                                    You'refamiliar
                                                                                                               familiar with         the term
                                                                                                                              with the     term sexual
                                                                                                                                                    sexual
  14 · · ·A.·
  14·      A. Yes.
                 Yes.                                                               14 harassment?
                                                                                    14·  harassment?
  15 · · ·Q.·
  15·      Q. AndAnd waswasthat      thefirst
                              that the            timethat
                                          first time     that anan                  15 · · ·A.·
                                                                                    15·       A. Yes.
                                                                                                    Yes
  16 administrator had ever been chosen for that
  16·  administrator        had   ever   been     chosen     for  that              16
                                                                                    16·  · ·  Q. How
                                                                                             ·Q.·   How are areyou       familiar with
                                                                                                                  you familiar        with it?it?
  17 particular
  17·  particular award?
                       award?                                                       17 · · ·A.·
                                                                                    17·       A. Harassment.·
                                                                                                    Harassment. I| know    know what      the word
                                                                                                                                    what the      word means.
                                                                                                                                                           means.
  18 · · ·A.·
  18·      A. II think
                   think so.·
                          so. I'm
                                I'm not
                                     not sure.
                                          sure.                                     18 Sexual
                                                                                    18·  Sexual harassment.
                                                                                                     harassment.
  19 · · ·Q.·
  19·      Q. AndAnd youyou say
                              say "Typically
                                   " Typically voting
                                                    voting for for Cushing
                                                                    Cushing         19 · · ·Q.·
                                                                                    19·       Q. Through
                                                                                                    Through Local  Local 4,  4, did
                                                                                                                                did you     ever go
                                                                                                                                      you ever       go through
                                                                                                                                                           through
  20 Gavin
  20·  Gavin awards
                  awardstakes        several rounds
                            takes several        rounds of  of negotiations,
                                                                negotiations,       20 any
                                                                                    20·  any training
                                                                                                training on   on sexual
                                                                                                                   sexual harassment?
                                                                                                                              harassment?
  21 but
  21·  but Ms.
             Ms. Alongi
                    Alongi waswas selected
                                    selected by  by a a unanimous
                                                         unanimous vote  voteinin   21 · · ·A.·
                                                                                    21·       A. I| don't
                                                                                                      don't recall
                                                                                                              recall ever
                                                                                                                        ever being
                                                                                                                               being trained
                                                                                                                                       trained in  init.it.
  22 the
  22·  thefirst     round due
            first round      duetoto her
                                       her stellar
                                              stellar reputation
                                                        reputation in   in          22 · · ·Q.·
                                                                                    22·        Q. DoDoyou       recall receiving
                                                                                                         you recall        receiving a  a handbook
                                                                                                                                           handbook from      from
  23 the
  23·  thelabor       community.” Do
            labor community."·            Do youyou seeseethat?
                                                           that?                    23 Local
                                                                                    23·  Local 4   4 that
                                                                                                      that talked
                                                                                                             talked aboutabout sexual
                                                                                                                                  sexual harassment?
                                                                                                                                            harassment?
  24 · · ·A.·
  24·      A. Yes.
                 Yes                                                                24 · · ·A.·
                                                                                    24·       A. No.No.

                                                                 Page 158
                                                                 Page 158                                                                             Page 160
                                                                                                                                                      Page 160

          Q. You
   1 · · ·Q.·
  ·1·          You participated
                         participated in  in the
                                               the voting?
                                                     voting?                         1 · · ·Q.·
                                                                                    ·1·     Q. DoDoyou      recall Local
                                                                                                      you recall      Local 4     4 had
                                                                                                                                     had a  a handbook?
                                                                                                                                               handbook?
   2 · · ·A.·
  ·2·     A. Yes.
               Yes.                                                                  2 · · ·A.·
                                                                                    ·2·     A. No.
                                                                                                 No
   3 · · ·Q.·
  ·3·     Q. For
               For how  how many
                               many years
                                       years hadhad youyou served
                                                              served on on that
                                                                             that    3 · · ·Q.·
                                                                                    ·3·      Q. Do
                                                                                                 Doyou      recall the
                                                                                                      you recall      the fund
                                                                                                                             fund had  had a  a handbook?
                                                                                                                                                 handbook?
   4 committee?
  ·4· committee?                                                                     4 · · ·A.·
                                                                                    ·4·     A. Ildont.
                                                                                                   don't.
   5 · · ·A.·
  ·5·     A. Ten
               Ten maybe.
                       maybe.                                                        5 · · ·Q.·
                                                                                    ·5·     Q. DoDoyou      recall ever
                                                                                                      you recall      ever seeing
                                                                                                                              seeing aa written
                                                                                                                                              written
   6 · · ·Q.·
  ·6·     Q. Ten
               Tenyearsprior
                        years prior to  to her
                                            her nomination?
                                                   nomination?                       6 policy?
                                                                                    ·6· policy?
   7 · · ·A.·
  ·7·     A. No,
               No, all al together.·
                            together. I| won
                                          won the the award
                                                       award                         7 · · ·A.·
                                                                                    ·7·     A. I| don't
                                                                                                   don't recall
                                                                                                          recall seeing
                                                                                                                   seeing it.  it.
   8 myself,
  ·8· myself, as  asl I told
                         told you.
                               you.· I| nominated
                                        nominated aa numbernumber of  of             8 · · ·Q.·
                                                                                    ·8·     Q. I'm
                                                                                                 I'm going
                                                                                                       going toto show
                                                                                                                    show you  you aa document
                                                                                                                                         document that  that was
                                                                                                                                                             was
   9 people including Mr. McLaughlin and other people |I
  ·9· people    including       Mr.   McLaughlin        and   other  people          9 marked in an earlier exhibit as Exhibit No. 24.
                                                                                    ·9· marked      in an   earlier    exhibit        as  Exhibit    No.  24.
  10 nominated
  10·  nominated I| thoughtthought were
                                     were worthy
                                            worthy of   of the
                                                            the award.
                                                                 award.             10 · · ·A.·
                                                                                    10·      A. 24,
                                                                                                  24, where
                                                                                                       where would
                                                                                                                would that that be? be?
  11 · · ·Q.·
  11·       Q. And
                And Mr.   Mr. McLaughlin
                                 McLaughlin also   also won
                                                          won thethe award?
                                                                       award?       11 · · ·Q.·
                                                                                    11·       Q. It's
                                                                                                  It'sonthefirst
                                                                                                       on the first page. page.
  12 · · ·A.·
  12·      A. Yes,
                Yes he    hedid.
                              did.                                                  12 · · ·A.·
                                                                                    12·      A. Okay.
                                                                                                  Okay.
  13 · · ·Q.·
  13·       Q. And
                And Ms.   Ms. Alongi
                                Alongi ---- you
                                            you wentwent to to the  award
                                                                the award           13 · · ·Q.·
                                                                                    13·       Q. And
                                                                                                  And I understand
                                                                                                           understand that     that thisthis particular
                                                                                                                                               particular
  14 ceremony
  14·  ceremony for     for that,
                             that, right?
                                     right?                                         14 document
                                                                                    14·  document is    isdated     March 1st,
                                                                                                          dated March              1st, 2019.
                                                                                                                                         2019.
  15 · · ·A.·
  15·      A. Yes.
                Yes                                                                          A. Okay.
                                                                                    15· · · ·A.·  Okay.
  16 · · ·Q.·
  16·       Q. And
                And you   you sat
                                sat with   Ms. Alongi?
                                     with Ms.     Alongi?                                    Q. Which
                                                                                    16· · · ·Q.·  Which was was after
                                                                                                                   after your
                                                                                                                            your time  time    as business
                                                                                                                                               as  business
  17 · · ·A.·
  17·      A. Yes.
                Yes                                                                      manager, correct?
                                                                                    17· manager,       correct?
  18 · · ·Q.·
  18·      Q. And
                And she   she mentioned
                               mentioned you   you specifically
                                                      specifically in  in her
                                                                            her              A. Right.
                                                                                    18· · · ·A.·  Right.
  19 speech
  19·  speech as  as being
                       being someone
                                 someone of  of importance.·
                                                 importance. Do      Do youyou               Q. Do
                                                                                    19· · · ·Q.·  Do you     recall when
                                                                                                       you recall      when you    you were
                                                                                                                                         were business
                                                                                                                                                  business
  20 recall
  20·  recall that?
               that?                                                                     manager having
                                                                                    20· manager       having any any kind
                                                                                                                        kind of    of aa handbook?
                                                                                                                                         handbook?
  21 · · ·A.·
  21·      A. No.No.                                                                         A. Having
                                                                                    21· · · ·A.·  Having aawhat?
                                                                                                               what?
  22 · · ·Q.·
  22·       Q. You
                 Youdon't         recall her
                          don't recall    her mentioning
                                                 mentioning you   you in in                  Q. Any
                                                                                    22· · · ·Q.·  Any kind
                                                                                                         kind ofof an
                                                                                                                    an employee
                                                                                                                          employee handbook.
                                                                                                                                           handbook.
  23 her
  23·  her speech,
             speech, you  you andand Jack
                                      Jack Shaughnessy?
                                              Shaughnessy?                                   A. I| don't
                                                                                    23· · · ·A.·    don't recall,
                                                                                                           recall, no.
                                                                                                                     no.
  24 · · ·A.·
  24·      A. Pardon
                 Pardon me?  me?                                                             Q. And
                                                                                    24· · · ·Q.·  And you      don't recall
                                                                                                         you don't       recall ever ever seeing
                                                                                                                                             seeing anything
                                                                                                                                                      anything


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                                       O'Brien & Levine,
                                                  Levine, AA Magna
                                                             Magna Legal
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                                     al. vs
                                         vs
      luoe Local
      Iuoe Local 4
                 4 Health
                   Health &
                          & Welfare
                            Welfare Fund,
                                    Fund, et
                                          et al.
                                             al.




                   Gregory Geiman
                   Gregory Geiman Vol
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                                Fund, et
                                      et al.
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  ·1· · · · · · · · COMMONWEALTH OF MASSACHUSETTS
                                    MASSACHUSETTS                                   1 ·APPEARANCES
                                                                                   ·1· APPEARANCES CONT'D:
                                                                                                   CONT'D:

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  ·2· ·NORFOLK, SS. · · · · · · SUPERIOR
                                SUPERIOR COURT
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                                                                                   ·2· Also present:
                                                                                            present:

                                 CIVIL ACTION
  ·3· · · · · · · · · · · · · · ·CIVIL ACTION NO.:
                                              NO.: 2182CV00125
                                                   2182CV 00125                                Daniel Keenan,
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  ·5· ·**********************************************                                          Jacob Tosti,
                                                                                   ·5· · · · · Jacob Tosti , Esq.
                                                                                                             Esq 5

       GINAMARIE ALONGI
  ·6· ·GINAMARIE ALONGI AND
                        AND ROSEMARIE
                            ROSEMARIE ALONGI,·
                                      ALONG, · · ·*                                            Rose Marie
                                                                                   ·6· · · · · Rose Marie Alongi
                                                                                                          Alongi

                               Plaintiffs · · · · ·*
  ·7· · · · · · · · · · · · · ·Plaintiffs·         *                                           Gina Marie
                                                                                   ·7· · · · · Gina Marie Alongi
                                                                                                          Alongi
       VS. · · · · · · · · · · · · · · · · · · · · *
  ·8· ·vs.·                                        *                               ·8
       IUOE LOCAL
  ·9· ·IUOE LOCAL 4
                  4 HEALTH
                    HEALTH &
                           & WELFARE
                             WELFARE FUND,
                                     FUND, et
                                           eta,
                                              al,· ·**                             ·9
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  10· · · · · · · · · · · · · ·Defendants·         *                               10
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  16· · · · · · · · · · BOWDITCH & DEWEY,
                                   DEWEY, LLP
                                          LLP                                      16
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  17· · · · · · · · · ·200 Crossing Boulevard
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  18· · · · · · · Framingham, Massachusetts 010702
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  23· · · · · · · · · · · Brenda M. Ginisi
                                    Ginisi                                         23
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  24· · · · · · · · · · · ·Court Reporter                                          24


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  ·1· ·APPEARANCES:                                                                ·1· · · · · · · · · · · · · I N D E X
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       Representing the
  ·2· ·Representing the Plaintiffs:
                        Plaintiffs:                                                ·2
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  ·3· · · · · BOWDITCH & DEWEY,
                         DEWEY, LLP
                                LLP                                                     WITNESS: · · · · · · · · · · · · · · · ·GREGORY
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                                                                                                                                        GEIMAN

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  ·6· · · · · BY:· TIMOTHY P.
                           P. VAN DYCK, ESQ.
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                                                                                            Van Dyck·
                                                                                                Dyck · · · · · · · · · · · · · · · · · · · ·5
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  15· · · · · E-mail: jmarkowski @fmglaw.com                                            Exhibit 83,
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                                                                                                    E-mai
       Representing the
  16· ·Representing the IUOE
                         IUOE LOCAL
                              LOCAL 4:
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                                                                                                    E-mai
              O'DONOGHUE &
  17· · · · · O'DONOGHUE & O'DONOGHUE
                           O'DONOGHUE LLP
                                      LLP                                               Exhibit 85,
                                                                                   17· ·Exhibit 85, E-mail
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              5301 Wisconsin
  18· · · · · 5301           Avenue, NW,
                   Wisconsin Avenue, NW, Suite
                                         Suite 800
                                               800                                      Exhibit 86,
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              Washington, DC·
  19· · · · · Washington, DC 20015
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                                                                                                                  Geiman)

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  23                                                                               23
  24                                                                               24



                                                       O'Brien &
                                                       O'Brien & Levine,
                                                                  Levine, AA Magna
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                                                                                    Lega Services
                                                                                         Services Company
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                    et al.
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                           vs                                         Gregory Geiman
                                                                      Gregory  Geiman
luoe Local
Iuoe Local 44 Health
              Health && Welfare
                         Welfare Fund,
                                 Fund, et
                                       et al.
                                          al.                            June 13,
                                                                         June 13, 2022
                                                                                  2022
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              GREGORY GEIMAN,
  ·1· · · · · GREGORY GEIMAN, Deponent,
                              Deponent, having
                                        having first been
                                               first been                     will not
                                                                         ·1· ·will not be
                                                                                       be able
                                                                                          able to
                                                                                               to testify
                                                                                                  testify truthfully
                                                                                                          truthfully and
                                                                                                                     and accurately
                                                                                                                         accurately
  PF




                                                                         BP
       satisfactorily identified
  ·2· ·satisfactorily identified and
                                 and duly
                                     duly sworn,
                                          sworn, deposes
                                                 deposes and
                                                         and                  today?
                                                                         ·2· ·today?
  WN




                                                                         WN
       states as
  ·3· ·states as follows:
                 follows:                                                            A. · ·No.·
                                                                         ·3· · · · · A.·   No. No
                                                                                                No reason.
                                                                                                   reason.
  ·4                                                                                 Q. · ·Okay.·
                                                                         ·4· · · · · Q.·   Okay. Have
                                                                                                  Haveyou  taken any
                                                                                                       you taken any medications
                                                                                                                     medications
  Oh




                                                                         Ud
  ·5                                                                          that could,
                                                                         ·5· ·that could, in
                                                                                          in any
                                                                                             any way,
                                                                                                 way, affect
                                                                                                      affect your
                                                                                                             your ability
                                                                                                                  ability to answer
                                                                                                                          to answer
                     EXAMINATION BY
  ·6· · · · · · · · ·EXAMINATION BY MR.
                                    MR. VAN DYCK:
                                        VAN DYCK:                             my questions
                                                                         ·6· ·my questions truthfully?
                                                                                           truthfully?
  Oo




                                                                         NO
                                                                                     A. · ·No.
                                                                                           No.
  NN




  ·7                                                                     ·7· · · · · A.·
              Q. · ·Good
  ·8· · · · · Q.·   Good morning,
                         morning, Mr.
                                  Mr. Geiman.
                                      Geiman.                                        Q. · ·Decent
                                                                         ·8· · · · · Q.·   Decent night's
                                                                                                  night's sleep
                                                                                                          sleep last
                                                                                                                last night?
                                                                                                                     night?




                                                                         00
  00




  ·9· · · · · A.     Good morning.
              A.· · ·Good morning.                                                   A. · ·Yes.
                                                                         ·9· · · · · A.·   Yes
  ©




                                                                         ©
              Q. · ·As
  10· · · · · Q.·   AslI'msureyou   know, my
                       I'm sure you know, my name
                                             nameisis                                Q. · ·Okay.·
                                                                         10· · · · · Q.·   Okay. Any
                                                                                                  Any hearing
                                                                                                      hearing problems
                                                                                                              problems! I should
                                                                                                                          should be
                                                                                                                                 be
       Tim Van
  11· ·Tim Van Dyck
               Dyck and
                    and I| represent
                           represent both
                                     both Gina
                                          Gina and
                                               and Rose
                                                   Rose Alongi
                                                        Alongi                aware of?
                                                                         11· ·aware of?
       in both
  12· ·in both the
               the state
                   state court
                         court litigation,
                               litigation, as
                                           aswell  asaa
                                              well as                    12· · · · · A.     None.
                                                                                     A.· · ·None.
       federal court
  13· ·federal court litigation.
                     litigation.                                                     Q. · ·If
                                                                         13· · · · · Q.·   If for
                                                                                              for any
                                                                                                  any reason
                                                                                                      reason you don't understand
                                                                                                             you don't under stand
                     MR. VAN
  14· · · · · · · · ·MR. VAN DYCK:·
                             DYCK: Before
                                    Before we
                                           we get
                                              get started,
                                                  started,                    one of
                                                                         14· ·one of my
                                                                                     my questions,
                                                                                        questions, let
                                                                                                   let me
                                                                                                       me know
                                                                                                          know that before you
                                                                                                               that before you answer
                                                                                                                               answer
              Jennifer, I'm
  15· · · · · Jennifer, I'm assuming
                            assuming the
                                     the same
                                         same stipulations?
                                              stipulations?                   and I'll
                                                                         15· ·and I'll try
                                                                                       try to
                                                                                           to rephrase
                                                                                              rephraseitit in
                                                                                                           in such
                                                                                                              such aa way
                                                                                                                      way that
                                                                                                                          that you do
                                                                                                                               you do
                     MS. MARKOWSKI:·
  16· · · · · · · · ·MS. MARKOWSKI: Same
                                     Same stipulations.
                                          stipulations.                       understand it.·
                                                                         16· ·understand it. If,
                                                                                              If, for
                                                                                                  for some
                                                                                                      somereason,  you don't
                                                                                                           reason, you don't
                     MR. VAN
  17· · · · · · · · ·MR. VAN DYCK:·
                             DYCK: Okay.·
                                    Okay. So
                                          So read
                                             read and
                                                  and sign,
                                                      sign,                   under stand one
                                                                         17· ·understand  one of
                                                                                              of my
                                                                                                 my questions,
                                                                                                    questions, I| can
                                                                                                                  can either
                                                                                                                      either repeat
                                                                                                                             repeat it
                                                                                                                                    it
              waive notarization,
  18· · · · · waive notarization, reserve
                                  reserve all
                                          all objections
                                              objections                      or we
                                                                         18· ·or we can
                                                                                    can have
                                                                                        have our
                                                                                             our lovely
                                                                                                 lovely court
                                                                                                        court reporter
                                                                                                              reporter read
                                                                                                                       read it
                                                                                                                            it back
                                                                                                                               back
              except as
  19· · · · · except as to
                        to form,
                           form, including
                                 including motions
                                           motions to strike
                                                   to strike                  to you.·
                                                                         19· ·to you. Okay?
                                                                                       Okay?
              until trial,
  20· · · · · until trial, and
                           and 30
                               30 days
                                  days to
                                       to read
                                          read and
                                               and sign.
                                                   sign.                 20· · · · · A.     Okay.
                                                                                     A.· · ·Okay.
              Q. · ·(By
  21· · · · · Q.·   (By Mr.
                        Mr. Van
                            Van Dyck)·
                                Dyck) Mr.
                                       Mr. Geiman,
                                           Geiman, could
                                                   could you
                                                         you                         Q. · ·Again,
                                                                         21· · · · · Q.·   Again, there's
                                                                                                  there'satendency
                                                                                                          a tendency inin these
                                                                                                                          these
       please state
  22· ·please state your
                    your full
                         full name
                               name for the record?
                                    for the record?                           depositions
                                                                         22· ·depositions for peopletoto interrupt
                                                                                          for people     interrupt each
                                                                                                                   each other.·
                                                                                                                        other. And
                                                                                                                                And
              A. · ·Yes.·
  23· · · · · A.·   Yes. Gregory
                          Gregory Alan Geiman.
                                  Alan Geiman.                                I'll do
                                                                         23· ·I'll do my
                                                                                      my best
                                                                                         best not
                                                                                              not to
                                                                                                  to interrupt
                                                                                                     interrupt you
                                                                                                               you when
                                                                                                                   when you're
                                                                                                                        you're
              Q. · ·And
  24· · · · · Q.·   And you
                        you understand
                            understand that
                                       that you're
                                            you're here
                                                   heretoto                   speaking. And
                                                                         24· ·speaking.· And I| would
                                                                                                would simply
                                                                                                      simply ask
                                                                                                             ask that you try
                                                                                                                 that you try your
                                                                                                                              your

                                                               Page 6
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       have your
  ·1· ·have your deposition
                 deposition taken
                            taken with respect to
                                  with respect to the
                                                  the                         best not
                                                                         ·1· ·best    not to
                                                                                          to interrupt
                                                                                               interrupt while!       speak. And
                                                                                                            while I speak.·      And I| dodo pause
                                                                                                                                             pause
                                                                         BP




       complaint in
  ·2· ·complaint in the
                    the superior
                        superior court
                                 court action
                                       action that
                                              that Gina
                                                   Gina and
                                                        and                   sometimes before
                                                                         ·2· ·sometimes        before I finish
                                                                                                          finish aa question,
                                                                                                                     question, so  so just  give me
                                                                                                                                       just give  me
                                                                         WN




       Rose Alongi
  ·3· ·Rose Alongi have
                   have filed against the
                        filed against      lUOE Local
                                      the IUOE  Local Funds
                                                      Funds and
                                                            and               sometime.
                                                                         ·3· ·some     time.
       William McLaughlin,
  ·4· ·William McLaughlin, correct?
                           correct?                                                  A. · ·I1 will
                                                                         ·4· · · · · A.·      will do
                                                                                                    do my
                                                                                                        my best
                                                                                                             best to
                                                                                                                  to give
                                                                                                                      give you
                                                                                                                             you that
                                                                                                                                   that
                                                                         dh




              A. · ·Yes.·
                    Yes. The
                          ThelUOE Loca 44 funds, yes.                         courtesy.
                                                                         Ul




  ·5· · · · · A.·            IUOE Local   funds, yes.                    ·5· ·courtesy.
              Q. · ·Just
  ·6· · · · · Q.·   Just for brevity sake,
                         for brevity sake, I'll
                                           I'll be
                                                bereferring
                                                   referring                         Q. · ·Thank
                                                                         ·6· · · · · Q.·    Thank you.        What is
                                                                                                       you.· What     isyour     date of
                                                                                                                         your date      of birth?
                                                                                                                                           birth?
                                                                         NO




       to that
  ·7· ·to that as
               asthe  funds, during
                  the funds, during the
                                    the course
                                        course of
                                               of the
                                                  the                                A. · ·May
                                                                         ·7· · · · · A.·    May 15,15, 1976.
                                                                                                        1976.
       deposition; are
  ·8· ·deposition; are you
                       you okay
                           okay with that?
                                with that?                                           Q. · ·And
                                                                         ·8· · · · · Q.·   And where
                                                                                                   where were
                                                                                                            wereyou      born?
                                                                                                                   you born?
                                                                         00




              A. · ·Ilam.
  ·9· · · · · A.·     am.                                                            A. · ·Middletown,
                                                                         ·9· · · · · A.·    Middletown, New   New York.
                                                                                                                    Y ork.
                                                                         ©




              Q. · ·All
  10· · · · · Q.·   Allright.   And you
                        right.· And you also
                                        also understand
                                             understand that
                                                        that                          Q. · ·And
                                                                         10· · · · · Q.·     And areareyou     currently married?
                                                                                                         you currently       married?
                                                                        = oO
                                                                        [SY




       you're here
  11· ·you're heretoto have
                       have your
                            your deposition
                                 deposition taken
                                            taken with
                                                  with respect
                                                       respect                        A. · ·I| am.
                                                                         11· · · · · A.·       am.
       to aa complaint
  12· ·to    complaint that
                       that the
                            the funds
                                funds that
                                      that have
                                           have filed against
                                                filed against                         Q. · ·And
                                                                         12· · · · · Q.·     And to to whom?
                                                                                                        whom?
       Gina Alongi
  13· ·Gina Alongi in
                   in the
                      the federal
                          federal court?
                                  court?                                              A. · ·Jaime,
                                                                         13· · · · · A.·     Jaime, J-A-I-M-E.·
                                                                                                      JA-I-M-E. Same  Same lastlast name.
                                                                                                                                     name.
  14· · · · · A.
              A.· · ·Ildo.
                       do.                                                            Q. · ·Any
                                                                         14· · · · · Q.·     Any children?
                                                                                                    children?
              Q. · ·And
  15· · · · · Q.·   And I| also
                           also understand
                                understand you have been
                                           you have been                              A. · ·Two.
                                                                         15· · · · · A.·     Two.
       designated by
  16· ·designated by the
                     the funds
                         funds as the
                               as the 30(b)(6)
                                      30(b)(6) designee,
                                               designee,                              Q. · ·Age?
                                                                         16· · · · · Q.·     Age?
       correct?
  17· ·correct?                                                                       A. · ·Twins.·
                                                                         17· · · · · A.·     Twins. Fourteen.
                                                                                                        Fourteen.
  18· · · · · A.     Yes
              A.· · ·Yes.                                                             Q. · ·Were
                                                                         18· · · · · Q.·     Wereyou       married previously?
                                                                                                      you married      previously?
              Q. · ·All
  19· · · · · Q.·   Allright.   Fine. You've
                        right.· Fine.· You've probably
                                              probably heard
                                                       heard                          A. · ·No.
                                                                         19· · · · · A.·     No.
       theseinstructions
  20· ·these              now several
             instructions now several times
                                      timesso  I'll try
                                            so I'll try to
                                                        to                            Q. · ·And
                                                                         20· · · · · Q.·     And where
                                                                                                    where do do you    live?
                                                                                                                 you live?
       keep them
  21· ·keep them brief.·
                 brief. You
                         You understand
                             understand that
                                        that you
                                             you need
                                                 need to
                                                      to                              A. · ·44 Primrose
                                                                         21· · · · · A.·        Primrose Lane,
                                                                                                            Lane, Westborough,
                                                                                                                   Westborough,
       answer my
  22· ·answer my questions
                 questions verbally,
                           verbally, correct?
                                     correct?                                  Massachusetts.
                                                                         22· ·Massachusetts.
  23· · · · · A.
              A.· · ·Ildo.
                       do.                                                            Q. · ·How
                                                                         23· · · · · Q.·      Howcloseisthat
                                                                                                    close is that to to Gina
                                                                                                                        Ginaand  and
              Q. · ·And
  24· · · · · Q.·   And is
                        isthereany   reason why
                           there any reason     you think
                                            why you think you
                                                          you            24 ·Rose
                                                                         24·   Rose Alongi?
                                                                                        Alongi?


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                                     O'Brien & Levine,
                                                Levine, AA Magna
                                                           Magna Legal
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                                                                        Services Company
                                                                                  Company                                               Pages 5-8
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                           vs                                         Gregory Geiman
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luoe Local
Iuoe Local 44 Health
              Health && Welfare
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                                 Fund, et
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        the board.·
  ·1· ·the    board. I| don't don't remember
                                       remember when      when thatthat was,
                                                                         was,                                       Q.
                                                                                                       ·1· · · · · Q.·     ·   Isit your testimony, Mr. Geiman,
                                                                                                                              ·Is   it  your    testimony,          Mr.      Geiman, that    that




                                                                                                       BRE
  WNP




        chronologically, if
  ·2· ·chronologically,             if it
                                        it was      before that
                                            was before         that decision
                                                                      decision or   or                       the federal
                                                                                                       ·2· ·the     federal lawsuitlawsuit wouldwould have  have been been brought,
                                                                                                                                                                                brought, even   even if if




                                                                                                       WN
        after it.
  ·3· ·after     it.                                                                                         Ms. Alongi
                                                                                                       ·3· ·Ms.      Alongi had     had notnot filed
                                                                                                                                                 filed aa suit
                                                                                                                                                             suit in in superior
                                                                                                                                                                          superior court?  court?
               Q. · ·Would
  ·4· · · · · Q.·        Would aa vote   vote have have beenbeen taken?
                                                                    taken?                             ·4· · · · · A.
                                                                                                                    A.· · ·It  tisis.
  hh




                                                                                                       Ohh
               A. · ·A   A vote      would have   have been
                                                          been taken,
                                                                   taken, yes.
                                                                             yes.                                   Q. · ·And  And what what is  isthe     basisfor   for that         belief?
  Ul




  ·5· · · · · A.·             vote would                                                               ·5· · · · · Q.·                               the basis               that belief?
               Q. · ·Do
  ·6· · · · · Q.·        Doyou you knowknow whether
                                                  whether the    the vote
                                                                       vote waswas                     ·6· · · · · A.
                                                                                                                    A.· · ·My  My basisbasisfor     that belief,
                                                                                                                                               for that     belief, is  is that
                                                                                                                                                                             that thethe




                                                                                                       NO
  NO




        unanimous?
  ·7· ·unanimous?                                                                                            chronology is
                                                                                                       ·7· ·chronology             is this,
                                                                                                                                       this, that,    you know,
                                                                                                                                              that, you       know, Ms.   Ms. Alongi
                                                                                                                                                                                  Alongi was  was
               A. · ·It
  ·8· · · · · A.·        ltwas
                             was.                                                                            terminated on
                                                                                                       ·8· ·terminated           on or or about
                                                                                                                                           about July
                                                                                                                                                    July 21st,
                                                                                                                                                             21st, I| think
                                                                                                                                                                         think it   it was,
                                                                                                                                                                                        was, ofof
  0




                                                                                                       0
               Q. · ·Okay.·
  ·9· · · · · Q.·        Okay. Anything
                                      Anything else            you can
                                                         else you     can recall
                                                                              recall about
                                                                                        about                2010.
                                                                                                       ·9· ·2010.




                                                                                                       ©
  ©




         the discussions
  10· ·the     discussions concerning
                                    concer ning the       the Alongis
                                                                 Alongis or   or the
                                                                                  the                                Q. · ·2020?
                                                                                                       10· · · · · Q.·          2020?




                                                                                                      = Oo
                                                                                                      el
         litigation, in
  11· ·litigation,         in any
                                any of of these
                                            these board board of  of trustees
                                                                      trustees meetings?
                                                                                    meetings?                        A. · ·Sorry.·
                                                                                                       11· · · · · A.·          Sorry. 2020.·
                                                                                                                                            2020. 2020.·2020. ThankThank you.·  you. I| was was
                A. · ·I| remember
  12· · · · · A.·            remember the     the seriousness
                                                      seriousness or    or the
                                                                            the                               offered the
                                                                                                       12· ·offered         the job.·
                                                                                                                                   job. In Inthe     next day
                                                                                                                                               the next      day or  or two,
                                                                                                                                                                          two, I| beginbegin the
                                                                                                                                                                                               the
         soberness, if
  13· ·soberness,           if you
                               you will,
                                      will, of  of the
                                                    the conversation
                                                           conversation with   with the the                   job. Ultimately,
                                                                                                       13· ·job.·      Ultimately, I| am      am handed
                                                                                                                                                    handed quite  quite the the undertaking,
                                                                                                                                                                                  undertaking,
         trustees, about
  14· ·trustees,        about filing
                                  filing suitsuit against
                                                     against Gina.·
                                                                 Gina. It  It generated
                                                                               generated                      not just
                                                                                                       14· ·not              learning, you
                                                                                                                    just learning,          you know,
                                                                                                                                                   know, aspects
                                                                                                                                                               aspects of     of aajobjob with
                                                                                                                                                                                           with
  15· ·aatremendous
            tremendous amount    amount of     of discussion.·
                                                    discussion. There  There was,was,                         which I| was
                                                                                                       15· ·which            was somewhat
                                                                                                                                     somewhat familiarfamiliar but   but notnot completely
                                                                                                                                                                                   completely
         certainly, across
  16· ·certainly,         across the the board,
                                            board, hesitance
                                                         hesitance about
                                                                       about taking
                                                                                 taking                       familiar, and
                                                                                                       16· ·familiar,          and trying
                                                                                                                                      trying to to figure
                                                                                                                                                    figure all  al that
                                                                                                                                                                     that out.out.
         what I| think
  17· ·what           think everybody
                               everybody perceivedperceived rightfully
                                                                   rightfully to  to bebe aa                                  Dealing with
                                                                                                       17· · · · · · · · ·Dealing           with aa staff
                                                                                                                                                       staff that
                                                                                                                                                                that was
                                                                                                                                                                       was in   in some
                                                                                                                                                                                     some
         very serious
  18· ·very       serious step,step, and
                                       and one one thatthat we
                                                             we couldn't
                                                                   couldn't turnturn back
                                                                                        back                  degree of
                                                                                                       18· ·degree         of disbelief
                                                                                                                                disbelief and  and upheaval,
                                                                                                                                                      upheaval, to      to put
                                                                                                                                                                             put it it mildly.
                                                                                                                                                                                        mildly.
         from. And
  19· ·from.·        And |I do do ---- I| do
                                           do recall
                                                 recall that.·
                                                           that. ButBut nothing
                                                                          nothing more  more                  And to
                                                                                                       19· ·And        to do
                                                                                                                           do allall ofof this
                                                                                                                                           this during
                                                                                                                                                 during the         pandemic, when
                                                                                                                                                             the pandemic,              when I|
         than that.
  20· ·than       that.                                                                                       didn't have
                                                                                                       20· ·didn't       have aafull        staff to
                                                                                                                                      full staff    to rely
                                                                                                                                                         rely on on inin the     office, we
                                                                                                                                                                           the office,       we
                Q. · ·Was
  21· · · · · Q.·         Wasthereany                 discussion, among
                                  there any discussion,                  among any   any of  of               were working
                                                                                                       21· ·were        working for     for quite
                                                                                                                                             quite somesome timetime justjust to to getget our
                                                                                                                                                                                            our feet
                                                                                                                                                                                                  feet
         the trustees, about the notion that there could at
  22· ·the     trustees,        about      the     notion     that    there     could     at                  under us.·
                                                                                                       22· ·under        us. AndAnd my   my memory
                                                                                                                                               memory is      is that
                                                                                                                                                                  that thethe MCAD
                                                                                                                                                                                 MCAD charge  charge was was
         least be
  23· ·least        be aa perception
                           perception created   created that that taken
                                                                     taken such such aa stepstep              filed, maybe, five weeks after Gina was terminated. |
                                                                                                       23· ·filed,      maybe,         five  weeks       after    Gina      was     terminated.        I
         could be
  24· ·could         be perceived
                         perceived as       asretaliatory?
                                                 retaliatory?                                                 was still
                                                                                                       24· ·was       still inin the
                                                                                                                                  the process
                                                                                                                                         process of   of moving
                                                                                                                                                          moving from    from one  one office
                                                                                                                                                                                          office to to

                                                                                  Page 66
                                                                                  Page 66                                                                                                 Page 68
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  · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · ·Page                                    · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · ·Page  Page
               A. · ·I1dontbelieveso.
  ·1· · · · · A.·            don't believe so.· I| wouldn'twouldn't be     be able
                                                                                able                         the other
                                                                                                       ·1· ·the    other when
                                                                                                                            when that   that landed
                                                                                                                                               landed on     on my my desk.
                                                                                                                                                                         desk.
  WNP




                                                                                                       OWNER




        to tell
  ·2· ·to   tell you
                   you that that the
                                   the word
                                         word was        never raised
                                                  was never         raised or or never
                                                                                   never --   --                           So it
                                                                                                       ·2· · · · · · · · ·So      it all
                                                                                                                                     al happened
                                                                                                                                           happened very              quickly, which,
                                                                                                                                                             very quickly,           which,
  ·3· ·I| don't
          don't remember
                    remember the       the meeting
                                              meeting verbatim
                                                           verbatim so     so I| wouldn't
                                                                                  wouldn't                   you know,
                                                                                                       ·3· ·you     know, Gina  Gina and  and Rose
                                                                                                                                                 Rose had   had every
                                                                                                                                                                    every right
                                                                                                                                                                              right to       do. But
                                                                                                                                                                                       to do.·       But
        want to
  ·4· ·want       to tell
                      tell you,
                             you, definitively,
                                      definitively, that  that itit wasn't.
                                                                     wasn't.                                 there waswas no  no way        that I, |, in
                                                                                                                                                        in five
                                                                                                                                                             five weeks         of trying
                                                                                                                                                                                     trying to    to
  hh




                                                                                                       ·4· ·there                   way that                         weeks of
  ·5· · · · · · · · ·I| cancan tell
                                 tell you,      though, thatthat thethe                                      figure out out the
                                                                                                                              the jobjob andand figuring            out what
                                                                                                                                                                          what I| didn't
                                                                                                                                                                                      didn't know know
  Ul




                                        you, though,                                                   ·5· ·figure                                 figuring out
        treatment of
  ·6· ·treatment          of this
                               this federal
                                      federal court
                                                  court claim
                                                           claim was  was very
                                                                             very muchmuch                   and how
                                                                                                       ·6· ·and     how to  to fix
                                                                                                                                 fix things
                                                                                                                                       things thatthat needed
                                                                                                                                                            needed to    to be
                                                                                                                                                                             be fixed,
                                                                                                                                                                                  fixed, I| couldcould
  NO




                                                                                                       ONO




        compartmentalized. And
  ·7· ·compartmentalized.·                   And I| think,
                                                       think, justifiably.
                                                                justifiably.· I| think think                 have come
                                                                                                       ·7· ·have      come to   to the
                                                                                                                                     the realization
                                                                                                                                            realization that    that there
                                                                                                                                                                        there was
                                                                                                                                                                                was other  other
        there was,
  ·8· ·there      was, probably,
                            probably, unspoken
                                             unspoken concern
                                                            concern about  about perception.
                                                                                     perception.             larger issues.·
                                                                                                       ·8· ·larger      issues. For   For example,
                                                                                                                                             example, it       it took     Laura-Jean Hickey
                                                                                                                                                                   took Laura-Jean              Hickey
  0




  ·9· ·I| don't
          don't think
                    think anybody
                               anybody wanted wanted to   to be
                                                              be perceived
                                                                    perceived as     as acting
                                                                                         acting              weeks. I| couldn't
                                                                                                       ·9· ·weeks.·          couldn't tell  tell you        exactly how
                                                                                                                                                  you exactly             how long,
                                                                                                                                                                                  long, but  but
  ©




                                                                                                       ©




  10· ·inin aaretaiatory
                retaliatory fashion,fashion, because
                                                  because that that waswas nobody's
                                                                              nobody's                        weeks, to
                                                                                                       10· ·weeks,        to collect
                                                                                                                               collect all  all of
                                                                                                                                                 of the
                                                                                                                                                      the coalition
                                                                                                                                                              coalition materials
                                                                                                                                                                              materialsinin the      the
         intent in
  11· ·intent       in the
                         the room,
                                room, to   to my
                                               my knowledge.
                                                     knowledge.                                               office.
                                                                                                       11· ·office.
  12· · · · · · · · ·It  It was
                              was the
                                    the result
                                           result ofof months
                                                         months of    of analysis
                                                                          analysis                                          Y ou know,
                                                                                                       12· · · · · · · · ·You         know, when when I| took   took overover as as
  13· ·byby Schultheis
              Schultheis &        & Panettieri.·
                                       Panettieri. Very  Very serious
                                                                  serious discussions.
                                                                               discussions.                   administrator at
                                                                                                       13· ·administrator             at the
                                                                                                                                          the very
                                                                                                                                                very first         thing I| did
                                                                                                                                                           first thing         did waswas I| wentwent
         And ultimately
  14· ·And        ultimately aa finding finding thatthat the
                                                           the trustees
                                                                trustees fiduciary
                                                                               fiduciary               14· ·toto Laura-Jean
                                                                                                                  Laura-Jean and       and I| said,
                                                                                                                                                said, you          can't work
                                                                                                                                                           you can't       work for  for the the
         obligation mandated
  15· ·obligation            mandated that    that they
                                                     they take
                                                            take reasonable
                                                                     reasonable steps  steps to  to           coalition anymore.·
                                                                                                       15· ·coalition        anymore. Moreover, Moreover, you               need to
                                                                                                                                                                     you need               pack up
                                                                                                                                                                                      to pack        up
         try to
  16· ·try     to recoup
                    recoup the   the plan's
                                       plan's losses.
                                                 losses.                                                      anything in this office. And as|'m sure you've read
                                                                                                       16· ·anything         in    this   office.·     And        as  I'm   sure    you've        read
  17· · · · · · · · ·To To the the extent
                                     extent thatthat                                                   17· ·inin the
                                                                                                                  the pleadings,
                                                                                                                         pleadings, I| think  think it   it was
                                                                                                                                                              was 40 40 boxes.·
                                                                                                                                                                          boxes. It     It
         Schultheis &
  18· ·Schultheis            & Panettieri
                                 Panettieri was          able to
                                                  was able      to quantify
                                                                     quantify that         the
                                                                                    that the                  necessitated, literally,
                                                                                                       18· ·necessitated,            literally, aa moving
                                                                                                                                                        moving truck   truck to to getget it it out.
                                                                                                                                                                                                out.
         plan lost
  19· ·plan       lost money,
                          money, that  that plan
                                               plan assets      were misused,
                                                      assets were         misused, I'll  I'll                        Q. · ·That
                                                                                                       19· · · · · Q.·         That wasover
                                                                                                                                         was over the               course of
                                                                                                                                                            the course         of since
                                                                                                                                                                                    since 2007, 2007,
         say, as
  20· ·say,      as aaresult
                         result of  of the
                                         the Gina's
                                               Gina's work
                                                         work for  for the
                                                                         the coalition
                                                                               coalition                      correct?
                                                                                                       20· ·correct?
         and other
  21· ·and      other items,items, that
                                      that thethe trustees
                                                   trustees had had an  an obligation,
                                                                             obligation,                             A. · ·Yes,
                                                                                                       21· · · · · A.·         Yes, yes.·
                                                                                                                                        yes. For For as  aslong
                                                                                                                                                              long as      Gina had
                                                                                                                                                                       as Gina       had the  the
         under ERISA,
  22· ·under        ERISA, to      to take
                                       take reasonable
                                                reasonable steps steps to  to pursue
                                                                               pursue that,that,              coalition running
                                                                                                       22· ·coalition         running out    out ofof the
                                                                                                                                                        the fundsfunds office.·
                                                                                                                                                                          office. I| don't  don't
         less they
  23· ·less      they be  beinin violation
                                   violation of    of their
                                                       their fiduciary
                                                               fiduciary                                      know how
                                                                                                       23· ·know        how long long it  it was,      necessarily. But
                                                                                                                                             was, necessarily.·               Butitwasa
                                                                                                                                                                                     it was a
         responsibilities.
  24· ·responsibilities.                                                                                      collection of
                                                                                                       24· ·collection          of items
                                                                                                                                     items overover time.·
                                                                                                                                                        time. And    And that
                                                                                                                                                                            that it it took
                                                                                                                                                                                        took aa


                                                O'Brien &
                                                O'Brien & Levine,
                                                           Levine, AA Magna
                                                                      Magna Legal
                                                                             Legal Services
                                                                                   Services Company
                                                                                             Company                                                                                  Pages 65–68
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Ginamarie Alongi,
Ginamarie   Along, et
                    et al.
                       al. vs
                           vs                                         Gregory Geiman
                                                                      Gregory  Geiman
luoe Local
Iuoe Local 44 Health
              Health && Welfare
                         Welfare Fund,
                                 Fund, et
                                       et al.
                                          al.                            June 13,
                                                                         June 13, 2022
                                                                                  2022
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        whileto go through all of that. | wastrying
  ·1· ·while      to  go   through          all    of  that.·   I  was   trying to  to                          But if there were items of interest, I| would
                                                                                                          ·1· ·But     if  there     were    items     of  interest,        would put put itit on
                                                                                                                                                                                               on




                                                                                                          BRE
  BR




        figure out
  ·2· ·figure      out howhow to  to work
                                       work with   with thethe bank,
                                                                  bank, with
                                                                          with thethe                           the agenda
                                                                                                          ·2· ·the    agenda and    and update
                                                                                                                                          update the  the trustees,
                                                                                                                                                            trustees, very        briefly.
                                                                                                                                                                          very briefly.
  WN




                                                                                                          WN
        investment managers,
  ·3· ·investment          managers, with       with the the custodian,
                                                               custodian, peoplepeople who  who                        Q. · ·And
                                                                                                          ·3· · · · · Q.·        And whenwhen you   you saysay "put
                                                                                                                                                                  "put it  it on
                                                                                                                                                                               on the
                                                                                                                                                                                    the agenda,"
                                                                                                                                                                                         agenda,”
        didn't know
  ·4· ·didn't     know me    me didn't
                                   didn't know  know when  when I| was.was.· And,
                                                                                And, you you know,
                                                                                               know,            would this
                                                                                                          ·4· ·would        thisbe be aa written         agenda?
                                                                                                                                            written agenda?




                                                                                                          Ohh
  OOP




        trying assuage
  ·5· ·trying      assuage them  them all    all that
                                                   that itit was     okay to
                                                              was okay       to deal
                                                                                 deal with
                                                                                         with             ·5· · · · · A.         Yeah. I| would
                                                                                                                       A.· · ·Yeah.·           would put  put Alongi
                                                                                                                                                                 Alongi litigation
                                                                                                                                                                             litigation as as
        me. And
  ·6· ·me.·     And it  it took
                           took aa tremendous
                                         tremendous amount     amount of   of paperwork
                                                                                paperwork and    and            the action
                                                                                                          ·6· ·the    action item,item, if if you
                                                                                                                                              you will,
                                                                                                                                                     will, on on the
                                                                                                                                                                   the agenda.
                                                                                                                                                                         agenda.
  NO




                                                                                                          NO
        time.
  ·7· ·time.                                                                                                                   MR. VAN
                                                                                                          ·7· · · · · · · · ·MR.        VAN DYCK:·
                                                                                                                                                 DYCK: Okay.·   Okay. Again,Again, I| don't
                                                                                                                                                                                         don't
                       Meanwhile, Laura-Jean's
  ·8· · · · · · · · ·Meanwhile,               Laura-Jean's doing     doing herher piece
                                                                                     piece                             believe we received any of these documents. And
                                                                                                          ·8· · · · · believe        we   received       any    of  these      documents.·       And
  00




                                                                                                          0
        with regards
  ·9· ·with     regards to    to the
                                  the coalition.·
                                          coalition. We      We werewere finding
                                                                            finding out, out,             ·9· · · · · I| would
                                                                                                                          would make  make aa request
                                                                                                                                                  request that        they be
                                                                                                                                                               that they       be produced
                                                                                                                                                                                   produced to   to
  ©




                                                                                                          ©
         sort of,
  10· ·sort     of, other
                     other itemsitems as    as wewe go  go that
                                                            that were
                                                                    were concerns,
                                                                            concerns, that  that          10· · · · · ususforthwith.
                                                                                                                             forthwith.
  11· ·wewe sort
               sort of,
                      of, peripherally,
                            peripherally, knew        knew about
                                                               about onceonce Gina
                                                                                 Ginawas  was                           Q. · ·(By
                                                                                                          11· · · · · Q.·         (By Mr.Mr. Van         Dyck) As
                                                                                                                                                 Van Dyck)·                specifically as
                                                                                                                                                                      As specifically         asyouyou
         terminated. But
  12· ·terminated.·            But gotgot aa much much more  more fulsome
                                                                      fulsome look look into
                                                                                           into them
                                                                                                 them            can recall,
                                                                                                          12· ·can      recall, what what was was discussed
                                                                                                                                                      discussed at     at any
                                                                                                                                                                            any ofof these
                                                                                                                                                                                      these
  13· ·asas we
             we were
                   were starting
                            starting to     to -- -- you     know, started
                                                      you know,         started to to peel
                                                                                        peel the
                                                                                              the                meetings?
                                                                                                          13· ·meetings?
         onion.
  14· ·onion.                                                                                                           A. · ·It
                                                                                                          14· · · · · A.·         It would
                                                                                                                                     would have  have varied,
                                                                                                                                                         varied, depending
                                                                                                                                                                      depending on     on when
                                                                                                                                                                                           when
                       And so,
  15· · · · · · · · ·And        so, there
                                       there is    is absolutely
                                                       absolutely no    no way
                                                                            way we  we                           the meeting
                                                                                                          15· ·the     meeting fell.           But it
                                                                                                                                      fell.· But     it was
                                                                                                                                                         was intended,
                                                                                                                                                                intended, very  very much,
                                                                                                                                                                                        much, as  as
         would have
  16· ·would        have beenbeen in    in aa position
                                                 position to   to undertake
                                                                    undertake aa thorough
                                                                                       thorough                  just aa status
                                                                                                          16· ·just        status update.·
                                                                                                                                      update. For   For example,
                                                                                                                                                          example, the    the MCAD  MCAD charge
                                                                                                                                                                                            charge has  has
         analysis, or
  17· ·analysis,        or even
                             even to   to begin
                                             begin talking
                                                        talking aboutabout federal
                                                                              federal court
                                                                                          court                  been moved
                                                                                                          17· ·been       moved into   into the
                                                                                                                                              the superior
                                                                                                                                                    superior court,
                                                                                                                                                                  court, or  or the
                                                                                                                                                                                 the Alongis
                                                                                                                                                                                      Alongis
         litigation before
  18· ·litigation        before the    the MCAD
                                              MCAD charge   charge was  was filed.
                                                                              filed.                             filed aamotion
                                                                                                          18· ·filed         motion to   to stay,
                                                                                                                                              stay, or or the
                                                                                                                                                          the motion
                                                                                                                                                                 motion to    to stay
                                                                                                                                                                                 stay was
                                                                                                                                                                                        was
                Q. · ·That
  19· · · · · Q.·         That wasmywas my next       next question.·
                                                              question. I| think think you  you                  denied, or
                                                                                                          19· ·denied,        or whatever
                                                                                                                                   whatever --     -- or
                                                                                                                                                       or we're
                                                                                                                                                          we're in   in discovery
                                                                                                                                                                         discovery right right now.
                                                                                                                                                                                                 now.
         just said
  20· ·just      said that
                         that there
                                 there had    had been been absolutely
                                                                absolutely no     no discussion
                                                                                       discussion                Just, sort
                                                                                                          20· ·Just,      sort of,
                                                                                                                                 of, status
                                                                                                                                       status updates.
                                                                                                                                                 updates.
         about bringing
  21· ·about        bringing suit     suit against
                                               against Gina  Gina untiluntil after
                                                                               after the the MCAD MCAD                  Q. · ·A
                                                                                                          21· · · · · Q.·         Arroutine
                                                                                                                                      routine updateupdate on    on what
                                                                                                                                                                      what was        going on
                                                                                                                                                                                was going       on inin
         complaint had
  22· ·complaint            had been been filed,filed, correct?
                                                          correct?                                               thelitigations?
                                                                                                          22· ·the     litigations?
                A. · ·That
  23· · · · · A.·         That is  isaccurate.
                                        accurate.                                                                       A. · ·Right.
                                                                                                          23· · · · · A.·         Right.
                Q. · ·I| got
  24· · · · · Q.·           got off off track,
                                           track, which which is    ispar
                                                                       par for
                                                                             for thethe                                 Q. · ·Have
                                                                                                          24· · · · · Q.·         Havel I now  now exhausted
                                                                                                                                                        exhausted your            memory about
                                                                                                                                                                         your memory            about --   --

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        course for
  ·1· ·course       for me,me, so so I| apologize.·
                                         apologize. So      So we'vetalked
                                                                 we've talked about    about                    I'm going
                                                                                                          ·1· ·I'm     going to    to exhaust
                                                                                                                                        exhaust you          before the
                                                                                                                                                     you before           the day's
                                                                                                                                                                                 day's over,
                                                                                                                                                                                           over, believe
                                                                                                                                                                                                    believe
                                                                                                          BRE
  WNP




        the board
  ·2· ·the     board of   of trustees
                              trustees that that youyou had had in  in which
                                                                        which the the                           me.
                                                                                                          ·2· ·me.
                                                                                                          WN




        litigation of
  ·3· ·litigation       of the
                             the Alongis
                                     Alongis were were discussed.·
                                                          discussed. I| think   think you you             ·3· · · · · A.         That'sal
                                                                                                                       A.· · ·That's             right.
                                                                                                                                            all right.
        also testified
  ·4· ·also     testified thatthat you you maymay havehave had  had somesome individual
                                                                                individual                             Q. · ·But
                                                                                                          ·4· · · · · Q.·         But havehavel I exhausted
                                                                                                                                                    exhausted your      your memory
                                                                                                                                                                                  memory about  about
  hh




                                                                                                          Ohh




        conversations            with certain
                                         certain of   of these
                                                           these trustees
                                                                     trustees      as well,
                                                                                        well,                   any andand all  all communication
                                                                                                                                      communication about        about any   any union
                                                                                                                                                                                     union employees
                                                                                                                                                                                               employees
  Ul




  ·5· ·conversations            with                                              as                      ·5· ·any
        correct?
  ·6· ·correct?                                                                                                 about the
                                                                                                          ·6· ·about       the Alongis
                                                                                                                                   Alongis and/orand/or the  thelitigation?
                                                                                                                                                                    litigation?
                                                                                                          NO
  NO




               A. · ·Not
  ·7· · · · · A.·       Not correct.·
                               correct. Not  Not individual
                                                     individual                                           ·7· · · · · A.
                                                                                                                       A.· · ·No,No, because
                                                                                                                                         because I| alsoalso hadhad conversation
                                                                                                                                                                        conversation withs    withs
        conversations, but
  ·8· ·conversations,           but conversations
                                       conversations with    with individual
                                                                       individual boards
                                                                                       boards                   Bill McLaughlin
                                                                                                          ·8· ·Bill    McLaughlin outside     outside of  of his
                                                                                                                                                               his---- outside
                                                                                                                                                                         outside of   of his
                                                                                                                                                                                           his
                                                                                                          00
  0




        of trustees.·
  ·9· ·of   trustees. That'sThat'swhat what I| meant.·
                                                  meant. In    In other
                                                                    other words,
                                                                             words,                             context as
                                                                                                          ·9· ·context        as chairman
                                                                                                                                   chairman of    of the
                                                                                                                                                      the board
                                                                                                                                                             board of   of trustees.
                                                                                                                                                                            trustees.
                                                                                                          ©
  ©




         there were
  10· ·there      were somesome meetings
                                      meetings that        were combined
                                                    that were        combined boardsboards of   of                      Q.
                                                                                                          10· · · · · Q.·      ·   Okay. Solet'stalk about those.·
                                                                                                                                 ·Okay.·       So   let's   talk     about      those. How   How
                                                                                                         N RO




                                                                                                                 many of     of those
                                                                                                                                 those conversations
                                                                                                                                            conversations do         do you
                                                                                                                                                                          you recall?
                                                                                                                                                                                  recall?
                                                                                                         lr




         trustees special
  11· ·trustees       special meetings,
                                   meetings, they  they call
                                                           call them.·
                                                                   them. And        then,
                                                                             And then,                    11· ·many
         just updates
  12· ·just     updates provided
                             provided to        each of
                                            to each      of the
                                                             the boards
                                                                    boards at  at their
                                                                                  their                   12· · · · · A.A.· · ·I'd I'd have
                                                                                                                                         have trouble
                                                                                                                                                trouble pinning
                                                                                                                                                             pinning aa numbernumber on     on it.
                                                                                                                                                                                                it.
         quarterly meetings.
  13· ·quarterly         meetings.                                                                               They are
                                                                                                          13· ·They       are occasional,
                                                                                                                                  occasional, generally
                                                                                                                                                    generally quick.· quick. But  But thethe
                Q. · ·Okay.·
  14· · · · · Q.·        Okay. And            it'sthe
                                       And it's            latter that
                                                    the latter        that wewe                                  litigation does
                                                                                                          14· ·litigation         does comecome up  up inin other
                                                                                                                                                             other meetings
                                                                                                                                                                        meetings that   that we     might
                                                                                                                                                                                               we might
         haven't yet
  15· ·haven't               talk about,
                       yet talk       about, correct?
                                                correct?                                                         have, or
                                                                                                          15· ·have,       or even
                                                                                                                                even just       in passing,
                                                                                                                                          just in   passing, if   if there
                                                                                                                                                                       there was was an an item
                                                                                                                                                                                             item ofof
                A. · ·Correct.
  16· · · · · A.·        Correct.                                                                                note. It's,
                                                                                                          16· ·note.·       It's, certainly,
                                                                                                                                    certainly, beenbeen discussed.
                                                                                                                                                            discussed.
                Q. · ·Okay.·
  17· · · · · Q.·        Okay. So      Solet'stalk
                                           let's talk aboutabout that.·
                                                                      that. What
                                                                               What do    do                            Q.
                                                                                                          17· · · · · Q.·      ·   Fair enough. Would any
                                                                                                                                 ·Fair     enough.·       Would         any of  of these
                                                                                                                                                                                    these
         you recall
  18· ·you       recall about
                           about those?those?                                                                    discussions that
                                                                                                          18· ·discussions             that you've
                                                                                                                                               you've had  had with
                                                                                                                                                                  with Bill Bill McLaughlin
                                                                                                                                                                                    McLaughlin be       be
                A. · ·Those
  19· · · · · A.·        Those are   are much
                                          much more,more, sortsort of,of, wrote.
                                                                           wrote.· We We                         reduced to
                                                                                                          19· ·reduced           to any
                                                                                                                                      any kind
                                                                                                                                             kind of of aa writing?
                                                                                                                                                             writing?
         would meet
  20· ·would        meet quarterly.·
                             quarterly. And   And I| felt
                                                        felt itit was
                                                                   was my  my obligation,
                                                                                obligation,               20· · · · · A.A.· · ·I| don't
                                                                                                                                     don't believe
                                                                                                                                              believe      so.
                                                                                                                                                          so.
  21· ·onon aaquarterly         basis, and
                 quarterly basis,         and I| will
                                                   will saysay it it didn't
                                                                     didn't happen
                                                                               happen                                   Q. · ·Okay.·
                                                                                                          21· · · · · Q.·          Okay. Again,Again, I'm   I'm going
                                                                                                                                                                  going to    to test
                                                                                                                                                                                   test your
                                                                                                                                                                                          your
         every meeting.·
  22· ·every       meeting. There   There waswas somesome meetings
                                                              meetings that   that fell
                                                                                    fell                         memory here.·
                                                                                                          22· ·memory             here. But  But as     specifically as
                                                                                                                                                   as specifically            as you
                                                                                                                                                                                  you can can recall,
                                                                                                                                                                                                recall,
         during aa sort
  23· ·during          sort of,
                              of, fallow
                                    fallow period.·
                                               period. ThereThere reallyreally wasn't
                                                                                 wasn't                          what was
                                                                                                          23· ·what       was discussed
                                                                                                                                    discussed between
                                                                                                                                                    between you     you and and Mr. Mr. McLaughlin
                                                                                                                                                                                            McLaughlin
         much going
  24· ·much        going on  on andand not
                                         not much
                                               much to   to update
                                                             update the   the trustees
                                                                               trustees on. on.                  during these
                                                                                                          24· ·during          these encounters?
                                                                                                                                          encounters?


                                                 O'Brien &
                                                 O'Brien & Levine,
                                                            Levine, AA Magna
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                    et al.
                       al. vs
                           vs                                         Gregory Geiman
                                                                      Gregory  Geiman
luoe Local
Iuoe Local 44 Health
              Health && Welfare
                         Welfare Fund,
                                 Fund, et
                                       et al.
                                          al.                            June 13,
                                                                         June 13, 2022
                                                                                  2022
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                     MR. VAN
  ·1· · · · · · · · ·MR.      VAN DYCK:·DYCK: Off     Off the
                                                            the record.
                                                                  record.                                        Q. · ·(By
                                                                                                     ·1· · · · · Q.·      (By Mr.
                                                                                                                                Mr. VanVan Dyck)·
                                                                                                                                               Dyck) I'm     I'm showing
                                                                                                                                                                    showing you         what's
                                                                                                                                                                                 you what's
  BE




                                                                                                     PF
  ·2                                                                                                      marked for
                                                                                                     ·2· ·marked        for identification
                                                                                                                              identification as     as Exhibit
                                                                                                                                                           Exhibit 85.· 85. Can
                                                                                                                                                                              Can you you
  WN




                                                                                                     WN
                     (A recess
  ·3· · · · · · · · ·(A    recess was was taken)
                                             taken)                                                       identify this
                                                                                                     ·3· ·identify      thisfor     me?
                                                                                                                              for me?
  ·4                                                                                                 ·4· · · · · A.       Exhibit 85.
                                                                                                                 A.· · ·Exhibit      85.
  Uhh




                                                                                                     OB
                     MR. VAN
  ·5· · · · · · · · ·MR.      VAN DYCK:·DYCK: Back    Back on. on.                                               Q. · ·Eighty-five?
                                                                                                     ·5· · · · · Q.·      Eighty-five?
              Q. · ·(By
  ·6· · · · · Q.·      (By Mr. Mr. Van Van Dyck)·
                                               Dyck) In    In Exhibit
                                                               Exhibit 84,   84, you
                                                                                   you                           A. · ·This
                                                                                                     ·6· · · · · A.·      Thisisan       e-mail note
                                                                                                                                is an e-mail        note thatthat I| wrote
                                                                                                                                                                      wrote to to




                                                                                                     NO
  NO




       refer to
  ·7· ·refer    tothework
                     the work that    that Gina
                                              Gina did did for
                                                             for thethe coalition.
                                                                          coalition.                      myself on
                                                                                                     ·7· ·myself      on May
                                                                                                                           May 24th
                                                                                                                                  24th of of 2018.
                                                                                                                                              2018.
       What did
  ·8· ·What       did you
                        you understand
                                understand that     that work
                                                            work to   to be?
                                                                           be?                                   Q. · ·And
                                                                                                     ·8· · · · · Q.·      And Mr. Mr. Geiman,
                                                                                                                                        Geiman, I'll     I'll represent
                                                                                                                                                               represent to         you
                                                                                                                                                                               to you
  00




                                                                                                     00
              A. · ·I| knew
  ·9· · · · · A.·         knew thatthat Gina
                                           Ginawould
                                                   would go   go to,
                                                                   to, I| think,
                                                                          think,                          that this document wasfirst produced to usthis
                                                                                                     ·9· ·that    this   document        was     first    produced         to us    this
  ©




                                                                                                     ©
        quarterly meetings.·
  10· ·quarterly        meetings. I| knew   knew she she waswas thethe executive
                                                                         executive                         mor ning, about
                                                                                                     10· ·morning,          about a  a half-an-hour
                                                                                                                                        half-an-hour before     before thisthis deposition
                                                                                                                                                                                  deposition




                                                                                                    N RO
        director and  and would         meet with       the board.·
                                                              board. I| wasn't          privy




                                                                                                    rl
  11· ·director              would meet          with the                    wasn't privy                  started. Do
                                                                                                     11· ·started.·       Do you
                                                                                                                               you have
                                                                                                                                      have anyany explanation
                                                                                                                                                     explanation for       for that?
                                                                                                                                                                                that?
        to any
  12· ·to    any ofof that
                       that so so I| just,    sort of,
                                      just, sort    of, knew
                                                          knew in   in aa general
                                                                          genera                                  A. · ·You
                                                                                                     12· · · · · A.·       You would
                                                                                                                                  would have have toto speak
                                                                                                                                                          speak to  to my
                                                                                                                                                                        my counsel
                                                                                                                                                                             counsel
        sense that
  13· ·sense      that she
                         she diddid that.
                                      that.                                                                about that.
                                                                                                     13· ·about      that.
  14· · · · · · · · ·I| knew
                         knew thatthat sheshe would
                                                would work work to  to --
                                                                        -- she
                                                                            she                                   Q. · ·Do
                                                                                                     14· · · · · Q.·       Doyou       know when
                                                                                                                                you know         when you           provided it
                                                                                                                                                            you provided           it to
                                                                                                                                                                                      to your
                                                                                                                                                                                          your
        would work
  15· ·would       work to   to convince
                                 convince serviceservice providers,
                                                             providers, investment
                                                                              investment                   counsel?
                                                                                                     15· ·counsel?
        managers and
  16· ·managers          and thethe like,
                                      like, toto become
                                                  become associate
                                                               associate members
                                                                               members of    of                   A. · ·Am
                                                                                                     16· · · · · A.·       Am] I allowed
                                                                                                                                   alowed to        answer that?
                                                                                                                                                to answer         that?
        the coalition.·
  17· ·the    coalition. I| knew  knew that that they
                                                  they hadhad an an annual
                                                                      annual golf golf                            Q. · ·No.·
                                                                                                     17· · · · · Q.·       No. YouYou cancan answer
                                                                                                                                                answer that.  that.
        tournament and
  18· ·tournament           and meeting
                                   meeting down  down at  at Wequassett
                                                              Wequassett in       in Chatham.
                                                                                      Chatham.                           MS. MARKOWSKI:·
                                                                                                     18· · · · · · · · ·MS.     MARKOWSKI: Actually,                        conversations,
                                                                                                                                                             Actually, conversations,
        And I| knew
  19· ·And         knew thatthat they
                                   they had had anan annual
                                                       annual holiday
                                                                   holiday party.
                                                                                party.                            no I| don't
                                                                                                     19· · · · · no      don't ---- no
                                                                                                                                    no I| don't
                                                                                                                                            don't agree
                                                                                                                                                    agree --   --
        That's the
  20· ·That's      the extent
                         extent of  of what
                                        what I| knew.
                                                   knew.                                                                 MR. VAN
                                                                                                     20· · · · · · · · ·MR.     VAN DYCK:·
                                                                                                                                         DYCK: It's     It'snot
                                                                                                                                                              not aawhy,       it'saa
                                                                                                                                                                       why, it's
               Q. · ·And
  21· · · · · Q.·       And I may   may have have asked
                                                    asked this this question,
                                                                       question, and   and                        when. When
                                                                                                     21· · · · · when.·      When did  did you
                                                                                                                                             you provide
                                                                                                                                                   provide it     it to
                                                                                                                                                                     to your
                                                                                                                                                                         your counsel.
                                                                                                                                                                                counsel.
        if II did
  22· ·if     did I| apologize.·
                       apologize. Did      Did youyou take
                                                         take anyany issue
                                                                         issue with
                                                                                  with thethe                     It's not
                                                                                                     22· · · · · It's   not anything
                                                                                                                             anything aboutabout communications
                                                                                                                                                     communications with        with
        fact that
  23· ·fact    that GinaGina was  was the       executive director
                                         the executive          director for  for thethe                          counsel. I'm
                                                                                                     23· · · · · counsel.·      I'm entitled
                                                                                                                                      entitledto it.· toit. And
                                                                                                                                                             And] I just     got
                                                                                                                                                                       just got
        coalition while
  24· ·coalition        while she she was was thethe administrator
                                                       administrator of        of the
                                                                                    the funds?
                                                                                          funds?                  this document.
                                                                                                     24· · · · · this    document.

                                                                              Page 170
                                                                              Page 170                                                                                      Page 172
                                                                                                                                                                            Page 172

              A. · ·I| took
  ·1· · · · · A.·          took nonoissuewithit.
                                       issue with it.· And    And I also also felt
                                                                                felt                             MS. MARKOWSKI:·
                                                                                                     ·1· · · · · MS.    MARKOWSKI: I| understand       understand you   you just      got
                                                                                                                                                                               just got
                                                                                                          WNBR




       that it
  ·2· ·that    it wasn't
                   wasn't my  my business
                                   business what   what my my bossboss did.
                                                                          did.                       ·2· ·it.
              Q. · ·All  Allright.        Did you       believe that  that thethe work
                                                                                     work                        MR. VANVAN DYCK:·DYCK: Do      Do youyou wish
                                                                                                                                                            wish to      represent
                                                                                                     ONO




  ·3· · · · · Q.·             right.· Did        you believe                                         ·3· · · · · MR.                                                 to represent
       that she
  ·4· ·that     she did did for
                             for the
                                   the coalition,
                                         coalition, in    in any
                                                               any way,way, hurt
                                                                               hurt thethe                on the
                                                                                                     ·4· ·on   the record
                                                                                                                     record why why I'mI'm getting
                                                                                                                                             getting itit now?
                                                                                                                                                            now?
                                                                                                       OA




       funds?
  ·5· ·funds?                                                                                                    MS. MARKOWSKI:·
                                                                                                     ·5· · · · · MS.    MARKOWSKI: Sure.·           Sure. I'm I'm happy
                                                                                                                                                                    happy to  to
              A. · ·As
  ·6· · · · · A.·        Asl I said
                                sad earlier,
                                       earlier, I| knew
                                                      knew that that sheshe did
                                                                             did                          represent to
                                                                                                     ·6· ·represent     to you.
                                                                                                                             you.
       work during
  ·7· ·work       during the the day.·
                                  day. I| knewknew that        Laura-Jean Hickey
                                                       that Laura-Jean            Hickey and  and                MR. VAN
                                                                                                     ·7· · · · · MR.    VAN DYCK:·DYCK: Please. Please.
       others did
  ·8· ·others       did coalition
                          coalition work          during the
                                        work during          the day.·
                                                                   day. But But I| had
                                                                                     had nono                    MS. MARKOWSKI:·
                                                                                                     ·8· · · · · MS.    MARKOWSKI: Okay.·           Okay. We   We were        originally
                                                                                                                                                                     were originally
       understanding on
  ·9· ·understanding            on aa day-to-day
                                       day-to-day basis   basis of  of the
                                                                        the breadth
                                                                              breadth of of               not going to produce this document because it
                                                                                                     ·9· ·not   going    to   produce      this  document         because       it is
                                                                                                                                                                                   is
                                                                                                     ©




        it, until
  10· ·it,   until 2020.
                       2020.                                                                               not aa funds
                                                                                                     10· ·not       funds document.·
                                                                                                                             document. Number  Number one,   one, it's
                                                                                                                                                                     it'san
                                                                                                                                                                          an
  11· · · · · · · · ·I| had
                          had taken
                                taken exception,
                                          exception, on     on atat least
                                                                      least aa                             e-mail from
                                                                                                     11· ·e-mail      from his his personal
                                                                                                                                    personal e-mail
                                                                                                                                                 e-mail account
                                                                                                                                                            account to        his
                                                                                                                                                                          to his
        couple of
  12· ·couple         of occasions,
                          occasions, not   not with
                                                 with Gina
                                                         Gina because
                                                                   because I| would
                                                                                  would have have          personal e-mail
                                                                                                     12· ·personal      e-mail account.
                                                                                                                                    account.
        been wary
  13· ·been       wary of  of doing
                               doing that,
                                         that, butbut with
                                                       with Laura-Jean,
                                                                Laura-Jean, about   about                         And number
                                                                                                     13· · · · · And     number two,  two, there's
                                                                                                                                              there's privileged
                                                                                                                                                         privileged --   --
        work that
  14· ·work        that was      being done
                          was being       done in   in the   funds office
                                                       the funds        office during
                                                                                  during                   arguably --
                                                                                                     14· ·arguably       -- privileged
                                                                                                                             privileged communications
                                                                                                                                              communications within     within
        funds office
  15· ·funds        office time
                             time forfor the
                                           the coalition.
                                                 coalition.                                                this document
                                                                                                     15· ·this    document and    and the
                                                                                                                                        the other
                                                                                                                                              other e-mails
                                                                                                                                                        e-mails we we produced,
                                                                                                                                                                         produced,
  16· · · · · Q.·Q. · ·YouYou discussed
                                 discussed this    thiswith        Laura-Jean?
                                                         with Laura-Jean?                                  which we
                                                                                                     16· ·which            referenced in
                                                                                                                     we referenced          in the
                                                                                                                                                the e-mail
                                                                                                                                                      e-mail thatthat
  17· · · · · A.A.· · ·My My memory
                               memory is,     is, that
                                                   that it
                                                         it was
                                                             was by  by e-mail.
                                                                          e-mail.                          accompanied production
                                                                                                     17· ·accompanied            production this  this morning.
                                                                                                                                                         morning.
        Laura-Jean and
  18· ·Laura-Jean           and I| had
                                    had aa bit bit of
                                                    of aa tenuous        relationship so
                                                           tenuous relationship             so                    And we've
                                                                                                     18· · · · · And    we've had   had aa lengthy
                                                                                                                                            lengthy discussion
                                                                                                                                                         discussion about  about
        I'm sure
  19· ·I'm     sure I| copped
                          copped out out by by sending
                                                 sending an   an e-mail.
                                                                    e-mail.                                the issue
                                                                                                     19· ·the    issue of
                                                                                                                        of attorney-client
                                                                                                                              attorney-client privilege
                                                                                                                                                      privilege and and thethe
  20· · · · · · · · ·MR.MR. VANVAN DYCK:·DYCK: I| want   want to   to mark
                                                                        mark this
                                                                                this asasthe
                                                                                          the              possibility of
                                                                                                     20· ·possibility       of waiving
                                                                                                                                 waiving any  any claim
                                                                                                                                                     claim to to
                 next exhibit.
  21· · · · · next       exhibit.                                                                          attorney-client privilege.·
                                                                                                     21· ·attorney-client          privilege. And  And havehave determined
                                                                                                                                                                   determined
  22                                                                                                       that, with
                                                                                                     22· ·that,    with regard
                                                                                                                           regard to to these
                                                                                                                                         these e-mails,
                                                                                                                                                  e-mails, we'rewe're making
                                                                                                                                                                         making
                        (Exhibit 85,
  23· · · · · · · · ·(Exhibit        85, E-mail
                                            E-mail Note,
                                                       Note, marked)
                                                                  marked)                            23· ·aalimited      waiver of
                                                                                                              limited waiver         of the
                                                                                                                                         the attorney-client
                                                                                                                                               attorney-client
  24                                                                                                       privilege relative
                                                                                                     24· ·privilege      relative to  to what
                                                                                                                                          what is  is contained
                                                                                                                                                       contained within
                                                                                                                                                                      within


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                                                          Levine, AA Magna
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Ginamarie Alongi,
Ginamarie   Along, et
                    et al.
                       al. vs
                           vs                                         Gregory Geiman
                                                                      Gregory  Geiman
luoe Local
Iuoe Local 44 Health
              Health && Welfare
                         Welfare Fund,
                                 Fund, et
                                       et al.
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              the e-mails
  ·1· · · · · the     e-mails thatthat were
                                        were produced
                                                 produced today.
                                                               today.                                                MR. VAN
                                                                                                  ·1· · · · · · · · ·MR.            DYCK: Whoa,
                                                                                                                            VAN DYCK:·            Whoa, whoa, whoa, whoa.whoa.· ComeCome
  WNP




                                                                                                  WNP
              Q. · ·(By
  ·2· · · · · Q.·        (By Mr.Mr. Van
                                      Van Dyck)·
                                              Dyck) So   Sowhen
                                                              when did  did you
                                                                              you become
                                                                                     become                   on. I'm
                                                                                                  ·2· · · · · on.·   I'm asking
                                                                                                                          asking for      Mr. Geiman
                                                                                                                                    for Mr.     Geiman to     to tell
                                                                                                                                                                  tell meme what
                                                                                                                                                                              what
       aware of
  ·3· ·aware        of this
                         thisdocument?
                               document?                                                                      in this
                                                                                                  ·3· · · · · in  this document
                                                                                                                        document he    he thinks
                                                                                                                                            thinks might
                                                                                                                                                       might be  be protected
                                                                                                                                                                      protected by   by
                       MS. MARKOWSKI:·
  ·4· · · · · · · · ·MS.      MARKOWSKI: We            We can cantakeit
                                                                    take it up up atat                        privilege. You
                                                                                                  ·4· · · · · privilege.·     You cancan object
                                                                                                                                           object and and state
                                                                                                                                                            state that     it
                                                                                                                                                                     that it
  Or




                                                                                                  Oh
              another time,
  ·5· · · · · another       time, Tim.
                                     Tim.                                                                     callsfor
                                                                                                  ·5· · · · · calls   for aalegal    conclusion. But
                                                                                                                             legal conclusion.·           But I'm
                                                                                                                                                                I'm entitled
                                                                                                                                                                      entitled
              Q. · ·(By
  ·6· · · · · Q.·        (By Mr.Mr. Van
                                      Van Dyck)·
                                              Dyck) You're
                                                         You'renot         going to
                                                                     not going        to          ·6· · · · · to  an answer
                                                                                                              to an    answer to to my
                                                                                                                                     my question.
                                                                                                                                           question.




                                                                                                  NO
  NO




       tell me,
  ·7· ·tell   me, are  areyou?
                            you?                                                                                     MS. MARKOWSKI:·
                                                                                                  ·7· · · · · · · · ·MS.    MARKOWSKI: Tim,           Tim, II think
                                                                                                                                                                 think that's
                                                                                                                                                                          that's
                       MS. MARKOWSKI:·
  ·8· · · · · · · · ·MS.      MARKOWSKI: I'm            I'm not
                                                              not going
                                                                    going to to discuss
                                                                                 discuss                      exactly what
                                                                                                  ·8· · · · · exactly     what I| just    did.
                                                                                                                                   just did.
  0




                                                                                                  0
  ·9· · · · · itit on
                   on the record right now. If you want to ask
                        the  record     right   now.·   If  you    want    to  ask                                   MR. VAN
                                                                                                  ·9· · · · · · · · ·MR.            DYCK: Okay.·
                                                                                                                            VAN DYCK:·             Okay. So   So you're
                                                                                                                                                                   you're going
                                                                                                                                                                              going to  to
  ©




                                                                                                  ©
  10· · · · · thethe witness       questions, you're
                       witness questions,          you're welcomed
                                                            welcomed to          do
                                                                             to do                             let him
                                                                                                  10· · · · · let   him answer?
                                                                                                                          answer?




                                                                                                 = Oo
                                                                                                 ll
                 that.
  11· · · · · that.                                                                                                   MS. MARKOWSKI:·
                                                                                                  11· · · · · · · · ·MS.     MARKOWSKI: He              He can
                                                                                                                                                             can answer.
                                                                                                                                                                    answer. yeah.
                                                                                                                                                                                yeah.
  12· · · · · Q.·Q. · ·(By(By Mr.Mr. Van
                                       Van Dyck)·
                                               Dyck) When When did   did you      first
                                                                           you first                                  MR. VAN
                                                                                                  12· · · · · · · · ·MR.     VAN DYCK:·
                                                                                                                                      DYCK: I'm     I'm sorry
                                                                                                                                                          sorry if if I|
        provide this
  13· ·provide          this document
                               document to     to your
                                                   your counsel?
                                                           counsel?                                            misunderstood.
                                                                                                  13· · · · · misunderstood.
  14· · · · · · · · ·MS.MS. MARKOWSKI:·
                               MARKOWSKI: And            And I'm I'm instructing
                                                                       instructing                                    MS. MARKOWSKI:·
                                                                                                  14· · · · · · · · ·MS.     MARKOWSKI: Yeah.          Yeah.
                 Attorney Geiman
  15· · · · · Attorney         Geiman not   not toto get
                                                     get into
                                                           into the
                                                                  the back
                                                                        back andand                                   THE WITNESS:·
                                                                                                  15· · · · · · · · ·THE     WITNESS: It        It was
                                                                                                                                                    was notnot mymy determination
                                                                                                                                                                        determination
                 forth.
  16· · · · · forth.                                                                                           that there
                                                                                                  16· · · · · that    there was
                                                                                                                              was anything
                                                                                                                                    anything privileged.·
                                                                                                                                                   privileged. And    And I| dodo
  17· · · · · · · · ·MR.MR. VANVAN DYCK:·DYCK: No.·  No. It'sIt'snot
                                                                   not aaback
                                                                           back andand                         not make
                                                                                                  17· · · · · not    make thethe argument
                                                                                                                                  argument that   that there's       anything
                                                                                                                                                         there's anything
                 forth. It's
  18· · · · · forth.·      It's aa simple
                                      simple question
                                              question of  of when
                                                               when the  the                                   privileged.
                                                                                                  18· · · · · privileged.
                 document was
  19· · · · · document                  provided to
                                 was provided        to his
                                                         his counsel.·
                                                               counsel. I'm  I'm notnot                        Q. · ·(By
                                                                                                  19· · · · · Q.·       (By Mr.
                                                                                                                              Mr. Van
                                                                                                                                    Van Dyck)·
                                                                                                                                            Dyck) So     So do
                                                                                                                                                             do you
                                                                                                                                                                  you havehave anyany
                 asking for
  20· · · · · asking        for the
                                  the any
                                       any substance
                                             substance of   of any
                                                                any                                     explanation for
                                                                                                  20· ·explanation               me, not
                                                                                                                            for me,     not based
                                                                                                                                              based upon upon any any conversations
                                                                                                                                                                          conversations
                 communications that
  21· · · · · communications               that Mr.
                                                  Mr. Geiman
                                                       Geiman had    had with
                                                                           with youyou oror             you had
                                                                                                  21· ·you     had with       your counsel,
                                                                                                                      with your       counsel, but  but do do you
                                                                                                                                                                you havehave any
                                                                                                                                                                               any
  22· · · · · anyany other
                        other lawyers.·
                                 lawyers. I'm  I'm entitled
                                                    entitled to to that
                                                                    that answer.
                                                                           answer.                      explanation for
                                                                                                  22· ·explanation               me as
                                                                                                                            for me     astoto why
                                                                                                                                               why the  thefirst      timel'm
                                                                                                                                                              first time             seeing
                                                                                                                                                                              I'm seeing
  23· · · · · · · · ·MS.MS. MARKOWSKI:·
                               MARKOWSKI: I| disagree.     disagree.                                    thisdocument
                                                                                                  23· ·this    document is     istoday?
                                                                                                                                  today?
  24· · · · · · · · ·MR.MR. VANVAN DYCK:·DYCK: So    So are
                                                          areyou       instructing
                                                                you instructing                                       MS. MARKOWSKI:·
                                                                                                  24· · · · · · · · ·MS.     MARKOWSKI: You            You can can answer,
                                                                                                                                                                      answer, if  if you
                                                                                                                                                                                      you

                                                                           Page 174
                                                                           Page 174                                                                                       Page 176
                                                                                                                                                                          Page 176

              Mr. Geiman
  ·1· · · · · Mr.    Geiman not   not to
                                       to answer
                                           answer the  the question?
                                                             question?                                        can answer
                                                                                                  ·1· · · · · can    answer without           getting into
                                                                                                                                 without getting         into discussions
                                                                                                                                                               discussions with  with
                                                                                                  WDNR




                     MS. MARKOWSKI:·
  ·2· · · · · · · · ·MS.     MARKOWSKI: Currently,     Currently, yes.  yes.                                  counsel.
                                                                                                  ·2· · · · · counsel.
                     MR. VAN
  ·3· · · · · · · · ·MR.     VAN DYCK:·
                                      DYCK: Okay.· Okay. Fair  Fair enough.
                                                                       enough.                                       THE WITNESS:·
                                                                                                  ·3· · · · · · · · ·THE     WITNESS: Can         Can wewe gogo off
                                                                                                                                                                 off the     record
                                                                                                                                                                        the record
              Q. · ·(By
  ·4· · · · · Q.·      (By Mr.Mr. VanVan Dyck)·
                                            Dyck) So    Sol I take
                                                               takeit,it,                                     for one
                                                                                                  ·4· · · · · for   one second.
                                                                                                                          second.
                                                                                                  Oh




       Mr. Geiman,
  ·5· ·Mr.     Geiman, that   that this
                                     thisisa      note that
                                           is a note      that youyou prepared
                                                                         prepared --     -- an
                                                                                            an                       MR. VAN
                                                                                                  ·5· · · · · · · · ·MR.    VAN DYCK:· DYCK: I'm    I'm going
                                                                                                                                                          going to      let you
                                                                                                                                                                   to let   you go go
       e-mail note
  ·6· ·e-mail      note that
                           that you
                                  you prepared
                                         prepared to     to yourself
                                                             yourself on   on                                 off the
                                                                                                  ·6· · · · · off   the record.
                                                                                                                         record.
                                                                                                  NO




       May 24,
  ·7· ·May      24, 2018,
                      2018, correct?
                               correct?                                                           ·7
              A. · ·It
  ·8· · · · · A.·      tisis.                                                                                        (A recess
                                                                                                  ·8· · · · · · · · ·(A   recess was was taken)
                                                                                                                                           taken)
                                                                                                  0




              Q. · ·And
  ·9· · · · · Q.·      And why why diddid you
                                            you prepare
                                                    prepare this this document?
                                                                         document?                ·9
                                                                                                  ©




               A. · ·The
  10· · · · · A.·       The period
                               period of of May
                                             May 20182018 was was fraught
                                                                     fraught withwith aa                       Q. · ·(By
                                                                                                  10· · · · · Q.·       (By Mr.Mr. VanVan Dyck)·
                                                                                                                                               Dyck) Can  Can you
                                                                                                                                                                you answer
                                                                                                                                                                         answer the the
                                                                                                 N RO




        tremendous amount   amount of  of turmoil
                                           turmoil at   at the
                                                           the funds
                                                                  funds office.
                                                                           office. I|
                                                                                                 BR




  11· ·tremendous                                                                                       question?
                                                                                                  11· ·question?
        was very
  12· ·was     very concerned
                       concerned about about the the things
                                                       things that
                                                                 that I| was
                                                                          was hearing
                                                                                 hearing          12· · · · · A.        I'msorry,
                                                                                                               A.· · ·I'm    sorry, yes.yes.
        and the
  13· ·and     the things
                     things that
                               that I| was    overseeing. And
                                       was overseeing.·           And |I felt
                                                                            felt that
                                                                                  that                                THE WITNESS:
                                                                                                  13· · · · · · · · ·THE      WITNESS:· Are        Are we    back on
                                                                                                                                                        we back        on the
                                                                                                                                                                           the record,
                                                                                                                                                                                record,
  14· ·itit might
            might be  be wise,
                         wise, for      my own
                                   for my    own purposes,
                                                      purposes, to    to have
                                                                         have some
                                                                                 some                          or did
                                                                                                  14· · · · · or   did we      never go
                                                                                                                         we never        go off?
                                                                                                                                              off?
        sort of
  15· ·sort    of memorialization
                    memorialization of      of what
                                                 what was was happening
                                                                 happening in     in that
                                                                                     that                             THE COURT
                                                                                                  15· · · · · · · · ·THE      COURT REPORTER:·
                                                                                                                                             REPORTER: As               soon as
                                                                                                                                                                   As soon      as he
                                                                                                                                                                                    he said
                                                                                                                                                                                        said
        time frame.
  16· ·time     frame.                                                                                         can you
                                                                                                  16· · · · · can     you answer
                                                                                                                            answer the         question. We
                                                                                                                                        the question.·       We did did gogo off.
                                                                                                                                                                              off.
               Q. · ·What,
  17· · · · · Q.·       What, in   in this
                                       thisdocument,
                                             document, as       asfar     asyou
                                                                     far as    you                             But then
                                                                                                  17· · · · · But     then I| ---- as
                                                                                                                                    as soon
                                                                                                                                        soon as  ashe   said it
                                                                                                                                                    he said   it I| just
                                                                                                                                                                     just went
                                                                                                                                                                           went
        know Mr.
  18· ·know        Mr. Geiman,
                         Geiman, and    and as as anan attorney,
                                                         attorney, is    isremotely
                                                                            remotely                           back on
                                                                                                  18· · · · · back     on the
                                                                                                                            the record.
                                                                                                                                   record.
        privileged?
  19· ·privileged?                                                                                                    THE WITNESS:
                                                                                                  19· · · · · · · · ·THE      WITNESS:· These      These documents
                                                                                                                                                            documents were   were
                      MS. MARKOWSKI:·
  20· · · · · · · · ·MS.      MARKOWSKI: You're         You'reaskingasking him him for
                                                                                     for aa                    produced to
                                                                                                  20· · · · · produced        to mymy attorneys
                                                                                                                                         attorneys at  at around
                                                                                                                                                           around the  the same
                                                                                                                                                                            same timetime
               legal conclusion, no.
  21· · · · · legal     conclusion,       no.                                                                  as the
                                                                                                  21· · · · · as   the superior
                                                                                                                         superior courtcourt complaint
                                                                                                                                                complaint was  was filed
                                                                                                                                                                       filed by
                                                                                                                                                                              by
                      MR. VAN
  22· · · · · · · · ·MR.      VAN DYCK:·
                                       DYCK: You     You cancan object.
                                                                   object.                        22· · · · · your     clients. A
                                                                                                               your clients.·        A determination
                                                                                                                                        determination was    was made made by by mymy
                      MS. MARKOWSKI:·
  23· · · · · · · · ·MS.      MARKOWSKI: I'm            I'm objecting.·
                                                              objecting. And   And I'm I'm                     counsel. And
                                                                                                  23· · · · · counsel.·      And you  you cancan understand
                                                                                                                                                   understand I| won't won't gogo into
                                                                                                                                                                                    into
               asking --
  24· · · · · asking      --                                                                                   specifics --
                                                                                                  24· · · · · specifics      --


                                             O'Brien &
                                             O'Brien & Levine,
                                                        Levine, AA Magna
                                                                   Magna Legal
                                                                          Legal Services
                                                                                Services Company
                                                                                          Company                                                                   Pages 173–176
                                                                                                                                                                    Pages 173-176
                                                                                                                                                                       D. App. 091
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                                                888.825.3376    production@court-reporting.com                                                                                                 YVer1f
           Case 1:21-cv-10163-FDS Document 64 Filed 12/13/22 Page 95 of 271
Ginamarie Alongi,
Ginamarie   Along, et
                    et al.
                       al. vs
                           vs                                         Gregory Geiman
                                                                      Gregory  Geiman
luoe Local
Iuoe Local 44 Health
              Health && Welfare
                         Welfare Fund,
                                 Fund, et
                                       et al.
                                          al.                            June 13,
                                                                         June 13, 2022
                                                                                  2022
                                                                       Page 177
                                                                       Page 177                                                                                         Page 179
                                                                                                                                                                        Page 179

              Q. · ·(By
  ·1· · · · · Q.·     (By Mr.
                            Mr. VanVan Dyck)
                                          Dyck) Yeah.
                                                    Yeah.                                                Q. · ·Do
                                                                                            ·1· · · · · Q.·        Doyou       know, approximately,
                                                                                                                        you know,         approximately, when,           when, in  in
  BRP




                                                                                            BP
              A. · ·--
  ·2· · · · · A.·    --that    the documents
                        that the    documents were  were notnot toto be
                                                                      be                         relation to
                                                                                            ·2· ·relation        tothe     May 1st
                                                                                                                     the May        1st incident,
                                                                                                                                         incident, that     that the       incident
                                                                                                                                                                     the incident




                                                                                            WN
  WN




       produced.
  ·3· ·produced.                                                                                 with the
                                                                                            ·3· ·with     the ironworker
                                                                                                                  ironworker occurred?
                                                                                                                                     occurred?
              Q. · ·So
  ·4· · · · · Q.·    Soyour       counsel's been
                          your counsel's         been aware
                                                         aware of   of these
                                                                        these               ·4· · · · · A.
                                                                                                         A.· · ·I| can
                                                                                                                     can only
                                                                                                                           only surmise
                                                                                                                                   surmise it    it was       between
                                                                                                                                                     was between




                                                                                            Ohh
  Os




       documents from
  ·5· ·documents        from the thetimethat
                                       time that this this superior
                                                           superior court court case
                                                                                   case          August 1st
                                                                                            ·5· ·August        1st ofof '17
                                                                                                                         '17 and
                                                                                                                              and MayMay 1st  1st of;of; '18.·
                                                                                                                                                           '18. Beyond
                                                                                                                                                                    Beyond that that I|
       was filed,
  ·6· ·was             roughly?
              filed, roughly?                                                                    wouldn't know.
                                                                                            ·6· ·wouldn't         know.
  NO




                                                                                            NO
              A. · ·That
  ·7· · · · · A.·    That is ismy     understanding.
                                my understanding.                                                        Q. · ·Was
                                                                                            ·7· · · · · Q.·        Wasthat        incident ever
                                                                                                                           that incident          ever reported
                                                                                                                                                             reported to    to
              Q. · ·Okay.·
  ·8· · · · · Q.·    Okay. And  And again,
                                        again, I| don't
                                                    don't want
                                                             want to  to get
                                                                          get                    anybody?
                                                                                            ·8· ·anybody?




                                                                                            0
  0




       into any communications, at least not yet, about any
  ·9· ·into    any  communications,            at  least   not  yet,    about    any        ·9· · · · · A.
                                                                                                         A.· · ·I| don't
                                                                                                                     dont believe
                                                                                                                             believeitit was wasafund a fund side  side issue.
                                                                                                                                                                          issue.
  ©




                                                                                            ©
        communications
  10· ·communications             you had
                                  you    had with      counsel about
                                               with counsel        about why        they
                                                                             why they       10· ·II think
                                                                                                      think it it was
                                                                                                                  was something
                                                                                                                         something that   that happened
                                                                                                                                                   happened within    within the      union
                                                                                                                                                                               the union
        weren't produced.·
  11· ·weren't      produced. But     But dodo you
                                                you havehavean an independent
                                                                     independent                  hall. So
                                                                                            11· ·hall.·     Sol I was
                                                                                                                    was notnot even
                                                                                                                                even aware
                                                                                                                                         aware of     of itit until
                                                                                                                                                               until he he mentioned
                                                                                                                                                                            mentioned
        under standing for
  12· ·understanding           for m,e,
                                     m,g, sitting
                                            sitting here
                                                       here today,
                                                             today, as   astoto why
                                                                                why I|            it.
                                                                                            12· ·it.
        received Exhibit
  13· ·received       Exhibit 85  85 for
                                      for the
                                           the first
                                                 first time
                                                         time this
                                                                thismorning,
                                                                        morning, at   at                  Q. · ·Do
                                                                                            13· · · · · Q.·         Do you      know whether
                                                                                                                         you know         whether that       that incident
                                                                                                                                                                     incident was was
        9:30?
  14· ·9:30?                                                                                      investigated?
                                                                                            14· ·investigated?
               A. · ·I1 don't
  15· · · · · A.·       don't have
                                 have anan independent
                                            independent answeranswer for  for                             A. · ·I1havenoidea
                                                                                            15· · · · · A.·           have no idea.
        you. I| don't
  16· ·you.·      don't have
                          have an an answer
                                      answer that
                                                that would
                                                        would notnot infringe
                                                                        infringe onon                     Q. · ·I| understand
                                                                                            16· · · · · Q.·            understand it      it was
                                                                                                                                              was union.·
                                                                                                                                                       union. Do      Do you
                                                                                                                                                                           you know
                                                                                                                                                                                 know
        attorney-client privilege.·
  17· ·attorney-client        privilege. I'm I'm sorry.
                                                  sorry.                                          if there
                                                                                            17· ·if    there werewere any any documents
                                                                                                                                documentsreflecting   reflecting that    that incident?
                                                                                                                                                                                incident?
               Q. · ·Ilunderstand.
  18· · · · · Q.·       understand.· And     And I'm I'm not
                                                          not trying
                                                                trying to  to put
                                                                               put                        A. · ·Not
                                                                                            18· · · · · A.·         Not that
                                                                                                                          that I'm
                                                                                                                                I'm aware
                                                                                                                                       aware of.   of.
        you in
  19· ·you     in an
                  an awkward
                       awkward position
                                      position here.
                                                   here.                                                  Q. · ·At
                                                                                            19· · · · · Q.·         Atleast
                                                                                                                        least in in your       e-mail to
                                                                                                                                     your e-mail                  your self dated
                                                                                                                                                             to yourself       dated
               A. · ·I| understand.
  20· · · · · A.·       understand.                                                               May 24,
                                                                                            20· ·May        24, Exhibit
                                                                                                                   Exhibit 85, 85, you       state "also
                                                                                                                                     you state          " also admitted
                                                                                                                                                                   admitted that  that hehe
               Q. · ·Let's
  21· · · · · Q.·      Let'sgotothelast            paragraph of
                               go to the last paragraph              of                           wasinitial
                                                                                            21· ·was                  aggressor in
                                                                                                          initial aggressor            in May
                                                                                                                                            May 11 meeting."
                                                                                                                                                          meeting."
        Exhibit 85.·
  22· ·Exhibit      85. ItIt states,
                              states," "OnOn MayMay 18th18th I| ran
                                                                  ran into
                                                                         into Billy
                                                                               Billy                      A. · ·Yep.
                                                                                            22· · · · · A.·         Yep.
        in the
  23· ·in   the hallway
                  hallway nearnear thethe union
                                            union conference
                                                      conference room.· room. It  It was
                                                                                      was                 Q. · ·What
                                                                                            23· · · · · Q.·         What doesdoesthat          mean?
                                                                                                                                      that mean?
        thefirst
  24· ·the           timel'd
              first time          spoken with
                            I'd spoken       with him him since
                                                            sincethe       May 1st
                                                                     the May      1st                     A. · ·My
                                                                                            24· · · · · A.·         My understanding
                                                                                                                          understanding of        of what
                                                                                                                                                       what he   he meant,
                                                                                                                                                                       meant, waswas

                                                                       Page 178
                                                                       Page 178                                                                                         Page 180
                                                                                                                                                                        Page 180

       incident. He
  ·1· ·incident.· He had
                     had admitted
                         admitted an
                                  an anger
                                     anger issue."
                                           issue."                                               that he
                                                                                            ·1· ·that he raised
                                                                                                         raised his
                                                                                                                his voice
                                                                                                                    voice first.
                                                                                                                          first.
                                                                                            PF
  BE




                     Does that
  ·2· · · · · · · · ·Does that refresh
                               refresh your
                                        your recollection
                                              recollection about
                                                            about                                       Q. · ·And
                                                                                            ·2· · · · · Q.·   And then
                                                                                                                  then you state, "I
                                                                                                                       you state, "| told
                                                                                                                                     told Gina
                                                                                                                                          Gina about
                                                                                                                                               about my
                                                                                                                                                     my
                                                                                            WN
  WN




  ·3· ·aa conversation
          conver sation you     had with
                            you had  with Billy
                                           Billy on
                                                 on or
                                                     or about
                                                        about May
                                                               May 18th
                                                                   18th                          conver sation and
                                                                                            ·3· ·conversation  and suggested
                                                                                                                   suggested she
                                                                                                                             she might
                                                                                                                                 might want
                                                                                                                                       want to speak with
                                                                                                                                            to speak with
       concerning the
  ·4· ·concerning the May
                      May 1st
                          1st incident?
                              incident?                                                          Billy to
                                                                                            ·4· ·Billy totry     toresolve." What
                                                                                                          try to resolve."·  What does
                                                                                                                                  doesthat  mean?
                                                                                                                                       that mean?
                                                                                            OA
  Uh




  ·5· · · · · A.     Itdoes.
              A.· · ·It does.                                                                           A. · ·I| think
                                                                                            ·5· · · · · A.·      think I| was heartened by
                                                                                                                          was heartened by the
                                                                                                                                           the
              Q. · ·And
  ·6· · · · · Q.·    Anddid    he, in
                           did he, in fact, admit to
                                      fact, admit to you at this
                                                     you at this                                 conversation that
                                                                                            ·6· ·conversation that I'd
                                                                                                                   I'd had
                                                                                                                       had with Billy on
                                                                                                                           with Billy on May
                                                                                                                                         May 18th.·
                                                                                                                                             18th. It
                                                                                                                                                    It
                                                                                            NO
  NO




       time that
  ·7· ·time that he
                 he had
                    had an
                        an anger
                           anger issue?
                                 issue?                                                          was
                                                                                            ·7· ·was the
                                                                                                     the first time, I| think,
                                                                                                         first time,           that I| had
                                                                                                                        think, that    had seen
                                                                                                                                           seen him
                                                                                                                                                him since
                                                                                                                                                    since
              A. · ·I| don't
  ·8· · · · · A.·      don't remember
                              remember that
                                        that he
                                             he used
                                                used the
                                                     the term
                                                         term                                    the argument
                                                                                            ·8· ·the argument on
                                                                                                              on May
                                                                                                                 May 1st.·
                                                                                                                     1st. And
                                                                                                                           And I| appreciated
                                                                                                                                  appreciated that he had
                                                                                                                                              that he had
                                                                                            00
  00




       "anger issue."·
  ·9· ·"anger    issue." That
                            That might
                                 might have
                                       have been
                                             been my
                                                   my analysis.·
                                                      analysis. But
                                                                 But                             taken some
                                                                                            ·9· ·taken some measure
                                                                                                            measure of
                                                                                                                    of responsibility
                                                                                                                       responsibility for hisrole.
                                                                                                                                      for his        He
                                                                                                                                              role.· He
                                                                                            ©
  ©




       what he
  10· ·what he did
               did tell
                   tell me,
                        me, is
                            isthat  he regretted
                               that he regretted the
                                                 the way he
                                                     way he                                      said, in
                                                                                            10· ·said, in essence,
                                                                                                          essence, that
                                                                                                                   that he
                                                                                                                        he wanted
                                                                                                                           wanted to resolvethings
                                                                                                                                  to resolve   things with
                                                                                                                                                      with
       handled the
  11· ·handled the May
                   May 1st
                        1st incident
                             incident with  Gina. That
                                      with Gina.·  That hehe                                     Gina, get
                                                                                            11· ·Gina, get back
                                                                                                           back to normal. And
                                                                                                                to normal.· And I| thought
                                                                                                                                   thought this might be
                                                                                                                                           this might be
       acknowledged that
  12· ·acknowledged        he allowed
                     that he   allowed his
                                        his temper
                                            temper to  get away.
                                                    to get   away.                               an opportunity
                                                                                            12· ·an opportunity for the two
                                                                                                                for the two of
                                                                                                                            of them
                                                                                                                               them to
                                                                                                                                    to talk
                                                                                                                                       talk and,
                                                                                                                                            and, you
                                                                                                                                                 you
       And that
  13· ·And that he
                he reacted
                   reacted angrily,
                           angrily, loudly,
                                    loudly, and
                                            and                                                  know, bring
                                                                                            13· ·know, bring some
                                                                                                             some closure
                                                                                                                  closure to
                                                                                                                          to the
                                                                                                                             the issues
                                                                                                                                 issues that
                                                                                                                                        that they
                                                                                                                                             they had
                                                                                                                                                  had
       inappropriately.
  14· ·inappropriately.                                                                          been having.
                                                                                            14· ·been having.
                     And that
  15· · · · · · · · ·And that there
                              there was
                                    was another
                                        another incident
                                                incident that
                                                         that                                           Q. · ·And
                                                                                            15· · · · · Q.·   And then, it sounds
                                                                                                                  then, it soundslike  after that
                                                                                                                                  like after      you
                                                                                                                                             that you
       he brought
  16· ·he brought to
                  to my
                     my attention,
                        attention, where he had
                                   where he had had
                                                had aa --
                                                       -- I|                                     also told
                                                                                            16· ·also told Gina
                                                                                                           Gina---- you
                                                                                                                    you reminded
                                                                                                                        reminded Gina
                                                                                                                                 Gina that
                                                                                                                                      that once
                                                                                                                                           once she
                                                                                                                                                she
       guess, an
  17· ·guess, an argument
                 argument or
                          or aa yelling
                                yelling incident
                                        incident with an
                                                 with an                                         speakstoto Kate
                                                                                            17· ·speaks     Kate the
                                                                                                                 the Dominoes
                                                                                                                     Dominoes will fall.·
                                                                                                                              will fall. What  did you
                                                                                                                                          What did you
       ironworker in
  18· ·ironworker  in the
                      the union
                          union conference
                                 conference room
                                            room sometime
                                                   sometime before
                                                            before                               mean, when
                                                                                            18· ·mean,      you said
                                                                                                       when you said that
                                                                                                                     that to
                                                                                                                          to Gina?
                                                                                                                             Gina?
       May 1st
  19· ·May  1st of
                of 2018.·
                   2018. So
                          So he
                              he referenced
                                 referenced both
                                            both of
                                                 of those
                                                     those                                              A. · ·It's
                                                                                            19· · · · · A.·   It'shard  to recollect
                                                                                                                   hard to recollect exactly
                                                                                                                                     exactly what
                                                                                                                                             what I|
       incidents. And,
  20· ·incidents.· And, sort
                        sort of,
                             of, acknowledged,
                                 acknowledged, you
                                               you know,
                                                   know, that
                                                         that                                    meant, you
                                                                                            20· ·meant, you know,
                                                                                                            know, four
                                                                                                                  four years ago. It's
                                                                                                                       years ago.· It'sabit  of aavague
                                                                                                                                       a bit of   vague
       he had
  21· ·he   had gotten
                 gotten loud
                        loud in
                             in both
                                both of
                                     of those
                                        those case.
                                              case.                                              statement. I| imagine
                                                                                            21· ·statement.·   imagine that
                                                                                                                       that I| was concerned about
                                                                                                                               was concerned about her
                                                                                                                                                   her
              Q. · ·Who
  22· · · · · Q.·   Whowastheironworker         that he
                          was the ironworker that    he had
                                                        had had
                                                            had                                  meeting with
                                                                                            22· ·meeting      Kate on
                                                                                                         with Kate on Monday,
                                                                                                                      Monday, May
                                                                                                                              May 21st.·
                                                                                                                                  21st. I| think
                                                                                                                                           think that my
                                                                                                                                                 that my
       thisprior
  23· ·this       incident with?
            prior incident with?                                                                 concern was
                                                                                            23· ·concern was that
                                                                                                             that it's
                                                                                                                  it'sa avery  -- I| understood
                                                                                                                          very --    understood the
                                                                                                                                                the
              A. · ·I| have
  24· · · · · A.·      havenoidea
                            no idea.                                                             seriousness of
                                                                                            24· ·seriousness of what she was
                                                                                                                what she     going to
                                                                                                                         was going to say
                                                                                                                                      say on
                                                                                                                                          on Monday,
                                                                                                                                             Monday,


                                           O'Brien &
                                           O'Brien & Levine,
                                                      Levine, AA Magna
                                                                 Magna Legal
                                                                        Legal Services
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                       al. vs
                           vs                                         Gregory Geiman
                                                                      Gregory  Geiman
luoe Local
Iuoe Local 44 Health
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       May 21st,
   1 ·May
  ·1·          21st, or  or what
                             what she  she planned
                                             planned to         say.
                                                           to say.                                              harassment to
                                                                                                           ·1· ·harassment        to the
                                                                                                                                       the point
                                                                                                                                             point that
                                                                                                                                                     that investigation
                                                                                                                                                            investigation should   should be be




                                                                                                           PRP
   2 · · · · · · · ·I| wasn't
  ·2·                   wasn't as   as confident
                                        confident as     as |I think
                                                                think Gina Gina                                 done and
                                                                                                           ·2· ·done     and trustees
                                                                                                                               trustees notified.·
                                                                                                                                             notified. ThatThat was was up   up to  fund
                                                                                                                                                                                 to fund




                                                                                                           WON
       was, as
   3 ·was,
  ·3·         as toto the
                        the the
                              the behavior
                                     behavior that  that she
                                                           she was was going
                                                                           going to   to bring
                                                                                         bring                  counsel. But
                                                                                                           ·3· ·counsel.·      But I| was
                                                                                                                                        was very,
                                                                                                                                               very, very,
                                                                                                                                                        very, very         concerned that
                                                                                                                                                                 very concerned           that
   4 ·to
  ·4·  to Kate
           Kate as as being
                         being strong
                                   strong enough
                                              enough or     or egregious
                                                                 egregious enough  enough to   to               Gina's upsetedness
                                                                                                           ·4· ·Gina's     upsetedness about   about the      lack of
                                                                                                                                                        the lack       of control
                                                                                                                                                                            control that    she
                                                                                                                                                                                      that she




                                                                                                           Oh
   5 result in some sort of -- to result in the sort of
  ·5· ·result   in   some      sort    of  -- to   result     in  the     sort  of                              was experiencing
                                                                                                           ·5· ·was    experiencing under    under Bill
                                                                                                                                                      Bill was       taking her
                                                                                                                                                             was taking         her down
                                                                                                                                                                                     down aa path
                                                                                                                                                                                                path
       change or
   6 ·change
  ·6·              or the
                        the sort
                              sort of of result
                                          result thatthat Gina
                                                            Gina was   was seeking.
                                                                              seeking. I|                       that was,
                                                                                                           ·6· ·that  was, ultimately,
                                                                                                                               ultimately, not   not going
                                                                                                                                                       going to       get her
                                                                                                                                                                 to get      her what    she
                                                                                                                                                                                  what she
   7




                                                                                                           NO
       was concerned
  ·7· ·was   concerned for       for Gina.
                                       Gina.                                                                    wanted, A,
                                                                                                           ·7· ·wanted,      A, and
                                                                                                                                  and cause
                                                                                                                                         cause allal sorts
                                                                                                                                                       sorts of of unintended
                                                                                                                                                                     unintended problems
                                                                                                                                                                                       problems
  ·8·        Q. · ·Were
   8 · · · · Q.·       Wereyou            attempting to
                                   you attempting              to dissuade
                                                                    dissuade her     her from
                                                                                           from                 for her,
                                                                                                           ·8· ·for  her, for     Bill, for
                                                                                                                            for Bill,     for me,
                                                                                                                                                me, selfishly,
                                                                                                                                                      selfishly, for   for the
                                                                                                                                                                             the




                                                                                                           0
       talking to
   9 ·talking
  ·9·               to Kate
                         Kate Shea?Shea?                                                                   ·9·  organization. I| felt
                                                                                                            9 ·organization.·            felt like
                                                                                                                                               like I| was,
                                                                                                                                                        was, sortsort of,of, witnessing
                                                                                                                                                                              witnessing
  10· · · · · A.
              A.· · ·Not Not to to dissuade.·
                                    dissuade. But     But to to make
                                                                  make sure sure she she                   10 ·somebody
                                                                                                           10·   somebody unravel.unravel.
        was fully
  11· ·was    fully informed.
                        informed.                                                                          11 · · · · Q.·
                                                                                                           11·          Q. · ·You
                                                                                                                                You didn't
                                                                                                                                         didn't want
                                                                                                                                                   want her  her to  toring      the sexual
                                                                                                                                                                          ring the     sexual
              Q. · ·And
  12· · · · · Q.·        And what what was wasthekind
                                                   the kind of      of result
                                                                         result thatthat Gina
                                                                                            Gina           12 ·harassment
                                                                                                           12·   harassment bell,    bell, diddid you?
                                                                                                                                                   you?
        was looking
  13· ·was     looking for,   for, as asfar
                                          far asasyou        know?
                                                      you know?                                            13·                MS. MARKOWSKI:·
                                                                                                           13 · · · · · · · ·MS.      MARKOWSKI: Objection.        Objection.
  14· · · · · A.
              A.· · ·As Aswe         headed into
                              we headed          into MayMay of   of 2018,
                                                                       2018, Gina Ginahad had aa           14·                THE WITNESS:·
                                                                                                           14 · · · · · · · ·THE       WITNESS: I| had        had no  no concerns
                                                                                                                                                                           concerns of  of her
                                                                                                                                                                                            her
        number of
  15· ·number        of concerns
                          concerns or     or gripes,
                                              gripes, which
                                                          which are     are laid
                                                                              laid out
                                                                                     out here.
                                                                                           here.           15 · · · · ringing,
                                                                                                           15·          ringing, to  to use
                                                                                                                                          use your
                                                                                                                                                your words,
                                                                                                                                                       words, the          sexual
                                                                                                                                                                    the sexual
        She was
  16· ·She             concerned about
              was concerned              about aa perceived
                                                       perceived lack    lack of of respect.
                                                                                      respect.             16 · · · · harassment
                                                                                                           16·          harassment bell.·  bell. MyMy concern
                                                                                                                                                         concern with           Gina, which
                                                                                                                                                                        with Gina,      which I|
        She wanted
  17· ·She    wanted to     to move
                                 move her  her offices,
                                                 offices, she  she wanted
                                                                       wanted more  more                   17·         stated repeatedly,
                                                                                                           17 · · · · stated      repeatedly, was,  was, if if you
                                                                                                                                                               you feel feel you've      been
                                                                                                                                                                               you've been
        control. And
  18· ·control.·       And I| had had never
                                         never once,
                                                   once, before
                                                             before sometime
                                                                          sometime in      in mid
                                                                                              mid          18 · · · · sexually
                                                                                                           18·         sexually harassed,
                                                                                                                                      harassed, don'tdon't talk
                                                                                                                                                              talk to      me. Talk
                                                                                                                                                                      to me.·     Talk toto
        April of
  19· ·April     of 2018,
                      2018, heardheard eveneven the the specter
                                                          specter from   from GinaGina of of any
                                                                                              any          19 · · · · Kate
                                                                                                           19·          Kate Shea.
                                                                                                                                Shea.
        subjective --
  20· ·subjective         -- any
                             any offense
                                     offense that that she
                                                         she had had taken
                                                                         taken to  to any
                                                                                       any                 20 · · · · Q.·
                                                                                                           20·          Q. · ·(By
                                                                                                                                (By Mr. Mr. VanVan Dyck)·
                                                                                                                                                       Dyck) You    You wanted
                                                                                                                                                                             wanted to  to stay
                                                                                                                                                                                            stay out
                                                                                                                                                                                                  out
        inappropriate language
  21· ·inappropriate           language or     or behavior
                                                    behavior in      in the
                                                                         the office.
                                                                               office.                     21 ·of
                                                                                                           21·   of it?
                                                                                                                     it?
                      So when
  22· · · · · · · · ·So     when May   May 1st1st came
                                                     came around
                                                               around and    and Gina
                                                                                    Gina                   22 · · · · A.
                                                                                                           22·                  Not stay
                                                                                                                       A.· · ·Not       stay out
                                                                                                                                               out it.·
                                                                                                                                                    it. I'm
                                                                                                                                                          I'm aa process
                                                                                                                                                                    process person.
                                                                                                                                                                                 person.
        decided she
  23· ·decided        she was       going to
                            was going         to sit
                                                   sit Bill
                                                        Bill down
                                                                down in    in her
                                                                               her office
                                                                                      office               23·          Q. · ·But
                                                                                                           23 · · · · Q.·        But youyou were
                                                                                                                                               werealsoinvolved
                                                                                                                                                        also involved in        in human
                                                                                                                                                                                    human
        and discuss
  24· ·and    discuss these these issues,
                                      issues, I| think,
                                                    think, Gina's
                                                               Gina's main  main frame
                                                                                     frame of  of          24 ·resources?
                                                                                                           24·   I esour ces?

                                                                                   Page 182
                                                                                   Page 182                                                                                              Page 184
                                                                                                                                                                                         Page 184

       mind, based
  ·1· ·mind,      based on   on mymy conversations
                                          conversations with       with her her atat that
                                                                                       that point,
                                                                                              point,       ·1· · · · · A.         Yes. But
                                                                                                                       A.· · ·Yes.·        Butitwasvery
                                                                                                                                                 it was very clear,  clear, according
                                                                                                                                                                               according to     to
                                                                                                           WNP




       was she
  ·2· ·was    she wanted
                     wanted to     to regain
                                        regain control
                                                     control that that sheshe felt
                                                                                felt sheshe had
                                                                                              had               the employee
                                                                                                           ·2· ·the   employee handbook, handbook, which which you   you saw,saw, that
                                                                                                                                                                                    that any
                                                                                                                                                                                           any
       lost when
  ·3· ·lost   when Bill  Bill became
                                became the     the business
                                                       business manager.
                                                                      manager.                                   complaints of
                                                                                                           ·3· ·complaints          of sexual
                                                                                                                                         sexual harassment
                                                                                                                                                   harassment were      were to to be
                                                                                                                                                                                    be brought
                                                                                                                                                                                         brought to    to
                      What I| witnessed
  ·4· · · · · · · · ·What          witnessed thereafterthereafter --    -- and
                                                                            and this
                                                                                   this                          Gina Alongi
                                                                                                           ·4· ·Gina     Alongi or     or Kate
                                                                                                                                           Kate Shea.
                                                                                                                                                   Shea
                                                                                                           Oh




       isnot
  ·5· ·is  not toto ---- you
                          you know,
                                 know, this   thisisis notnot toto draw
                                                                    draw any  any                          ·5· · · · · · · · ·I| have
                                                                                                                                  have neither
                                                                                                                                           neither thethe education
                                                                                                                                                             education nor    nor the
                                                                                                                                                                                    the
       conclusion on
  ·6· ·conclusion          on what
                                what Gina  Gina feltfelt oror toto question
                                                                    question Gina's Gina's                      training, nor,
                                                                                                           ·6· ·training,       nor, frankly,
                                                                                                                                        frankly, the       objectivity in
                                                                                                                                                    the objectivity           in that
                                                                                                                                                                                  that
                                                                                                           NO




       judgment in
  ·7· ·judgment         in any
                             any way.·
                                    way. I| felt  felt that
                                                         that after
                                                                 after June
                                                                          June -- -- I'm
                                                                                       I'm                       position to
                                                                                                           ·7· ·position      to be be making
                                                                                                                                         making aa determination
                                                                                                                                                        determination on        on sexual
                                                                                                                                                                                     sexual
       sorry --
  ·8· ·sorry    -- after
                     after MayMay 1st  1st failed,
                                              failed, for for lack
                                                                 lack of of aa better
                                                                                better                           harassment. I| think
                                                                                                           ·8· ·harassment.·                      Gina knew
                                                                                                                                         think Gina        knew that.that.· I| was
                                                                                                                                                                                 was happy
                                                                                                                                                                                        happy to    to be
                                                                                                                                                                                                       be
                                                                                                           0




       word, Gina,
  ·9· ·word,      Gina, I| think,
                               think, felt felt that
                                                  that sheshe waswas going
                                                                        going to   to sit
                                                                                        sit                ·9· ·aa confident
                                                                                                                    confident for    for Gina.·
                                                                                                                                          Gina. I| think
                                                                                                                                                       think she she took
                                                                                                                                                                        took comfort
                                                                                                                                                                                comfort in   in
                                                                                                           ©




        Bill down
  10· ·Bill    down and   and tell
                                 tell himhim how how it   itis.
                                                             is.· And
                                                                   And thatthat BillBill waswas                   talking to
                                                                                                           10· ·talking      to me.·
                                                                                                                                   me. I| tried     to make
                                                                                                                                             tried to    make her   her feel
                                                                                                                                                                          feel better,
                                                                                                                                                                                 better, to to
                                                                                                          = Oo
                                                                                                          ll




        going to,
  11· ·going            essentially, roll
                   to, essentially,           roll over
                                                     over and and give
                                                                     give GinaGinawhat  what sheshe               listen, to
                                                                                                           11· ·listen,           opineto
                                                                                                                            to opine       to the
                                                                                                                                               the extent
                                                                                                                                                    extent I| felt felt I| could.·
                                                                                                                                                                            could. But, But,
        wanted, because
  12· ·wanted,         because I| think think that's
                                                   that's what
                                                             what GinaGina was  was used used to.
                                                                                                to.               ultimately, I| pushed
                                                                                                           12· ·ultimately,             pushed her her toto talk
                                                                                                                                                               talk to    Kate. And
                                                                                                                                                                     to Kate.·      And she she
        And it
  13· ·And      it didn't
                    didn't workwork that that way.
                                                 way.                                                             finaly did.
                                                                                                           13· ·finally      did.
                       And I| don't
  14· · · · · · · · ·And          don't thinkthink anybody
                                                       anybody covered covered                                          Q. · ·You
                                                                                                           14· · · · · Q.·         You pushed
                                                                                                                                           pushed her   her to  totalk
                                                                                                                                                                    talk toto Kate
                                                                                                                                                                                Kateoror --   --
        themselvesinin glory
  15· ·themselves               glory that  that day,
                                                    day, neither
                                                            neither Gina  Gina nor nor Bill.
                                                                                          Bill.                   because--
                                                                                                           15· ·because          -- and
                                                                                                                                     and again,
                                                                                                                                            again, thisthis may may be  be mymy confusion.·
                                                                                                                                                                                   confusion. I'm      I'm
        But the
  16· ·But     the dayday came
                             came and  and wentwent and  and GinaGina started
                                                                          started speaking
                                                                                       speaking to   to           reading this
                                                                                                           16· ·reading                 document in
                                                                                                                                this document             in realtime
                                                                                                                                                                realtime right right now.·
                                                                                                                                                                                        now. But   But youyou
        me about
  17· ·me     about sexual
                         sexual harassment
                                     harassment for        for the     first time,
                                                                 the first     time, in   in early
                                                                                              early               state --
                                                                                                           17· ·state     -- you
                                                                                                                              you remind
                                                                                                                                       remind her  her again
                                                                                                                                                           again that,that, once
                                                                                                                                                                               once she she speak
                                                                                                                                                                                              speak to    to
        May of
  18· ·May       of 2018,
                      2018, after
                                after May  May 1st. 1st.                                                          Kate the
                                                                                                           18· ·Kate       the Dominoes
                                                                                                                                   Dominoes will   will fall.·
                                                                                                                                                           fall. And,
                                                                                                                                                                    And, to   to me,
                                                                                                                                                                                   me, that       suggests
                                                                                                                                                                                         that suggests
  19· · · · · · · · ·II was
                          was concerned
                                 concerned that       that Gina
                                                             Gina not not useuse sexual
                                                                                    sexual                        that you're
                                                                                                           19· ·that     you'retelling            Gina tread
                                                                                                                                       telling Gina         tread carefully
                                                                                                                                                                       carefully here  here because,
                                                                                                                                                                                                because,
        harassment as
  20· ·harassment            as aa substitute
                                    substitute for           what she
                                                       for what       she was         hoping to
                                                                             was hoping          to        20· ·ifif you
                                                                                                                     you useuse certain
                                                                                                                                    certain words,
                                                                                                                                                words, it     it could
                                                                                                                                                                  could make make things
                                                                                                                                                                                      things very  very
        gain on
  21· ·gain     on MayMay 1st.·1st. In  In other
                                             other words,
                                                       words, itit was was not not something
                                                                                      something                   difficult for everybody; isthat fair?
                                                                                                           21· ·difficult        for    everybody;         is   that    fair?
        to be
  22· ·to   be trifled
                 trifled with.
                             with.· It   It was      serious. It
                                             was serious.·          It is
                                                                        isaa serious
                                                                               serious                     22· · · · · A.
                                                                                                                        A.· · ·No.·No. I| think
                                                                                                                                            think if if you
                                                                                                                                                         you looklook -- -- to
                                                                                                                                                                             to your
                                                                                                                                                                                 your first
                                                                                                                                                                                         first
        allegation. And
  23· ·allegation.·         And it's it's not
                                            not my my call,
                                                         call, thankfully,
                                                                  thankfully, as      astoto                      point --
                                                                                                           23· ·point     -- and
                                                                                                                              and I| knowknow thatthat you're
                                                                                                                                                         you're add  add at at aa disadvantage.
                                                                                                                                                                                   disadvantage.
        whether or
  24· ·whether         or not
                            not there
                                  there was          severe and
                                             was severe          and pervasive
                                                                         pervasive sexual  sexual                       Q. · ·It's
                                                                                                           24· · · · · Q.·         It'snot     your apology
                                                                                                                                          not your       apology to     to make.·
                                                                                                                                                                            make. Let    Let me mebe  be


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                                                  O'Brien & Levine,
                                                             Levine, AA Magna
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                                       et al.
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       clear on
  ·1· ·clear     on that,
                      that, Mr.
                              Mr. Geiman.·
                                     Geiman. It's      It'snot      your apology
                                                              not your         apology to      to      ·1· ·end of May.
  BP


       make.
  ·2· ·make.                                                                                                       Q. · ·Can
                                                                                                       ·2· · · · · Q.·       Can you you tell
                                                                                                                                           tell memewhat           exhibit --
                                                                                                                                                        what exhibit           -- and
                                                                                                                                                                                   and justjust
  WN




              A. · ·Either
  ·3· · · · · A.·      Either way,
                                 way, once
                                         once you  you have
                                                          have aa chance
                                                                      chance to    to                       for the
                                                                                                       ·3· ·for   therecord,
                                                                                                                        record, ExhibitExhibit 86  86 is isanother          document.
                                                                                                                                                             another document.
       read the
  ·4· ·read    the notes
                     notes more
                              more thoroughly,
                                      thoroughly, you'll    you'll see
                                                                     see that
                                                                            that there
                                                                                    there                                  MR. TOSTI:·
                                                                                                       ·4· · · · · · · · ·MR.      TOSTI: Oh     Oh sorry.·
                                                                                                                                                       sorry. I| gave gavethemthem --  --
  Oh




       was aa period
  ·5· ·was        period of of time
                                time around
                                        around May    May 14th,
                                                              14th, MayMay 15th, 15th,                             sorry. I| didn't
                                                                                                       ·5· · · · · sorry.·       didn't give
                                                                                                                                          givethemthem 86.· 86. ThisThisiswhat
                                                                                                                                                                            is what
       May 16th,
  ·6· ·May      16th, where       Gina was,
                         where Gina        was, for  for lack
                                                          lack of of aa better
                                                                          better word,
                                                                                    word,                          Tim's referring
                                                                                                       ·6· · · · · Tim's      referring to  to as
                                                                                                                                                as 86.
                                                                                                                                                    86.
  NO




       sort of,
  ·7· ·sort   of, waffling
                    waffling whatwhat to  to do
                                              do andand how how to to handle
                                                                        handle it.  it.                                   THE WITNESS:·
                                                                                                       ·7· · · · · · · · ·THE       WITNESS: We're     We're lookinglooking at  at the     same,
                                                                                                                                                                                    the same,
                     She asked
  ·8· · · · · · · · ·She    asked me me to to contact
                                                contact Kate  Kate Shea
                                                                      Shea for  for her
                                                                                      her                          right? This
                                                                                                       ·8· · · · · right?·     Thisisan        April --
                                                                                                                                       is an April       -- May
                                                                                                                                                             May 24th.24th.
  0




       and then
  ·9· ·and    then pulled
                      pulled that
                                that back
                                       back and and said,
                                                       said, actually
                                                                actually don't.don't.                                      MR. TOSTI:·
                                                                                                       ·9· · · · · · · · ·MR.      TOSTI: You    You are arelooking
                                                                                                                                                                looking at   at the
                                                                                                                                                                                 the same
                                                                                                                                                                                       same
  ©




        And then
  10· ·And      then decided
                        decided she she waswas going
                                                   going to   to do
                                                                  do it,
                                                                       it, and
                                                                           and thenthen                10· · · · · thing      Tim's looking
                                                                                                                    thing Tim's         looking at.·at. ButBut everyone
                                                                                                                                                                   everyone else  else
        decided no
  11· ·decided        no I'm
                          I'm not.·
                                not. And        then, there
                                        And then,         there waswas aa point
                                                                              point at   at                         isn't.
                                                                                                       11· · · · · isn't.
        which she
  12· ·which       she decided
                         decided thatthat no,no, in in fact,
                                                        fact, sheshe hadn't
                                                                       hadn't been been                                     MS. MARKOWSKI:·
                                                                                                       12· · · · · · · · ·MS.       MARKOWSKI: So                Soisthis       87, then?
                                                                                                                                                                      is this 87,     then?
        sexually harassed.·
  13· ·sexually        harassed. This Thisisjust
                                              is just the the way
                                                                way people
                                                                         people treated
                                                                                     treated                                MR. TOSTI:·
                                                                                                       13· · · · · · · · ·MR.       TOSTI: What   What I| just        giveyou
                                                                                                                                                               just give      you is is 86.
                                                                                                                                                                                         86.
        her. She
  14· ·her.·     She was
                       was oneone ofof the
                                        the guys.·
                                               guys. It    It was
                                                              was okay.·
                                                                     okay. And   And then, then,       14· · · · · And
                                                                                                                    And the the other
                                                                                                                                   other may
                                                                                                                                           may be  be 87.·
                                                                                                                                                        87. I| don't
                                                                                                                                                                   don't know.
                                                                                                                                                                           know.
        she went
  15· ·she    went back back onon that.
                                   that.                                                                                    MR. VAN
                                                                                                       15· · · · · · · · ·MR.                DYCK: It
                                                                                                                                    VAN DYCK:·              It probably
                                                                                                                                                                probably will  will be.·
                                                                                                                                                                                       be. You
                                                                                                                                                                                             You
                      Shewas
  16· · · · · · · · ·She     was ---- and
                                       and I| felt
                                                 felt aagreat
                                                          great dealdeal of of                                      can anticipate
                                                                                                       16· · · · · can     anticipate that        the next
                                                                                                                                           that the     next one  one will
                                                                                                                                                                        will bebe 87.
                                                                                                                                                                                    87.
        empathy for
  17· ·empathy         for her
                            her because
                                  because she   she was        floundering. I| felt
                                                       was floundering.·                 felt                               MS. MARKOWSKI:·
                                                                                                       17· · · · · · · · ·MS.       MARKOWSKI: So                Soit's84900
                                                                                                                                                                      it's 84900 isis 86?  86?
        like, mentally
  18· ·like,     mentally and and emotionally,
                                     emotionally, she       she floundering
                                                                  floundering and       and                                 MR. VAN
                                                                                                       18· · · · · · · · ·MR.                DYCK: Yes,
                                                                                                                                    VAN DYCK:·              Yes, yes.·
                                                                                                                                                                     yes. YouYou are are
        didn't know
  19· ·didn't      know what
                           what to to do.·
                                        do. I| still
                                                  till felt,
                                                         felt, very
                                                                 very strongly,
                                                                          strongly,                                 correct, Jennifer.
                                                                                                       19· · · · · correct,       Jennifer.
        and do
  20· ·and     do toto this
                        this day,
                              day, that
                                     that the
                                            the floundering
                                                    floundering was     was because
                                                                                because of      of                  Q. · ·(By
                                                                                                       20· · · · · Q.·        (By Mr.Mr.Van         Dyck) Mr.
                                                                                                                                            Van Dyck)·            Mr. Geiman,
                                                                                                                                                                         Geiman, bear     bear with
                                                                                                                                                                                                with
        that perceived
  21· ·that    perceived lack  lack ofof control
                                           control and  and how how to to deal
                                                                            deal with
                                                                                    with it.  it.            me for
                                                                                                       21· ·me     for aa moment.
                                                                                                                             moment.
                      She had
  22· · · · · · · · ·She     had aa decade
                                     decade or     or more
                                                        more under
                                                                 under                                 22· · · · · A.
                                                                                                                    A.· · ·OfOf course.
                                                                                                                                   course.
        Lou Rasetta,
  23· ·Lou      Rasetta, where
                             where she she was,
                                             was, basically,
                                                       basically, given given the the keyskeys                      Q. · ·I'm
                                                                                                       23· · · · · Q.·        I'm showing
                                                                                                                                     showing you   you marked
                                                                                                                                                           marked for     for identification
                                                                                                                                                                                identification
        to aacastle.
  24· ·to      castle.· And       they keys
                           And they       keys werewere takentaken away
                                                                      away and   and she she waswas          as Exhibit
                                                                                                       24· ·as    Exhibit 86,   86, which,
                                                                                                                                      which, again,
                                                                                                                                                 again, is    is aa document
                                                                                                                                                                     document that     that wewe

                                                                               Page 186
                                                                               Page 186                                                                                          Page 188
                                                                                                                                                                                 Page 188

       having aalot
  ·1· ·having                of trouble
                        lot of   trouble handling
                                             handling it.· it. Whether
                                                                Whether or    or notnot                     received for
                                                                                                       ·1· ·received        for thethe very   first time
                                                                                                                                        very first    time this
                                                                                                                                                              thismorning
                                                                                                                                                                      morning at    at 9:30,
                                                                                                                                                                                        9:30,
                                                                                                       WNP




       she had
  ·2· ·she    had aa colorable
                          colorable sexual
                                         sexual harassment
                                                   harassment claim  claim waswas not  not my
                                                                                            my              before your
                                                                                                       ·2· ·before      your deposition.
                                                                                                                                  deposition.
       job to
  ·3· ·job   to decide.·
                  decide. I| wantedwanted her  her to
                                                    to speak
                                                        speak to  to Kate.·
                                                                       Kate. Was Was                                       Isthis
                                                                                                       ·3· · · · · · · · ·Is          another document
                                                                                                                               this another       document that   that you you
       there aa selfish
  ·4· ·there         selfish motivation?·
                                motivation? Yes,    Yes, of of course/I
                                                                course/l wanted
                                                                              wanted                        provided to
                                                                                                       ·4· ·provided         to your
                                                                                                                                  your counsel
                                                                                                                                          counsel on on oror shortly
                                                                                                                                                               shortly afterafter the
                                                                                                                                                                                   the
                                                                                                       OB




       that hot
  ·5· ·that   hot potato
                       potato offoff ofof my
                                           my lap.
                                                lap.                                                        superior court
                                                                                                       ·5· ·superior        court action
                                                                                                                                      action hadhad been
                                                                                                                                                      been filed?
                                                                                                                                                               filed?
              Q. · ·Okay.
  ·6· · · · · Q.·         Okay.                                                                                    A. · ·It
                                                                                                       ·6· · · · · A.·       tisis.
                                                                                                       NO




  ·7· · · · · A.
              A.· · ·But  But the
                               theright       thing to
                                     right thing      to do,
                                                          do, regardless
                                                               regardless         was
                                                                                 was                               Q. · ·And
                                                                                                       ·7· · · · · Q.·       And when'sthelast
                                                                                                                                      when's the last time  timeyou you reviewed
                                                                                                                                                                            reviewed
       to stalk
  ·8· ·to  stalk to   to Kate
                           Kate Shea.·
                                  Shea. And  And I| felt
                                                      felt and
                                                            and feel      strongly
                                                                   feel strongly                            Exhibit 86?
                                                                                                       ·8· ·Exhibit       86?
                                                                                                       0




       about it.
  ·9· ·about      it.                                                                                              A. · ·Similarly,
                                                                                                       ·9· · · · · A.·       Similarly, probably,
                                                                                                                                            probably, before
                                                                                                                                                           before Gina's
                                                                                                                                                                      Gina's
                                                                                                       ©




  10                                                                                                         deposition.
                                                                                                       10· ·deposition.
                                                                                                      = Oo
                                                                                                      ll




                         (Exhibit 86,
  11· · · · · · · · ·(Exhibit         86, E-mail
                                            E-mail Note,
                                                       Note, marked)
                                                                marked)                                             Q. · ·Okay.·
                                                                                                       11· · · · · Q.·        Okay. PleasePlease describe
                                                                                                                                                   describe      for me
                                                                                                                                                                 for    me what
                                                                                                                                                                              what
  12                                                                                                         Exhibit 86
                                                                                                       12· ·Exhibit        86 is?is?
               Q. · ·(By
  13· · · · · Q.·          (By Mr.
                                 Mr. Van Van Dyck)·
                                                Dyck) BeforeBefore      we   get to
                                                                        we get      to 86,
                                                                                        86,                         A. · ·This
                                                                                                       13· · · · · A.·        Thisalso      represents notes
                                                                                                                                      also represents       notes that
                                                                                                                                                                    that I| had
                                                                                                                                                                              had
        did you
  14· ·did              review Exhibit
               you review           Exhibit 85   85 before
                                                      before today's
                                                                 today's deposition?
                                                                              deposition?                    taken to
                                                                                                       14· ·taken      to myself.·
                                                                                                                            myself. And  And just    by way
                                                                                                                                               just by   way of  of explanation,
                                                                                                                                                                      explanation,
  15· · · · · A.
               A.· · ·Not  Notimmediately
                                immediately before.· before. I| mean,
                                                                    mean, I'veI've                           because this
                                                                                                       15· ·because        this makes
                                                                                                                                   makes me me look
                                                                                                                                                 look like
                                                                                                                                                        like aa crazy
                                                                                                                                                                 crazy person,
                                                                                                                                                                            person, I|
        seen it
  16· ·seen      it before,
                      before, obviously.·
                                 obviously. But    But I| didn't
                                                            didn't review
                                                                     review it    it in
                                                                                     in                      didn't have
                                                                                                       16· ·didn't     have aaWord          processer at
                                                                                                                                    Word processer        at home.·
                                                                                                                                                              home. I| had  had aa
        preparation for
  17· ·preparation           for this.
                                   this.                                                                     Chromebook and
                                                                                                       17· ·Chromebook              and nono way
                                                                                                                                             way to to type
                                                                                                                                                        type anything
                                                                                                                                                                anything so    so that
                                                                                                                                                                                  that was    my
                                                                                                                                                                                         was my
               Q. · ·Well,
  18· · · · · Q.·          Well, youyou said
                                           said you
                                                  you metmet with
                                                                with youryour counsel
                                                                                  counsel                    IT know-how.·
                                                                                                       18· ·IT    know-how. But        But anyway,
                                                                                                                                            anyway, thisthis was
                                                                                                                                                               was an  an e-mail
                                                                                                                                                                           e-mail to     myself.
                                                                                                                                                                                     to myself.
        on Friday.·
  19· ·on     Friday. Did     Did you       review the
                                     you review        the document
                                                              document at      at that
                                                                                    that time?
                                                                                           time?                    Q. · ·So
                                                                                                       19· · · · · Q.·        Sol'dliketodraw
                                                                                                                                    I'd like to draw your  your --  -- and
                                                                                                                                                                        and whywhy diddid
               A. · ·No.
  20· · · · · A.·          No.                                                                               you write
                                                                                                       20· ·you     writeit?   it?
               Q. · ·When's
  21· · · · · Q.·          When'sthelast            time you
                                        the last time        you reviewed
                                                                    reviewed                                        A.
                                                                                                       21· · · · · A.·    ·   Similarly as
                                                                                                                             ·Similarly     as I did
                                                                                                                                                  did for    Exhibit 85.·
                                                                                                                                                       for Exhibit       85. To To
        Exhibit 85
  22· ·Exhibit          85 oror 86,
                                 86, as aslong
                                           long as aswe're
                                                       we're at  at it?
                                                                      it?                                    ensure that
                                                                                                       22· ·ensure       that I| had
                                                                                                                                   had some
                                                                                                                                         some recollection
                                                                                                                                                 recollection of   of events
                                                                                                                                                                        events during
                                                                                                                                                                                  during aa
               A. · ·A
  23· · · · · A.·          A few
                              fewweeksago.
                                     weeks ago.· I| did   didglanceatit,
                                                               glance at it, I|                              difficult period.
                                                                                                       23· ·difficult       period.
        think, before
  24· ·think,       before Gina's
                               Gina's deposition,
                                          deposition, perhaps.·
                                                            perhaps. So,   So, maybe,
                                                                                 maybe,                             Q. · ·You
                                                                                                       24· · · · · Q.·        You wanted
                                                                                                                                      wanted thisthisdocument
                                                                                                                                                       document in       in place
                                                                                                                                                                             placeso  so


                                                O'Brien &
                                                O'Brien & Levine,
                                                           Levine, AA Magna
                                                                      Magna Legal
                                                                             Legal Services
                                                                                   Services Company
                                                                                             Company                                                                       Pages 185–188
                                                                                                                                                                           Pages 185-188
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                                                   888.825.3376    production@court-reporting.com                                                                                                      YVer1f
           Case 1:21-cv-10163-FDS Document 64 Filed 12/13/22 Page 98 of 271
Ginamarie Alongi,
Ginamarie   Along, et
                    et al.
                       al. vs
                           vs                                         Gregory Geiman
                                                                      Gregory  Geiman
luoe Local
Iuoe Local 44 Health
              Health && Welfare
                         Welfare Fund,
                                 Fund, et
                                       et al.
                                          al.                            June 13,
                                                                         June 13, 2022
                                                                                  2022
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                                                                                                                                                            Page 191

       that, if
  ·1· ·that,    if needed,
                    needed, it    it would
                                      would refresh
                                                 refresh your  your memory
                                                                         memory as    astoto            being aa bit
                                                                                                   ·1· ·being    bit surprised
                                                                                                                     surprised by
                                                                                                                               by Gina's
                                                                                                                                  Gina's concern,
                                                                                                                                         concern, because
                                                                                                                                                  because Gina
                                                                                                                                                          Gina




                                                                                                   PF
  BP


       what happened
  ·2· ·what      happened at       at the
                                        the time,
                                             time, correct?
                                                       correct?                                         had always
                                                                                                   ·2· ·had always struck
                                                                                                                   struck me
                                                                                                                          me as
                                                                                                                             as somebody
                                                                                                                                somebody that
                                                                                                                                         that was happy to
                                                                                                                                              was happy to be
                                                                                                                                                           be




                                                                                                   WN
  WN




              A. · ·I1think
  ·3· · · · · A.·        think that'sfair.
                                   that's fair.· I| waswasalso  also                                    complimented or
                                                                                                   ·3· ·complimented or flattered.·
                                                                                                                        flattered. I| don't
                                                                                                                                      don't know
                                                                                                                                            know if
                                                                                                                                                 if she
                                                                                                                                                    she saw
                                                                                                                                                        saw
       concerned. I| felt
  ·4· ·concerned.·           felt that
                                    that Gina
                                            Ginawaswas veryvery upset.·
                                                                     upset. AndAnd I| was
                                                                                        was             this differently.·
                                                                                                   ·4· ·this differently. But
                                                                                                                           But people
                                                                                                                               people would
                                                                                                                                      would often
                                                                                                                                            often compliment
                                                                                                                                                  compliment




                                                                                                   OA
  Oh




       concerned, at that period of time, that she could quit,
  ·5· ·concerned,        at   that   period     of time,       that    she could    quit,               Gina on
                                                                                                   ·5· ·Gina on her
                                                                                                                her appearance,
                                                                                                                    appearance, her
                                                                                                                                her clothes.·
                                                                                                                                    clothes. That
                                                                                                                                              That was,
                                                                                                                                                   was, sort
                                                                                                                                                        sort
       or there
  ·6· ·or  there could
                     could be  be other
                                    other issues
                                             issues that
                                                       that would
                                                                would havehave toto bebe                of, par
                                                                                                   ·6· ·of, par for the course.
                                                                                                                for the course.




                                                                                                   NO
  NO




       discussed with
  ·7· ·discussed       with the the board
                                       board of of trustees.·
                                                   trustees. And     And I| was
                                                                              was                              Q. · ·But,
                                                                                                   ·7· · · · · Q.·   But, certainly,
                                                                                                                          certainly, you
                                                                                                                                     you felt
                                                                                                                                         felt as
                                                                                                                                              asthough  the
                                                                                                                                                 though the
       worried I| would
  ·8· ·worried         would not   not bebe able
                                             abletoto fulfill
                                                         fulfill my   myjob.
                                                                          job.                          allegation was
                                                                                                   ·8· ·allegation     important enough
                                                                                                                   was important enough that
                                                                                                                                        that you needed to
                                                                                                                                             you needed to do
                                                                                                                                                           do a
                                                                                                                                                              a




                                                                                                   00
  0




              Q. · ·Now,
  ·9· · · · · Q.·      Now, is    isthere--toyour
                                      there -- to your knowledge, knowledge, is    is                   memo to
                                                                                                   ·9· ·memo    file?
                                                                                                             to file?




                                                                                                   ©
  ©




        there anything
  10· ·there       anything in     in Exhibit
                                        Exhibit 86  86 that
                                                          that you  you believe
                                                                          believe would
                                                                                      would                    A. · ·Again,
                                                                                                   10· · · · · A.·   Again, not
                                                                                                                            not aamemo to file.
                                                                                                                                  memo to  file.
        constitute an
  11· ·constitute         an attorney-client
                               attorney-client communication
                                                          communication or          or                         Q. · ·I'm
                                                                                                   11· · · · · Q.·   I'msorry.   Memototo yourself.
                                                                                                                         sorry.· Memo     yourself.
        otherwise
  12· ·otherwise         fall    under some
                         fall under         some sortsort of  of privilege
                                                                    privilege umbrella?
                                                                                 umbrella?                     A. · ·Memo
                                                                                                   12· · · · · A.·   Memo to
                                                                                                                          to myself.·
                                                                                                                             myself. I| felt
                                                                                                                                        felt that
                                                                                                                                             that Gina's
                                                                                                                                                  Gina's
                      MS. MARKOWSKI:·
  13· · · · · · · · ·MS.       MARKOWSKI: I'll             I'll just    object to
                                                                 just object     to form
                                                                                     form               reaction to
                                                                                                   13· ·reaction to it
                                                                                                                    it was strong enough,
                                                                                                                       was strong enough, or
                                                                                                                                          or concerning
                                                                                                                                             concerning enough,
                                                                                                                                                        enough,
               of the
  14· · · · · of    the question.
                         question.                                                                      that it
                                                                                                   14· ·that it raised
                                                                                                                raised aa flag for me.
                                                                                                                          flag for me.
                      THE WITNESS:·
  15· · · · · · · · ·THE       WITNESS: I| don't      don't believe
                                                                 believe so.so.                                Q. · ·The
                                                                                                   15· · · · · Q.·   Thenext  paragraph states,
                                                                                                                         next paragraph states, "Gina
                                                                                                                                                " Gina had
                                                                                                                                                       had
               Q. · ·(By
  16· · · · · Q.·       (By Mr. Mr.Van         Dyck) Yeah.·
                                        Van Dyck)·          Yeah. So     Sotheseare
                                                                             these are                  reported earlier
                                                                                                   16· ·reported earlier sporadic
                                                                                                                         sporadic comments
                                                                                                                                  commentstoto me
                                                                                                                                               me that Billy had
                                                                                                                                                  that Billy had
        just notes
  17· ·just     notes that
                         that you you mademadetoto yourself,
                                                        your self, right?right?                         madetoto her
                                                                                                   17· ·made     her regarding
                                                                                                                     regarding his
                                                                                                                               his sex
                                                                                                                                   sex life
                                                                                                                                       life and
                                                                                                                                             and women in the
                                                                                                                                                 women in the
  18· · · · · A.       Yes.
               A.· · ·Yes.                                                                              office that
                                                                                                   18· ·office that he
                                                                                                                    he found
                                                                                                                       found attractive,
                                                                                                                             attractive, but
                                                                                                                                         but never
                                                                                                                                             never indicated
                                                                                                                                                   indicated
               Q. · ·Yeah.·
  19· · · · · Q.·       Yeah. And    And then,
                                             then, it it looks
                                                          lookslikeyoulike you                          that such
                                                                                                   19· ·that such talk
                                                                                                                  talk from Billy was
                                                                                                                       from Billy     unwanted or
                                                                                                                                  was unwanted or made
                                                                                                                                                  made her
                                                                                                                                                       her
        forwarded the
  20· ·forwarded           the he he mailings
                                        mailingstoto yourself,
                                                           your self, forwarded
                                                                           forwarded the    the         uncomfortable. She
                                                                                                   20· ·uncomfortable.· Shereported  only that
                                                                                                                            reported only      she had
                                                                                                                                          that she had advised
                                                                                                                                                       advised
        May 14th
  21· ·May        14th e-mail?
                         e-mail?                                                                        Billy to
                                                                                                   21· ·Billy to keep
                                                                                                                 keep it
                                                                                                                      it [his
                                                                                                                         [his sex
                                                                                                                              sex life]
                                                                                                                                  life] out
                                                                                                                                        out of
                                                                                                                                            of office."
                                                                                                                                               office."
  22· · · · · A.       Again, this
               A.· · ·Again,         thisisafunction
                                           is a function of       of mymy IT
                                                                           IT                                         Doesthat
                                                                                                   22· · · · · · · · ·Does      paragraph accurately
                                                                                                                           that paragraph accurately reflect
                                                                                                                                                     reflect
        prowess. I| think
  23· ·prowess.·           think whatwhat I| did
                                               did here,
                                                     here, is   is| I went    back to
                                                                      went back      to my
                                                                                         my             some comments
                                                                                                   23· ·some commentsthat   Gina had
                                                                                                                       that Gina had made
                                                                                                                                     madeto  you about
                                                                                                                                          to you about Billy's
                                                                                                                                                       Billy's
        sent e-mail
  24· ·sent    e-mail file,file, added
                                   added another
                                             another note  note that's
                                                                    that's something
                                                                            something I|                behavior?
                                                                                                   24· ·behavior?

                                                                            Page 190
                                                                            Page 190                                                                        Page 192
                                                                                                                                                            Page 192
       recalled aaweek
  ·1· ·recalled        or so
                  week or so later.
                             later.                                                                ·1· · · · · A.     Yes. I| mean,
                                                                                                               A.· · ·Yes.·   mean, that
                                                                                                                                    that would have been
                                                                                                                                         would have been my
                                                                                                                                                         my
                                                                                                   WDNR




              Q. · ·For
  ·2· · · · · Q.·   For the
                        therecord,  you're not
                            record, you're not alone
                                               alone on
                                                     on that.
                                                        that.                                           recollection as
                                                                                                   ·2· ·recollection as of
                                                                                                                        of May
                                                                                                                           May 14,
                                                                                                                               14, 2018.·
                                                                                                                                   2018. My
                                                                                                                                          My recollection
                                                                                                                                             recollection was
                                                                                                                                                          was
              A. · ·All
  ·3· · · · · A.·   Allright.
                        right.                                                                          and remains
                                                                                                   ·3· ·and remains that   Gina reported
                                                                                                                      that Gina reported those
                                                                                                                                         those in,
                                                                                                                                               in, sort
                                                                                                                                                   sort of,
                                                                                                                                                        of, aa
              Q. · ·So
  ·4· · · · · Q.·   Sothefirst    paragraph of
                        the first paragraph of the
                                               thelong
                                                   long                                                 bemused tone.
                                                                                                   ·4· ·bemused        It was
                                                                                                                tone.· It was never
                                                                                                                              never anything
                                                                                                                                    anything that
                                                                                                                                             that I| perceived
                                                                                                                                                     perceived
                                                                                                   bh




       e-mail, it
  ·5· ·e-mail, it states,
                  states, on
                          on April 2, 2018,
                             April 2, 2018, H
                                            H and
                                              and W
                                                  W trustees
                                                    trustees                                            as making
                                                                                                   ·5· ·as making her
                                                                                                                  her uncomfortable
                                                                                                                      uncomfortable or
                                                                                                                                    or offended.·
                                                                                                                                       offended. It
                                                                                                                                                  It was not
                                                                                                                                                     was not
                                                                                                   Oo




       meeting, "Gina
  ·6· ·meeting, " Ginareported    to me
                        reported to    me that
                                          that Billy
                                                Billy had
                                                      had called
                                                           called her
                                                                    her                                 dissimilar, and
                                                                                                   ·6· ·dissimilar, and probably
                                                                                                                        probably less
                                                                                                                                 less so,
                                                                                                                                      so, than
                                                                                                                                          than things
                                                                                                                                               things that
                                                                                                                                                      that
                                                                                                   NO




       on the
  ·7· ·on the phone
              phone and
                     and told
                          told her
                               her that
                                    that she
                                          she looked
                                              looked soso good
                                                          good atat                                     Lou Rasetta
                                                                                                   ·7· ·Lou Rasetta had
                                                                                                                    had said
                                                                                                                        said to
                                                                                                                             to her
                                                                                                                                her that she had
                                                                                                                                    that she had reported
                                                                                                                                                 reported to me
                                                                                                                                                          to me
       the trustees
  ·8· ·the trustees meeting
                    meeting and
                            and he
                                he had
                                   had difficulty
                                       difficulty focusing
                                                  focusing on
                                                           on                                           aswell.
                                                                                                   ·8· ·as        But I| did
                                                                                                           well.· But    did note
                                                                                                                             noteitit because
                                                                                                                                      becauseit
                                                                                                                                              it was
                                                                                                                                                 was something
                                                                                                                                                     something
                                                                                                   00




       the meeting.·
  ·9· ·the  meeting. Gina
                     Gina said
                          said that
                               that she
                                    she quickly
                                        quickly changed
                                                  changed the
                                                          the                                           that I| remembered
                                                                                                   ·9· ·that    remembered as
                                                                                                                           as I| was
                                                                                                                                 was writing these notes.
                                                                                                                                     writing these notes.
                                                                                                   ©




        subject and was unresponsiveto Bill'scomments. This
  10· ·subject   and was unresponsive  to Bill's comments.· This                                               Q. · ·Did
                                                                                                   10· · · · · Q.·   Did you
                                                                                                                         you have
                                                                                                                             have any
                                                                                                                                  any reason
                                                                                                                                      reason to
                                                                                                                                             to think
                                                                                                                                                think that
                                                                                                                                                      that
                                                                                                  = Oo
                                                                                                  rl




       was the
  11· ·was thefirst  allegation of
               first allegation of unwanted
                                   unwanted sexual
                                            sexual comments,
                                                   comments,                                            Gina was
                                                                                                   11· ·Gina     making any
                                                                                                             was making any of
                                                                                                                            of this
                                                                                                                               thisup,  at the
                                                                                                                                    up, at thetime  that you
                                                                                                                                               time that you
       advances made
  12· ·advances made by
                      by Billy
                         Billy to
                               to Gina."·
                                  Gina." Have
                                          Havel I read
                                                  read that
                                                       that                                             wrote thismemo
                                                                                                   12· ·wrote           to your
                                                                                                              this memo to      -- this
                                                                                                                           your --      e-mail to
                                                                                                                                   this e-mail to yourself?
                                                                                                                                                  your self?
       paragraph correctly?
  13· ·paragraph correctly?                                                                        13· · · · · A.     No, I| don't.
                                                                                                               A.· · ·No,    don't.
              A. · ·You
  14· · · · · A.·   You have.
                        have.                                                                                  Q. · ·And
                                                                                                   14· · · · · Q.·   And same
                                                                                                                         samewith  respect to
                                                                                                                              with respect to the
                                                                                                                                              thefirst
                                                                                                                                                  first
              Q. · ·Does
  15· · · · · Q.·   Doesthat  refresh your
                         that refresh your memory
                                           memory about
                                                  about what
                                                        what                                            paragraph. Did
                                                                                                   15· ·paragraph.· Did you
                                                                                                                        you have
                                                                                                                            have any
                                                                                                                                 any reason
                                                                                                                                     reason to
                                                                                                                                            to think
                                                                                                                                               think that Gina
                                                                                                                                                     that Gina
       Gina said
  16· ·Gina     said to
                      to you  on or
                         you on  or about
                                    about April
                                          April 12th?
                                                12th?                                                   was making
                                                                                                   16· ·was making any
                                                                                                                   any of
                                                                                                                       of that
                                                                                                                          that up?
                                                                                                                               up?
              A. · ·It
  17· · · · · A.·    Itdoes.
                        does.                                                                      17· · · · · A.     No. I| believe
                                                                                                               A.· · ·No.·   believe that
                                                                                                                                     that there could have
                                                                                                                                          there could have been
                                                                                                                                                           been
              Q. · ·Does
  18· · · · · Q.·   Doesthat  accurately reflect
                         that accurately reflect what
                                                 what she
                                                      she                                          18· ·aa conversation
                                                                                                           conversation that
                                                                                                                        that was misinterpreted or
                                                                                                                             was misinterpreted or
       told you
  19· ·told    you on
                   on April   12th?
                       April 12th?                                                                      misunderstood. But
                                                                                                   19· ·misunderstood.· But do
                                                                                                                            do I| believe
                                                                                                                                  believe that
                                                                                                                                          that was
                                                                                                                                               was Gina's
                                                                                                                                                   Gina's
              A. · ·Yes.·
  20· · · · · A.·   Yes. That
                          That is
                                isan accurate recording
                                  an accurate recording of
                                                        of                                              interpretation of
                                                                                                   20· ·interpretation of it,
                                                                                                                          it, sure.
                                                                                                                              sure.
       what Gina
  21· ·what Gina told
                 told me.
                      me.                                                                                      Q. · ·The
                                                                                                   21· · · · · Q.·   Thethird  paragraph of
                                                                                                                         third paragraph of Exhibit
                                                                                                                                            Exhibit 86,
                                                                                                                                                    86, it
                                                                                                                                                        it
              Q. · ·Do
  22· · · · · Q.·   Doyou  recall anything
                       you recall anything else
                                            else about
                                                 about that
                                                       that                                             lookslikeit'sa
                                                                                                   22· ·looks             summary of
                                                                                                              like it's a summary of at
                                                                                                                                     at least
                                                                                                                                        least the
                                                                                                                                              the first  part of
                                                                                                                                                   first part of
       conversation with
  23· ·conversation          Gina on
                       with Gina   on April
                                      April 12th?
                                            12th?                                                       what happened
                                                                                                   23· ·what happened on
                                                                                                                      on May
                                                                                                                         May 1,
                                                                                                                             1, 2018,
                                                                                                                                2018, right?
                                                                                                                                      right?
              A. · ·IIdon't.
  24· · · · · A.·             Theonly
                      don't.· The      thing! I do
                                  only thing    dorecal   is
                                                   recall is                                       24· · · · · A.     Mm-hmm. Yes.
                                                                                                               A.· · ·Mm-hmm.· Yes.


                                              O'Brien &
                                              O'Brien & Levine,
                                                         Levine, AA Magna
                                                                    Magna Legal
                                                                           Legal Services
                                                                                 Services Company
                                                                                           Company                                                    Pages 189–192
                                                                                                                                                      Pages 189-192
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Ginamarie Alongi,
Ginamarie  Along, et
                   et al.
                      al. vs
                          vs                                          Gregory Geiman
                                                                      Gregory  Geiman
luoe Local
Iuoe Local 4
           4 Health
             Health && Welfare
                        Welfare Fund,
                                Fund, et
                                      et al.
                                         al.                             June 13,
                                                                         June 13, 2022
                                                                                  2022
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              Q. · ·And
  ·1· · · · · Q.·   Andisthethird    paragraph, is
                        is the third paragraph, isitit your
                                                       your                                                      Q. · ·And
                                                                                                     ·1· · · · · Q.·   And then,
                                                                                                                           then, your
                                                                                                                                 your next
                                                                                                                                      next sentence
                                                                                                                                           sentence says,
                                                                                                                                                    says,




                                                                                                     BP
  BP


       memory of
  ·2· ·memory of what
                 what happened,
                      happened, or
                                or is
                                   isitit aa combination
                                             combination of
                                                         of your
                                                            your                                          " Although he
                                                                                                     ·2· ·"Although  he appeared
                                                                                                                        appeared menacing
                                                                                                                                 menacing and
                                                                                                                                          and said
                                                                                                                                              said something
                                                                                                                                                   something along
                                                                                                                                                             along
  WN




                                                                                                     WN
       memory plus
  ·3· ·memory pluswhat  Gina'stold
                   what Gina's told you, or what
                                    you, or      isit?
                                            what is it?                                                   the lines
                                                                                                     ·3· ·the lines of
                                                                                                                    of come
                                                                                                                       come on,
                                                                                                                            on, what are you
                                                                                                                                what are you going
                                                                                                                                             going to
                                                                                                                                                   to do,"
                                                                                                                                                      do," Billy
                                                                                                                                                           Billy
              A. · ·It's
  ·4· · · · · A.·   It'sacombination.    It looks
                         a combination.· It looks like
                                                  like the
                                                       the                                                did not
                                                                                                     ·4· ·did not appear
                                                                                                                  appear to touch Gina."·
                                                                                                                         to touch Gina." Have
                                                                                                                                          Havel I read
                                                                                                                                                  read that
                                                                                                                                                       that




                                                                                                     OBA
  Ud




       beginning of
  ·5· ·beginning of it
                    it was
                       was aa recitation
                              recitation of
                                         of what
                                            what Gina
                                                 Gina told
                                                      told me.
                                                           me.                                            correct?
                                                                                                     ·5· ·correct?
       It looks
  ·6· ·It looks as
                as though
                   though I| am
                             am reciting
                                reciting Gina's
                                         Gina's words
                                                words up
                                                      up until
                                                         until                                                   A. · ·You
                                                                                                     ·6· · · · · A.·   You have.
                                                                                                                           have.
  NO




                                                                                                     NO
       the middle
  ·7· ·the middle of
                  of that
                     that paragraph,
                          paragraph, where
                                     where |I write,
                                              write, "I
                                                     "I did
                                                        did                                                      Q. · ·When
                                                                                                     ·7· · · · · Q.·   When you say he
                                                                                                                            you say he appeared
                                                                                                                                       appeared menacing,
                                                                                                                                                menacing, what
                                                                                                                                                          what
       hear this
  ·8· ·hear this outburst
                 outburst from
                          from my
                               my office."·
                                  office." That's
                                            That's my
                                                   my                                                     do you
                                                                                                     ·8· ·do you mean
                                                                                                                 mean by
                                                                                                                      by that?
                                                                                                                         that?




                                                                                                     00
  00




       recollection. I| did
  ·9· ·recollection.·   did hear
                            hear an
                                 an outburst.·
                                    outburst. I| heard
                                                 heard Billy's
                                                       Billy's                                                   A. · ·He
                                                                                                     ·9· · · · · A.·   Hehad  his chest
                                                                                                                          had his chest puffed
                                                                                                                                        puffed out,
                                                                                                                                               out, which
                                                                                                                                                    which I| took
                                                                                                                                                             took




                                                                                                     ©
  ©




       voice. The
  10· ·voice.· The next
                   next sentence
                        sentence is
                                 is her
                                    her recitation.·
                                        recitation. I| did
                                                       did not
                                                           not                                            asainstinctua
                                                                                                     10· ·as               reaction. And
                                                                                                             a instinctual reaction.· And Gina
                                                                                                                                          Gina was
                                                                                                                                               was poking
                                                                                                                                                   poking him
                                                                                                                                                          him in
                                                                                                                                                              in
       witness that.·
  11· ·witness that. The
                      The next
                          next sentence
                               sentence --
                                        --                                                                the chest
                                                                                                     11· ·the chest so
                                                                                                                    so I| think
                                                                                                                          think it
                                                                                                                                it was, sort of,
                                                                                                                                   was, sort of, aa natural
                                                                                                                                                    natural
              Q. · ·And
  12· · · · · Q.·   And by
                        by the
                           the next
                               next sentence,
                                    sentence, what
                                              what does
                                                   doesitit                                               response to
                                                                                                     12· ·response to what he was
                                                                                                                      what he     -- what
                                                                                                                              was --      he was
                                                                                                                                     what he     experiencing.
                                                                                                                                             was experiencing.
       start with?
  13· ·start with?                                                                                               Q. · ·And
                                                                                                     13· · · · · Q.·   And when he said
                                                                                                                           when he said something
                                                                                                                                        something along
                                                                                                                                                  along the
                                                                                                                                                        the
              A. · ·I'm
  14· · · · · A.·   I'm sorry,
                        sorry, let
                               let me
                                   me be
                                      be more
                                         more specific.·
                                              specific. The
                                                         The                                              lines of
                                                                                                     14· ·lines of "come
                                                                                                                   " come on
                                                                                                                          on what
                                                                                                                             what are you going
                                                                                                                                  are you going to
                                                                                                                                                to do"
                                                                                                                                                   do" was
                                                                                                                                                       was he
                                                                                                                                                           he
       two sentences
  15· ·two sentences that
                     that begin
                          begin with
                                with "she
                                     "she claims."·
                                          claims." The
                                                    Thefirst
                                                         first                                            yelling that?
                                                                                                     15· ·yelling that?
       is she
  16· ·is she claims
              claims that
                     that his
                          his fists
                              fists father
                                    father were
                                           were up,
                                                up, that
                                                    that was
                                                         was                                         16· · · · · A.
                                                                                                                 A.· · ·I| don't
                                                                                                                           don't remember
                                                                                                                                 remember if
                                                                                                                                          if he
                                                                                                                                             hewasyelling   it or
                                                                                                                                                was yelling it or
       her recitation.·
  17· ·her recitation. The
                        The next
                            next sentence,
                                 sentence, she
                                           she claims
                                               claims she
                                                      she                                                 just exclaiming
                                                                                                     17· ·just exclaiming it.·
                                                                                                                          it. It
                                                                                                                               It was heated. I| don't
                                                                                                                                  was heated.·   don't think
                                                                                                                                                       think
       poked him
  18· ·poked him once
                 once in
                      in the
                         the chest,
                             chest, was
                                    was also
                                        also her
                                             her recitation.
                                                 recitation.                                              anybody was
                                                                                                     18· ·anybody     speaking sotto
                                                                                                                  was speaking sotto voce.
                                                                                                                                     voce.
       It appears
  19· ·It appears as
                  as though
                     though the next sentence,
                            the next sentence, when
                                               when I| reached
                                                       reached                                                   Q. · ·Sotto
                                                                                                     19· · · · · Q.·   Sotto voce.
                                                                                                                             voce.
       her office,
  20· ·her office, is
                   isthe  beginning of
                      the beginning of my
                                       my --
                                          -- what
                                             what I| actually
                                                     actually                                                    A. · ·Sorry.·
                                                                                                     20· · · · · A.·   Sorry. I| shouldn't
                                                                                                                                 shouldn't have
                                                                                                                                           have challenged
                                                                                                                                                challenged you
                                                                                                                                                           you
       witnessed.
  21· ·witnessed.                                                                                         on that.·
                                                                                                     21· ·on that. Everybody
                                                                                                                    Everybody was quite emotional.·
                                                                                                                              was quite emotional. Let
                                                                                                                                                    Let me
                                                                                                                                                        me say
                                                                                                                                                           say
              Q. · ·So
  22· · · · · Q.·   Soinin terms
                           termsofof what
                                     what you personally
                                          you personally                                                  that.
                                                                                                     22· ·that.
       observed --
  23· ·observed -- visually observed --
                   visually observed -- you
                                        you reached
                                            reached the
                                                    the                                                          Q. · ·And
                                                                                                     23· · · · · Q.·   And then
                                                                                                                           then you
                                                                                                                                you say,
                                                                                                                                    say, "Becky,
                                                                                                                                         " Becky, Alan,
                                                                                                                                                  Alan, Don,
                                                                                                                                                        Don, and
                                                                                                                                                             and
       office, you
  24· ·office, you saw
                   saw Rose
                       Rose Marie
                            Marie was
                                  was already
                                      already there
                                              there attempting
                                                    attempting                                            Amy Boisvert
                                                                                                     24· ·Amy Boisvert were also present
                                                                                                                       were also present in
                                                                                                                                         in the office during
                                                                                                                                            the office during


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                                                                                                                                                                                   Page 196

       to hold
  ·1· ·to   hold Billy
                    Billy back,
                             back, correct?
                                        correct?                                                          thisoutburst."
                                                                                                     ·1· ·this   outburst."· So         So you
                                                                                                                                             you actually
                                                                                                                                                    actually saw  saw them?
                                                                                                                                                                         them?
                                                                                                     BP




              A. · ·Yes.·
  ·2· · · · · A.·      Yes. I| hesitate
                                   hesitate onlyonly because
                                                        because I| don'tdon't                        ·2· · · · · A.
                                                                                                                 A.· · ·I| don't
                                                                                                                              don'tthink
                                                                                                                                       think I| sawsaw them
                                                                                                                                                          them while
                                                                                                                                                                   while thethe
                                                                                                     WN




       have any
  ·3· ·have     any recollection
                       recollection as     as to
                                              to whether
                                                   whether Rose   Rose waswas physically
                                                                                  physically              incident was
                                                                                                     ·3· ·incident               happening. I| think
                                                                                                                        was happening.·                think I| spoke
                                                                                                                                                                   spoke to     them
                                                                                                                                                                            to them
       holding Billy Billy or or grabbing
                                  grabbing his   his arm.·
                                                       arm. But  But for
                                                                       for whatever                       afterward. It       It was,
                                                                                                                                  was, as  as Gina
                                                                                                                                                Gina andand bill
                                                                                                                                                              hill both
                                                                                                                                                                    both testified        to
                                                                                                     dh




  ·4· ·holding                                                               whatever                ·4· ·afterward.·                                                      testified to
       reason thatthat waswas thethe term
                                        term I| used,
                                                  used, yes.
                                                          yes.                                            correctly, it    it was
                                                                                                                               was quite
                                                                                                                                       quite loud.
                                                                                                                                                loud. andand I| think
                                                                                                                                                                  think anybody
                                                                                                                                                                          anybody that   that
                                                                                                     Ul




  ·5· ·reason                                                                                        ·5· ·correctly,
              Q. · ·And
  ·6· · · · · Q.·      Andthenit            says, "Gina
                                then it says,        "Gina poked poked him   him in  inthe
                                                                                         the              was within
                                                                                                     ·6· ·was    within the   the building
                                                                                                                                     building was         aware that
                                                                                                                                                   was aware               something was
                                                                                                                                                                    that something           was
                                                                                                     NO




       chest once
  ·7· ·chest     once more more whenwhen I| reached
                                                reached the    the office."
                                                                     office.” And   And again,
                                                                                            again,        happening.
                                                                                                     ·7· ·happening.
       that's something
                  something you      you personally
                                            personally observed?
                                                              observed?                                          Q. · ·YouYou may    may recall
                                                                                                                                             recall that
                                                                                                                                                       that Mr.Mr. McLaughlin
                                                                                                                                                                      McLaughlin
                                                                                                     00




  ·8· ·that's                                                                                        ·8· · · · · Q.·
              A. · ·I1did
  ·9· · · · · A.·               observing that.·
                          did observing         that. AndAnd |I say say once
                                                                          once                            testified at
                                                                                                     ·9· ·testified     at his his deposition,
                                                                                                                                     deposition, that,   that, when
                                                                                                                                                                 when he   hewasin
                                                                                                                                                                               was in
                                                                                                     ©




        more, only
  10· ·more,      only because
                           because I'm   I'm taking
                                              taking GinaGina earlier
                                                                   earlier at at her
                                                                                   her word
                                                                                        word               Gina's office,
                                                                                                     10· ·Gina's       office, he    he looked
                                                                                                                                           looked around
                                                                                                                                                      around to        seeifif anybody
                                                                                                                                                                   to see        anybody could   could
        that she
  11· ·that    she hadhad poked
                             poked him. him.                                                               see what
                                                                                                     11· ·see     what was was goinggoing on  on in in the
                                                                                                                                                        the office.·
                                                                                                                                                              office. And And he  he said
                                                                                                                                                                                        said that
                                                                                                                                                                                                that
               Q. · ·Right.·
  12· · · · · Q.·        Right. But   But that
                                            that waswasthefirst
                                                           the first time  time you you                    nobody would
                                                                                                     12· ·nobody        would have     have beenbeen ableable toto visually
                                                                                                                                                                    visually see  see what
                                                                                                                                                                                         what
        had seen
  13· ·had     seen GinaGina poke poke him?him?                                                            happened. Is
                                                                                                     13· ·happened.·             Isthat      consistent with
                                                                                                                                     that consistent                  your memory?
                                                                                                                                                               with your       memory?
               A. · ·Correct.·
  14· · · · · A.·       Correct. I| also  also think
                                                 think it's
                                                          it'simportant
                                                                important to     to                  14· · · · · A.
                                                                                                                  A.· · ·It Itis.
                                                                                                                                is.· I| don't
                                                                                                                                         don't remember,
                                                                                                                                                  remember, other  other than
                                                                                                                                                                            than
        note that,
  15· ·note     that, when
                        when I| witnessed
                                    witnessed that   that they
                                                            they were
                                                                    were standing
                                                                             standing                      Gina, Bill
                                                                                                     15· ·Gina,      Bill andand Rose,
                                                                                                                                     Rose, seeing
                                                                                                                                               seeing anybody
                                                                                                                                                          anybody else  else inin that
                                                                                                                                                                                   that
        well to
  16· ·well     to the
                    the side
                          side of of Gina's
                                       Gina's desk.·
                                                 desk. TheyThey were          nowhere
                                                                     were nowhere                          moment.
                                                                                                     16· ·moment.
        behind --
  17· ·behind       -- Gina
                         Gina waswas not not behind
                                              behind her her desk,
                                                                desk, BillBill was
                                                                                 was notnot                       Q. · ·I| know
                                                                                                     17· · · · · Q.·            know Gina  Gina had had aa glass
                                                                                                                                                              glass office.·
                                                                                                                                                                       office. Is  Isitit
        behind her
  18· ·behind       her desk.
                          desk.                                                                            possible that
                                                                                                     18· ·possible        that somebody
                                                                                                                                    somebody outside  outside looking
                                                                                                                                                                   looking in   in could
                                                                                                                                                                                    could have  have
                      Bill was
  19· · · · · · · · ·Bill    was out out inin the   middle of
                                              the middle         of the
                                                                     the office
                                                                            office                         seen, at
                                                                                                     19· ·seen,     at least,
                                                                                                                         least, some some of  of what
                                                                                                                                                   what was        going on?
                                                                                                                                                            was going        on?
        parallel with
  20· ·parallel      with thethe doorway.·
                                    doorway. Rose   Rose MarieMarie was was to  to his
                                                                                    his back.
                                                                                          back.      20· · · · · A.
                                                                                                                  A.· · ·I| think
                                                                                                                               think if  if somebody
                                                                                                                                             somebody steppedstepped out  out ofof their
                                                                                                                                                                                    their
        Ginawasin
  21· ·Gina                 front. And
                 was in front.·         And sheshe was
                                                     was poking
                                                             poking him  him in  in the
                                                                                     the                   office they
                                                                                                     21· ·office      they might
                                                                                                                               might have  have been
                                                                                                                                                   been able
                                                                                                                                                           able toto view     some or
                                                                                                                                                                      view some         or all
                                                                                                                                                                                             all of
                                                                                                                                                                                                  of
        chest. Not,
  22· ·chest.·     Not, necessarily,
                            necessarily, tryingtrying to to get
                                                              get him
                                                                    him out out ofof her
                                                                                      her                  that office.·
                                                                                                     22· ·that    office. I| don't don't know,
                                                                                                                                            know, offhand.
                                                                                                                                                       offhand.
        space. It
  23· ·space.·      It was
                        was -- -- they
                                   they were,       sort of,
                                           were, sort      of, inin neutral
                                                                     neutral space,
                                                                                  space,                          Q. · ·In
                                                                                                     23· · · · · Q.·         Inyour
                                                                                                                                  your next next paragraph
                                                                                                                                                    paragraph you     you say,
                                                                                                                                                                             say, "Once
                                                                                                                                                                                    " Once
        if you
  24· ·if  you will.
                  will.                                                                                    things cooled
                                                                                                     24· ·things       cooled off,   off, Gina
                                                                                                                                            Gina and and Billy
                                                                                                                                                            Billy returned
                                                                                                                                                                     returned to         her
                                                                                                                                                                                    to her


                                               O'Brien &
                                               O'Brien & Levine,
                                                          Levine, AA Magna
                                                                     Magna Legal
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Ginamarie  Along, et
                   et al.
                      al. vs
                          vs                                           Gregory Geiman
                                                                       Gregory  Geiman
luoe Local
Iuoe Local 4
           4 Health
             Health && Welfare
                        Welfare Fund,
                                Fund, et
                                      et al.
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        office with
  ·1· ·office     with thethe door
                                door closed
                                         closed andand continued
                                                             continued speaking.speaking.                what's been
                                                                                                    ·1· ·what's been marked
                                                                                                                     marked for
                                                                                                                            for identification
                                                                                                                                identification as
                                                                                                                                               as Exhibit
                                                                                                                                                  Exhibit 87,
                                                                                                                                                          87,




                                                                                                    WNP
  WNP


        Beforethis|
  ·2· ·Before                spoke---- I| briefly
                    this I spoke              briefly spokespoke with   with Billy
                                                                                Billy and
                                                                                        and              which appears
                                                                                                    ·2· ·which appear stoto be
                                                                                                                            be aa memo
                                                                                                                                  memo from
                                                                                                                                       from you, from your
                                                                                                                                            you, from      personal
                                                                                                                                                      your personal
       tried to
  ·3· ·tried    to calm
                     calm him him down."·
                                     down." Do     Do you you recall
                                                                   recall doing
                                                                              doing that?
                                                                                       that?             e-mail address,
                                                                                                    ·3· ·e-mail address, to
                                                                                                                         to your personal e-mail
                                                                                                                            your personal e-mail address
                                                                                                                                                 address dated
                                                                                                                                                         dated
              A. · ·IIdo.
  ·4· · · · · A.·        do.                                                                             the May
                                                                                                    ·4· ·the May 24,
                                                                                                                 24, 2018.·
                                                                                                                     2018. The
                                                                                                                            The subject
                                                                                                                                subject line
                                                                                                                                        lineis"  My personal
                                                                                                                                             is "My personal




                                                                                                    bh
  Oh




              Q. · ·Do
  ·5· · · · · Q.·      Doyou        recall what,
                             you recall       what, if   if anything,
                                                              anything, you    you said
                                                                                      said               hell"; have I accurately
                                                                                                    ·5· ·hell";        accurately characterized
                                                                                                                                  characterized that
                                                                                                                                                that document?
                                                                                                                                                     document?




                                                                                                    Oo
       to Billy?
  ·6· ·to   Billy?                                                                                              A. · ·You
                                                                                                    ·6· · · · · A.·   You have.
                                                                                                                          have.




                                                                                                    No
  NO




              A. · ·Ithink
  ·7· · · · · A.·        think I| just     told him,
                                    just told     him, essentially,
                                                           essentially, you    you                              Q. · ·Okay.·
                                                                                                    ·7· · · · · Q.·   Okay. And
                                                                                                                             And I| will
                                                                                                                                    will again
                                                                                                                                         again represent
                                                                                                                                               represent to you,
                                                                                                                                                         to you,
        know, it
  ·8· ·know,      it sounds
                      sounds trite      but I| believe
                                 trite but       believe it's  it's true,
                                                                     true, this
                                                                             thisisis                    Mr. Geiman,
                                                                                                    ·8· ·Mr. Geiman, that
                                                                                                                     that thisisa   document that
                                                                                                                          this is a document that we have
                                                                                                                                                  we have




                                                                                                    00
  0




  ·9· ·aaplace
           place of of business.·
                       business. You    You guys
                                               guys can't
                                                        can't act  act like
                                                                         like this
                                                                               this                      received for
                                                                                                    ·9· ·received for the
                                                                                                                      the very
                                                                                                                          very first
                                                                                                                               first time
                                                                                                                                     time this
                                                                                                                                          this morning
                                                                                                                                               morning at
                                                                                                                                                       at 9:30.
                                                                                                                                                          9:30.




                                                                                                    ©
  ©




         here. You
  10· ·here.·     You havehave to to work      together. Just
                                      work together.·            Just aalot      of things
                                                                            lot of   things              Isthisa
                                                                                                    10· ·Is        document that
                                                                                                            this a document that you provided to
                                                                                                                                 you provided to your counsel on
                                                                                                                                                 your counsel on
        just to
  11· ·just    to try
                   try to
                        to diffuse
                            diffuse the the situation.
                                              situation.                                                 or shortly
                                                                                                    11· ·or shortly after
                                                                                                                    after the superior court
                                                                                                                          the superior court action
                                                                                                                                             action was
                                                                                                                                                    was filed?
                                                                                                                                                        filed?




                                                                                                   Boe
                                                                                                   NP
               Q. · ·All
  12· · · · · Q.·       Allright.
                              right.· And And then,
                                                 then, it   it looks
                                                                 looks like,
                                                                           like,                    12· · · · · A.     tisis.
                                                                                                                A.· · ·It
         skipping aa few
  13· ·skipping            few lines
                                  lines down,
                                          down, you you state,state, "Later
                                                                         " Later thatthat day
                                                                                            day                 Q. · ·And
                                                                                                    13· · · · · Q.·   And what isit;
                                                                                                                          what is it; what does the
                                                                                                                                      what does     document
                                                                                                                                                the document
         Ginatold
  14· ·Gina      told me methat        Billy had
                               that Billy       had gotten
                                                       gotten her     her inin aa corner
                                                                                   corner of  of         reflect?
                                                                                                    14· ·reflect?
         her office,
  15· ·her     office, hugged
                          hugged her,  her, andand attempted
                                                     attempted to          to kiss
                                                                               kiss her
                                                                                      her onon      15· · · · · A.     Again, as
                                                                                                                A.· · ·Again, as with
                                                                                                                                 with the prior two
                                                                                                                                      the prior two exhibits
                                                                                                                                                    exhibits it
                                                                                                                                                             it
         thelips."
  16· ·the    lips."· DoesDoesthat         refresh your
                                   that refresh        your recollection
                                                                   recollection as     astoto            was notes
                                                                                                    16· ·was notes that
                                                                                                                   that I| took,
                                                                                                                           took, sort
                                                                                                                                 sort of,
                                                                                                                                      of, contemporaneously
                                                                                                                                          contemporaneously with
                                                                                                                                                            with
         whether she
  17· ·whether         she said
                             said that
                                     that to to you?
                                                 you?                                                    eventsthat
                                                                                                    17· ·events that I| was
                                                                                                                        was concerned
                                                                                                                            concerned about.
                                                                                                                                      about.
  18· · · · · A.        Shedid.
               A.· · ·She      did.· I| reported
                                         reported that that correctly.
                                                                correctly.                                      Q. · ·Why
                                                                                                    18· · · · · Q.·   Why did
                                                                                                                          did you
                                                                                                                              you make
                                                                                                                                  make these
                                                                                                                                       these notes
                                                                                                                                             notesto
                                                                                                                                                   to yourself?
                                                                                                                                                      your self?
               Q. · ·Okay.·
  19· · · · · Q.·       Okay. And   And then,
                                            then, it it says,
                                                          says, "She " She claims
                                                                              claims                19· · · · · A.     Thesamereason.
                                                                                                                A.· · ·The               To make
                                                                                                                           same reason.· To make sure
                                                                                                                                                 surethat,  if I|
                                                                                                                                                      that, if
         that she
  20· ·that     sheturned
                      turned her   her head
                                          head andand was was kissedkissed on  on the
                                                                                    the cheek
                                                                                         cheek           was ever
                                                                                                    20· ·was ever called
                                                                                                                  called to
                                                                                                                         to speak
                                                                                                                            speak before
                                                                                                                                  before the
                                                                                                                                         the board
                                                                                                                                             board of
                                                                                                                                                   of trustees
                                                                                                                                                      trustees
         instead." Do
  21· ·instead."·        Do youyou think
                                      think you        reported that
                                                you reported              that accurately?
                                                                                  accurately?            about anything,
                                                                                                    21· ·about anything, or
                                                                                                                         or if
                                                                                                                            if there
                                                                                                                               there was ever any
                                                                                                                                     was ever any need
                                                                                                                                                  need to
                                                                                                                                                       to
               A. · ·I| believe
  22· · · · · A.·         believel I did.did.                                                            recount what
                                                                                                    22· ·recount what had
                                                                                                                      had happened
                                                                                                                          happened in
                                                                                                                                   in May
                                                                                                                                      May of
                                                                                                                                          of 2018,
                                                                                                                                             2018, that
                                                                                                                                                   that I'd
                                                                                                                                                        I'd have
                                                                                                                                                            have
               Q. · ·And
  23· · · · · Q.·       And then,
                                then, she shealso
                                                also -- -- you
                                                            you also also state,
                                                                             state,                      some ability
                                                                                                    23· ·some ability to
                                                                                                                      to recollect
                                                                                                                         recollect what happened.
                                                                                                                                   what happened.
         " She also told me that Billy said she was 'excited'
  24· ·"She      also    told   me    that    Billy    said      she    was    ‘excited’ and and                Q. · ·And
                                                                                                    24· · · · · Q.·   And any
                                                                                                                          any attorney-client
                                                                                                                              attorney-client communications
                                                                                                                                              communicationsinin

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       ‘aroused’ during
  ·1· ·'aroused'       during the thefight."
                                        fight."· Do  Do you
                                                          you think
                                                                 think you you                           this document,
                                                                                                    ·1· ·this document, Exhibit
                                                                                                                        Exhibit 87?
                                                                                                                                87?
                                                                                                    WDNR




       accurately reported
  ·2· ·accurately        reported that that inin your
                                                   your memo?
                                                           memo?                                    ·2· · · · · A.
                                                                                                                A.· · ·I| was
                                                                                                                          was concerned
                                                                                                                              concerned about
                                                                                                                                        about some
                                                                                                                                              some conversations
                                                                                                                                                   conversations
              A. · ·Ildo.
  ·3· · · · · A.·       do.· I| believe
                                 believe that's
                                            that's what
                                                      what Gina
                                                              Gina told
                                                                      told                               with Kate
                                                                                                    ·3· ·with Kate Shea
                                                                                                                   Shea and
                                                                                                                        and whether
                                                                                                                            whether those implicated
                                                                                                                                    those implicated
       me.
  ·4· ·me.                                                                                               attorney-client communications.·
                                                                                                    ·4· ·attorney-client communications. But
                                                                                                                                          But I| relied
                                                                                                                                                 relied on
                                                                                                                                                        on my
                                                                                                                                                           my
                                                                                                    Ooh




              Q. · ·All
  ·5· · · · · Q.·     Allright.
                            right.· Do Do you      have any
                                            you have       any reason
                                                                  reason to  to                          counsel's advice.
                                                                                                    ·5· ·counsel's advice.
       believe that
  ·6· ·believe     that Gina
                          Gina would
                                   would havehave liedlied toto you
                                                                 you when
                                                                        when she she said
                                                                                      said                      Q. · ·And
                                                                                                    ·6· · · · · Q.·   And we'll
                                                                                                                          we'll get
                                                                                                                                get to
                                                                                                                                    towhat's
                                                                                                                                       what's ever reflected in
                                                                                                                                              ever reflected in
                                                                                                    NO




       any of
  ·7· ·any    of this
                  thisto     you, at
                         to you,    at the
                                        thetime
                                             time she she said
                                                            said it?it?                                  here, which
                                                                                                    ·7· ·here, which I| haven't
                                                                                                                        haven't read
                                                                                                                                read yet.  But other
                                                                                                                                     yet.· But other than
                                                                                                                                                     than those,
                                                                                                                                                          those,
              A. · ·At
  ·8· · · · · A.·     Atthetimeshesaidit,
                          the time she said it, again,   again, I| always
                                                                     aways                               isthere
                                                                                                    ·8· ·is       anything in
                                                                                                            there anything in this
                                                                                                                              this Exhibit
                                                                                                                                   Exhibit 87
                                                                                                                                           87 that
                                                                                                                                              that would reflect
                                                                                                                                                   would reflect
                                                                                                    0




       give the
  ·9· ·give         caveat that
               the caveat     that things
                                     things can
                                              can be be misinterpreted.·
                                                          misinterpreted. But     But                    an attorney-client
                                                                                                    ·9· ·an attorney-client communication?
                                                                                                                            communication?
                                                                                                    ©




        no. I| believe
  10· ·no.·      believe thisthisiswhat       Ginainterpreted
                                   is what Gina       interpreted as    as having
                                                                            having                              A. · ·I| don't
                                                                                                    10· · · · · A.·      don't believe
                                                                                                                               believe so.
                                                                                                                                       so.
                                                                                                   = Oo
                                                                                                   Boe




        happened, yes.
  11· ·happened,        yes.                                                                                    Q. · ·All
                                                                                                    11· · · · · Q.·   Allright.   Thank you.
                                                                                                                          right.· Thank       On page
                                                                                                                                        you.· On page two of
                                                                                                                                                      two of
               Q. · ·And
  12· · · · · Q.·      And she sheliterally        reportsthisto
                                     literally reports         this to you      the
                                                                          you the                        Exhibit 87,
                                                                                                    12· ·Exhibit 87, the
                                                                                                                     the penultimate
                                                                                                                         penultimate paragraph.·
                                                                                                                                     paragraph. You
                                                                                                                                                 You state,
                                                                                                                                                     state," "On
                                                                                                                                                              On
        same day
  13· ·same      day that
                        that itit happens,
                                  happens, correct?
                                                 correct?                                                May 24th
                                                                                                    13· ·May 24th around
                                                                                                                  around three o'clock I| was
                                                                                                                         three o'clock    was returning
                                                                                                                                              returning from
                                                                                                                                                        from the
                                                                                                                                                             the
  14· · · · · A.       That would
               A.· · ·That     would be  be my
                                             my notes,
                                                   notes, yes.
                                                             yes.                                        men'sroom
                                                                                                    14· ·men's      in the
                                                                                                               room in the lobby
                                                                                                                           lobby and
                                                                                                                                 and ran
                                                                                                                                     ran into
                                                                                                                                         into Billy.
                                                                                                                                              Billy.
               Q. · ·So
  15· · · · · Q.·      Soitwould
                            it would be   be pretty
                                              pretty fresh
                                                         fresh in in her
                                                                       her                                             After some
                                                                                                    15· · · · · · · · ·After some pleasantries
                                                                                                                                  pleasantries and
                                                                                                                                               and discussion
                                                                                                                                                   discussion
        memory, wouldn't
  16· ·memory,         wouldn't it?   it?                                                                about negotiations,
                                                                                                    16· ·about negotiations, he
                                                                                                                             heturned  thetalk
                                                                                                                                turned the      to Gina.·
                                                                                                                                           talk to Gina. He
                                                                                                                                                          He
  17· · · · · A.       Yes
               A.· · ·Yes.                                                                               asked how
                                                                                                    17· ·asked how she
                                                                                                                   shewas  doing. I| said
                                                                                                                       was doing.·   said she
                                                                                                                                          shewas  down on
                                                                                                                                              was down on the
                                                                                                                                                          the
               Q. · ·We're
  18· · · · · Q.·      We'regoing going to to get
                                               get toto more
                                                          more of of this
                                                                       this                              Cape but
                                                                                                    18· ·Cape but still
                                                                                                                  till upset.·
                                                                                                                        upset. He
                                                                                                                               He said
                                                                                                                                  said she
                                                                                                                                       she needs
                                                                                                                                           needstime.   He
                                                                                                                                                 time.· He
        document later.·
  19· ·document          later. I| want
                                     want to to get
                                                  get toto one
                                                            one more
                                                                  more document
                                                                            document                     reiterated that
                                                                                                    19· ·reiterated that what happened on
                                                                                                                         what happened on May
                                                                                                                                          May 11 was him
                                                                                                                                                 was him
        before we
  20· ·before            conclude today
                   we conclude         today --  -- before
                                                     before we       suspend.
                                                                we suspend.                              "asserting his
                                                                                                    20· ·"asserting hisauthority,  and that
                                                                                                                        authority, and that she
                                                                                                                                            she was
                                                                                                                                                was not
                                                                                                                                                    not used
                                                                                                                                                        used to
                                                                                                                                                             to
  21                                                                                                     having" --
                                                                                                    21· ·having" -- I| believe
                                                                                                                       believeitit should
                                                                                                                                   should be
                                                                                                                                          be" "to
                                                                                                                                              to answer
                                                                                                                                                  answer to
                                                                                                                                                         to
                     (Exhibit 87,
  22· · · · · · · · ·(Exhibit     87, Notes,
                                        Notes, marked)
                                                   marked)                                               someone," correct?
                                                                                                    22· ·someone," correct?
  23                                                                                                            A. · ·Correct.
                                                                                                    23· · · · · A.·   Correct.
               Q. · ·(By
  24· · · · · Q.·      (By Mr.Mr. Van       Dyck) I'm
                                     Van Dyck)·        I'm showing
                                                              showing you   you nowhow                          Q. · ·He
                                                                                                    24· · · · · Q.·   Hesaid
                                                                                                                         said that Lou gave
                                                                                                                              that Lou gave her
                                                                                                                                            her carte
                                                                                                                                                carte blanche.
                                                                                                                                                      blanche.


                                              O'Brien &
                                              O'Brien & Levine,
                                                         Levine, AA Magna
                                                                    Magna Legal
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luoe Local
Iuoe Local 4
           4 Health
             Health && Welfare
                        Welfare Fund,
                                Fund, et
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       He said
  ·1· ·He said that
               that he
                    he liked
                       liked Gina
                             Gina and
                                  and thought
                                      thought she
                                              she did
                                                  did good
                                                      good                             Q. · ·At
                                                                           ·1· · · · · Q.·   Atthevery
                                                                                                the very top of page
                                                                                                         top of pagetwo  of
                                                                                                                     two of




                                                                           BRE
  BE


       work, and
  ·2· ·work, and would liketo
                 would like to move
                               move forward
                                    forward but
                                            but knew
                                                knew that
                                                     that Gina
                                                          Gina                  Exhibit 87,
                                                                           ·2· ·Exhibit 87, you state, "Kate
                                                                                            you state, " Kate told
                                                                                                              told me
                                                                                                                   methat  Gina did
                                                                                                                      that Gina did not
                                                                                                                                    not




                                                                           WON
  WN




       wasn't ready.·
  ·3· ·wasn't ready. Does
                      Doesthat  refresh your
                           that refresh your memory
                                             memory about
                                                    about aa                    have the
                                                                           ·3· ·have the support
                                                                                         support she
                                                                                                 she thought
                                                                                                     thought she
                                                                                                             she had."·
                                                                                                                 had." What  doesthat
                                                                                                                        What does that
       conver sation you
  ·4· ·conversation  you had
                         had with
                             with Billy
                                  Billy on
                                        on or
                                           or about
                                              about May
                                                    May 24th?
                                                        24th?                   mean?
                                                                           ·4· ·mean?
  A




                                                                           bh
  ·5· · · · · A.     Yes
              A.· · ·Yes.                                                              A. · ·I'm
                                                                           ·5· · · · · A.·   I'm not
                                                                                                 not completely
                                                                                                     completely certain.·
                                                                                                                certain. Though,
                                                                                                                          Though, by
                                                                                                                                  by
  UO




              Q. · ·Besides
  ·6· · · · · Q.·   Besideswhat's  contained in
                            what's contained in that
                                                that                            context, I| imagine
                                                                           ·6· ·context,    imagine it
                                                                                                    it means
                                                                                                       means that
                                                                                                             that Gina
                                                                                                                  Gina felt
                                                                                                                       felt --
                                                                                                                            -- and
                                                                                                                               and I|
  NO




                                                                           NO
       paragraph, do
  ·7· ·paragraph, do you
                     you recall
                         recall anything
                                anything else
                                         else you
                                              you and
                                                  and I|                        don't know
                                                                           ·7· ·don't know why
                                                                                           why Kate
                                                                                               Kate knew
                                                                                                    knew this.  Perhaps, she
                                                                                                         this.· Perhaps, she had
                                                                                                                             had aa
       discussed on
  ·8· ·discussed on May
                    May 24th
                        24th concerning
                             concerning Gina?
                                        Gina?                                   conversation with
                                                                           ·8· ·conversation      Gina about
                                                                                             with Gina about it,
                                                                                                             it, that
                                                                                                                 that Gina
                                                                                                                      Gina had
                                                                                                                           had the
                                                                                                                               the
  00




                                                                           00
  ·9· · · · · A.     Yes. It
              A.· · ·Yes.· It appears,
                              appears, to
                                       to me
                                          me anyway,
                                             anyway, that
                                                     that the
                                                          the                   backing and
                                                                           ·9· ·backing and support
                                                                                            support of
                                                                                                    of trusteesin
                                                                                                       trustees in aa general
                                                                                                                      general sense.
                                                                                                                              sense.
  ©




                                                                           ©
       second --
  10· ·second -- I'm
                 I'm sorry
                     sorry --
                           -- the
                              the ultimate
                                  ultimate paragraph
                                           paragraph is
                                                     is the
                                                        the                     That they
                                                                           10· ·That they would side with
                                                                                          would side with her
                                                                                                          her over
                                                                                                              over Bill
                                                                                                                   Bill in
                                                                                                                        in some
                                                                                                                           some




                                                                          = Oo
                                                                          rl
       continuation of
  11· ·continuation of the
                       the conversation
                           conversation that
                                        that I'd
                                             I'd had
                                                 had with
                                                     with                       circumstance. But
                                                                           11· ·circumstance.· But I| really
                                                                                                      realy don't
                                                                                                             don't know
                                                                                                                   know where
                                                                                                                        where that
                                                                                                                              that came
                                                                                                                                   came
       Mr. McLaughlin
  12· ·Mr. McLaughlin that
                      that day.·
                           day. So
                                 So yeah,
                                    yeah, that
                                          that would
                                               would also
                                                     also be
                                                          be                    from, per
                                                                           12· ·from, per se.
                                                                                          se.
       relevant.
  13· ·relevant.                                                                       Q. · ·Well,
                                                                           13· · · · · Q.·   Wadll, in
                                                                                                    in the
                                                                                                       thebottom  of first
                                                                                                           bottom of       page of
                                                                                                                     first page of
              Q. · ·And
  14· · · · · Q.·   Andinthelast    paragraph, in
                        in the last paragraph, in your
                                                  your e-mail
                                                       e-mail                   Exhibit 87,
                                                                           14· ·Exhibit 87, and
                                                                                            and I'm
                                                                                                I'm sorry
                                                                                                    sorry to
                                                                                                          to be
                                                                                                             be skipping
                                                                                                                skipping around
                                                                                                                         around here.
                                                                                                                                here.
       to yourself,
  15· ·to yourself, Billy
                    Billy apparently
                          apparently says
                                     saysthat  he was
                                          that he was" "playful
                                                        playful                        A. · ·That's
                                                                           15· · · · · A.·   That'sokay.
                                                                                                    okay.
       and flirtatious
  16· ·and flirtatious and
                       and that
                           that was different than
                                was different than sexual
                                                   sexual                              Q. · ·You
                                                                           16· · · · · Q.·   You state,
                                                                                                 state, "Kate
                                                                                                        "Katetold  me her
                                                                                                              told me her concern
                                                                                                                          concern was
                                                                                                                                  was
       harassment." Do
  17· ·harassment."· Do you
                        you recall
                            recall him
                                   him saying
                                       saying that?
                                              that?                             that, if
                                                                           17· ·that, if Gina's
                                                                                         Gina's accusations
                                                                                                accusations were
                                                                                                            were not
                                                                                                                 not tamped
                                                                                                                     tamped down,
                                                                                                                            down, given
                                                                                                                                  given
              A. · ·I| don't
  18· · · · · A.·      don't specifically
                             specifically recall
                                          recall it.·
                                                 it. But
                                                      But |I                    that they
                                                                           18· ·that they were not actionable,
                                                                                          were not actionable, Billy
                                                                                                               Billy would
                                                                                                                     would seek
                                                                                                                           seek to
                                                                                                                                to have
                                                                                                                                   have
       trust my
  19· ·trust my notes.
                notes.                                                          her fired
                                                                           19· ·her fired for
                                                                                          for insubordination."·
                                                                                              insubordination." Do
                                                                                                                 Do you
                                                                                                                    you recall
                                                                                                                        recall having
                                                                                                                               having
              Q. · ·And
  20· · · · · Q.·   And then
                        then he
                             he says, "He said
                                says, "He      he had
                                          said he had never
                                                      never                     that conversation
                                                                           20· ·that conversation with Kate?
                                                                                                  with Kate?
       touched anyone
  21· ·touched anyoneinin the
                          the office
                              office or
                                     or asked
                                        asked them
                                              them out."·
                                                   out." Do
                                                          Do                           A. · ·Ildo.
                                                                           21· · · · · A.·      do.
       you recall
  22· ·you recall that?
                  that?                                                                Q. · ·And
                                                                           22· · · · · Q.·   And do
                                                                                                 doyou  know what
                                                                                                    you know what she
                                                                                                                  she meant
                                                                                                                      meant by
                                                                                                                            by "tamped
                                                                                                                               "tamped
              A. · ·Again,
  23· · · · · A.·   Again, I| trust
                              trust that
                                    that my
                                         my recollection
                                            recollection is
                                                         is                     down"?
                                                                           23· ·down"?
       correct.
  24· ·correct.                                                                        A. · ·I| think
                                                                           24· · · · · A.·      think itit was
                                                                                                           was an
                                                                                                               an inartful
                                                                                                                  inartful way to express
                                                                                                                           way to express

                                                               Page 202
                                                               Page 202                                                               Page 204
                                                                                                                                      Page 204
              Q. · ·And
  ·1· · · · · Q.·   And then,
                        then, he
                              he states, " He compared
                                 states, "He  compared himself
                                                       himself                  what she
                                                                           ·1· ·what she was
                                                                                         was trying
                                                                                             trying to
                                                                                                    to express,
                                                                                                       express, which was that,
                                                                                                                which was that, you
                                                                                                                                you
                                                                           BP




       to Lou,
  ·2· ·to Lou, who had, apparently,
               who had, apparently, dated
                                    dated a
                                          a number
                                            number of
                                                   of women
                                                      women in
                                                            in                  know, based
                                                                           ·2· ·know, based on
                                                                                            on the
                                                                                               the totality of what
                                                                                                   totality of      Gina had
                                                                                                               what Gina had presented
                                                                                                                             presented
                                                                           WN




       the funds
  ·3· ·the funds office.·
                 office. He
                          He said,
                             said, that,
                                   that, if
                                         if asked,
                                            asked, none
                                                   none of
                                                        of                      to her,
                                                                           ·3· ·to her, she
                                                                                        she did
                                                                                            did not
                                                                                                not feel
                                                                                                    feel that Gina's sexual
                                                                                                         that Gina's sexual harassment
                                                                                                                            harassment
       women in
             in this
                this office
                     office would
                            would claim
                                  claim his
                                        his behavior
                                            behavior to
                                                     to be
                                                        be                      complaint rose
                                                                                          rose to
                                                                                               to the
                                                                                                  the level
                                                                                                      level of
                                                                                                            of severe
                                                                                                               severe and
                                                                                                                      and pervasive,
                                                                                                                          pervasive,
                                                                           dA




  ·4· ·women                                                               ·4· ·complaint
       anything more
  ·5· ·anything more than
                     than funny
                          funny or
                                or flirtatious."·
                                   flirtatious." Do
                                                  Do you
                                                     you                        such that
                                                                           ·5· ·such that she
                                                                                          she would be obligated
                                                                                              would be obligated to
                                                                                                                 to take
                                                                                                                    take any
                                                                                                                         any sort
                                                                                                                             sort of
                                                                                                                                  of
                                                                           Uo




       recall him
  ·6· ·recall him saying
                  saying that
                         that to
                              to you?
                                 you?                                           action or
                                                                           ·6· ·action or investigate
                                                                                          investigate --
                                                                                                      -- well,
                                                                                                         well, perhaps,
                                                                                                               perhaps, she
                                                                                                                        she felt
                                                                                                                            felt she
                                                                                                                                 she
                                                                           NO




              A. · ·Again,
  ·7· · · · · A.·   Again, trusting
                           trusting my
                                    my notes.
                                       notes.                                   needed to
                                                                           ·7· ·needed to investigate.·
                                                                                          investigate. But
                                                                                                        But that
                                                                                                            that she
                                                                                                                 she would not need
                                                                                                                     would not need to
                                                                                                                                    to
              Q. · ·Do
  ·8· · · · · Q.·   Doyou  think he
                       you think hedid?
                                    did?                                        take action.
                                                                           ·8· ·take action.
                                                                           00




              A. · ·If
  ·9· · · · · A.·   If I wrote
                         wroteit,it, I'm
                                     I'm sure
                                         sure he
                                              he did.
                                                 did.                                         And I| think
                                                                           ·9· · · · · · · · ·And    think the
                                                                                                           the concern
                                                                                                               concern then
                                                                                                                       then became
                                                                                                                            became one
                                                                                                                                   one
                                                                           ©




              Q. · ·And
  10· · · · · Q.·   And then,
                        then, finally
                              finally he
                                      he says,
                                         says, "He
                                               "He said
                                                   said he
                                                        he                      of how
                                                                           10· ·of how are
                                                                                       are Gina
                                                                                           Gina and
                                                                                                and Bill
                                                                                                    Bill going
                                                                                                         going to be able
                                                                                                               to be able to
                                                                                                                          to continue
                                                                                                                             continue
                                                                          N PO
                                                                          BR




       could have
  11· ·could have had
                  had Gina
                      Ginafired.    Heknew
                            fired.· He      that he
                                       knew that he had
                                                    had                         to work
                                                                           11· ·to      together, and
                                                                                   work together, and what can we
                                                                                                      what can    do to
                                                                                                               we do to fix what has
                                                                                                                        fix what has
       Brian McDonald
  12· ·Brian McDonald and
                      and Michael
                          Michael Foley
                                  Foley on
                                        on his
                                           hisside.   But that
                                               side.· But that                  gone awry.
                                                                           12· ·gone awry.
       he did
  13· ·he did not
              not want to go
                  want to go there."·
                             there." Do
                                      Do you
                                         you recall
                                             recall him
                                                    him saying
                                                        saying                         Q. · ·We're
                                                                           13· · · · · Q.·   We'reamost   donefor
                                                                                                   almost done for today.  Bear with
                                                                                                                   today.· Bear with
       that to
  14· ·that to you?
               you?                                                             me.
                                                                           14· ·me.
  15· · · · · A.
              A.· · ·Ildo.
                       do.                                                             A. · ·That's
                                                                           15· · · · · A.·   That'sal   right.
                                                                                                    all right.
              Q. · ·And
  16· · · · · Q.·   And did
                        did he
                            he say
                               say why
                                   why he
                                       he thought
                                          thought he
                                                  he could
                                                     could                             Q. · ·You
                                                                           16· · · · · Q.·   You state
                                                                                                 stateatat the
                                                                                                           the---- again,
                                                                                                                   again, at
                                                                                                                          at the
                                                                                                                             thetop  of
                                                                                                                                 top of
       have Gina
  17· ·have Gina fired?
                 fired?                                                         page two
                                                                           17· ·page two of
                                                                                         of Exhibit
                                                                                            Exhibit 87,
                                                                                                    87," "In
                                                                                                           In my
                                                                                                              my mind,
                                                                                                                 mind, Kate
                                                                                                                       Kate had
                                                                                                                            had given
                                                                                                                                given her
                                                                                                                                      her
  18· · · · · A.
              A.· · ·I| think
                        think he
                              he was
                                 was under
                                     under the
                                           the belief
                                               belief that,
                                                      that,                     opinion that
                                                                           18· ·opinion that there
                                                                                             therewas  no liability
                                                                                                   was no liability as
                                                                                                                    asaa result
                                                                                                                         result of
                                                                                                                                of
       frankly, I| think
  19· ·frankly,    think may
                         may have
                             have been
                                  been mistaken,
                                       mistaken, that
                                                 that he
                                                      he would
                                                         would                  Gina'sconcerns,"
                                                                           19· ·Gina's            correct?
                                                                                       concerns," correct?
       only need
  20· ·only need one
                 one employer
                     employer trustee
                              trustee to
                                      to vote
                                         vote to
                                              to terminate
                                                 terminate                             A. · ·Correct.
                                                                           20· · · · · A.·   Correct.
       Ging, if
  21· ·Gina, if he,
                he, in
                    in fact,
                       fact, wanted to terminate
                             wanted to terminate Gina.
                                                 Gina. I|                              Q. · ·Did
                                                                           21· · · · · Q.·   Did you
                                                                                                 you have
                                                                                                     have an
                                                                                                          an opinion,
                                                                                                             opinion, one
                                                                                                                      one way
                                                                                                                          way or
                                                                                                                              or the
                                                                                                                                 the
       think he
  22· ·think he was
                was using
                    using itit an
                               an example
                                  example of
                                          of what
                                             what he
                                                  he felt
                                                     felt like
                                                          like                  other, as
                                                                           22· ·other, astoto whether
                                                                                              whether there might be
                                                                                                      there might be liability
                                                                                                                     liability for the
                                                                                                                               for the
       he had
  23· ·he had the
              the ability
                  ability to do. But
                          to do.· But was using it
                                      was using it to
                                                   to point
                                                      point                     funds at
                                                                           23· ·funds at this
                                                                                         thistime?
                                                                                              time?
       out that
  24· ·out that he
                he did
                   did not
                       not want
                           want to
                                to do
                                   do that.
                                      that.                                            A. · ·I| wasconcerned
                                                                           24· · · · · A.·                    about it.·
                                                                                                was concerned about it. And
                                                                                                                         And I| was
                                                                                                                                was


                                        O'Brien &
                                        O'Brien & Levine,
                                                   Levine, AA Magna
                                                              Magna Legal
                                                                     Legal Services
                                                                           Services Company
                                                                                     Company                                     Pages 201–204
                                                                                                                                 Pages 201-204
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                                           888.825.3376    production@court-reporting.com                                                        YVer1f
           Case 1:21-cv-10163-FDS Document 64 Filed 12/13/22 Page 102 of 271
Ginamarie Alongi,
Ginamarie   Along, et
                    et al.
                       al. vs
                           vs                                          Gregory Geiman
                                                                       Gregory   Geiman
luoe Local
Iuoe Local 44 Health
              Health && Welfare
                         Welfare Fund,
                                 Fund, et
                                       et al.
                                           al.                            June 13,
                                                                          June  13, 2022
                                                                                     2022
                                          Page 205
                                          Page 205                          Page 207
                                                                            Page   207
       definitely of
  ·1· ·definitely      of the   mind that,
                           the mind     that, ifif what
                                                   what Gina Gina reported
                                                                       reported withwith                                    ERRATA SHEET
                                                                                                  ·1· · · · · · · · · · · · ERRATA SHEET




                                                                                                  PP
       WDNR


       regards to
  ·2· ·regards      to April    20th and
                        April 20th     and MayMay 1st 1st were        accurate, that
                                                            were accurate,          that                     DEPONENT'S ERRATA
                                                                                                  ·2· · · · ·DEPONENT'S ERRATA &
                                                                                                                               & SIGNATURE
                                                                                                                                 SIGNATURE INSTRUCTIONS
                                                                                                                                           INSTRUCTIONS




                                                                                                  WN
       those were,
  ·3· ·those     were, certainly,
                          certainly, instances
                                        instances that, that, ifif I| was
                                                                      wasinin my my               ·3
  NO




       employment discrimination
  ·4· ·employment          discrimination classes classes in  in law
                                                                   law school,
                                                                          school, would
                                                                                      would                     ERRATA SHEET
                                                                                                  ·4· · · · · · ERRATA SHEET DISTRIBUTION
                                                                                                                             DISTRIBUTION INFORMATION
                                                                                                                                          INFORMATION




                                                                                                  bh
   abr




       be examples
  ·5· ·be   examples of    of sexual
                               sexual harassment.
                                         harassment.                                                         DEPONENT'S ERRATA
                                                                                                  ·5· · · · ·DEPONENT'S ERRATA &
                                                                                                                               & SIGNATURE
                                                                                                                                 SIGNATURE INSTRUCTIONS
                                                                                                                                           INSTRUCTIONS




                                                                                                  uO
                     Whether or
  ·6· · · · · · · · ·Whether      or not
                                     not they
                                           they were         sufficiently
                                                   were sufficiently                                   ‘The original
                                                                                                  ·6· ··The original of
                                                                                                                     of the Errata Sheet
                                                                                                                        the Errata Sheet has
                                                                                                                                         has been
                                                                                                                                             been delivered
                                                                                                                                                  delivered




                                                                                                  Oo
       severe and and pervasive,
                         pervasive, or  or whether
                                            whether the   the fact
                                                                 fact that    what                     to, Jennifer
                                                                                                           Jennifer L.
                                                                                                                    L. Markowski,
                                                                                                                       Markowski, Esquire.·
                                                                                                                                  Esquire. When
                                                                                                                                            When the
                                                                                                                                                 the Errata
                                                                                                                                                     Errata




                                                                                                  NN
  ·7· ·severe                                                           that what                 ·7· ·to,

       Gina was        reporting, as as I| understood
                                           understood it,      it, was     not things
                                                                                things                 Sheet has
                                                                                                  ·8· ·Sheet has been
                                                                                                                 been completed
                                                                                                                      completed by
                                                                                                                                by the
                                                                                                                                   the deponent
                                                                                                                                       deponent and
                                                                                                                                                and signed,
                                                                                                                                                    signed, aa




                                                                                                  00
  ·8· ·Gina     was reporting,                                      was not
   9 just things that happened to her but to a number of
  ·9· ·just   things    that  happened       to   her   but   to   a  number      of                   copy thereof
                                                                                                  ·9· ·copy thereof should
                                                                                                                    should be
                                                                                                                           be delivered
                                                                                                                              delivered to each party
                                                                                                                                        to each party of
                                                                                                                                                      of




                                                                                                  ©
  10 ·different
  10·   different employees.·
                       employees. I| did  did notnot feel
                                                       feel equipped
                                                              equipped to     to make
                                                                                  makeaa               record and
                                                                                                  10· ·record and the
                                                                                                                  the ORIGINAL
                                                                                                                      ORIGINAL forwarded
                                                                                                                               forwarded to
                                                                                                                                         to




                                                                                                   O
                                                                                                 Rp
  11 ·determination
  11·   determination as          to whether
                              as to  whether there there was         liability or
                                                            was liability        or not.
                                                                                      not.             Timothy P.
                                                                                                  11· ·Timothy P. Van
                                                                                                                  Van Dyck,
                                                                                                                      Dyck, Esquire,
                                                                                                                            Esquire, to
                                                                                                                                     to whom
                                                                                                                                        whom the
                                                                                                                                             the original
                                                                                                                                                 original




                                                                                                   PB
  12 ·Was
        Was| I concerned,
                   concerned, yes.                                                                     deposition transcript
                                                                                                  12· ·deposition transcript was delivered.
                                                                                                                             was delivered.




                                                                                                   NM
  12·                              yes.




                                                                                                 RR
  13 · · · · · · · ·MR.
                      MR. VANVAN DYCK:·
                                     DYCK: Why      Why don'tdon't we       suspend here.here.




                                                                                                   WW
  13·                                                                  we suspend                 13

  14 · · · · Thank
  14·          Thank you  you very
                                very much
                                       much for for your
                                                      your timetime today.
                                                                        today.                                        INSTRUCTIONS TO
                                                                                                  14· · · · · · · · · INSTRUCTIONS    DEPONENT
                                                                                                                                   TO DEPONENT




                                                                                                   A
                                                                                                 BR
  15 · · · · · · · ·THE
                      THE WITNESS:·
                             WITNESS: You're     You're welcome.                                              After reading
                                                                                                                    reading this
                                                                                                                            this volume
                                                                                                                                 volume of
                                                                                                                                        of your deposition,




                                                                                                   OO
  15·                                                        welcome.                             15· · · · · After                        your deposition,

  16 · · · · · · · ·THE
                      THE COURT
                              COURT REPORTER:·
                                           REPORTER: May           May I| just       ask               please indicate
                                                                                                              indicate any
                                                                                                                       any corrections
                                                                                                                           corrections or
                                                                                                                                       or changes
                                                                                                                                          changes to
                                                                                                                                                  to your
                                                                                                                                                     your




                                                                                                   OO
  16·                                                                        just ask             16· ·please




                                                                                                 RB
  17 · · · · counsel,
               counsel, samesame orders
                                    orders as  as last
                                                   last time?
                                                          time?                                        testimony and
                                                                                                                 and the
                                                                                                                     the reasons
                                                                                                                         reasons therefor on the Errata Sheet
                                                                                                                                                        Sheet




                                                                                                   NN
  17·                                                                                             17· ·testimony                 therefor on the Errata



                                                                                                 RP
                                                                                                   00
  18 · · · · · · · ·MR.
  18·                 MR. TOSTI:·
                             TOSTI: Yeah.·Yeah. Can  Can we  we get get aarough
                                                                            rough                      supplied to
                                                                                                  18· ·supplied to you
                                                                                                                   you and
                                                                                                                       and sign
                                                                                                                           sign it.
                                                                                                                                it. DO
                                                                                                                                    DO NOT
                                                                                                                                       NOT make
                                                                                                                                           make marks
                                                                                                                                                marks or
                                                                                                                                                      or


                                                                                                 EB
  19 · · · · draft?
               draft?                                                                                  notations on
                                                                                                                 on the
                                                                                                                    the transcript
                                                                                                                        transcript volume
                                                                                                                                   volume itself.·
                                                                                                                                          itself.- Add
                                                                                                                                                   Add
                                                                                                   ©W
  19·                                                                                             19· ·notations
                                                                                                 NNR
  20 · · · · · · · ·THE
  20·                 THE COURT
                              COURT REPORTER:·
                                           REPORTER: Yes.          Yes.                                additional sheets,
                                                                                                  20· ·additional
                                                                                                   O              sheets, if
                                                                                                                          if necessary.·
                                                                                                                             necessary. Please
                                                                                                                                         Please refer
                                                                                                                                                refer to
                                                                                                                                                      to the
                                                                                                                                                         the

  21 · · · · · · · ·MR.
                      MR. KEENAN:·
                             KEENAN: We        We need
                                                     need aarough           draft as as                above instructions
                                                                                                              instructions for Errata Sheet
                                                                                                                                      Sheet distribution
                                                                                                                                            distribution
                                                                                                   BP


  21·                                                             rough draft                     21· ·above               for Errata

  22 · · · · well.
  22·          well.                                                                                   information.
                                                                                                  22· ·information.
                                                                                                   WN
                                                                                                 NNR




  23 · · · · · · · ·THE
  23·                 THE COURT
                              COURT REPORTER:·
                                           REPORTER:               So    send itit to
                                                                   So send         to             23

  24 · · · · Mr.
  24·          Mr. Gilligan's
                      Gilligan's office?
                                    office?                                                       24
                                                                                                   A




                                                                            Page 206
                                                                            Page 206                                                                               Page 208
                                                                                                                                                                   Page 208

  ·1·        MR. GILLIGAN:·
   1 · · · · MR. GILLIGAN: Yeah,
                            Yeah, that's
                                  that's fine.
                                         fine.                                                         PLEASE ATTACH
                                                                                                  ·1· ·PLEASE ATTACH TO
                                                                                                                     TO THE
                                                                                                                        THE DEPOSITION
                                                                                                                            DEPOSITION OF:·
                                                                                                                                       OF: GREGORY
                                                                                                                                            GREGORY GEIMAN
                                                                                                                                                    GEIMAN
                                                                                                  PP




   2 · · · · MS.
  ·2·        MS. MARKOWSKI:·
                 MARKOWSKI: I'd
                             I'd like
                                 like aarough  draft as
                                         rough draft as                                                CASE:- Ginamarie
                                                                                                  ·2· ·CASE:· Ginamarie Alongi
                                                                                                                        Alongi and
                                                                                                                               and Rosemarie
                                                                                                                                   Rosemarie Alongi
                                                                                                                                             Alongi vs. [IUOCE
                                                                                                                                                    vs. IUOE
                                                                                                  WN




  ·3· well and
   3 ·well and the
               the same
                   same order.
                        order.                                                                         Local 4
                                                                                                  ·3· ·Local 4 Health
                                                                                                               Health &
                                                                                                                      & Welfare Fund, et
                                                                                                                        Welfare Fund, et al
                                                                                                                                         a

  ·44                                                                                                  DATE TAKEN:·
                                                                                                  ·4· ·DATE TAKEN: ·June
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  ·66                                                                                                  Please refer
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  17                                                                                                   deposition, and
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  18                                                                                                   noted above,
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  19                                                                                                   accurate record
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                                                                                                                               of ____________,, 2022.
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  22                                                                                              22
  23                                                                                              23· · · · · · · · · · · · · · ·_______________________
  24                                                                                                                             GREGORY GEIMAN
                                                                                                  24· · · · · · · · · · · · · · ·GREGORY GEIMAN




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                                              O'Brien & Levine,
                                                         Levine, AA Magna
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Ginamarie  Alongi, et
                   et al.
                      al. vs
                          vs                                           Gregory Geiman
                                                                       Gregory  Geiman
luoe Local
Iuoe Local 4
           4 Health
             Health && Welfare
                        Welfare Fund,
                                Fund, et
                                      et al.
                                         al.                              June 13,
                                                                          June 13, 2022
                                                                                   2022
                                                                                              Page 209
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    1 ·COMMONWEALTH
  ·1·   COMMONWEALTH OF                       OF MASSACHUSETTS·
                                                     MASSACHUSETTS · · · · · NORFOLK,                NORFOLK, SS.
                                                                                                              SS.
  ·22
    3 · · · · I,
  ·3·           I, BRENDA
                    BRENDA M.         M. GINISI,
                                           GINISI, Court  Court Reporter
                                                                    Reporter and    and Notary
                                                                                            Notary
       Public duly
  · · ·Public       duly commissioned
                            commissioned and         and qualified
                                                            qualified in    in and
                                                                                and for for the
                                                                                             the
   4 ·Commonwealth
  ·4·   Commonwealth of              of Massachusetts,
                                         Massachusetts, do         do hereby
                                                                        hereby certify
                                                                                    certify thatthat
       there came
  · · ·there     came before
                           before me   me onon the
                                                 the 13th
                                                        13th day day ofof June,
                                                                            June, 2022,
                                                                                      2022, at  at
    5 ·10:22
  ·5·   10:22 a.m., am., the the person
                                   person hereinbefore
                                               hereinbefore named,  named,
       GREGORY GEIMAN,
  · · ·GREGORY                GEIMAN, who      who provided
                                                        provided satisfactory
                                                                       satisfactory evidenceevidence of of
    6 ·identification
  ·6·   identification as       as prescribed
                                     prescribed by     by Executive
                                                             Executive Order  Order 455  455
       (03-13) issued
  · · ·(03-13)        issued by  by the
                                      the Governor
                                           Governor of        of the   Commonwealth of
                                                                  the Commonwealth                 of
    7 ·Massachusetts,
  ·7·   Massachusetts, was        was by  by meme dulyduly sworn
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  · · ·truth     and nothing
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    8 ·concerning
  ·8·   concerning the       the matters
                                  mattersinin controversy
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                                                                                    cause;
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                            thereupon examined
                                             examined upon     upon hishis oath,
                                                                              oath, andand hishis
    9 ·examination
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       and that
  · · ·and    that this
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                                    true record        of the
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  10 ·by
  10·    by the       witnesstoto the
              the witness              the best
                                             best of of my
                                                         my ability.
                                                                ability.
  · · · · · · I| further      certify that
                  further certify        that I| amam neither
                                                          neither attorney
                                                                      attorney or    or
  11·1 ·counsel
         counsel for,   for, nor
                               nor related
                                      related to to oror employed
                                                          employed by,      by, any
                                                                                  any
       of the
  · · ·of  the parties
                   parties to  to the
                                  the action
                                         action in  in which
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                                                                      relative or  or
       employee of
  · · ·employee          of any
                              any attorney
                                     attorney or   or counsel
                                                        counsel employed
                                                                     employed by        by the
                                                                                            the
  13·3 ·parties
         parties heretohereto or or financially
                                      financially interested
                                                         interested in    in the    action.
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  14
  15· · · · · · · · ·My  My Commission
                                Commission Expires:·  Expires: ·June  June 2,  2, 2028
                                                                                   2028

                     Brenda Ginisi
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  17· · · · · · · · ·_________________________
                         BRENDA M.
  18· · · · · · · · ·BRENDA               M. GINISI,
                                                GINISI, CR      CR
                       Notary Public
  · · · · · · · · · ·Notary        Public
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                                                        O'Brien &
                                                        O'Brien & Levine,
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                       In the
                       In the Matter
                              Matter of:
                                     of:

                 Ginamarie Alongi,
                 Ginamarie Along, et
                                   et al.
                                      al. vs
                                          vs
       luoe Local
       Iuoe Local 4
                  4 Health
                    Health &
                           & Welfare
                             Welfare Fund,
                                     Fund, et
                                           et al.
                                              al.




                    Gregory Geiman,
                    Gregory Geiman, Esq.
                                    Esq.
                          July 07,
                          July 07, 2022
                                   2022


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Ginamarie   Alongi, et
                    et al.
                       al. vs
                           vs                                     Gregory Geiman,
                                                                  Gregory Geiman, Esq.
                                                                                    Esq.
luoe Local
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              Health && Welfare
                         Welfare Fund,
                                 Fund, et
                                       et al.
                                          al.                             July 07,
                                                                          July 07, 2022
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                    COMMONWEALTH OF
  ·1· · · · · · · · COMMONWEALTH OF MASSACHUSETTS
                                    MASSACHUSETTS                                           APPEARANCES (Continued):
                                                                                         1 ·APPEARANCES
                                                                                        ·1·             (Continued):
       Norfolk, ss.·
  ·2· ·Norfolk, ss. · · · · · · ·Superior
                                 Superior Court
                                          Court                                         ·22
                                  Civil Action
  ·3· · · · · · · · · · · · · · · Civil Action No.
                                               No. 2182CV00125
                                                   2182CVv00125                             Representing the
                                                                                         3 ·Representing
                                                                                        ·3·              the Defendants:
                                                                                                             Defendants:
       FE —
  ·4· ·**************************************************                                4 · · · ·O'DONOGHUE
                                                                                        ·4·       O'DONOGHUE &
                                                                                                             & O'DONOGHUE
                                                                                                               O'DONOGHUE LLP
                                                                                                                          LLP
       GINAMARIE ALONGI
  ·5· ·GINAMARIE ALONGI AND
                        AND ROSEMARIE
                             ROSEMARIE ALONGI,·
                                       ALONG, · · · · ·*                                ·5·       5301 Wisconsin
                                                                                         5 · · · ·5301 Wisconsin Avenue, NW, Suite
                                                                                                                 Avenue, NW, Suite 800
                                                                                                                                   800

         Plaintiffs · · · · · · · · · · · · · · · · · ·*
  ·6· · ·Plaintiffs·                                   *                                ·6·       Washington, DC
                                                                                         6 · · · ·Washington, DC 20015
                                                                                                                 20015

         vs. · · · · · · · · · · · · · · · · · · · · · **
  ·7· · ·vs.·                                                                           ·7·       BY: DANIEL
                                                                                         7 · · · ·BY:· DANIEL KEENAN,
                                                                                                              KEENAN, ESQ.
                                                                                                                      ESQ.

       IUOE LOCAL
  ·8· ·IUOE LOCAL 4
                  4 HEALTH
                    HEALTH &
                           & WELFARE
                             WELFARE FUND;
                                     FUND; IUOE
                                           IUOE LOCAL
                                                LOCAL 4
                                                      4 *
                                                        *                               ·8·       (202) 362-0041
                                                                                         8 · · · ·(202) 362-0041
       PENSION FUND;
  ·9· ·PENSION FUND; IUOE
                     IUOE LOCAL
                          LOCAL 44 ANNUITY
                                   ANNUITY &
                                           & SAVINGS·
                                             SAVINGS · ·**                                        E-mail: cgilligan@odonoghuelaw.com
                                                                                         9 · · · ·E-mail:·
                                                                                        ·9·                cgilligan@odonoghuelaw.com
       FUND; HOISTING
  10· ·FUND; HOISTING AND
                      AND PORTABLE
                          PORTABLE ENGINEERS
                                   ENGINEERSLOCAL  4 ·*
                                             LOCAL 4· *                                 10
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  11· ·APPRENTICESHIP & TRAINING
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                                                                                                Attendance:· Rosemarie Alongi
       MANAGEMENT COOPERATION
  12· ·MANAGEMENT COOPERATION TRUST;
                              TRUST; AND
                                     AND WILLIAM
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                                                 D. · ·*                                                     Gina Marie
                                                                                        12· · · · · · · · · ·Gina Marie Alongi
                                                                                                                        Alongi
       MCLAUGHIAN, INDIVIDUALLY
  13· ·MCLAUGHIAN, INDIVIDUALLY AND
                                AND IN
                                    IN HIS
                                       HISCAPACITY
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       AS CHAIRMAN
  14· ·AS CHAIRMAN OF
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                          BOARDS OF
                                 OF TRUSTEES,
                                    TRUSTEES,· · · · · ·**                              14
         Defendants · · · · · · · · · · · · · · · · · ·*
  15· · ·Defendants·                                   *                                15
       Sek RR
  16· ·**************************************************                               16
                DEPOSITION OF:·
  17· · · · · · DEPOSITION OF: GREGORY
                                GREGORY GEIMAN,
                                        GEIMAN, ESQ.
                                                ESQ.                                    17
                        BOWDITCH &
  18· · · · · · · · · · BOWDITCH & DEWEY,
                                   DEWEY, LLP
                                          LLP                                           18
                       200 Crossing
  19· · · · · · · · · ·200 Crossing Boulevard
                                    Boulevard                                           19
                      Framingham, Massachusetts
  20· · · · · · · · · Framingham, Massachusetts                                         20
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  21· · · · · · · · · July 7,2022   10:10 a.m.
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  22· · · · · · · · · · · · · Volume                                                    22
                         Kristen M.
  23· · · · · · · · · · ·Kristen M. Edwards
                                    Edwards                                             23
                           Court Reporter
  24· · · · · · · · · · · ·Court Reporter                                               24


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  ·1· ·APPEARANCES:                                                                     ·1· · · · · · · · · · · · · I N D E X
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       Representing the
  ·3· ·Representing the Plaintiffs:
                        Plaintiffs:                                                          WITNESS: · · · · · · · · · · · · ·GREGORY
                                                                                        ·3· ·WITNESS:·                         GREGORY GEIMAN,
                                                                                                                                       GEIMAN, ESQ.
                                                                                                                                               ESQ.

             BOWDITCH &
  ·4· · · · ·BOWDITCH & DEWEY,
                        DEWEY, LLP
                               LLP                                                      ·4
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                          Boulevard, Suite
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             Framingham, MA
  ·6· · · · ·Framingham, MA 01702
                            01702                                                            Mr. Van
                                                                                        ·6· ·Mr. Van Dyck·
                                                                                                     Dyck · · · · · · · · · · · · · · · · · · · ·5
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             BY: TIMOTHY
                  TIMOTHY P.
                          P. VAN
                             VAN DYCK,
                                 DYCK, ESQ.
                                       ESQ.
                                                                                        NN




  ·7· · · · ·BY:·                                                                       ·7
                  JACOB A.
  ·8· · · · · · · JACOB    TOSTI, ESQ.
                        A. TOSTI, ESQ.                                                  ·8
                                                                                        00




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  ·9· · · · ·(617) 757-6537 fax
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  10· · · · ·E-mail:· tvandyck@bowditch.com                                                  Exhibit 121,
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  16· · · · ·BY:· JENNIFER L.
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  17· · · · · · · CHRISTOPHER REDD, ESQ.
                                    ESQ.                                                     Exhibit 128,
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                                                                                                          e-mail
             (617) 963-5975
  18· · · · ·(617) 963-5975                                                             18
             E-mail: jmarkowski
  19· · · · ·E-mail:·           @fmglaw.com
                      jmarkowski@fmglaw.com                                                  (Exhibits retained
                                                                                        19· ·(Exhibits retained by
                                                                                                                by Attorney
                                                                                                                   Attorney Van
                                                                                                                            Van Dyck)
                                                                                                                                Dyck)
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Ginamarie  Along, et
                   et al.
                      al. vs
                          vs                                      Gregory Geiman,
                                                                  Gregory Geiman, Esq.
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             Health && Welfare
                        Welfare Fund,
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                                      et al.
                                         al.                              July 07,
                                                                          July 07, 2022
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       concerned about
  ·1· ·concerned       about Laura-Jean,
                                Laura-Jean, but      but I| saw
                                                             saw it  it as
                                                                        as anan                                    Q. · ·(By
                                                                                                       ·1· · · · · Q.·      (By Mr. Mr. Van          Dyck) Why?
                                                                                                                                            Van Dyck)·           Why?




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  WNP


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  ·2· ·opportunity       at that
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  ·3· ·clock          ticking that
                was ticking       that it it would
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                                                             harder to  to make
                                                                             make any   any                 believe that
                                                                                                       ·3· ·believe     that the the Local
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       changes if
  ·4· ·changes     if Gina
                       Ginawas         right and
                               was right        and Laura-Jean
                                                      Laura-Jean and      and BillBill did
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                                                                                                       ·4· ·same     benefit by    by virtue
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                                                                                                                                                       being partpart ofof the      Coalition
                                                                                                                                                                              the Coalition
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                          working relationship
                                         relationship and   and thatthat Bill
                                                                           Bill diddid                      if Gina
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                                                                                                                                simply been  been aa due's
                                                                                                                                                        due's paying
                                                                                                                                                                 paying member member and    and notnot aa
       favor Laura-Jean
  ·6· ·favor    Laura-Jean that  that once
                                         once BillBill took
                                                         took office
                                                                 office on  on                              salary executive
                                                                                                       ·6· ·salary     executive director.·
                                                                                                                                        director. I| thinkthink she she gives
                                                                                                                                                                           gives herself
                                                                                                                                                                                      herself
  NO




                                                                                                       NO
       August 1st,
  ·7· ·August     1st, my
                        my opportunity
                              opportunity to       to gain
                                                       gain anyany sort
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  ·8· ·promotion       might be  be estopped,
                                      estopped, and    and so so I| felt
                                                                     felt the      clock
                                                                           the clock                        think that
                                                                                                       ·8· ·think    that if if you     look at
                                                                                                                                 you look        at the
                                                                                                                                                     the Coalition
                                                                                                                                                          Coalition productsproducts that  that




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       ticking. | was concerned. | saw an opportunity of
  ·9· ·ticking.·   I  was   concerned.·          I saw    an   opportunity           of                     we took advantage of at the Local 4 Funds, we were
                                                                                                       ·9· ·we    took   advantage           of   at the  Local      4  Funds,        we   were not not
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        course, and
  10· ·course,     and that
                         that isis the
                                    the purpose
                                           purpose of   of the
                                                            the letter.
                                                                   letter.                                   taking advantage
                                                                                                       10· ·taking      advantage of       of the
                                                                                                                                               the medical
                                                                                                                                                      medical program.·
                                                                                                                                                                   program. We       We werewere not not
              Q. · ·You
  11· · · · · Q.·     You testified
                             testified earlierearlier about
                                                          about what what Gina'sGina's                       taking advantage
                                                                                                       11· ·taking      advantage of       of any
                                                                                                                                               any pharmaceutical
                                                                                                                                                       pharmaceutical program.·  program. We      We
        relationship with
  12· ·relationship        with Mr. Mr. Rasetta.·
                                             Rasetta. Were   Were you  you aware
                                                                               aware of      of the
                                                                                                the          were not
                                                                                                       12· ·were      not taking
                                                                                                                            taking advantage
                                                                                                                                        advantage of     of anyany dental
                                                                                                                                                                     dental program.·
                                                                                                                                                                                 program. We      We
        fact that
  13· ·fact   that they
                     they hadhad aa relationship
                                         relationship outside  outside of   of thethe                        were not
                                                                                                       13· ·were      not gaining
                                                                                                                            gaining the   the advantage
                                                                                                                                                 advantage of     of any
                                                                                                                                                                       any of  of those
                                                                                                                                                                                   those
        office?
  14· ·office?                                                                                               negotiated programs,
                                                                                                       14· ·negotiated          programs, especially
                                                                                                                                                  especially in    in 2014
                                                                                                                                                                       2014 when when we   we left
                                                                                                                                                                                                 left
              A. · ·I| wasnot
  15· · · · · A.·                     specifically aware
                        was not specifically              aware of   of it
                                                                         it until
                                                                             until                           the Union
                                                                                                       15· ·the    Union Blue  Blue product
                                                                                                                                       product and    and moved
                                                                                                                                                            moved into   into aa product
                                                                                                                                                                                    product wherewhere
        2018. I| had
  16· ·2018.·       had very
                          very deep
                                  deep suspicion,
                                            suspicion, but   but I| knew
                                                                      knew betterbetter                      Blue Cross/Blue
                                                                                                       16· ·Blue     Cross/Blue Shield   Shield was   was paying
                                                                                                                                                             paying the         claims directly.
                                                                                                                                                                         the claims         directly.
        than to
  17· ·than       ever ask
               to ever    ask Gina.·
                                Gina. It    It didn't
                                                didn't feel
                                                         feel like
                                                                 like any
                                                                        any of of mymy                                     If you
                                                                                                       17· · · · · · · · ·If    you look
                                                                                                                                      look at   at Gina's
                                                                                                                                                    Gina's answer
                                                                                                                                                               answer to    to
        business, and
  18· ·business,      and I| also
                              also would
                                      would never never havehave brought
                                                                     brought something
                                                                                    something                interrogatories, it
                                                                                                       18· ·interrogatories,           it may
                                                                                                                                           may have have been
                                                                                                                                                            been her her second
                                                                                                                                                                            second answers
                                                                                                                                                                                         answers to   to
        like that
  19· ·like   that to
                    to Gina.
                        Gina.                                                                                interrogatories, I| forget,
                                                                                                       19· ·interrogatories,              forget, she shelists      all of
                                                                                                                                                            lists all     of the
                                                                                                                                                                               the
              Q. · ·So
  20· · · · · Q.·     Soyou        mentioned that
                           you mentioned              that you        learned of
                                                              you learned             of it
                                                                                          it                 advantages
                                                                                                       20· ·advantages           that   Local 4
                                                                                                                                 that Local        4 obtained
                                                                                                                                                      obtained as    as aaresult
                                                                                                                                                                             result of of her
                                                                                                                                                                                            her
        in 2018.·
  21· ·in   2018. How How did did youyou learnlearn of of it?
                                                           it?                                               work for
                                                                                                       21· ·work      for the
                                                                                                                            the Coalition,
                                                                                                                                   Coalition, and    and I| didn't
                                                                                                                                                              didn't go go back
                                                                                                                                                                              back all all the
                                                                                                                                                                                            the
              A. · ·Kate
  22· · · · · A.·     Kate Shea
                              Sheatold  told me meinin the
                                                         the context
                                                               context of    of the
                                                                                  the                        way. I've
                                                                                                       22· ·way.·      I've only
                                                                                                                               only been
                                                                                                                                      been around
                                                                                                                                                around sincesince 2010,
                                                                                                                                                                      2010, but  but I| did
                                                                                                                                                                                          did look
                                                                                                                                                                                                look
        conversation that
  23· ·conversation        that she
                                  she had had hadhad with
                                                       with GinaGina on on May May 21st 21st of of           back to,
                                                                                                       23· ·back     to, I| think,
                                                                                                                              think, maybe
                                                                                                                                        maybe 2012,  2012, 20132013 and and I| waswas onlyonly able
                                                                                                                                                                                                  able
        2018.
  24· ·2018.                                                                                                 to find one instance in which the Local 4 Funds
                                                                                                       24· ·to   find   one     instance       in   which     the   Local       4  Funds

                                                                                  Page 30
                                                                                  Page 30                                                                                                Page 32
                                                                                                                                                                                         Page 32

              Q. · ·So
  ·1· · · · · Q.·   SoKateSheatold    you in
                       Kate Shea told you in that
                                             that                                                           benefited from
                                                                                                       ·1· ·benefited from aa negotiated
                                                                                                                              negotiated Coalition
                                                                                                                                         Coalition product
                                                                                                                                                   product or
                                                                                                                                                           or
                                                                                                       WDNR




       conver sation that
  ·2· ·conversation  that she
                          she was
                              was aware
                                  aware of
                                        of the
                                           the fact
                                               fact that
                                                    that Gina
                                                         Gina                                               discount, and
                                                                                                       ·2· ·discount, and that
                                                                                                                          that was
                                                                                                                               was aa 30-cent
                                                                                                                                      30-cent per
                                                                                                                                              per member
                                                                                                                                                  member per
                                                                                                                                                         per month
                                                                                                                                                             month
       had aa relationship
  ·3· ·had    relationship with
                           with Mr.
                                Mr. Rasetta
                                    Rasetta outside
                                            outside the office?
                                                    the office?                                             discount that
                                                                                                       ·3· ·discount      she purportedly
                                                                                                                     that she purportedly negotiated
                                                                                                                                          negotiated on
                                                                                                                                                     on behalf
                                                                                                                                                        behalf of
                                                                                                                                                               of
              A. · ·She
  ·4· · · · · A.·   Shedd.    Andtobefair
                        did.· And            to Kate,
                                  to be fair to Kate, I|                                                    the Coalition,
                                                                                                       ·4· ·the Coalition, which in real
                                                                                                                           which in real dollars
                                                                                                                                         dollars for
                                                                                                                                                 for Local
                                                                                                                                                     Local 4
                                                                                                                                                           4 meant
                                                                                                                                                             meant
                                                                                                       bh




       believe Kate
  ·5· ·believe Kate assumed
                    assumed that
                            that I| knew
                                    knew because
                                         because it
                                                 it was,
                                                    was, I|                                            ·5· ·aa $10,000 annual savings.
                                                                                                               $10,000 annual savings.
                                                                                                       Oo




       think, sort
  ·6· ·think, sort of
                   of an
                      an open
                         open secret.·
                              secret. And
                                       And though
                                           though I| had
                                                     had                                                                  Now, Gina
                                                                                                       ·6· · · · · · · · ·Now, Gina was
                                                                                                                                    was being
                                                                                                                                        being paid
                                                                                                                                              paid 40,000
                                                                                                                                                   40,000 plus
                                                                                                                                                          plus to
                                                                                                                                                               to
                                                                                                       NO




       suspicions, I| never
  ·7· ·suspicions,    never really
                            really cared
                                   cared to
                                         to follow-up
                                            follow-up on
                                                      on those
                                                         those                                              do this
                                                                                                       ·7· ·do thiswork  for the
                                                                                                                    work for     Coalition, and
                                                                                                                             the Coalition, and she
                                                                                                                                                she was also
                                                                                                                                                    was also
       suspicions. It
  ·8· ·suspicions.· It really
                       really wasn't
                              wasn't anything
                                     anything of
                                              of importance
                                                 importance to
                                                            to                                              utilizing Fund
                                                                                                       ·8· ·utilizing Fund office
                                                                                                                           office staff
                                                                                                                                  staff and
                                                                                                                                        and resources
                                                                                                                                            resources to do that
                                                                                                                                                      to do that
                                                                                                       0




       me.
  ·9· ·me.                                                                                                  work. So
                                                                                                       ·9· ·work.· So $10,000
                                                                                                                      $10,000 is
                                                                                                                              is nothing
                                                                                                                                 nothing to
                                                                                                                                         to sneeze
                                                                                                                                            sneeze at.·
                                                                                                                                                   at. But
                                                                                                                                                        But did
                                                                                                                                                            did the
                                                                                                                                                                the
                                                                                                       ©




              Q. · ·I'm
  10· · · · · Q.·   I'msorry  I'm skipping
                        sorry I'm skipping around
                                           around but
                                                  but back
                                                      back to
                                                           to                                               cost meet
                                                                                                       10· ·cost meet the
                                                                                                                      the benefit
                                                                                                                          benefit or
                                                                                                                                  or did
                                                                                                                                     did the
                                                                                                                                         the benefit
                                                                                                                                             benefit meet
                                                                                                                                                     meet the
                                                                                                                                                          the cost,
                                                                                                                                                              cost,
                                                                                                      = Oo
                                                                                                      Boe




       the Shaughnessy
  11· ·the Shaughnessy affidavit
                       affidavit paragraph
                                 paragraph eight,
                                           eight, second
                                                  second and
                                                         and                                           11· ·I| should
                                                                                                               should say.·
                                                                                                                      say. I| don't
                                                                                                                              don't know.·
                                                                                                                                    know. But
                                                                                                                                           But we
                                                                                                                                               we were not with
                                                                                                                                                  were not with
       third sentence.·
  12· ·third sentence. He
                        He states
                           statesunder  oath, "As
                                  under oath, " Asaa direct
                                                     direct                                                 Delta Dental.·
                                                                                                       12· ·Delta Dental. We  were not
                                                                                                                           We were not with the Union
                                                                                                                                       with the Union Blue
                                                                                                                                                      Blue product.
                                                                                                                                                           product.
       result of
  13· ·result of Ms.
                 Ms. Alongi's
                     Alongi'swork  coordinating and
                              work coordinating and overseeing
                                                    over seeing                                                           To the
                                                                                                       13· · · · · · · · ·To the extent
                                                                                                                                 extent that
                                                                                                                                        that there
                                                                                                                                             there were
                                                                                                                                                   were
       thework
  14· ·the      of the
           work of the Coalition
                       Coalition and
                                 and by
                                     by utilizing
                                        utilizing the
                                                  the                                                       negotiations for
                                                                                                       14· ·negotiations for the Coalition that
                                                                                                                             the Coalition that Gina
                                                                                                                                                Gina was
                                                                                                                                                     was part
                                                                                                                                                         part of,
                                                                                                                                                              of,
       Coalition's collective
  15· ·Coalition's            bar gaining power,
                   collective bargaining  power, the
                                                 the Funds
                                                     Funds were
                                                           were                                             it's very
                                                                                                       15· ·it's      possible that
                                                                                                                 very possible that they
                                                                                                                                    they were benefiting other
                                                                                                                                         were benefiting other
       able to
  16· ·able to reap
               reap significant
                    significant benefits
                                benefits by
                                         by negotiating
                                            negotiating more
                                                        more                                                funds. I| wouldn't
                                                                                                       16· ·funds.·            know, but
                                                                                                                      wouldn't know, but they
                                                                                                                                         they weren't benefiting
                                                                                                                                              weren't benefiting
       favorable contract
  17· ·favorable contract terms
                          terms with
                                with third
                                     third party
                                           party vendors.·
                                                 vendors. In
                                                           In                                               the Local
                                                                                                       17· ·the Local 4
                                                                                                                      4 Funds.·
                                                                                                                        Funds. The
                                                                                                                                The educational
                                                                                                                                    educational piece
                                                                                                                                                piece of
                                                                                                                                                      of it,
                                                                                                                                                         it, that's
                                                                                                                                                             that's
       short, the
  18· ·short, the Funds
                   Funds would
                         would not
                               not have
                                   have received
                                        received the same
                                                 the same                                                   lovely and
                                                                                                       18· ·lovely and important.·
                                                                                                                       important. But,
                                                                                                                                   But, again,
                                                                                                                                        again, as
                                                                                                                                               as aadue's  paying
                                                                                                                                                     due's paying
       benefitsifif not
  19· ·benefits     not for
                        for Ms.
                            Ms. Alongi'swork  with the
                                Alongi's work with the                                                      member, Gina
                                                                                                       19· ·member, Ginawould  have gleaned
                                                                                                                         would have gleaned all
                                                                                                                                            all that same
                                                                                                                                                that same
       Coalition." Do
  20· ·Coalition."· Do you agree or
                       you agree or disagree
                                    disagree with
                                             with that
                                                  that                                                      information. So
                                                                                                       20· ·information.· So I| don't
                                                                                                                                don't see
                                                                                                                                      see any
                                                                                                                                          any advantage
                                                                                                                                              advantage to her
                                                                                                                                                        to her
       statement?
  21· ·statement?                                                                                           having been
                                                                                                       21· ·having been executive
                                                                                                                        executive director
                                                                                                                                  director of
                                                                                                                                           of that
                                                                                                                                              that coalition.
                                                                                                                                                   coalition.
                     MS. MARKOWSKI:·
  22· · · · · · · · ·MS. MARKOWSKI: Object
                                     Object to
                                            to form.·
                                               form. You
                                                      You can
                                                          can                                                      Q. · ·I'm
                                                                                                       22· · · · · Q.·   I'm going
                                                                                                                             goingtodraw   your attention
                                                                                                                                   to draw your attention to
                                                                                                                                                          to
              answer.
  23· · · · · answer.                                                                                       paragraph nine
                                                                                                       23· ·paragraph nine of
                                                                                                                           of Mr.
                                                                                                                              Mr. Shaughnessy's
                                                                                                                                  Shaughnessy's affidavit.·
                                                                                                                                                affidavit. I'm
                                                                                                                                                            I'm not
                                                                                                                                                                not
                     THE WITNESS:·
  24· · · · · · · · ·THE WITNESS: I| disagree.
                                     disagree.                                                              going to
                                                                                                       24· ·going to read
                                                                                                                     read it
                                                                                                                          it out
                                                                                                                             out loud,
                                                                                                                                 loud, because
                                                                                                                                       because it's
                                                                                                                                               it's somewhat
                                                                                                                                                    somewhat


                                                O'Brien &
                                                O'Brien & Levine,
                                                           Levine, AA Magna
                                                                      Magna Legal
                                                                             Legal Services
                                                                                   Services Company
                                                                                             Company                                                                                 Pages 29–32
                                                                                                                                                                                     Pages 29-32
                                                                                                                                                                                   D. App. 103
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                                                   888.825.3376    production@court-reporting.com                                                                                                            YVer1f
           Case 1:21-cv-10163-FDS Document 64 Filed 12/13/22 Page 107 of 271
Ginamarie Alongi,
Ginamarie   Along, et
                    et al.
                       al. vs
                           vs                                     Gregory Geiman,
                                                                  Gregory Geiman, Esq.
                                                                                    Esq.
luoe Local
Iuoe Local 44 Health
              Health && Welfare
                         Welfare Fund,
                                 Fund, et
                                       et al.
                                          al.                             July 07,
                                                                          July 07, 2022
                                                                                   2022
                                                                             Page 33
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      lengthy. If
   1 ·lengthy.·
  ·1·                 If you     could just
                          you could              review it
                                          just review        it to
                                                                 to yourself.
                                                                       your self.                                   Yes.
                                                                                                 ·1· · · · · Q.· · ·Yes.




                                                                                                 WNP
   2 · · · · A.·
  ·2·        A. · ·Sure.·
                      Sure. Okay.
                                Okay.                                                                               No.
                                                                                                 ·2· · · · · A.· · ·No.
   3 · · · · Q.·
  ·3·        Q. · ·Do Doyou         agreeoror disagree
                             you agree           disagree with  with the the                                        At no
                                                                                                 ·3· · · · · Q.· · ·At notimedid   shereport
                                                                                                                          time did she        to you?
                                                                                                                                       report to you?
   4 ·statements
  ·4· statements containedcontained in    in paragraph
                                              paragraph nine?     nine?                                             Not directly,
                                                                                                 ·4· · · · · A.· · ·Not directly, no.
                                                                                                                                  no.




                                                                                                 bh
   5 · · · · · · · ·MS.
  ·5·               MS. MARKOWSKI:·
                             MARKOWSKI: Object         Object to   to form.·
                                                                       form. You  You can can                       My understanding
                                                                                                 ·5· · · · · Q.· · ·My understanding is
                                                                                                                                     is that
                                                                                                                                        that you
                                                                                                                                             you provided
                                                                                                                                                 provided her
                                                                                                                                                          her




                                                                                                 Oo
   6 · · · · answer.
  ·6·        answer.                                                                                  with some
                                                                                                 ·6· ·with some performance
                                                                                                                performance evaluations;
                                                                                                                            evaluations; is
                                                                                                                                         isthat  correct?
                                                                                                                                            that correct?




                                                                                                 Oo
   7 · · · · · · · ·THE
                    THE WITNESS:·
                             WITNESS: I'm       I'm without         knowledge as      as toto                A. · ·I|didat  Gina's behest.
                                                                                                                                   behest.




                                                                                                 NN
  ·7·                                                 without knowledge                          ·7· · · · · A.·     did at Gina's
   8 · · · · that
  ·8·        that statement.·
                    statement. Gina's Gina's negotiation,
                                                negotiation, as      as I|                                   Q. · ·But
                                                                                                 ·8· · · · · Q.·   But they
                                                                                                                       they were performance evaluations
                                                                                                                            were performance evaluations




                                                                                                 00
   9 · · · · understand
  ·9·        understand it,    it, with
                                    with Blue
                                           Blue Cross/Blue
                                                   Cross/Blue Shield,  Shield, thethe                 that you
                                                                                                 ·9· ·that you did
                                                                                                               did on
                                                                                                                   on your
                                                                                                                      your own,
                                                                                                                           own, correct?
                                                                                                                                correct?




                                                                                                 ©
              so-called Union
  10· · · · · so-called       Union BlueBlue product
                                                product was was before
                                                                     before my  my time
                                                                                      time                   A. · ·I1did.
                                                                                                 10· · · · · A.·            Ginahad
                                                                                                                      did.· Gina     asked Laura-Jean
                                                                                                                                 had asked Laura-Jean and
                                                                                                                                                      and I,
                                                                                                                                                          I,
              at the
  11· · · · · at  the Funds
                         Funds office.·
                                   office. So So I'm
                                                   I'm just     not really
                                                         just not      really                         because Gina
                                                                                                 11· ·because Gina didn't
                                                                                                                   didn't like
                                                                                                                          like doing
                                                                                                                               doing performance
                                                                                                                                     performance reviews,
                                                                                                                                                 reviews, to
                                                                                                                                                          to
  12· · · · · familiar
              familiar with with thethe history.·
                                         history. I| can can tell
                                                               tell you,
                                                                      you,                            review each
                                                                                                 12· ·review each of
                                                                                                                  of Rosemarie
                                                                                                                     Rosemarie and
                                                                                                                               and Alan Koufos. I| don't
                                                                                                                                   Alan Koufos.·   don't
  13· · · · · though,
              though, that        when Gina
                            that when      Gina decided
                                                   decided to    to disband
                                                                      disband or   or                 remember why
                                                                                                 13· ·remember why I| ended
                                                                                                                      ended up
                                                                                                                            up with
                                                                                                                               with Rosemarie
                                                                                                                                    Rosemarie and
                                                                                                                                              and Laura-Jean
                                                                                                                                                  Laura-Jean
              recommend to
  14· · · · · recommend           to the
                                      the board
                                           board of  of trustees
                                                         trustees that that she
                                                                             she                      with Alan.
                                                                                                 14· ·with        But suffice
                                                                                                           Alan.· But sufficeitit to
                                                                                                                                  to say,
                                                                                                                                     say, I| did
                                                                                                                                             did and
                                                                                                                                                 and I| was
                                                                                                                                                        was put
                                                                                                                                                            put
              disband the
  15· · · · · disband       the Union
                                  Union BlueBlue product
                                                    product in   in 2014,
                                                                      2014, it it was
                                                                                  was aa              in aa particularly
                                                                                                 15· ·in    particularly uncomfortable
                                                                                                                         uncomfortable position
                                                                                                                                       position of
                                                                                                                                                of having
                                                                                                                                                   having to
                                                                                                                                                          to
              cost-saving maneuver.·
  16· · · · · cost-saving        maneuver. So     So there
                                                        there maymay have have been
                                                                                  been aa             provide
                                                                                                 16· ·provide aa performance
                                                                                                                 performance review
                                                                                                                             review for
                                                                                                                                    for my
                                                                                                                                        my boss'
                                                                                                                                           boss sister.
                                                                                                                                                 sister.
              period of
  17· · · · · period      of time
                              time where
                                     where the the Union
                                                     Union Blue Blue product
                                                                         product was  was                    Q. · ·Well,
                                                                                                 17· · · · · Q.·   Wall, it
                                                                                                                         it certainly
                                                                                                                            certainly would
                                                                                                                                      would have
                                                                                                                                            have been
                                                                                                                                                 been more
                                                                                                                                                      more
              saving millions
  18· · · · · saving      millions of  of dollars
                                           dollars for for the
                                                           the Funds,
                                                                   Funds, but but by by               awkward for
                                                                                                 18· ·awkward for Gina
                                                                                                                  Ginatoto provide
                                                                                                                           provide a
                                                                                                                                   a performance
                                                                                                                                     performance evaluation
                                                                                                                                                 evaluation of
                                                                                                                                                            of
              2014 that
  19· · · · · 2014     that was
                              was certainly
                                     certainly not not the
                                                         the case.
                                                               case.                                  her sister,
                                                                                                 19· ·her sister, correct?
                                                                                                                  correct?
              Q.
  20· · · · · Q.·   ·   (By Mr. Van Dyck) Just so
                      ·(By    Mr.    Van     Dyck)·      Just    sol'm      clear,
                                                                      I'm clear,                             A. · ·Gina
                                                                                                 20· · · · · A.·   Ginahired  her sister,
                                                                                                                        hired her sister, so
                                                                                                                                          so that's
                                                                                                                                             that's
       you're not
  21· ·you're      not in in aa position
                                 position to  to testify
                                                  testify one one way way or or the
                                                                                  the                 something she
                                                                                                 21· ·something she should
                                                                                                                    should have
                                                                                                                           have thought
                                                                                                                                thought about.
                                                                                                                                        about.
       other as
  22· ·other     astoto thethe accuracy
                                accuracy as    astoto what's         contained in
                                                         what's contained              in                    Q. · ·That's
                                                                                                 22· · · · · Q.·   That'syour
                                                                                                                          your testimony.  Movingon.
                                                                                                                               testimony.· Moving      We
                                                                                                                                                  on.· We
       paragraph nine?
  23· ·paragraph           nine?                                                                      don't need
                                                                                                 23· ·don't need to argue the
                                                                                                                 to argue the point.
                                                                                                                              point.
  24· · · · · A.       That is
              A.· · ·That      iscorrect.
                                   correct.                                                                         At some
                                                                                                 24· · · · · · · · ·At some point
                                                                                                                            point did
                                                                                                                                  did you become familiar
                                                                                                                                      you become familiar

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                                                                             Page 34                                                                           Page 36
                                                                                                                                                               Page 36

              Q. · ·And
  ·1· · · · · Q.·   Andtobeclear,     I'm asking
                         to be clear, I'm  asking you
                                                   you now
                                                       now in
                                                            in                                        with Rose's
                                                                                                 ·1· ·with Rose'swork  performance?
                                                                                                                  work performance?
                                                                                                 WDNR




       your capacity
  ·2· ·your     capacity as
                         asthe  Funds 30(b)6
                            the Funds   30(b)6 designee
                                                designee your  answer
                                                         your answer                             ·2· · · · · A.
                                                                                                             A.· · ·I| did
                                                                                                                       did some
                                                                                                                           some work that ran
                                                                                                                                work that ran parallel
                                                                                                                                              parallel to
                                                                                                                                                       to
       stands, correct?
  ·3· ·stands, correct?                                                                               Rosemarie when
                                                                                                 ·3· ·Rosemarie when Rosemarie
                                                                                                                     Rosemarie --
                                                                                                                               -- well, in two
                                                                                                                                  well, in     ways. When
                                                                                                                                           two ways.· When
              A. · ·My
  ·4· · · · · A.·   My answer
                        answer stands.
                                stands.                                                               Rosemarie would
                                                                                                 ·4· ·Rosemarie would engage
                                                                                                                      engage any
                                                                                                                             any new
                                                                                                                                 new vendors, she would
                                                                                                                                     vendors, she       often
                                                                                                                                                  would often
                                                                                                 bh




              Q. · ·So
  ·5· · · · · Q.·   Sol'm   going to
                       I'm going   to switch
                                      switch topics
                                             topics now,
                                                    now, if
                                                         if you
                                                            you                                       ask me
                                                                                                 ·5· ·ask me with Gina's assent
                                                                                                             with Gina's assent to
                                                                                                                                to review
                                                                                                                                   review the
                                                                                                                                          the contract
                                                                                                                                              contract and
                                                                                                                                                       and
                                                                                                 Oo




       don't mind.
  ·6· ·don't mind.                                                                                    make sure
                                                                                                 ·6· ·make      that it
                                                                                                           sure that it passed
                                                                                                                        passed muster
                                                                                                                               muster under
                                                                                                                                      under ERISA.·
                                                                                                                                            ERISA. And
                                                                                                                                                    And then
                                                                                                                                                        then
                                                                                                 NO




              A. · ·Sure.
  ·7· · · · · A.·   Sure                                                                              in 2015,
                                                                                                 ·7· ·in 2015, I| believe,
                                                                                                                  believe, I| became
                                                                                                                              became the
                                                                                                                                     the HIPAA
                                                                                                                                         HIPAA privacy
                                                                                                                                               privacy officer,
                                                                                                                                                       officer,
              Q. · ·When
  ·8· · · · · Q.·   When did
                          did you
                              you first meet Rose
                                  first meet Rose Alongi?
                                                  Alongi?                                             and so
                                                                                                 ·8· ·and so I| would
                                                                                                                would work
                                                                                                                      work with Rosemarie on
                                                                                                                           with Rosemarie on certain
                                                                                                                                             certain trainings
                                                                                                                                                     trainings
                                                                                                 00




              A. · ·I| met
  ·9· · · · · A.·      met her
                           her on
                               on my
                                  my first day of
                                     first day of work
                                                  work in
                                                       in                                             and sanctions
                                                                                                 ·9· ·and sanctions and
                                                                                                                    and similar
                                                                                                                        similar items
                                                                                                                                items within
                                                                                                                                      within the office.
                                                                                                                                             the office.
                                                                                                 ©




       March of
  10· ·March of 2010.
                2010.                                                                                        Q. · ·So
                                                                                                 10· · · · · Q.·   Sosoundslike   as of
                                                                                                                      sounds like as of 2015
                                                                                                                                        2015 you
                                                                                                                                             you worked
                                                                                                                                                 worked aa
                                                                                                = Oo
                                                                                                rl




              Q. · ·So
  11· · · · · Q.·   Soshehad    been working
                       she had been           for the
                                      working for the Funds
                                                      Funds                                           little bit
                                                                                                 11· ·little bit more
                                                                                                                 more closely
                                                                                                                      closely with Rose than
                                                                                                                              with Rose than you did before
                                                                                                                                             you did before
       before you
  12· ·before         arrived, correct?
                 you arrived,  correct?                                                               then?
                                                                                                 12· ·then?
              A. · ·Yes.
  13· · · · · A.·   Yes                                                                          13· · · · · A.     Incertain
                                                                                                             A.· · ·In         aress, yes.
                                                                                                                       certain areas, yes.
              Q. · ·And
  14· · · · · Q.·   And how
                         how would
                             would you  describe your
                                    you describe  your                                                       Q. · ·Did
                                                                                                 14· · · · · Q.·   Did you
                                                                                                                       you have
                                                                                                                           have an
                                                                                                                                an opportunity
                                                                                                                                   opportunity to observe
                                                                                                                                               to observe
       relationship with
  15· ·relationship    with Rose
                            Rose when
                                 when you
                                       you first
                                           first started
                                                 started working
                                                         working                                      her performance
                                                                                                 15· ·her performance as
                                                                                                                      as an
                                                                                                                         an employee
                                                                                                                            employee during
                                                                                                                                     during that
                                                                                                                                            that time?
                                                                                                                                                 time?
       there?
  16· ·there?                                                                                    16· · · · · A.     To some
                                                                                                             A.· · ·To some degree,
                                                                                                                            degree, yes.
                                                                                                                                    yes.
              A. · ·I| don't
  17· · · · · A.·      don't have
                             have aaclear  memory of
                                     clear memory     of my
                                                         my                                                  Q. · ·And
                                                                                                 17· · · · · Q.·   And based
                                                                                                                       based upon
                                                                                                                             upon what
                                                                                                                                  what you
                                                                                                                                       you saw,
                                                                                                                                           saw, how
                                                                                                                                                how would
                                                                                                                                                    would
       relationship with
  18· ·relationship           Rose when
                        with Rose   when I| first
                                            first started
                                                  started working
                                                          working                                     you describe
                                                                                                 18· ·you describe her
                                                                                                                   her performance,
                                                                                                                       performance, again,
                                                                                                                                    again, in
                                                                                                                                           in 2015?
                                                                                                                                              2015?
       there except
  19· ·there except to
                    to say
                       say that
                           that I| felt
                                   felt like
                                        like I| had
                                                had aavery
                                                       very                                      19· · · · · A.
                                                                                                             A.· · ·IIthink in 2015
                                                                                                                      think in 2015 |I had
                                                                                                                                       had no
                                                                                                                                           no reason
                                                                                                                                              reason to
                                                                                                                                                     to
       friendly relationship
  20· ·friendly relationship with
                             with everybody
                                  everybody at
                                            at the
                                               the Fund
                                                   Fund                                               believe that
                                                                                                 20· ·believe that Rosemarie
                                                                                                                   Rosemarie was anything but
                                                                                                                             was anything but aa competent
                                                                                                                                                 competent
       office.
  21· ·office.                                                                                        performer. You
                                                                                                 21· ·performer.· You know,
                                                                                                                      know, one
                                                                                                                            one thing
                                                                                                                                thing that
                                                                                                                                      that was always clear
                                                                                                                                           was always clear
              Q. · ·At
  22· · · · · Q.·   At some
                       some point
                            point after
                                  after you
                                        you joined the Funds,
                                            joined the Funds,                                         about Rosemarie
                                                                                                 22· ·about Rosemarie and
                                                                                                                      and has
                                                                                                                          has been
                                                                                                                              been borne
                                                                                                                                   borne out
                                                                                                                                         out in
                                                                                                                                             in these
                                                                                                                                                these
       did you
  23· ·did        -- she
              you -- she reported
                         reported to
                                  to you, correct?
                                     you, correct?                                                    depositionsis is
                                                                                                 23· ·depositions   that    Rosemarie, much
                                                                                                                       that Rosemarie, much like
                                                                                                                                            like her
                                                                                                                                                 her sister,
                                                                                                                                                     sister, is
                                                                                                                                                             is
              A. · ·Rosemarie?
  24· · · · · A.·   Rosemarie?                                                                        not keen
                                                                                                 24· ·not keen on
                                                                                                               on accepting
                                                                                                                  accepting accountability
                                                                                                                            accountability or
                                                                                                                                           or


                                             O'Brien &
                                             O'Brien & Levine,
                                                        Levine, AA Magna
                                                                   Magna Legal
                                                                          Legal Services
                                                                                Services Company
                                                                                          Company                                                            Pages 33–36
                                                                                                                                                             Pages 33-36
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                       In the
                       In the Matter
                              Matter of:
                                     of:

                 Ginamarie Alongi,
                 Ginamarie Along, et
                                   et al.
                                      al. vs
                                          vs
       luoe Local
       Iuoe Local 4
                  4 Health
                    Health &
                           & Welfare
                             Welfare Fund,
                                     Fund, et
                                           et al.
                                              al.




                             Joyce Mader
                             Joyce Mader
                         June 16,
                         June 16, 2022
                                  2022


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                       al. vs
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luoe Local
Iuoe Local 44 Health
              Health && Welfare
                         Welfare Fund,
                                 Fund, et
                                       et al.
                                          al.                             June 16,
                                                                          June 16, 2022
                                                                                   2022
                                                                                                                                                              Page 3

   1 · · · · · · COMMONWEALTH
  ·1·             COMMONWEALTH OF                   OF MASSACHUSETTS
                                                         MASSACHUSETTS                          1 ·O'Donoghue
                                                                                               ·1· O'Donoghue &
                                                                                                              & O'Donoghue,
                                                                                                                O'Donoghue, LLP
                                                                                                                            LLP
   2 ·NORFOLK,
  ·2·   NORFOLK, ss.·      ss. · · · · · · · · · · · · SUPERIOR
                                                       SUPERIOR COURT   COURT                           Charles
                                                                                               ·2· · · ·Charles W. Gilligan,
                                                                                                                W. Gilligan, Esq.
                                                                                                                             Esq.




                                                                                               WN
   3 · · · · · · · · · · · · ·CIVIL
  ·3·                         CIVIL ACTION
                                        ACTION NO.      NO. 2182CV00125
                                                              2182CVv00125
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                                                                                                                       Esq.
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                                                                                                             Wisconsin Avenue, NW, Suite
                                                                                                                                   Suite 800
                                                                                                                                         800




                                                                                               bh
   5 ·GINAMARIE
  ·5·   GINAMARIE ALONGI      ALONGI and    and
       ROSEMARIE ALONGI,
  · · ·ROSEMARIE              ALONG,                                                                    Washington, DC
                                                                                               ·5· · · ·Washington, DC 20015
                                                                                                                       20015




                                                                                               0
   6 · · · · · · · · ·Plaintiffs
  ·6·                  Plaintiffs                                                                       Cgilligan@odonoghuel aw.com
                                                                                               ·6· · · ·Cgilligan@odonoghuelaw.com




                                                                                               Oo
   7 ·vs.
  ·7·   vs.
                                                                                                        Dkeenan@odonoghuel aw.com




                                                                                               NN
                                                                                               ·7· · · ·Dkeenan@odonoghuelaw.com
   8 ·IUOE
  ·8·   |UOE LOCALLOCAL 4     4HEALTH
                                HEALTH &         & WELFARE
                                                     WELFARE FUND;    FUND;
                                                                                                        Counsel for
                                                                                               ·8· · · ·Counsel for the
                                                                                                                    the Defendant
                                                                                                                        Defendant




                                                                                               00
       IUOE LOCAL
  · · ·IUOE      LOCAL 44 PENSION
                                PENSION FUND;    FUND; IUOE  IUOCE
   9 ·LOCAL
  ·9·   LOCAL 44 ANNUITYANNUITY &        & SAVINGS
                                             SAVINGS FUND;    FUND;                            ·9




                                                                                               ©
       HOISTING AND
  · · ·HOISTING                  PORTABLE ENGINEERS
                         AND PORTABLE                  ENGINEERS                               10· ·IUOE
  10 ·LOCAL
  10·    LOCAL 4      4 APPRENTICESHIP
                         APPRENTICESHIP&                & TRAINING
                                                           TRAINING
                                                                                               11· · · Greg Geiman
       FUND; JOINT
  · · ·FUND;       JOINT LABOR-MANAGEMENT
                              LABOR-MANAGEMENT
  11 ·COOPERATION
  11·    COOPERATION TRUST;        TRUST; AND    AND WILLIAM
                                                          WILLIAM D.     D.
                                                                                               12
       MCLAUGHLIN, INDIVIDUALLY
  · · ·McLAUGHLIN,              INDIVIDUALLY AND            AND IN  IN HIS
                                                                        HIS                    13
  12 ·CAPACITY
  12·    CAPACITY AS        ASCHAIRMAN
                                CHAIRMAN OF            OF THE
                                                            THE BOARDS
                                                                   BOARDS                      14
       OF TRUSTEES,
  · · ·OF   TRUSTEES,
                                                                                               15
                        Defendants
  13· · · · · · · · · ·Defendants
  14· · · · · · · -----------------------------                                                16
                    DEPOSITION OF
  15· · · · · · · ·DEPOSITION             OF JOYCE
                                                JOY CE MADER,
                                                            MADER, aawitnesswitness            17
         called on
  16· ·called      on behalf
                       behalf ofof the
                                    the Plaintiffs,
                                          Plaintiffs, taken
                                                          taken pursuant
                                                                  pursuant                     18
  17· ·toto the
            the provisions
                  provisions of  of the
                                     the Massachusetts
                                           Massachusetts Rules  Rules of of
                                                                                               19
         Civil Procedure,
  18· ·Civil     Procedure, before
                                 before Shannon
                                            Shannon Dunigan,
                                                          Dunigan, aa Certified
                                                                         Certified
                                                                                               20
         Shorthand Reporter
  19· ·Shorthand         Reporter and and Notary
                                             Notary Public
                                                        Public inin and
                                                                     and for   the
                                                                          for the
         Commonwealth of
  20· ·Commonwealth             of Massachusetts,
                                    Massachusetts, held     held via
                                                                  via Zoom,
                                                                       Zoom, on  on            21
         Thursday, June
  21· ·Thursday,        June 16,
                               16, 2022,
                                     2022, commencing
                                               commencing at     at 1:01
                                                                     1:01 p.m.
                                                                            p.m.               22
  22
                                                                                               23
  23
  24                                                                                           24


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       Bowditch &
  ·2· ·Bowditch & Dewey
                  Dewey                                                                             Deposition of:·
                                                                                               ·2· ·Deposition of: · · · · · · · · · · · · · · · Direct
                                                                                               WN




           Timothy P.
  ·3· · · ·Timothy P. Van Dyck, Esq.
                      Van Dyck, Esq.                                                                Joyce Mader
                                                                                               ·3· ·Joyce Mader

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  ·4· · · ·Jacob A. Tosti,
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                                                                                               ·4· ·By Mr. Tosti
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                                                                                               uO




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           Counsel for
  ·9· · · ·Counsel for the
                       the Plaintiffs
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                       the Defendants
                           Defendants                                                          16
  17                                                                                           17
  18                                                                                           18
  19                                                                                           19
  20                                                                                           20
  21                                                                                           21
  22                                                                                                Exhibits retained
                                                                                               22· ·Exhibits retained by
                                                                                                                      by Attorney Tosti.
                                                                                                                         Attorney Tosti.
  23                                                                                           23
  24                                                                                           24



                                                     O'Brien &
                                                     O'Brien & Levine,
                                                                Levine, AA Magna
                                                                           Magna Legal
                                                                                  Lega Services
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Iuoe Local 44 Health
              Health && Welfare
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                                 Fund, et
                                       et al.
                                          al.                             June 16,
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                                                                                   2022
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              fail to
         ·1· ·fail  to take
                         take action
                                action to to correct
                                               correct it,  it, they
                                                                 they can  can become
                                                                                 become                             in retaliation
                                                                                                               ·1· ·in   retaliation for        her asserting
                                                                                                                                          for her     asserting her    her rights
                                                                                                                                                                             rightsunder
                                                                                                                                                                                      under
          BE




                                                                                                                WNP
              liable. So
         ·2· ·liable.·     Soifif they
                                  they hadhad become
                                                 become aware    aware of    of aa breach
                                                                                     breach and  and                Massachusetts discrimination
                                                                                                               ·2· ·Massachusetts           discrimination law.       law.
          WN




              they had
         ·3· ·they    had done
                             done nothing
                                     nothing to    to correct
                                                       correct it,    it, they
                                                                           they could
                                                                                   could be  be                         A. I| think
                                                                                                               ·3· · · ·A.·              it'sapile
                                                                                                                                think it's    a pile ofof shit.
                                                                                                                                                           shit.
              liable for
         ·4· ·liable    for all
                              al the
                                  the money
                                        money and    and losses
                                                            losses attributable
                                                                         attributableto      to                         Q. Sorry?
                                                                                                               ·4· · · ·Q.·  Sorry?
           Oh




                                                                                                                Oh
              her.
         ·5· ·her.                                                                                                      A. I think
                                                                                                               ·5· · · ·A.·  I           it'sapile
                                                                                                                                think it's    a pile of    shit. I| think
                                                                                                                                                       of shit.·      think that
                                                                                                                                                                               that
                           And we
         ·6· · · · · · · ·And    we call
                                       call itit the
                                                  the your
                                                        your househouse or    or their
                                                                                  their                             it, frankly,
                                                                                                               ·6· ·it,              should have
                                                                                                                        frankly, should         have been
                                                                                                                                                        been brought
                                                                                                                                                                 brought whether
                                                                                                                                                                              whether or   or not
                                                                                                                                                                                              not
           NO




                                                                                                                NO
              house rule
         ·7· ·house      ruleinin our
                                   our firm
                                         firm because
                                                  because of      of aalittle      speech I|
                                                                          little speech                             she, you
                                                                                                               ·7· ·she,           know, sued
                                                                                                                           you know,        sued them
                                                                                                                                                    them forfor anything.·
                                                                                                                                                                  anything. Her    Her actions
                                                                                                                                                                                         actions
              gave to
         ·8· ·gave     to aaboard
                             board of  of trustees
                                           trustees once  once wherewhere some  some of   of their
                                                                                               their                were appalling.·
                                                                                                               ·8· ·were    appalling. Her    Her actions
                                                                                                                                                    actions were         irresponsible.
                                                                                                                                                                were irresponsible.




                                                                                                                00
           0




              compatriots had
         ·9· ·compatriots         had just      been indicted
                                        just been        indicted by      by the
                                                                               the Feds
                                                                                     Feds for for                       Q. You
                                                                                                               ·9· · · ·Q.·  You know,know, I| think
                                                                                                                                                   think we we started
                                                                                                                                                                  started thisthis
           ©




                                                                                                                ©
               allowing some
         10· ·allowing        some employers
                                       employers to       to work
                                                               work off   off the
                                                                                the books.·
                                                                                       books. And  And               deposition with
                                                                                                               10· ·deposition         with you       saying that
                                                                                                                                               you saying        that youyou didn't
                                                                                                                                                                                didn't havehave any
                                                                                                                                                                                                  any




                                                                                                            = Oo
                         RR




                                                                                                            Bo
  EWONRPOOW®OMNOONWRNIERERO




               when they
         11· ·when       they were       caught and
                                were caught          and indicted
                                                             indicted and     and they
                                                                                     they plead
                                                                                             plead                   opinion on
                                                                                                               11· ·opinion        on the
                                                                                                                                       the merits
                                                                                                                                             merits of   of Ms.
                                                                                                                                                             Ms. Alongi's
                                                                                                                                                                     Alongi's claims,
                                                                                                                                                                                   claims, butbut
  NRNNRNNRE




               guilty and
         12· ·guilty      and they
                                they eventually
                                       eventually went     went to   to prison,
                                                                           prison, the the                           sounds
                                                                                                               12· ·sounds       like    we're making
                                                                                                                                  like we're      making some  some progress.
                                                                                                                                                                         progr ess.
                      RR




               remaining trustees
         13· ·remaining         trustees thatthat were
                                                     were not  not involved
                                                                       involved in     in this
                                                                                           this                                  On her
                                                                                                               13· · · · · · · ·On     her sexual
                                                                                                                                             sexual harassment
                                                                                                                                                        harassment claim,   claim, do do youyou
               were faced
         14· ·were      faced with
                                 with several
                                         several million
                                                      million dollarsdollars in   in                                  have any
                                                                                                               14· ·have     any opinion
                                                                                                                                     opinion on   on that
                                                                                                                                                       that one?
                                                                                                                                                              one?
                RRR




               contributions
         15· ·contributions         that
                                    that were
                                           were stillstill owed
                                                             owed by     by these
                                                                               these                                     A. I| have
                                                                                                               15· · · ·A.·      have no no idea
                                                                                                                                              idea whether
                                                                                                                                                     whether therethere waswas anyany sexual
                                                                                                                                                                                        sexual
               employers that
         16· ·employers         that were
                                       were now  now --  -- the
                                                             the employers
                                                                     employers were     were                          harassment or not.
                                                                                                               16· ·harassment         or  not.
               indicted as
         17· ·indicted       aswell.       Pretty much
                                 well.· Pretty        much out    out of of business.
                                                                              business.                                  Q. Okay.·
                                                                                                               17· · · ·Q.·    Okay. Rose  Rose Alongi's
                                                                                                                                                   Alongi's claim,claim, do  do you     have any
                                                                                                                                                                                 you have       any
             RR




                            And I| said,
         18· · · · · · · ·And        said, "You
                                             "You need  need to   to sue
                                                                       sue your        former
                                                                              your former                            opinion on
                                                                                                               18· ·opinion        on her
                                                                                                                                        her retaliation
                                                                                                                                              retaliation claim?claim?
               trustees, the
         19· ·trustees,      the collectives,
                                   collectives, and    and go  go after
                                                                     after their
                                                                              their                                      A. I| have
                                                                                                               19· · · ·A.·      havenoidea
                                                                                                                                         no idea.
               pensions." And
         20· ·pensions."·        And theythey said,
                                                  said, "Oh,
                                                           "Oh, really?·
                                                                     really? You   You know,know,                        Q. | think we've
                                                                                                               20· · · ·Q.·   I   think    we've kindkind of of already
                                                                                                                                                                  already gone gone over
                                                                                                                                                                                       over
               they don't
         21· ·they     don't have
                                have anything
                                        anything left.· left. They're
                                                                  They'reinin jail.  jail.                           thisbefore.
                                                                                                               21· ·this    before.· But  But just
                                                                                                                                                just sosol'm       clear --
                                                                                                                                                           I'm clear       -- so
                                                                                                                                                                               sol'm
                                                                                                                                                                                   I'm on on
               Y ou know,
         22· ·You       know, what
                                 what are are we      going to
                                                 we going          to get?"
                                                                        get?"                                        page 5
                                                                                                               22· ·page     5 ofof Exhibit
                                                                                                                                     Exhibit 92  92 and
                                                                                                                                                      and I'm I'm looking
                                                                                                                                                                     looking at  at the
                                                                                                                                                                                     the section
                                                                                                                                                                                            section
                            And I| said,
         23· · · · · · · ·And        said, "What
                                             "What do     do youyou want?want?· TheirTheir                           Authorizing Expenses
                                                                                                               23· ·Authorizing           Expenses WithoutWithout TrusteeTrustee Approval;
                                                                                                                                                                                     Approval;
               house or
         24· ·house       or your
                              your house?·
                                      house? BecauseBecause when    when the   the Department
                                                                                      Department of    of            Concealing Expenses
                                                                                                               24· ·Concealing           Expenses From  From the         Trustees. And
                                                                                                                                                                   the Trustees.·        And youyou

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                                                                                                                                                                                      Page 88

              Labor comes
         ·1· ·Labor     comes and  and asks
                                          asks you,
                                                 you, what
                                                         what did did youyou do do to
                                                                                    to remedy
                                                                                        remedy                      write here,
                                                                                                               ·1· ·write    here, "Therefore,
                                                                                                                                       " Therefore, Ms.       Ms. Alongi
                                                                                                                                                                    Alongi breached
                                                                                                                                                                              breached her   her
           WNP




                                                                                                                WNP




              this and you said, oh, we were sorry for them,
         ·2· ·this  and   you    said,    oh,  we    were     sorry     for   them,                                 fiduciary duties by improperly exercising control
                                                                                                               ·2· ·fiduciary       duties     by    improperly         exercising      control
              they're going
         ·3· ·they're    going to  to gogo after
                                            after you.·
                                                   you. So  So it it really
                                                                       really doesn't
                                                                                doesn't                             over plan
                                                                                                               ·3· ·over    plan assets;
                                                                                                                                    assets; responsibilities
                                                                                                                                                  responsibilities        that had
                                                                                                                                                                          that   had not
                                                                                                                                                                                       not been
                                                                                                                                                                                             been
              matter whether
         ·4· ·matter    whether you   you winwin oror not.·
                                                        not. What
                                                                What matters
                                                                           mattersis isthat
                                                                                          that                      delegated to
                                                                                                               ·4· ·delegated       to herher and
                                                                                                                                                and could
                                                                                                                                                        could not not bebe lawfully
                                                                                                                                                                            lawfully delegated
                                                                                                                                                                                         delegated
                                                                                                                Uh
           Oh




              you tried.·
         ·5· ·you   tried. So So youyou need
                                           need toto file    suit against
                                                      file suit     against them them                               to her
                                                                                                               ·5· ·to  her because
                                                                                                                               because they're
                                                                                                                                             they'retrustee           responsibilities
                                                                                                                                                           trustee responsibilities
              for breach
         ·6· ·for  breach of  of fiduciary
                                   fiduciary duty.·
                                                 duty. And And if   if you
                                                                        you win,
                                                                               win, you
                                                                                      you                           under ERISA
                                                                                                               ·6· ·under      ERISA SectionSection 405(c)(3)."
                                                                                                                                                           405(c)(3)."
           NO




                                                                                                                NO




              win. And
         ·7· ·win.·   And if if you      don't, you
                                 you don't,              don't. But
                                                 you don't.·        But then
                                                                           then when
                                                                                   when                                 A. Correct.
                                                                                                               ·7· · · ·A.·  Correct.
              the Department
         ·8· ·the  Department of       of Labor
                                           Labor says,
                                                     says, okay,
                                                              okay, trustees,
                                                                         trustees, what
                                                                                      what                              Q. So
                                                                                                               ·8· · · ·Q.·  Sol I think
                                                                                                                                     think --   -- and
                                                                                                                                                    and just      tell me,
                                                                                                                                                            just tell   me, I| think
                                                                                                                                                                                think youyou
           00




                                                                                                                00




              did you
         ·9· ·did  you do do under
                               under your        co-fiduciary breach
                                          your co-fiduciary            breach rules
                                                                                  rulestoto                         said before
                                                                                                               ·9· ·said   before that that thethe trustees
                                                                                                                                                      trustees---- that's
                                                                                                                                                                       that'saa
           ©




                                                                                                                ©




               try and
         10· ·try   and remedy
                          remedy this   this situation,
                                              situation, you you can can saysay wewe                                 responsibility that
                                                                                                               10· ·responsibility           that thethe trustees
                                                                                                                                                            trustees cannot
                                                                                                                                                                         cannot delegate
                                                                                                                                                                                   delegate
                                                                                                                     RPO




               brought suit
         11· ·brought      suit against
                                  against them.·
                                              them. And  And the the court
                                                                        court will
                                                                                 will                                approval --
                                                                                                               11· ·approval        --
               either agree
         12· ·either    agree or  or disagree.·
                                       disagree. And  And thatthat will
                                                                      will protect
                                                                             protect youyou                              A. That's
                                                                                                               12· · · ·A.·   That's correct.
                                                                                                                                          correct.
                                                                                                            SE
                                                                                                                  WN




               trustees from
         13· ·trustees     from having
                                    having been been liable
                                                        liable forfor someone
                                                                         someone else'selse's                            Q. --
                                                                                                               13· · · ·Q.·   -- of
                                                                                                                                  of expenses?
                                                                                                                                       expenses?
               breach."
         14· ·breach."                                                                                                          Okay. And
                                                                                                               14· · · · · · · ·Okay.·       And the  the ----
                                                                                                            oO Ud




                          So whether
         15· · · · · · · ·So   whether or    or not
                                                 not she
                                                       she had
                                                             had everever filed
                                                                             filed any
                                                                                     any                                 A. 405(c)(3)
                                                                                                               15· · · ·A.·   405(c)(3) says   says that
                                                                                                                                                       that control
                                                                                                                                                               control over
                                                                                                                                                                         over plan
                                                                                                                                                                                plan
               claim against
         16· ·claim     against them,
                                    them, I| think
                                                think they
                                                         they need
                                                                 need to       pursue this
                                                                          to pursue      this                        assets can
                                                                                                               16· ·assets     can only
                                                                                                                                     only be  be exercised
                                                                                                                                                   exercised by    by trustees
                                                                                                                                                                       trustees oror an
                                                                                                                                                                                      an
               to protect themselves.
         17· ·to  protect    themselves.                                                                             investment manager.·
                                                                                                               17· ·investment         manager. It       It can't
                                                                                                                                                             can't be
                                                                                                                                                                    be delegated
                                                                                                                                                                        delegated to  to
                  Q. Okay.
         18· · · ·Q.·   Okay.                                                                                        another.
                                                                                                               18· ·another.
                  A. And
         19· · · ·A.·           they'll either
                        And they'll        either win
                                                    win or or they
                                                               they won't         win.
                                                                         won't win.                                      Q. And
                                                                                                               19· · · ·Q.·            approval of
                                                                                                                              And approval              of expenses
                                                                                                                                                             expensesfallsunder
                                                                                                                                                                          falls under that that
               But they'll
         20· ·But    they'll protect
                                protect themselves
                                            themselves from   from potential
                                                                        potential                                    umbrella?
                                                                                                               20· ·umbrella?
               liability.
         21· ·liability.                                                                                                 A. Yes.
                                                                                                               21· · · ·A.·   Yes.
                  Q. Do
         22· · · ·Q.·   Do you
                             you have have anyany opinion
                                                     opinion on    on thethe merits
                                                                               merits of  of                             Q. Got
                                                                                                               22· · · ·Q.·   Got it. it.
               Ms. Alongi's
         23· ·Ms.    Alongi'sretaliation              claim? And
                                     retaliation claim?·            And by   by that
                                                                                  that I| mean
                                                                                            mean                                MR. TOSTI:·
                                                                                                               23· · · · · · · ·MR.       TOSTI: Do     Do we we want
                                                                                                                                                                   want toto take
                                                                                                                                                                              take another
                                                                                                                                                                                     another
               her claim
         24· ·her    claim thatthat the the Funds
                                              Funds federal
                                                        federal lawsuitlawsuit was  was filed
                                                                                          filed                      short break?
                                                                                                               24· ·short    break?


                                                      O'Brien &
                                                      O'Brien & Levine,
                                                                 Levine, AA Magna
                                                                            Magna Legal
                                                                                   Lega Services
                                                                                        Services Company
                                                                                                 Company                                                                           Pages 85–88
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                                                         888.825.3376 -- production@court-reporting.com
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      wechw vcat   connectors Assoc.so                                                          Ehr,
New England MCA                                   Promoting the 125                             ~~
                                         Mechanical Construction
A-                                            Industry for over                         Years   ;;:                                      )A    ro
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                                                                                                                                                   [f +ii- 4             pNNU
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                                                                                                                                          il       t    ll   l   i   l                         •




       New England MCA/MSCA
                                   Congratulates




     JOHN CANNISTRARO, JR.

               Management Award



     Along with all the Recipients of

     2015 CUSHING -GAVIN AWARDS


                                                Mechanical Contractors Association

                           New England MCA
                      p                                                                                   A SALUTE TO THE LABOR RELATIONS COMMUNITY
                                                 Mecha m! Sena» Contractors dssocoton                                  IN MASSACHUSETTS

                      New England                                                                      Archdiocese of Boston [ Dec. 4, 2015[P          Plaza. B
                                                                                                                                                                             ·,   r,   f




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P"""

       CGA HISTORY                                                                                                                     CONTENTS
       Considered a major career honor,       The son of a Boston Elevated
       the CGA was first launched by          Railway blacksmith, Cushing was a                 2
       Guild Chaplain, Father Mortimer        forthright advocate of social justice
       (Mort) Gavin, S.J. in 1967. A          and interfaith relations. He had a
       noted professional mediator, Fr.       long and public record of advocating
       Mort observed the remarkable           for a strong, responsible labor
       contributions of top-notch             movement, while being sensitive




                                                                                                                                                ■
       practitioners. He envisioned an        to the legitimate needs of the
       annual Cushing Awards program
       that would:
                                              business community. The Cardinal's
                                              involvement in the Awards' early
                                                                                                           4
                                                                                                                      ,.,•
                                                                                                                                                  h
       ■ provide well-deserved                days solidified its success, but as                          4
                                                                                                           1
         recognition to individuals for       essential was the spirit of mutuality                        t


         excellence and lifelong service in   he introduced at the very first
         labor-management affairs             Awards Dinner.                                 2- CARDINAL O'MALLEY

       ■ offer bothinspiration and            In 1982, a fourth legal counsel                3- PROGRAM
         education to the general labor-      category was added. By 1983, the
                                                                                             4- THE BOYLE AWARD
         management community                 Cushing-Gavin Awards would also
         by showcasing outstanding            honor Fr. Mort, the CGA's founder.             5- MANAGEMENT ATTORNEY AWARD
         performers                           In 2007, the Auxiliary Award was
                                                                                             6- MANAGEMENT AWARD
                                              renamed the Boyle Award in honor
       ■ bring greater visibility to the      of the 37 years of extraordinary               7-LABOR AWARD
         Guild and all its programs
                                              auxiliary work of anoter beloved               8- SPONSORS
       ■ contribute critical financial        Guild Chaplain, Father Eoward F.
         resources supporting the Guild's     Boyle, S.J.
                                                                                             9- PATRONS
         on-going work and outreach                                                          10- MEET THE LABOR GUILD
       The Awards were named initially
                                              PAST GUILD CHAPLAIN                            12-CGA DINNER CHAIRS
       for Boston's highly-popular and        EXECUTIVE SECRETARIES
       respected Richard Cardinal Cushing,                                                   18-PAST AWARDEES
                                              Fr. Francis McDonnell          (1952-1962)
       the founder of the post-war Guild.                                                    37 -2015 CGA COMMITTEE
                                              Fr. Mortimer Gavin, S.J.       (1962-1984)                                           1
                                                                                                                             it/

                                              Fr. Edward F. Boyle, S.J.      (1984-2007)

          JOIN                                Sr. Mary Priniski, O.P.        (2008-2009)
          THE LABOR                           Fr. Patrick Sullivan, C.S.C.   (2009-2012)
          GUILD                               Fr. Francis Cloherty           •'.2012-2014)




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A LETTER FROM THE CARDINAL                                                                                       2015 PROGRAM




 Brothers and Sisters in the Lord,

        Allow me this opportunity to extend my prayerful welcome at the
 Archdiocese of Boston Labor Guild's 2015 Cushing-Gavin Awards Dinner. I join
 you in congratulating Gina Alongi, John Cannistraro, Jr., Richard Charet.e and
 Diane Patrick, Esq. as they receive the recognition of the labor and management
 community who have come together for this celebration.

        Our society is blessed that, by various measurements, the economy of the
 United States and of Greater Boston has improved from the serious difficulties of
 the earlier years of this decade. There are still, however, significant challenges
 facing workers and businesses as they make strive to keep pace with continuous
 technological change and provide for the basic needs of individuals and families.
 At times, unfortunately, the people whose work leads to profitable outcomes can
 be seen as expenses to be reduced or replaced.

        On several occasions Pope Francis has spoken of our responsibility to not
 lose sight of the persons in the world of work and to include care and concern for
 their wellbeing in developing public and private policies concerning business and
 economic planning. The Archdiocese's Labor Guild and the Cushing-Gavin
 Awards give witness that principles of fairness and consideration can benefit both
 the men and women of labor and the owners and management of business, that we
 can work together to build a better future for all.

   With the assurance of my prayers for you and all whom you hold dear, I am,

                                 Sincerely yours in Christ,

                                     /5i4q»
                                 Archbishop of Boston


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    THE BOYLE                                                                                   MANAGEMENT
    AWARD                                                                                       ATTORNEY
                                                                                                AWARD
    GINA M. ALONGI                                                                              DIANE B. PATRICK, ESQ.
    Executive Director, Massachusetts                                                           Co-Managing Partner
    Coalition ofTaft-Hartley Trust Funds                                                        Ropes & Gray
    Administrator, IUOE (Operating
    Engineers) Local 4 Benefits Funds




Gina Alongi oversees over a billion       ,JI'   In 2007, Gina was elected Executive        Diane Bemus Patrick is co-managing          She is so much more than a fine lawyer.
dollars in assets as the Administrator of        Director of the Massachusetts Coalition    partner of Ropes & Gray's Boston office.    She has meant so much to the firm
the International Union of Operating             of Taft-Hartley Trust Funds. Comprised     With over thirty years of experience, she   as a role model, mentor, advisor and
Engineers Local 4 Benefit Funds. Since           of 21 Taft-Hartley trust funds and         represents employers primarily in the       counselor to our lawyers and staff
1996, her administrative responsibilities        60 associate member organizations,         healthcare and higher education sectors.    workers. She draws people because she
include Local 4's:                               Coalition members car reduce their         Growing up in Bedford-Stuyvesant            is so approachable, warm and wise."
■ Health  & Welfare Plan covering over
                                                 plan costs by combining collective         in a politically-active family, Diane       "Over 15 years, I've sat across from
                                                 purchasing power to negotiate with         taught elementary school for five years,      Diane Patrick in Wellesley College
    9,000 participants and dependents,
                                                 service providers. Gina's Coalition        until caught up in the public worker          negotiations with their union dining,
    and delivering a comprehensive
                                                 advocacy includes submitting               layoffs during New York City's 1976-77       custodial, grounds and trades services,"
    slate of medical, dental, hearing,           comments to the IRS regarding the          bankruptcy.                                  says Shelley Kroll (CGA '14) of Segal
    vision, prescription drug benefits,          upcoming "Cadillac Tax" and facilitating
                                                                                            Heading west to study at Loyola              Roitman. 'I've never encountered a
    life insurance, short-term disability        compliance and education sessions with
                                                                                            Law School in Los Angeles, "I was            more sincere, hard-working or honest
    insurance, and other benefits;               the U.S. Department o' Labor.                                                           management attorney. What is special
                                                                                            naive about what actually being a
■   Defined Benefit (Pension) Plan               A respected and talented employee          lawyer involved, " Diane notes. "But         about Diane is her ability to zealously
    covering 6,000 participants working          benefits professional, Gina's often        I discovered labor and employment            advocate for her client while showing
    for over 500 contributing employers.         invited to speak at educational forums     law, and realized I prefer conciliation      concern fc.r the union's members. She
                                                 and employee benefit :onferences to        to litigation." Her outstanding              listens and makes sure workers feel
■ Profit SharingPlans, as well as many
                                                 discuss and educate colleagues on                                                       heard."
                                                                                            academic performance won her an
    non-ERISA funds.                             crucial issues. Appointed to a national    American Jurisprudence Award and the        "In my 35 years (knock on wood), I've
"Our participants know that we have              committee of IUOE Health & Welfare         Outstanding Graduate Award. Earning          never had a strike, " Diane notes. "I've
 their back," Gina notes. "Local 4's men         Administrators in Washington D.C., she's   her JD in 1980, she was in private           been fortunate to deal with very good
 and women bring tremendous skill and            testified before the Deoartment of Labor   practice until taking a position with        clients, employees and labor reps. I can
 dedication to their craft. Their hard work      on the Health Care Claims and Appeals      Harvard's Office of General Counsel          honestly say that I loved every day of
 builds our skyline, our infrastructure,         regulations, and spent many years on       before becoming Harvard's Director/          my job."
 and our hospitals and schools. They             the Board of Directors and the Executive   Associate Vice President for Human
                                                 Board of the New England Employee                                                      Diane and her husband Deval Patrick,
 contribute a significant portion of                                                        Resources. in 1995, Diane became a
                                                                                                                                        Esq, have zwo daughters, Sarah and
 their hard-earned income for the very           Benefits Council (NEEBC).                  partner at Ropes & Gray.
                                                                                                                                        Katherine, and a grandson Gianluca
 best health care and a comfortable              Outside of her many professional           "I recruited Diane for Ropes & Gray,"       Noah Patrick Morgese, Sarah's 4-year
  retirement. That, along with the steady        commitments, Gina ca be found riding        explains Nelson Ross (CGA '01), "and       old son.
  leadership of our Trustees, allows our         her horses, gardening, and spoiling her     she went on to be our first managing
 wonderful team to build, administer and         golden retriever.                           partner, an extraordinary achievement.
  strengthen the foundations of these
  benefits."
                                            a                                                                                          a                    GMA
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    MANAGEMENT                                                                                   LABOR AWARD
   AWARD

   JOHN CANNISTRARO, JR.                                                                         RICHARD 0. CHARETTE
   President                                                                                     Retired President
   J.C. Cannistraro LLC                                                                          United Food & Commercial Workers
                                                                                                 Local #1445
                                                                                                 Chair, Interstate Health
                                                                                                 & Welfare Fund



An exceptional businessman and employer,       "With today's need for technical expertise,   Watching Rick Charette skillfully            servicing the needs of hard-working
John Cannistraro is a leading evangelist for    we're proud and fortunate to have such       navigate years of demanding situations,      men and women and their families. "I
the use of building information modeling        talented, highly-trained tradespeople.       a close colleague noted: "When I look at     loved my job - every day of it," Rick
(BIM), modular prefabrication, and lean         While BIM and fabrication are essential      Rick, what I see is a /ion of labor."        notes. "I loved the work, and helping
manufacturing that help his clients reduce      to this next generation of projects, we      Rick rose through the ranks to lead          folks solve real problems large and small,
their building costs.                           can't lose the individual craftsmanship.     UFCW 1445, which represents 15,000           improve their working situations, and
J.C. Cannistraro is a major, family-           Today's trade apprenticeship programs         workers across Northeast New England         secure their rights on the job."
owned mechanical construction firm              are more demanding than most college         from such diverse sectors as Stop &            "I've always liked numbers," Rick
                                                degrees, and can't be beat for providing     Shop, Macy's, hospitals, nursing homes,
with a unique four trade approach                                                                                                         explained. "From a young age, I was
                                                an honorable and lucrative, rriddle class    laundries, warehouses, TD Garden,
specializing in plumbing, fire protection,                                                                                                curious why some people had pensions
heating, ventilation, air conditioning and      career and lifestyle."                       Coca Cola Bottling plants. In 2013, Rick     and great healthcare, and others didn't.
refrigeration, and sheet metal services        A Past President of the Massachusetts         was appointed a UFCW International           l always believed that benefits are as
for commercial and institutional projects      Building Congress and the Plumbing            Vice President.                              important as wages, so I got involved in
throughout New England. With a company         Heating Cooling Contractors (PHCC)            Rick's labor career began in 1968            the financial end and honed my benefits
tagline of Building with lntefligence™, they   of Greater Boston, John is a volunteer        as a young member of Boston's                knowledge as a very young officer and
 manage that way as well.                      leader for the Artists for Humanity           Packinghouse Local 616. After a 2-year       kept at it."
As President, John provides the company        and the Newton Wellesley Hospital             military leave, including service in Viet     Rick was a trustee on the $5 billion
with its overall strategic direction with      Charitable Foundation. Just elected to        Nam, Rick was awarded a Bronze Star          UFCW National Multi Employee Pension
a focus on pre-construction. John has          the Corporation at Wentworth Institute        with a V device for valor.                    Furd from 2001 through July 2015.
a passion for combining creativity with        of Technology, he serves as the Chairman
                                                                                             Returning to that Boston packinghouse        Since 1997 he's been a trustee on the
                                               of the Board for the American Sanitary
design and technology, and believes                                                          in 1971, Rick became a steward and           UFCW Multi Employer Interstate Health
firmly in the ideals of mentorship and         Plumbing Museum and holds a Master
                                                                                             executive board member. Rick was Local       anc Welfare Fund covering 20,000 lives
collaboration.                                 Plumber's License in Massachusetts. John
                                                                                             616's President from 1975 through their      in Massachusetts and Rhode Island. In
                                               is a graduate of Tufts Universiry and the
Cannistraro is the only mechanical                                                           1984 joining with Retail Clerks Union        20C1, Rick became the Chairman of the
                                               Owner/President Management Program                                                         Fund and continues to chair the Fund
contractor in the area that's signatory to                                                   Local 1445. A subsequent 1985 merger
                                               at Harvard Business School.                                                                today.
four trades. Asked if that's complicated,                                                    gave rise to today's United Food and
John responds, "It isn't always easy, but we   John and his wife Tracy, have five            Commercial Workers Local 1445. Rick          Rick and Susan, his wife of 46 years,
find solutions. Introducing new construction   children: Laura, who works in Client          was 1445's non-food and warehouse            live in Fall River, and have two children,
                                               Services; Matthew, a systems analyst          director in the early 1990's, then elected   Kristen and Jason.
methods or products requires intense
                                               with Harrington Air Systems; Amy, J.P.        Financial Secretary Treasurer in 1997.
teamwork including collaboration between
our trades. Our mutual success depends on      and William.
                                                                                             In 2015, Rick stepped down after 14




                                            -
 us being competitive, getting the business                                                  years as 1445's President, and 45 years
 and growing our market share."
                                                                                                                                         a                         GMA
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                                             UNITED STATES DISTRICT COURT
                                              DISTRICT OF MASSACHUSETTS

            BOARD OF TRUSTEES OF THE IUOE LOCAL                      )
            4 PENSION FUND, et al.                                   )
                                                                     )
                                      Plaintiffs,                    )
                                                                     )      Civil Action No. 1:21-cv-10163-FDS
            v.                                                       )
                                                                     )
            GINA ALONGI,                                             )
                                                                     )
                                      Defendant.                     )

                                       DEFENDANT GINA ALONGI’S
                          ANSWERS TO PLAINTIFF’S FIRST SET OF INTEROOGATORIES

                     Pursuant to Fed. R. Civ. P. 26 and 33, defendant Gina Alongi (“Ms. Alongi”) objects and

            responds as follows to Plaintiffs’ First Set of Interrogatories. Ms. Alongi states that as she has not

            yet completed discovery in this case, she can answer these interrogatories only on the basis of the

            information known to her at this time. Ms. Alongi reserves the right to supplement these answers.

                                                    GENERAL OBJECTIONS

                     1.      Ms. Alongi objects to the Interrogatories to the extent they seek information

            protected from disclosure by the attorney-client privilege or the work product doctrine or that

            otherwise is not discoverable, and Ms. Alongi will not provide such information in answering the

            Interrogatories.

                     2.      Ms. Alongi objects to the Interrogatories, including every instruction thereto, to the

            extent that they attempt or purport to impose requirements or obligations on Alongi beyond those

            imposed by the Federal Rules of Civil Procedure.

                     3.      Ms. Alongi objects to the Interrogatories to the extent they seek confidential

            personnel and other private information about Ms. Alongi, and Ms. Alongi will not produce such

            information without an appropriate confidentiality agreement or protective order in place.




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                     4.      Ms. Alongi objects to the Interrogatories to the extent they request, in effect, a

            verbatim account of conversations that may be the subject of oral examinations upon deposition.

                     7.      Ms. Alongi objects to the Interrogatories to the extent that they do not specify a

            time frame on the ground that such requests are overbroad and not reasonably calculated to lead

            to the discovery of admissible evidence.

                     8.      Ms. Alongi objects to the Interrogatories to the extent that they call for legal

            conclusions, use legal terms of art and/or assume the existence of facts that are in dispute. Ms.

            Alongi’s answers to the Interrogatories shall not be deemed to be an admission or agreement as to

            the accuracy or completeness of Plaintiffs’ legal conclusions, use of legal terms of art or purported

            factual assertions.

                                        DEFINITION OF SPECIFIC OBJECTIONS

                     As used in the specific responses below, the following terms include objections based upon

            their respective definitions:

                     A.      “Vague and ambiguous” means that Ms. Alongi objects on the basis that the

            interrogatory is vague, uncertain or ambiguous and does not describe the information sought with

            reasonable particularity.

                     B.      “Overbroad” means that Ms. Alongi objects on the basis that the interrogatory is

            overbroad, fails to identify the information sought with reasonable particularity, and calls for an

            expansive potential breadth of information that is unreasonable in scope.

                     C.      “Calls for irrelevant information” means that Ms. Alongi objects on the basis that

            the interrogatory is not likely to lead to the discovery of information or materials relevant to the

            subject matter of the action and is not reasonably calculated to lead to the discovery of admissible

            evidence.



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                     D.      “Burdensome” means that Ms. Alongi objects on the basis that the interrogatory is

            so broad and uncertain that it creates an unreasonable and undue burden upon it. Burdensome also

            means that Alongi objects to the interrogatory because the information sought is more readily

            attainable through other, more convenient, less burdensome and less expensive sources or

            discovery procedures.

                     E.      “Calls for confidential information” means that Ms. Alongi objects on the basis the

            interrogatory seeks confidential personnel and other private information about its former and

            present employees, or seeks information concerning trade secrets or other confidential research,

            development or commercial information.

                     F.      “Calls for privileged information” means that Ms. Alongi objects on the basis that

            the interrogatory seeks information protected by the attorney/client privilege, the attorney work

            product privilege, or consists of trial preparation materials and documents containing mental

            impressions, conclusions, opinions, and legal theories of counsel, and/or requests information

            which is otherwise protected under the Federal Rules of Civil Procedure or any other valid

            privilege.

                                        SPECIFIC OBJECTIONS AND ANSWERS

            INTERROGATORY NO. 1


                     Describe in detail all facts and the basis supporting your denial of the allegation in

            Paragraph 15 of the Complaint that Ms. Alongi impermissibly exercised discretion over the use of

            plan assets and made independent decisions regarding the use of Fund resources in a manner

            contrary to plan documents and policies.


            ANSWER TO INTERROGATORY NO. 1



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                     Ms. Alongi objects to this interrogatory on the grounds that it is overbroad and

            burdensome. Subject to and without waiving any of her objections, Alongi states that she did not

            impermissibly exercise discretion over the use of plan assets, and did not make any independent

            decision regarding the use of Fund resources in a manner contrary to plan documents and policies.

            Accordingly, all facts concerning Ms. Alongi’s employment with the Funds in the position of

            Administrator support her denial of this broad and general allegation in Paragraph 15 of the

            Complaint, because they prove a negative: that she did not impermissibly exercise discretion over

            the use of plan assets, and did not make any independent decision regarding the use of Fund

            resources in a manner contrary to plan documents and policies. Ms. Alongi will not recount all

            facts concerning her employment with the Funds in response to this interrogatory, but will

            endeavor here to address certain allegations of the Funds:

                     Ms. Alongi’s allocation of administrative time was supported by the Funds’ accountants.

            In an attempt to dredge up baseless excuses for Ms. Alongi’s termination, the Funds have claimed

            that Ms. Alongi failed to keep DOL timesheets when, in fact, Ms. Alongi allocated her time

            according to the advice of the Funds’ own outside accounting firm. In 2002, the Department of

            Labor (DOL) began an investigation into the Funds’ allocation of administrative expenses charged

            to each of the trust funds comprising the Local 4 Funds. Prior to the investigation, the Funds’

            external accounting firm calculated the annual allocation to each Fund. This method predated Ms.

            Alongi becoming Administrator and was common practice with many other Taft-Hartley Trust

            Funds. After the DOL investigation concluded in 2004, the Funds negotiated the Administrative

            Services Sharing Agreement (“ASSA”) which dictates the administrative allocation of expenses

            incurred by each Fund. From that point forward, employees entered time allocations into an

            electronic database which was then distributed to the accounting firm to calculate the appropriate

            percentage to allocate to each Fund. Initially, the accounting firm calculated the reallocation every

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            six months, retroactively. However, over the years, the accounting firm determined that the

            allocation of administrative fees did not change significantly from year to year unless a large

            project affected one of the Funds.

                     After several years, the Trustees voted to move to a prospective annual allocation of time

            and advised the DOL of this change. Ms. Alongi relied on the advice of the external accountants

            who informed her that their methods of calculating and allocating her time were appropriate,

            consistent with common practices of other Taft-Hartley Trust Funds, and acceptable by the DOL.

            For the Trustees to now claim (again, only after terminating Ms. Alongi’s employment) that Ms.

            Alongi failed to keep accurate timesheets is both fanciful and completely at odds with the Funds’

            own practice and the advice of their own outside accounting firm.

                     In addition, Ms. Alongi never directed any employee to falsify their time entries, and never

            made any effort to conceal from the Trustees any work for the Massachusetts Coalition of Taft

            Hartley Funds (the “Coalition”) performed by Ms. Alongi or any other employee. Ms. Alongi

            began performing work for the Coalition in 2007, in a position that benefitted the participants of

            the Funds through Ms. Alongi’s collaboration with administrators of other Taft-Hartley funds and

            negotiation of collective discounts, and the Trustees were well aware of Ms. Alongi and other

            Funds employees’ work for the Coalition during Ms. Alongi’s employment. Indeed, the Coalition

            annually hosted a networking holiday event to which Ms. Alongi always invited the Business

            Manager and President of the IUOE Local 4, and Mr. McLaughlin attended seven of the ten events

            held from 2010 to 2019.

                     The Funds’ suggestion that they only recently discovered that Ms. Alongi performed work

            for the Coalition is false. In fact, the Funds took into account Ms. Alongi’s Coalition income as

            part of an annual determination of her salary. Moreover, to the extent Ms. Alongi performed any

            Coalition business during regular business hours, she typically performed it in lieu of taking a

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            lunch break or other permissible break during the day. When Ms. Alongi received the Cushing-

            Gavin Boyle Award in 2015—which the Trustees were well aware of—it was in recognition of

            her work with both the Funds as well as the Coalition. Regarding rent for office space paid by the

            Coalition to the Funds, the Coalition paid this rent for many years and the Trustees never indicated

            that they had any issue with the amount of rent paid by the Coalition.

                     Further, Ms. Alongi did not fail to regularly work full-time hours in her Administrator

            position. She not only regularly performed work for the Funds during the Funds’ normal business

            hours, but also regularly performed work for the Funds from home in the evenings and weekends.

                     In addition, Ms. Alongi never took or cashed out on additional vacation time unilaterally

            and without authorization. In or around 2013, then-Senior Management Trustee of the Health &

            Welfare, Pension, and Annuity & Savings Funds of the IUOE Local 4 Benefit Funds John

            Shaughnessy, and then-Business Manager Lou Rasetta, informed Ms. Alongi that she was

            approved for an additional two weeks of vacation time, for Ms. Alongi to use or cash out annually.

            The Funds never thereafter rescinded this grant of vacation time. Ms. Alongi used this vacation

            time and the Trustees never indicated that they had any issue with Ms. Alongi using this time until

            after she was terminated.


            INTERROGATORY NO. 2


                     Describe in detail all facts and the basis supporting your denial of the allegation in

            Paragraph 15 of the Complaint that Ms. Alongi was at all times relevant to this action a fiduciary

            as defined in ERISA §3(21)(A), 29 U.S.C. §1002(21)(A).


            OBJECTION AND ANSWER TO INTERROGATORY NO. 2




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                     Ms. Alongi objects to this interrogatory on the grounds that it is vague and ambiguous,

            overbroad, burdensome, and requires Ms. Alongi to draw a legal conclusion. Subject to and

            without waiving any of her objections, Ms. Alongi states: see answer to Interrogatory No. 17.


            INTERROGATORY NO. 3


                     Describe in detail all facts and the basis supporting your denial of the allegation in

            Paragraph 22 of the Complaint that it was the expectation of the Trustees that the Administrator

            would be present in the office during the Fund’s regular business hours, or that if permission was

            granted for her to work shifted hours, that she would provide at least seven hours of daily work

            and would devote her full working hours to the operations of the Funds and do so in compliance

            with Fund documents and policies.


            ANSWER TO INTERROGATORY NO. 3

                     Ms. Alongi states that she denied this allegation because beginning in March 2020, she was

            directed to—and did—work remotely, and therefore it was not the expectation of the Trustees that

            Alongi would be present in the office between 8:00am to 4:00pm.


            INTERROGATORY NO. 4

                     Describe in detail all facts and the basis supporting your denial of the allegation in

            Paragraph 20 of the Complaint that Ms. Alongi, while employed as the Administrator, was

            responsible for the oversight of all Fund employees and to assure compliance by them with Fund

            policies.

            OBJECTION AND ANSWER TO INTERROGATORY NO. 4

                     Alongi objects to this interrogatory on the grounds that it is overbroad and burdensome.

            Subject to and without waiving any of her objections, Alongi states that to the extent other Funds

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            office employees had supervisors other than Ms. Alongi, Ms. Alongi was not “responsible for the

            oversight of all Fund employees.” Between 2015 and 2020, Ms. Alongi’s direct reports were

            Laura-Jean Hickey and Greg Geiman. All other Funds employees who were managers reported

            to either Ms. Hickey or Mr. Geiman, and those managers in turn had employees who directly

            reported to them.


            INTERROGATORY NO. 5

                     Describe in detail all times during which Ms. Alongi complied with, or refused to comply

            with, the requirement in the Amended Agreement to Share Administrative Services and Office

            Space that she keep a daily time sheet tracking the services rendered and the Health and Welfare

            Fund or any “Organization” defined therein to which she rendered such services during the period

            following the audit conducted by the Department of Labor in 2004. If Ms. Alongi contends that

            she was not required to keep a daily time sheet as described above, describe in detail her basis for

            that contention as well as all facts supporting that contention.

            OBJECTION AND ANSWER TO INTERROGATORY NO. 5

                     Ms. Alongi objects to this interrogatory on the grounds that it is vague and ambiguous,

            overbroad and burdensome. Ms. Alongi further objects to this interrogatory to the extent it calls

            requires Ms. Alongi to draw a legal conclusion. Subject to and without waiving any of her

            objections, Ms. Alongi states that the Funds, and its own outside accounting firm, did not require

            Ms. Alongi to keep a daily time sheet for allocation purposes. Further answering, see answer to

            Interrogatory No. 1 and answer to Interrogatory No. 6.


            INTERROGATORY NO. 6

                     Describe in detail each and every time Ms. Alongi was interviewed by the Funds’

            accounting firm regarding the estimate of hours worked for allocations during the period 2015

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            through 2020, and describe in detail her basis for doing so as well as the documents, materials, or

            data brought to, used, referred to, or implemented in those interviews.

            OBJECTION AND ANSWER TO INTERROGATORY NO. 6

                     Ms. Alongi objects to this interrogatory on the grounds that it is vague and ambiguous.

            Subject to and without waiving any of her objections, Ms. Alongi states that from 2015 until the

            end of her employment, Jeanne Mickel, CPA, of Manzi & Associates (“Manzi”) annually provided

            an estimated allocation of hours to Ms. Alongi for Ms. Alongi’s review and approval. Ms. Mickel

            proposed and approved of this procedure.

                     The process began with Funds employees entering time records into an Excel spreadsheet.

            The data from the spreadsheet was collected by the Funds in-house accountant Rebecca Zaccardi.

            Ms. Zaccardi would use the data to create a spreadsheet with the new calculated allocation

            percentages. The “draft” allocation percentages would be sent to Ms. Mickel, to review, and Ms.

            Mickel would also add an allocation for Ms. Alongi.             Once Ms. Mickel included the

            Administrator’s allocation and finalized the document, Ms. Alongi would receive the final

            document for approval from Ms. Zaccardi.

                     Once approved by Ms. Alongi, the information would be presented to the Trustees for their

            review and approval at the next board meeting. The Trustees received, reviewed, and approved

            the time allocation data submitted by Ms. Alongi every year, and never indicated to Ms. Alongi

            that they had any issue with the way in which her time was recorded and allocated, until after Ms.

            Alongi filed a Charge of Discrimination with the Massachusetts Commission Against

            Discrimination against the Funds and William McLaughlin in September 2020.


            INTERROGATORY NO. 7




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                     Describe in detail all facts and the basis supporting your denial of the allegation in

            Paragraph 29 of the Complaint that Ms. Alongi omitted those hours of work performed for the

            Massachusetts Coalition of Taft-Hartley Funds during her normal working hours when she either

            recorded her working time on a time sheet as required by the Shared Services Agreement or was

            interviewed by the Funds’ accounting firm concerning the allocation of her working time.

            OBJECTION AND ANSWER TO INTERROGATORY NO. 7

                     Ms. Alongi objects to this interrogatory on the grounds that it is vague and ambiguous, and

            further objects to the extent it requires Ms. Alongi to draw a legal conclusion. Subject to and

            without waiving any of her objections, Ms. Alongi states that she does not know what precisely

            the Funds are referring to by “those hours of work performed for the Massachusetts Coalition of

            Taft-Hartley Funds during her normal working hours.”            As noted in Alongi’s answer to

            Interrogatory No. 1, to the extent that Ms. Alongi performed Coalition business during regular

            business hours, she typically performed it in lieu of taking a lunch break or other permissible break

            during the day. Further, when Mr. McLaughlin required Ms. Alongi to provide him with work

            summaries in 2020 containing records of her time, Ms. Alongi accounted for the minimal time

            spent on Coalition work in those summaries, and made no effort to “omit” anything.

                     The Trustees were well aware of the work Ms. Alongi performed for the Coalition. In fact,

            the Funds took into account Ms. Alongi’s Coalition income as part of an annual determination of

            her salary. Regarding her allocation of working time, Ms. Alongi followed the advice of the

            Funds’ own accountants, and was never advised by the Funds or their accountants that she was

            improperly “omitting” anything.


            INTERROGATORY NO. 8




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                     Describe in detail every benefit, pecuniary or otherwise, the Funds received as a result of

            Ms. Alongi’s service as Executive Director of the Massachusetts Coalition of Taft-Hartley Funds,

            including for each such benefit:

                     a.      The date the benefit or advantageous agreement or service contract commenced and

            concluded;

                     b.      Ms. Alongi’s specific role in securing the benefit or advantageous agreement or

            service contract;

                     c.      The substance of the benefit or advantageous agreement or service contract,

            including where applicable the pecuniary nature of the benefit in terms of dollar value of the

            savings as compared with the services provided to or agreements with service providers

            maintained by the Funds immediately prior to the implementation of the benefit;

                     d.      The identity of any witness(es) to Ms. Alongi’s personal involvement in negotiating

            or securing the benefit or advantageous agreement or service contract, pecuniary or otherwise;

            and.

                     e.      Whether the benefit in question was available to all members of the Coalition

            .OBJECTION AND ANSWER TO INTERROGATORY NO. 8

                     Ms. Alongi objects to this interrogatory on the grounds that it is vague and ambiguous,

            overbroad, and burdensome. Subject to and without waiving any of her objections, Alongi states

            as follows:

            The following projects provided direct savings to Coalition members, including the Funds, through

            collective purchasing:

            Date of Coalition Meeting         Topic
            11-14-2007                        Blue Cross Blue Shield (“BCBS”) MA - administrative (“admin”) fee
                                              reduction
              1-10-2008                       BCBS MA - admin fee reduction
              3-18-2008                       BCBS MA - admin fee reduction

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              1-15-2009                       BCBS MA – admin fee reduction
               9-9-2009                       Pharmacy Pricing Analysis – Bid project to 8 Consulting Firms to
                                              analyze each funds’ RX pricing, for funds to negotiate with RX carrier.
            11-18-2009                        EPIC Hearing – negotiated rates
             1-13-2010                        BCBS MA – admin fee reduction
             3-18-2010                        Davis Vision – Value Advantage Plan
             5-18-2011                        Davis Vision – Network Agreement
             5-18-2011                        Results of Pharmacy Project performed by Segal Company
              8-4-2011                        Davis Vision - contract
             9-15-2011                        Updated results of Pharmacy Project by Segal Company
            11-17-2011                        MRI and CAT Scan Services – Shields MRI Discounts
             1-11-2012                        Delta Dental – dental discounts
             9-12-2012                        BCBS MA – admin fee reduction
             9-19-2013                        Dependent Eligibility Audit HMS Employer Solutions
             3-12-2014                        BCBS MA – Reduction in Fees Fully Insured Groups
              2-9-2015                        New York Health Care Alliance – Pharmacy Benefit Program Project –
                                              Proskauer, Lead Attorney
              6-4-2015                        Comment to IRS – Cadillac Tax, Excise Tax – Slevin and Hart
            11-19-2016                        BCBS MA – admin fee reduction 2015-2017
              3-8-2017                        BCBS MA – Bundled Product Discounts – Stop Loss, RX and Dental
             9-18-2018                        Emerging Solutions Discounts – Livongo, Hinge Health, and Omada
                6-20-19                       Emerging Solution Discounts – Robin Care for Cancer Patients


            The following presentations and/or educational sessions facilitated by the Coalition were made

            available to Coalition members, including the Funds:

            Date of Meeting           Topic

            11-14-2007                Mass Health Care Reform – Submitted Testimony, Hinkley Allen & Tringale
            11-14-2007                Medicare Supplements – BCBS MA
            11-14-2007                Defense of Marriage Act – Segal Roitman, Mary Sullivan
             1-11-2008                Mass Department of Industrial Boards (Request to Match Data, Loss of Time)
             6-26-2008                Tobacco Control Program – Class Action Lawsuit
             9-10-2008                Minimum Creditable Coverage and Employer Fair Share Contribution –
                                      Testimony Submitted with the Mass Building Trades, Frank Callahan
            11-12-2008                Smoking Cessation – Pfizer – Gary Donlin
             3-18-2009                COBRA Premium Assistance Subsidy Program – The Segal Company
             3-18-2010                Standards for protecting personal information for residents in the Commonwealth
                                      of MA
              5-12-2010               Collection Procedures – Ironworkers District Council (Hired Greg Geiman 2010)
              1-26-2011               Swift MD – Introduction to Telemedicine
              3-16-2011               Mass All-Payor Claims Database
              5-12-2010               Best Practices – Pensioners Returning to Work
              5-12-2010               Best Practices – Delinquency Policies
              9-15-2011               Medication Therapy – Roland Mueller
              3-14-2012               Center for Medicare and Medicaid Services
              7-25-2012               US Department of Labor – Mary Rosen – “Voluntary Fiduciary Correction
                                      Program (VCP)”


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              1-28-2013               Pension Fund Compliance – Savitz Organization
               6-5-2013               Affordable Care Act – Tringale Health Strategies
              9-19-2013               Mass General Hospital – Diabetes Research Group
              11-6-2013               Webinar – Stop Loss
               6-3-2014               Specialty Drugs “Ask the Experts”
              9-18-2014               US Department of Labor – Mary Rosen – “Hot-Topics”
              1-30-2014               Cyber Liability Insurance – Segal Select Insurance
              2-19-2015               Opioid Prescriptions – BCBS-MA
              6-14-2015               Prescription Drug Litigation – Delzico – Generic Suppression Litigation –
                                      Wagstaff and Cartmell, LLP
              9-24-2015               US Department of Labor – Mary Rosen – “ACA Most Common Violations –
                                      DOL Priority in the are of 2016”
            11-19-2015                Telehealth – American Well BCBS-MA
             1-20-2016                Marcum – Security Assessments
             6-20-2016                Proposal for RX Audit Project – Healthlinx, J. Graham
             9-21-2016                Pfizer – Immunization Initiative, Smoking Cessation
             9-21-2016                Haynes & Associates – Zoll Wearable Defibrillators
             1-11-2017                Best Doctors – Charlie Gustafon
             11-8-2017                Fraud and Abuse Seminar – BCBS MA
             11-8-2017                Centers for Diagnostic Imaging – Louise Zafirson – Alternative to Sheilds MRI
             9-20-2017                US Department of Labor – Mary Rosen “Enforcement Initiatives and
                                      Compliance”
              1-10-2018               Washburn House (Substance Abuse Treatment Center) Jim O’Day
              4-10-2018               Diabetes Management Tool – Livongo – Chris May and Aaryn Pure
              4-10-2018               Class Action lawsuit Opioid Manufacturers – Thornton & Naumes
              9-19-2018               Modern Assistance Programs – Opioid Crisis and Employee Assistance
                                      Programs – John Christian and Damien Turini
              9-19-2018               Mass Building Trades – Update Congressman Richard Neal – Multi-Employer
                                      Pension Crisis – The Grow Act
            11-14-2018                Allways Health Plans – Vin Capozzi and Jenn St. Thomas – BCBS Competitor –
                                      Leverage BCBS Discount.
                1-9-2019              Draft Letter Follow up to 09-19-2018 letter Mass Building Trades signed by All
                                      Coalition Members and Mass Building Trades. Letter sent to all Congressional
                                      Leaders and Members of the Joint Select Committee on Solvency of Multi-
                                      Employer Pension Plans.
               3-6-2019               Mass Paid Family and Medical Leave Act – Mass Building Trades – Frank
                                      Callahan
               3-6-2019               Boston Medical Center – Opioid Epidemic – Michael Botticelli
              6-10-2019               Hinge Health – Emerging Solution – Disease of the Musculoskeletal System –
                                      Mike Gorfin
              6-10-2019               Robin Care – Emerging Solution for Cancer – Hugh Ma
               1-8-2020               Cigna – Jay Gobel – Competitor to BCBS MA Leverage Discounts
               3-4-2020               Altus Dental and Chewsi
               3-4-2020               Claim Informatics Presentation/Proposal


            The following wellness events and related benefits were made available to all Coalition members,

            including the Funds:



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            Date of Meeting           Topic

               3-1-2008               Blue Medicare PFFS Advantage Plan – To all Retirees
               5-6-2009               Heart Health Event (June 6, 2009)
               5-6-2009               Self-Help Book “Healthier at Home” Coalition Discount
            11-21-2009                Flu Busters Clinic
             9-11-2010                Wellness Event (Tuffs Health Plan)
             3-14-2012                Wellness Summit Hosted by Tuffs Health Plan – Gillette Stadium
            11-20-2012                Fitness Challenge – BCBS and Virgin Health Miles – 12 Week Kick
                                      Challenge. $5,000 to “Union” winner for a scholarship. Eff. 01-06-13
            11-18-2017                Wellness Event - Preliminary Discussion
             9-20-2017                Wellness Event - Venue
             1-10-2018                Wellness Event - Appoint Subcommittee
             4-10-2018                Wellness Event - Approval to Send two people to Midwest to view how
                                      they planned event.
               6-4-2018               Wellness Event – Update from Midwest Travel
              9-19-2018               Wellness Event – Hired Event Coordinator Kathy Felber (Planned
                                      Midwest Event)
            11-14-2018                Wellness Event - Event Planning, Subcommittee
               1-9-2019               Wellness Event - Preliminary Budget, Location
               3-6-2019               Wellness Event - Budget
             6-10-2019                Wellness Event - Date, Location Secured (Lombardo’s)
              9-18-2019               Wellness Event – IRS 501(c)(3) Filing, Communication Material
              11-6-2019               Wellness Event – Letter to Associate Members regarding Sponsorships,
                                      Articles of Organization, Bylaws
                1-8-2020              Wellness Event – Sponsorship Commitments, Exhibitors, Task List
                3-4-2020              Wellness Event – IRS Determination Approval Letter, Financial
                                      Statements


                     Ms. Alongi has produced Coalition meeting minutes and related documents that provide

            support and additional information regarding all of the above-refenced meetings and benefits in

            the state court matter at GMA 0001 – 00265. As Executive Director of the Coalition, Ms. Alongi

            negotiated on behalf of and represented the Coalition in obtaining the above-referenced benefits

            and as such was instrumental in obtaining those benefits for the Funds. In addition, the Coalition

            funded a $4,000 scholarship (paid out in $1,000 over four years) that was made available to all

            members, and Local 4 dependents won those scholarships in 2014, 2015, and 2020.


            INTERROGATORY NO. 9


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                     Describe in detail all facts and the basis supporting your denial of the allegation in

            Paragraph 33 of the Complaint that Ms. Alongi was regularly performing work for the

            Massachusetts Coalition of Taft-Hartley Funds during the Funds’ standard workday of 8:00 AM

            to 4:00 PM, a period of time for which she was supposed to be working for the sole and exclusive

            benefit of the Local 4 Funds and their participants.

            OBJECTION AND ANSWER TO INTERROGATORY NO. 9

                     Ms. Alongi objects to this interrogatory on the grounds that it is overbroad and

            burdensome. Subject to and without waiving any of her objections, Ms. Alongi states that to the

            extent Ms. Alongi performed Coalition work during regular business hours, she typically

            performed it in lieu of taking a lunch break or other permissible break during the day. The Trustees

            were well aware of the work that Ms. Alongi performed for the Coalition during her employment

            and never informed her that her work for the Coalition was in any way harmful to the Funds. To

            the contrary, Ms. Alongi’s work for the Coalition benefitted the Funds and their participants.


            INTERROGATORY NO. 10

                     Describe in detail all facts and the basis supporting your denial of the allegations in

            Paragraph 35 of the Complaint regarding Ms. Alongi’s average arrival time to the office for the

            years 2015-2020. If you contend that Ms. Alongi regularly arrived at times other than those

            specified in Paragraph 35 of the Complaint, describe in detail all facts supporting those contentions

            OBJECTION AND ANSWER TO INTERROGATORY NO. 10

                     Ms. Alongi objects to this interrogatory on the grounds that it is overbroad and

            burdensome. Subject to and without waiving any of her objections, Alongi states that the “average

            arrival times” for 2015 through 2019 set forth in Paragraph 35 of the Complaint are incorrect. Ms.




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            Alongi regularly arrived to work at the Funds office at around 9:15am during those years, after

            taking her insulin shot at home at around 8:30am.

            INTERROGATORY NO. 11

                     Describe in detail all facts and the basis supporting your denial that Ms. Alongi unilaterally

            and in an ultra vires fashion diverted plan assets for her own benefit and that of the Massachusetts

            Coalition of Taft-Hartley Funds during the period 2015 through 2020.

            OBJECTION AND ANSWER TO INTERROGATORY NO. 11

                     Ms. Alongi objects to this interrogatory on the grounds that it is overbroad and

            burdensome. Subject to and without waiving any of her objections, Ms. Alongi states that she did

            not “unilaterally and in an ultra vires fashion diverted plan assets for her own benefit and that of

            the Massachusetts Coalition of Taft-Hartley Funds during the period 2015 through 2020.”

            Accordingly, all facts concerning Ms. Alongi’s employment with the Funds from 2015 through

            2020 support her denial of this broad and general allegation, because they prove a negative: that

            she did not “unilaterally and in an ultra vires fashion divert plan assets for her own benefit and

            that of the Massachusetts Coalition of Taft-Hartley Funds during the period 2015 through 2020.”

            Further answering, see answer to Interrogatory No. 1.


            INTERROGATORY NO. 12

                     Describe in detail all facts and the basis supporting your denial of the allegation in

            Paragraph 46 of the Complaint that Ms. Alongi instructed the Fund employees under her

            supervision, including Rosemarie Alongi, Laura Jean Hickey, Taylor Ryan, Rosemary Ortega,

            Bettyann Trefry, Terri Berardi, Amy Boisvert, and Rebecca Zaccardi to provide services to the




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            Coalition and that she further instructed those employees to falsify their time sheets to disguise the

            true nature of the work they were performing.

            ANSWER TO INTERROGATORY NO. 12

                     Ms. Alongi states that she never instructed anyone to falsify their time sheet. Further

            answering, Ms. Alongi states that Rosemarie Alongi, Taylor Ryan, Rosemary Ortega, Bettyann

            Trefry, Terri Berardi, Amy Boisvert, and Rebecca Zaccardi were not “under her supervision” to

            the extent that those employees did not directly report to Ms. Alongi and had other supervisors

            that they reported to. Further, Ms. Alongi never instructed Taylor Ryan, Rosemary Ortega,

            Bettyann Trefry, Teri Berardi, or Amy Boisvert to provide services to the Coalition. Ms. Hickey

            held the position of Coalition Coordinator, and as Executive Director of the Coalition, Ms. Alongi

            asked Ms. Hickey to perform Coalition work on occasion, given that Ms. Hickey was the Coalition

            Coordinator.      Ms. Zaccardi prepared quarterly financial reports and annual tax forms for the

            Coalition on her own time using her own financial software, and Rosemarie Alongi occasionally

            made minor changes to the Coalition’s website, as requested by Ms. Hickey, which did not take

            long when requested and were not made every day.

            INTERROGATORY NO. 13

                     Describe in detail all facts and the basis supporting your denial of the allegation in

            Paragraphs 54 and 55 of the Complaint that Ms. Alongi, starting in 2013, unbeknownst to the

            Trustees of the Funds and without proper approval from the Trustees, began taking an additional

            two weeks of vacation over and above the allotment of four to which she was entitled and that,

            during the period January 1, 2015 through July 21, 2020, Ms. Alongi engaged in a practice of




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            cashing out this additional two weeks of vacation in the middle of the year, in effect, awarding

            herself, in a unilateral and ultra vires fashion, an extra two weeks of salary.

            ANSWER TO INTERROGATORY NO 13

                     Alongi states that in or around 2013, then-Senior Management Trustee of the Funds John

            J. Shaughnessy, Jr. and then-Business Manager Lou Rasetta informed Ms. Alongi that she was

            approved to take an additional two weeks of vacation time, for Ms. Alongi to use or cash out

            annually. The Funds never thereafter rescinded this grant of vacation time. Ms. Alongi never

            awarded herself an extra two weeks of salary “in a unilateral and ultra vires fashion.”


            INTERROGATORY NO. 14

                     Describe in detail all facts and the basis supporting your denial of the allegation in

            Paragraph 64 of the Complaint that Ms. Alongi did not work past the Funds’ closing time of 4:00

            P.M. or on the weekends to make up for her routine late arrival to the Funds’ Office.

            OBJECTION AND ANSWER TO INTERROGATORY NO. 14

                     Ms. Alongi objects to this interrogatory on the grounds that it is overbroad and

            burdensome. Subject to and without waiving any of her objections, Ms. Alongi states that she not




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            only regularly performed work for the Funds during the Funds’ normal business hours, but also

            regularly performed work for the Funds from home in the evenings and on weekends.


            INTERROGATORY NO. 15

                     Describe in detail all facts and the basis supporting your denial of the allegation of

            Paragraph 67 of the Complaint that Ms. Alongi received excess compensation in the amount of

            $282,152 during the period 2015 through 2019.

            ANSWER TO INTERROGATORY NO. 15

                     Ms. Alongi objects to this interrogatory on the grounds that it is overbroad and

            burdensome. Subject to and without waiving any of her objections, Ms. Alongi states that she is

            not aware of any occasion where she received “excess compensation.” During her employment

            with the Funds, she received compensation from the Funds for the work that she performed for the

            Funds in connection with employment the Funds, which was promised to her by the Funds and

            owed to her. Moreover, the Funds’ allegation that Ms. Alongi received this “excess compensation”

            appears to be based on the false allegations that Ms. Alongi “worked substantially less than a 7

            hour day” and “routinely failed to work anything like a full time schedule.” Ms. Alongi denies

            these allegations. Ms. Alongi worked a full time schedule for the Funds, and not only regularly




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            performed work for the Funds during the Funds’ normal business hours, but also regularly

            performed work for the Funds from home in the evenings and weekends.


            INTERROGATORY NO. 16


                     Describe in detail all facts supporting your Third Defense raised in your Answer to the

            Complaint that “Plaintiffs’ claims are barred, in whole or part, by the applicable statute of

            limitations.”

            OBJECTION ANSWER TO INTERROGATORY NO. 16

                     Ms. Alongi objects to this interrogatory to the extent that it overbroad and burdensome.

            Ms. Alongi further objects to this interrogatory to the extent it requires Ms Alongi to draw a legal

            conclusion, seeks privileged information, and/or impermissibly seeks to invade the mental

            impressions and trial strategy of Ms, Alongi or her counsel. Subject to and without waiving any

            of her objections, Ms. Alongi states that she was employed by the Funds in the position of

            Administrator since 1996, and she began working for the Coalition in 2007. During her

            employment as Administrator, the Funds were well aware of the work Ms. Alongi performed for

            both the Funds and the Coalition.


            INTERROGATORY NO. 17

                     Describe in detail all facts supporting your Sixth Defense raised in your Answer to the

            Complaint that “Plaintiffs’ claims fail, in whole or in part, because the relevant actions of Alongi

            were not undertaken in a fiduciary capacity.”

            OBJECTION AND ANSWER TO INTERROGATORY NO. 17

                      Ms. Alongi objects to this interrogatory on the grounds that it is overbroad and

            burdensome. Ms. Alongi further objects to this interrogatory to the extent that it requires Ms


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            Alongi to draw a legal conclusion, seeks privileged information, and/or impermissibly seeks to

            invade the mental impressions and trial strategy of Ms, Alongi or her counsel. Subject to and

            without waiving any of her objections, Ms. Alongi states that on many occasions during her long

            employment with the Funds, she performed ministerial tasks or acted under the direction or with

            the approval of the Trustees, such as when she used vacation time that had been approved for her

            to use.


            INTERROGATORY NO. 18

                      Describe in detail all facts supporting your Ninth Defense raised in your Answer to the

            Complaint that “Without admitting that Plaintiffs suffered any harm or damage, any damages that

            Plaintiffs have suffered were caused in whole or in part by their own conduct.”

            OBJECTION AND ANSWER TO INTERROGATORY NO. 18

            `         Ms. Alongi objects to this interrogatory to the extent that it is overbroad and burdensome.

            Ms. Alongi further objects to this interrogatory to the extent it requires Ms. Alongi to draw a legal

            conclusion, seeks privileged information, and/or impermissibly seeks to invade the mental

            impressions and trial strategy of Ms, Alongi or her counsel. Subject to and without waiving any

            of her objections, Ms. Alongi states that the Funds were well aware of the work that Ms. Alongi

            performed for both the Funds and the Coalition during her employment with the Funds. Moreover,

            in or around 2013, then-Senior Management Trustee of the Funds John J. Shaughnessy, Jr. and

            then-Business Manager Lou Rasetta informed Ms. Alongi that she was approved to take an




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            additional two weeks of vacation time, for Ms. Alongi to use or cash out annually. The Funds

            never thereafter rescinded this grant of vacation time.


            INTERROGATORY NO. 19

                     Identify each and every communication you have had with the Plaintiffs or any third party

            that you believe supports your contention that Ms. Alongi did not breach her fiduciary duty to the

            Plaintiffs, including for each such communication:

                     a.      The date of the communication

                     b.      The identity of the individuals who engaged in the communications;

                     c.      The substance of the communication;

                     d.      The method of communication (e.g., in-person communication, telephone

            conversation, e-mail, etc.);

                     e.      The identity of any witness(es) to the communication.

            OBJECTION AND ANSWER TO INTERROGATORY NO. 19

                     Ms. Alongi objects to this interrogatory on the grounds that it is overbroad and

            burdensome. Ms. Alongi further objects to this interrogatory to the extent that it requires Ms

            Alongi to draw a legal conclusion, seeks privileged information, and/or impermissibly seeks to




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            invade the mental impressions and trial strategy of Ms, Alongi or her counsel. Subject to and

            without waiving any of her objections, Ms. Alongi states: see answer to Interrogatory No. .1.


            INTERROGATORY NO. 20

                     Identify each and every document that you contend indicates or supports your contention

            that Ms. Alongi did not breach her fiduciary duty to the Plaintiffs.

            OBJECTION AND ANSWER TO INTERROGATORY NO. 20

                     Ms. Alongi objects to this interrogatory on the grounds that it is overbroad and

            burdensome. Ms. Alongi further objects to this interrogatory to the extent that it requires Ms

            Alongi to draw a legal conclusion, seeks privileged information, and/or impermissibly seeks to

            invade the mental impressions and trial strategy of Ms, Alongi or her counsel. Subject to and

            without waiving any of her objections, Ms. Alongi states: see answer to Interogatory No. 1 and

            the document productions made by all parties in this matter and the state court matter.


            INTERROGATORY NO. 21

                     Identify each and every person from whom you or representative have taken formal or

            informal statements (including but not limited to oral statements, notes, affidavits, or declarations)

            concerning this case, the allegations included in the Complaint, or the denials and Defenses




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            asserted in your Answer, including the name, address and telephone number of each such person

            and the date(s) on which the statements were taken.

            OBJECTION AND ANSWER TO INTERROGATORY NO. 21

                     Ms. Alongi objects to this interrogatory on the grounds that it vague and ambiguous,

            overbroad, and burdensome. Subject to and without waiving any of her objections, Ms. Alongi

            states as follows:

                     - Jennifer Dow – affidavit produced in state court matter at GMA 00418-419

                     - Jennifer Vachon – affidavit produced in state court matter at GMA 00420-00421

                     - Rosemary Ortega – handwritten statement produced in state court matter at GMA 0422-

                     00425

                     - Taylor Ryan – handwritten statement produced in state court matter at GMA 00426-

                     00429

                     - John J. Shaughnessy, Jr, - affidavit produced in state court matter at GMA 00430-00432

                     - Louis G. Rasetta – affidavit produced in state court matter at GMA 00433-00436.


            INTERROGATORY NO. 22

                     Identify each and every communication wherein Ms. Alongi instructed any employee

            under her supervision to perform work on behalf of the Massachusetts Coalition of Taft-Hartley




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            Funds using the Funds’ email system or address, office telephones, or cellular phones during the

            period 2015 through 2020.

            OBJECTION TO INTERROGATORY NO. 22

                     Ms. Alongi objects to this interrogatory on the grounds that it is overbroad and

            burdensome.


            INTERROGATORY NO. 23

                     In the event that you objected to the production of any document, data, or communication

            in your response to the Plaintiffs’ Requests for Production of Documents on the ground that the

            document, data, or communication is not within your possession, custody or control, identify such

            document or thing individually and:

                     a.      identify the author or maker of the document, data, or communication;

                     b.      identify the recipient of the document, data, or communication;

                     c.      identify the sender of the document, data, or communication;

                     d.      state the date of the document, data, or communication; and

                     f.      state the present location of the document or thing, or the date on which the

                             document, data or communication was destroyed, lost or otherwise disposed of.

            ANSWER TO INTERROGATORY NO. 23

                     Not applicable.




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                     Signed under the pains and penalties of perjury, this 29th day of April, 2022.




                                                                       Gina Alongi




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            As to objections:




                                                             GINA ALONGI,
                                                             By her attorneys,

                                                             /s/ Jacob A. Tosti
                                                             Timothy P. Van Dyck (BBO # 548347)
                                                             Douglas T. Radigan (BBO # 657938)
                                                             Jacob A. Tosti (BBO # 704007)
                                                             BOWDITCH & DEWEY, LLP
                                                             200 Crossing Boulevard
                                                             Framingham, MA 01702
                                                             Telephone: 617.757.6537
                                                             Facsimile: 508.929.3137
                                                             tvandyck@bowditch.com
                                                             dradigan@bowditch.com
                                                             jtosti@bowditch.com
            Date: April 29, 2022




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                                                                                                  D. App. 142
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                                   CERTIFICATE OF SERVICE

            I hereby certify that I served a copy of this document on counsel for all other
            parties via electronic mail on April 29, 2022

                                            /s/ Jacob A. Tosti




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                        TAB
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---------- Forwarded message ---------
From: Greg Geiman <greggeiman4@gmail.com>
Date: Thu, May 24, 2018 at 5:20 PM
Subject: Fwd: Note to file
To: Greg Geiman <greggeiman4@gmail.com>


Re the May 1 meeting. Gina told me via phone the morning of the meeting that she was going to sit down with Billy
about her concerns and “don’t try to talk me out of it.”

---------- Forwarded message ---------
From: Greg Geiman <greggeiman4@gmail.com>
Date: Mon, May 14, 2018 at 9:48 PM
Subject: Note to file
To: <greggeiman4@gmail.com>


After the April 12, 2018 H&W Trustees meeting, Gina reported to me that Billy had called her on the phone and told her
that she looked so good at the Trustees meeting that he had difficulty focusing on the meeting. Gina said that she
quickly changed the subject and was unresponsive to Billy's comments. This was the first allegation of unwanted sexual
comments/advances made by Billy to Gina.

Gina had reported earlier sporadic comments to me that Billy had made to her regarding his sex life and women in the
office that he found attractive, but never indicated that such talk from Billy was unwanted or made her
uncomfortable. She reported only that she had advised Billy to "keep it [his sex life] out of the office."

On May 1, 2018, Gina asked Billy to come to her office to discuss a list of grievances; specifically, items on which she had
not been included or treated fairly in her estimation. Gina reports that Billy reacted angrily. Upon mention of John
Gaffny being at a meeting with a newly-organized company instead of her, and that she ran a billion-dollar benefit fund
and should have been included, she reports that Billy stood up, moved aggressively toward her and yelled, "Fuck
you! You don't run anything. I run these funds." I did hear this outburst from my office. She claims that his fists were
up in a fighting position, and that she yelled back at him, "Fuck you! Get out of my fucking office!" She claims she poked
him once in the chest to move him back out of her space. When I reached her office, Rosemarie was already there,
attempting to hold Billy back. Gina poked him in the chest once more when I reached the office. Although he appeared
menacing, and said something along the lines of "Come on! What are you going to do?" Billy did not appear to touch
Gina. Becky, Alan, Don, and Amy Boisvert were also present in the office during this outburst.

Once things cooled off, Gina and Billy returned to her office with the door closed and continued speaking. Before this, I
briefly spoke with Billy and tried to calm him down. When Gina returned, I spoke with them both and pleaded with
them to work together. When they emerged some time later, I was standing in the lagoon with Mike Bowes, and Billy
and Gina appeared agreeable and to have calmed down. Later that day, Gina told me that Billy had gotten her in a

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        CONFIDENTIAL                                                                                   FUNDS084900
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corner of her office, hugged her, and attempted to kiss her on the lips. She claims that she turned her head and was
kissed on the cheek, instead. She also told me that Billy said he was "excited" and "aroused" during the fight.

During the week of May 7, 2018, especially during car rides to and from the Harvard Medical School conference we
attended together, Gina discussed with me her belief that she had been sexually harassed by Billy. I confirmed for her
that the incidents she had described did rise to the level of sexual harassment, as I understood it. I also confirmed that,
based on her description, Billy had assaulted her during the May 1 incident. On May 12, Gina texted me that she wanted
to speak with Jack Shaughnessy and make him aware of the May 1 incident and the ongoing sexual harassment. On May
14, Gina reiterated that desire, but also mentioned that she'd like to speak with Attorney Jeff Endick to see if he had any
recommendations. During the 4:00 phone call, Jeff told Gina that there was definite sexual harassment and hostile
workplace issues and recommended that she advise the Trustees and have an investigator hired to file a report to the
Trustees on the incidents.

After the call, Gina and I spoke by phone. She expressed great hesitance about going to the Trustees with these claims,
concerned that she and I could be fired. She suggested that she could speak to just Jack, but realized that this would
eventually mean going to the full Board. She suggested that could speak to Kate, but had concerns that Kate would go
to Billy and Billy would be angry that Gina had gone behind his back. Kate had also shown an unwillingness in the past to
seriously pursue similar allegations. We eventually decided that I would contact Kate on May 15, in accordance with the
Employee Handbook, to report Gina's allegations to her and to give Kate the opportunity to determine a resolution.

Later on May 14, around 9:00, Gina and I spoke again by phone, She was now having second thoughts about moving
forward in any respect. She decided that Billy's actions and language were not sexual harassment, but rather, just part
of her years-long treatment by the Agents as "one of the guys." She wanted to make sure that others in the office
(specifically Taylor and Danielle, about whom Billy had expressed sexual interest in the past to Gina) had not been
victimized in any way; barring any such developments, Gina did not believe any further allegation of sexual harassment
was warranted She also noted that nobody else in the Funds Office had come forward with any allegation against
Billy. She was also concerned that she had not kept contemporaneous notes of past incidents with Billy, as Jeff had
asked. She pledged that she would do so going forward, and that if similar incidents occurred in the future that she
might decide that the overall behavior rose to the level of sexual harassment. She maintains that she wants to move out
of the office, however,

I had set up a call with Kate on May 15, but Gina has asked that I not pursue the call at this time.

Greg Geiman 5/14/18 9:45 pm




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                        TAB
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                                                    May 17, 2017
    Dear Gina,


         I am writing because I feel as though the Funds Office has
    reached a crossroads. As you know, Lou will be departing shortly
    and Billy's emergence as Business Manager will create uncertainty
    and opportunities for disruption or insubordination by members of
    your office staff that may have alternative agendas. Now is the
    time to shore up your staff and to ensure that the lines of authority
    and communication are clear to those within and without the office.
    I believe that it is important for such a transition to be
    finalized while Lou is still in office because Billy's loyalties
    and priorities remain unclear.

         It is important to me that you, as Administrator, are treated '
    with the respect and deference that you have earned. I hope that
    my commitment to the Funds and my loyalty to you are beyond
    question. You have provided me with a dynamic career and a strong
    foundation for my family. I have proudly served as your assistant
    for over six years. In that time you have provided me with the
    opportunity and trust to learn and become involved in all aspects
    of the Funds. I have helped with the oversight and implementation
    of Health and Welfare plans, tackled difficult Pension Plan issues,
    reviewed contracts, worked on the benefits software RFP, served as
    Privacy Officer, and helped with longstanding projects such as
    withdrawal liability and the owner/operator matter.
         It has been, and remains, the hohor of my professional life
    to learn from you and to serve you and the Funds in this capacity.
    However, given the uncertainties from the upcoming Union transition
    and my own progress as your assistant, I am hopeful that you may
    agree that now is the right time to transition the office for the
    next few years. I hope to continue my work as collections counsel
    for as long as you and the Trustees will allow me, but I am ready
    and willing to take on any additional tasks that you may provide
    me as you assistant.
         Laura-Jean is an important asset to this office and serves
    an important role for you. I understand and respect that. However,
    I do not believe that she is able to serve you in the same
    substantive manner as I do, and she has provided ample cause over
    the years for her loyalties and her intentions to be questioned.
    After six years of observing our abilities and our production, and
    in light of the recent concerns about Laura-Jean's association
    with Billy and the resulting lack of deference and communication
    with you, T respectfully ask that you "promote" me as your sole
    assistant and reassign Laura-Jean.




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         As your assistant, I would largely continue serving you in
    the capacities in which I currently serve, although J would hope
    to take a more active role in overseeing the matters of Pension
    and Annuity Plan compliance that Alice has handled, once she
    retires. I can assure you that you would never need to worry
    about my loyalties or my intentions, and the lines of communication
    and authority would be cleared up. I would ensure, as always,
    that everything goes through you and that your authority is
    paramount. I would never overstep my bounds or impede on the
    strong working relationship that I hope you and Billy will create.
    I would exist to serve you, to learn from you, sad to make your
    life at the office less stressful. Period.

         Laura-Jean has the skill set and the work ethic to become
    a strong office manager for you. It is a role she already largely
    serves. She could continue organizing your files, helping to
    transfer funds, dealing with H.R. issues, and anything else that
    would help the office - or you - to function smoothly. Of
    course, she would also continue her work for you at the Coalition.
    In effect, nothing very dramatic would change in the office. But
    such a transition would serve a number of vital purposes. First,
    as stated, it would clear up lines of authority and communication.
    Second, it would resolve concerns regarding Laura-Jean's
    association with Billy. 'Third, it would solve the longstanding
    problem of managing expectations as to what matters I should be
    involved in versus what matters Laura-Jean should be involved in.
    Finally, it would put me in a position to continue learning and
    to better serve you in the years to come without constant fear
    of "stepping on toes" or reprisals from Laura-Jean.
         I have additional thoughts about how staff could be reasslgned
    to best help you, and pieces of Laura-Jean's current role that
    could be retained in order to ease the transition, but I will save
    those thoughts for a future conversation.
         I hope you understand my concerns and know that I am
    approaching you with only the best of intentions and after a
    tremendous amount of thought. I know that reassigning Laura-Jean
    would be difficult for you, but I truly believe that it is the
    best thing for this office and for you (and me), and that now
    is the right time to do it. I fear thht the window will soon
    be closed and the current situation will qo unchanged.
         Thank you, Gina.




                                             Greg Geiman

                                                                GMA_FED00075

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                       In the
                       In the Matter
                              Matter of:
                                     of:

                 Ginamarie Alongi,
                 Ginamarie Along, et
                                   et al.
                                      al. vs
                                          vs
       luoe Local
       Iuoe Local 4
                  4 Health
                    Health &
                           & Welfare
                             Welfare Fund,
                                     Fund, et
                                           et al.
                                              al.




                    Rosemary Ann
                    Rosemary Ann Ortega
                                 Ortega
                          July 08,
                          July 08, 2022
                                   2022


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Ginamarie   Alongi, et
                    et al.
                       al. vs
                           vs                                     Rosemary Ann
                                                                  Rosemary        Ortega
                                                                            Ann Ortega
luoe Local
Iuoe Local 44 Health
              Health && Welfare
                         Welfare Fund,
                                 Fund, et
                                       et al.
                                          al.                             July 08,
                                                                          July 08, 2022
                                                                                    2022
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  ·1· · · · · · · · COMMONWEALTH OF MASSACHUSETTS
                                    MASSACHUSETTS                                           APPEARANCES (Continued):
                                                                                         1 ·APPEARANCES
                                                                                        ·1·             (Continued):
       Norfolk, ss.·
  ·2· ·Norfolk, ss. · · · · · · ·Superior
                                 Superior Court
                                          Court                                         ·22
                                  Civil Action
  ·3· · · · · · · · · · · · · · · Civil Action No.
                                               No. 2182CV00125
                                                   2182CVv00125                             Representing the
                                                                                         3 ·Representing
                                                                                        ·3·              the Defendants:
                                                                                                             Defendants:
       FE —
  ·4· ·**************************************************                                4 · · · ·O'DONOGHUE
                                                                                        ·4·       O'DONOGHUE &
                                                                                                             & O'DONOGHUE
                                                                                                               O'DONOGHUE LLP
                                                                                                                          LLP
       GINAMARIE ALONGI
  ·5· ·GINAMARIE ALONGI AND
                        AND ROSEMARIE
                             ROSEMARIE ALONGI,·
                                       ALONG, · · · · ·*                                ·5·       5301 Wisconsin
                                                                                         5 · · · ·5301 Wisconsin Avenue, NW, Suite
                                                                                                                 Avenue, NW, Suite 800
                                                                                                                                   800

         Plaintiffs · · · · · · · · · · · · · · · · · ·*
  ·6· · ·Plaintiffs·                                   *                                ·6·       Washington, DC
                                                                                         6 · · · ·Washington, DC 20015
                                                                                                                 20015

         vs. · · · · · · · · · · · · · · · · · · · · · **
  ·7· · ·vs.·                                                                           ·7·       BY: DANIEL
                                                                                         7 · · · ·BY:· DANIEL KEENAN,
                                                                                                              KEENAN, ESQ.
                                                                                                                      ESQ.

       IUOE LOCAL
  ·8· ·IUOE LOCAL 4
                  4 HEALTH
                    HEALTH &
                           & WELFARE
                             WELFARE FUND;
                                     FUND; IUOE
                                           IUOE LOCAL
                                                LOCAL 4
                                                      4 *
                                                        *                               ·8·       (202) 362-0041
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       PENSION FUND;
  ·9· ·PENSION FUND; IUOE
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                                   ANNUITY &
                                           & SAVINGS·
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                                                                                         9 · · · ·E-mail:·
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       FUND; HOISTING
  10· ·FUND; HOISTING AND
                      AND PORTABLE
                          PORTABLE ENGINEERS
                                   ENGINEERSLOCAL  4 ·*
                                             LOCAL 4· *                                 10
       APPRENTICESHIP&
  11· ·APPRENTICESHIP & TRAINING
                        TRAINING FUND;
                                 FUND; JOINT
                                       JOINT LABOR-·
                                             LABOR- · ·**                                    In Attendance:
                                                                                        11· ·In              Rosemarie Alongi
                                                                                                Attendance:· Rosemarie Alongi
       MANAGEMENT COOPERATION
  12· ·MANAGEMENT COOPERATION TRUST;
                              TRUST; AND
                                     AND WILLIAM
                                         WILLIAM D.·   *
                                                 D. · ·*                                                     Gina Marie
                                                                                        12· · · · · · · · · ·Gina Marie Alongi
                                                                                                                        Alongi
       MCLAUGHIAN, INDIVIDUALLY
  13· ·MCLAUGHIAN, INDIVIDUALLY AND
                                AND IN
                                    IN HIS
                                       HISCAPACITY
                                           CAPACITY· · ·**                                                   Greg Geiman
                                                                                        13· · · · · · · · · ·Greg Geiman
       AS CHAIRMAN
  14· ·AS CHAIRMAN OF
                   OF THE
                      THE BOARDS
                          BOARDS OF
                                 OF TRUSTEES,
                                    TRUSTEES,· · · · · ·**                              14
         Defendants · · · · · · · · · · · · · · · · · ·*
  15· · ·Defendants·                                   *                                15
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  16· ·**************************************************                               16
                 DEPOSITION OF:·
  17· · · · · · ·DEPOSITION OF: ROSEMARY
                                 ROSEMARY ANN
                                          ANN ORTEGA
                                              ORTEGA                                    17
                        BOWDITCH &
  18· · · · · · · · · · BOWDITCH & DEWEY,
                                   DEWEY, LLP
                                          LLP                                           18
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                                    Boulevard                                           19
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  23· · · · · · · · · · ·Kristen M. Edwards
                                    Edwards                                             23
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  24· · · · · · · · · · · ·Court Reporter                                               24


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  ·1· ·APPEARANCES:                                                                     ·1· · · · · · · · · · · · · I N D E X
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       Representing the
  ·3· ·Representing the Plaintiffs:
                        Plaintiffs:                                                          WITNESS: · · · · · · · · · · · · · ROSEMARY
                                                                                        ·3· ·WITNESS:·                          ROSEMARY ANN ORTEGA
                                                                                                                                         ANN ORTEGA
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                        DEWEY, LLP
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             Framingham, MA
  ·6· · · · ·Framingham, MA 01702
                            01702                                                            Ms. Markowski·
                                                                                        ·6· ·Ms. Markowski · · · · · · · · · · · · · · · · · · · 5
                                                                                        Oo




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                             VAN DYCK,
                                 DYCK, ESQ.
                                       ESQ.                                                  Mr. Keenan·
                                                                                                 Keenan · · · · · · · · · · · · · · · · · · · ·111
                                                                                        NN




  ·7· · · · ·BY:·                                                                       ·7· ·Mr.
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  ·8· · · · · · · JACOB    TOSTI, ESQ.
                        A. TOSTI, ESQ.                                                       Mr. Tosti·
                                                                                        ·8· ·Mr. Tosti · · · · · · · · · · · · · · · · · · · · 168
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             FREEMAN, MATHIS
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                                         ESQ.                                                Exhibit 136,
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                                                                                        24· ·(Exhibits retained by
                                                                                                                by Attorney
                                                                                                                   Attorney Markowski)
                                                                                                                            Markowski)



                                                            O'Brien &
                                                            O'Brien & Levine,
                                                                       Levine, AA Magna
                                                                                  Magna Legal
                                                                                         Lega Services
                                                                                              Services Company
                                                                                                       Company                                                      ·
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Ginamarie   Along, et
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                           vs                                     Rosemary Ann
                                                                  Rosemary        Ortega
                                                                            Ann Ortega
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              Health && Welfare
                         Welfare Fund,
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       either/or.
  ·1· ·either/or.                                                                                  ·1· · · · · A.
                                                                                                               A.· · ·I| couldn't
                                                                                                                         couldn'tsay.
                                                                                                                                  say.· I| don't
                                                                                                                                           don't know.·
                                                                                                                                                 know. I| mean,
                                                                                                                                                          mean, I|
   PF




                                                                                                   WDNR
              Q. · ·So
  ·2· · · · · Q.·     Sotherearetwo            entrancesatat the
                           there are two entrances                the Funds
                                                                       Funds                            wasn't watching
                                                                                                   ·2· ·wasn't          her so...
                                                                                                               watching her so...
   WN




       office, correct?
  ·3· ·office,    correct?                                                                                     Q. · ·Would
                                                                                                   ·3· · · · · Q.·   Would you
                                                                                                                           you agree
                                                                                                                               agree with
                                                                                                                                     with me
                                                                                                                                          methat  it wasn't
                                                                                                                                             that it wasn't a
                                                                                                                                                            a
                     Yes.
  ·4· · · · · A.· · ·Yes.                                                                               frequent occurrence?
                                                                                                   ·4· ·frequent occurrence?




                                                                                                   bh
   Ul




                      You have
  ·5· · · · · Q.· · ·You     havethe      front door
                                    the front      door andand the
                                                                 the back
                                                                      back                         ·5· · · · · A.     It was
                                                                                                               A.· · ·It was more
                                                                                                                             more frequent
                                                                                                                                  frequent when it was
                                                                                                                                           when it was trustee
                                                                                                                                                       trustee




                                                                                                   Oo
  ·6· ·door?                                                                                            meeting time,
                                                                                                   ·6· ·meeting time, because
                                                                                                                      because she
                                                                                                                              she had
                                                                                                                                  had meeting
                                                                                                                                      meeting material
                                                                                                                                              material that
                                                                                                                                                       that she
                                                                                                                                                            she




                                                                                                   NO
   NO




                     Yes.
  ·7· · · · · A.· · ·Yes.                                                                               would review.
                                                                                                   ·7· ·would review.
                     And sometimes
  ·8· · · · · Q.· · ·And     sometimes Gina   Gina Alongi
                                                      Alongi came
                                                                cameinin the the                               Q. · ·Would
                                                                                                   ·8· · · · · Q.·   Would you agree with
                                                                                                                           you agree with me
                                                                                                                                          me trustee  meetings
                                                                                                                                              trustee meetings




                                                                                                   00
   00




       front door,
  ·9· ·front     door, sometimes
                         sometimes she  she came
                                               cameinin the the back
                                                                 back door;
                                                                        door; is   is                   occurred quarterly?
                                                                                                   ·9· ·occurred quarterly?




                                                                                                   ©
   ©




        that your
  10· ·that     your testimony?
                        testimony?                                                                 10· · · · · A.     Yes.
                                                                                                               A.· · ·Yes.




                                                                                                  = Oo
                                                                                                  rl
  11· · · · · A.      Yes
               A.· · ·Yes.                                                                                     Q. · ·These
                                                                                                   11· · · · · Q.·   Thesewerethetimeswhen     you saw
                                                                                                                           were the times when you saw Ms.
                                                                                                                                                       Ms.
               Q. · ·Did
  12· · · · · Q.·      Did you
                             you ever
                                   ever seesee her
                                                her using
                                                      using oneoneoror the
                                                                        the                             Alongi with
                                                                                                   12· ·Alongi with potentially
                                                                                                                    potentially more
                                                                                                                                morethan  her briefcase
                                                                                                                                     than her briefcase and her
                                                                                                                                                        and her
        other entrance
  13· ·other      entrance more more often?
                                       often?                                                           purse?
                                                                                                   13· ·purse?
                      Yes.
  14· · · · · A.· · ·Yes.                                                                          14· · · · · A.     Yes.
                                                                                                               A.· · ·Yes.
                       Which entrance?
  15· · · · · Q.· · ·Which       entrance?                                                                     Q. · ·And
                                                                                                   15· · · · · Q.·   Andtothebest    of your
                                                                                                                         to the best of your memory,
                                                                                                                                             memory, those
                                                                                                                                                     those are
                                                                                                                                                           are
                      The back door.
  16· · · · · A.· · ·The     back   door.                                                               the only
                                                                                                   16· ·the only times
                                                                                                                 times you
                                                                                                                       you would see her
                                                                                                                           would see her coming
                                                                                                                                         coming in
                                                                                                                                                in with
                                                                                                                                                   with more
                                                                                                                                                        more
                       And how
  17· · · · · Q.· · ·And      how often
                                     often would
                                             would you  you say
                                                              say that
                                                                   that was
                                                                          was -- --                     than a
                                                                                                   17· ·than a briefcase
                                                                                                               briefcase and
                                                                                                                         and a
                                                                                                                             a purse?
                                                                                                                               purse?
                       Often.
  18· · · · · A.· · ·Often.                                                                        18· · · · · A.     Yes.
                                                                                                               A.· · ·Yes.
                       How often
  19· · · · · Q.· · ·How       often would
                                       would you you actually
                                                        actually seesee her
                                                                         her                                   Q. · ·Did
                                                                                                   19· · · · · Q.·   Did you
                                                                                                                         you ever
                                                                                                                             ever see
                                                                                                                                  seeanybody  else help
                                                                                                                                      anybody else help Ms.
                                                                                                                                                        Ms.
        arriving at
  20· ·arriving      at the
                          the office?·
                               office? I| understand
                                             understand you    you didn't
                                                                     didn't seesee                      Alongi carry
                                                                                                   20· ·Alongi carry anything
                                                                                                                     anything into
                                                                                                                              into the
                                                                                                                                   the office?
                                                                                                                                       office?
        her everyday
  21· ·her     everyday come comeintointo the     office. But
                                            the office.·     But would
                                                                   would you you                   21· · · · · A.     Anybody that
                                                                                                               A.· · ·Anybody      saw her
                                                                                                                              that saw her or
                                                                                                                                           or anybody
                                                                                                                                              anybody else that
                                                                                                                                                      else that
        typically see
  22· ·typically      see her
                            her coming
                                  coming intointo the
                                                    the office?
                                                          office?                                       was coming
                                                                                                   22· ·was coming into
                                                                                                                   into the
                                                                                                                        the office
                                                                                                                            office that
                                                                                                                                   that needed
                                                                                                                                        needed help,
                                                                                                                                               help, if
                                                                                                                                                     if
  23· · · · · A.
               A.· · ·Itypically
                         typically would
                                     would see see her.
                                                     her.                                               somebody was
                                                                                                   23· ·somebody was there,
                                                                                                                     there, they would just
                                                                                                                            they would      hold the
                                                                                                                                       just hold the door
                                                                                                                                                     door open
                                                                                                                                                          open
               Q. · ·And
  24· · · · · Q.·      And when
                              when you       would see
                                      you would         see her
                                                             her coming
                                                                  coming into into                      for them.
                                                                                                   24· ·for them.

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                                                                                                                                                                     Page 28

       the office,
  ·1· ·the    office, what
                         what would
                                  would you  you do;do; would
                                                         would you you get get up up to    help
                                                                                       to help                 Q. · ·And
                                                                                                   ·1· · · · · Q.·   And that's
                                                                                                                         that'strue  of anybody
                                                                                                                                true of anybody coming
                                                                                                                                                coming into
                                                                                                                                                       into
                                                                                                   WDNR




       her?
  ·2· ·her?                                                                                             the office
                                                                                                   ·2· ·the office if
                                                                                                                   if somebody
                                                                                                                      somebody needed
                                                                                                                               needed help?
                                                                                                                                      help?
              A. · ·If
  ·3· · · · · A.·      If I| saw
                             saw that      she was
                                    that she     was struggling
                                                       struggling with with allall                 ·3· · · · · A.     Yes.
                                                                                                               A.· · ·Yes.
       of her
  ·4· ·of   her briefcases,
                   briefcases, yes,yes, I| would
                                            would help help her.
                                                             her.                                              Q. · ·And
                                                                                                   ·4· · · · · Q.·   And if
                                                                                                                         if you
                                                                                                                            you werewalking  by the
                                                                                                                                were walking by     door and
                                                                                                                                                the door and
                                                                                                   bh




               Q. · ·With
  ·5· · · · · Q.·      With all all ofof her
                                          her briefcases.·
                                                briefcases. So    So how
                                                                       how many many                    somebody was
                                                                                                   ·5· ·somebody was coming
                                                                                                                     coming in,
                                                                                                                            in, you
                                                                                                                                you might
                                                                                                                                    might open
                                                                                                                                          open the
                                                                                                                                               the door
                                                                                                                                                   door for
                                                                                                                                                        for
       briefcases did
  ·6· ·briefcases        did Gina
                               Gina Alongi
                                         Alongi carry
                                                    carry with
                                                            with her her typically?
                                                                            typically?                  them?
                                                                                                   ·6· ·them?
                                                                                                   NO




              A. · ·Well,
  ·7· · · · · A.·      Wall, it it depended
                                    depended on    on what
                                                        what she
                                                               she was
                                                                     was taking
                                                                            taking                 ·7· · · · · A.     Absolutely.
                                                                                                               A.· · ·Absolutely.
       home to
  ·8· ·home       to work
                      work on on oror what
                                       what sheshe took
                                                     took home
                                                            home to  to work
                                                                          work on. on.                         Q. · ·That
                                                                                                   ·8· · · · · Q.·   That wasn't specific to
                                                                                                                          wasn't specific to Gina
                                                                                                                                             Gina Alongi?
                                                                                                                                                  Alongi?
                                                                                                   00




       Usually she
  ·9· ·Usually       she would
                            would just      have her
                                     just have      her briefcase
                                                         briefcase and  and purse,
                                                                               purse,              ·9· · · · · A.     Correct.
                                                                                                               A.· · ·Correct.
                                                                                                   ©




        but there
  10· ·but     there were
                       were times
                               times whenwhen she she would
                                                        would havehave aa couple
                                                                             couple of  of                     Q. · ·But
                                                                                                   10· · · · · Q.·   But your
                                                                                                                         your desk,
                                                                                                                              desk, you
                                                                                                                                    you would agree, or
                                                                                                                                        would agree, or your
                                                                                                                                                        your
                                                                                                  = Oo
                                                                                                  rl




        briefcases
  11· ·briefcases        full of
                         full  of papers,
                                    papers, because
                                               because I| would
                                                             would help  help herher                    cubical was
                                                                                                   11· ·cubical was not
                                                                                                                    not close
                                                                                                                        close enough
                                                                                                                              enough to
                                                                                                                                     to the
                                                                                                                                        the door
                                                                                                                                            door that
                                                                                                                                                 that you
                                                                                                                                                      you would
                                                                                                                                                          would
        carry them
  12· ·carry      them in.in.                                                                           hop up
                                                                                                   12· ·hop up and
                                                                                                               and open
                                                                                                                   open the
                                                                                                                        the door
                                                                                                                            door for
                                                                                                                                 for anyone
                                                                                                                                     anyone coming
                                                                                                                                            coming in;
                                                                                                                                                   in; is
                                                                                                                                                       isthat
                                                                                                                                                          that
                Q. · ·So
  13· · · · · Q.·       Sousually
                              usually she shejust      had aa briefcase
                                                just had        briefcase        and aa
                                                                                and                     right?
                                                                                                   13· ·right?
        purse; is
  14· ·purse;        isthat    right?
                       that right?                                                                 14· · · · · A.     No. I| mean,
                                                                                                               A.· · ·No.·   mean, unless
                                                                                                                                   unless they
                                                                                                                                          they needed
                                                                                                                                               needed help
                                                                                                                                                      help |I
                A. · ·Yes.
  15· · · · · A.·       Yes                                                                             would help
                                                                                                   15· ·would help them.·
                                                                                                                   them. But
                                                                                                                          But if
                                                                                                                              if they
                                                                                                                                 they didn't
                                                                                                                                      didn't need
                                                                                                                                             need help,
                                                                                                                                                  help, no.
                                                                                                                                                        no.
                Q. · ·And
  16· · · · · Q.·       Andon        those days
                                on those       dayswhenwhen sheshejustjust hadhad a  a                  And if
                                                                                                   16· ·And if I| was
                                                                                                                  was looking,
                                                                                                                      looking, yes.
                                                                                                                               yes.
        briefcase
  17· ·briefcase         and a
                         and   a purse,
                                   purse, you you would
                                                    would not not assist
                                                                    assist her,her,                            Q. · ·But
                                                                                                   17· · · · · Q.·   But other
                                                                                                                         other than the instances
                                                                                                                               than the instances where
                                                                                                                                                  whereitit
        correct?
  18· ·correct?                                                                                         appeared that
                                                                                                   18· ·appeared that someone
                                                                                                                      someone needed
                                                                                                                              needed help
                                                                                                                                     help because
                                                                                                                                          because they
                                                                                                                                                  they were
                                                                                                                                                       were
                A. · ·No.
  19· · · · · A.·       No.                                                                             carrying things,
                                                                                                   19· ·carrying things, you
                                                                                                                         you wouldn't hop up
                                                                                                                             wouldn't hop up to open the
                                                                                                                                             to open the door
                                                                                                                                                         door
                Q. · ·Sometimes
  20· · · · · Q.·       Sometimesyou       you saysay she
                                                        shewould
                                                            would come   comeinin with with             for someone?
                                                                                                   20· ·for someone?
        mor ethan just a briefcase
  21· ·more        than   just    a  briefcase       and a purse.
                                                    and   a purse.                                 21· · · · · A.     Yes, correct.
                                                                                                               A.· · ·Yes, correct.
                A. · ·Yes.
  22· · · · · A.·       Yes                                                                                    Q. · ·And
                                                                                                   22· · · · · Q.·   And the
                                                                                                                         thetrustee  meetings
                                                                                                                             trustee meetings you testified
                                                                                                                                              you testified
                Q. · ·How
  23· · · · · Q.·        How often,
                                 often, to to your
                                               your memory,
                                                        memory, did   did that
                                                                             that                       about, those
                                                                                                   23· ·about, those meetings
                                                                                                                     meetings lasted
                                                                                                                              lasted aa day,
                                                                                                                                        day, correct,
                                                                                                                                             correct, they
                                                                                                                                                      they
        occur ?
  24· ·occur?                                                                                           occurred in
                                                                                                   24· ·occurred in one
                                                                                                                    one day?
                                                                                                                        day?


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                                              O'Brien & Levine,
                                                         Levine, AA Magna
                                                                    Magna Legal
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Ginamarie   Along, et
                    et al.
                       al. vs
                           vs                                     Rosemary Ann
                                                                  Rosemary        Ortega
                                                                            Ann Ortega
luoe Local
Iuoe Local 44 Health
              Health && Welfare
                         Welfare Fund,
                                 Fund, et
                                       et al.
                                          al.                             July 08,
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       or six
  ·1· ·or   six years
                 yearsago?
                         ago?                                                                    Q. · ·What
                                                                                     ·1· · · · · Q.·     What were  wereyou         surprised about?
                                                                                                                             you surprised          about?




                                                                                     WNP
  WNP


              A. · ·Yes.
  ·2· · · · · A.·    Yes                                                             ·2· · · · · A.
                                                                                                 A.· · ·I| wassurprised
                                                                                                            was surprised that    that at
                                                                                                                                        at some
                                                                                                                                            some of  of the
                                                                                                                                                         the
              Q. · ·How
  ·3· · · · · Q.·     How about
                              about the thetime     that you
                                             time that    you played
                                                                  played at at            things that
                                                                                     ·3· ·things     that Bill
                                                                                                            Bill had
                                                                                                                   had said
                                                                                                                         said oror what
                                                                                                                                    what was was said
                                                                                                                                                   said inin the
                                                                                                                                                              the
       Gina's house
  ·4· ·Gina's     house on on the
                                the Cape?
                                       Cape?                                              lawsuit about
                                                                                     ·4· ·lawsuit      about Bill
                                                                                                                Bill and
                                                                                                                       and what
                                                                                                                             what he  he said.
                                                                                                                                          said.
  Oh




                                                                                     Oh
              A. · ·I| wasthere
  ·5· · · · · A.·       was there with with mymy friend
                                                  friend from      Arizona
                                                           from Arizona                          Q. · ·Right.·
                                                                                     ·5· · · · · Q.·      Right. You  You understand
                                                                                                                              understand that    that what'sin
                                                                                                                                                         what's in the the
       and Gina
  ·6· ·and    Gina was
                     was atat the
                               the Cape
                                     Cape with     her sister
                                             with her   sister Rose,
                                                                 Rose, and
                                                                         and wewe         lawsuit, those
                                                                                     ·6· ·lawsuit,      those are are allegations,
                                                                                                                        allegations, right?right?




                                                                                     NO
  NO




       decided to
  ·7· ·decided     to have
                       have pizza
                               pizza andand play
                                             play poker.
                                                   poker.                            ·7· · · · · A.      Yes
                                                                                                 A.· · ·Yes.
              Q. · ·When
  ·8· · · · · Q.·    When did   did that
                                      that happen?
                                             happen?                                             Q. · ·There
                                                                                     ·8· · · · · Q.·     Therewere-- were -- and and so sothey
                                                                                                                                            they arearenot      facts.
                                                                                                                                                          not facts.
  00




                                                                                     00
              A. · ·Three
  ·9· · · · · A.·    Threeyears         ago, four
                               years ago,     four years     ago.
                                                    years ago.                            They are allegations.
                                                                                     ·9· ·They      are  allegations.




                                                                                     ©
  ©




               Q. · ·So
  10· · · · · Q.·     Sowhilethe           Alongies were
                          while the Alongies           were still     working
                                                               still working                      A. · ·Yes,
                                                                                     10· · · · · A.·      Yes, yes.yes.
        at the
  11· ·at   the Funds?
                  Funds?                                                                          Q. · ·So
                                                                                     11· · · · · Q.·       Sotherewerecertain
                                                                                                                there were certain things      thingsinin there
                                                                                                                                                             thereyouyou
               A. · ·Yes.
  12· · · · · A.·     Yes                                                                  had never
                                                                                     12· ·had      never heardheard before?
                                                                                                                       before?
               Q. · ·And
  13· · · · · Q.·     And you you said
                                     said that
                                            that they
                                                  they also
                                                         also had
                                                                had aa                            A. · ·Yes,
                                                                                     13· · · · · A.·      Yes, that's
                                                                                                                   that's correct.
                                                                                                                            correct.
        retirement lunch
  14· ·retirement        lunch withwith you?
                                           you?                                                   Q. · ·And
                                                                                     14· · · · · Q.·      And certain
                                                                                                                   certain things
                                                                                                                               thingsthat that you
                                                                                                                                                 you had had not
                                                                                                                                                               not ever
                                                                                                                                                                    ever
                      Yes.
  15· · · · · A.· · ·Yes.                                                                  witnessed or
                                                                                     15· ·witnessed          or seen;
                                                                                                                 seen; is  isthat    fair to
                                                                                                                              that fair     to say?
                                                                                                                                                say?
                      And did
  16· · · · · Q.· · ·And      did you      retirein
                                    you retire     in December
                                                       December of     of 2021?
                                                                          20217?                  A. · ·Correct.
                                                                                     16· · · · · A.·      Correct.
                      Yes.
  17· · · · · A.· · ·Yes.                                                                         Q. · ·Do
                                                                                     17· · · · · Q.·       Doyou        recall any
                                                                                                                you recall        any ofof the
                                                                                                                                             the specific
                                                                                                                                                  specific
                      And wasit
  18· · · · · Q.· · ·And      was it just      the three
                                        just the   three of of you
                                                                you for
                                                                      for that
                                                                           that            allegationsinin the
                                                                                     18· ·allegations                   complaint that
                                                                                                                  the complaint          that came
                                                                                                                                                 came as  asaa surprise
                                                                                                                                                                 surprisetoto
  19· ·lunch?                                                                              you?
                                                                                     19· ·you?
                      Yes.
  20· · · · · A.· · ·Yes.                                                                         A. · ·Yes,
                                                                                     20· · · · · A.·      Yes, the the part
                                                                                                                         part where
                                                                                                                               where BillBill made
                                                                                                                                                made aareference
                                                                                                                                                            reference
                      Where
  21· · · · · Q.· · ·Where        was that?
                                  was    that?                                             to Jen
                                                                                     21· ·to   Jen having
                                                                                                      having cancer,
                                                                                                                 cancer, breast
                                                                                                                             breast cancer.
                                                                                                                                       cancer.
                      At Gina's
  22· · · · · A.· · ·At   Gina's house.
                                     house.                                                       Q. · ·That
                                                                                     22· · · · · Q.·       That wasnot
                                                                                                                    was not an   an allegation
                                                                                                                                      allegation that  that you
                                                                                                                                                              you had
                                                                                                                                                                    had
                       Did you
  23· · · · · Q.· · ·Did     you discuss
                                    discussthis      case at
                                               this case    at all
                                                                all when
                                                                    when you you           ever previously
                                                                                     23· ·ever      previously heard? heard?
        were there?
  24· ·were      there?                                                                           A. · ·No.
                                                                                     24· · · · · A.·       No.

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              A. · ·No.
  ·1· · · · · A.·   No.                                                                          Q. · ·Was
                                                                                     ·1· · · · · Q.·   Wasthereanything   else that
                                                                                                           there anything else      was new
                                                                                                                               that was new or
                                                                                                                                            or
                                                                                     PF
  BE




              Q. · ·And
  ·2· · · · · Q.·   Andtothebest    of your
                        to the best of      memory, those
                                       your memory, those are
                                                          are                             surprising to
                                                                                     ·2· ·surprising to you
                                                                                                        you that
                                                                                                            that you
                                                                                                                 you recall?
                                                                                                                     recall?
                                                                                     WN
  WN




       the only
  ·3· ·the only times
                times that
                      that you
                           you socialized
                               socialized with Gina and
                                          with Gina and Rose
                                                        Rose                         ·3· · · · · A.     No, no.
                                                                                                 A.· · ·No, no.

       Alongi outside
  ·4· ·Alongi     outside of
                          of the
                             the office?
                                 office?                                                         Q. · ·You
                                                                                     ·4· · · · · Q.·   You say
                                                                                                           say that
                                                                                                               that Gina
                                                                                                                    Gina had
                                                                                                                         had said
                                                                                                                             said to
                                                                                                                                  to you she
                                                                                                                                     you she
  Ohh




                                                                                     Oh




              A. · ·Yes.
  ·5· · · · · A.·   Yes.                                                                  didn't want
                                                                                     ·5· ·didn't      to talk
                                                                                                 want to talk about
                                                                                                              about the
                                                                                                                    the lawsuit?
                                                                                                                        lawsuit?
              Q. · ·And
  ·6· · · · · Q.·   And how
                        how about
                            about phone
                                  phone calls
                                        callswith  Gina and
                                              with Gina and                                      A. · ·Correct.
                                                                                     ·6· · · · · A.·   Correct.
                                                                                     oO
  NO




       Rose about
              about this
                    this lawsuit?·
                          lawsuit? I| know
                                      know you
                                            you talked
                                                 talked about
                                                         about the
                                                               the                               Q. · ·So
                                                                                                       Sol I just
                                                                                                             just want to switch
                                                                                                                          switch topics
                                                                                                                                 topicsalittle
                                                                                     NN




  ·7· ·Rose                                                                          ·7· · · · · Q.·              want to               a little
       call you
  ·8· ·call you had
                 had with   Gina concerning
                     with Gina    concerning the
                                              the deposition.·
                                                   deposition. Have
                                                                Have                      bit. Do
                                                                                     ·8· ·bit.· Do you
                                                                                                   you recall
                                                                                                       recall there being an
                                                                                                              there being an incident
                                                                                                                             incident between
                                                                                                                                      between
                                                                                     00
  0




       you spoken
  ·9· ·you spoken with them on
                  with them on the phone about
                               the phone about this
                                               this lawsuit?
                                                    lawsuit?                              Gina Alongi
                                                                                     ·9· ·Gina Alongi and
                                                                                                      and William McLaughlin on
                                                                                                          William McLaughlin on or
                                                                                                                                or about
                                                                                                                                   about May
                                                                                                                                         May 1st
                                                                                                                                             1st
                                                                                     ©
  ©




              A. · ·No.
  10· · · · · A.·   No.                                                                   of 2018?
                                                                                     10· ·of 2018?
                                                                                    N BO
                                                                                    ra




              Q. · ·Did
  11· · · · · Q.·   Did I hear
                          hear you
                                you say
                                    say after
                                        after you
                                               you looked
                                                    looked up
                                                           up                                    A. · ·Yes.·
                                                                                     11· · · · · A.·   Yes. The
                                                                                                             Theincident  in her
                                                                                                                 incident in her office?
                                                                                                                                 office?
       the complaint
  12· ·the   complaint that
                         that you
                              you spoke
                                   spoke with
                                          with Gina?
                                                Gina?                                            Q. · ·Correct.
                                                                                     12· · · · · Q.·   Correct.
              A. · ·Yes.
  13· · · · · A.·   Yes.                                                                         A. · ·Yes.
                                                                                     13· · · · · A.·   Yes
              Q. · ·Right.·
  14· · · · · Q.·   Right. And
                            And you
                                 you apologized.·
                                       apologized. You
                                                     You felt
                                                         felt                                    Q. · ·Where
                                                                                     14· · · · · Q.·   Wherewereyou
                                                                                                             were you when that incident
                                                                                                                      when that incident
       badly that
  15· ·badly    that she
                     she had
                          had been
                              been let
                                    let go
                                         go from
                                            from the
                                                  the Funds?
                                                      Funds?                              occurred; wereyou
                                                                                     15· ·occurred;          in the
                                                                                                    were you in thekitchen?
                                                                                                                    kitchen?
              A. · ·Yes.
  16· · · · · A.·   Yes.                                                                         A. · ·I| wasinthekitchen.
                                                                                     16· · · · · A.·      was in the kitchen.
              Q. · ·Did
  17· · · · · Q.·   Did you
                         you talk
                              talk about
                                    about any
                                           any ofof the
                                                    the                                          Q. · ·Can
                                                                                     17· · · · · Q.·   Can you
                                                                                                           you describe
                                                                                                               describe how
                                                                                                                        how far away the
                                                                                                                            far away the kitchen
                                                                                                                                         kitchen
       allegations, specific
  18· ·allegations,    specific allegations
                                 allegations in
                                              in the
                                                  the complaint?
                                                      complaint?                          isfrom
                                                                                     18· ·is      Gina Alongi's
                                                                                             from Gina Alongi's office?
                                                                                                                office?
              A. · ·I| mean,
  19· · · · · A.·      mean, we
                             wejust,   you know
                                 just, you know --
                                                -- no.·
                                                   no. Well...
                                                        Well...                                  A. · ·I'm
                                                                                     19· · · · · A.·   I'mnot  very good
                                                                                                           not very good at
                                                                                                                         at feet.·
                                                                                                                            feet. So
                                                                                                                                   So from, you
                                                                                                                                      from, you
              Q. · ·I| mean,
  20· · · · · Q.·      mean, you
                             you knew
                                 knew that
                                      that she
                                           she had
                                               had identified
                                                   identified                             know, one
                                                                                     20· ·know, one side
                                                                                                    side of
                                                                                                         of the
                                                                                                            the building
                                                                                                                building to the middle
                                                                                                                         to the middle of
                                                                                                                                       of the
                                                                                                                                          the
       you, correct?
  21· ·you,    correct?                                                                   other side
                                                                                     21· ·other side of
                                                                                                     of the building, so
                                                                                                        the building, so I| don't
                                                                                                                            don't know.
                                                                                                                                  know.
              A. · ·Yes.·
  22· · · · · A.·   Yes. I| was
                            wassurprised  at some
                                surprised at some of
                                                  of the
                                                     the                                         Q. · ·In
                                                                                     22· · · · · Q.·   In between
                                                                                                          between the
                                                                                                                  the kitchen
                                                                                                                      kitchen and
                                                                                                                              and Gina
                                                                                                                                  Gina Alongi's
                                                                                                                                       Alongi's
       things that
  23· ·things  that I| read
                       read about
                            about what
                                    what was
                                         was inin the
                                                  the lawsuit,
                                                      lawsuit, and
                                                               and                        office, is
                                                                                     23· ·office, isthere   some other
                                                                                                     there some  other offices
                                                                                                                       officesinin there
                                                                                                                                   there as
                                                                                                                                         aswell?
                                                                                                                                            well?
       shejust
  24· ·she       didn't want
            just didn't  want to
                               to talk
                                  talk about
                                       about it.
                                             it.                                                 A. · ·Yes.
                                                                                     24· · · · · A.·   Yes



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                                       O'Brien & Levine,
                                                  Levine, AA Magna
                                                             Magna Legal
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                                       et al.
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                                                                             Page   51
              Q. · ·There's
  ·1· · · · · Q.·     Theresalsothat
                                  also that areaarea -- --                                        up and
                                                                                             ·1· ·up   and going
                                                                                                              going to  to the
                                                                                                                             the other
                                                                                                                                  other sideside of
                                                                                                                                                  of her
                                                                                                                                                       her office
                                                                                                                                                            office where
                                                                                                                                                                       where he  he
   BP




                                                                                             BE
              A. · ·My
  ·2· · · · · A.·     My cubicle,
                           cubicle, the the back
                                             back door.
                                                     door.                                        would follow
                                                                                             ·2· ·would      follow her.·her. Again,
                                                                                                                                 Again, her  her head
                                                                                                                                                  head was       down and
                                                                                                                                                          was down         and he he
   WN




                                                                                             WN
              Q. · ·You
  ·3· · · · · Q.·     You wereeating
                             were eating lunch  lunch in  in the
                                                              the office
                                                                    officeinin                    was --
                                                                                             ·3· ·was    -- his
                                                                                                             his arms
                                                                                                                    arms were        like, you
                                                                                                                            were like,             know, just
                                                                                                                                             you know,       just hehe was
                                                                                                                                                                         was
       the kitchen?
  ·4· ·the    kitchen?                                                                            talking with
                                                                                             ·4· ·talking     with his his hands.
                                                                                                                             hands.
   Oh




                                                                                             Oh
              A. · ·Yes.
  ·5· · · · · A.·    Yes.                                                                                Q.
                                                                                             ·5· · · · · Q.·   ·   Talking with
                                                                                                                  ·Talking       with his his hands,
                                                                                                                                               hands, okay.
                                                                                                                                                          okay.
              Q. · ·And
  ·6· · · · · Q.·     And did did you     hear anything
                                   you hear       anything with          regard to
                                                                 with regard          to     ·6· · · · · A.        Yes.
                                                                                                         A.· · ·Yes.




                                                                                             NO
   NO




       that interaction?
  ·7· ·that    interaction?                                                                              Q. · ·And
                                                                                             ·7· · · · · Q.·       And you you couldn't
                                                                                                                                  couldn't hear  hear what
                                                                                                                                                         what the the twotwo ofof
              A. · ·I| heard
  ·8· · · · · A.·       heard noise
                                 noise coming
                                         coming from,from, I| guess,
                                                                 guess, you
                                                                          you                     them wer
                                                                                             ·8· ·them      weree saying?
                                                                                                                     saying?
   0




                                                                                             0
       know, above.·
  ·9· ·know,      above. AndAnd one one ofof the   girls that
                                              the girls    that we    worked with
                                                                 we worked          with     ·9· · · · · A.
                                                                                                         A.· · ·I| could
                                                                                                                     could not,not, no.·
                                                                                                                                      no. I| mean,
                                                                                                                                               mean, I| could
                                                                                                                                                           could hearhear
   ©




                                                                                             ©
        came running
  10· ·came       running in in and
                                 and said
                                       said that
                                             that her
                                                    her supervisor
                                                          supervisor had  had toldtold             him yelling
                                                                                             10· ·him     yelling or   or I| could
                                                                                                                              could hearhear the
                                                                                                                                               the tone
                                                                                                                                                     tone ofof his
                                                                                                                                                                his voice
                                                                                                                                                                      voice waswas
        her to
  11· ·her    to go
                  go into
                      into the
                            the kitchen
                                  kitchen so so that
                                                 that she
                                                        she would
                                                              would not not -- -- so
                                                                                   so              loud. I| don't
                                                                                             11· ·loud.·        don't know
                                                                                                                         know what what they
                                                                                                                                           they were       saying.
                                                                                                                                                  were saying.




                                                                                            [any
                                                                                            [i
        she wouldn't
  12· ·she     wouldn't hear
                           hear what
                                   what waswas going
                                                 going on, on, and
                                                                and she
                                                                      she told
                                                                             told us us                   Q. · ·You
                                                                                             12· · · · · Q.·        You saidsaid youyou observed
                                                                                                                                           observed Gina  Ginatoto be   be sitting
                                                                                                                                                                            sitting
        that Gina
  13· ·that     Gina and
                      and Bill
                            Bill were
                                   were having
                                           having an  an argument
                                                           argument in   in Gina's
                                                                              Gina's               with her
                                                                                             13· ·with      her head
                                                                                                                   head down?
                                                                                                                            down?
        office.
  14· ·office.                                                                                            A. · ·Yes.
                                                                                             14· · · · · A.·        Yes
                       Who was
  15· · · · · Q.· · ·Who        wasthat      that came
                                      that that      came intointo the     kitchen?
                                                                     the kitchen?                         Q. · ·And
                                                                                             15· · · · · Q.·        And was was she she saying
                                                                                                                                          saying anything;
                                                                                                                                                      anything; could could you you
             OP>0>»350>0>0




                      Amy.
  16· · · · · A.· · ·Amy.                                                                          see her
                                                                                             16· ·see    her talking?
                                                                                                                talking?
                       Amy Boisvert?
  17· · · · · Q.· · ·Amy        Boisvert?                                                                 A. · ·I| think
                                                                                             17· · · · · A.·                   that she
                                                                                                                      think that      she was,
                                                                                                                                            was, yes,
                                                                                                                                                    yes, I| think
                                                                                                                                                             think sheshe
                      Yes.
  18· · · · · A.· · ·Yes.                                                                          was trying
                                                                                             18· ·was     trying to  to talk
                                                                                                                         talk andand she
                                                                                                                                       she just     had her
                                                                                                                                             just had     her head
                                                                                                                                                                head down,
                                                                                                                                                                         down, and and
                       And you
  19· · · · · Q.· · ·And       you said
                                     said that
                                            that her
                                                   her supervisor
                                                         supervisor had     had toldtold           he was
                                                                                             19· ·he           standing over
                                                                                                        was standing          over her.
                                                                                                                                      her.
        her
  20· ·her     to  gointothekitchen?
                   go  into   the  kitchen?                                                               Q. · ·When
                                                                                             20· · · · · Q.·        When you   you saysay "she
                                                                                                                                             "shewastrying,"
                                                                                                                                                     was trying," what    what do  do
                      Yes.
  21· · · · · A.· · ·Yes.                                                                          you mean
                                                                                             21· ·you     mean she   she waswas trying
                                                                                                                                   trying to      talk?
                                                                                                                                              to talk?
                       Who was
  22· · · · · Q.· · ·Who        was that,
                                      that, who
                                              who was was thethe supervisor?
                                                                  supervisor ?                            A. · ·I| think
                                                                                             22· · · · · A.·                   they both
                                                                                                                      think they       both were       speaking to
                                                                                                                                               were speaking              one
                                                                                                                                                                      to one
                       Rebecca Sacaddi
  23· · · · · A.· · ·Rebecca        Sacaddi (phonetic).
                                                (phonetic).                                        another but
                                                                                             23· ·another        but she
                                                                                                                       she was       speaking from
                                                                                                                             was speaking          from aa position
                                                                                                                                                              position where
                                                                                                                                                                           where she she
                       Did you
  24· · · · · Q.· · ·Did            talk any
                             you talk      any more
                                                  more withwith herher about
                                                                         about what  what          was sitting
                                                                                             24· ·was     sitting downdown in   in the
                                                                                                                                    the chair
                                                                                                                                          chair and,
                                                                                                                                                  and, I| mean,
                                                                                                                                                            mean, her  her lips
                                                                                                                                                                            lips

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                                                                                                                                                                        Page 52

       was going
  ·1· ·was going on
                 on in
                    in Gina
                       Gina Alongi's
                            Alongi's office?
                                     office?                                                      appeared to
                                                                                             ·1· ·appeared     to bebe moving.·
                                                                                                                         moving. I| don't
                                                                                                                                        don't know
                                                                                                                                                 know whatwhat she
                                                                                                                                                                 she was
                                                                                                                                                                      was
                                                                                             BP




  ·2· · · · · A.     No. She
              A.· · ·No.· Shejust  said there
                              just said there was
                                              was yelling,
                                                  yelling, aa                                     saying.
                                                                                             ·2· ·saying.
                                                                                             WN




       lot of
  ·3· ·lot of yelling
              yelling going
                      going on.
                            on.                                                                          Q. · ·Fair
                                                                                             ·3· · · · · Q.·    Fair to  to say
                                                                                                                              say you
                                                                                                                                   you don't
                                                                                                                                         don't knowknow whatwhat either
                                                                                                                                                                   either
              Q. · ·And
  ·4· · · · · Q.·   And you
                        you said
                            said you
                                 you could
                                     could hear
                                           hear something
                                                something but
                                                          but                                     one of
                                                                                             ·4· ·one    of them
                                                                                                            them were were saying?
                                                                                                                               saying?
                                                                                             OB




       you couldn't
  ·5· ·you couldn't go
                    goinin there?
                           there?                                                                        A. · ·No.
                                                                                             ·5· · · · · A.·    No.
  ·6· · · · · A.     Yes, you
              A.· · ·Yes, you couldn't
                              couldn't make
                                       make out
                                            out what was being
                                                what was being                                           Q. · ·And
                                                                                             ·6· · · · · Q.·    And it   it appeared
                                                                                                                             appearedto    to bebethey      were both
                                                                                                                                                    they were      both
                                                                                             NO




       said. You
  ·7· ·said.· You just could hear
                  just could hear noise.
                                  noise.                                                          saying something.
                                                                                             ·7· ·saying     something.
              Q. · ·Sounded
  ·8· · · · · Q.·   Sounded like
                            like voices?
                                 voices?                                                                 A. · ·Yes.
                                                                                             ·8· · · · · A.·   Yes
                                                                                             0




  ·9· · · · · A.     Yes
              A.· · ·Yes.                                                                                Q. · ·At
                                                                                             ·9· · · · · Q.·    Atonepoint
                                                                                                                      one point you  you saysay she
                                                                                                                                                  shewassittingin
                                                                                                                                                        was sitting in
                                                                                             ©




              Q. · ·And
  10· · · · · Q.·   And aacouple  of voices?
                           couple of voices?                                                       her chair?
                                                                                             10· ·her     chair?
              A. · ·Voices.
  11· · · · · A.·   Voices.                                                                               A. · ·Yes.
                                                                                             11· · · · · A.·     Yes
              Q. · ·So
  12· · · · · Q.·   Sofair
                       fair to say you
                            to say     did not
                                   you did not see
                                               seethe
                                                   the                                                    Q. · ·And
                                                                                             12· · · · · Q.·     And at   at another
                                                                                                                               another point,
                                                                                                                                           point, sheshewasup
                                                                                                                                                           was up andand inin
       inter action between
  13· ·interaction  between Gina
                            Gina Alongi
                                 Alongi and
                                        and Mr.
                                            Mr. McLaughlin
                                                McLaughlin on
                                                           on                                      the middle
                                                                                             13· ·the    middle of   of her
                                                                                                                         her office?
                                                                                                                                office?
       May 1st,
  14· ·May 1st, 2018?
                2018?                                                                                     A. · ·She
                                                                                             14· · · · · A.·     Shewentwent to     the far
                                                                                                                                 to the  far end
                                                                                                                                              end of of the
                                                                                                                                                         the office
                                                                                                                                                              office
              A. · ·No,
  15· · · · · A.·   No, I| saw
                           saw it.
                               it.                                                                 amost to
                                                                                             15· ·almost         get away
                                                                                                             to get    away from from him,
                                                                                                                                       him, andand he he followed
                                                                                                                                                          followed her.
                                                                                                                                                                      her.
              Q. · ·Tell
  16· · · · · Q.·   Tel me
                         mewhat
                            what you saw.
                                 you saw.                                                                 Q. · ·Fair
                                                                                             16· · · · · Q.·      Fair tosay
                                                                                                                          to say you      don't know
                                                                                                                                    you don't       know why       Gina went
                                                                                                                                                             why Gina      went
              A. · ·So
  17· · · · · A.·   So my
                       my lunchtime
                          lunchtime was
                                    was over
                                        over and
                                             and I| went back
                                                    went back                                      from one placein her officeto another place?
                                                                                             17· ·from      one   place     in  her  office    to  another      place?
       to my
  18· ·to my cubicle,
             cubicle, which had aa clear
                      which had    clear view
                                         view of
                                              of Gina's
                                                 Gina's office.
                                                        office.                                           A. · ·No,
                                                                                             18· · · · · A.·     No, that'sfair
                                                                                                                        that's fair toto say.
                                                                                                                                          say.
       Gina's office
  19· ·Gina's officewas  all glass.·
                     was all glass. My
                                     My office,
                                        office, my
                                                my cubicle
                                                   cubicleisis                                            Q. · ·All
                                                                                             19· · · · · Q.·     All you
                                                                                                                       you could
                                                                                                                               could see
                                                                                                                                       seeis     she got
                                                                                                                                             is she    got upup and
                                                                                                                                                                 and
       glass. The
  20· ·glass.· The door
                   door was
                        was shut.·
                            shut. And  although I| couldn't
                                   And although    couldn't                                        moved, correct?
                                                                                             20· ·moved,      correct?
       hear what
  21· ·hear what was going on,
                 was going on, I| could
                                  could see
                                        see and
                                            and I| could
                                                   could see
                                                         see                                              A. · ·Yes.
                                                                                             21· · · · · A.·     Yes
       Ginasitting
  22· ·Gina          at her
             sitting at her chair
                            chair at
                                  at one
                                     one point
                                         point with
                                               with her
                                                    her head
                                                        head                                              Q. · ·Who
                                                                                             22· · · · · Q.·     Whoeésewasin
                                                                                                                           else was in the        office at
                                                                                                                                            the office     at that
                                                                                                                                                               that point
                                                                                                                                                                     point
       down and
  23· ·down and Bill
                Bill standing
                     standing over
                              over her
                                   her making
                                       making gestures
                                              gestures with
                                                       with                                        in time?
                                                                                             23· ·in   time?
       his arms
  24· ·his arms almost
                almost like
                       like King
                            King Kong,
                                 Kong, and
                                       and then
                                           then Gina
                                                Gina getting
                                                     getting                                              A. · ·I| don't
                                                                                             24· · · · · A.·        don't recall
                                                                                                                             recall who
                                                                                                                                     who waswasthere.
                                                                                                                                                   there.· I| believe
                                                                                                                                                               believe


                                           O'Brien &
                                           O'Brien & Levine,
                                                      Levine, AA Magna
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                        TAB
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---------- Forwarded message ---------
From: Greg Geiman <greggeiman4@gmail.com>
Date: Thu, May 24, 2018 at 10:01 PM
Subject: Note to file
To: Greg Geiman <greggeiman4@gmail.com>


On May 1, Gina requested that I draft notes for her meeting with Billy based upon her conversation with me on the
phone that morning (the 5 points she wanted to make - respect, money, move, contract, confidentiality). On the phone
that morning, she started the conversation with “I have a plan. Don’t try to change my mind.”

On or about May 16, Gina requested that I draft an outline for her meeting woth Kate. She outlined what she wanted to
address - Kate should have handled harassment issues after prior incident, she owns some of the problem, she needs to
fix it and identify if there is liability that should be presented to Trustees. She also asked me to speak with Rosemary re:
sexual harassment allegations. She also asked me to follow up with Danielle who was concerned after Gina’s discussion
with her the prior day.

On Friday, May 18, I ran into Billy in the hallway near the Union conference room. It was the first time I’d spoken with
him since the May 1 incident. He admitted an anger issue. Noted the Gina incident and a prior incident in conference
room with iron worker. Stated desire to resolve issues with Gina and get back to normal. Noted that he hadn’t spoken
to her since May 1 but claimed he was very busy. Also admitted that he was initial aggressor in May 1 meeting. I told
Gina about my conversation and suggested she might want to speak with Billy and try to resolve. Reminded her again
that once she speaks to Kate that dominoes will fall. She didn’t want to hear it.

Greg GEIMAN 5/24/18




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---------- Forwarded message ---------
From: Greg Geiman <greggeiman4@gmail.com>
Date: Thu, May 24, 2018 at 4:19 PM
Subject: My personal hell
To: Greg Geiman <greggeiman4@gmail.com>


Last Monday May 14 Gina decided she wanted a legal opinion on whether her treatment by Billy from April 12 to
present, including the May 1 fight, constituted sexual harassment and/or hostile workplace behavior. She arranged a call
with Jeff Endick of Slevin & Hart, who had represented the Pension Plan during the Suspension of Benefits VCP, and
asked me to join. Gina told Jeff the story (the May 1 fight and general sexual harassment information) and asked for his
opinion. He told her that this was a classic case of sexual harassment and predatory behavior by Billy and that Gina was
obliged to go to the Trustees because of potential liability. He said that she would need to establish a Joint Board and
that a third-party investigator would have to make a determination for the Trustees as to what had happened. Gina
explained to Jeff that she did not want to use Fund counsel (Kate) on this assignment because she did not trust her
judgment or impartiality after the way she handled the Lou-LJ incident of 2014.

Gina got cold feet on going to the Trustees and reporting sexual harassment. Instead, later on May 14, she decided I
should call Kate and disclose these incidents to Kate. She then changed her mind and decided she wanted to sit down
with Kate herself, which she did on May 21.

I was not present at the May 21 meeting. However, on her way back from the breakfast meeting, Gina called me and
told me that Kate wanted to talk to me. She told me that Kate took Billy’s side and did not believe that anything Billy had
done, as Gina told it, was actionable and/or raised liability issues for the Trustees.

I was informed that Kate had arrived in the lobby, but when I went to meet her I was informed by the receptionist that
Billy had already come out and grabbed Kate. Gina was in her office when I came back in from the lobby. She looked
crushed and was convinced she would be fired that day. We began a meeting with Nancy Smith regarding benefit break
issues. When we finished, Kate came over to Gina’s office and asked if she could speak with me. Kate and I went into my
office.

Kate told me that Billy was very angry about the accusations that Gina had made against him. She recounted her
breakfast conversation with Gina and reiterated for me her belief that Billy’s behavior was not actionable. She told me
that she had spoken with Billy and was confident that similar language or actions would not occur again within the Funds
office; that, if he came into our office at all, he would likely be much more formal. Kate told me that Gina wanted to
move to a new office, which Kate said would not happen. Kate said she told Gina that if a claim was filed that her
behavior would also be scrutinized; Kate disclosed to me that Gina had a romantic relationship in the past with her
superior (Lou).

Kate told me her concern was that if Gina’s accusations were not “tamped down,” given that they were not actionable,
Billy would seek to have her fired for insubordination. (It’s not clear if the alleged insubordinate behavior was from May

                                                             1
                                                                                                       D. App. 159

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1 or May 21). Kate told me that Gina did not have the support she thought she had. Gina told me that the H&W
employer Trustees might be in her corner, but that she did not have the Pension Trustees. And, she added, Billy only
needed one employer trustee to vote with him in order to win. I told Kate that I did not want to see Gina’s career at
Local 4 end like this. I asked her how we could fix this. In my mind, Kate had given her opinion that there was no liability
as a result of Gina’s concerns. If there was no liability, then there was no reason to go to the Trustees. Given Billy’s anger
and the implicit threats of Gina getting fired, my goal became to save Gina’s job.

Kate suggested that I go talk to Gina while she spoke to Billy. I convinced Gina that it was in her best interest to speak to
Billy and try to resolve this, that she shouldn’t end her career like this. She hesitantly agreed but first asked that I ask
Billy and Kate to give her a contract. She still felt like she would be fired. Kate seemed receptive, Billy less so. When Gina
came over with me to Billy’s office, Billy apologized for his behavior on May 1. Gina accepted the apology. Billy said to
Gina that she knew that he would never sexually harass anyone. Gina said, “I know, Billy.” She was very dejected and
quiet. There was more general discussion about working together as a team. The meeting ended.

I spoke to Kate by telephone on May 22. She expressed relief that the matter had been resolved. I told her Gina was still
upset. She told me she was concerned that Gina dropped her sexual harassment concerns because she was worried
about being fired, which Kate admitted was in contravention of the law. I told Kate that Gina was not one to be quiet; if
she still had concerns that they would surely be raised. I told Gina about this conversation on the morning of May 23.

Gina called me in the late afternoon on May 23 to report a conversation with Kate via telephone. She told me that Kate
had admitted that the information presented by Gina to her on May 21 was likely actionable. Gina expressed that she
might not be willing to continue working at Local 4 under the current circumstances. She told Kate that she would think
over the long weekend about how to proceed.

On the morning of May 24, Gina called me and told me that she was back “in the driver’s seat” and that she intended to
push Kate and Billy for a move out of this building as well as a contract that would provide her with job security until age
62. She asked me to tell Kate, if we spoke, that she had recently been in touch with Boston Globe writers about a
separate story. She told me to otherwise not discuss the matter any further with Kate but to rather refer Kate to Gina.

On May 24, around 3:00, I was returning from the men’s room in the lobby and ran into Billy. After some pleasantries
and discussion about negotiations he turned the talk to Gina. He asked how she was doing. I said she was down on the
Cape but still upset. He said she needs time. He reiterated that what happened on May 1 was him “asserting his
authority” and that she was not used to having answer to someone. He said that Lou gave her carte blanche. He said
that he liked Gina and thought she did good work and would like to move forward but knew that Gina wasn’t ready.

He reiterated that he had not sexually harassed anyone, and stated that Gina had agreed as such during the May 21
meeting. He said that he was playful and flirtatious and that was different than sexual harassment. He said he had never
touched anyone in the office or asked them out. He compared himself to Lou, who had apparently dated a number of
women in the Funds office. He said that if asked, none of the women in this office would claim his behavior to be
anything more than funny or flirtatious. He said that he could have had Gina fired - he knew he had Brian McDonald and
Michael Foley on his side- but that he did not want to go there.

Greg GEIMAN 5/24/18




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                                     OF JENNIFER  DOW      Page 165 of 271

         I, Jennifer Dow, on oath, depose and state as follows:

   1.    Iam a former employee of the IUOE Local 4 Benefit Funds (the “Funds”).

    2. 1 began working for the Funds in 1997 as receptionist and was consistently promoted. In
or around 2016, I was promoted to Health & Welfare Department Manager, a managerial position.
On December 17, 2020, during my day off, Greg Geiman demoted me to Eligibility Coordinator.

   3.    My regular hours of employment since the office relocated from Lexington to Medway in
2005 were from 7 am to 3 pm. On or about April 1%, 2021, Mr. Geiman promised me that I could
maintain my altered work hours when I stopped working remotely.

   4.    On or about June 2", 2021, I met with Mr. Geiman,        Laura-Jean Hickey   and Rebecca
Zaccardi to discuss my work schedule. At that meeting, I reiterated my request for an
accommodation to continue working my pre-pandemic schedule to accommodate my health. Mr.
Geiman asked me many questions about my medical condition, treatment, and prognosis that made
me feel so uncomfortable I started to cry. He ultimately denied my request.

   5.    1resigned my position with the Funds on or about June 2", 2021.

    6. During my time working for the Funds, I typically arrived at the office around 7 am. On
most mornings, I observed Gina Alongi arrive at the office around 9:15 am. Jennifer Vachon,
Rosemary Ortega, and I would each routinely open the door for her on a because she often arrived
carrying briefcases, boxes, or other work materials.

    7. During his tenure, [UOE Local 4 Business Manager, William McLaughlin, made many
statements in the workplace which offended me or made me feel uncomfortable.

    8. For example, several years ago, I was in the office kitchen with Jennifer Vachon when Mr.
McLaughlin told her to “fuck off” and stuck his middle finger in her face because she brought up
the incent when he called us “peons” in font of Louis Rasetta.

     9. In addition, just before the Funds’ 2019 Christmas party, Mr. McLaughlin came to my
office doorway and told me that “Gina [Alongi] is a selfish fucking bitch.”

      10. I also frequently observed Mr. McLaughlin make statements and engage in conduct which
I felt was inappropriate and/or sexual in nature.

    11. For example, I have taken an annual trip to Aruba the first week in May since
approximately 2006. On multiple occasions around that time of year, Mr. McLaughlin asked me
whether 1 wore a one-piece bathing suit or a two-piece bathing suit. When this happened, I told




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Mr. McLaughlin                      Document
               that it was none of his           64 walked
                                       business and   Filed away.
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                                                                  I felt uncomfortable each time
Mr. McLaughlin made these statements to me.

    12. Mr. McLaughlin also told me that when he worked with my husband on a job around 2004,
he saw my husband, a member of the Carpenters Union, “checking out” women on the job site. I
was very offended by Mr. McLaughlin’s comments.

    13. On many occasions, Mr. McLaughlin would talk to me about other people’s sexual activity
in graphic detail. I felt uncomfortable each time this happened and would say “I don’t want to
know” and walk away if I could.

    14. On more than one occasion, I observed Mr. McLaughlin rubbing Jennifer Vachon’s
shoulders. Each time, Ms. Vachon responded by telling Mr. McLaughlin to get away or physically
pushing him away from her.

    15.1 frequently overheard Mr. McLaughlin refer to Ms. Hickey as “fire crotch” because she
has red hair.

    16. All statements contained in this affidavit are made of my own personal knowledge.




           Sworn to under the pains and penalties of perjury this
                                                               7 <day of June, 2021.




                            4            in       Dow




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                         23




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          Case 1:21-cv-10163-FDS Document 64 Filed 12/13/22 Page 181 of 271




      A: INTERNATIONAL UNION OF OPERATING ENGINEERS
      J: LOCAL 4
  ©"      Health ard Welfare, Pension, and Annuity Funds



                                                     July 23, 2020

Gina M. Alongi
4 Orchard Hill Drive
Westborough, MA 01581

Dear Gina:

           This letter is intended to follow our telephone call regarding the termination of your employment
at the International Union of Operating Engineers Local 4 Fringe Benefit Funds (“Funds”). As we said on
the phone, the Boards of Trustees of the Health & Welfare, Pension, and Annuity & Savings Funds voted
to terminate your employment as Administrator.       As you were an employee at will, it is not necessary to
detail reasons for the Trustees’ decision.

         You have held a position of high trust and confidence, and all business of the Funds to which you
have been privy remains confidential to the Funds. We would fike to express the Trustees’ appreciation
for the work you have done over the course of your career at the Funds and trust that our separation will
be courteous and respectful.

         You will receive your accrued vacation pay by direct deposit on or about July 29, 2020, and you
will remain eligible on the Basic Health Plan through February of 2021. You continue to be a participant
in the Funds with access to your individual Annuity & Savings account at MassMutual.

        Upon receipt of this letter, you are expected to return all Funds’ laptops. tablets, or other
computers that are in your possession, The service to your cell phones will be disconnected on Friday,
July 24, 2020 and should thereafier be returned. Please return your vehicle and any other equipment or
property of the Funds before Friday, July 31, 2020.

           Thank you.
                                                    Sincerely,


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cc:        Trustees                                                                                            16 Trotter Drive
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           Gregory A. Geiman, Esq.                                                                    Medway, MA 02053-0680
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                        TAB
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                       In the
                       In the Matter
                              Matter of:
                                     of:

                 Ginamarie Alongi,
                 Ginamarie Along, et
                                   et al.
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                                     Fund, et
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                     James M.
                     James M. Heinzman
                              Heinzman

                          July 29,
                          July 29, 2022
                                   2022



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Ginamarie Alongi,
Ginamarie  Alongi, et
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                  COMMONWEALTH OF
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  ·2· ·NORFOLK, SS · · · · ·SUPERIOR
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  ·5· ·GINAMARIE ALONGI AND
                        AND                                              5 · · · CHARLES
                                                                        ·5·      CHARLESW.  GILLIGAN, ESQ.
                                                                                         W. GILLIGAN, ESQ.

       ROSEMARIE ALONGI,
  ·6· ·ROSEMARIE ALONG,                                                  6 · · · DANIEL
                                                                        ·6·      DANIEL KEENAN,
                                                                                        KEENAN, ESQ.
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                           Plaintiffs,
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                        JOINT LABOR-MANAGEMENT
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  14· ·CORPORATION TRUST; AND WILLIAM D.
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                       Dewey, LLP
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            TIMOTHY P.
  ·5· · · · TIMOTHY P. VAN
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                           DYCK, ESQ.
                                 ESQ.                                   ·5· · · · · · · · · · · · __________
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            JACOB TOSTI,
  ·6· · · · JACOB TOSTI, ESQ.
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            tvandyck@bowditch.com                                       11
  12· · · · jtosti@bowditch.com
            jtosti@bowditch.com                                         12
  13                                                                    13
       Representing the
  14· ·Representing the Defendants:
                        Defendants:                                     14
            Freeman Mathis
  15· · · · Freeman Mathis&& Gary,
                             Gary, LLP
                                   LLP                                  15
            CHRISTOPHER REDD,
  16· · · · CHRISTOPHER REDD, ESQ.
                              ESQ.                                      16
            60 State
  17· · · · 60 State Street,
                     Street, Suite
                             Suite 600
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            Boston, Massachusetts·
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            617-963-5975
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                                                        proceeding room,   room, nornor               before?
                                                                                                11· ·before?
        am I| physically
  12· ·am       physically present present with with thethe witness,
                                                              witness, and  and that
                                                                                  that I|                  A. I| have.
                                                                                                12· · · · A.·      have.
        will be
  13· ·will    be reporting
                    reporting this   this proceeding
                                            proceeding remotely.
                                                               remotely.                                   Q. Okay.·
                                                                                                13· · · · Q.·   Okay. So    Sol'm       going to
                                                                                                                                I'm going             skip the
                                                                                                                                                  to skip     the ground
                                                                                                                                                                     ground
                  They further
  14· · · · · · ·They       further acknowledge
                                        acknowledge that,      that, inin lieu
                                                                           lieu of
                                                                                 of                   rulesand
                                                                                                14· ·rules    and I'm  I'm just    going go
                                                                                                                            just going        go ---- go
                                                                                                                                                      go right
                                                                                                                                                            right ahead.
                                                                                                                                                                    ahead.
        an oath
  15· ·an    oath administered
                     administered in        in person,
                                                person, the  the witness
                                                                  witness will will                   Okay.
                                                                                                15· ·Okay.
        verbally declare
  16· ·verbally        declare his  his testimony
                                          testimony in     in this
                                                               this matter
                                                                      matter under
                                                                                under                         Mr. Heinzman,
                                                                                                16· · · · · · Mr.     Heinzman, can      can you      tell me
                                                                                                                                               you tell       me what
                                                                                                                                                                   what your
                                                                                                                                                                           your job
                                                                                                                                                                                 job
        the pains
  17· ·the    pains and and penalties
                               penalties of    of perjury.·
                                                    perjury. The  The parties
                                                                         parties andand               titleis.
                                                                                                17· ·title   is.
        their counsel
  18· ·their    counsel consentconsent to   to the
                                                the arrangement
                                                       arrangement and      and waive
                                                                                 waive                     A. I'm
                                                                                                18· · · · A.·   I'm aapartner
                                                                                                                         partner at at Schultheis
                                                                                                                                         Schultheis&       & Panettieri.
                                                                                                                                                              Panettieri.
        any objections
  19· ·any     objections to     to this
                                      this manner
                                             manner of   of proceeding.
                                                              proceeding.                                  Q. And
                                                                                                19· · · · Q.·   And how  how long
                                                                                                                               long have have youyou held
                                                                                                                                                        held that
                                                                                                                                                                that position?
                                                                                                                                                                        position?
                  Please indicate
  20· · · · · · ·Please       indicate your your agreement
                                                     agreement by      by stating
                                                                            stating                        A. Since 2003.
                                                                                                20· · · · A.·   Since     2003.
        your name
  21· ·your      name and  and your
                                  your agreement
                                           agreement on      on the
                                                                 the record,
                                                                        record, after
                                                                                   after                   Q. And
                                                                                                21· · · · Q.·   And can  can you
                                                                                                                              you telltell me
                                                                                                                                            me generally
                                                                                                                                                  generally what   what thethe
        which I| will
  22· ·which                 swear in
                     will swear         in the
                                            the witness
                                                  witness and  and we we maymay begin.
                                                                                   begin.             firm, Schultheis
                                                                                                22· ·firm,     Schultheis&      & Panettieri,
                                                                                                                                    Panettieri, does    does forfor business.
                                                                                                                                                                      business.
                 MR. GILLIGAN:·
  23· · · · · · MR.       GILLIGAN: This         Thisisis Charles
                                                             Charles Gilligan.
                                                                          Gilligan.                        A. Schultheis
                                                                                                23· · · · A.·   Schultheis&     & Panettieri
                                                                                                                                     Panettieri is   is an
                                                                                                                                                         an accounting
                                                                                                                                                             accounting
        We consent
  24· ·We      consent to   to this
                                this arrangement.
                                        arrangement.                                                  firm that
                                                                                                24· ·firm    that specializes
                                                                                                                     specializes in  in audits
                                                                                                                                          audits of of employee
                                                                                                                                                        employee benefitbenefit

                                                                              Page 6
                                                                              Page 6                                                                                   Page 8
                                                                                                                                                                       Page 8

                 MR. TOSTI:·
  ·1· · · · · · MR.     TOSTI: Jacob  Jacob Tosti,
                                               Tosti, Bowditch
                                                        Bowditch &     & Dewey.
                                                                          Dewey.                     funds and
                                                                                                ·1· ·funds    and labor
                                                                                                                     labor unions.
                                                                                                                             unions.
  ·2· ·I| agree
          agree to to the
                       the arrangement.
                              arrangement.                                                                Q. And,
                                                                                                ·2· · · · Q.·  And, Mr.  Mr. Heinzman,
                                                                                                                               Heinzman, do        do you     have any
                                                                                                                                                       you have       any
                 MR. REDD:·
  ·3· · · · · · MR.      REDD: Christopher
                                     Christopher Redd, Redd, Freeman
                                                                 Freeman Mathis
                                                                             Mathis                  education credentials
                                                                                                ·3· ·education        credentials beyond
                                                                                                                                       beyond an      an undergraduate
                                                                                                                                                           under graduate
       & Gary.·
  ·4· ·&    Gary. I| agree.
                         agree.                                                                      degree?
                                                                                                ·4· ·degree?
                 MR. KEENAN:·
  ·5· · · · · · MR.      KEENAN: Daniel    Daniel Keenan,
                                                    Keenan, O'Donoghue
                                                                  O'Donoghue&     &             ·5· · · · A.
                                                                                                          A.· I| have
                                                                                                                  have aacertification
                                                                                                                            certification as    as aa certified
                                                                                                                                                       certified
       O'Donoghe. I| agree.
  ·6· ·O'Donoghe.·             agree.                                                                public accountant
                                                                                                ·6· ·public    accountant and   and asas aa certified
                                                                                                                                              certified fraud
                                                                                                                                                            fraud examiner.
                                                                                                                                                                    examiner.
  ·7· · · · · · · · · · · ·____________                                                                   Q. Uh-huh.·
                                                                                                ·7· · · · Q.·   Uh-huh. And          your certified
                                                                                                                              And your          certified public
                                                                                                                                                              public
                       JAMESM.
  ·8· · · · · · · · · ·JAMES        M. HEINZMAN,
                                         HEINZMAN,                                                   accountant certification,
                                                                                                ·8· ·accountant         certification, where where did   did you     obtain that
                                                                                                                                                              you obtain     that
        having been
  ·9· ·having      been satisfactorily
                            satisfactorily identified,
                                               identified, and and duly
                                                                     duly                            from?
                                                                                                ·9· ·from?
         sworn by
  10· ·sworn       by the
                        the Notary
                               Notary Public,
                                         Public, was     examined and
                                                   was examined         and                     10· · · · A.    New York
                                                                                                           A.· New      York State.
                                                                                                                                State.
         testified as
  11· ·testified      as follows:
                           follows:                                                                        Q. Uh-huh.·
                                                                                                11· · · · Q.·    Uh-huh. And   And -- -- and
                                                                                                                                           and when?
                                                                                                                                                   when?
  12                                                                                            12· · · · A.    On or
                                                                                                           A.· On     or about
                                                                                                                          about 1995
                                                                                                                                   1995 or  or '96,
                                                                                                                                                 '96, probably.
                                                                                                                                                       probably.
                  MR. TOSTI:·
  13· · · · · · MR.       TOSTI: BeforeBefore we      get started,
                                                 we get    started, Chuck,
                                                                       Chuck,                              Q. Uh-huh. And the forensic certification,
                                                                                                13· · · · Q.·   Uh-huh.·       And    the     forensic      certification, isis
         are you
  14· ·are     you okay
                     okay withwith the
                                     the stipulations
                                          stipulations that
                                                          that we've
                                                                  we've been
                                                                           been                       that from
                                                                                                14· ·that    from New  New York
                                                                                                                              York State
                                                                                                                                       State as    aswell?
                                                                                                                                                      well?
         using for
  15· ·using      for all
                       all the
                             the other
                                  other depositions
                                          depositions --  --                                    15· · · · A.    I'm not
                                                                                                           A.· I'm    not positive
                                                                                                                           positive it'sit's New
                                                                                                                                               New YorkYork State
                                                                                                                                                               State
                  MR. GILLIGAN:·
  16· · · · · · MR.       GILLIGAN: Yes.·     Yes. Yes.·
                                                     Yes. Absolutely.
                                                              Absolutely.                             related. It
                                                                                                16· ·related.·     It may
                                                                                                                       may bebe broader.
                                                                                                                                  broader.
                  MR. TOSTI:·
  17· · · · · · MR.       TOSTI: Yeah.·Yeah. So  So all  objections,
                                                     all objections,                                       Q. And
                                                                                                17· · · · Q.·   And --  -- and
                                                                                                                           and do do you
                                                                                                                                       you recall
                                                                                                                                               recall when
                                                                                                                                                         when you you obtained
                                                                                                                                                                        obtained
         except as
  18· ·except       as to
                        to form,
                            form, will
                                    will be be reserved
                                                reserved until
                                                             until the
                                                                    the time
                                                                         time                         that?
                                                                                                18· ·that?
  19· ·ofof trial.·
             trial. The
                      The witness
                             witness will      have 30
                                         will have     30 days
                                                          days to  to read
                                                                      read and
                                                                             and                19· · · · A.
                                                                                                           A.· Approximately,
                                                                                                                Approximately, four     four years        ago, five
                                                                                                                                                 years ago,     five years
                                                                                                                                                                       years
         sign the
  20· ·sign     the transcript,
                      transcript, and and we'll
                                            we'll waive
                                                   waive any any                                      ago, maybe.·
                                                                                                20· ·ago,    maybe. Probably,
                                                                                                                          Probably, four.four.
         notarization requirement.
  21· ·notarization          requirement.                                                                  Q. I'm
                                                                                                21· · · · Q.·    I'm going
                                                                                                                       going to to attempt
                                                                                                                                    attempt to      to share
                                                                                                                                                       share my my screen
                                                                                                                                                                      screen
                          DIRECT EXAMINATION
  22· · · · · · · · · · DIRECT          EXAMINATION                                                   here. Can
                                                                                                22· ·here.·     Can everyone
                                                                                                                        everyone see  seethe        screen that
                                                                                                                                             the screen       that I'm
                                                                                                                                                                     I'm
  23· ·BYBY MR. MR. TOSTI:
                       TOSTI:                                                                         sharing?
                                                                                                23· ·sharing?
              Q. Good
  24· · · · Q.·    Good morning,
                              morning, Mr.   Mr. Heinzman.
                                                   Heinzman.                                    24· · · · A.    Yes.
                                                                                                           A.· Yes.


                                            O'Brien &
                                            O'Brien & Levine,
                                                       Levine, AA Magna
                                                                  Magna Legal
                                                                         Legal Services
                                                                               Services Company
                                                                                         Company                                                                      Pages 5–8
                                                                                                                                                                      Pages 5-8
                                                                                                                                                                D. App. 184
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                                               888.825.3376    production@court-reporting.com                                                                                          YVer1f
           Case 1:21-cv-10163-FDS Document 64 Filed 12/13/22 Page 188 of 271
Ginamarie Alongi,
Ginamarie   Along, et
                    et al.
                       al. vs
                           vs                                      James M.
                                                                   James  M. Heinzman
                                                                              Heinzman
luoe Local
Iuoe Local 44 Health
              Health && Welfare
                         Welfare Fund,
                                 Fund, et
                                       et al.
                                          al.                             July 29,
                                                                          July 29, 2022
                                                                                   2022
                                                                              Page 9
                                                                              Page 9                                                                                    Page 11
                                                                                                                                                                        Page 11

            Q. Mr.
  ·1· · · · Q.·   Mr. Heinzman,
                         Heinzman, you        you inin particular,
                                                        particular, can  can you
                                                                              you -- --            involved in
                                                                                              ·1· ·involved       in ---- in
                                                                                                                          in that
                                                                                                                              that engagement.
                                                                                                                                     engagement.
  WNP




                                                                                              WNP
       can you
  ·2· ·can    you see     that clearly?
                     see that      clearly?                                                             A. Once
                                                                                              ·2· · · · A.·  Once aayear, year, asas auditors,
                                                                                                                                      auditors, we  we would
                                                                                                                                                         would come  come
            A. I| can.
  ·3· · · · A.·     can.                                                                           into the
                                                                                              ·3· ·into   the Fund
                                                                                                                Fund office
                                                                                                                         office andand audit
                                                                                                                                        audit thethe financial
                                                                                                                                                       financial
            Q. Very
  ·4· · · · Q.·   Very good.
                           good.                                                                   statements for
                                                                                              ·4· ·statements       for each
                                                                                                                          each Fund,
                                                                                                                                  Fund, issue
                                                                                                                                            issue financial
                                                                                                                                                    financial
  Ooh




                                                                                              Ooh
                So what
  ·5· · · · · · So   what --  -- for
                                  for thethe record,
                                               record, what what I've
                                                                    |'ve pulled
                                                                          pulled                   statements, 5500s
                                                                                              ·5· ·statements,        5500s and and 990s,
                                                                                                                                      990s, andand file    those
                                                                                                                                                     file those
       up on
  ·6· ·up    on mymy screen
                       screen is     isaa document
                                           document that's  that's been
                                                                     been premarked
                                                                            premarked              accordingly with
                                                                                              ·6· ·accordingly                 applicable agencies.
                                                                                                                      with applicable         agencies.
  NO




                                                                                              NO
       in this
  ·7· ·in  this matter
                   matter as   as Exhibit
                                     Exhibit 164.·
                                                 164. Mr. Mr. Heinzman,
                                                                 Heinzman, I| can  can                  Q. Uh-huh.·
                                                                                              ·7· · · · Q.·  Uh-huh. And     And --  -- and
                                                                                                                                        and thisthis engagement
                                                                                                                                                      engagement to          to
       scroll through
  ·8· ·scroll    through this   this document
                                        document if     if you'd
                                                            you'd like
                                                                     like me
                                                                           meto.to.                become the
                                                                                              ·8· ·become       the Local
                                                                                                                        Local 4's4'sfinancial        statement auditors,
                                                                                                                                      financial statement              auditors,
  0




                                                                                              0
       But could
  ·9· ·But    could you you tell
                               tell me  me whether
                                            whether you    you recognize
                                                                 recognize what what               when did
                                                                                              ·9· ·when     did that
                                                                                                                   that engagement
                                                                                                                           engagement commence?commence?
  ©




                                                                                              ©
        this document
  10· ·this    document is.      is.                                                          10· · · · A.
                                                                                                         A.· I1 do
                                                                                                                 do not
                                                                                                                      not know
                                                                                                                            know exactly.·
                                                                                                                                     exactly. At       some point
                                                                                                                                                  At some        point lastlast
             A. I| do.
  11· · · · A.·      do.                                                                            year.
                                                                                              11· ·year.
             Q. Uh-huh.·
  12· · · · Q.·    Uh-huh. And     And couldcould youyou describe
                                                             describe    for me
                                                                         for   me what
                                                                                    what                 Q. So
                                                                                              12· · · · Q.·    So atat some
                                                                                                                         some point
                                                                                                                                 point in  in 2021?
                                                                                                                                               2021?
        itis.
  13· ·it  is.                                                                                13· · · · A.
                                                                                                         A.· I| believe
                                                                                                                 believe so. so.
  14· · · · A.     Thisisour
             A.· This                 report to
                          is our report        to the    Local 4
                                                   the Local      4 Benefit
                                                                     Benefit                             Q. Prior
                                                                                              14· · · · Q.·    Prior tothe         engagement to
                                                                                                                         to the engagement             to --
                                                                                                                                                           -- to
                                                                                                                                                               to provide
                                                                                                                                                                   provide
        Funds regarding
  15· ·Funds       regarding allocations
                                   allocations for   for Ms.
                                                           Ms. Alongi.
                                                                 Along.                             thereport
                                                                                              15· ·the                regarding Gina
                                                                                                          report regarding             Gina Alongi,
                                                                                                                                                Alongi, did  did Schultheis
                                                                                                                                                                   Schultheis&     &
             Q. Uh-huh.·
  16· · · · Q.·    Uh-huh. And     And I'm  I'm going
                                                  going to      scroll all
                                                            to scroll   all the
                                                                            the                     Panettieri perform
                                                                                              16· ·Panettieri         perform any   any work
                                                                                                                                           work for for any
                                                                                                                                                          any entity
                                                                                                                                                                 entity connected
                                                                                                                                                                             connected
        way to
  17· ·way      to not
                    not the
                          the very
                                 very lastlast page
                                                page of  of the
                                                             the exhibit
                                                                   exhibit but
                                                                             but the
                                                                                   the              with the
                                                                                              17· ·with     the IUOElUOE LocalLocal 4? 4?
        very last
  18· ·very      last page
                       page of  of thethe report,
                                           report, which
                                                       which is   is Page
                                                                     Page 66 and
                                                                               and            18· · · · A.
                                                                                                         A.· Wedid.
                                                                                                              We did.
        Bateslabeled
  19· ·Bates      labeled 31.· 31. And,And, Mr. Mr. Heinzman,
                                                       Heinzman, do     do you
                                                                            you see
                                                                                  seethethe              Q. And
                                                                                              19· · · · Q.·   And can   can you
                                                                                                                              you describe
                                                                                                                                    describe       for me
                                                                                                                                                  for    meall      -- all
                                                                                                                                                               all --   all such
                                                                                                                                                                              such
        date, April
  20· ·date,     April 1st,1st, 2021,
                                  2021, on   on this
                                                 this page?
                                                        page?                                       work.
                                                                                              20· ·work.
  21· · · · A.
             A.· I| do.
                     do.                                                                      21· · · · A.
                                                                                                         A.· We
                                                                                                              We havehave been
                                                                                                                             been thethe financial
                                                                                                                                           financial statement
                                                                                                                                                         statement
             Q. Uh-huh.·
  22· · · · Q.·    Uh-huh. And     And is   is--that'sthedatethat
                                               -- that's the date that                              auditors
                                                                                              22· ·auditors      for the
                                                                                                                 for    the Local
                                                                                                                             Local 4  4 union
                                                                                                                                         union for      many years.
                                                                                                                                                  for many        years.
        thisreport
  23· ·this    report was was completed?
                                   completed?                                                            Q. Uh-huh.·
                                                                                              23· · · · Q.·    Uh-huh. And     And do do you
                                                                                                                                           you know
                                                                                                                                                  know when           Schultheis&
                                                                                                                                                            when Schultheis          &
             A. I| believe
  24· · · · A.·      believe      so.
                                 so.                                                                Panettieri first became
                                                                                              24· ·Panettieri        first   became       the financial statement
                                                                                                                                          the   financial       statement

                                                                           Page 10
                                                                           Page 10                                                                                      Page 12
                                                                                                                                                                        Page 12

            Q. Uh-huh.·
  ·1· · · · Q.·  Uh-huh. Can    Can youyou telltell me me when          Schultheis&
                                                           when Schultheis               &         auditorsfor
                                                                                              ·1· ·auditors             the Local
                                                                                                                  for the     Local 4    4 union?
                                                                                                                                           union?
                                                                                              BE




       Panettieri was
  ·2· ·Panettieri              engaged --
                       was engaged          -- well,
                                                well, was        Schultheis&
                                                         was Schultheis             &         ·2· · · · A.
                                                                                                        A.· I| honestly
                                                                                                                honestly do   do not.·
                                                                                                                                    not. Many,
                                                                                                                                           Many, manymany years.
                                                                                                                                                             years.
                                                                                              WN




       Panettieri engaged
  ·3· ·Panettieri      engaged by    by the
                                          the Board
                                                  Board of  of Trustees
                                                                 Trusteestoto --     -- of
                                                                                         of             Q. Other
                                                                                              ·3· · · · Q.·  Other than  than thatthat engagement,
                                                                                                                                          engagement, have   have -- -- have
                                                                                                                                                                        have
       the Local
  ·4· ·the   Local 4  4 Funds
                          Fundstoto complete
                                        completethisreport?
                                                         this report?                              there been
                                                                                              ·4· ·there    been any any other
                                                                                                                             other engagements
                                                                                                                                       engagementstoto performperform any    any
                                                                                              oh




  ·5· · · · A.  Yes.
            A.· Yes.                                                                               other kind
                                                                                              ·5· ·other    kind of  of work
                                                                                                                          work priorprior to     the engagement
                                                                                                                                             to the   engagement to      to
            Q. Uh-huh.·
  ·6· · · · Q.·  Uh-huh. And    And cancan you you tell
                                                      tell me me when
                                                                   when that that                  produce the
                                                                                              ·6· ·produce       thereport
                                                                                                                        report on   on Gina
                                                                                                                                         Gina Alongi?
                                                                                                                                                 Alongi?
                                                                                              No




       engagement occurred.
  ·7· ·engagement          occurred.                                                                    A. Not
                                                                                              ·7· · · · A.·  Not to to mymy knowledge.
                                                                                                                              knowledge.
            A. I1 do
  ·8· · · · A.·    do not
                       not know
                              know thethe exact
                                            exact date.
                                                      date.                                             Q. Have
                                                                                              ·8· · · · Q.·   Haveyou          personally been
                                                                                                                       you personally           been involved
                                                                                                                                                        involved in   in --
                                                                                                                                                                          -- in
                                                                                                                                                                              in
                                                                                              00




            Q. Uh-huh.
  ·9· · · · Q.·  Uh-huh.                                                                           performing work
                                                                                              ·9· ·performing          work regarding
                                                                                                                                 regarding financial
                                                                                                                                                  financial statement
                                                                                                                                                               statement audits  audits
                                                                                              ©




  10· · · · A.   On or
             A.· On    or about
                            about December
                                    December 2020     2020 if  if I...
                                                                   I...                             for the
                                                                                              10· ·for    the IUOEl[UOE Local
                                                                                                                           Local 44 union?
                                                                                                                                         union?
             Q. And
  11· · · · Q.·  And at   at thetime,
                              the time, is   is---- is
                                                     istherean
                                                        there an                                         A. No.
                                                                                              11· · · · A.·   No.
        engagement letter
  12· ·engagement           letter regarding
                                     regarding that    that engagement?
                                                              engagement?                                Q. Okay.·
                                                                                              12· · · · Q.·   Okay. And    And have have you       been personally
                                                                                                                                            you been     personally
  13· · · · A.   Yes
             A.· Yes.                                                                               involved in
                                                                                              13· ·involved        in --
                                                                                                                       -- in
                                                                                                                           in performing
                                                                                                                                performing work    work in in connection
                                                                                                                                                              connection with     with
             Q. Okay.·
  14· · · · Q.·   Okay. Is    IsSchultheis&
                                 Schultheis & PanettieriPanettieri currently
                                                                           currently                the financial
                                                                                              14· ·the    financial statement
                                                                                                                          statement audits audits forfor the
                                                                                                                                                          the IUOE
                                                                                                                                                                |[UOE Local
                                                                                                                                                                          Local 4   4
        engaged to
  15· ·engaged            perform any
                     to perform        any workwork for        any entity
                                                         for any        entity                      Funds?
                                                                                              15· ·Funds?
        associated with
  16· ·associated        with thethe IUOE
                                        lUOE Local Local 4? 4?                                           A. I| have
                                                                                              16· · · · A.·      have not.
                                                                                                                         not.
  17· · · · A.   Yes.
             A.· Yes.                                                                                    Q. You
                                                                                              17· · · · Q.·   You referenced
                                                                                                                      referenced an       an engagement
                                                                                                                                              engagement letter  letter
             Q. And
  18· · · · Q.·  And can  can you     describe
                                you describe           for me
                                                      for    me thethe nature
                                                                          natureof    of            regarding the
                                                                                              18· ·regarding         the engagement
                                                                                                                            engagement to       to produce
                                                                                                                                                    produce the        report about
                                                                                                                                                                the report         about
        that work
  19· ·that    work thatthat your
                                your ---- Schultheis
                                           Schultheis&         & Panettieri
                                                                   Panettieri is     is             Gina Alongi.·
                                                                                              19· ·Gina      Alongi. Do    Do youyou knowknow whether
                                                                                                                                                  whether thisthis engagement
                                                                                                                                                                     engagement
        currently engaged
  20· ·currently       engaged for.  for.                                                           letter contains
                                                                                              20· ·letter     containster    terms ms regarding
                                                                                                                                        regarding compensation?
                                                                                                                                                       compensation?
  21· · · · A.   We are
             A.· We     are currently
                              currently thethe financial
                                                   financial statement
                                                                  statement                              A. | believeit does.
                                                                                              21· · · · A.·   I  believe     it  does.
        auditors.
  22· ·auditors.                                                                                         Q. Okay.·
                                                                                              22· · · · Q.·   Okay. And    And do   do you
                                                                                                                                        you recall
                                                                                                                                               recall what      those terms
                                                                                                                                                        what those       terms
             Q. Uh-huh.·
  23· · · · Q.·   Uh-huh. And     And just
                                        just at  at aavery
                                                        very highhigh level,
                                                                          level,                    are?
                                                                                              23· ·are?
        could you
  24· ·could     you explain
                        explain whatwhat --   -- what     type of
                                                  what type         of work
                                                                         work is is                      A. Hourly.
                                                                                              24· · · · A.·   Hourly.


                                            O'Brien &
                                            O'Brien & Levine,
                                                       Levine, AA Magna
                                                                  Magna Legal
                                                                         Legal Services
                                                                               Services Company
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Ginamarie Alongi,
Ginamarie   Along, et
                    et al.
                       al. vs
                           vs                                      James M.
                                                                   James  M. Heinzman
                                                                              Heinzman
luoe Local
Iuoe Local 44 Health
              Health && Welfare
                         Welfare Fund,
                                 Fund, et
                                       et al.
                                          al.                             July 29,
                                                                          July 29, 2022
                                                                                   2022
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            Q. Okay.·
  ·1· · · · Q.· Okay. So
                      So hourly
                         hourly rates
                                ratesare--   are provided
                                      are -- are provided                                           Q. And
                                                                                          ·1· · · · Q.·  And whatwhat is is Vincent     Panettieri's position
                                                                                                                            Vincent Panettieri's        position
  BE




                                                                                          WNP
       in the
  ·2· ·in  the engagement
                engagement letter?
                               letter ?                                                        at Schultheis
                                                                                          ·2· ·at   Schultheis&     & Panettieri?
                                                                                                                       Panettieri?
  WN




  ·3· · · · A.
            A.· I| believe
                   believe so.
                           so.                                                            ·3· · · · A.   Heisapartner.
                                                                                                    A.· He     is a partner.· HeHeisis our
                                                                                                                                       our managing
                                                                                                                                             managing --  --
            Q. Okay.·
  ·4· · · · Q.· Okay. And
                      And hourly
                          hourly rates
                                 rates for
                                       for whom?
                                           whom?                                               Co-managing partner.
                                                                                          ·4· ·co-managing         partner.
  Uhh




                                                                                          Oh
  ·5· · · · A.  Anybody who
            A.· Anybody  who would  work on
                             would work   on the
                                             the engagement.
                                                 engagement.                                        Q. And
                                                                                          ·5· · · · Q.·  And are are you
                                                                                                                      you aware
                                                                                                                             aware ofof the
                                                                                                                                          the hourly
                                                                                                                                               hourly ---- well,
                                                                                                                                                            well,
            Q. And
  ·6· · · · Q.· And the
                     theindividuals  who would
                        individuals who  would work    on the
                                                 work on  the                                  areyou
                                                                                          ·6· ·are          awareof
                                                                                                     you aware           the hourly
                                                                                                                      of the   hourly rate
                                                                                                                                         rate that
                                                                                                                                               that Gary
                                                                                                                                                     Gary Waldren
                                                                                                                                                              Waldren
  NO




                                                                                          NO
       engagement --
  ·7· ·engagement -- well, let's strike
                     well, let's strike that.
                                        that.                                                  billed in
                                                                                          ·7· ·billed    in connection
                                                                                                             connection with        the report
                                                                                                                              with the    report concerning
                                                                                                                                                   concerning Gina Gina
                Arethereany
  ·8· · · · · · Are            individualsidentified
                    there any individuals             in the
                                           identified in the                                   Alongi?
                                                                                          ·8· ·Alongi?
  00




                                                                                          00
       engagement letter
  ·9· ·engagement      letter who
                              who would
                                   would work   on the
                                          work on  the engagement?
                                                        engagement?                       ·9· · · · A.
                                                                                                    A.· I| am.
                                                                                                            am.
  ©




                                                                                          ©
            A. I'm
  10· · · · A.· I'mnot  -- I'm
                    not -- I'm not
                               not sure.·
                                   sure. I| believe
                                            believe -- |I
                                                    --                                               Q. And
                                                                                          10· · · · Q.·   And what        would that
                                                                                                                  what would      that be?be?




                                                                                         = Oo
                                                                                         Bo
       don't know
  11· ·don't know which·
                  which --
                         -- usually,
                            usualy, they
                                     they reference
                                          reference two
                                                    two                                              A. Consistent
                                                                                          11· · · · A.·   Consistent with with mine.
                                                                                                                                mine.
       partnersin
  12· ·partners in the engagement letter.·
                   the engagement     letter. I| don't
                                                 don't recall
                                                       recall                                        Q. Approximately,
                                                                                          12· · · · Q.·   Approximately, 270     270 perper hour?
                                                                                                                                              hour?
       exactly who was on it, if it was myself and Vincent
  13· ·exactly who   was on it, if it was   myself   and Vincent                                     A. Yes.
                                                                                          13· · · · A.·   Yes.
       Panettieri or
  14· ·Panettieri or myself
                     myself and
                            and Gary
                                Gary Waldren,
                                     Waldren, but
                                              but that
                                                  that does
                                                       does                                          Q. Okay.·
                                                                                          14· · · · Q.·    Okay. And And what      about the
                                                                                                                            what about       the hourly
                                                                                                                                                  hourly    rate
                                                                                                                                                             rate of
                                                                                                                                                                  of
       not indicate
  15· ·not indicate that
                    that those
                         those are
                                are the
                                    the only
                                        only individuals
                                              individuals who
                                                          who                                   Mr. Panettieri?
                                                                                          15· ·Mr.      Panettieri?
       would perform
  16· ·would   perform services.·
                        services. That
                                   That is
                                         isjust  the
                                            just the                                                 A. Similar
                                                                                          16· · · · A.·   Similarto  to mine.
                                                                                                                        mine.
       individuals responsible.
  17· ·individuals responsible.                                                                      Q. Okay.·
                                                                                          17· · · · Q.·    Okay. So, So, approximately,
                                                                                                                           approximately, 270   270 anan hour?
                                                                                                                                                          hour?
            Q. I| appreciate
  18· · · · Q.·    appreciatethe
                               the clarification.
                                   clarification.                                                    A. Correct.
                                                                                          18· · · · A.·   Correct.
                Do you
  19· · · · · · Do  you recall
                        recall what
                               what your
                                     your hourly
                                            hourly --
                                                   -- well,
                                                      well,                                          Q. And
                                                                                          19· · · · Q.·   And do  do you    know
                                                                                                                      you know      the
                                                                                                                                    the total    dollar amount
                                                                                                                                          total dollar    amount
       let's back
  20· ·let's back up.
                  up.                                                                           billed by Schultheis & Panettieri in connection with
                                                                                          20· ·billed     by   Schultheis     &  Panettieri     in  connection     with
                Did you
  21· · · · · · Did you personally
                        personally perform
                                    perform work
                                             work in
                                                   in                                           the preparation
                                                                                          21· ·the     preparation of   of the
                                                                                                                            the report
                                                                                                                                 report concerning
                                                                                                                                            concerning Gina Gina
       connection with
  22· ·connection          the report
                      with the report concerning
                                      concerning Gina
                                                  Gina Alongi?
                                                       Alongi?                                  Alongi?
                                                                                          22· ·Alongi?
            A. I| did.
  23· · · · A.·   did.                                                                               A. I| do
                                                                                          23· · · · A.·      do not
                                                                                                                 not know
                                                                                                                      know thethe total
                                                                                                                                  total number.
                                                                                                                                          number.
            Q. Uh-huh.·
  24· · · · Q.· Uh-huh. And
                        And you
                            you were
                                were compensated
                                     compensated hourly
                                                 hourly                                              Q. Do
                                                                                          24· · · · Q.·    Do you
                                                                                                                you have
                                                                                                                      have---- can
                                                                                                                                can you
                                                                                                                                      you ballpark
                                                                                                                                            ballpark thefigure
                                                                                                                                                        the figure

                                                                       Page 14
                                                                       Page 14                                                                                 Page 16
                                                                                                                                                               Page 16

       for that
  ·1· ·for   that work,
                    work, is  isthat      right?
                                  that right?                                                  at all?
                                                                                          ·1· ·at  all?
                                                                                          BE




            A. I| was.
  ·2· · · · A.·    was.                                                                             A. I| know
                                                                                          ·2· · · · A.·     know if if --
                                                                                                                       -- I'd
                                                                                                                            I'd rather
                                                                                                                                 rather not.·
                                                                                                                                         not. I| cancan get
                                                                                                                                                         get
                                                                                          WN




            Q. Uh-huh.·
  ·3· · · · Q.·  Uh-huh. And    And do  do you
                                             you recall
                                                    recall what
                                                             what your         hourly
                                                                      your hourly              that information
                                                                                          ·3· ·that   information if    if it's
                                                                                                                            it's necessary.
                                                                                                                                  necessary.
       rate was?
  ·4· ·rate    was?                                                                                 Q. I1 would
                                                                                          ·4· · · · Q.·     would appreciate
                                                                                                                      appreciateitit if    if you     could.
                                                                                                                                               you could.
                                                                                          Oh




            A. Approximately,
  ·5· · · · A.·  Approximately, $270      $270 an an hour.
                                                      hour.                               ·5· · · · A.   Sure.
                                                                                                    A.· Sure.
            Q. And
  ·6· · · · Q.·         other than
                 And other         than yourself,
                                           yourself, who        else at
                                                         who else      at                           Q. Uh-huh.·
                                                                                          ·6· · · · Q.·  Uh-huh. Do      Do you      know how
                                                                                                                               you know        how many
                                                                                                                                                      many hours
                                                                                                                                                               hoursyou  you
                                                                                          NO




       Schultheis&
  ·7· ·Schultheis       & Panettieri
                            Panettieri performed
                                             performed work   work in   in connection
                                                                            connection         spent performing
                                                                                          ·7· ·spent    performing work     work in  in connection
                                                                                                                                        connection with           the report
                                                                                                                                                           with the     report
       with the
  ·8· ·with    thereport        concerning Gina
                     report concerning             Gina Alongi?
                                                          Alongi?                              concerning Gina
                                                                                          ·8· ·concerning         Gina Alongi?
                                                                                                                           Alongi?
                                                                                          0




            A. Significant
  ·9· · · · A.·  Significant work  work was was performed
                                                  performed by    by myself
                                                                      myself                        A. I| do
                                                                                          ·9· · · · A.·     do not
                                                                                                                not know
                                                                                                                      know that that number
                                                                                                                                      number off  off the
                                                                                                                                                       the top   of my
                                                                                                                                                            top of   my
                                                                                          ©




        and my
  10· ·and     my partners,
                    partners, GaryGary Waldren
                                           Waldren and  and Vincent
                                                              Vincent                           head.
                                                                                          10· ·head.
                                                                                         N RO




        Panettieri. There
  11· ·Panettieri.·     There may  may be  be have
                                              have been
                                                      been other
                                                              other staff
                                                                      staff                          Q. And
                                                                                          11· · · · Q.·           would you
                                                                                                          And would           you bebe able
                                                                                                                                        able to      providean
                                                                                                                                                to provide      an
                                                                                         a




        members who
  12· ·members        who performed
                              performed ancillary
                                              ancillary services,
                                                            services, and and                   estimate sitting
                                                                                          12· ·estimate       sitting herehere today?
                                                                                                                                  today?
        certainly, there
  13· ·certainly,     there was       clerical work.
                               was clerical      work.                                               A. Not
                                                                                          13· · · · A.·   Not without
                                                                                                                without reviewing
                                                                                                                              reviewing the  the files.
                                                                                                                                                  files.
             Q. Uh-huh.·
  14· · · · Q.·   Uh-huh. The     The staff
                                         staff who
                                                who performed
                                                        performed ancillary
                                                                          ancillary                  Q. Okay.·
                                                                                          14· · · · Q.·    Okay. What What about about the
                                                                                                                                         the number
                                                                                                                                                number of    of hours
                                                                                                                                                                hoursthat that
        services, are
  15· ·services,      are ---- are
                                are you
                                      you aware
                                             awar e of of any
                                                           any names
                                                                 names of    of any
                                                                                 any            Mr. Waldren
                                                                                          15· ·Mr.     Waldren spent? spent?
        individuals
  16· ·individuals         who may
                         who       may havehave performed
                                                  performed those   those services?
                                                                             services?    16· · · · A.·. I| cannot
                                                                                                             cannot estimate
                                                                                                                       estimate that      --
                                                                                                                                     that --
             A. I| do
  17· · · · A.·     donot      recall at
                        not recall      at this
                                            thistime.
                                                 time.                                    17· · · · Q.·. Uh-huh.
                                                                                                           Uh-huh.
             Q. And
  18· · · · Q.·   And I'mI'm sorry.·
                                 sorry. I| don't
                                              don't know
                                                       know --  -- I| don't
                                                                      don't               18· · · · A.·. --
                                                                                                          -- here
                                                                                                              hereright
                                                                                                                    right now.now.
        think I| heard
  19· ·think       heard you.          Could you
                              you.· Could        you repeat
                                                        repeat Vincent's
                                                                   Vincent's last last    19· · · · Q.·. What
                                                                                                          What boutbout Mr.  Mr. Panettieri?
                                                                                                                                    Panettieri?
        name.
  20· ·name.                                                                              20· · · · A.·. I| cannot
                                                                                                             cannot estimate
                                                                                                                       estimate that      here and
                                                                                                                                     that here     and now.
                                                                                                                                                         now.
             A. Panettieri.
  21· · · · A.·   Panettieri.                                                             21· · · · Q.·. Uh-huh.·
                                                                                                           Uh-huh. Are    Areyou       aware of
                                                                                                                                 you aware       of how
                                                                                                                                                      how much
                                                                                                                                                             much money
                                                                                                                                                                      money
             Q. Panettieri.·
  22· · · · Q.·   Panettieri. Okay.· Okay. What's
                                                What's Gary Gary Waldren's
                                                                     Waldren's                  the Funds
                                                                                          22· ·the     Funds havehave paidpaid Schultheis
                                                                                                                                   Schultheis&      & Panettieri
                                                                                                                                                       Panettieri in  in
        position at
  23· ·position      at Schultheis
                         Schultheis&        & Panettieri?
                                               Panettieri?                                      connection with
                                                                                          23· ·connection                  performing financial
                                                                                                                  with performing            financial statement
                                                                                                                                                           statement
             A. Gary
  24· · · · A.·   Gary is isapartner.
                              a partner.                                                        audits?
                                                                                          24· ·audits?


                                         O'Brien &
                                         O'Brien & Levine,
                                                    Levine, AA Magna
                                                               Magna Legal
                                                                      Legal Services
                                                                            Services Company
                                                                                     Company                                                                Pages 13–16
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Ginamarie   Along, et
                    et al.
                       al. vs
                           vs                                      James M.
                                                                   James  M. Heinzman
                                                                              Heinzman
luoe Local
Iuoe Local 44 Health
              Health && Welfare
                         Welfare Fund,
                                 Fund, et
                                       et al.
                                          al.                             July 29,
                                                                          July 29, 2022
                                                                                   2022
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                                                                              Page 17                                                                               Page 19
                                                                                                                                                                    Page 19

            A. I'm
  ·1· · · · A.·    I'm sorry.·
                         sorry. Can  Can youyou repeat
                                                    repeat that
                                                              that question.
                                                                     question.                          regar ding this
                                                                                                   ·1· ·regarding  this engagement,
                                                                                                                        engagement, do
                                                                                                                                    do you remember when
                                                                                                                                       you remember when that
                                                                                                                                                         that




                                                                                                    WDNR
  WNP


            Q. Yes.·
  ·2· · · · Q.·    Yes. Are  Areyou        aware of
                                    you aware          of the
                                                            the amount
                                                                  amount of    of money
                                                                                    money               was?
                                                                                                   ·2· ·was?
       paid by
  ·3· ·paid      by the
                      the Local
                             Local 4   4 Funds
                                          Fundstoto Schultheis
                                                           Schultheis&       & Panettieri
                                                                                 Panettieri                  A. I| do
                                                                                                   ·3· · · · A.·   do not
                                                                                                                      not remember
                                                                                                                          remember specifically
                                                                                                                                   specifically when
                                                                                                                                                when I|
       in connection
  ·4· ·in   connection with              preparation of
                                with preparation              of financial
                                                                   financial                            initially spoke
                                                                                                   ·4· ·initially spoke with
                                                                                                                        with them.
                                                                                                                             them.




                                                                                                    bh
  Oh




       statement audits?
  ·5· ·statement          audits?                                                                            Q. Do
                                                                                                   ·5· · · · Q.· Do you
                                                                                                                    you know
                                                                                                                        know whether it was
                                                                                                                             whether it     before or
                                                                                                                                        was before or after
                                                                                                                                                      after




                                                                                                    Oo
            A. I| know
  ·6· · · · A.·      know we    we dodo the
                                          the financial
                                                financial statement
                                                               statement                                the completion
                                                                                                   ·6· ·the completion of
                                                                                                                       of the
                                                                                                                          thereport  marked as
                                                                                                                              report marked as 164?
                                                                                                                                               164?




                                                                                                    NO
  NO




       audits. I| do
  ·7· ·audits.·        do not
                            not know
                                   know the the retainers
                                                   retainers off off the
                                                                      the top
                                                                            top of of                        A. We
                                                                                                   ·7· · · · A.· Wewould  have reviewed
                                                                                                                    would have reviewed the report with
                                                                                                                                        the report with them
                                                                                                                                                        them
       my head.
  ·8· ·my     head.                                                                                     prior to
                                                                                                   ·8· ·prior to finalizing
                                                                                                                 finalizing it
                                                                                                                            it no
                                                                                                                               no matter
                                                                                                                                  matter what.
                                                                                                                                         what.




                                                                                                    00
  0




            Q. Uh-huh.·
  ·9· · · · Q.·    Uh-huh. And      And would
                                            would you   you be be able
                                                                    abletoto tell
                                                                                tell me
                                                                                      me                     Q. Do
                                                                                                   ·9· · · · Q.· Do you
                                                                                                                    you recall
                                                                                                                        recall whether any part
                                                                                                                               whether any part of
                                                                                                                                                of the
                                                                                                                                                   the




                                                                                                    ©
  ©




        the amount
  10· ·the     amount of      of money
                                   money paid  paid by  by the
                                                             the IUOE
                                                                    [UOE LocalLocal 4  4 union
                                                                                          union         report had
                                                                                                   10· ·report had been
                                                                                                                   been drafted
                                                                                                                        drafted as of the
                                                                                                                                as of the first
                                                                                                                                          first timeyou
                                                                                                                                                time you
        to Schultheis
  11· ·to    Schultheis&          & Panettieri
                                     Panettieri in     in connection
                                                            connection with   with thethe               spoke with
                                                                                                   11· ·spoke with the
                                                                                                                   the Board
                                                                                                                       Board of
                                                                                                                             of Trustees
                                                                                                                                Trustees over
                                                                                                                                         over Zoom?
                                                                                                                                              Zoom?




                                                                                                  =
                                                                                                  =
        preparation of
  12· ·preparation             of financial
                                   financial statement
                                                    statement audits?audits?                                 A. I| do
                                                                                                   12· · · · A.·   do not
                                                                                                                      not know
                                                                                                                          know what status the
                                                                                                                               what status     report wasin
                                                                                                                                           the report was in
             A. Not
  13· · · · A.·     Not offoff the
                                 the top
                                       top ofof mymy head
                                                        head I| cannot.
                                                                  cannot.                               the first
                                                                                                   13· ·the first time
                                                                                                                  time I| spoke
                                                                                                                          spoke with them.
                                                                                                                                with them.
              Q. Mr.
  14· · · · Q.·     Mr. Heinzman,
                            Heinzman, I've      I've scrolled
                                                        scrolled downdown to   to Page
                                                                                     Page 11                 Q. Do
                                                                                                   14· · · · Q.· Do you
                                                                                                                    you recall
                                                                                                                        recall whether
                                                                                                                               whether you had performed
                                                                                                                                       you had performed any
                                                                                                                                                         any
        of the
  15· ·of    the document
                    document that's   that's beenbeen marked
                                                           marked as    as Exhibit
                                                                            Exhibit 164, 164,           kind of
                                                                                                   15· ·kind of investigation
                                                                                                                investigation into
                                                                                                                              into the
                                                                                                                                   the --
                                                                                                                                       -- well, strike that.
                                                                                                                                          well, strike that.
        and I| note
  16· ·and         notethatthat the thereport         appear stoto be
                                          report appears                 be addressed
                                                                              addr essed                         Do you
                                                                                                   16· · · · · · Do you know
                                                                                                                        know whether
                                                                                                                             whether you've performed --
                                                                                                                                     you've performed -- you
                                                                                                                                                         you
        tothe
  17· ·to           Board of
            the Board           of Trustees
                                    Trustees of     of the
                                                         the IUOE
                                                                |lUOE Local
                                                                          Local 44 Benefit
                                                                                      Benefit           performed any
                                                                                                   17· ·performed any work concer ning the
                                                                                                                      work concerning      engagement as
                                                                                                                                       the engagement as of
                                                                                                                                                         of
        Funds. Do
  18· ·Funds.·         Do youyou seeseethat?
                                          that?                                                         thefirst
                                                                                                   18· ·the       time you
                                                                                                            first time you spoke
                                                                                                                           spoke with
                                                                                                                                 with the Board of
                                                                                                                                      the Board of Trustees?
                                                                                                                                                   Trustees?
             A. I| do.
  19· · · · A.·       do.                                                                                    A. I'm
                                                                                                   19· · · · A.· I'm sorry.·
                                                                                                                     sorry. Can
                                                                                                                             Can you
                                                                                                                                 you just repeat that
                                                                                                                                     just repeat that for
                                                                                                                                                      for
              Q. Did
  20· · · · Q.·     Did you        speak with
                           you speak          with anyany members
                                                              members of      of the
                                                                                   the board
                                                                                        board           me, please.
                                                                                                   20· ·me, please.
        of trustees
  21· ·of    trustees of    of the
                                 the IUOE
                                        l[UOE Local
                                                  Local 4    4 Benefit
                                                                Benefit Funds
                                                                            Fundsinin                        Q. Well,
                                                                                                   21· · · · Q.· Wall, yes, but let
                                                                                                                       yes, but let me
                                                                                                                                    me ask
                                                                                                                                       ask another
                                                                                                                                           another question.
                                                                                                                                                   question.
        the --
  22· ·the     -- while
                   while you  you were
                                     were in  in the
                                                   the process
                                                          process of  of preparing
                                                                           preparing               22· ·I| think
                                                                                                           think it
                                                                                                                 it might
                                                                                                                    might clear
                                                                                                                          clear things
                                                                                                                                things up.
                                                                                                                                       up.
        thisreport?
  23· ·this     report?                                                                                          Can you
                                                                                                   23· · · · · · Can you describe
                                                                                                                         describe for me
                                                                                                                                  for methe  nature of
                                                                                                                                         the nature of the
                                                                                                                                                       the
             A. In
  24· · · · A.·     In connection
                        connection with    with the the engagement
                                                          engagement or      or while
                                                                                  while                 work that
                                                                                                   24· ·work that you
                                                                                                                  you personally
                                                                                                                      personally performed
                                                                                                                                 performed in
                                                                                                                                           in connection
                                                                                                                                              connection

                                                                              Page 18
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                                                                                                                                                                    Page 20

       preparing the
  ·1· ·preparing       the report;
                             report; cancan you
                                              you bebe specific?
                                                        specific?                                       with this
                                                                                                   ·1· ·with    this engagement?
                                                                                                                       engagement?
                                                                                                    PF




            Q. Yeah.·
  ·2· · · · Q.·  Yeah. Wdll,           let's start
                             Well, let's      start with
                                                      with in in connection
                                                                   connection                                A. I| helped
                                                                                                   ·2· · · · A.·     helped oversee
                                                                                                                                oversee thisthis engagement,
                                                                                                                                                  engagement, I|
                                                                                                    WN




       with the
  ·3· ·with    the engagement.
                     engagement.                                                                        personally interviewed
                                                                                                   ·3· ·personally        interviewed the        individuals involved,
                                                                                                                                           the individuals      involved, and
                                                                                                                                                                            and
            A. Yes.
  ·4· · · · A.·  Yes.                                                                              ·4· ·I| personally
                                                                                                           personally put   put the
                                                                                                                                 the report
                                                                                                                                      report together.
                                                                                                                                                together.
                                                                                                    Ul




            Q. Okay.·
  ·5· · · · Q.·  Okay. And    And with
                                     with whom
                                             whom did   did you
                                                              you speak?
                                                                     speak?                                  Q. Okay.·
                                                                                                   ·5· · · · Q.·  Okay. And    And so,so, when
                                                                                                                                           when you you say
                                                                                                                                                          say you
                                                                                                                                                               you personally
                                                                                                                                                                     personally
  ·6· · · · A.
            A.· I| spoke
                    spoke with       the whole
                              with the               Board of
                                           whole Board         of Trustees.
                                                                   Trustees.                            put the
                                                                                                   ·6· ·put    thereport        together, did
                                                                                                                    report together,           did you
                                                                                                                                                    you draft
                                                                                                                                                          draft this
                                                                                                                                                                  this
                                                                                                    NO




            Q. Uh-huh.·
  ·7· · · · Q.·   Uh-huh. And    And on  on one
                                              one occasion
                                                    occasion or    or more
                                                                       morethan
                                                                              than                       report?
                                                                                                   ·7· ·report?
       one occasion?
  ·8· ·one    occasion?                                                                                      A. I| did.
                                                                                                   ·8· · · · A.·     did.
                                                                                                    00




            A. More
  ·9· · · · A.·  More than        one occasion.
                           than one      occasion.                                                           Q. Uh-huh.·
                                                                                                   ·9· · · · Q.·   Uh-huh. Did    Did anyone
                                                                                                                                         anyone else,
                                                                                                                                                    else, other
                                                                                                                                                           other than
                                                                                                                                                                   than you,
                                                                                                                                                                         you,
                                                                                                    ©




             Q. Okay.·
  10· · · · Q.·   Okay. Do     Do you      recall how
                                    you recall      how manymany occasions?
                                                                      occasions?                          draft thisreport
                                                                                                   10· ·draft     this report or    or assist
                                                                                                                                         assist with     the drafting
                                                                                                                                                  with the    drafting ofof
             A. IlI do
  11· · · · A.·      donot.
                         not.· AtAtleast      two.
                                      least two.                                                          thisreport?
                                                                                                   11· ·this    report?
                                                                                                        =
                                                                                                  Ww NP




             Q. And
  12· · · · Q.·   And did  did you
                                 you speak
                                        speak withwith them
                                                         them in   in person
                                                                       person or or by
                                                                                    by             12· · · · A.·. Yes.
                                                                                                                   Yes.
                                                                                                  [ES




        some other
  13· ·some      other means?
                           means?                                                                  13· · · · Q.·. Okay.·
                                                                                                                    Okay. And   And who       would that
                                                                                                                                       who would        that be?
                                                                                                                                                              be?
             A. By
  14· · · · A.·   By some
                        some other
                                 other means.
                                          means.                                                   14· · · · A.·. Gary
                                                                                                                   Gary Waldren
                                                                                                                             Waldren and  and Vincent
                                                                                                                                                Vincent Panettieri.
                                                                                                                                                           Panettieri.
             Q. And
  15· · · · Q.·   And whatwhat were were those       other means?
                                            those other        means?                              15· · · · Q.·. Okay.·
                                                                                                                    Okay. AnyoneAnyone else?else?
                                                                                                  No a
                                                                                                  [ENE




             A. Zoom.
  16· · · · A.·   Zoom.                                                                            16· · · · A.·. Not
                                                                                                                   Not to  to my
                                                                                                                               my knowledge.
                                                                                                                                    knowledge.
             Q. And
  17· · · · Q.·   And did  did you
                                 you speak
                                        speak withwith them
                                                         them on   on Zoom
                                                                       Zoom during
                                                                                during             17· · · · Q.·. And
                                                                                                                   And you   you mentioned
                                                                                                                                   mentioned that         you personally
                                                                                                                                                   that you     personally
  18· ·aa Board
           Board of   of Trustees
                          Trustees meeting?
                                         meeting?                                                         interviewed individuals
                                                                                                   18· ·interviewed           individualsincluded
                                                                                                                                               included in  in this
                                                                                                                                                               thisreport.
                                                                                                                                                                     report.· DoDo
             A. Yes.·
  19· · · · A.·   Yes. Whether
                           Whether itit was was aa special
                                                     special meeting
                                                                 meeting or or aa                         you recall
                                                                                                   19· ·you     recall who who you      interviewed?
                                                                                                                                  you interviewed?
        regular meeting
  20· ·regular      meeting I'm  I'm not
                                       not positive,
                                             positive, butbut there
                                                                there was
                                                                        was aa                                A. I| do.
                                                                                                   20· · · · A.·      do.
        definite Board
  21· ·definite      Board of  of Trustee
                                   Trustee meeting
                                                meeting thatthat wewe                                         Q. And
                                                                                                   21· · · · Q.·   And can   can you
                                                                                                                                  you identify
                                                                                                                                         identify those
                                                                                                                                                     those individuals
                                                                                                                                                             individuals forfor
        participate in.
  22· ·participate       in.                                                                              me.
                                                                                                   22· ·me.
             Q. Understood.·
  23· · · · Q.·    Understood. And       And the the---- the
                                                         the first
                                                                first time
                                                                       timewhen
                                                                             when                             A. Laura-Jean
                                                                                                   23· · · · A.·   Laura-Jean Hickey,Hickey, Rosemarie
                                                                                                                                                  Rosemarie Ortega,
                                                                                                                                                                Ortega, and
                                                                                                                                                                          and
        you spoke
  24· ·you     spoketoto the  the Board
                                   Board of    of Trustees
                                                   Trusteesvia        Zoom
                                                                 via Zoom                                 Rebecca Zaccardi.
                                                                                                   24· ·Rebecca        Zaccardi.


                                              O'Brien &
                                              O'Brien & Levine,
                                                         Levine, AA Magna
                                                                    Magna Legal
                                                                           Legal Services
                                                                                 Services Company
                                                                                           Company                                                               Pages 17–20
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Ginamarie Alongi,
Ginamarie   Along, et
                    et al.
                       al. vs
                           vs                                      James M.
                                                                   James  M. Heinzman
                                                                              Heinzman
luoe Local
Iuoe Local 44 Health
              Health && Welfare
                         Welfare Fund,
                                 Fund, et
                                       et al.
                                          al.                             July 29,
                                                                          July 29, 2022
                                                                                   2022
                                                                             Page 113
                                                                             Page 113                                                                                                 Page 115
                                                                                                                                                                                      Page 115
            A. Yes.
  ·1· · · · A.·   Yes.                                                                                        on Exhibit
                                                                                                         ·1· ·on   Exhibit G8  G8 ofof the
                                                                                                                                         the report.
                                                                                                                                                report.
  PF




                                                                                                           WNP
            Q. Okay.·
  ·2· · · · Q.·   Okay. Does   Doesthisdata
                                        this data applyapply to    to both
                                                                       both                                        A. Total
                                                                                                         ·2· · · · A.·  Tota rentrent attributed,
                                                                                                                                         attributed, rent   rent paid.·
                                                                                                                                                                    paid. Scroll
                                                                                                                                                                              Scroll
  WN




        entrances, do
  ·3· ·entrances,         do you
                               you know?
                                      know?                                                                   down for
                                                                                                         ·3· ·down     for aa second,
                                                                                                                               second, please.·
                                                                                                                                            please. There   Thereyou         go. You
                                                                                                                                                                      you go.·       You havehave
            A. I| don't
  ·4· · · · A.·     don't know
                             know that       it does.·
                                       that it  does. I'm    I'm not
                                                                  not sure.
                                                                        sure.                                 you have
                                                                                                         ·4· ·you    have dimensions
                                                                                                                             dimensions right     right there.        Spare office
                                                                                                                                                          there.· Spare         office 12 12 by by
  dh




                                                                                                           Oh
  ·5· ·I| asked
          asked forforit it
                          al.
                            all.· I| believe
                                      believeifif -- -- if
                                                         if ---- whenever                                     11. SeeSeeitit on
                                                                                                                              on the
                                                                                                                                   the bottom?
                                                                                                                                         bottom?
  Ul




                                                                 whenever                                ·5· ·11.·
        entrance she
  ·6· ·entrance       she came
                            came in  in would
                                         would be   be logged
                                                         logged here.·here. I'mI'm                                 Q. Sorry.·
                                                                                                         ·6· · · · Q.·  Sorry. Now   Now --   -- butbut I| ----




                                                                                                           NO
  NO




        not --
  ·7· ·not   -- I'm
                 I'm notnot positive,
                             positive, but but ifif wewe sawsaw                                                    A. Right
                                                                                                         ·7· · · · A.·  Right in  in the
                                                                                                                                     the middle
                                                                                                                                            middle of     of the
                                                                                                                                                               the page
                                                                                                                                                                     page under
                                                                                                                                                                             under
        inconsistencies in
  ·8· ·inconsistencies          in this
                                    this data
                                           data-- -- if
                                                      if you
                                                         you flipflip forward
                                                                        forward                               Rebecca Zaccardi.·
                                                                                                         ·8· ·Rebecca       Zaccardi. Hold   Hold still.·
                                                                                                                                                       still. Hold
                                                                                                                                                                 Hold still.·
                                                                                                                                                                          still. Look
                                                                                                                                                                                    Look atat
  00




                                                                                                           0
  ·9· ·aa couple
           couple of  of pages,
                          pages, right
                                     right there,
                                             there, cancan you you stay
                                                                     stay                                     the employee names.
                                                                                                         ·9· ·the   employee       names.




                                                                                                           ©
  ©




         there.
  10· ·there.                                                                                                       Q. Uh-huh.
                                                                                                         10· · · · Q.·   Uh-huh.




                                                                                                   = Oo
                                                                                                   ll
             Q. For
  11· · · · Q.·    For the therecord,
                                 record, wereon
                                             we're on G4.·     G4. Yeah.
                                                                      Yeah.                                         A. And
                                                                                                         11· · · · A.·   And youyou go  go down
                                                                                                                                             down under  under Rebecca
                                                                                                                                                                   Rebecca Zaccardi,
                                                                                                                                                                                  Zaccardi, and   and
  12· · · · A.     There was
             A.· There       was no no phone
                                          phone activity
                                                    activity or   or email
                                                                      email                                    you have
                                                                                                         12· ·you     have spare
                                                                                                                              spare office
                                                                                                                                       office for  for storage
                                                                                                                                                         storage 12   12 byby 11 11 feet,
                                                                                                                                                                                     feet, 132132
         activity prior
  13· ·activity      prior to     those entrance
                              to those     entrance times;
                                                         times; so,  so, while
                                                                           while itit                          square feet,
                                                                                                         13· ·square      feet, 100
                                                                                                                                 100 percent
                                                                                                                                         percent attributable
                                                                                                                                                       attributable to     to the
                                                                                                                                                                               the
  14· ·isis possible
            possible there's
                          there's another
                                     another doordoor and,and, maybe,
                                                                   maybe, on   on                              coalition.
                                                                                                         14· ·coalition.
         occasion we
  15· ·occasion             came in
                        we came       in that
                                          that door,
                                                door, the  the bulk
                                                                 bulk of of the
                                                                             the work
                                                                                  work                              Q. Got
                                                                                                         15· · · · Q.·   Got it.·
                                                                                                                                it. Got
                                                                                                                                      Got it. it.
         clearly from
  16· ·clearly      from this
                            this chart
                                   chart happened
                                            happened after    after those
                                                                     those                                             Okay. And
                                                                                                         16· · · · · · Okay.·      And do  do you  you -- -- again,
                                                                                                                                                              again, can can you you recall
                                                                                                                                                                                        recall
         entrance times.
  17· ·entrance        times.                                                                                  who provided
                                                                                                         17· ·who      provided the   the information
                                                                                                                                             information to          to you
                                                                                                                                                                         you thatthat the
                                                                                                                                                                                        the
             Q. Right.·
  18· · · · Q.·    Right. And,  And, of  of course,
                                             course, it    it would
                                                               would be   be                                   dimensions of
                                                                                                         18· ·dimensions          of the
                                                                                                                                      the spare
                                                                                                                                             spare officeoffice werewere 11  11 by by 12
                                                                                                                                                                                       12 feet?
                                                                                                                                                                                             feet?
         possible for
  19· ·possible        for her
                             her toto perform
                                        perform work   work for  for the
                                                                       the Funds
                                                                              Funds or  or                          A. I| honestly
                                                                                                         19· · · · A.·      honestly don'tdon't remember
                                                                                                                                                     remember specifically
                                                                                                                                                                       specifically who   who
         the coalition
  20· ·the     coalition without            calling someone
                              without calling           someone or       or sending
                                                                             sending an   an                   told me.
                                                                                                         20· ·told    me.
         email, right?
  21· ·email,      right?                                                                                           Q. And
                                                                                                         21· · · · Q.·   And II notenotethatthat in   in this
                                                                                                                                                           thischart,        which is
                                                                                                                                                                  chart, which           is----
  22· · · · A.
             A.· OfOf course.
                         course.                                                                               just for
                                                                                                         22· ·just    for the
                                                                                                                            therecord
                                                                                                                                 record the    thetitleis,         " Rent Analysis
                                                                                                                                                      title is, "Rent          Analysis
             Q. Yeah.·
  23· · · · Q.·    Yeah. Mr.   Mr. Heinzman,
                                       Heinzman, I| pulled    pulled up  up the
                                                                              the                              Based on
                                                                                                         23· ·Based      on Square
                                                                                                                               Square Feet" Feet" --    -- there
                                                                                                                                                            thereisdimensionsthat
                                                                                                                                                                      is dimensions that
         Schultheisreport
  24· ·Schultheis                     again, and
                           report again,         and now now I'm  I'm on on the
                                                                              the last
                                                                                   last                        appear to be square -- measurement dimensions
                                                                                                         24· ·appear       to  be   square         -- measurement               dimensions listed  listed

                                                                             Page 114
                                                                             Page 114                                                                                                 Page 116
                                                                                                                                                                                      Page 116

       page of
  ·1· ·page     of the
                     thereport        itself which
                            report itself       which is    isPage
                                                               Page 6,  6, and
                                                                            and I'd   I'd                     next to
                                                                                                         ·1· ·next    to the
                                                                                                                          the name
                                                                                                                                 name of  of each
                                                                                                                                               each employee.·
                                                                                                                                                       employee. Do       Do youyou seeseethat,
                                                                                                                                                                                            that,
                                                                                                           WNP




       liketo draw your attention to the top paragraph on
  ·2· ·like   to  draw       your    attention        to   the   top   paragraph             on               Mr. Heinzman?
                                                                                                         ·2· ·Mr.     Heinzman?
       that page,
  ·3· ·that    page, and  and I| note
                                   notethatthat sayssaysinin part,
                                                                part, "...it
                                                                         " ...it                         ·3· · · · A.
                                                                                                                   A.· I| do.
                                                                                                                           do.
       appear sthere
  ·4· ·appears        there was was an an entire
                                            entire office
                                                        office being
                                                                  being usedused by     by the
                                                                                            the                    Q. So
                                                                                                         ·4· · · · Q.·   So what
                                                                                                                              what are arethose
                                                                                                                                            those --   -- do
                                                                                                                                                           do those
                                                                                                                                                                those dimensions
                                                                                                                                                                          dimensions
                                                                                                           Uh




       Caalition...." Do
  ·5· ·Coalition...."·          Do you
                                     you know
                                            know how   how you        obtained that
                                                               you obtained              that                 represent the
                                                                                                         ·5· ·represent        the size
                                                                                                                                     size of
                                                                                                                                           of the
                                                                                                                                                the-- -- each
                                                                                                                                                          each employee's
                                                                                                                                                                  employee's
       information?
  ·6· ·information?                                                                                           individual office?
                                                                                                         ·6· ·individual        office?
                                                                                                           NO




            A. Through
  ·7· · · · A.·   Through discussions
                                 discussions with   with the the Fund
                                                                  Fund office.
                                                                           office.                       ·7· · · · A.   That'stheintent,
                                                                                                                   A.· That's      the intent, yes.yes.
            Q. Do
  ·8· · · · Q.·   Do you you know
                                know who who --   -- discussions
                                                      discussions with   with whom?whom?                           Q. Okay.·
                                                                                                         ·8· · · · Q.·   Okay. So    So --
                                                                                                                                         -- so
                                                                                                                                             so can
                                                                                                                                                 can you you explain
                                                                                                                                                                explain for  for me,
                                                                                                                                                                                   me,
                                                                                                           00




  ·9· · · · A.
            A.· I| don't
                     don't recall
                              recall exactly
                                       exactly who. who.                                                      this---- is
                                                                                                         ·9· ·this      isthis      chart assuming
                                                                                                                            this chart      assuming that     that 2525 percent
                                                                                                                                                                          percent of    of
                                                                                                           ©




             Q. Do
  10· · · · Q.·    Doyou         recall at
                          you recall       at what
                                               what --   -- well,
                                                             well, diddid you
                                                                            you --   --                        Gina's office
                                                                                                         10· ·Gina's       officeisis applicable
                                                                                                                                        applicableto       to the
                                                                                                                                                               the coalition?
                                                                                                                                                                     coalition?
                                                                                                   NNNNNRERERRRRRERERERR RP
                                                                                                   RE WONPFPOOWODOWNOUONWNRO




        did you
  11· ·did     you determine
                       determine how    how largelarge thisthis office
                                                                  office     was that
                                                                            was     that was was                    A. Right.·
                                                                                                         11· · · · A.·    Right. Exactly.·
                                                                                                                                     Exactly. So,   So, remember,
                                                                                                                                                          remember, we      we ---- if
                                                                                                                                                                                     if we
                                                                                                                                                                                        we
        allegedly --
  12· ·allegedly         -- allegedly
                             allegedly used used entirely
                                                     entirely for  for the
                                                                         the                                   assume that
                                                                                                         12· ·assume       that 25 25 percent
                                                                                                                                       percent of  of payroll
                                                                                                                                                        payroll taxes
                                                                                                                                                                   taxes and and benefits
                                                                                                                                                                                    benefits
        coalition?
  13· ·coalition?                                                                                              were attributable
                                                                                                         13· ·were     attributable to   to the
                                                                                                                                              the coalition,
                                                                                                                                                    coalition, it  it would
                                                                                                                                                                       would holdhold
             A. I1 did,
  14· · · · A.·       did, and
                             and I| think
                                     think it'sit's shown
                                                     shown on   on Exhibit
                                                                     Exhibit                                   true that
                                                                                                         14· ·true    that 2525 percent
                                                                                                                                  percent of  of the    rent should
                                                                                                                                                 the rent      should be   be
        G8.
  15· ·G8.                                                                                                     attributable to
                                                                                                         15· ·attributable        to the
                                                                                                                                      the coalition,
                                                                                                                                           coalition, whichwhich is   is common
                                                                                                                                                                         common in      in an
                                                                                                                                                                                           an
             Q. Uh-huh.·
  16· · · · Q.·    Uh-huh. Let's    Let'sgothere.
                                             go there.                                                         expense study.
                                                                                                         16· ·expense       study.
             A. I| think
  17· · · · A.·       think -- -- you
                                  you know,
                                         know, my    my understanding
                                                           understanding is        is                               Q. Okay.·
                                                                                                         17· · · · Q.·    Okay. You'reYou'reassuming
                                                                                                                                                 assuming that;   that; so, so, 25
                                                                                                                                                                                 25 percent
                                                                                                                                                                                       percent
        there was
  18· ·there     was an  an office
                              office that     had coalition
                                       that had       coalition materials
                                                                     materialsinin                             of the
                                                                                                         18· ·of   the---- therent
                                                                                                                             the rent of  of Gina's
                                                                                                                                               Gina's officeofficeisis attributable
                                                                                                                                                                         attributable
        it, and
  19· ·it,  and if if I| recall
                          recall correctly,
                                   correctly, I| put  put some
                                                            some square
                                                                     square                                    to the
                                                                                                         19· ·to   the coalition?
                                                                                                                         coalition?
        footage in
  20· ·footage        in here.
                          here.                                                                                     A. Correct.
                                                                                                         20· · · · A.·    Correct.
                 Let me
  21· · · · · · Let     mejust      see. Can
                              just see.·    Can you you blowblow that
                                                                    that upup forfor                                Q. Okay.·
                                                                                                         21· · · · Q.·    Okay. And   And that'sthe
                                                                                                                                             that's the same   sameforfor all all the
                                                                                                                                                                                   the
        me alittle
  22· ·me                 bit, please.
              a little bit,     please.                                                                        other employees
                                                                                                         22· ·other      employeeslisted  listed herehere forfor --
                                                                                                                                                                  --
             Q. Yeah.·
  23· · · · Q.·    Yeah. Absolutely.
                                Absolutely.                                                                         A. Correct.·
                                                                                                         23· · · · A.·    Correct. ThoseThose are are thethe same
                                                                                                                                                              same percentages
                                                                                                                                                                        percentages
                 MR. TOSTI:·
  24· · · · · · MR.       TOSTI: So,    So, yeah,
                                              yeah, for for the
                                                              the record,
                                                                   record, we'rewe're                          consistently applied.
                                                                                                         24· ·consistently         applied.


                                              O'Brien &
                                              O'Brien & Levine,
                                                         Levine, AA Magna
                                                                    Magna Legal
                                                                           Legal Services
                                                                                 Services Company
                                                                                           Company                                                                             Pages 113–116
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                       In the
                       In the Matter
                              Matter of:
                                     of:

                 Ginamarie Alongi,
                 Ginamarie Along, et
                                   et al.
                                      al. vs
                                          vs
       luoe Local
       Iuoe Local 4
                  4 Health
                    Health &
                           & Welfare
                             Welfare Fund,
                                     Fund, et
                                           et al.
                                              al.




                      Jennifer A.
                      Jennifer A. Vachon
                                  Vachon

                          July 28,
                          July 28, 2022
                                   2022



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           Case 1:21-cv-10163-FDS Document 64 Filed 12/13/22 Page 194 of 271
Ginamarie Alongi,
Ginamarie   Alongi, et
                    et al.
                       al. vs
                           vs                                       Jennifer A.
                                                                    Jennifer  A. Vachon
                                                                                 Vachon
luoe Local
Iuoe Local 44 Health
              Health && Welfare
                         Welfare Fund,
                                 Fund, et
                                       et al.
                                          al.                              July 28,
                                                                           July 28, 2022
                                                                                    2022
                                                                                                                         Page 3

                  COMMONWEALTH OF
  ·1· · · · · · · COMMONWEALTH OF MASSACHUSETTS
                                  MASSACHUSETTS                          ·1· APPEARANCES:
                                                                          1 ·APPEARANCES:

       NORFOLK, SS·
  ·2· ·NORFOLK, SS · · · · ·SUPERIOR
                            SUPERIOR COURT
                                     COURT                               ·22
                             CIVIL ACTION
  ·3· · · · · · · · · · · · ·CIVIL ACTION NO.
                                          NO. 2182-CV-00125
                                              2182-CV-00125                  Representing the
                                                                          3 ·Representing
                                                                         ·3·              the Plaintiffs:
                                                                                              Plaintiffs:
  ·4· ·_____________________________________________X                     4 · · · Bowditch
                                                                         ·4·      Bowditch &
                                                                                           & Dewey,
                                                                                             Dewey, LLP
                                                                                                    LLP
       GINAMARIE ALONGI
  ·5· ·GINAMARIE ALONGI AND
                        AND                                              ·5·      TIMOTHY P.
                                                                          5 · · · TIMOTHY P. VAN
                                                                                             VAN DYCK,
                                                                                                 DYCK, ESQ.
                                                                                                       ESQ.

       ROSEMARIE ALONGI,
  ·6· ·ROSEMARIE ALONG,                                                  ·6·      JACOB TOSTI,
                                                                          6 · · · JACOB TOSTI, ESQ.
                                                                                               ESQ.
                           Plaintiffs,
  ·7· · · · · · · · · · · ·Plaintiffs,                                            200 Crossing
                                                                          7 · · · 200
                                                                         ·7·          Crossing Boulevard
                                                                                               Boulevard
                 vs.
  ·8· · · · · · ·vs.                                                              Suite 300
                                                                          8 · · · Suite
                                                                         ·8·            300
       IUOE LOCAL
  ·9· ·IUOE LOCAL 44 HEALTH
                     HEALTH &
                            & WELFARE
                              WELFARE FUND;
                                      FUND;                                       Framingham, Massachusetts·
                                                                          9 · · · Framingham,
                                                                         ·9·                  Massachusetts 01702
                                                                                                             01702
       IUOE LOCAL
  10· ·IUOE LOCAL 4
                  4 PENSION
                    PENSION FUND;
                            FUND; IUOE
                                  IUOE                                   10 · · · 617-757-6536
                                                                         10·      617-757-6536

       LOCAL 4
  11· ·LOCAL 4 ANNUITY
               ANNUITY &
                       & SAVINGS
                         SAVINGS FUND;
                                 FUND; HOISTING
                                       HOISTING                          11· · · · tvandyck@bowditch.com
                                                                                   tvandyck@bowditch.com
       AND PORTABLE
  12· ·AND PORTABLE ENGINEERS
                    ENGINEERS LOCAL
                              LOCAL 4
                                    4 APPRENTICESHIP
                                      APPRENTICESHIP                     12· · · · jtosti@bowditch.com
                                                                                   jtosti@bowditch.com
       & TRAINING
  13· ·& TRAINING FUND;
                  FUND; JOINT
                        JOINT LABOR-MANAGEMENT
                              LABOR-MANAGEMENT                           13
       CORPORATION TRUST;
  14· ·CORPORATION TRUST; AND WILLIAM D.
                          AND WILLIAM D.                                      Representing the
                                                                         14· ·Representing the Defendants:
                                                                                               Defendants:

       MCLAUGHLIN, INDIVIDUALLY
  15· ·MCLAUGHLIN, INDIVIDUALLY AND
                                AND IN
                                    IN HIS
                                       HIS                                         Freeman Mathis
                                                                         15· · · · Freeman Mathis &
                                                                                                  & Gary,
                                                                                                    Gary, LLP
                                                                                                          LLP
       CAPACITY AS
  16· ·CAPACITY AS CHAIRMAN
                   CHAIRMAN OF
                            OF THE
                               THE BOARDS
                                   BOARDS                                          JENNIFER L.
                                                                         16· · · · JENNIFER L. MARKOWSKI,
                                                                                               MARKOWSKI, ESQ.
                                                                                                          ESQ.
       OF TRUSTEES,
  17· ·OF TRUSTEES,                                                                60 State
                                                                         17· · · · 60 State Street,
                                                                                            Street, Suite
                                                                                                    Suite 600
                                                                                                          600
                           Defendants.
  18· · · · · · · · · · · ·Defendants.                                             Boston, Massachusetts·
                                                                         18· · · · Boston, Massachusetts 02109
                                                                                                          02109

  19· ·______________________________________________X                             617-963-5975
                                                                         19· · · · 617-963-5975
                DEPOSITION OF
  20· · · · · · DEPOSITION OF JENNIFER
                              JENNIFER A.
                                       A. VACHON
                                          VACHON                         20· · · · jmarkowski @fmglaw.com
                                                                                   jmarkowski@fmglaw.com
                     Thursday, July
  21· · · · · · · · ·Thursday, July 28,
                                    28, 2022
                                        2022                             21
                            1:07 p.m.
  22· · · · · · · · · · · · 1:07 p.m.                                    22
  23                                                                     23
  24                                                                     24


                                                                Page 2
                                                                Page 2                                                   Page 4

                 DEPOSITION OF
  ·1· · · · · · ·DEPOSITION OF JENNIFER
                               JENNIFER A.
                                        A. VACHON,
                                           VACHON, aa witness
                                                      witness                 APPEARANCES (CONTINUED):
                                                                         ·1· ·APPEARANCES (CONTINUED):

       called on
  ·2· ·called on behalf
                 behalf of
                        of the
                           the Defendants,
                               Defendants, taken
                                           taken pursuant
                                                 pursuant to
                                                          to             ·2
       the applicable
  ·3· ·the applicable provisions
                      provisions of
                                 of the
                                    the Massachusetts
                                        Massachusetts Rules
                                                      Rules                   Representing the
                                                                         ·3· ·Representing the Defendants:
                                                                                               Defendants:

       of Civil
  ·4· ·of Civil Procedure,
                Procedure, before
                           before Valerie
                                  Valerie R.
                                          R. Johnston,
                                             Johnston,                             O'Donoghue &
                                                                         ·4· · · · O'Donoghue & O'Donoghue,
                                                                                                O'Donoghue, LLP
                                                                                                            LLP
       Registered Professional
  ·5· ·Registered Professional Reporter
                               Reporter and
                                        and Notary
                                            Notary Public
                                                   Public in
                                                          in                       CHARLESW.
                                                                         ·5· · · · CHARLES    GILLIGAN, ESQ.
                                                                                           W. GILLIGAN, ESQ.

       and for
  ·6· ·and for the Commonwealth of
               the Commonwealth of Massachusetts,
                                   Massachusetts, at
                                                  at the
                                                     the                           5301 Wisconsin
                                                                         ·6· · · · 5301 Wisconsin Avenue,
                                                                                                  Avenue, NW
                                                                                                          NW
       Offices of
  ·7· ·Offices of Freeman,
                  Freeman, Mathis
                           Mathis &
                                  & Gary,
                                    Gary, LLP,
                                          LLP, at
                                               at 60
                                                  60 State
                                                     State                         Suite 800
                                                                         ·7· · · · Suite 800
       Street, Suite
  ·8· ·Street, Suite 600,
                     600, Boston,
                          Boston, Massachusetts,
                                  Massachusetts, on
                                                 on                                Washington, DC·
                                                                         ·8· · · · Washington, DC 20015
                                                                                                   20015
       Thursday, July
  ·9· ·Thursday, July 28,
                      28, 2022,
                          2022, commencing
                                commencing at
                                           at 1:07
                                              1:07 p.m.
                                                   p.m.                            202-362-0041
                                                                         ·9· · · · 202-362-0041
  10                                                                               cgilligan@odonoghuel aw.com
                                                                         10· · · · cgilligan@odonoghuelaw.com
  11                                                                     11
  12                                                                          Also Present:·
                                                                         12· ·Also Present: Gregory
                                                                                             Gregory A. Geiman
                                                                                                     A. Geiman
  13                                                                     13
  14                                                                     14
  15                                                                     15
  16                                                                     16
  17                                                                     17
  18                                                                     18
  19                                                                     19
  20                                                                     20
  21                                                                     21
  22                                                                     22
  23                                                                     23
  24                                                                     24



                                           O'Brien &
                                           O'Brien & Levine,
                                                      Levine, AA Magna
                                                                 Magna Legal
                                                                        Lega Services
                                                                              Services Company
                                                                                       Company                                     ·
                                                                                                                     D. App. 191
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                       al. vs
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                                                                                 Vachon
luoe Local
Iuoe Local 44 Health
              Health && Welfare
                         Welfare Fund,
                                 Fund, et
                                       et al.
                                          al.                              July 28,
                                                                           July 28, 2022
                                                                                    2022
                                                                          Page 69                                                                                          Page 71
                                                                                                                                                                           Page 71

            Q. All
  ·1· · · · Q.·  Allright.
                      right.· And And how how so? so?                                                       Q. Okay.·
                                                                                                  ·1· · · · Q.·  Okay. So    Soitit could
                                                                                                                                    could have have been
                                                                                                                                                      been as    as much
                                                                                                                                                                      much as
                                                                                                                                                                            as 45  45
        WNP


            A. He
  ·2· · · · A.·  Hewouldn't
                      wouldn't come  come in  in as
                                                  as often.
                                                       often.                                          minutes later
                                                                                                  ·2· ·minutes       later than
                                                                                                                             than 9:15?
                                                                                                                                     9:15?
            Q. Okay.·
                 Okay. How   How aboutabout the the nature
                                                       natureof    of your
                                                                       your                                 A. OnOnaregular         basis, I| would       say no.no.
  ONO




  ·3· · · · Q.·                                                                                   ·3· · · · A.·        a regular basis,         would say
       communications
  ·4· ·communications              with him;
                                  with     him; diddid that
                                                          that change?
                                                                  change?                                   Q. All
                                                                                                  ·4· · · · Q.·  Allright.        Well, that'swhat
                                                                                                                       right.· Well,      that's what I'm      I'm trying
                                                                                                                                                                     trying to to
    Ohh




            A. No.
  ·5· · · · A.·  No.                                                                                   get at.·
                                                                                                  ·5· ·get   at. You're
                                                                                                                  You'resaying           approximately 9:15.·
                                                                                                                               saying approximately                9:15. Did
                                                                                                                                                                           Did
            Q. All
  ·6· · · · Q.·  Allright.
                      right.· So  Soinin Paragraph
                                           Paragraph No.       No. 12 12 ofof your
                                                                                your                   you --
                                                                                                  ·6· ·you    -- did
                                                                                                                 did you      noticea
                                                                                                                       you notice       a pattern
                                                                                                                                          pattern wherewhere she    sheregularly
                                                                                                                                                                         regularly
       affidavit you
  ·7· ·affidavit     you say
                           say thatthat inin or
                                              or around
                                                   around May    May 2018 2018 you you                 arrived at
                                                                                                  ·7· ·arrived      at the
                                                                                                                        the office
                                                                                                                              officeat at 9:15?
                                                                                                                                          9:15?
       witnessed Billy
  ·8· ·witnessed       Billy getget into
                                      into aa fight
                                                fight with
                                                         with Gina Gina in  in her
                                                                                 her                        A. Around
                                                                                                  ·8· · · · A.·  Around 9:15, 9:15, approximately,
                                                                                                                                      approximately, yes.     yes.
       office. You
  ·9· ·office.·   You didn't
                         didn't really
                                     really witness
                                               witnessthem  them get   get into
                                                                              into aa                       Q. Okay.·
                                                                                                  ·9· · · · Q.·  Okay. And   And so so when
                                                                                                                                         when you       say,
                                                                                                                                                  you say,
   ©




        fight, though,
  10· ·fight,    though, isn'tisn't that
                                       that fair
                                              fair to to say?
                                                          say?                                          "approximately," what
                                                                                                  10· ·"approximately,"             what is   isyour
                                                                                                                                                 your -- --
             A. No.
  11· · · · A.·   No.                                                                                        A. It
                                                                                                  11· · · · A.·   It could
                                                                                                                      could have
                                                                                                                               have been
                                                                                                                                      been 9:30.·
                                                                                                                                              9:30. It It could
                                                                                                                                                           could havehave
             Q. Okay. In
  12· · · · Q.·   Okay.·      In fact,
                                   fact, nothing
                                           nothing about about what what you  you                       been 9:35.
                                                                                                  12· ·been     9:35.
        observed appeared
  13· ·observed        appeared to      to be
                                            be them
                                                them in   in aa fight,
                                                                  fight, right?
                                                                             right?                          Q. Allright.
                                                                                                  13· · · · Q.·   All right.
             A. Just
  14· · · · A.·   Just the
                        the closeness
                              closeness of    of them
                                                  them 12  12 inches
                                                                 inches apart.
                                                                            apart.                           A. It
                                                                                                  14· · · · A.·   It could
                                                                                                                      could have
                                                                                                                               have been
                                                                                                                                      been earlier.
                                                                                                                                              earlier.
             Q. Okay.·
  15· · · · Q.·   Okay. But   But there
                                     therewereno
                                              were no --    --                                               Q. So
                                                                                                  15· · · · Q.·   Sothat'swhat
                                                                                                                       that's what I'm   I'm trying
                                                                                                                                                trying --  -- I'm
                                                                                                                                                                I'm trying
                                                                                                                                                                      trying to to
             A. That's
  16· · · · A.·   That'sit.it.                                                                          understand is sort of margin of error. When we're
                                                                                                  16· ·understand          is  sort  of  margin      of   error.·     When      we're
             Q. --
  17· · · · Q.·   -- raised
                     raised voices,
                                 voices, no no yelling?
                                                 yelling?                                               approximating something,
                                                                                                  17· ·approximating            something, we're  we're not  not saying
                                                                                                                                                                    saying itit was
                                                                                                                                                                                 was
             A. I| didn't
  18· · · · A.·     didn't hear
                             hear that,
                                     that, no.·
                                             no. It It was
                                                        was just
                                                               just                                     precisely this
                                                                                                  18· ·precisely       thistime      but --
                                                                                                                              time but     --
        hearsay around
  19· ·hearsay      around the  the office.
                                      office.                                                                A. Right.
                                                                                                  19· · · · A.·   Right.
             Q. Okay.·
  20· · · · Q.·   Okay. So    Sowould
                                   would you          agree with
                                              you agree         with me  methatthat -- --                    Q. So
                                                                                                  20· · · · Q.·   Soyou'resayingit
                                                                                                                       you're saying it could   could havehave been been five
                                                                                                                                                                          five
        that in
  21· ·that    in terms
                   terms of  of witnessing
                                  witnessing them   them in  in a a fight
                                                                     fight in  in her
                                                                                    her                 minutes earlier
                                                                                                  21· ·minutes        earlier or or five
                                                                                                                                     five minutes
                                                                                                                                           minuteslater? later?
        office, that's
  22· ·office,    that's notnot really
                                   really an an accurate
                                                  accurate statement?
                                                                  statement?                                 A. Right.
                                                                                                  22· · · · A.·   Right.
             A. Correct.
  23· · · · A.·   Correct.                                                                                   Q. 20
                                                                                                  23· · · · Q.·   20----
             Q. Okay.·
  24· · · · Q.·   Okay. In    In Paragraph
                                   Paragraph 13,      13, you
                                                           you say say that
                                                                          that -- -- in
                                                                                      in                     A. She
                                                                                                  24· · · · A.·   Shenever        arrived at
                                                                                                                         never arrived       at 9:15
                                                                                                                                                 9:15 every
                                                                                                                                                        every day  day from
                                                                                                                                                                        from

                                                                          Page 70
                                                                          Page 70                                                                                          Page 72
                                                                                                                                                                           Page 72

       thethird
  ·1· ·the             sentence, (as
             third sentence,           (asread)
                                             read) "I   "| witnessed
                                                             witnessed Gina Gina                       what |I recall.
                                                                                                  ·1· ·what       recall.
                                                                                                    BP




       arrive at the office approximately 9" -- |
  ·2· ·arrive     at  the   office     approximately             9"   -- I                                  Q. Okay.·
                                                                                                  ·2· · · · Q.·   Okay. And            that's---- so
                                                                                                                              And that's            so when
                                                                                                                                                         when --  -- these
                                                                                                                                                                     these
                                                                                                    WN




       think there
  ·3· ·think    there supposed
                          supposed to       to bebe an
                                                     an at at there,
                                                               there, maybe
                                                                         maybe -- -- "I
                                                                                     "|                are --
                                                                                                  ·3· ·are   -- thisisyour           statement; so,
                                                                                                                 this is your statement;               so, I'm
                                                                                                                                                            I'm just      trying
                                                                                                                                                                   just trying
       witnessed Gina
  ·4· ·witnessed         Gina arrive
                                  arrive at   at the     office at
                                                   the office     at approximately
                                                                      approximately                    to understand
                                                                                                  ·4· ·to   under stand by      by ---- what
                                                                                                                                         what you're         saying by
                                                                                                                                                 you're saying          by the
                                                                                                                                                                             the words,
                                                                                                                                                                                   words,
                                                                                                    Ooh




       9:150n
  ·5· ·9:15    on aaregular          basis." Do
                       regular basis."·             Do you
                                                         you seeseethat?
                                                                      that?                            "approximately 9:15."·
                                                                                                  ·5· ·"approximately              9:15." Are  Areyou        saying within
                                                                                                                                                     you saying         within five five
            A. Approximately,
  ·6· · · · A.·  Approximately, yes.        yes.                                                       minutes of
                                                                                                  ·6· ·minutes       of 9:15,
                                                                                                                         9:15, aa within
                                                                                                                                      within aa halfhalf anan hour
                                                                                                                                                                hour of  of 9:15?
                                                                                                                                                                              9:15?
                                                                                                    NO




            Q. Okay.·
  ·7· · · · Q.·  Okay. By      By the
                                    thephrase,           "regular basis,"
                                          phrase, "regular             basis," what
                                                                                 what                       A. Within
                                                                                                  ·7· · · · A.·   Within aahalf half an an hour.
                                                                                                                                            hour.
       did you
  ·8· ·did   you meanmean when when you  you wrotewrote that,
                                                            that, "regular
                                                                    " regular basis"?
                                                                                 basis"?                    Q. Okay.·
                                                                                                  ·8· · · · Q.·   Okay. So    Soitit could
                                                                                                                                       could have
                                                                                                                                                have beenbeen around
                                                                                                                                                                  around 9:45  9:45
                                                                                                    0




            A. From
  ·9· · · · A.·  Fromwhat  what |I recall.
                                      recall.                                                          even?
                                                                                                  ·9· ·even?
                                                                                                    ©




             Q. But
  10· · · · Q.·    But is isitit aa daily
                                    daily basis?·
                                               basis? What What does does                         10· · · · A.     Right. Or
                                                                                                             A.· Right.·      Or 8:45.
                                                                                                                                    8:45.
                                                                                                                 RR
                                                                                            EWONRPOO®O®NOONMWNLREO




        "regular basis"
  11· ·"regular         basis' mean mean to   to you?
                                                   you?                                                      Q. Okay.·
                                                                                                  11· · · · Q.·    Okay. All   All right.·
                                                                                                                                      right. AndAnd you you would
                                                                                                                                                               would agreeagree thatthat
                                                                                            NNNRNNRE




             A. There
  12· · · · A.·   There couldcould havehave been been times
                                                         times she
                                                                 she was
                                                                       was atat                         the Fund
                                                                                                  12· ·the    Fund --  -- and
                                                                                                                           and actually,
                                                                                                                                   actually, before |I ask      ask you       that,
                                                                                                                                                                      you that,
                                                                                                             RR




        meetings, on
  13· ·meetings,        on vacation.
                             vacation.                                                                  the--
                                                                                                  13· ·the    -- what     time period
                                                                                                                  what time         period are       you talking
                                                                                                                                               are you      talking about?
                                                                                                                                                                         about?
             Q. Okay.·
  14· · · · Q.·   Okay. But     But onon aaregular
                                                regular workday,
                                                             workday, is    isthat
                                                                               that               14· · · · A.     What do
                                                                                                             A.· What      do youyou mean?
                                                                                                                                         mean?
                                                                                                         RRR




        what you're
  15· ·what      you're saying,
                             saying, on   on most
                                                most workdays,
                                                         workdays, she    she would
                                                                                would                        Q. Well,
                                                                                                  15· · · · Q.·    Weéll, you
                                                                                                                            you just       say, (as
                                                                                                                                    just say,      (asread)
                                                                                                                                                        read) "I  "| witnessed
                                                                                                                                                                      witnessed
        arrive --
  16· ·arrive      --                                                                                   Gina arrive
                                                                                                  16· ·Gina      arrive at  at the
                                                                                                                                 the office
                                                                                                                                        office atat approximately
                                                                                                                                                     approximately 9:15       9:150n  on aa
             A. That's
  17· · · · A.·   That's correct.
                             correct.                                                                   regular basis." When did that occur, during the
                                                                                                  17· ·regular       basis."·      When       did   that    occur,    during      the
                                                                                                     RR




             Q. Okay.·
  18· · · · Q.·   Okay. And     And youyou say, say, "approximately
                                                       " approximately 9:15."   9:15."                  entiretimethat
                                                                                                  18· ·entire      time that you   you worked
                                                                                                                                          worked at    at the
                                                                                                                                                           the Funds
                                                                                                                                                                  Funds office?
                                                                                                                                                                             office?
        What does
  19· ·What       does" "approximately"
                             approximately" mean          mean to  to you?
                                                                       you?                       19· · · · A.
                                                                                                             A.· I| can't
                                                                                                                     can'trecal.
                                                                                                                             recall.· I| worked
                                                                                                                                           worked with         her for
                                                                                                                                                        with her     for 2323
             A. It
  20· · · · A.·   It could
                      could have have been
                                         been 9:169:16 on on one
                                                               one day
                                                                     day and
                                                                           and                          years. I| can't
                                                                                                  20· ·years.·       can't recall.
                                                                                                                              recall.
        9:15 --
  21· ·9:15    -- I| didn't
                      didn't look
                                look at at the
                                            the clock
                                                   clock every
                                                            every time
                                                                     time she
                                                                            she                              Q. So
                                                                                                  21· · · · Q.·    Sotheseare--
                                                                                                                       these are -- again,  again, thisis        your
                                                                                                                                                      this is your
        camein.
  22· ·came     in.                                                                                     affidavit. This
                                                                                                  22· ·affidavit.·      Thisisinformation
                                                                                                                                  is information that            you're
                                                                                                                                                          that you're
             Q. Okay.·
  23· · · · Q.·   Okay. Could   Could it   it have
                                               have been,
                                                        been, like,
                                                                 like, 10:00?
                                                                         10:00?                         providing. What
                                                                                                  23· ·providing.·        What --     -- what     time period
                                                                                                                                          what time        period are       you talking
                                                                                                                                                                      are you      talking
             A. It
  24· · · · A.·   It could
                      could have have been.·
                                         been. I| can't
                                                      can't recall.
                                                              recall.                                   about? Is
                                                                                                  24· ·about?·       Isthis--
                                                                                                                         this --


                                           O'Brien &
                                           O'Brien & Levine,
                                                      Levine, AA Magna
                                                                 Magna Legal
                                                                        Legal Services
                                                                              Services Company
                                                                                        Company                                                                         Pages 69–72
                                                                                                                                                                        Pages 69-72
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Ginamarie Alongi,
Ginamarie   Along, et
                    et al.
                       al. vs
                           vs                                       Jennifer A.
                                                                    Jennifer  A. Vachon
                                                                                 Vachon
luoe Local
Iuoe Local 44 Health
              Health && Welfare
                         Welfare Fund,
                                 Fund, et
                                       et al.
                                          al.                              July 28,
                                                                           July 28, 2022
                                                                                    2022
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            A. Right.·
  ·1· · · · A.·  Right. That's
                            That'swhywhy itit says,
                                               says,                                              time and
                                                                                             ·1· ·time    and notnot do do mymy work.
                                                                                                                                  work.· I| mean,
                                                                                                                                                mean, my   my chair
                                                                                                                                                                chair was was




                                                                                             BP
   BP


       "approximately."
  ·2· ·"approximately."                                                                           sideways. My
                                                                                             ·2· ·sideways.·        My deskdesk wasin
                                                                                                                                  was in the  the corner.·
                                                                                                                                                    corner. Like,
                                                                                                                                                                Like, my   my
   WN




                                                                                             WN
            Q. Well,
  ·3· · · · Q.·  Wdll, that's
                          that'sthetimethat
                                    the time that you'rereferring
                                                       you're referring                           computer was
                                                                                             ·3· ·computer         was kitty-corner.
                                                                                                                          kitty-corner.
       to.
  ·4· ·to.                                                                                             Q. So
                                                                                             ·4· · · · Q.·   Soifif you
                                                                                                                      you werewere working
                                                                                                                                      working at      at your
                                                                                                                                                          your computer,
                                                                                                                                                                   computer,




                                                                                             dh
   Ooh




            A. Right.
                 Right.                                                                           you werweree facing
                                                                                                                   facing your        computer --       --




                                                                                             Ul
  ·5· · · · A.·                                                                              ·5· ·you                         your computer
            Q. You're
  ·6· · · · Q.·  You're saying
                             saying approximately
                                        approximately 9:15.·  9:15. You  You say, say,                 A. It
                                                                                             ·6· · · · A.·   It would
                                                                                                                would be    be to
                                                                                                                                to the
                                                                                                                                    thewall,
                                                                                                                                          wall, andand then
                                                                                                                                                          then ifif I| turn
                                                                                                                                                                        turn




                                                                                             NO
   NO




       (asread)
  ·7· ·(as   read) "I "| witnessed
                          witnessed Gina  Gina arrive"
                                                  arrive" --  -- you
                                                                   you talk
                                                                          talk                    my head,
                                                                                             ·7· ·my    head, right
                                                                                                                  right across
                                                                                                                           across would
                                                                                                                                     would be   be Gina's
                                                                                                                                                     Gina's office.
                                                                                                                                                               office.
       about the
  ·8· ·about     thetimethat
                       time that you you arrived,
                                            arrived, where
                                                         where your  your office
                                                                             office                    Q. Allright.
                                                                                             ·8· · · · Q.·   All right.· So    So you
                                                                                                                                    you would
                                                                                                                                            would have havetoto turnturn to  to




                                                                                             00
   0




       was located,
  ·9· ·was    located, and and that
                                  that you
                                         you witnessed
                                              witnessed her    her arrive
                                                                      arriveat    at              see Gina,
                                                                                             ·9· ·see    Gina, right?
                                                                                                                   right?
   ©




                                                                                             ©
        thetime.
  10· ·the              What year
              time.· What        year areareyou      even referring
                                              you even      referringtoin    to in           10· · · · A.     Just tilt
                                                                                                        A.· Just     tilt my
                                                                                                                           my head
                                                                                                                                 head -- --
        this affidavit?
  11· ·this    affidavit?                                                                               Q. Okay.
                                                                                             11· · · · Q.·    Okay.




                                                                                              PRP
  12· · · · A.
             A.· I| can't
                    can't recall.
                            recall.                                                          12· · · · A.
                                                                                                        A.· ---- to
                                                                                                                 totheleft.
                                                                                                                      the left.




                                                                                                 WN
             Q. All
                  Allright.        Soyou     don't know
                                                      know if   if it's
                                                                    it'sone                             Q. But But if if you
                                                                                                                          you were
                                                                                                                                were doing
                                                                                                                                         doing work,work, you you wouldn't




                                                                                           EE
  13· · · · Q.·         right.· So     you don't                         one                 13· · · · Q.·                                                            wouldn't
        year?
  14· ·year?                                                                                       necessarily see
                                                                                             14· ·necessarily           see Gina
                                                                                                                             Gina arrive
                                                                                                                                      arrive at   at the
                                                                                                                                                      the office?
                                                                                                                                                            office?




                                                                                           oO Ud
  15· · · · A.    It could
             A.· It  could have
                              have been
                                      been 2323 years.·
                                                 years. It It could
                                                               could have have                          A. Right.
                                                                                             15· · · · A.·    Right.
        been two
  16· ·been     two years.·
                      years. I'm I'm not
                                      not sure.
                                           sure.                                                        Q. Okay. And
                                                                                             16· · · · Q.·    Okay.·       And by  by 9:15
                                                                                                                                        9:15 in in the
                                                                                                                                                     the morning,
                                                                                                                                                           morning, you     you had
                                                                                                                                                                                 had
             Q. So
  17· · · · Q.·   So----                                                                           been working
                                                                                             17· ·been      working for     for about
                                                                                                                                 about a     alittle    over two
                                                                                                                                               little over      two hours,
                                                                                                                                                                        hours, isis
  18· · · · A.
             A.· I| did
                    did not
                          not know
                               know her her time
                                             time schedule,
                                                    schedule, like, like,                          that right?
                                                                                             18· ·that     right?
        what her
  19· ·what     her hours
                      hours were;
                               were; whereas,
                                       whereas, mine mine were
                                                            were sevenseven to  to           19· · · · A.     Correct.
                                                                                                        A.· Correct.
        three every day. I'm not sure what her schedule
  20· ·three    every    day.·   I'm   not  sure   what   her    schedule                               Q. Okay.
                                                                                             20· · · · Q.·    Okay.
        was.
  21· ·was.                                                                                  21· · · · A.
                                                                                                        A.· IfIf II would
                                                                                                                    would have have to to gogo to
                                                                                                                                                to the
                                                                                                                                                     the restroom
                                                                                                                                                           restroom or    or
             Q. Right.·
  22· · · · Q.·    Right. But But you're
                                    you'resigning
                                              signing -- -- under
                                                             under oath, oath,                     what have
                                                                                             22· ·what      have you,        sometimes I| would
                                                                                                                     you, sometimes              would see  see her
                                                                                                                                                                 her come
                                                                                                                                                                        comein,     or
                                                                                                                                                                                in, or
        you're attesting
  23· ·you're      attesting to  to what     your observations
                                     what your       observations were,    were, and and           go to
                                                                                             23· ·go    to the
                                                                                                            the kitchen.·
                                                                                                                   kitchen. That That was       near the
                                                                                                                                         was near       the back
                                                                                                                                                              back doordoor
        you're saying
  24· ·you're      saying that,
                              that, onon regular
                                          regular basis,
                                                      basis, you       saw her
                                                                 you saw       her                 where she
                                                                                             24· ·where       she would        arrive.
                                                                                                                    would arrive.

                                                                         Page 74
                                                                         Page 74                                                                                      Page 76
                                                                                                                                                                      Page 76

       arriveatat 9:15.
  ·1· ·arrive         9:15.                                                                            Q. Okay.·
                                                                                             ·1· · · · Q.· Okay. So
                                                                                                                 Sofair  to say
                                                                                                                    fair to say on
                                                                                                                                on aa day-to-day
                                                                                                                                      day-to-day
                                                                                             BE




            A. Approximately,
  ·2· · · · A.·  Approximately, yes.        yes.                                                  basis, you
                                                                                             ·2· ·basis, you did
                                                                                                             did not
                                                                                                                 not see
                                                                                                                     see Gina
                                                                                                                         Gina arrive
                                                                                                                              arrive at
                                                                                                                                     at the
                                                                                                                                        the office,
                                                                                                                                            office,
                                                                                             WN




            Q. Right.·
  ·3· · · · Q.·  Right. So    So during
                                   during what   what timetime period?
                                                                 period?                          correct?
                                                                                             ·3· ·correct?
            A. The
  ·4· · · · A.·  Thelast       ten years.
                        last ten     years.                                                            A. Not
                                                                                             ·4· · · · A.· Not five
                                                                                                               five days
                                                                                                                    days aaweek,  no.
                                                                                                                            week, no.
                                                                                             Uh




            Q. Okay.·
  ·5· · · · Q.·  Okay. Do    Doyou         recall that
                                   you recall          that there
                                                              therewasa
                                                                     was a                                 Okay.
                                                                                                       Q. Okay.
                                                                                             ·5· · · · Q.·
       period of
  ·6· ·period     of time
                       time where
                                where Gina  Gina Alongi
                                                     Alongi actually
                                                                actually started
                                                                             started                   A. I'd
                                                                                             ·6· · · · A.· I'd say
                                                                                                               say two out of
                                                                                                                   two out of the
                                                                                                                              thefive.
                                                                                                                                  five.
                                                                                             NO




       coming into
  ·7· ·coming      into thethe office
                                  office around
                                             around eight eight o'clock
                                                                  o'clock in  in the
                                                                                 the                   Q. Okay.·
                                                                                             ·7· · · · Q.· Okay. So
                                                                                                                 Sothemajority   of the
                                                                                                                    the majority of the days
                                                                                                                                        days you
                                                                                                                                             you
       mor ning?
  ·8· ·morning?                                                                                   don't know
                                                                                             ·8· ·don't know when
                                                                                                             when Gina
                                                                                                                  Gina arrived
                                                                                                                       arrived at
                                                                                                                               at the office,
                                                                                                                                  the office,
                                                                                             00




            A. No.·
  ·9· · · · A.·  No. I| can't
                           can't recall.
                                    recall.                                                       correct?
                                                                                             ·9· ·correct?
                                                                                             ©




             Q. You
  10· · · · Q.·   You don't
                          don't recall
                                     recall that.
                                                that.                                                  A. Correct,
                                                                                             10· · · · A.· Correct, not
                                                                                                                    not unless
                                                                                                                        unless Rosemarie
                                                                                                                               Rosemarie Ortega
                                                                                                                                         Ortega
                If I| weretotell
  11· · · · · · If    were to tell you     you thatthat there
                                                           there was
                                                                   wasatime
                                                                         a time                   mentioned it.
                                                                                             11· ·mentioned it.
        period in
  12· ·period      in 2020
                        2020 wherwheree that that occurred,
                                                     occurred, does does that
                                                                            that                       Q. Well,
                                                                                             12· · · · Q.· Well, you
                                                                                                                  you ----
        refresh your memory?
  13· ·refresh      your     memory?                                                                   A. She
                                                                                             13· · · · A.· She sat  at my
                                                                                                                sat at my office,
                                                                                                                           office, outside.
                                                                                                                                   outside.
             A. I1 mean,
  14· · · · A.·     mean, I| probably
                                 probably saw     saw herher aafew    times,
                                                                few times,                             Q. Okay.·
                                                                                             14· · · · Q.· Okay. Well,
                                                                                                                 Well, let
                                                                                                                       let me
                                                                                                                           me put
                                                                                                                              put it
                                                                                                                                  it differently,
                                                                                                                                     differently,
        maybe, atat 8:00.·
  15· ·maybe,           8:00. I| can't
                                    can't recall.·
                                              recall. I| was     never told
                                                            was never     told                    then. On
                                                                                             15· ·then.·  On the
                                                                                                              the majority
                                                                                                                  majority of
                                                                                                                           of the  days of
                                                                                                                              the days  of the
                                                                                                                                           the week,
                                                                                                                                                week, you
                                                                                                                                                       you
        Gina was
  16· ·Gina     was going
                       going to  to bebe there
                                          there at  at eight
                                                        eight o'clock
                                                                o'clock for
                                                                          for aa                  did not
                                                                                             16· ·did  not observe
                                                                                                            observe Gina
                                                                                                                     Gina Alongi
                                                                                                                          Alongi arriving
                                                                                                                                  arriving at
                                                                                                                                            at her
                                                                                                                                               her desk?
                                                                                                                                                    desk?
        period of
  17· ·period     of time.·
                       time. I| can't
                                   can't -- -- I| can't
                                                   can't say
                                                           say yes
                                                                yestoto that.
                                                                         that.                         A. No.·
                                                                                             17· · · · A.· No. I| didn't
                                                                                                                  didn't look
                                                                                                                         look out
                                                                                                                              out my
                                                                                                                                  my --
                                                                                                                                     -- I| didn't
                                                                                                                                           didn't look
                                                                                                                                                  look
             Q. Okay.·
  18· · · · Q.·   Okay. When  When --     -- you
                                               you saysay that
                                                            that your
                                                                  your office
                                                                          office was
                                                                                   was            to see
                                                                                             18· ·to  see ifif she
                                                                                                                she was
                                                                                                                    was there   at 9:15.
                                                                                                                         there at  9:15.
        located in
  19· ·located      in the
                         the 2018
                               2018 timetime period
                                                  period outside
                                                             outside of of Gina's
                                                                            Gina's                         (Recess, 2:46
                                                                                             19· · · · · · (Recess,   2:46 p.m.
                                                                                                                            p.m. -- 2:55
                                                                                                                                     2:55 p.m.)
                                                                                                                                          p.m.)
        office, is
  20· ·office,    isthat      right?
                      that right?                                                                 BY MS.
                                                                                             20· ·BY MS. MARKOWSKI:
                                                                                                         MARKOWSKI:
             A. Yup.
  21· · · · A.·   Yup.                                                                                 Q. Okay.·
                                                                                             21· · · · Q.· Okay. Ms.
                                                                                                                  Ms. Vachon,
                                                                                                                      Vachon, I| think
                                                                                                                                 think just beforethe
                                                                                                                                       just before the
             Q. Okay.·
  22· · · · Q.·   Okay. So    Soyou         could see
                                    you could         see Gina's
                                                             Gina's comings
                                                                       comings and and            break I| was
                                                                                             22· ·break         asking you
                                                                                                            was asking you about
                                                                                                                            about what
                                                                                                                                   what you
                                                                                                                                         you observed
                                                                                                                                             observed about
                                                                                                                                                       about
        goings, is
  23· ·goings,      isthat      right?
                        that right?                                                               Gina's comings
                                                                                             23· ·Gina's comings and
                                                                                                                 and goings
                                                                                                                     goings at
                                                                                                                            at the
                                                                                                                               the office.
                                                                                                                                   office.
             A. Yeah.·
  24· · · · A.·   Yeah. If   If I| --
                                   -- if
                                       if I| watched
                                              watched her   her the
                                                                 the whole
                                                                      whole                                You also
                                                                                             24· · · · · · You also mentioned
                                                                                                                    mentioned in
                                                                                                                              in your
                                                                                                                                 your affidavit
                                                                                                                                      affidavit --
                                                                                                                                                -- in
                                                                                                                                                   in


                                           O'Brien &
                                           O'Brien & Levine,
                                                      Levine, AA Magna
                                                                 Magna Legal
                                                                        Legal Services
                                                                              Services Company
                                                                                        Company                                                                    Pages 73–76
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                        TAB
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                       In the
                       In the Matter
                              Matter of:
                                     of:

                 Ginamarie Alongi,
                 Ginamarie Along, et
                                   et al.
                                      al. vs
                                          vs
       luoe Local
       Iuoe Local 4
                  4 Health
                    Health &
                           & Welfare
                             Welfare Fund,
                                     Fund, et
                                           et al.
                                              al.




                          Jennifer Dow
                          Jennifer Dow

                          July 06,
                          July 06, 2022
                                   2022


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Ginamarie Alongi,
Ginamarie   Alongi, et
                    et al.
                       al. vs
                           vs                                             Jennifer Dow
                                                                          Jennifer Dow
luoe Local
Iuoe Local 44 Health
              Health && Welfare
                         Welfare Fund,
                                 Fund, et
                                       et al.
                                          al.                             July 06,
                                                                          July 06, 2022
                                                                                   2022
                                                                                                                                                     Page 3

                    COMMONWEALTH OF
  ·1· · · · · · · · COMMONWEALTH OF MASSACHUSETTS
                                    MASSACHUSETTS                                   1 ·APPEARANCES
                                                                                   ·1· APPEARANCES CONT'D:
                                                                                                   CONT'D:

       NORFOLK, SS.·
  ·2· ·NORFOLK, SS. · · · · · · SUPERIOR
                                SUPERIOR COURT
                                         COURT                                      2 ·Also
                                                                                   ·2· Also present:
                                                                                            present:
                                 CIVIL ACTION
  ·3· · · · · · · · · · · · · · ·CIVIL ACTION NO.:
                                              NO.: 2182CV00125
                                                   2182CV 00125                                Christopher J.
                                                                                   ·3· · · · · Christopher J. Redd,
                                                                                                              Redd, Esq.
                                                                                                                    Esq.
  ·4                                                                                           Gregory Geiman,
                                                                                   ·4· · · · · Gregory Geiman, Esq.
                                                                                                               Esq.
       EE         EE EE                           Es
  ·5· ·**********************************************                              ·5
       GINAMARIE ALONGI
  ·6· ·GINAMARIE ALONGI AND
                        AND ROSEMARIE
                             ROSEMARIE ALONGI,·
                                       ALONG, · · ·*                               ·6
                               Plaintiffs · · · · ·*
  ·7· · · · · · · · · · · · · ·Plaintiffs·         *                               ·7
       VS. · · · · · · · · · · · · · · · · · · · · *
  ·8· ·vs.·                                        *                               ·8
       IUOCE LOCAL
  ·9· ·IUOE  LOCAL 44 HEALTH
                      HEALTH &
                             & WELFARE
                               WELFARE FUND,
                                       FUND, et
                                             etal,
                                                al,· ·**                           ·9
                               Defendants · · · · ·*
  10· · · · · · · · · · · · · ·Defendants·         *                               10
  11·    EE      EE                           EE TE ET Es
        ·**********************************************                            11
  12                                                                               12
  13                                                                               13
  14                                                                               14
                     DEPOSITION OF:
  15· · · · · · · · ·DEPOSITION OF: JENNIFER
                                    JENNIFER DOW
                                             DOW                                   15
                      FREEMAN MATHIS
  16· · · · · · · · · FREEMAN MATHIS &
                                     & GARY
                                       GARY LLP
                                            LLP                                    16
                     60 State
  17· · · · · · · · ·60 State Street,
                              Street, Suite
                                      Suite 600
                                            600                                    17
                    Boston, Massachusetts·
  18· · · · · · · · Boston, Massachusetts 02109
                                           02109                                   18
                    July 6,
  19· · · · · · · · July 6,2022        1:04 p.m.
                            2022· · · ·1:04 p.m.                                   19
  20                                                                               20
  21                                                                               21
  22                                                                               22
                          Brenda M.
  23· · · · · · · · · · · Brenda M. Ginisi
                                    Ginisi                                         23
                           Court Reporter
  24· · · · · · · · · · · ·Court Reporter                                          24


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       APPEARANCES:
  ·1· ·APPEARANCES:                                                                ·1· · · · · · · · · · · · · I N D E X
                                                                                   PP




       Representing the
  ·2· ·Representing the Plaintiffs:
                        Plaintiffs:                                                ·2
                                                                                   WN




              BOWDITCH &
  ·3· · · · · BOWDITCH & DEWEY,
                         DEWEY, LLP
                                LLP                                                     WITNESS: · · · · · · · · · · · · · · · · ·JENNIFER
                                                                                   ·3· ·WITNESS:·                                 JENNIFER DOW
                                                                                                                                           DOW

              200 Crossing
  ·4· · · · · 200 Crossing Boulevard
                           Boulevard                                               ·4
                                                                                   bh




              Framingham, Massachusetts·
  ·5· · · · · Framingham, Massachusetts 010702
                                         010702                                         EXAMINATION BY:·
                                                                                   ·5· ·EXAMINATION BY: · · · · · · · · · · · · · · · · ·PAGE:
                                                                                   uO




              BY: JACOB
  ·6· · · · · BY:· JACOB A. TOSTI, ESQ.
                         A. TOSTI, ESQ.                                                 Ms. Markowski·
                                                                                   ·6· ·Ms. Markowski · · · · · · · · · · · · · · · · · · · 5
                                                                                   Oo




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  ·7· · · · · (617) 757-6536                                                            Mr. Keenan·
                                                                                   ·7· ·Mr. Keenan · · · · · · · · · · · · · · · · · · · ·123
                                                                                   NN




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  ·8· · · · · E-mail:        @bowditch.com
                      jtosti@bowditch.com                                               Mr. Tosti·
                                                                                   ·8· ·Mr. Tosti · · · · · · · · · · · · · · · · · · · · 149
                                                                                   00




       Representing the
  ·9· ·Representing the Defendants:
                        Defendants:                                                ·9
                                                                                   ©




              FREEMAN MATHIS
  10· · · · · FREEMAN MATHIS&& GARY
                               GARY LLP
                                    LLP                                                 FURTHER EXAMINATION
                                                                                   10· ·FURTHER EXAMINATION BY:·
                                                                                                            BY: · · · · · · · · · · · · ·PAGE:

              60 State
  11· · · · · 60 State Street,
                       Street, Suite
                               Suite 600
                                     600                                                Ms. Markowski·
                                                                                   11· ·Ms. Markowski · · · · · · · · · · · · · · · · · · 155

              Boston, Massachusetts·
  12· · · · · Boston, Massachusetts 02109
                                     02109                                         12
              BY: JENNIFER
  13· · · · · BY:· JENNIFER L.
                            L. MARKOWSKI,
                               MARKOWSKI, ESQ.
                                          ESQ.                                          EXHIBITS: · · · · · · · · · · · · · · · · · · · ·PAGE:
                                                                                   13· ·EXHIBITS:·
              (617) 963-5975
  14· · · · · (617) 963-5975                                                            Exhibit 115,
                                                                                   14· ·Exhibit 115, Subpoena................................8
                                                                                                     Subpoena.

              E-mail: jmarkowski@fmglaw.com
  15· · · · · E-mail: jmarkowski @fmglaw.com                                            Exhibit 116,
                                                                                   15· ·Exhibit 116, Subpoena................................8
                                                                                                     Subpoena.
       Representing the
  16· ·Representing the IUOE
                         IUOE LOCAL
                              LOCAL 4:
                                    4:                                                  Exhibit 117,
                                                                                   16· ·Exhibit 117, Handbook...............................67
                                                                                                     Handbook

              O'DONOGHUE &
  17· · · · · O'DONOGHUE & O'DONOGHUE
                           O'DONOGHUE LLP
                                      LLP                                               Exhibit 118,
                                                                                   17· ·Exhibit 118, Service
                                                                                                     Service of
                                                                                                             of Complaint..................109
                                                                                                                Complain
              5301 Wisconsin
  18· · · · · 5301           Avenue, NW,
                   Wisconsin Avenue, NW, Suite
                                         Suite 800
                                               800                                      Exhibit 119,
                                                                                   18· ·Exhibit 119, Complaint
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                                                                                                               and Jury Demand
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        to understand
  ·1· ·to    understand if       if that's
                                    that's       aa over
                                                     over thethe course
                                                                   cour se ofof your    time
                                                                                  your time               her office?
                                                                                                    ·1· ·her     office?




                                                                                                    BP
  WNP




        there or
  ·2· ·there      or within
                       within the  the last
                                          last couple
                                                   coupleof       --
                                                               of --                                             A. · ·Yes.
                                                                                                    ·2· · · · · A.·       Yes




                                                                                                    WN
               A. · ·Sure.·
  ·3· · · · · A.·       Sure. I| mean,
                                     mean, I| don't  don't want
                                                             want to tolieso
                                                                        lie so |I                                Q. · ·But
                                                                                                    ·3· · · · · Q.·        But if  if you
                                                                                                                                       you wereweresitting
                                                                                                                                                       sitting in   in your
                                                                                                                                                                        your office,
                                                                                                                                                                               office,
        don't really
  ·4· ·don't     really know.·
                            know. But   But if if you
                                                    you want
                                                           want to to put
                                                                      put it
                                                                           it --
                                                                              --                          you couldn't
                                                                                                    ·4· ·you     couldn't see     see Gina's
                                                                                                                                          Gina's office?
                                                                                                                                                     office?
  OTA




                                                                                                    Oh
  ·5· · · · · Q.· · ·No,No, no.·
                               no. I| justjust wantwant an  an estimate.
                                                                 estimate.                                       A. · ·No.
                                                                                                    ·5· · · · · A.·       No.
                        Yeah.
  ·6· · · · · A.· · ·Yeah.                                                                                       Q. · ·Okay.·
                                                                                                    ·6· · · · · Q.·        Okay. So      Soweren't
                                                                                                                                              weren't there theretimeswhen
                                                                                                                                                                      times when
  ~NO




                                                                                                    NO
  ·7· · · · · Q.· · ·I| don't
                            don't want
                                     want you  you to   to --
                                                            --                                            Gina Alongi
                                                                                                    ·7· ·Gina       Alongi would would arrive arriveat   at the     office and
                                                                                                                                                             the office      and youyou werein
                                                                                                                                                                                            were in
  ·8· · · · · A.· · ·I| don't
                           don't recall.
                                   recall.                                                                your office?
                                                                                                    ·8· ·your      office?
  00




                                                                                                    00
  ·9· · · · · Q.· · ·-- -- make
                             make anything
                                      anything up.·      up. Okay.·
                                                                Okay. Would
                                                                          Would you   you           ·9· · · · · A.        Yes.
                                                                                                                 A.· · ·Yes.




                                                                                                    ©
  ©




         agreeitit was
  10· ·agree           was notnot aa daily
                                         daily occurrence?
                                                    occurrence?                                                   Q. · ·Okay.·
                                                                                                    10· · · · · Q.·         Okay. And     And on  on those
                                                                                                                                                       those --  --




                                                                                                   = Oo
                                                                                                   =e
  11· · · · · A.         Would I agree
                A.· · ·Would            agree---- I'm  I'm sorry?
                                                             sorry?                                 11· · · · · A.A.· · ·It Itwould
                                                                                                                               would only   only be bethetimes--
                                                                                                                                                        the times -- like  likel I
                Q. · ·Would
  12· · · · · Q.·        Would you    you agree
                                              agreethat   that you     did not
                                                                 you did     not see
                                                                                   see                     said, I| gave
                                                                                                    12· ·said,         gave the       estimate because
                                                                                                                               the estimate          because between
                                                                                                                                                                   between ninenine and and 1010 I|
         Rosemary Ortega
  13· ·Rosemary             Ortega carrying
                                         carrying Gina     Gina Alongi's
                                                                    Alongi'sthingson
                                                                                 things on aa              would go
                                                                                                    13· ·would         go into
                                                                                                                            into the       kitchen and
                                                                                                                                    the kitchen        and getget my my yogurt,
                                                                                                                                                                          yogurt, or or any
                                                                                                                                                                                          any
         daily basis?
  14· ·daily       basis?                                                                                  time I| was
                                                                                                    14· ·time          was walking
                                                                                                                             walking by      by toto go
                                                                                                                                                      go toto the
                                                                                                                                                               the bathroom.
                                                                                                                                                                      bathroom.
  15· · · · · A.A.· · ·I| would
                            would agree,
                                       agree, yes.  yes.                                                          Q. · ·Okay.·
                                                                                                    15· · · · · Q.·         Okay. I'm     I'm just      trying to
                                                                                                                                                 just trying        to understand
                                                                                                                                                                        understand the      the
                Q. · ·Would
  16· · · · · Q.·        Would you    you agree
                                              agree you   you did
                                                                did not
                                                                      not see     that
                                                                            see that                       terminology because
                                                                                                    16· ·terminology              because you    you saysay on on most
                                                                                                                                                                     most mornings.·
                                                                                                                                                                             mornings. Should   Should
         occur on
  17· ·occur        on aa weekly
                            weekly basis? basis?                                                           that say
                                                                                                    17· ·that      say on on most
                                                                                                                                most morning
                                                                                                                                           morning when   when you   you were
                                                                                                                                                                           were up up andand walking
                                                                                                                                                                                                walking
  18· · · · · A.         Yes.
                A.· · ·Yes.                                                                                near --
                                                                                                    18· ·near       --
                Q. · ·Okay.·
  19· · · · · Q.·        Okay. And   And would would you    you agree
                                                                  agree youyou diddid not
                                                                                       not          19· · · · · A.         Yes. And
                                                                                                                  A.· · ·Yes.·        And| I could
                                                                                                                                                 could hearhear herher come
                                                                                                                                                                         comeinin too.
                                                                                                                                                                                    too.
         see that
  20· ·see     that occur
                       occur on   on aa monthly
                                           monthly basis?   basis?                                         Y ou could
                                                                                                    20· ·You       could hear hear thethe back
                                                                                                                                             back door
                                                                                                                                                     door shut.·
                                                                                                                                                              shut. And       you can,
                                                                                                                                                                        And you      can, youyou
  21· · · · · A.         No.
                A.· · ·No.                                                                                 know, hear
                                                                                                    21· ·know,         hear aa cough
                                                                                                                                  cough or    or --
                                                                                                                                                  -- you
                                                                                                                                                      you know,
                                                                                                                                                             know, everybody
                                                                                                                                                                        everybody would  would know
                                                                                                                                                                                                  know
                Q.
  22· · · · · Q.·     ·  Soit'spossibleit
                        ·So   it's possible it might     might have have occurred
                                                                           occurred                        when somebody
                                                                                                    22· ·when        somebody usually    usually camecame into into the
                                                                                                                                                                      the office,
                                                                                                                                                                           office, if if you
                                                                                                                                                                                          you
         onceaa month?
  23· ·once          month?                                                                                heard them.·
                                                                                                    23· ·heard       them. But   But I| could
                                                                                                                                            could have
                                                                                                                                                     have beenbeen on  on the
                                                                                                                                                                           the phone
                                                                                                                                                                                phone and  and had
                                                                                                                                                                                                 had
  24· · · · · A.A.· · ·ItIt could
                             could havehave occurred
                                                 occurred once  once aa month.
                                                                          month. I|                 24· ·nono idea
                                                                                                                idea that
                                                                                                                        that sheshe was was there.
                                                                                                                                               there.

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        didn't see
  ·1· ·didn't      see always
                        always       see her,
                                     see   her, like
                                                  like I| said.·
                                                           said. It   It wasn't
                                                                         wasn't all  all                        Q. · ·Okay.·
                                                                                                    ·1· · · · · Q.·   Okay. What
                                                                                                                             What you put in
                                                                                                                                  you put in your
                                                                                                                                             your affidavit,
                                                                                                                                                  affidavit,
                                                                                                    BE
  BR




        the time
  ·2· ·the    time so so I'mI'm not
                                 not sure
                                       sure exactly
                                               exactly of   of --
                                                                --                                       was that
                                                                                                    ·2· ·was that onon most
                                                                                                                        most mornings
                                                                                                                               mornings you
                                                                                                                                        you observed
                                                                                                                                            observed Gina
                                                                                                                                                     Gina Alongi
                                                                                                                                                          Alongi
                                                                                                    WN
  WN




               Q. · ·Understood.·
  ·3· · · · · Q.·        Understood. And       And I'm  I'm just,
                                                               just, you you know,
                                                                               know,                     arriveatat the
                                                                                                    ·3· ·arrive          office --
                                                                                                                    the office  --
        trying to
  ·4· ·trying       to get
                        get aa sense
                                  sense of of what
                                               what you  you saw.saw.                                           A. · ·Yes.
                                                                                                    ·4· · · · · A.·   Yes
  OOP




                                                                                                    Oh




  ·5· · · · · A.        Yes
               A.· · ·Yes.                                                                                      Q. · ·--
                                                                                                    ·5· · · · · Q.·   --around  9:15am.
                                                                                                                         around 9:15       But it
                                                                                                                                     a.m.· But it sounds
                                                                                                                                                  soundslike
                                                                                                                                                         like
               Q. · ·Your
  ·6· · · · · Q.·       Your memorymemory of     of what
                                                      what you  you saw.saw.                             you didn't
                                                                                                    ·6· ·you didn't --
                                                                                                                    -- if
                                                                                                                       if I'm
                                                                                                                          I'm understanding
                                                                                                                              under standing you correctly, there
                                                                                                                                             you correctly,  there
                                                                                                    NO
  NO




               A. · ·Yes.
  ·7· · · · · A.·       Yes                                                                              were mornings
                                                                                                    ·7· ·were  mornings where
                                                                                                                           where you
                                                                                                                                 you werein  your office
                                                                                                                                     were in your office and
                                                                                                                                                         and
               Q. · ·Okay.·
  ·8· · · · · Q.·        Okay. And   And how  how diddid youyou knowknow that that Rosemary
                                                                                        Rosemary         wouldn't observe
                                                                                                    ·8· ·wouldn't   observe anything
                                                                                                                              anything about
                                                                                                                                       about Gina
                                                                                                                                             Gina Alongi's
                                                                                                                                                  Alongi's comings
                                                                                                                                                            comings
  00




                                                                                                    00




        was carrying
  ·9· ·was      carrying Gina   Gina Alongi's
                                          Alongi's things?
                                                        things?                                          and goings,
                                                                                                    ·9· ·and  goings, fair
                                                                                                                       fair to
                                                                                                                            to say?
                                                                                                                               say?
                                                                                                    ©
  ©




                A. · ·Because
  10· · · · · A.·         Because she   she walked
                                              walked into  into herher office.
                                                                         office.                                A. · ·Correct?
                                                                                                    10· · · · · A.·   Correct?
                                                                                                   = Oo
                                                                                                   =e




                Q. · ·And
  11· · · · · Q.·         And what,
                                  what, you you saw saw herher leave
                                                                   leave thethe -- --                           Q. · ·And
                                                                                                    11· · · · · Q.·   And fair  to say,
                                                                                                                           fair to say, that,
                                                                                                                                        that, that
                                                                                                                                              that happened
                                                                                                                                                   happened
         whatever she
  12· ·whatever            she had
                                 had -- -- in
                                            in Gina
                                                 Gina Alongi's
                                                          Alongi's office?office?                        regularly, when
                                                                                                    12· ·regularly, when you  were in
                                                                                                                          you were in your
                                                                                                                                      your office
                                                                                                                                            office working
                                                                                                                                                   working when
                                                                                                                                                           when
                A. · ·Yes.
  13· · · · · A.·        Yes                                                                             Gina Alongi
                                                                                                    13· ·Gina  Alongi would  arriveat
                                                                                                                      would arrive    the office?
                                                                                                                                   at the office?
                Q. · ·You
  14· · · · · Q.·         You say say that
                                        that on on most
                                                      most mornings
                                                                mornings you    you                 14· · · · · A.
                                                                                                                A.· · ·I|lwasinmy  office. But
                                                                                                                         was in my office.· Butlikel    said,
                                                                                                                                                like I said,
         observed Gina
  15· ·observed            Gina Alongi
                                    Alongi arrive
                                               arrive at   at the
                                                                the office
                                                                       office around
                                                                                around                   between those
                                                                                                    15· ·between            times when
                                                                                                                     those times         she came
                                                                                                                                  when she   came in
                                                                                                                                                   in I| would open the
                                                                                                                                                         would open the
         9:15 a.m.;
  16· ·9:15      am.; do    do you
                                 you seeseethat?
                                              that?                                                      door, just
                                                                                                    16· ·door,      like if
                                                                                                               just like if anybody
                                                                                                                             anybody else
                                                                                                                                     else came
                                                                                                                                          came to
                                                                                                                                               to the
                                                                                                                                                  the back
                                                                                                                                                      back door
                                                                                                                                                           door
                A. · ·Yes.
  17· · · · · A.·        Yes                                                                             when I| walked
                                                                                                    17· ·when    walked by.by.
                Q. · ·And
  18· · · · · Q.·         And werewereyou  you -- -- from
                                                      from your your office
                                                                          office could
                                                                                    could                       Q. · ·So
                                                                                                    18· · · · · Q.·    Soagain,   thephrase"
                                                                                                                          again, the          on most
                                                                                                                                      phrase "on most mornings"
                                                                                                                                                       mornings’
         you see
  19· ·you      see Gina
                       Gina Alongi's
                                Alongi's office?
                                               office?                                                   should really
                                                                                                    19· ·should     really be
                                                                                                                           beonon most
                                                                                                                                   most mornings
                                                                                                                                        mornings when
                                                                                                                                                  when you
                                                                                                                                                        you were up and
                                                                                                                                                            were up and
                A. · ·When
  20· · · · · A.·        When I| wassitting
                                      was sitting in    in mymy office?
                                                                    office?                              about and
                                                                                                    20· ·about and near
                                                                                                                   near the
                                                                                                                        the entrance
                                                                                                                            entrance and
                                                                                                                                     and holding
                                                                                                                                         holding the door for
                                                                                                                                                 the door for
                Q. · ·Yes.
  21· · · · · Q.·         Yes                                                                            her, that's
                                                                                                    21· ·her,    that's when
                                                                                                                         when you
                                                                                                                              you saw
                                                                                                                                  saw her?
                                                                                                                                      her?
                A. · ·I| could
  22· · · · · A.·           could not.·
                                      not. II could
                                                could see see herher office
                                                                        office ----                             A. · ·Yes.
                                                                                                    22· · · · · A.·    Yes
         outside --
  23· ·outside        -- at
                          at the    doorway I| could
                              the doorway            could see see herher office.
                                                                            office.                             Q. · ·Okay.·
                                                                                                    23· · · · · Q.·   Okay. And
                                                                                                                             And you
                                                                                                                                  you think
                                                                                                                                      think that  thetimesthat
                                                                                                                                             that the times that
                Q. · ·So
  24· · · · · Q.·         Soifif you
                                   you were
                                         were up   up and
                                                        and about
                                                                about you  you could
                                                                                  could seesee           you held
                                                                                                    24· ·you    held the
                                                                                                                     the door
                                                                                                                         door for her she
                                                                                                                              for her she was
                                                                                                                                           was coming
                                                                                                                                               coming inin around
                                                                                                                                                           around



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                                          vs
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                  4 Health
                    Health &
                           & Welfare
                             Welfare Fund,
                                     Fund, et
                                           et al.
                                              al.




                             Taylor Ryan
                             Taylor Ryan
                          July 08,
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                                          Court                                         ·22
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                                               No. 2182CV00125
                                                   2182CVv00125                             Representing the
                                                                                         3 ·Representing
                                                                                        ·3·              the Defendants:
                                                                                                             Defendants:
       FE —
  ·4· ·**************************************************                                4 · · · ·O'DONOGHUE
                                                                                        ·4·       O'DONOGHUE &
                                                                                                             & O'DONOGHUE
                                                                                                               O'DONOGHUE LLP
                                                                                                                          LLP
       GINAMARIE ALONGI
  ·5· ·GINAMARIE ALONGI AND
                        AND ROSEMARIE
                             ROSEMARIE ALONGI,·
                                       ALONG, · · · · ·*                                ·5·       5301 Wisconsin
                                                                                         5 · · · ·5301 Wisconsin Avenue, NW, Suite
                                                                                                                 Avenue, NW, Suite 800
                                                                                                                                   800

         Plaintiffs · · · · · · · · · · · · · · · · · ·*
  ·6· · ·Plaintiffs·                                   *                                ·6·       Washington, DC
                                                                                         6 · · · ·Washington, DC 20015
                                                                                                                 20015

         vs. · · · · · · · · · · · · · · · · · · · · · **
  ·7· · ·vs.·                                                                           ·7·       BY: DANIEL
                                                                                         7 · · · ·BY:· DANIEL KEENAN,
                                                                                                              KEENAN, ESQ.
                                                                                                                      ESQ.

       IUOE LOCAL
  ·8· ·IUOE LOCAL 4
                  4 HEALTH
                    HEALTH &
                           & WELFARE
                             WELFARE FUND;
                                     FUND; IUOE
                                           IUOE LOCAL
                                                LOCAL 4
                                                      4 *
                                                        *                               ·8·       (202) 362-0041
                                                                                         8 · · · ·(202) 362-0041
       PENSION FUND;
  ·9· ·PENSION FUND; IUOE
                     IUOE LOCAL
                          LOCAL 44 ANNUITY
                                   ANNUITY &
                                           & SAVINGS·
                                             SAVINGS · ·**                                        E-mail: cgilligan@odonoghuelaw.com
                                                                                         9 · · · ·E-mail:·
                                                                                        ·9·                cgilligan@odonoghuelaw.com
       FUND; HOISTING
  10· ·FUND; HOISTING AND
                      AND PORTABLE
                          PORTABLE ENGINEERS
                                   ENGINEERSLOCAL  4 ·*
                                             LOCAL 4· *                                 10
       APPRENTICESHIP&
  11· ·APPRENTICESHIP & TRAINING
                        TRAINING FUND;
                                 FUND; JOINT
                                       JOINT LABOR-·
                                             LABOR- · ·**                                    In Attendance:
                                                                                        11· ·In              Rosemarie Alongi
                                                                                                Attendance:· Rosemarie Alongi
       MANAGEMENT COOPERATION
  12· ·MANAGEMENT COOPERATION TRUST;
                              TRUST; AND
                                     AND WILLIAM
                                         WILLIAM D.·   *
                                                 D. · ·*                                                     Gina Marie
                                                                                        12· · · · · · · · · ·Gina Marie Alongi
                                                                                                                        Alongi
       MCLAUGHIAN, INDIVIDUALLY
  13· ·MCLAUGHIAN, INDIVIDUALLY AND
                                AND IN
                                    IN HIS
                                       HISCAPACITY
                                           CAPACITY· · ·**                                                   Greg Geiman
                                                                                        13· · · · · · · · · ·Greg Geiman
       AS CHAIRMAN
  14· ·AS CHAIRMAN OF
                   OF THE
                      THE BOARDS
                          BOARDS OF
                                 OF TRUSTEES,
                                    TRUSTEES,· · · · · ·**                              14
         Defendants · · · · · · · · · · · · · · · · · ·*
  15· · ·Defendants·                                   *                                15
       Sek RR
  16· ·**************************************************                               16
                     DEPOSITION OF:·
  17· · · · · · · · ·DEPOSITION OF: TAYLOR
                                     TAYLOR RYAN
                                            RYAN                                        17
                        BOWDITCH &
  18· · · · · · · · · · BOWDITCH & DEWEY,
                                   DEWEY, LLP
                                          LLP                                           18
                       200 Crossing
  19· · · · · · · · · ·200 Crossing Boulevard
                                    Boulevard                                           19
                      Framingham, Massachusetts
  20· · · · · · · · · Framingham, Massachusetts                                         20
                       July 8,
  21· · · · · · · · · ·July 8,2022   1:53 p.m.
                               2022· 1:53 p.m.                                          21
  22                                                                                    22
                         Kristen M.
  23· · · · · · · · · · ·Kristen M. Edwards
                                    Edwards                                             23
                           Court Reporter
  24· · · · · · · · · · · ·Court Reporter                                               24


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       APPEARANCES:
  ·1· ·APPEARANCES:                                                                     ·1· · · · · · · · · · · · · I N D E X
                                                                                        PP




  ·2                                                                                    ·2
                                                                                        WN




       Representing the
  ·3· ·Representing the Plaintiffs:
                        Plaintiffs:                                                          WITNESS: · · · · · · · · · · · · · · · · · TAYLOR
                                                                                        ·3· ·WITNESS:·                                  TAYLOR RYAN
                                                                                                                                               RYAN

             BOWDITCH &
  ·4· · · · ·BOWDITCH & DEWEY,
                        DEWEY, LLP
                               LLP                                                      ·4
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             200 Crossing
  ·5· · · · ·200 Crossing Boulevard,
                          Boulevard, Suite
                                     Suite 300
                                           300                                               EXAMINATION BY:·
                                                                                        ·5· ·EXAMINATION BY: · · · · · · · · · · · · · · · · ·PAGE:
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             Framingham, MA
  ·6· · · · ·Framingham, MA 01702
                            01702                                                            Ms. Markowski·
                                                                                        ·6· ·Ms. Markowski · · · · · · · · · · · · · · · · · · · 5
                                                                                        Oo




             BY: TIMOTHY
                  TIMOTHY P.
                          P. VAN
                             VAN DYCK,
                                 DYCK, ESQ.
                                       ESQ.                                                  Mr. Keenan·
                                                                                                 Keenan · · · · · · · · · · · · · · · · · · · ·123
                                                                                        NN




  ·7· · · · ·BY:·                                                                       ·7· ·Mr.
                  JACOB A.
  ·8· · · · · · · JACOB    TOSTI, ESQ.
                        A. TOSTI, ESQ.                                                       Mr. Van
                                                                                        ·8· ·Mr. Van Dyck·
                                                                                                     Dyck · · · · · · · · · · · · · · · · · · ·150
                                                                                        00




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  ·9· · · · ·(617) 757-6537 fax
                             fax (508)
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                                       929-3137                                         ·9
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  10· · · · ·E-mail:· tvandyck@bowditch.com                                                  EXHIBITS: · · · · · · · · · · · · · · · · · · · ·PAGE:
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             FREEMAN, MATHIS
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             60 State
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                      Street, Suite
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             BY: JENNIFER
  16· · · · ·BY:· JENNIFER L.
                           L. MARKOWSKI,
                              MARKOWSKI, ESQ.
                                         ESQ.                                                Exhibit 151,
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                                    ESQ.                                                     Exhibit 152,
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                                                                                                          e-mail
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  19· · · · ·E-mail:·           @fmglaw.com
                      jmarkowski@fmglaw.com                                                  Exhibit 154,
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  22                                                                                         (Exhibits retained
                                                                                        22· ·(Exhibits retained by
                                                                                                                by Attorney
                                                                                                                   Attorney Markowski)
                                                                                                                            Markowski)
  23                                                                                    23
  24                                                                                    24



                                                            O'Brien &
                                                            O'Brien & Levine,
                                                                       Levine, AA Magna
                                                                                  Magna Legal
                                                                                         Lega Services
                                                                                               Services Company
                                                                                                        Company                                                     ·
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                                                               888.825.3376    production@court-reporting.com                                                        YVer1f
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Ginamarie Alongi,
Ginamarie   Along, et
                    et al.
                       al. vs
                           vs                                              Taylor Ryan
                                                                           Taylor    Ryan
luoe Local
Iuoe Local 44 Health
              Health && Welfare
                         Welfare Fund,
                                 Fund, et
                                       et al.
                                           al.                            July 08,
                                                                          July  08, 2022
                                                                                     2022
                                          Page 153
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                                                                           Page    155
       harassment training
  ·1· ·harassment          training you   you recall?
                                                 recall?                                                 for the
                                                                                                    ·1· ·for the Coalition?
                                                                                                                 Coalition?




                                                                                                    BE
  BE


              A. · ·No.
  ·2· · · · · A.·     No.                                                                                       A. · ·No,
                                                                                                    ·2· · · · · A.·   No, I| wouldn't
                                                                                                                             wouldn't have
                                                                                                                                      have thought.
                                                                                                                                           thought.




                                                                                                    WN
  WN




              Q. · ·Do
  ·3· · · · · Q.·     Doyou you knowknow --   -- so
                                                  so you
                                                      you think
                                                              think it   it was
                                                                             was online
                                                                                    online                      Q. · ·You
                                                                                                    ·3· · · · · Q.·   You mentioned
                                                                                                                             mentioned about
                                                                                                                                        about spending
                                                                                                                                               spending a
                                                                                                                                                        a fair
                                                                                                                                                          fair
       training. Do
  ·4· ·training.·      Do youyou recall
                                    recall how how longlong the  the training
                                                                        training took?took?              amount of
                                                                                                    ·4· ·amount of time
                                                                                                                   time with respect to
                                                                                                                        with respect to sorting
                                                                                                                                        sorting out
                                                                                                                                                out ZIP
                                                                                                                                                    ZIP codes
                                                                                                                                                        codes on
                                                                                                                                                              on
  ohh




                                                                                                    Uh
              A. · ·I1thinkitwasjust
  ·5· · · · · A.·       think it was just aaday.      day.                                               one project?
                                                                                                    ·5· ·one    project?
              Q. · ·A
  ·6· · · · · Q.·     Afull      day?
                          full day?                                                                             A. · ·Yes.
                                                                                                    ·6· · · · · A.·   Yes




                                                                                                    NO
  No




              A. · ·I| don't
  ·7· · · · · A.·       don't remember
                                 remember it.·     it. I| don't
                                                           don't remember
                                                                     remember it      it                        Q. · ·And,
                                                                                                    ·7· · · · · Q.·   And, I| think, you testified
                                                                                                                              think, you testified that
                                                                                                                                                   that it
                                                                                                                                                        it may
                                                                                                                                                           may
       taking aafull
  ·8· ·taking             day. I| don't
                    full day.·        don't remember
                                               remember it        it not
                                                                     not taking
                                                                           taking aa                     have taken
                                                                                                    ·8· ·have taken you
                                                                                                                    you aa week?
                                                                                                                           week?




                                                                                                    00
  00




       full day.·
  ·9· ·full   day. I| don't
                        don't remember
                                 remember the     the length
                                                         length of   of time.
                                                                         time.                                  A. · ·I| mean,
                                                                                                    ·9· · · · · A.·      mean, I'm
                                                                                                                               I'msureit   took me
                                                                                                                                   sure it took meat
                                                                                                                                                   at least
                                                                                                                                                      least aa
  ©




                                                                                                    ©
               Q. · ·I| think
  10· · · · · Q.·        think you          testified earlier,
                                    you testified          earlier, please
                                                                         please                           week.
                                                                                                    10· ·week.
        correct me
  11· ·correct       meifif II amam wrong,
                                       wrong, I| think think you          testified earlier
                                                                   you testified         earlier                Q. · ·Was
                                                                                                    11· · · · · Q.·   Wasthat   full days
                                                                                                                           that full daysoror was
                                                                                                                                              wasitit --
                                                                                                                                                      -- when you
                                                                                                                                                         when you
        that you're
  12· ·that     you're fairly
                           fairly confident
                                      confident that   that thethe sexual
                                                                       sexual harassment
                                                                                  harassment             say aa full
                                                                                                    12· ·say    full week,
                                                                                                                      week, I| mean,
                                                                                                                               mean, wasit   several hours
                                                                                                                                      was it several   hoursduring
                                                                                                                                                             during
        training that
  13· ·training       that you        received wasin
                              you received                         response
                                                     was in response            toto the
                                                                                      the                the day each day for a week or wasit eight-hoursaa day
                                                                                                    13· ·the day    each day   for a week or  was  it eight-hours   day
        concernsthat
  14· ·concerns        that youyou had had about
                                              about Mr.   Mr. Burns,
                                                                   Burns, correct?
                                                                              correct?                   for the
                                                                                                    14· ·for the full
                                                                                                                 full week?
                                                                                                                      week?
               A. · ·Yes,
  15· · · · · A.·      Yes, it it certainly
                                  certainly seemedseemed that   that way.
                                                                        way.                                    A. · ·Idon't
                                                                                                    15· · · · · A.·           remember --
                                                                                                                        don't remember   -- I| mean,
                                                                                                                                               mean, I'm
                                                                                                                                                      I'm sure
                                                                                                                                                          sureitit
               Q. · ·Is
  16· · · · · Q.·      Isthat       based solely
                           that based          solely on  on the
                                                               the timing
                                                                      timing or   or                     couldn't have
                                                                                                    16· ·couldn't   have been
                                                                                                                           been all
                                                                                                                                al day,
                                                                                                                                    day, because
                                                                                                                                         because I| always
                                                                                                                                                     aways had
                                                                                                                                                             had toto
        anything else?
  17· ·anything        else?                                                                             take some
                                                                                                    17· ·take some time
                                                                                                                   time to
                                                                                                                        to cover
                                                                                                                           cover the
                                                                                                                                 the front.·
                                                                                                                                     front. There
                                                                                                                                             There were
                                                                                                                                                   were probably
                                                                                                                                                        probably
               A. · ·I| would
  18· · · · · A.·        would say   say itit was     based on
                                              was based          on the
                                                                      the timing,
                                                                            timing,                      some days
                                                                                                    18· ·some     days where
                                                                                                                       where I| worked
                                                                                                                                worked onon it
                                                                                                                                            it more
                                                                                                                                               more than
                                                                                                                                                     than others.·
                                                                                                                                                          others. Like,
                                                                                                                                                                   Like,
        and the
  19· ·and     the fact
                    fact that
                           that Greg
                                  Greg and and Gina
                                                  Gina seemed
                                                           seemed to     to really
                                                                             really take take            if II had
                                                                                                    19· ·if    had nothing
                                                                                                                    nothing else
                                                                                                                            else to
                                                                                                                                 to do,
                                                                                                                                    do, I'm
                                                                                                                                        I'm sure
                                                                                                                                            sure I| would
                                                                                                                                                    would have
                                                                                                                                                           have
  20· ·itit very   seriously what
            very seriously        what was was going
                                                  going on.  on.                                         spent aalittle
                                                                                                    20· ·spent           more time
                                                                                                                  little more time on
                                                                                                                                   on that.  So I| don't
                                                                                                                                      that.· So    don't remember
                                                                                                                                                         remember
               Q. · ·And
  21· · · · · Q.·      And why why is   isitit that
                                               that youyou wentwent to   to Mr.
                                                                             Mr. Geiman
                                                                                     Geiman              specifically how
                                                                                                    21· ·specifically  how much
                                                                                                                             much time
                                                                                                                                    time I| spent,
                                                                                                                                            spent, but
                                                                                                                                                    but it
                                                                                                                                                         it wasn't
                                                                                                                                                            wasn't like
                                                                                                                                                                   like
        with respect
  22· ·with      respect to  to your
                                 your concerns
                                          concerns about   about Mr.    Mr. Burns?
                                                                              Burns?                22· ·aaget  up and
                                                                                                            get up and do
                                                                                                                        do this
                                                                                                                           this all
                                                                                                                                all day
                                                                                                                                    day as
                                                                                                                                        as best
                                                                                                                                             best as
                                                                                                                                                  as| I remember.
                                                                                                                                                        remember. I|
               A. · ·I| think
  23· · · · · A.·        think partly
                                   partly because
                                              because going going to   to Gina
                                                                           Gina                          don't think
                                                                                                    23· ·don't think it
                                                                                                                     it was
                                                                                                                        was aa full
                                                                                                                               full eight
                                                                                                                                    eight hours
                                                                                                                                          hours of
                                                                                                                                                of the ZIP codes.
                                                                                                                                                   the ZIP codes.
        would have
  24· ·would       have been
                           been tootoo official,
                                         official, and  and it it wasn't     there in
                                                                    wasn't there       in mymy                  Q. · ·This
                                                                                                    24· · · · · Q.·   Thiswaswork
                                                                                                                           was work that Ms. Hickey
                                                                                                                                    that Ms. Hickey had
                                                                                                                                                    had given
                                                                                                                                                        given

                                                                             Page 154
                                                                             Page 154                                                                                     Page 156
                                                                                                                                                                          Page 156

       mind yet
  ·1· ·mind yet and,
                and, also,
                     also, because
                           because Greg
                                   Greg is
                                        isthe  lawyer. He
                                           the lawyer.· Heisis                                           you to
                                                                                                    ·1· ·you    to do?
                                                                                                                     do?
  WDNR




                                                                                                    WNP




       the rule
  ·2· ·the rule guy,
                guy, so
                     so that's kind of
                        that's kind of who
                                       who I| would
                                              would look
                                                    look to for
                                                         to for                                     ·2· · · · · A.       Yes, apparently
                                                                                                                A.· · ·Yes,     apparently seeing
                                                                                                                                               seeing these these e-mails.
                                                                                                                                                                    e-mails.
       any guidance
  ·3· ·any guidance on
                    on whether
                       whether rules
                               rules were
                                     were being
                                          being broken.
                                                broken.                                                         Q. · ·Do
                                                                                                    ·3· · · · · Q.·      Doyou       believethat
                                                                                                                              you believe      that youryour workwork for  for the
                                                                                                                                                                                the
              Q. · ·Including
  ·4· · · · · Q.·   Including rules
                              rules regarding
                                    regarding employment,
                                               employment,                                               Funds suffered
                                                                                                    ·4· ·Funds       suffered at  at all
                                                                                                                                      all as
                                                                                                                                           asaa result
                                                                                                                                                 result of    of any
                                                                                                                                                                 any work
                                                                                                                                                                        work you  you did
                                                                                                                                                                                        did
  bh




                                                                                                    Oh




       correct?
  ·5· ·correct?                                                                                          for the
                                                                                                    ·5· ·for   the Coalition?
                                                                                                                      Coalition?
              A. · ·What
  ·6· · · · · A.·   What do
                         do you
                            you mean?
                                mean?                                                                                  MS. MARKOWSKI:·
                                                                                                    ·6· · · · · · · · ·MS.    MARKOWSKI: Objection      Objection to     to form.
                                                                                                                                                                             form.
  NO




                                                                                                    NO




              Q. · ·For
  ·7· · · · · Q.·   For example,
                        example, if
                                 if there
                                    therehad  been aa
                                          had been                                                                     THE WITNESS:·
                                                                                                    ·7· · · · · · · · ·THE     WITNESS: I| don't   don't thinkthink I| can
                                                                                                                                                                        can really
                                                                                                                                                                              really
       harassment or
  ·8· ·harassment or retaliation
                     retaliation or
                                 or inappropriate
                                    inappropriate conduct
                                                  conduct in
                                                          in                                                    answer that.·
                                                                                                    ·8· · · · · answer      that. I| mean,
                                                                                                                                      mean, it's
                                                                                                                                               it's I| have
                                                                                                                                                        have to to believe
                                                                                                                                                                    believe
  00




                                                                                                    00




       theworkplace,
  ·9· ·the            Mr. Geiman
           workplace, Mr. Geiman would
                                 would have
                                       have been
                                            been an
                                                 an                                                             that they
                                                                                                    ·9· · · · · that   they would       never --
                                                                                                                              would never       -- Laura-Jean
                                                                                                                                                    Laura-Jean and     and Gina
                                                                                                                                                                              Gina
  ©




                                                                                                    ©




       appropriate person
  10· ·appropriate person to
                          to speak
                             speak to
                                   to regarding
                                      regarding those
                                                those issues?
                                                      issues?                                                    would never
                                                                                                    10· · · · · would       never have
                                                                                                                                     have asked
                                                                                                                                            asked me  me to to do
                                                                                                                                                                do anything
                                                                                                                                                                    anything when  when
                                                                                                   = Oo
                                                                                                   Bo




              A. · ·Yes.
  11· · · · · A.·   Yes                                                                                          something needed
                                                                                                    11· · · · · something        needed to  to be
                                                                                                                                                be done
                                                                                                                                                      done for     the Funds
                                                                                                                                                               for the    Funds but but I,
                                                                                                                                                                                         I,
              Q. · ·You
  12· · · · · Q.·   You understood
                        understood Mr.
                                   Mr. Geiman
                                       Geiman played
                                              played some
                                                     some                                                        you know,
                                                                                                    12· · · · · you     know, I| don't
                                                                                                                                    don't remember
                                                                                                                                            remember specifically
                                                                                                                                                              specifically doing
                                                                                                                                                                               doing
       sort of
  13· ·sort of an
               an HR
                  HR function at the
                     function at the Funds?
                                     Funds?                                                                      work for
                                                                                                    13· · · · · work      for the
                                                                                                                               the Coalition,
                                                                                                                                    Coalition, so  so it's
                                                                                                                                                         it's hard
                                                                                                                                                               hard to
                                                                                                                                                                     to say
                                                                                                                                                                          say one
                                                                                                                                                                                one
              A. · ·Yes.
  14· · · · · A.·   Yes.                                                                                         way or
                                                                                                    14· · · · · way     or another.
                                                                                                                             another.
              Q. · ·You
  15· · · · · Q.·   You were asked some
                        were asked some questions
                                        questions by
                                                  by                                                              Q. · ·(By
                                                                                                    15· · · · · Q.·       (By Mr.
                                                                                                                                Mr.Van        Dyck) Understood.·
                                                                                                                                       Van Dyck)·          Understood. I'd       I'd like
                                                                                                                                                                                      like
       Mr. Keenan
  16· ·Mr. Keenan about
                  about Coalition
                        Coalition work
                                  work that
                                       that you did. Do
                                            you did.· Do you
                                                         you                                              to draw
                                                                                                    16· ·to    draw your        attention to
                                                                                                                        your attention            Exhibit 149,
                                                                                                                                              to Exhibit         149, which
                                                                                                                                                                        which is   isinin
       recall that?
  17· ·recall that?                                                                                       front of
                                                                                                    17· ·front      of you.
                                                                                                                        you.
              A. · ·Yes.
  18· · · · · A.·   Yes.                                                                                         A. · ·Yes.
                                                                                                    18· · · · · A.·       Yes
              Q. · ·Would
  19· · · · · Q.·   Would it
                          it be
                             befair  to say
                                fair to say with
                                            with respect
                                                 respect to
                                                         to                                                       Q. · ·You
                                                                                                    19· · · · · Q.·       Yourecall
                                                                                                                                 recall Ms.Ms. Markowski
                                                                                                                                                 Markowski asked     asked you  you aa
       the Coalition
  20· ·the Coalition work you did
                     work you did that most of
                                  that most of it
                                               it was
                                                  was given
                                                      given to
                                                            to                                      20 ·series
                                                                                                    20·   seriesofof questions
                                                                                                                         questionsregar         ding some
                                                                                                                                        regarding        some of  of those
                                                                                                                                                                       those texts
                                                                                                                                                                                texts butbut
       you by
  21· ·you by Ms.
              Ms. Hickey?
                  Hickey?                                                                           21 ·not
                                                                                                    21·   not allall of
                                                                                                                      of them,
                                                                                                                          them, right?
                                                                                                                                   right?
              A. · ·Yes.
  22· · · · · A.·   Yes.                                                                            22 · · · · A.·
                                                                                                    22·          A. · ·SheShe went      through most
                                                                                                                                went through        most of   of them.
                                                                                                                                                                 them.
              Q. · ·And
  23· · · · · Q.·   And do
                        do you
                           you know
                               know for
                                    for aafact
                                           fact whether Ms.
                                                whether Ms.                                         23 · · · · Q.·
                                                                                                    23·           Q. · ·Well,
                                                                                                                          Wadll, thereare
                                                                                                                                  there are afew a few she   she skipped
                                                                                                                                                                  skipped over  over
       Alongi was
  24· ·Alongi was aware
                  aware of
                        of all
                           all of
                               of thework  that you
                                  the work that you were
                                                    were doing
                                                         doing                                      24 ·and
                                                                                                    24·   and I| would
                                                                                                                    would like liketo    talk to
                                                                                                                                     to talk   to you
                                                                                                                                                   you aboutabout them,
                                                                                                                                                                      them, if  if you
                                                                                                                                                                                    you


                                              O'Brien &
                                              O'Brien & Levine,
                                                         Levine, AA Magna
                                                                    Magna Legal
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                                                                                           Company                                                                  Pages 153–156
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Ginamarie Alongi,
Ginamarie  Along, et
                   et al.
                      al. vs
                          vs                                               Taylor Ryan
                                                                           Taylor  Ryan
luoe Local
Iuoe Local 4
           4 Health
             Health && Welfare
                        Welfare Fund,
                                Fund, et
                                      et al.
                                         al.                              July 08,
                                                                          July 08, 2022
                                                                                   2022
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       don't mind.·
  ·1· ·don't     mind. If   If you
                               you gogo to the
                                            tothe very
                                                   very last
                                                          last page
                                                                 page of  of Exhibit
                                                                              Exhibit                that you
                                                                                                ·1· ·that           were not
                                                                                                             you were       not asked
                                                                                                                                   asked about,
                                                                                                                                             about, and and I| would
                                                                                                                                                                would likelike to
                                                                                                                                                                                to ask
                                                                                                                                                                                    ask
  WNP




                                                                                                WNP
       149.
  ·2· ·149.                                                                                          you about
                                                                                                ·2· ·you    about some some additional
                                                                                                                               additional things things youyou said
                                                                                                                                                                 said inin here.
                                                                                                                                                                            here.
              A. · ·Sure.
  ·3· · · · · A.·     Sure.                                                                                        First of
                                                                                                ·3· · · · · · · · ·First   of all,
                                                                                                                               all, I| think
                                                                                                                                        think you       testified that
                                                                                                                                                 you testified       that
              Q. · ·I| believe
  ·4· · · · · Q.·        believeatat the
                                       the middle
                                             middle of  of the
                                                            the page
                                                                   page you you                      you wrote
                                                                                                ·4· ·you    wr ote thisthis witness       statement close
                                                                                                                             witness statement            close inin time
                                                                                                                                                                      timetoto the
                                                                                                                                                                                 the
  Ooh




                                                                                                Ooh
       state, "I
  ·5· ·state,    "| remember
                     remember Rosemarie
                                      Rosemarie sayingsaying to  to Billy
                                                                      Billy onon                     fight, right?
                                                                                                ·5· ·fight,    right?
       multiple occasions
  ·6· ·multiple       occasions thatthat hehe was     being inappropriate."
                                               was being        inappropriate.”                             A. · ·Yes.
                                                                                                ·6· · · · · A.·     Yes
  NO




                                                                                                NO
       Do you
  ·7· ·Do          seethat?
             you see     that?                                                                              Q. · ·And,
                                                                                                ·7· · · · · Q.·      And, I| think,
                                                                                                                               think, we   we can
                                                                                                                                                can all
                                                                                                                                                      all agree
                                                                                                                                                           agreethefight
                                                                                                                                                                    the fight
              A. · ·That
  ·8· · · · · A.·     That waswas Danielle
                                    Danielle saying
                                                saying that.
                                                          that.                                      occurred on
                                                                                                ·8· ·occurred        on May
                                                                                                                          May 1st,1st, 2018?
                                                                                                                                         2018?
  0




                                                                                                0
              Q.
  ·9· · · · · Q.·  ·  That was Danielle saying that
                     ·That     was   Danielle     saying    that to      you?
                                                                    to you?                                 A. · ·Yes.
                                                                                                ·9· · · · · A.·     Yes
  ©




                                                                                                ©
               A. · ·Yes.
  10· · · · · A.·      Yes                                                                                   Q. · ·Do
                                                                                                10· · · · · Q.·       Doyou       recall approximately
                                                                                                                           you recall       approximately how      how close
                                                                                                                                                                          closeinin




                                                                                               o
                                                                                               =
               Q. · ·And
  11· · · · · Q.·      And the theRosemariethere,
                                    Rosemarie there, do       do youyou remember
                                                                           remember                   timetoto May
                                                                                                11· ·time          May 1st 1st it
                                                                                                                                it occurred?
                                                                                                                                    occurred?
        that to
  12· ·that     to be
                    be Rosemarie
                          Rosemarie Alongi?
                                         Alongi?                                                12· · · · · A.
                                                                                                             A.· · ·InInmy     memory it
                                                                                                                          my memory          it feels
                                                                                                                                                feels like
                                                                                                                                                        like almost
                                                                                                                                                              amost
               A. · ·It
  13· · · · · A.·      It would
                           would have
                                    have been
                                           been herher because,
                                                        because, yes, yes,                            immediately.
                                                                                                13· ·immediately.
        because she
  14· ·because       she spells
                           spells it
                                   it I-E
                                      |-E whereas
                                           whereas Rosemary
                                                        Rosemary was     was no no I.|.                      Q. · ·Like
                                                                                                14· · · · · Q.·       Likewithin
                                                                                                                              within aaday  day or or so?
                                                                                                                                                       so?
               Q. · ·And
  15· · · · · Q.·      And do  doyou     ever recall
                                   you ever      recall Rose
                                                           Rose saying
                                                                  saying      this
                                                                              this              15· · · · · A.        Yes, probably.
                                                                                                             A.· · ·Yes,     probably.
        to Billy?
  16· ·to    Billy?                                                                                          Q. · ·Did
                                                                                                16· · · · · Q.·       Did you
                                                                                                                            you write
                                                                                                                                   write this
                                                                                                                                            thiswitness        statement on
                                                                                                                                                    witness statement         on
               A. · ·Not
  17· · · · · A.·      Not specifically.
                              specifically.                                                           your own?
                                                                                                17· ·your      own?
               Q. · ·I| think
  18· · · · · Q.·         think II understood
                                     understood from  from your
                                                              your earlier
                                                                        earlier                 18· · · · · A.
                                                                                                             A.· · ·DoDo you
                                                                                                                           you mean
                                                                                                                                  mean unprompted
                                                                                                                                           unprompted or     or like
                                                                                                                                                                 like unguided?
                                                                                                                                                                       unguided?
        testimony that
  19· ·testimony                you and
                         that you     and Danielle
                                            Danielle didn't
                                                         didn't talk        about this
                                                                    talk about          this                 Q. · ·Good
                                                                                                19· · · · · Q.·       Good question.·
                                                                                                                               question. I| understand
                                                                                                                                                   understand        that Gina
                                                                                                                                                                     that  Gina
        by phone.·
  20· ·by     phone. It   It was
                              was simply
                                   simply by  by text?
                                                   text?                                              asked you
                                                                                                20· ·asked       you to to write
                                                                                                                           write something,
                                                                                                                                     something, correct?
                                                                                                                                                       correct?
               A. · ·Correct.
  21· · · · · A.·      Correct.                                                                 21· · · · · A.        Yes
                                                                                                             A.· · ·Yes.
               Q. · ·If
  22· · · · · Q.·      Ifyou
                           you gogotothevery
                                     to the very last last page
                                                            page of  of                         22· · · · · Q.· · ·ButBut these
                                                                                                                            these are are your
                                                                                                                                            your words,        correct?
                                                                                                                                                    words, correct?
        Exhibit 149,
  23· ·Exhibit       149, I| guess
                               guessit's     Danielle saying
                                       it's Danielle      saying to  to you
                                                                         you he, he,                                  Yes.
                                                                                                23· · · · · A.· · ·Yes.
        being Billy, has without a doubt used his statustoto
  24· ·being      Billy,    has  without    a  doubt     used    his    status                                        Completely your
                                                                                                24· · · · · Q.· · ·Completely            your own own words?
                                                                                                                                                         words?

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                                                                          Page 158                                                                                   Page 160
                                                                                                                                                                     Page 160

       coerce women
  ·1· ·coerce women into
                    into having
                         having relations
                                relationswith  him. I| don't
                                          with him.·   don't                                                A. · ·You
                                                                                                ·1· · · · · A.·   You know,
                                                                                                                      know, when
                                                                                                                            when |I read
                                                                                                                                    read it
                                                                                                                                         it over,
                                                                                                                                            over, there
                                                                                                                                                  there was
                                                                                                                                                        was
                                                                                                WDNR




       see LJ
  ·2· ·see   LJ being
                 being that
                         that person.·
                              person. Have
                                       Havel I read
                                               read that
                                                    that correctly?
                                                         correctly?                                  one thing
                                                                                                ·2· ·one thing at
                                                                                                               at the
                                                                                                                  the very end where
                                                                                                                      very end where I| said
                                                                                                                                        said it's
                                                                                                                                             it's aa scary
                                                                                                                                                     scary
  ·3· · · · · A.     Yes
              A.· · ·Yes.                                                                            thing to
                                                                                                ·3· ·thing    speak out
                                                                                                           to speak out against
                                                                                                                        against the
                                                                                                                                the boss,
                                                                                                                                    boss, especially
                                                                                                                                          especialy if
                                                                                                                                                     if I|
              Q. · ·Did
  ·4· · · · · Q.·   Did you and she
                        you and she ever
                                    ever discuss
                                         discussthat?
                                                 that?                                               didn't know
                                                                                                ·4· ·didn't know if
                                                                                                                 if I| would
                                                                                                                       would be
                                                                                                                             be supported
                                                                                                                                supported or
                                                                                                                                          or shushed,
                                                                                                                                             shushed, that
                                                                                                                                                      that
                                                                                                ah




  ·5· · · · · A.     No, that
              A.· · ·No, that was pretty much
                              was pretty much the
                                              the extent
                                                  extent of
                                                         of                                          was perhaps
                                                                                                ·5· ·was perhaps aa little
                                                                                                                    little bit
                                                                                                                           bit suggested
                                                                                                                               suggested to
                                                                                                                                         to me
                                                                                                                                            me by
                                                                                                                                               by Gina,
                                                                                                                                                  Gina, truth
                                                                                                                                                        truth
       the conversation.
  ·6· ·the   conversation.                                                                           be told,
                                                                                                ·6· ·be told, but
                                                                                                              but I| also
                                                                                                                     also would not have
                                                                                                                          would not have written it down
                                                                                                                                         written it down had
                                                                                                                                                         had
                                                                                                NO




              Q. · ·Did
  ·7· · · · · Q.·   Did you
                        you agree with that
                            agree with that statement,
                                            statement,                                               it not
                                                                                                ·7· ·it not felt accurate.
                                                                                                            felt accurate.
       disagree with
  ·8· ·disagree  with that statement or
                      that statement or just not know
                                        just not know or
                                                      or were
                                                         were                                               Q. · ·Fair
                                                                                                ·8· · · · · Q.·   Fair enough.·
                                                                                                                       enough. Other
                                                                                                                                Other than
                                                                                                                                      than that,
                                                                                                                                           that, that's
                                                                                                                                                 that's
                                                                                                0




       agnostic?
  ·9· ·agnostic?                                                                                     completely your
                                                                                                ·9· ·completely your own?
                                                                                                                     own?
                                                                                                ©




                     MS. MARKOWSKI:·
  10· · · · · · · · ·MS. MARKOWSKI: Objection.
                                     Objection.                                                 10· · · · · A.     Yes
                                                                                                            A.· · ·Yes.
                                                                                               = Oo
                                                                                               Boe




                     THE WITNESS:
  11· · · · · · · · ·THE  WITNESS:· I| would    -- I| mean,
                                         would --     mean, because
                                                               because                                      Q. · ·And
                                                                                                11· · · · · Q.·   And about
                                                                                                                      about how
                                                                                                                            how long
                                                                                                                                long did
                                                                                                                                     did it
                                                                                                                                         it take
                                                                                                                                            take you
                                                                                                                                                 you to
                                                                                                                                                     to
  12· · · · · I| certainly
                 certainly don't
                           don't know
                                 know it
                                      it to
                                         to be
                                            be true
                                               true for
                                                      for aa fact,
                                                             fact,                                   write
                                                                                                12· ·write this witness statement?
                                                                                                           this witness statement?
  13· · · · · I| couldn't
                 couldn't say
                          say that
                              that I| agree
                                      agree but,
                                            but, I| guess,
                                                    guess, I|                                   13· · · · · A.
                                                                                                            A.· · ·Idon't  know. Maybe,
                                                                                                                     don't know.· Maybe, I| could
                                                                                                                                            could be
                                                                                                                                                  be
              could say
  14· · · · · could  say agnostic.
                         agnostic.                                                                   overestimating myself,
                                                                                                14· ·overestimating myself, but
                                                                                                                            but like
                                                                                                                                like half
                                                                                                                                     half an
                                                                                                                                          an hour
                                                                                                                                             hour or
                                                                                                                                                  or so,
                                                                                                                                                     so,
              Q. · ·(By
  15· · · · · Q.·   (By Mr.
                         Mr. Van
                              Van Dyck)·
                                   Dyck) Fair
                                         Fair enough.·
                                              enough. Now
                                                       Now I'd
                                                           I'd                                       maybean
                                                                                                15· ·maybe    hour.
                                                                                                           an hour.
       like to
  16· ·like to go
               go to
                  to your
                     your witness statement.
                          witness statement.                                                                Q. · ·On
                                                                                                16· · · · · Q.·   Onthefirst   -- I| think
                                                                                                                     the first --    think you also
                                                                                                                                           you also
              A. · ·Okay.
  17· · · · · A.·   Okay.                                                                            testified that
                                                                                                17· ·testified that when you wrote
                                                                                                                    when you wrote this
                                                                                                                                   this witness
                                                                                                                                        witness statement
                                                                                                                                                statement
              Q. · ·And,
  18· · · · · Q.·   And, I| think,
                            think, I| speak
                                      speak on
                                            on behalf
                                               behalf of
                                                       of                                            you wanted
                                                                                                18· ·you        to be
                                                                                                         wanted to be sure
                                                                                                                      sure to
                                                                                                                           to be
                                                                                                                              be very
                                                                                                                                 very accurate
                                                                                                                                      accurate is
                                                                                                                                               iswhat  you
                                                                                                                                                  what you
       everyoneinin this
  19· ·everyone        thisroom    when I| say
                            room when      say you
                                               you have
                                                    have really
                                                          really good
                                                                 good                                said.
                                                                                                19· ·said.
       handwriting.
  20· ·handwriting.                                                                             20· · · · · A.     Yes
                                                                                                            A.· · ·Yes.
              A. · ·Thank
  21· · · · · A.·   Thank you.
                          you.                                                                              Q. · ·I1 will
                                                                                                21· · · · · Q.·           represent to
                                                                                                                     will represent to you,
                                                                                                                                       you, given
                                                                                                                                            given your
                                                                                                                                                  your
              Q. · ·And
  22· · · · · Q.·   And weappreciatethat.     Again, you
                         we appreciate that.· Again, you were
                                                         were                                        testimony today,
                                                                                                22· ·testimony        you are
                                                                                                               today, you are probably
                                                                                                                              probably trying
                                                                                                                                       trying to
                                                                                                                                              to be
                                                                                                                                                 be more
                                                                                                                                                    more
       asked some
  23· ·asked some questions
                  questions about
                            about your witness statement
                                  your witness statement but
                                                         but                                         accurate with
                                                                                                23· ·accurate with respect
                                                                                                                   respect to
                                                                                                                           to your
                                                                                                                              your words
                                                                                                                                   words than
                                                                                                                                         than most
                                                                                                                                              most people
                                                                                                                                                   people so
                                                                                                                                                          so
       there were
  24· ·there were several
                  several portions
                          portions of
                                   of your
                                      your witness
                                           witness statement
                                                   statement                                    24· ·--


                                            O'Brien &
                                            O'Brien & Levine,
                                                       Levine, AA Magna
                                                                  Magna Legal
                                                                         Legal Services
                                                                               Services Company
                                                                                         Company                                                                Pages 157–160
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                                                                                                 Timothy P. Van Dyck
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                                                                                      Direct facsimile: 508-929-3136
                                                                                     Email: tvandyck@bowditch.com




December 18, 2020

VIA EMAIL

Tania Taveras
Administrative Assistant
Massachusetts Commission Against Discrimination
One Ashburton Place
Boston, MA 02108

Re:       Ginamarie Alongi v. Int'l Union of Operating Engineers (IUOE) Local 4 Fringe Benefit
          Funds, et al.; MCAD Docket No. 20BEM01708
          Rosemarie Alongi v. IUOE Local 4 Fringe Benefit Funds, et al.; MCAD Docket No.
          20BEM01709

Dear Ms. Taveras:

This letter constitutes the Rebuttal of Complainants Ginamarie Alongi (“Gina”) and Rosemarie
Alongi (“Rosemarie”) (jointly “Complainants”) in the above-captioned matters. The Position
Statement filed by Respondents International Union of Operating Engineers Local 4 Fringe
Benefit Funds (the “Funds”)1 and William McLaughlin (“Mr. McLaughlin”) (jointly,
“Respondents”) is unmoored from both fact and law in a desperate attempt to defend the
indefensible. Among the more blatant examples of Respondents’ departure from reality are the
following:

         Despite the fact that Complainants had worked for the Funds for decades, the very first
          time they learned of their purported performance issues was upon reading
          Respondents’ recently filed position statement. In real time, the Funds (including Mr.
          McLaughlin personally) routinely praised Gina and Rosemarie for their work ethic and
          their ability to get the job done while they worked there. Only now, after they have
          come forward with their serious allegations of sexual harassment and retaliation, have
          Respondents cobbled together a litany of alleged workplace transgressions – some of
          them dating back over fifteen (15) years – in an ill-fated attempt to try to create a fig-
          leaf of legitimacy for their retaliatory decision to show the Complainants the door.

         Respondents’ understandable concern about the severity of the allegations the
          Complainants have brought forward has manifested itself in a not-so-veiled threat of

          1
              The Funds encompasses all of the associated Local 4 Trust Funds.




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         criminal wrongdoing on the part Gina, which itself stands as an independent violation of
         G.L. c. 151B.2

        The Funds, in a transparent act of desperation, gin up a hired gun, who they then seek
         to clothe in the garb of an “expert,” to opine on why Complainants’ terminations were
         justified. Of course, this “expert” opinion comes only after the fact and is based solely
         on the Funds’ own recitation of events.

    Respondents’ pretextual actions and animus here are obvious. The position statement –
    signed under oath - makes them glaring.

    I.       Mr. McLaughlin’s Sexual Harassment of Female Funds Employees Was Frequent
             and Continuous.

Contrary to Respondents’ Position Statement, Mr. McLaughlin sexually harassed female
employees from the time he assumed the role of Business Manager of the Union until the day
that Funds staff were instructed to work from home due to COVID-19. Mr. McLaughlin would
frequently visit with female employees, making sexual comments, commenting on their bodies,
their appearance, their clothing and, at times, various sexual acts and positions. Although Mr.
McLaughlin temporarily avoided entering Gina’s office after the May 1st, 2018 incident, within a
few weeks, he resumed regular visits to Gina’s office and continued to make inappropriate
comments about women, including female employees and Gina herself.

While the Funds chose not to investigate or notify the various Boards of Trustees, Gina herself
was able to secure witness statements from a number of other female employees who were
made to feel uncomfortable by Mr. McLaughlin’s crude behavior. Taylor Ryan, for example,
stated that she was uncomfortable with the inappropriate comments that Mr. McLaughlin
made about her appearance and other women, the way that he looked at her, and the way he
constantly tried to make physical contact with her in the form of “fist bumps.” See Tab A. Ms.
Ryan expressed fear in reporting Mr. McLaughlin’s harassment because he was “the boss.” Id.
Another employee, Jennifer Vachon, stated that Mr. McLaughlin regularly gave her massages
and although she was uncomfortable with Mr. McLaughlin touching her, she feared saying
anything because he was “the boss.” Rosemary Ortega stated that when any of the young girls
walked by Mr. McLaughlin in the office, he would look them over and comment to Rosemary
about “what he could do to them.” See Tab B. Gina relayed all of these comments (and more)
to Attorney Kate Shea, outside counsel to the Funds, during their meeting on May 21, 2018 and,
at no point during that meeting (or at any time thereafter) did Gina recant her allegations of
sexual harassment.


         2
          G.L. c. 151B § 4(4A) states that it is an unlawful practice for any person to threaten another person in the
exercise of any right granted by the state Fair Employment Practices Act. Yet this is exactly what Respondents
attempt to do here with their allusions to purported criminal penalties.




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Mr. McLaughlin’s sexual harassment of numerous female staff, including both Complainants,
was constant and continuous, occurring well within the 300-day statute of limitations ascribed
by G.L. 151B. The only reprieve from Mr. McLaughlin’s harassment was when he was not in the
office or when staff were working remotely and no longer physically working near Mr.
McLaughlin due to the COVID-19 pandemic.

Mr. McLaughlin’s harassment of female employees was well-known and documented by Mr.
Geiman who routinely maintained his own records of workplace harassment. See Tab C.
Remarkably, Respondents attempt to distance themselves from Mr. Geiman’s own immutable
words by claiming that somehow it was Gina who instructed Mr. Geiman – an attorney who has
now taken Gina’s place -- to “draft and send her an email that reflected back her own talking
points.” See Position Statement, p. 12. There is nothing in this email, drafted after hours using
Mr. Geiman’s own personal email account, which even remotely suggests that it was drafted
for Gina’s benefit or at Gina’s insistence. Simply put, Mr. Geiman owns the words contained in
it. Nor did Gina direct Mr. Geiman to draft the email summary of his meeting with Rosemary
Ortega. See Complaint Exhibit C. Indeed, Gina was not even present at that meeting and had no
knowledge of what was in the email until Mr. Geiman forwarded it to her several days later.3

    II.       Respondents’ Stated Reason for Gina’s Termination Is Pretextual.

Complainants need only present evidence from which a reasonable jury could infer that “the
respondent’s facially proper reasons given for its action against [her] were not the real reasons
for that action.” Bulwer v. Mount Auburn Hospital, 473 Mass. 672 (2016). In a transparent
attempt to discredit Gina’s decades-long career, Respondents now claim that Gina’s work
performance was deficient. Gina’s long tenure at the Funds evidences that Respondents’ newly-
concocted justification her termination is transparently pretextual. In forty-two (42) years of
working for the Funds in several positions, Gina’s personnel file is scant and contains no record
of any discipline or any negative feedback (indeed, the Funds reviewed her performance only
once, in 1995). Moreover, in her decades of work at the Funds Gina routinely received praise
for the work that she did on behalf of the Funds. See Tab D. By Respondents’ own version of
events, Mr. McLaughlin told Gina that “she was a good administrator” and that “he valued her
work.” See Position Statement p. 14.

Recognizing that their current position does not match the decades of Gina’s strong
performance, Respondents attempt to use an “expert” report, prepared by Attorney Joyce
Mader, to justify their purported reasons for terminating Gina. But Attorney Mader’s report
merely summarized the minutes from the July 21st, 2020 Special Meeting of the Trustees. She
did not conduct an independent investigation into the underlying events nor opine on whether
it was likely they occurred or not. Rather, in a desperate attempt to justify their own actions

          3
            Contrary to Respondents’ assertions, Gina and Rosemarie, while friendly with Ms. Ortega, are not friends
with Ms. Ortega and did not socialize with her outside of work except for one occasion when Ms. Ortega was
visiting a relative on Cape Cod and visited with Gina and Rosemarie for a short period.




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after the fact, Respondents apparently purchased a draft report from Attorney Mader which
relies solely on the Funds’ own version of events. Notably, the report was not completed until
November 25, 2020, long after Complainants filed their Charge, and thus it could not have
formed the basis of the Funds’ decision to terminate Complainants.4

             a. Respondents Were Well Aware of Gina’s Coalition Work

Gina began working part-time for the Massachusetts Coalition of Taft Hartley Funds (the
“Coalition”) thirteen years ago, back in 2007, a position that benefitted the participants of the
Benefit Funds through Gina’s collaboration with administrators of other Taft Hartley Trust
Funds and negotiation of collective discounts. Respondents’ suggestion that they only recently
discovered Gina held a second job is false. Both the Boards of Trustees and the Funds were well
aware of Gina’s and other Funds employees’ work for the Coalition.5 Respondents claim that
Mr. McLaughlin discovered that Gina performed significant work for the Coalition based on
timesheets required by all staff while working remotely.6 That Gina accounted for the minimal
time spent on Coalition work on her work from home summaries shows that the Funds were
well aware of her Coalition work and Gina made no effort to hide it. To the extent that Gina
performed any Coalition business during regular business hours, she performed it in lieu of
taking a lunch break or other permissible break during the day.7 In fact, the Funds Chairman
would take into account Gina’s Coalition income every year as part of an annual determination
of her salary. When Gina received the Cushing-Gavin Boyle Award in 2015, it was in recognition
of her work with both the Funds as well as the Coalition.

             b. Gina Properly Managed Funds Credits for the Sole Benefit of Funds Participants.

At no point did Gina “divert” or “embezzle” Funds resources for the benefit of the Coalition. As
Administrator of the Funds, Gina negotiated annual “wellness credits” from Blue Cross Blue


        4
           Respondents trumpet the unanimous votes of the Boards of Trustees as somehow conferring an
imprimatur of independence on the decision to terminate Gina’s employment. However, although each trustee
has his own vote, it is common practice for the Chairman of the Boards of Trustees to control the vote of all the
Trustees, including the Management Trustees. That the vote to terminate Gina’s employment was unanimous
merely confirms the pattern and practice of trustees voting in lockstep with the Chairman, Mr. McLaughlin.
        5
           Contrary to Respondents’ assertion that no other Funds employees were also employed by the Coalition,
Laura Jean Hickey, Rosemarie, and the Funds’ in-house accountant were all compensated for work performed for
the Coalition.
        6
           Funds staff began working remotely in March 2020, the new requirement that employees account for
their time in 15-minute increments was not created until June 2020, after the ransomware attack and its
investigation were fully resolved. Gina’s timesheets revealed that over the course of the seventeen days when she
was required to complete work from home timesheets, she spent a total of four (4) hours and forty-six (46)
minutes on Coalition business or an average of twenty-six minutes per day.
        7
           Gina regularly performed work for the Funds from home in the evenings and weekends in order to stay
on top of all of the work as Administrator, well over ten hours per week outside of regular business hours.




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Shield. Wellness credits are not assets of the Funds and cannot be redeemed in cash. Rather,
the Funds typically applied these credits towards the costs of hosting health challenges at Local
4 events. These events were not usually well attended and therefore the credits were not fully
utilized. The Coalition was planning a large wellness event for March 22, 2020 which would
have been open to members of many different Taft-Hartley Funds including Local 4 Funds.
Since the event would have been much larger, Gina hoped that more Local 4 members would
participate. As part of the event, the Coalition explored the possibility of member funds
donating wellness credits to the event to help defray the costs of biometric health screenings
for Local 4 members. The event was still in early planning stages when it was cancelled due to
the pandemic. Had the event been more fully planned, Gina would have certainly approached
the Boards of Trustees with a proposal to donate the $30,000-worth of wellness credits to the
event, specifically for use by Local 4 members, in a manner consistent with previous uses of
similar wellness credits.

            c. Gina’s Allocation of Administrative Time Was Supported by the Funds’
               Accountants.

In another desperate attempt to dredge up baseless excuses for Gina’s termination,
Respondents now claim that Gina failed to keep DOL timesheets when, in fact, Gina allocated
her time according to the advice of the Funds’ own outside accounting firm. In 2002, the
Department of Labor (DOL) began an investigation into the Funds’ allocation of administrative
expenses charged to each of the trust funds comprising the Local 4 Funds. Prior to the
investigation, the Funds’ external accounting firm calculated the annual allocation to each
Fund. This method predated Gina becoming Administrator and was common practice with
many other Taft-Hartley Trust Funds. After the DOL investigation concluded in 2004, the Funds
negotiated the Administrative Services Sharing Agreement (“ASSA”) which dictates the
administrative allocation of expenses incurred by each Fund. From that point forward,
employees entered daily time allocations into an electronic database which was then
distributed to the accounting firm to calculate the appropriate percentage to allocate to each
Fund. The accounting firm also calculated Gina’s time by interviewing her. Initially, the
accounting firm calculated the reallocation every six months, retroactively. However, over the
years, the accounting firm determined that the allocation of administrative fees did not change
significantly from year to year unless a large project affected one of the Funds.8 After several
years, the Boards of Trustees voted to move to a prospective annual allocation of time and
advised the DOL of this change. Gina relied on the advice of the external accountants who
informed her that their methods of calculating and allocating her time were appropriate,
consistent with common practices of other Taft-Hartley Trust Funds, and acceptable by the
DOL. For Respondents to now claim (again, for the first time, and only after terminating Gina’s


        8
          For example, in 2014, Gina spent significant time working on dismantling the claims operation for the
Health and Welfare Fund, resulting in an increased allocation for the Health and Welfare Fund.




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employment) that Gina failed to keep accurate timesheets is both fanciful and completely at
odds with the advice of their own outside accounting firm.

           d. Gina Fully Disclosed Financial Records to the Trustees.

Respondents’ claim that Gina falsified the financial records of the Funds is yet another obvious
effort to invent reasons for Gina’s termination after the fact. Gina prepared and printed
agendas for each of the Trustees’ meetings which included financial statements completed by
the Funds’ in-house accountant. These financial statements consisted of a balance sheet,
income statement, detailed list of all administrative expenses, and references to the relevant
check register numbers. Gina did not provide copies of these check registers as it would have
generated significant paper that the Trustees did not wish to review. However, Gina made clear
to the Trustees that if they wanted to see any or all of the check registers, she would
immediately make them available. In over twenty years of Gina providing these financial
summaries, none of the Trustees ever asked to see any of the check registers.

Similarly, at no point did Attorney Shea request to view the check registers or ask Gina about
them. Attorney Shea was present and took minutes at each meeting of the Trustees. At some
point, Attorney Shea did ask Gina about the Delinquency Minutes (notes of outstanding
collections) and Gina informed her that those minutes were only shared with Trustees due to
the potential conflict of interest that outside counsel may have working with multiple Taft-
Hartley Trust Funds. If Attorney Shea had ever requested to see the check registers, Gina would
have immediately provided them. She never did. It is inconceivable that the Trustees only
recently realized that the check registers were not provided in full and that this omission
formed the basis of Gina’s termination when Attorney Shea allegedly asked Gina about the
check registers in 2012 and, despite her experience working with numerous Trust Funds, took
no action.

           e. Gina Received Approval for Funds Expenses.

The evening of the 2015 Cushing-Gavin Boyle award ceremony, Gina expensed three hotel
rooms at the Park Plaza for herself, Ms. Hickey, and then-Business Manager of the Local 4
Union Lou Rasetta for the evening of the 2015 Cushing-Gavin Boyle award ceremony. Mr.
Rasetta himself (who, like Mr. McLaughlin, also served as Chairman of the Boards of Trustees
for the Funds) approved the expense as did Senior Management Trustee Jack Shaughnessy. Five
years later, Respondents now attempt to use this single example of alleged improper spending
as evidence that Gina mismanaged the Funds’ resources. That Mr. Rasetta himself had a hotel
room contradicts any suggestion that the Funds were unaware of these expenses.

           f. The Trustees Had Full Information To Amend the Plan In The Event Of a
              Member’s Medical Emergency.




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Respondents apparently now find fault with Gina for doing her job in carefully considering the
administration of the Funds. Over the course of Gina’s tenure as Administrator, many
participants requested that the Funds make an exception to the eligibility rules for a variety of
reasons. The Funds now identify a single instance during the COVID-19 pandemic in which Gina
attempted to find an alternative to amending the plan. When a participant’s daughter needed
surgery scheduled for five days before he was eligible for benefits, Gina was concerned that
amending the plan would create a slippery slope for future plan amendments. Gina contacted
Attorney Lili Sloane at Segal Roitman who shared her concerns. Gina suggested that one option
would be to require the participant to purchase a temporary COBRA plan to cover the period
before he became eligible for benefits. However, she never stated that it was legally required.
The Trustees were fully aware that they had the discretion to amend the plan at any time as
they had done many times in the past.

           g. Mr. Geiman Was Responsible For Supervision of the IT Department.

Gina did not provide day to day oversight of the IT Department. As Administrator, Gina had a
myriad of duties and responsibilities and delegated responsibilities to Mr. Geiman, the
Associate Administrator. Due to Mr. Geiman’s role as HIPAA Privacy Officer, it made the most
sense for Mr. Geiman to work with and supervise the IT Department. Gina expected that Mr.
Geiman would use appropriate judgment and inform her of any significant issues or
developments arising from the IT Department.

           h. Respondents Failed To Accommodate Gina’s Type 1 Diabetes.

Respondents attempt to minimize the management required by Gina’s disability for which she
requested an accommodation in front of Attorney Shea. Gina wears a Continuous Glucose
Monitor (CGM) and takes two types of insulin to manage her Type 1 Diabetes. The CGM takes
her glucose measurements at regular intervals and alerts her if her blood glucose levels are
outside of normal range. If Gina’s blood glucose levels are too far outside of a normal range,
Gina can experience physical side effects which can take hours to subside. Therefore, careful
management is extremely important and often time-sensitive. On some days, Gina may need to
take 5 or more shots of insulin in a single day. Typically, Gina injects insulin in her stomach.
However, Mr. Geiman was frequently in Gina’s office and would not leave to allow her the
privacy to inject her insulin shot. Therefore, on several occasions, Gina reluctantly injected
insulin in her thigh while Mr. Geiman was present. Although Gina was able to inject insulin at
work, in order to maintain her CGM, Gina is required to remove, replace, and test the device at
certain times. This is an involved medical procedure which requires, in part, inserting a needle
deep into the skin. This process could cause significant bleeding and could not safely be
performed at the Funds offices.

In addition to the CGM, which measures Gina’s blood sugar levels at specific intervals, Gina’s
service dog was trained to sniff out low blood sugar drops. Often, the dog can alert her before
her CGM can identify a problem. She would often bring her service dog to the office on Fridays,



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but also on other days when her energy was particularly low. Gina’s service dog is well trained
and does not require a muzzle. Under the Americans with Disabilities Act, an employer cannot
prohibit an individual with a disability from having a service animal in the workplace who is
trained to do work for the individual even if another employee has an allergy. 42 U.S.C.A. §§
12101 et seq.

    III.        Respondents’ Stated Reason for Rosemarie’s Termination Is Also Pretextual.

Respondents similarly attempt to discredit Rosemarie by alleging, for the first time, deficient
performance. Rosemarie has a wide range of technological expertise from working in the
technology sector for over forty-two years, including seventeen (17) years at the Funds and
regularly received glowing performance reviews from Mr. Geiman.

An associational retaliation claim is appropriate here where Gina and Rosemarie have a very
close familial relationship as twins and the reasons for Rosemarie’s termination were purely
pretextual. Thompson v. North American Stainless, LP 562 U.S. 170 (2011).9 Respondents’
reliance on Flagg misstates the Court’s ruling which explicitly declined to define boundaries of
what relationships could create the basis of an associational claim. Flagg v. AliMed, Inc., 466
Mass. 23, 30 n.15 (2013).

                a. Respondents Inappropriately Blame Rosemarie for Technology Decisions that
                   were not Hers to Make.

Rosemarie began working for the Funds in 2002 as a consultant and assumed a position as a
full-time employee in 2003 as the HIPAA Security Officer, safeguarding the protected health
information of Funds participants. Since 1978, the Funds IT Department had been managed by
Alan Koufos and relied primarily on outside contractors to maintain its network. For most of her
tenure at the Funds, Rosemarie worked alongside Alan Koufos, Manager of the IT Department
until his retirement. Both of them reported directly to Mr. Geiman. Mr. Geiman was the Funds’
HIPAA Privacy Officer and Rosemarie worked closely with him to ensure the Funds’ network
was HIPAA compliant. During Mr. Koufos’ tenure as Manager, Rosemarie developed the Funds’
website and monitored the Funds’ network security while Mr. Koufos managed the Funds’
hardware, devices, and built the network and disaster recovery protocol.10


          9
            Although Thompson addresses associational retaliation claims in the Title VII context, the federal and
state statutes “share substantial common ground” with one another and the Commission should look to the
federal law for guidance in its broad interpretation of G.L. c. 151B’s remedial purpose.
           10
           When it became clear in 2019 that Mr. Koufos was about to retire, Rosemarie solicited Jim Burns, a
contractor who had worked on the Funds’ network with Mr. Koufos, to join the IT Department around August
2019. Rosemarie did not have the technical skills to make changes to the network and assumed that Mr. Burns had
knowledge of the Funds’ network due to his work with Mr. Koufos. When Mr. Burns began working for the Funds
as Network Engineer, he reported to Rosemarie, but Mr. Koufos remained the manager of the IT Department until
his retirement at the end of December 2019.




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The Funds’ stated reason to terminate Rosemarie are factually inaccurate and based on
omissions that existed long before Rosemarie’s informal assumption of managerial duties. Mr.
Koufos, not Rosemarie, was responsible for maintaining outdated Firewall and Virtual Private
Network (VPN) devices despite the risk to the network. On several occasions, Rosemarie
brought up concerns about Mr. Koufos’ failure to update the Funds’ devices, change passwords,
create backups, and maintain a practical disaster recovery plan, but Mr. Geiman would simply
laugh and tell Rosemarie not to worry and that Mr. Koufos would get it done.

Despite Respondents’ claims that Rosemarie unilaterally and inappropriately switched the
Funds’ network monitoring, the IT Department made the recommendation collectively with
input from Mr. Geiman just as Rosemarie and Mr. Koufos made a joint recommendation to
engage Rapid 7’s services in 2016. At the time the Funds engaged Rapid 7’s services, it was a
small company which analyzed daily threats, trends, and vulnerabilities in the Funds network.
As Rapid 7 grew, the structure of its services provided changed and were less friendly to an
organization like the Funds.11 Therefore, at the end of 2019, Mr. Koufos, Mr. Burns, Mr.
Geiman, and Rosemarie worked together to identify an alternative threat monitoring service
which would provide similar services at a more appropriate scale for the Funds. The committee
identified Connections’ Managed Engine platform and Network Operations Center services as
an appropriate replacement.12 Once the committee identified a replacement for Rapid 7, Mr.
Geiman reviewed the agreement and the Statement of Work and advised Gina to sign the
documents.

On January 1, 2020, upon Mr. Koufos’ retirement, Rosemarie informally assumed the role of
“Acting IT Manager,” but did not receive any increase in pay or formal promotion. Rosemarie
was able to fill in based on her extensive experience in the technology sector and specific
knowledge of the Funds network from working with Mr. Koufos for 17 years. However, the
network, as left by Mr. Koufos, needed a complete overhaul. The existing physical firewall and
VPN were so outdated that they did not support multifactor authentication. Rosemarie’s first
priority was to replace these outdated devices with modern, updated versions. Rosemarie
directed Mr. Burns to install and configure the new firewall. When the firewall was fully in place
in early February 2020, Rosemarie contracted an outside technology security firm, Blum




        11
          In particular, Rapid 7 began charging for a minimum of 500 endpoints (devices connected to the
network such as physical and virtual servers, desktops and laptops). In 2019, the Funds had only 75 endpoints.
        12
          Managed Engine had all the capabilities of the Rapid 7 service as well as additional monitoring of the
network hardware (for example, Managed Engine would call when a computer or server failed). In addition,
Managed Engine’s support could be tailored toward the individual organization’s needs while Rapid7 was not as
customizable.




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Shapiro, to test the security of the new firewall. Blum Shapiro did not identify any issues or
vulnerabilities with the new firewall.13

Around this time, with the COVID-19 pandemic looming, Mr. Geiman directed Rosemarie and
Mr. Burns to prioritize setting up remote work capabilities for Funds employees. Because Mr.
Koufos had not maintained up-to-date devices during his tenure as Manager of the IT
Department, Rosemarie spent significant time purchasing new devices with full security
capabilities, setting up the equipment, training employees on security protocols, and testing it
remotely. There was insufficient time at that point to configure multifactor authentication to
the new VPN while also preparing for a fully remote work force. However, for several decades
under Mr. Koufos’ management, the network had not had the capability to enable multifactor
authentication, so this was not a change specifically implemented by Rosemarie. Indeed,
Rosemarie had identified this issue to Mr. Geiman numerous times throughout the years, but
he took no action.

Respondents’ professed justification for terminating Rosemarie’s employment rests on a
ransomware attack the Funds network experienced in May 2020. Respondents’ version of
events related to this attack is illogical and flatly contradicts the findings of the investigation
performed at that time by outside experts, Kroll. Many other organizations experienced similar
security violations during the COVID-19 pandemic despite robust security protocols. The Kroll
investigation found that the threat actor did not access the network through an employee’s
computer. Rather, the threat actor was able to access the network directly through the firewall
itself. Therefore, multifactor authentication at the user-level would not have protected the
Funds network from the ransomware attack it faced in May 2020. The firewall itself had been
tested by Blum Shapiro and found safe when it was configured and no changes were made
except for Mr. Burns opening a port in the firewall without informing Rosemarie, Mr. Geiman,
or anyone else until well after the ransomware attack on the network. If Rosemarie had been
aware of Mr. Burns’ attempt to resolve networking issues by opening a port at the time it
occurred, she would have scheduled another test of the firewall. Furthermore, neither
Managed Engine or Rapid 7 service would have alerted the Funds of a problem because Mr.
Burns opened the port on the firewall using an administrator’s profile. Therefore, Rosemarie
was not in any way responsible for the attack. The investigation, which in fact concluded that
no one was at fault, was completed by June 2020, yet Rosemarie was not terminated until
August 5th, a mere two weeks after Gina’s termination.

                                              CONCLUSION




        13
           On several occasions, Rosemarie reminded Mr. Burns not to change any settings or open any ports on
the firewall under any circumstances. Without any such changes, there was no reason to continually test the
firewall.




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For the reasons stated herein and in their Complaint, Respondents’ stated reasons for
termination are merely pretextual and the Commission should issue a finding of probable
cause.



Very truly yours,



Timothy P. Van Dyck

TPV:sw

cc:       James Shaw, Esq. (by email) (with attachments)
          Robert G. Young, Esq.
          Sherelle Wu, Esq.




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